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             [NOT YET SCHEDULED FOR ORAL ARGUMENT]



             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                             _________

                                  No. 16-5366
                                  _________

                          JUDICIAL WATCH, INC.

                              Plaintiff-Appellant,

                                       v.

      NATIONAL ARCHIVES AND RECORDS ADMINISTRATION

                             Defendant-Appellee.
                                 __________

             ON APPEAL FROM THE U.S. DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
                           __________

                              JOINT APPENDIX
                                 __________

         Paul J. Orfanedes                            Douglas N. Letter
         Lauren M. Burke                               Nicolas Y. Riley
       JUDICIAL WATCH, INC.                       U.S. Department of Justice
  425 Third Street, S.W., Suite 800              950 Pennsylvania Ave., N.W.
      Washington, DC 20024                         Washington, DC 20530
          (202) 646-5172                               (202) 514-4814
   Counsel for Plaintiff-Appellant              Counsel for Defendant-Appellee
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                                                                      APPEAL,CLOSED,TYPE I−FOIA
                                     U.S. District Court
                          District of Columbia (Washington, DC)
                    CIVIL DOCKET FOR CASE #: 1:15−cv−01740−RBW

  JUDICIAL WATCH, INC. v. NATIONAL ARCHIVES AND                Date Filed: 10/20/2015
  RECORDS ADMINISTRATION                                       Date Terminated: 10/04/2016
  Assigned to: Judge Reggie B. Walton                          Jury Demand: None
  Case in other court: USCA, 16−05366                          Nature of Suit: 895 Freedom of
  Cause: 05:552 Freedom of Information Act                     Information Act
                                                               Jurisdiction: U.S. Government Defendant
  Plaintiff
  JUDICIAL WATCH, INC.                          represented by Paul J. Orfanedes
                                                               JUDICIAL WATCH, INC.
                                                               425 Third Street, SW
                                                               Suite 800
                                                               Washington, DC 20024
                                                               (202) 646−5172
                                                               Fax: (202) 646−5199
                                                               Email: porfanedes@judicialwatch.org
                                                               ATTORNEY TO BE NOTICED


  V.
  Defendant
  NATIONAL ARCHIVES AND                         represented by David Michael Glass
  RECORDS ADMINISTRATION                                       U.S. DEPARTMENT OF JUSTICE
                                                               Civil Division
                                                               20 Massachusetts Avenue, NW
                                                               Room 7200
                                                               Washington, DC 20530
                                                               (202) 514−4469
                                                               Fax: (202) 616−8470
                                                               Email: david.glass@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


   Date Filed   #    Docket Text
   10/20/2015   1 COMPLAINT against NATIONAL ARCHIVES AND RECORDS
                  ADMINISTRATION ( Filing fee $ 400 receipt number 0090−4284703) filed by
                  JUDICIAL WATCH, INC.. (Attachments: # 1 Civil Cover Sheet, # 2 Summons U.S.
                  Attorney for D.C., # 3 Summons U.S. Attorney General, # 4 Summons
                  NARA)(Orfanedes, Paul) (Entered: 10/20/2015)
   10/20/2015   2 LCvR 7.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                  Interests by JUDICIAL WATCH, INC. (Orfanedes, Paul) (Entered: 10/20/2015)
   10/20/2015        Case Assigned to Judge Reggie B. Walton. (md) (Entered: 10/22/2015)
   10/22/2015   3 SUMMONS (3) Issued Electronically as to NATIONAL ARCHIVES AND
                  RECORDS ADMINISTRATION, U.S. Attorney and U.S. Attorney General
                  (Attachments: # 1 Consent Forms)(zrdj) (Entered: 10/22/2015)
   10/29/2015   4 NOTICE of Appearance by David Michael Glass on behalf of NATIONAL
                  ARCHIVES AND RECORDS ADMINISTRATION (Glass, David) (Entered:
                  10/29/2015)
   11/16/2015   5 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                  United States Attorney. Date of Service Upon United States Attorney on 10/26/2015. (
                  Answer due for ALL FEDERAL DEFENDANTS by 11/25/2015.), RETURN OF
                  SERVICE/AFFIDAVIT of Summons and Complaint Executed on United States

                                               1
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                    Attorney General. Date of Service Upon United States Attorney General 10/27/2015.,
                    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                    NATIONAL ARCHIVES AND RECORDS ADMINISTRATION served on
                    11/16/2015 (Attachments: # 1 Declaration of Cristina Rotaru)(Orfanedes, Paul)
                    (Entered: 11/16/2015)
   11/24/2015    6 ANSWER to Complaint by NATIONAL ARCHIVES AND RECORDS
                   ADMINISTRATION.(Glass, David) (Entered: 11/24/2015)
   11/24/2015    7 ORDER. In accordance with the attached Order, it is hereby ORDERED that the
                   parties shall submit to the Court by December 4, 2015, a joint status report, proposing
                   a schedule for the filing of, if any, dispositive motions, oppositions thereto, and
                   replies. Signed by Judge Reggie B. Walton on November 24, 2015. (lcrbw2) (Entered:
                   11/24/2015)
   11/25/2015       Set/Reset Deadlines: Joint Status Report, proposed schedule, dispositive motions,
                    oppositions, and replies due by 12/4/2015 (mpt) (Entered: 11/25/2015)
   12/04/2015    8 Joint STATUS REPORT by JUDICIAL WATCH, INC.. (Orfanedes, Paul) (Entered:
                   12/04/2015)
   12/04/2015       MINUTE ORDER. Upon consideration of the Joint Status Report, and in light of the
                    parties' consent, it is hereby ORDERED that: (1) the defendant shall file its motion for
                    summary judgment on or before January 19, 2016; (2) the plaintiff shall file its
                    opposition to the defendant's summary judgment motion and/or its cross−motion for
                    summary judgment on or before February 19, 2016; (3) the defendant shall file its
                    reply in support of its summary judgment motion and/or opposition to the plaintiff's
                    cross−motion for summary judgment on or before March 14, 2016; and (4) the
                    plaintiff shall file its reply in support of its summary judgment motion on or before
                    March 28, 2016. Signed by Judge Reggie B. Walton on December 4, 2015. (lcrbw2)
                    (Entered: 12/04/2015)
   12/08/2015       Set/Reset Deadlines: Summary Judgment motions due by 1/19/2016; Opposition and
                    Cross Motions due by 2/19/2016, Reply and Opposition to Cross Motion due by
                    3/14/15, Reply due by 3/14/16. Response to Cross Motions due by 3/14/2016. Reply to
                    Cross Motions due by 3/28/2016. (mpt) (Entered: 12/08/2015)
   01/15/2016    9 Unopposed MOTION to Modify Briefing Schedule by NATIONAL ARCHIVES AND
                   RECORDS ADMINISTRATION (Glass, David) (Entered: 01/15/2016)
   02/02/2016   10 MOTION for Summary Judgment by NATIONAL ARCHIVES AND RECORDS
                   ADMINISTRATION (Attachments: # 1 Mem. Supp., # 2 Prop. Order, # 3 Ex. A, # 4
                   LCvR 7(h)(1) Statement)(Glass, David) (Entered: 02/02/2016)
   03/02/2016   11 Unopposed MOTION for Extension of Time to Modify Briefing Schedule by
                   JUDICIAL WATCH, INC. (Attachments: # 1 Text of Proposed Order)(Orfanedes,
                   Paul) (Entered: 03/02/2016)
   03/03/2016       MINUTE ORDER granting 11 Motion for Extension of Time. Upon consideration of
                    the Plaintiff's Unopposed Motion to Modify Briefing Schedule; Memorandum of
                    Points and Authorities in Support Thereof, and in light of the parties' consent, it is
                    hereby ORDERED that the motion is GRANTED. It is further ORDERED that the
                    following briefing schedule shall govern future proceedings in this case: (1) the
                    plaintiff's opposition to the defendant's motion for summary judgment and the
                    plaintiff's cross−motion for summary judgment shall be filed on or before March 11,
                    2016; (2) the defendant's reply in support of its motion for summary judgment and
                    opposition to the plaintiff's cross−motion shall be filed on or before April 4, 2016; and
                    (3) the plaintiff's reply in support of its cross−motion for summary judgment shall be
                    filed on or before April 18, 2016. Signed by Judge Reggie B. Walton on March 3,
                    2016. (lcrbw2) (Entered: 03/03/2016)
   03/04/2016       Set/Reset Deadlines: Plaintiff's Cross−Motion/opposition to Motion for Summary
                    Judgment due by 3/11/2016; Defendant's Opposition to Cross−Motion/Reply to
                    Opposition to Motion for Summary Judgment due by 4/4/2016; Plaintiff's Reply to
                    Opposition to Cross−Motion due by 4/18/2016. (tg) (Entered: 03/04/2016)
   03/11/2016   12 Memorandum in opposition to re 10 MOTION for Summary Judgment and Response
                   to Statement of Facts filed by JUDICIAL WATCH, INC.. (Attachments: # 1


                                                2
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                    Part 2, # 5 Exhibit 3 − Part 3, # 6 Exhibit 3 − Part 4, # 7 Exhibit 3 − Part 5, # 8 Text of
                    Proposed Order)(Orfanedes, Paul) (Entered: 03/11/2016)
   03/11/2016   13 Cross MOTION for Summary Judgment and Statement of Material Facts by
                   JUDICIAL WATCH, INC. (Attachments: # 1 Declaration of Paul J. Orfanedes, # 2
                   Exhibit 2, # 3 Exhibit 3 − Part 1, # 4 Exhibit 3 − Part 2, # 5 Exhibit 3 − Part 3, # 6
                   Exhibit 3 − Part 4, # 7 Exhibit 3 − Part 5, # 8 Text of Proposed Order)(Orfanedes,
                   Paul) (Entered: 03/11/2016)
   03/21/2016       MINUTE ORDER finding as moot 9 Motion to Modify. In light of the Court's March
                    3, 2016 Minute Order, it is hereby ORDERED that the Defendant's Unopposed Motion
                    to Modify Briefing Schedule and Points and Authorities in Support Thereof is
                    DENIED AS MOOT. Signed by Judge Reggie B. Walton on March 21, 2016. (lcrbw2)
                    (Entered: 03/21/2016)
   03/28/2016   14 Unopposed MOTION for Briefing Schedule (Modification of Existing Schedule) by
                   NATIONAL ARCHIVES AND RECORDS ADMINISTRATION (Glass, David)
                   (Entered: 03/28/2016)
   03/28/2016       MINUTE ORDER granting 14 Motion for Briefing Schedule. Upon consideration of
                    the Defendant's Unopposed Motion to Modify Briefing Schedule and Points and
                    Authorities in Support Thereof, and in light of the parties' consent, it is hereby
                    ORDERED the motion is GRANTED. It is further ORDERED that the briefing
                    schedule established by the Minute Order dated March 3, 2016, is modified to provide
                    that the defendant's combined reply in support of its motion for summary judgment
                    and opposition to the plaintiff's cross−motion for summary judgment shall be filed on
                    or before April 18, 2016, and that plaintiff's reply in support of its cross−motion for
                    summary judgment shall be filed on or before May 2, 2016. Signed by Judge Reggie
                    B. Walton on March 28, 2016. (lcrbw2) (Entered: 03/28/2016)
   03/29/2016       Set/Reset Deadlines: Defendant's Response to Cross Motions due by 4/18/2016,
                    Plaintiff's Reply in support of its Cross Motion for Summary Judgment due by
                    5/2/2016. (hs) (Entered: 03/29/2016)
   04/18/2016   15 REPLY to opposition to motion re 10 MOTION for Summary Judgment and
                   Opposition to Plaintiff's Cross Motion for Summary Judgment filed by NATIONAL
                   ARCHIVES AND RECORDS ADMINISTRATION. (Attachments: # 1 Ex. A, # 2
                   LCvR 7(h) Resp.)(Glass, David) (Entered: 04/18/2016)
   04/18/2016   16 Memorandum in opposition to re 13 Cross MOTION for Summary Judgment and
                   Statement of Material Facts filed by NATIONAL ARCHIVES AND RECORDS
                   ADMINISTRATION. (See Docket Entry 15 to view document). (znmw) (Entered:
                   04/19/2016)
   05/02/2016   17 REPLY to opposition to motion re 13 Cross MOTION for Summary Judgment and
                   Statement of Material Facts filed by JUDICIAL WATCH, INC.. (Attachments: # 1
                   Declaration (Second) of Paul J. Orfanedes)(Orfanedes, Paul) (Entered: 05/02/2016)
   09/26/2016   18 ORDER. For the reasons to be set forth in the Memorandum Opinion to be issued by
                   the Court within the next thirty days, absent extraordinary circumstances, the Court
                   will grant the Defendant's Motion for Summary Judgment (ECF No. 10), and deny the
                   Plaintiff Judicial Watch, Inc.'s Cross−Motion for Summary Judgment (ECF No. 13) in
                   a final Order that will be issued contemporaneously with the forthcoming
                   Memorandum Opinion. Accordingly, it is hereby ORDERED that the defendant
                   National Archives and Records Administration's Motion for Summary Judgment is
                   GRANTED. It is further ORDERED that the plaintiff Judicial Watch, Inc.'s
                   Cross−Motion for Summary Judgment is DENIED. It is further ORDERED that this
                   Order is not a final Order subject to appeal. Signed by Judge Reggie B. Walton on
                   September 26, 2016. (lcrbw2) (Entered: 09/26/2016)
   10/04/2016   19 ORDER. In accordance with the Memorandum Opinion, issued on this same date, it is
                   hereby ORDERED that the defendant National Archives and Records Administration's
                   Motion for Summary Judgment is GRANTED. It is further ORDERED that the
                   plaintiff Judicial Watch, Inc.'s Cross−Motion for Summary Judgment is DENIED. It is
                   further ORDERED that this case is CLOSED. Signed by Judge Reggie B. Walton on
                   October 4, 2016. (lcrbw2) (Entered: 10/04/2016)


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   10/04/2016   20 MEMORANDUM OPINION. Signed by Judge Reggie B. Walton on October 4, 2016.
                   (lcrbw2) (Entered: 10/04/2016)
   12/03/2016   21 NOTICE OF APPEAL TO DC CIRCUIT COURT by JUDICIAL WATCH, INC..
                   Filing fee $ 505, receipt number 0090−4763913. Fee Status: Fee Paid. Parties have
                   been notified. (Orfanedes, Paul) (Entered: 12/03/2016)
   12/05/2016   22 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court
                   of Appeals. The Court of Appeals fee was paid this date re 21 Notice of Appeal to DC
                   Circuit Court. (znmw) (Entered: 12/05/2016)
   12/08/2016       USCA Case Number 16−5366 for 21 Notice of Appeal to DC Circuit Court filed by
                    JUDICIAL WATCH, INC. (zrdj) (Entered: 12/08/2016)




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH,      INC.,
           WATCH,INC.,                        )
425 Third Street SW, Suite 800                )
Washington, DC 20024,                         )
                                              )
                        Plaintiff,            )
                                              )       Civil Action No.
v.                                            )
                                              )
NATIONAL ARCHIVES AND                         )
RECORDS ADMINISTRATION,                       )
860 I Adelphi Road
8601                                          )
Washington, DC 20740,                         )
                                              )
                        Defendant.            )
                                              )


                                          COMP LAINT
                                          COMPLAINT

        Plaintiff Judicial
                  Judicia1 Watch, Inc.
                                  mc. brings this
                                  tnc.       tills action against Defendant National Archives and

Records Administration to compel compliance with the Freedom of
                                                             ofInformation  Act~.. 5 U.S.C.
                                                                Information Act,
                                                             oflnformation  Act      U.S .C. §

    ("FOIA").
            ). As grounds therefor, Plaintiff alleges as follows:
552 ("FOlA").
    ("FOIA"

                                     JURISDICTION AND VENUE

        I.
        1.
        l.     The Court has jurisdiction over thi
                                               thiss action pursuant to 5 U.S.c.
                                                                          U.S.C. § 552(0)(4)(8)
                                                                                   552(a)( 4)(B)
                                                                                   552(a)(4)(B)
                                                                                   552(a)(4)(8)

and 28 U.S.C. § 1331.
                133l.
                I331.

       2.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(e).
                                                                        1391 (e).

                                            PARTIES

       3.      Plaintiff Judicial Watch, Inc. is a not-for-profit, educational organization

incorporated
incoll'Orated under the laws of the District of Columbia and headquartered at 425 Third Street

SW, Suite 800, Washington, DC 20024. Plaintiff seeks to promote transparency, integrity,
                                                                              integrity. and

accountability in government and fidelity to the rule of  aw. As part of
                                                      ofllaw.            its mission, Plaintiff
                                                                      cfits




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regularly requests records from federal agencies pursuant to FOIA. Plaintiff analyzes the

agencies' responses and disseminates both its findings and the requested records to the American

pub lic to inform them about
public                 about "what their government is up to."

        4.      Defendant National Archives and Records Administration is an agency of
                                                                                    ofthe
                                                                                       the

United States Government and is headquartered at 8601 Adelphi Road, College Park, MD 20740.

                          custody. and control of records to which Plaintiff seeks access.
Defendant has possession, custody,

                                   STATEMENT OF FACTS

        5.
        5.                     IS,, Plaintiff served a FOIA
                         9, 20 IS
                On March 9,2015,                       rOJA -request
                                                            request on Defendant seeking access

to certain draft indictments of Hillary Rodham Clinton prepared while Mrs. Clinton was First

Lady of the United States. Specifically, Plaintiff requested:
                                         Plaintiffrequested:

        All versions of indictments against Hillary Rodham Clinton, including but not
        limited to, Versions 1,1,2,
                                 2, and 3 in box 2250 of the Hickman Ewing Attorney Files,
        the "HRCI_
            ""HRCI
              HRC/ _ _  Draft  Indictment"  in box 2256 of the Hickman Ewing Attorney
                                                        orthe
        Files, as well as any and all versions written by Deputy lndependeut
                                                                  Independent Counsel
                                                                  lndependent
        Hickman Ewing, Jr. Jr. prior to September of 1996.

        6.      By letter dated March 19,2015,
                                      19, 20
                                      19,20  IS, Defendant admitted
                                          2015,            adrnitted receiving Plaintiffs
                                                                               Plaintiff's FOIA
                                                                                           FOiA

request on March 17,2015
                 17, 2015 and informed
                              infonned Plaintiff that it had assigned the request "FOIA
                                                                                  "FOJA case

number 46068." Defendant's
               Defendant' s letter also admitted locating records responsive to the request.

Specifically, Defendant admitted that it found 38 pages of responsive records in a folder entitled
                                                                                          enti tled

"Draft Indictment" in box 2250 and approximately 200 pages of responsive records in a folder
                                                                                      fo lder

entitled "Hillary Rodham                                               ill box 2256. Defendant
                  Rodharn Clinton/Webster L. Hubbell Draft Indictment" in

denied Plaintiffs
       Plaintiff's request in full, however, invoking FOIA
                                                      FOiA Exemption (b)(7)(C) to withhold al
                                                                                           alll

238 pages of responsive records. No responsive records or portions
                                                          ponions thereof have ever been

produced to Plaintiff.
            Plaintiff.
            Plaint iff.




                                                 2


                                                 6
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           7.
           7.     On May 14,2015,
                         14, 2015.
                             2015, Plaintiff administratively appealed Defendant's denial of the

 requesL On that date, Plaintiff sent aa written appeal, via email and certified mail,
 request.                                                                        mail. to the Deputy

 Archivist or
           of the National Archives and Records Administration at the email address and street

 address identified in the agency's denial                                 aJl requirements for
                                           letter. Plaintiff complied with all
                                    denia11etter.

 properly appealing the denial.

           8.     Pursuant to 5 U.S.C.
                                U.S.C. § 552(a)(6)(A)(ii), Defendant was required to make a

 determination on the appeal within twenty
                                    lwenty working days of
                                                        ofreceipt
                                                           receipt and to notify Plaintiff
                                                                                 Plaintiffoftbe
                                                                                           of the

 right to seekj udicial review if the denial was upheld in whole or in part.
          seek judicial                                                part. More than twenty

 working days have elapsed since Defendant received Plaintiff
                                                    Plaintiff'ss May 14,
                                                                     14,20 15 appeal, but
                                                                         2015

 Plaintiff has received no notification of any determination or its right to seek judicial review of
                                        oraoy

 any denial. Plaintiff has not received any communication
                                            conununication at all from Defendant regarding the

 appeal.

           9.                                                                                 U.S.C.
                                         fai led to comply with the time limit set forth in 5 U.S.C.
                   Because Defendant has failed

 § 552(a)(6)(A)(ii), Plaintiff is deemed to have exhausted any and all administrative remedies

 pursuant to 5 U.S.C. § 552(a)(6)(C).

                                               COUNTl
                                               COUNT 1
                                                        U.S.c. § 552)
                                  (Violation of FOIA, 5 U.S.C.

           10.    Plaintiff realleges paragraphs J1 through 9 as if fully stated herein.

           II..
           II
           11.                                   unlawfull y withholding records responsive to
                  Defendant is violating FOIA by unlawfully

Plaintiff'ss request.
Plaintiff
Plaintiffs   request.
             request .

           12,
           12.
           12.                                   hanned by reason of Defendant's violation of FOIA,
                  Plaintiff is being irreparably harmed

and Plaintiff will continue to be irreparably harmed                     compell ed to comply
                                              hanned unless Defendant is compelled

full y with FOIA.
fully




                                                     J3 .


                                                     7
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        WHEREFORE, Plaintiff respectfully requests that the Court: (I)
                                                                     1) order Defendant to
                                                                   ((1)

 demonstrate that it employed search methods reasonably calculated to uncover all records

               Plaintiff's request; (2) order Defendant to produce, by a date certain, any and all
 responsive to Plaintiffs

 non-exempt records responsive to the request and a Vaughn index of any responsive records

 withheld under claim of exemption; (3) enjoin Defendant from continuing to withhold any and

 all non-exempt records responsive to the request;
                                          request; (4) grant Plaintiff an award    attorney'ss fees
                                                                          award of attorney'

 and other litigation costs reasonably incurred in this action pursuant to 5 U.S.C. § 552(a)(4)(E);

 and (5) grant Plaintiff such other relief as the Court deems just and proper.
                                                                       proper.

 Dated: October 20, 2015
                    20 15                              Respectfully submitted,

                                                                WArCH, INC.
                                                       JUDICIAL WATCH,

                                                      t,/
                                                      !rI
                                                      lsi Paul J. Orfanedes
                                                          Pau/.£
                                                          Paul.!  Orfimedes
                                                                  Odanedes
                                                       Paul J. Orfanedes
                                                       D.C. BarNo.
                                                            Bar No. 4297
                                                                     429716
                                                                         16
                                                       425 Third Street SW, Suite 800
                                                       Washington, DC 20024
                                                       (202) 646-5172

                                                       Counsel for Plaintiff
                                                       Counsel/or




                                                  4


                                                 8
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                )
 JUDICIAL WATCH, INC.                           )
                                                )
                               Plaintiff,       )
                                                )
                v.                              )       No. 1:15-cv-1740-RBW
                                                )
 NATIONAL ARCHIVES AND                          )
 RECORDS ADMINISTRATION,                        )
                                                )
                               Defendant.       )
                                                )

                                            ANSWER

        Defendant, the National Archives and Records Administration, by and through its

 undersigned counsel, respectfully submits the following as its answer to the numbered

 paragraphs of the complaint, filed on October 20, 2015 (ECF No. 1):

                                        FIRST DEFENSE

        The complaint fails to state a claim upon which relief can be granted.

                                       SECOND DEFENSE

        Plaintiff seeks records under the Freedom of Information Act, 5 U.S.C. § 552, that are

 exempt from disclosure under the statue.

                                        THIRD DEFENSE

        Defendant responds to the numbered paragraphs of the complaint as set forth below:

        1-2. These paragraphs consist of legal conclusions, to which no response is required.

        3. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this paragraph.




                                                    9
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        4. The allegation that defendant “is an agency of the United States Government” is a

 legal conclusion, to which no response is required. Denies that defendant is “headquartered at

 8601 Adelphi Road, College Park, MD 20740” but admits that defendant is headquartered at that

 location and at 700 Pennsylvania Avenue, N.W., Washington, D.C. 20408. Sentence 2 consists

 of legal conclusions, to which no response is required.

        5. This paragraph characterizes a letter dated March 9, 2015, from Kate Bailey to

 defendant, (Attachment A), to which the Court is respectfully referred for its contents.

        6. Sentences 1-4 of this paragraph characterize a letter dated March 19, 2015, from

 Martha Wagner Murphy to Ms. Bailey, (Attachment B), to which the Court is respectfully

 referred for its contents. Admits Sentence 5.

        7. Sentences 1-2 of this paragraph characterize a letter dated May 14, 2015, from Ms.

 Bailey to the Deputy Archivist of the United States, (Attachment C), to which the Court is

 respectfully referred for its contents. Sentence 3 consists of legal conclusions, to which no

 response is required.

        8. Sentence 1 of this paragraph consists of legal conclusions, to which no response is

 required. Admits that “[m]ore than twenty working days have elapsed since Defendant received

 Plaintiff’s May 14, 2015 appeal” but lacks knowledge or information sufficient to form a belief

 as to the truth of the remaining allegations contained in Sentence 2 or the allegations contained in

 Sentence 3.

        9. This paragraph consists of legal conclusions, to which no response is required.

        10. Defendant repeats and re-alleges its responses to Paragraphs 1-9 above.

        11-12. These paragraphs consist of legal conclusions, to which no response is required,

 but to the extent a response is required, denies.



                                                     2


                                                 10
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        The remaining paragraph represents plaintiff’s prayer for relief to which no answer is

 required, but to the extent an answer is required, defendant denies that plaintiff is entitled to the

 requested relief or any other relief whatsoever.

        Except to the extent previously admitted or qualified above, defendant denies each and

 every allegation in the complaint.

        WHEREFORE, having fully answered the complaint, defendant asks this Court for a

 judgment dismissing the complaint with prejudice, and for such further relief as the Court may

 deem just and proper.

                                                Respectfully submitted,

                                                BENJAMIN C. MIZER
                                                Principal Deputy Assistant Attorney General

                                                CHANNING D. PHILIPS
                                                United States Attorney

                                                ELIZABETH J. SHAPIRO
                                                Deputy Director

                                                s/ David M. Glass
                                                DAVID M. GLASS, DC Bar 544549
                                                Senior Trial Counsel
                                                Department of Justice, Civil Division
                                                20 Massachusetts Ave., N.W., Room 7200
                                                Washington, D.C. 20530-0001
                                                Tel: (202) 514-4469/Fax: (202) 616-8470
                                                E-mail: david.glass@usdoj.gov
 Dated: November 24, 2015                       Attorneys for Defendant


                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 24, 2015, I served the within answer on all counsel of

 record by filing it with the Court by means of its ECF system.

                                                s/ David M. Glass



                                                    3


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                Judicial
                 Watch
                   tcfi
                 Becaus.e no one
                 is above the law!




   March 9,2015



   VIA CERTIFIED MAIL.& EMAIL

   National Archives and Records Administnltion
   Special Access and FOIAStaff(NWCTF)
   8601 Adelphi Road, Room 6350
   College Park, MD 20740

   Re: Freedom ofInformation Act Request

   Dear Freedom ofInfoTIIlationOfficer:

          Pnrsuant to the FreedomofInformation Act(FOIA), 5 U.S.C. § 552, Judicial
   Watch, Inc. hereby requests that the National Archives and Records Administration
   produce the following within twenty (20) business days:

          All versions of indictments against Hillary Rodham Clinton, including, but
          not limited to, Versions 1, 2, and 3 in box 2250 ofthe Hickman Ewing
          Attorney Files, the "HRC/_·_Draft Indictmellt" in box 2256 of the Hickman
          Ewing Attorney Files, as well as any and all versions written by Deputy
          Independent Counsel Hickman Ewing, Jr. prior to September of 1996.


          The records in question are located in the material submitted to the National
   Archives and Records Administration by the Office ofIndependent Counsel In Re:
   Madison Guaranty Savings & Loan Association, also known as "the records ofIC Starr."

          We call your attention to President Obama's January 21,2009 Memorandum
   concerning the Freedom of Information Act, in which he states:

                  All agencies should adopt a presumption in favor of
                  disclosnre, in order to renew their commitment to the
                  principles embodied in FOIA ... The presumption of
                  disclosnre should be applied to all decisions involving


                                                                                               Attachment A

                                                 12
         425 Third St., SW, Suite 800, Washington, DC 20024 • Tel: (202) 646-5172 or 1-888·593-8442
               FAX: (202) 646-5199 • Email: info@JudiciaIWatch.org * www.JudiciaIWatch.org
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   National Archives and Records Administration
   March 9, 2015
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          The memo further provides that "The Freedom oflnformation Act should be
   administered with a clear presumption: In the case of doubt, openness prevails."

           Nevertheless, if any responsive record or portion thereof is claimed to be exempt
   from production under FOIA, please provide sufficient identifYing information with
   respect to each allegedly exempt record or portion thereof to allow us to assess the
   propriety of the claimed exemption. Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973),
   cert. denied, 415 U.S. 977 (1974). In addition, any reasonably segregable.portion ofa
   responsive record must be provided, after redaction of any allegedly exempt material. 5
   U.S.C. § 552(b).

            For purposes of this request, the term "record" shall mean: (1) any written,
   printed, or typed material of any kind, including without limitation all correspondence,
   memoranda, notes, messages, letters, cards, facsimiles, papers, forms, telephone
   messages, diaries, schedules, calendars, chronological data, minutes, books, reports,
   charts, lists, ledgers, invoices, worksheets, receipts, returns, computer printouts, printed
   matter, prospectuses, statements, Checks, statistics, surveys, affidavits, contracts,
   agreements, transcripts, magazine or newspaper articles, or press releases; (2) any
   electronically, magnetically, or mechanically stored material of any kind, including
   without limitation all electronic mail or e-mail; (3) any aUdlo, aural, visual, or video
   records, recordings, or representations of any kind; (4) any graphic materials and data
   compilations from which information can be obtained; and (5) any materials using other
   means <if preserving thought or expression.

            Judicial Watch also hereby requests a waiver of both search and duplication fees
   pursuantto 5 U.S.C. §§ 552(a)(4)(A)(ii)(II) and (a)(4)(A)(iii). Judicial Watch is entitled
   to a waiver of search fees under 5 U.S.C. § 552(a)(4)(A)(ii)(II) because it is a member of
   the.. news media.
                  .  -
                      Cf NationalSecurity Archive v. Department ofDefense, 880 F.2d 1381,
                         -   "".


   1387(D.C. Cir. 1989)(defining news media within FOIA context). Judicial Watch has
   also been recognized as a member ofthe news media in other FOIA litigation. See, e.g.,
   Judicial Watch; Inc. v. U.S. Deparrment ofJustice, 133 F. Supp.2d 52 (D.D.C. 2000):
   and, Judicial Watch, Inc. v. Department ofDefense, 2006 U.S. Dist. LEXIS 44003, *1
   (D.D.C. June 28, 2006). Judicial Watch regularly obtains information about the
   operations and activities of govermnent through FOIA and other means, uses its editorial
   skills to turn this information into distinct works, and publishes and disseminates these
   works to the public. It intends to do likewise with the records it receives in response to
   this request.

          Judicial Watch also is entitled to a complete waiver of both search fees and
   duplication fees pursuant to 5 U.S.C. § 5S2(a)(4)(A)(iii). Under this provision, records:

   1   Freedom of Information Act. Pres. Mem. of January 21,2009,74 Fed. Reg. 4683.




                                                                                          Attachment A

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    March 9, 2015
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                   shall be furnished without any charge or at a charge
                   reduced below the fees established under clause (ii) if
                   disclosure of the information is in the public interest
                   because it is likely to contribute significantly to public
                   understanding of the operations or activities of government
                   and is not primarily in the commercial interest of the
                   requester.

   5 U.S.C. § 552(a)(4)(A)(iii).

           In addition, if records are not produced within twenty. (20) business days, Judicial
   Watch is entitled to a complete waiver of search and duplication fees under Section 6(b)
   of the OPEN Government Act of2007, which amended FOIA at 5 U.S.c. §
   (a)(4)(A)(viii).

           Judicial Watch is a 501 (c)(3), not-for-profit, educational organization, and, by
   definition, it has no commercial purpose. Judicial Watch exists to educate the public
   about the operations and activities of government, as well as to increase public
   understanding about the importance of ethics and the rule of law in government. The
   particular records requested herein are sought as part of Judicial Watch's ongoing efforts
   to document the operations and activities ofthe federal government and to educate the
   public about these operations and activities. Once Judicial Watch obtains the requested
   records, it intends to analyze them and disseminate the results of its analysis, as well as
   the records themselves, as a special written report. Judicial Watch will also educate the
   public via radio programs, Judicial Watch's website, and/or newsletter, among other
   outlets. It also will make the records available to other members of the media or
   researchers upon request. Judicial Watch has a proven ability to disseminate information
   obtained through FOIA to the public, as demonstrated by its long-standing and
   continuing public outreach efforts.

            Given these circumstances, Iudicial Watch is entitled to a public interest fee
   waiver of both search costs and duplicatioll costs. Nonetheless, in the event ourrequesf
   for a waiver of search and/or duplication costs is denied, Judicial Watch is willing to pay
   up to $350.00 in search and/or duplication costs. Judicial Watch requests that 1t be
   contacted before any such costs are incurred, in order to prioritize search and duplication
   efforts.

          In an effort to facilitate record production within the statutory time limit, Judicial
   Watch is willing to accept documents in electronic format (e.g. e-mail, .pdfs). When
   necessary, Judicial Watch will also accept the "rolling production" of documents.

           If you do not understand this request or any portion thereof, or if you feel you
   require clarification of this request or any portion thereof, please contact us immediately
   at 202-646-5172 or kbailey@judicialwatch.org. We look forward to receiving the


                                                                                           Attachment A

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   requested documents and a waiver of both search and duplication costs within twenty
   (20) business days. Thank you for your cooperation.

   Sincerely,


   ~fdIu(
   Kate Bailey
   Judicial Watch




                                                                                    Attachment A

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                                  NATIONAL ARCHIVES   and RECORDS ADMINISTRATION
                                      3601 ADELPHJ R.OAD   COLLEGE PARK. MD 20740-6001   NATIONAL
                                                                      www.archivfs.gov   ARCHIVES

March 19,2015

Kate Bailey
Judicial Watch
425 Third Street, SW, Suite 800
Washington, DC 20024


Dear Ms. Bailey,

This is in response to your Freedom of Information Act request of March 17,2015 for
records in the custody of the National Archives and RecordsAdministration, YOUf request
was received in this office on March 17, 2015 and assigned FOIA case number 46068.
You requested Independent Counsel Kenneth Starr records related to several versions of
indictments of Hillary Clinton.

We have examined the folders from Hickman Ewing's attomey files that you requested.
From box 2250 the folder "Draft Indictment" (38 pages) is denied in full under Exemption
(b)(7)(C). From box 2256 the folder "Hillary Rodham ClintonNVebster L. Hubbell Draft
Indicment" (approximately 200 pages) is denied in full under Exemption (b)(7)(C).

You requested a waiver for reproduction fees ordinarily charged to researchers, however,
records transferred to the custody of the National Archives are exempted from the fee and .
fee waiver provisions of the Freedom of InformationAct because there was alee
schedule in place prior to enactment of the FOIA. The applicable section states that
"nothing in this subparagraph shall supersede fees chargeable under a statute specifically
providing for setting the level of fees for particular types of records" (5 U.S.C. 552  .
(a)(4)(A)(vi)). The relevant fee statute authorizes the National Archives "to charge a fee
for making or authenticating copies or reproductions of materials transferred to the
Archivist's custody." (44 U.S.C. 2116(c)).

The inability to grant the requested f.ee waiver do.es not constitute a denial und.er the
terms of the Freedom of Information Act. However, if you consider this response to be a
denial of your request, or if you wish to appeal the document denials, you may appeal my
decision within 60 calendar days from the date of this letter. Appeals must be submitted in
writing and addressed to the Deputy Archivist of the United States, National Archives and
Records Administration, 8601 Adelphi Road, Room 4200, College Park, MD 20740. In
your letter, please cite your case number and clearly label both the letter and envelope as
a FOIA Appeal. As an alternative, you may e-mail your appeal to foia@nara.gov. If you
choose this option, please use the words "FOIA appeal" in tHe subject line and also cite
your case number.




                                                                                              Attachment B

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This concludes the processing of your request. If you have any question about the way
we handled your request, or about our FOIA regulations or procedures, please contact
David Paynter at david.paynter@nara.gov or (301) 837-2041.

 Sincerely,




MARTHA WAGNER MURPHY
Chief
Special Access and FOIA Staff




 NATIONAL ARCHIVES and
 RECORDS· ADMINISTRATION

    8601 ADELPHI ROAD
 COLLEGE PARK. MD 20740·6001
                                                                              Attachment B
      www,archives.gol'
                                         17
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                 Judicial
                  Watc6
                  Because no one
                  is above the law!




VIA EMAIL & CERTIFIED US MAIL

May 14, 2015

Deputy Archivist of the United States
National Archives and Records Adnrinistration
8601 Adelphi Road, Room 4200
College Park, MD 20740


Re: FREEDOM OF INFORMATION ACT APPEAL

FOIA Case Number 46086


Dear SirlMadam:

       On March 9, 2015, Judicial Watch Inc. (hereafter "Judicial Watch"), filed a Freedom of
Information Act (hereafter "FOrA") request with the National Archives and Records
Administration requesting the following records:

       All versions of indictments against Hillary Rodham Clinton, including, but not
       limited to, Versions 1,2, and 3 in box 2250 of the Hickman Ewing Attorney Files,
       the "HRC/_Draft Indictment" in box 2256 ofthe Hickman Ewing Attorney Files,
       as well as any and all versions written by Deputy Independent Counsel Hickman
       Ewing, .Jr. prior to September of 1996.

       In a response letter dated March 19, 2015, Martha Wagner Murphy, Chief of Special
Access and FOIA Staff, stated that after examination of the requested records, 38 pages from box
2250 and approximately 200 pages from box 2256 were all "denied in full under Exemption
(b)(7)(C)." This letter respectfully appeals these denials.

        Ms. Murphy's response amounts to no more than a barren assertion that the responsive
records are being withheld pursuant to ForA Exemption (b)(7)(C). Yet such a response "cannot
suffice to establish the fact." Founding Church o/Scientology o/Washington, D.C., Inc. v.
National Security Agency, 610 F.2d 824,831 (D.C. Cir. 1979). Moreover, it is longstanding
precedent that "an agency cannot meet its obligation simply by quoting the statutory language of
an exemption." Army Times Pub. Co. v. Department o/the Air Force, 998 F.2d 1067, 1070 (D.C.


         425 Third St., SW, Suite 800, Washington, DC 20024 .Tel: (202) 646-5172 or 1·888-593-8442
                                                                                                 Attachment C

                                                   18
               FAX: (202) 646-5199. Email: info@JudicialWatch.org • www.JudicialWatch.org
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 National Archives and Records Administration
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 May 14, 2015
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 Cir. 1993) (remarking that affidavits "[p]arroting the case law" were insufficient); Voinche v.
 Federal Bureau o/Investigation, 412 F. Supp. 2d 60,69 (D.D.C. 2006) (agency failed to satisfy
 its burden where declaration "merely quote [ d] the statutory language" of an exemption).
         Because the National Archives and Records Administration has done nothing more than
 quote the statutory language ofthe claimed exemptions, it clearly has not met its burden under
 ForA. To satisfy its burden, at a minimum, the National Archives and Records Administration
 must provide sufficient identifying information with respect to each of the records that it
 withheld to enable Judicial Watch to assess the propriety of the claimed exemption. Vaughn v.
 Rosen, 484 F.2d 820 (D.C. Cir. 1973), cert. denied, 415 U.S. 977 (1974). Similarly, the National
 Archives and Record Administration has failed to demonstrate that all non-exempt information
 has been segregated. Sussman v. Us. Marshals Service, 494 F.3d 1106,1116 (D.C. Cir. 2007).

         Furthermore, Exemption (b)(7)(C) excuses from the agency's overarching duty to
 disclose such "records or information" as are "compiled for law enforcement purposes, but only
 to the extent that the production of such law enforcement records or information could
 reasonably be expected to constitute an unwarranted invasion of personal privacy." For the
 records responsive to Judicial Watch's request, however, any privacy concerns are overwhelmed
 by the public interest in such records. Public interest was, in fact, the reason cited by the U.S.
 Supreme Court as most likely to quash Exemption (b)(7)(C):

        the Supreme Court suggested that the justification most likely to satisfy Exemption 7(C)'s
        public interest requirement is that the information is necessary to show the investigative
        agency or other responsible officials acted negligently or otherwise improperly in the
        performance of their duties

 Citizens for Responsibility & Ethics in Wash. v. Us. Dep 't ofJustice, 2012 U.S.
 Dist. LEXIS 27298 (D.D.C. Mar. 2,2012) (citing Nat'! Archives & Records Admin. v. Favish,
 541 U.S. 157, 172 (2004).

        As a former First Lady, former U.S. Senator, former Secretary of State, and current
presidential candidate, Hillary Clinton is a highly public figure who has exercised vast political
power throughout her career. The public interest in records concerning possible unlawful
activity on her part far outweighs the privacy interest of (b)(7)(C).

       Judicial Watch respectfully appeals and requests full access to all documents in
possession of the National Archives and Records Administration responsive to our ForA request
of March 17, 2015 for all versions of indictments against Hillary Rodham Clinton, including, but
not limited to, Versions 1,2, and 3 in box 2250 of the Hickman Ewing Attorney Files, the
"HRC/~Draft Indictment" in box 2256 of the Hickman Ewing Attorney Files, as well as any




                                                                                          Attachment C

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 National Archives and Records Administration
 FOIAAppeal
 May 14, 2015
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 and all versions written by Deputy Independent Counsel Hickman Ewing, Jr. prior to September
 of 1996.

         If there are any questions regarding this appeal, please do not hesitate to contact me at
 (202) 646-5172 or by email at kbailey@judicialwatch.org. Thank you for your attention to this
 matter.



 Sincerely,




 Kate Bailey
 FOIA Program Manager




                                                                                          Attachment C

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 Judicial Watch v. Nat’l Archives & Records
 Admin.
 No. 1:15-cv-01740-RBW

 Def. Mot. Summ. J.
 Ex. A




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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                       )
JUDICIAL WATCH, INC.,                                  )
                                                       )
  Plaintiff,                                           )
                                                       )
                     v.                                )     Civ. A. No. 15-CV-1740 (RBW)
                                                       )
NATIONAL ARCHIVES AND                                  )
RECORDS ADMINISTRATION,                                )
                                                       )
   Defendant.                                          )
                                                       )


                          DECLARATION OF MARTHA WAGNER MURPHY

I, Martha Wagner Murphy, hereby declare as follows:

       1.       I currently serve as Chief of the Special Access and Freedom of Information Act

("FOIA") Branch, Research Services, National Archives and Records Administration ("NARA")

located in College Park, Maryland. I have held this position since 2009. Prior to this position, I

was an Archivist in the Special Access and FOIA Staff from 1995 to 2009, and I have worked as

an Archivist at NARA since 1991. I hold a Masters in U.S. History from Loyola University of

Chicago, and a Bachelor of Arts in History from Loyola College of Baltimore.

       2.       In my current position as the Chief of the Special Access and FOIA Staff, I

supervise a total of20 Archivists and one Government Information Specialist whose

responsibilities are focused on providing access - either through special access requests or

through FOIA - to thousands of pages of archival records. Each Archivist on my staff holds at

least a Bachelors' degree in either History or a related subject matter, and over the course of time

has become very familiar with the subject matters of the collections to which access is sought.



                                                 -1-


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         3.      Due to the nature of my official duties, I am familiar with the procedures followed

 by NARA in responding to requests for material from its archival collection pursuant to the

 provisions of the FOIA, 5 U.S.c. § 552. I am also specifically aware of the handling of plaintiff

 Judicial Watch's March 9, 2015 FOIA request to NARA for "[a]1I versions of indictments

 against Hillary Rodham Clinton, including, but not limited to, Versions 1,2, and 3 in box 2250

 of the Hickman Ewing Attorney Files, the "HRCI_Draft Indictment" in box 2256 of the

 Hickman Ewing Attorney Files, as well as any all versions written by Deputy Independent

 Counsel Hickman Ewing, Jr. prior to September of 1996."

        4.       In accordance with Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), I provide

this declaration in support ofNARA's motion for summary judgment and to provide

justifications for the withholding of information in full from the total of 451 pages of documents l

identified-as responsive to plaintiffs request and further described in detailin Exhibit A

attached hereto, pursuant to FOIA Exemptions 3, 6 and 7(C), 5 U.S.c. §§ 552 (b)(3), (b)(6) and

(b)(7)(C).

        5.       The statements contained in this declaration are based upon my personal

knowledge, upon infoTIIlation provided to me in my offici1ticapacity, and upon conclusions and

determinations reached and made in accordance therewith.

                      Procedural History of Judicial Watch's FOIA Request

        6.       By letter dated March 9, 2015, Judicial Watch submitted a FOIA request to

NARAfor:

                All versions of indictments against Hillary Rodham Clinton, including, but
                not limited to, Versions 1,2, and 3 in box 2250 of the Hickman Ewing 2
                Attorney Files, the "HRCI_Draft Indictment" in box 2256 of the

1 The discrepancy in the total number of pages is attributable to the fact that at the administrative stage we
did not include identical duplicates in our page count.
2 Hickman Ewing was a lawyer who worked as Kenneth Starr's deputy in Little Rock.


                                                     -2-


                                                     23
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                  Hickman Ewing Attorney Files, as well as any and all versions written by
                  Deputy Independent Counsel Hickman Ewing, Jr. prior to September of
                  1996.

                  The records in question are located in the material submitted to the
                  National Archives and Records Administration by the Office of
                  Independent Counsel In Re: Madison Guaranty Savings & Loan
                  Association, also known as "the records ofIC Starr."3

 See Exhibit B.

        7.        My staff assigned the request ForA No. 46068.

        8.        By letter dated March 19,2015, we informed Judicial Watch that "[w]e have

examined the folders from Hickman Ewing's attorney files that you requested. From box 2250

the folder "Draft Indictment" (38 pages) is denied in full under Exemption (b)(7)(C). From box

2256 the folder "Hillary Rodham ClintonIWebster L. Hubbell Draft Indicment" (sic)

(approximately 200 pages) is denied in full under Exemption (b)(7)(C)." (See Exhibit C). Our

March 19, 2015 letter also provided Judicial Watch with administrative appeal rights.

        9.        By letter dated May 14, 2015, Judicial Watch appealed NARA's denial under

Exemption (b)(7)(C). In relevant part, Judicial Watch asserted that:

                [NARA' s] response amounts to no more than a barren assertion that the
                responsive records are being withheld pursuant to FOIA Exemption
                (b)(7)(C) .. .it clearly has not met its burden under FOIA [to] ... provide
                sufficient identifying information with respect to each of the records that it
                withheld to enable Judicial Watch to assess the propriety of the claimed
                exemption ... [and] has failed to demonstrate that all non-exempt
                information has been segregated ... [t] he Supreme Court has suggested that
                the justification most likely to satisfy Exemption 7(C)'s public interest
                requirement is that the information is necessary to show that the
                investigative agency or other responsible officials acted negligently or
                otherwise improperly in the performance of their duties ... Hillary Clinton
                is a highly public figure who has exercised political power throughout her
                career. The public interest in records concerning possible unlawful
                activity on her part far outweighs the privacy interest of (b)(7)(C).

3 Plaintiff included a fee waiver request in its March 9, 2015 letter, but NARA did not address the request
since it withheld all documents in full. Plaintiff does not raise the fee waiver issue in its Complaint.


                                                    -3-


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        10.     By letter dated October 16, 2015, NARA acknowledged receipt of the appeal,

 apologized for the delay in the acknowledgment, advised Judicial Watch that the request had

 been assigned FOIA Appeal No. NGCI5-071A, and provided information on how Judicial

 Watch might obtain an update on the status of the appeal. See Exhibit D.

        11.     On October 22,2015, plaintiff filed the instant lawsuit.

        12.     In accordance with 36 C.F.R § 1250.74(a)(2), by letter dated December 4,2015,

 NARA advised Judicial Watch it had administratively closed the appeal due to the filing of the

 lawsuit. See Exhibit E.

               National Archives and Records Administration and its Holdings

        13.     The National Archives was established in 1934 by President Franklin Roosevelt

 to preserve and care for the records of the U.S. Govermnent, but its major holdings date back to

 1775. They capture the sweep of the past: slave ship manifests and the Emancipation

 Proclamation; captured German records and the Japanese surrender documents from World War

II; journals of polar expeditions and photographs of Dust Bowl farmers; Indian treaties making

transitory promises; and a richly bound document bearing the bold signature "Bonaparte" - the

Louisiana Purchase Treaty that doubled the territory of the young republic.

        14.     In 1985, the National Archives became an independent executive agency, and it

now has over 40 facilities nationwide including field archives, Federal Records Centers,

Presidential Libraries, the Federal Register, and the National Historical Publications and Records

Commission. NARA keeps only those Federal records that are judged to have continuing value

- about two to five percent of those generated in any given year. By now, they add up to a

formidable number, diverse in form as well as in content. There are approximately 10 billion

pages of textual records; 12 million maps, charts, and architectural and engineering drawings; 25

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 million still photographs and graphics; 24 million aerial photographs; 300,000 reels of motion

 picture film; 400,000 video and sound recordings; and 133 terabytes of electronic data. All of

 these materials are preserved because they are important to the workings of Government, have

 long-term research worth, or provide information of value to citizens. 4

           15.     Among its many holdings, NARA maintains custody of the records of

 independent counsels who have completed their investigations. 5 Title VI of the Ethics in

 Govermnent Act of1978, Pub. L. No. 97-521, 92 Stat. 1867, "allow[ed] for the appointment of

 an 'independent counsel' to investigate and, if appropriate, prosecute certain high-ranking

 Government officials for violation of federal criminal laws." Enacted originally for a period of

 five years, the statutory authority was renewed several times thereafter, ultimately terminating in

 1999.

           16.     An independent counsel was required by Title VI to "transfer to the Archivist of

 the United States all records which hard] been created or received" by the independent counsel's

 office upon termination of that office. 28 U.S.C. § 594(k)(l). Access to records transferred to

 the Archivist under Title VI was to be "governed by [FOIA]," except in the case of certain

records provided to an independent counsel by a committee of Congress. [d. § 594(k)(3)(A).

           17.    Before transferring its records to the Archivist, an independent counsel was

required by Title VI to "clearly identify" which of the records was "subject to Rule 6(e) of the

Federal Rules of Criminal Procedure as grand jury materials." 28 U. S.C. § 594(k)(1). "Rule

6(e) provides, in pertinent part, that the parties and witnesses to a grand jury proceeding may not

'disclose a matter occurring before the grand jury.'" See Rule 6(e)(2)(B».


4   See http://www.archives.gov/publications/general-info-Ieafletsll-about-archives.html.

5 See   http://www.archives.gov/research/investigations/special-prosecutors-illdept-counsels.html.


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 Records of Independent Counsel Kenneth Starr

         18.      In August 1994, Kenneth W. Starr was named the independent counsel to lead the

 investigation into the so-called Whitewater Affair. In 1999, Independent Counsel (IC) Starr

 resigned. He was replaced by Robert W. Ray who resigned in March 2002. The Whitewater

 investigation was then left for Ray's deputy to wrap up. The office officially ended operations in

 2004, 6 and the records were transferred to NARA under Title VI in connection with the cessation

 of operations.

        19.       As a result, the records of FonnerIC Starr and his successors are now part of

 NARA's holdings ("IC Starr records"). The IC Starr records, which consist of approximately

 3149 cubic feet of records, have been in NARA's custody since March 2004. A finding aid

 reference to the Starr records has been available to the public, in redacted fonn, since

 approximately June 2015 ("Index,,).7 The Index consists of two manifests - a Little Rock Office

 File Manifest and a District of Columbia Office File Manifest - that together list over 3300

 boxes of material, with specific box numbers, as well as many thousands of folder titles noted in

 the "Box Contents" field.

 Search Conducted in Response to Judicial Watch's FOIA Request

        20.       Both boxes identified by plaintiff in its request, Boxes 2250 and 2256, have the

 same name, "Hickman Ewing Attorney Work Product." The boxes also have the same subject

 heading, "HRC [Hillary Rodham Clinton]." Each box, on its face, has a note indicating that the

contents include material subject to Rule 6(e) of the Federal Rules of Criminal Procedure.



6 CNN.comlInside Politics, Whitewater Independent Counsel Robert Ray Resigns (Mar. 12,2002),
http://edition.cnn.com/2002/ALLPOLlTICS/03/12/indy.counseLresigns/index.html (accessed Nov. 16,
2015); UPI News Track, Whitewater Counsel Closes Doors (Mar. 23, 2004).

7 By letter dated June 11,2014, plaintiff Judicial Watch filed a FOIA request with NARA seeking access
to the Index. NARA released the Index to Judicial Watch on May 4, 2015.

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 Within Box 2250 is a folder labeled "Draft Indictment," and within Box 2256 is a folder labeled

 "Hillary Rodham ClintonlWebster L. Hubbell Draft Indictment."

        21.     My staff also searched the "Box Contents" and "Subject" fields of the Index to

 identify any other folders that might contain "Indictment" and "Hillary Rodham Clinton" or

 "Hillary Clinton" or "HRC." Other than the folder in box 2256, we did not locate any other

 responsive folders.

        22.     At the time NARA responded to the FOIA request, all the material in the "Draft

 Indictment" folder in Box 2250, and the material in the "Hillary Rodham Clinton/Webster

 Hubell Draft Indictment" folder in Box 2256, were considered responsive. For the purposes of

 the instant lawsuit, and in accordance with the specific wording of the FOIA request for "[a]l1

 versions of indictments against Hillary Rodham Clinton," only draft indictments are considered

 responsIve.

        23.     Each of the responsive documents is a draft and is either clearly marked as such

 on the draft or on an accompanying cover memo, or is an obviously incomplete draft. Some of

 these drafts contain marginalia or amlOtations, Doc. Nos. 6,10,15,17,19; some are identical

 duplicates of each other, Doc. Nos. 1 - 4,7 - 9, 12 - 13; some are non-identical duplicates, Doc.

Nos. 5 - 6; some are accompanied by cover memos, Doc. Nos. 1 - 4,5,6, 10, 16; some are

 accompanied by handwritten notes on separate pieces of paper, Doc. No. 14; and some are

accompanied by cover fax sheets, Doc. Nos. 5, 6. One draft consists merely of"[ s]craps of a

draft indictment," Doc. No. 11. The responsive documentsaie described in further detail in the

 attached index. See Exhibit A.




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 FOIAExemptions Applicable to the Responsive Documents

                                                Exemption 3

        24.     FOIA Exemption 3, 5 U.S.C. § 552(b)(3), exempts from disclosure information

 which is:

                specifically exempted from disclosure by statute ... provided that such
                statute (A) requires that the matters be withheld from the public in such a
                manner as to leave no discretion on the issue, or (B) establishes particular
                criteria for withholding or refers to particular types of matters to be
                withheld.

 One commonly recognized (b)(3) statute is Rule 6(e) of the Federal Rules of Criminal Procedure,

 which prohibits the disclosure of matters occurring before a Grand Jury. My office routinely

 screens all responsive records for (b)(3) matters, including records that would reveal the

 workings of a grand jury

        25.     All the responsive documents are directly related to the Independent Counsel's

 consideration of presenting an indictment to a grand jury. The material collectively reflects

names and identifying information of individuals subpoenaed - or intended to be subpoenaed -

to testify before the grand jury, as well as information identifying specific records subpoenaed

during the grand jury process. They reflect and quote grand jury testimony, and reveal the inner

workings and direction of the grand jury. Disclosure would violate the secrecy of the grand jury

proceedings by disclosing the inner workings of the federal grand jury that was tasked with

considering these matters. Similarly, the consideration of possible witnesses before the Grand

Jury, and internal memoranda and notes about the strategy and considerations regarding possible

indictments reveal the direction of the grand jury investigation. Accordingly, all the documents

have been properly withheld in full pursuant to Exemption (b)(3). See Exhibit A.




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                                      Exemption 7 Threshold

        26.     Exemption 7 of the FOIA protects from mandatory disclosure records or

 information compiled for law enforcement purposes, but only to the extent that disclosure could

 reasonably be expected to cause one of the harms enumerated in the subparts of the exemption.

 See 5 U.S.C. § 552(b)(7). In this case, the harm that could reasonably be expected to result from

 disclosure concerns invasion of personal privacy.

        27.     Before an agency can invoke any of the harms enumerated in Exemption 7, it

 must first demonstrate that the records or information at issue were compiled for law

 enforcement purposes. The records at issue in this case were compiled for criminal law

 enforcement purposes during the course of the Independent Counsel's performance of its

 statutorily-imposed law enforcement mission: to investigate and, if appropriate, prosecute certain

high-ranking Government officials for violation offederal criminal laws. Given the function of

 an Independent Counsel and the nature of the particular documents at issue, there is little doubt

that these materials were compiled for a law enforcement purPose. Since the records clearly

meet the Exemption 7 threshold, the remaining inquiry for Exemption 7 purposes is whether

their disclosure would invade personal privacy.

                                  Exemptions (b)(6) and (b)(7)(q
                  Clearlv Unwarranted and Unwarranted Invasion ofPersonal Privacy

        28.     5 U.S.C. § 552 (b)(6) exempts from disclosure:

                personnel and medical files and similar files when the disclosure of
                such information would constitute a clearly unwarranted invasion
                of personal privacy.
        29.     5 U.S.C. § 552 (b)(7)(C) exempts from disclosure:

                records or information compiled for law enforcement purposes, but
                only to the extent that the production of such law enforcement
                records or information ... could reasonably be expected to
                constitute an unwarranted invasion of personal privacy.

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         30.    Exemption 6 of the FOIA protects from mandatory disclosure personnel and

 medical files records when disclosure would constitute a clearly unwarranted invasion of

 personal privacy. For purposes of this case, NARA is asserting Exemption 6 in conjunction with

 Exemption 7(C) to protect the responsive documents at issue here. Because the analysis and

 balancing required by exemptions 6 and 7 is sufficiently similar to warrant a consolidated

 discussion, both exemptions are discussed directly below.

         31.    The balancing test for Exemption 6 is whether disclosure "would constitute a .

 clearly unwarranted invasion of personal privacy," whereas the test for Exemption 7(C) is the

 lower standard of whether disclosure "could reasonably be expected to constitute an unwarranted

 invasion of personal privacy." Nevertheless, under the analysis of both exemptions, the privacy

 interests are balanced against the public's interest in disclosure under the analysis of both

 exemptions.

        32.     When withholding information pursuant to these privacy exemptions, an agency

 is required to balance the privacy interests of the individuals mentioned in these records against

 any public interest in disClosure. In asserting these exemptidtls, iriformation is examined to

 determine the nature and strength of the privacy interest of every individual whose names and/or

identifYing information appears in the documents at issue. In making this analysis, the public

 interest in disclosure of this information is determined by assessing whether the information in

question would shed light on the Independent Counsel's statutorily-imposed law enforcement

mission to investigate and, if appropriate, prosecute individuals for violation of federal criminal

laws. In each instance where information was withheld, it was determined that individual

privacy rights outweighed the public interest. The only recognized public interest is that which

 sheds light on the operations and activities of the Independent Counsel. In asserting Exemptions



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 6 and 7(C), we have determined that the individuals' privacy interests, and in particular, the

 interests of Hillary Rodham Clinton, are not outweighed by any public interest in disclosure.

        33.      With respect to the potential invasion of personal privacy, all individuals are

 entitled to a presumption of innocence. When, in the context of a criminal investigation, an

 Independent Counsel determines not to bring an indictment, the subject of the investigation has a

 significant privacy interest in not being associated with any underlying criminal activity.

 NARA's policy is not to release records from investigations ifthe records clearly identify people

 who, although they may have been investigated, never faced criminal charges.

        34.      In this case, all the responsive documents relate to the Independent Counsel's

 consideration of whether to proceed with an indictment of Hillary Rodham Clinton as well as

 other individuals. The documents reflect numerous drafts and internal discussions as to how to

 they might proceed; ultimately, however, an indictment against Mrs. Clinton was never issued.

 Despite the role that Mrs. Clinton occupied as the First Lady during President Clinton's

 administration, Mrs. Clinton maintains a strong privacy interest in not having information about

her from the files of the Independent Counsel disclosed.      As an uncharged person Hillary

Rodham Clinton retains a significant interest in her personal privacy despite any status as a

public figure.

        35.      In its administrative appeal, plaintiff argued that these "privacy concerns are

overwhelmed by the public interest in such records," and that the "public interest in records

considering possible unlawful activity on [Hillary Rodham Clinton's] part far outweighs the

privacy interest of (b)(7)(C)." While there may be a scintilla of public interest in these

documents since Mrs. Clinton is presently a Democratic presidential candidate, that fact alone is

not a cognizable public interest under FOIA, as disclosure of the draft indictments would not



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 shed light on what the government is up to. Moreover, the fact remains that the responsive

 records were compiled for law enforcement purposes and no charges were brought. The release

 of the responsive records could reasonably be expected to constitute a clearly unwarranted and

 an unwarranted invasion of personal privacy, while revealing little or nothing about the workings

 of the government. As a result, FOIA Exemptions 6 and 7(C) are fully applicable to the

 documents at issue here.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct, and that Exhibits A through F are true and correct copies.

        Executed this 1" day of February, 2016.




                                              ~({IJ{L~~ L&~
                                              MARTHA WAGN'tR MURPHY
                                              Chief, Special Access and FOIA Branch
                                              Research Services Division
                                              National Archives and Records Administration
                                              College Park, Maryland




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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


                                          )
 JUDICIAL WATCH, INC.,                    )
                                          )
  Plaintiff,                              )
                                          )
                v.                        )   Civ. A. No. 15-CV-1740 (RBW)
                                          )
NATIONAL ARCHIVES AND                     )
RECORDS ADMINISTRATION,                   )
                                          )
   Defendant.                             )
                                          )




                     EXHIBIT A




                                     34
             RG 449, Records ofIndependent Counsel Kenneth StarrIRobert Ray/Julie Thomas
Document #             Description of Document                Total # of           Applicable FOIA          Withheld in Full/




                                                                                                                                USCA Case #16-5366
                                                              Pages                  Exemptions             Released in Part!
                                                                                                            Released in Full




                                                                                                                                     Case 1:15-cv-01740-RBW Document 10-3 Filed 02/02/16 Page 15 of 27
   1-4       One-page'memorandum with attached draft           92 (23 pages     (b)(3), (b)(6), (b)(7)(C)   Withheld in Full
             indictment; (Four identical copies)                   each)
    S        One-page memorandum and one-page cover fax          24 pages       (b)(3), (b)(6), (b)(7)(C)   Withheld in Full
             sheet with attached draft indictment)
    6        One-page memorandum and one-page cover fax         24 pages        (b)(3), (b)(6), (b)(7)(C)   Withheld in Full
             sheet with attached draft indictment (with
             marginalia)




                                                                                                                                                     Document #1668146
   7-9       Draft indictment; (Three identical copies)        4S pages (IS     (b)(3), (b)(6), (b)(7)(C)   Withheld in Full
                                                                pages each)
    10       One-page memorandum with attached draft             23 pages       (b)(3), (b)(6), (b)(7)(C)   Withheld in Full
             indictment; contains some annotations on
             indictment and handwritten notes on the
             back of last page of draft indictment
    11       Scraps of a draft indictment with no caption        4 pages        (b)(3), (b)(6), (b)(7)(C)   Withheld in Full


   12-13     Draft indictment without a caption, listing        6 pages (3      (b)(3), (b)(6), (b)(7)(C)   Withheld in Full
             overt acts. (Two identical copies)                pages each)
    14       Draft indictment with two pages of                  24 pages       (b)(3), (b)(6), (b)(7)(C)   Withheld in Full




                                                                                                                                                                           Filed: 03/28/2017
             handwritten notes
    IS       Draft indictment; contains some annotations         22 pages       (b)(3), (b)(6), (b)(7)(C)   Withheld in Full


    16       One-page memorandum with attached draft             37 pages       (b)(3), (b)(6), (b)(7)(C)   Withheld in Full
             indictment
    17       Draft indictment; contains some annotations         37 pages       (b)(3), (b)(6), (b)(7)(C)   Withheld in Full
    18       Draft indictment                                    36 pages       (b)(3), (b)(6), (b)(7)(C)   Withheld in Full




                                                                                                                                                                                              Page 38 of 421
    19       Draft indictment; contains some annotations         40 pages       (b)(3), (b)(6), (b)(7)(C)   Withheld in Full

    20       Draft indictment                                    37 pages       (b)(3), (b)(6), (b)(7)(C)   Withheld in Full
                                                                                                                      ---

                                                            TOTAL = 451 pages

                                          Exhibit A to Declaration of Martha Wagner MurPhy,
                                     Judicial Watch, Inc. v. NARA, Civ. A. No. IS-CV-1740 (RBW)


                                                                   35
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
  Plaintiff,                              )
                                          )
                v.                        )   Civ. A. No. 15-CV-1740 (RBW)
                                          )
NATIONAL ARCHIVES AND                     )
RECORDS ADMINISTRATION,                   )
                                          )
   Defendant.                             )
                                          )




                     EXHIBITB




                                     36
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                   Judicial
                 ·Watcli
                   Becaus.e no one
                   is above the law!




     March 9, 2015



     VIA CERTIFIED MAIL.& EM4Ilt.

     National Archives and Records AdmU:listr;ition
     Special Access and FOIAStaff (NWCTF)
     8601 Adelphi Road, Room 63:;0
     College Park, MD 20740

    Re:. Freedom ofInforniatioJl Act Request

     Dear Freedom oflnfoniliii:ion(}ffice~

           Pursuant to the F:reedomoffufOriilatioll Act(FOIA), 5 U.S.C. § 552, Judicial
     Watch, Inc. hereby reql.\¢$1:S tlmt the National Archives and Records Administration
     produce the followingWithh~twemy (20)l:.msi).wss days:.

            All versions of indictments againstJiillai"YRodham Clinton, including, but
            not limited io, VeJ;!!ions 1,2;and3 in box 2250 oftheBickman Ewing
            Attorney FileS; the ~'HRC/_·_~·ln~i¢t!n~nt" in box 2256 of the Hickman
            Ewing Attorney Files, as w~n as any and Ji:llversions written by Deputy
            Independent Couusel Hickmall Ewing, Jr. prior to September of 1996.


           Tbe records inquestion are located in the material submitted to the National
     Archives and Records Administration by the Office of Independent Counsel In Re:
     Madison Guaranty Savings & Loan Association, also known as "the records onc Starr."

            We call your attention to President dbama's January 21,2009 Memorandum
     concerning the Freedom of 1IlforrnationAct, in which he states:

                     All agencies should adopt a presumption in favor of
                     disclosure, in order to renew their commitrnent to the
                     principles embodied in FOlA ... The presumption of
                     disclosure should be applied to all decisiQ);!S involving


           425 Third St., SW, Suite 800, Washington, DC 20024 <Tel: (202) 646-5172 or 1·888·593-8442
                 FAX: (202) 646-5199 • Email: info@JudiciaIWalch.org • www.JudiciaIWatch.org

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        March 9, 2015
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                        FOIA.'

              The memo further provides that "The Freedom ofInformation Act should be
        administered .With a clear presumpti6n: In the case of doubt, openness prevails."

             Nevertheless, if any responsive record or portion thereof is claimed to be exempt
     from production under FOIA, please provide sufficient identifying infonnation with
     respect to each allegedly exempt record or portion thereof to allow us to assess the
     propriety of the claimed exemption. VaugJm v. Rosen, 484 F.2d 820 (D.C. Cir. 1973),·
     cert. denied, 415 U.s. 977 (1974). In addition, any reasonably segregable.portion ofa
     responsive record must be provided, after redaction of any allegedly exempt material. 5
     U.S.C. § 552(b).                                                 .

              For pUrposes of this request, the term ''record'' shall mean: (I) any written,
     printed, or typed materlal. of any kind, including without limitation all correspondence,
     meIi1oranda, notes, messages, letters, cards, facsimiles, papers, forms, telephone
     mt;s~ages; diiuies, sch~les, calendars, chronological data, minutes, books, reports,
     c~,li!M, l\ll'ig<;:rs, invoicC$, worksheets, receipts, returns, computer printouts, printed.
     matter,pro~ectuses, statements, checks, statistics, surveys, affidavits, contracts, .
     ~met1t$, trarisbiil"t$,nuigazine or newspaper articles, or press releases~ (2) any
     electroniealLy, magnetically, or mechanically stOred material of any kind, inclUding
     Without limi~()ri~ electrQmc mail or e-mail; (J)anyaudio,aural,vi,sQal, or video
     records,re<»rdipg$, Of repre:;e:rrtlltions Qf any kind; (4) any graphic materi~!l and data
     c()mpilatiQUS frolllWbiebinformation can be obtained; and (5) anyroaterials using other
    .meaps of we~¢rVingtb,qJlghtor eXpression.
               Judicial. Watch alilohereby requests a waiver of both sea,rch and duplication fees
    p~\llll1tto5 U,~.(].§§552{li)(4)(A)(ii)(II) and (a)(4)(A)(i:(iJ JJldicial W~tch is entitled
    to awaiver!)fSew:cb.feesllll.der 5 U.S~C. § 552(a)(4)(A)(ii)(lI) because it is a member of
    the news.rn¢jaCf.l'fdtioiiaISecufity Archive 'Ii. Department ofDeJense, 880 F.2d 1381,
    1387{D.C. Cird9S9)(definingnews media within FOIA context). Judicial Watch has
    also been I'llcogniZed asa member ofthe news media in other FOIA litigation. See, e.g"
    JudiciuIWatch;Jm:. v. U.S. DepartmentojJustice, 133 F. Supp.2d 52 (D.D.C. 20(0);
    and, Judicial Watch, Ji'Ic. v. Department ofDefense, 2006 U. S. Dist LEXIS 44003,. *1
    (D.D.C. June 28,2006). Judicial Watch regularly obtains infonnation about the
    operations aod activities of government through FOIA and other means, uses its editorial
    skills to tnrn this information into distinct works, and publishes and disseminates these
    works to the public. It intends to do likewise with the records it receives in response to
    thistequest                                               " •..'

           Judicial Watch also is entitled to a complete waiver of both search fees and
    duplication fees pursuant to 5 U.S.C. § 5S2(a)(4)(A)(iii). Under this provision, records:

    1   Freedom of Information·Act. Pres. Mem. of January 21,2009,74 Fed. Reg. 4683.




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     March 9, 2015
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                                                                at
                    shall be furnished without any charge or a charge
                    reduced below the fees established under clause (ii) if
                    disclosure of the information is in the public interest
                    because it is likely to contribute significantly to public
                    understanding of the operations or activities of government
                    and is not primarily in the commercial interest of the
                    requester.

     5 U.S.C. § 5S2(a)(4)(A)(iii),

             In addition, if records are not produced within twenty. (20) business days, Judicial
     Watch is entitled to a complete waiver of search and duplication fees under Section 6(b)
     of the OPEN Govennnent Act of2007, which amended FOIA at 5 U.S.C. §
     (a)(4)(A)(viii).

            Judicial Watch is a 501(c)(3), noHor-profif, education8J organization, and, by
    definition, it has· no cominercial purpose. Judicial Watch exists to educate the public
    about the operations and activities of government, as well as to increa:>e public
    understanding about the importance of ethics and the rule of  r:rf law in governrnent. The
    particular records requested herein are sought as part of Judicial Watch's ongoing efforts
    iodQC1l1Jlent the operations and activities of the federal. government and to educate the
    public about these   upei:ations and activities. Once Judicial Watch obtains the requested
                   theseupei:ations
    reroids, it intends to analyze them and dissemjnate the-results
                                                           the-reSUlts olitsanalysis, as well as
    the records themseives,as a special written report. Judicial W$u will also educate the
    public via radio programs, Judicial Watch's website, and/or il~letter, among other
    outlets. It also will make the records available to other members of the media or
    researchers upon request. Judicial Watch has a proven ability to disseminate information
    obtaincl
    obtained through FOIA to the public, as demonstt:ated by its long-standing amI
    continuing public outreach efforts.

             Given these circumstances, Judicial Watch is entitled to a public interest fee
    wruverofbolli searcn costs and dupHcanOll costs. MOh~etess, rome event oUfrequest
                    search and/or duplication costs is denied, Judicial Watch is willing to pay
    for a waiver of sear.ch
    up to $350.00 in search and/or duplication costs. Judicial Watch requests that it be
    contacted before any such costs are incurred, in order to prioritize search and duplication
    efforts.

            In an effort to facilitate record production within the statutory time limit, Judicial
                                                                                          Jur1icial
    Watch is willingto accept documents
                              docurnents tn electronic fonnat (e.g. e-mail, .pdfs). When
    necessary, Judicial Watch will also accept the "rolling production" of documents.

            If you do not understand this request or any portion thereof, or if you feel you
    require clarification of this request or any portion thereof, please contact us immediately
    at 202-646-5172 or kbailey@judicialwatch_org. We look forward to receiving the




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     National Archives and Records Administration
     March 9, 2015
     Page4of4

     requested documents and a Waiver of both search and duplication costs within twenty
     (20) business days. Thank you for your cooperation.

     Sincerely,


     ~&iIu(
     Kate Bailey
     Judicial Watch




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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


                                          )
 JUDICIAL WATCH, INC.,                    )
                                          )
  Plaintiff,                              )
                                          )
                v.                        )   Civ. A. No. l5-CV-1740 (RBW)
                                          )
 NATIONAL ARCHIVES AND                    )
 RECORDS ADMINISTRATION,                  )
                                          )
   Defendant.                             )
                                          )




                     EXHIBITC




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                                     NATIONAL A-RCHIVES   and RECORDS ADMINISTRATION          >£>        ,
                                         8601 ADElPHI ROAD   COLLEGE PARK. MD 20740-6001
                                                                                           '"
                                                                                           NATIONAL
                                                                                                    -'


                                                                       www.arthlns.sov     ARCHIYES

  March 19,2015

  Kate Bailey
  Judicial Watch
  425 Third Street, SW, Suite 800
  Washington, DC 20024


  Dear Ms. Bailey,

  This is in response to your Freedom of Information Act request of March 17,2015 for
  records in the custody of the National Archives and Records Administratie.fl, YouI' request
  was received in this office on March 17, 2015 and assigned FOIA case number 46068.
  You requested Independent Counsel Kenneth Starr records related to several versions of
  indictments of Hillary Clinton.

  We have examined the folders from Hickman Ewing's attomey files that you requested.
  From box 2250 the folder "Draft Indictment" (38 pages) is denied in full under EXemption
  (b)(7)(C). From box 2256 the folder "Hillary Rodham ClintonlWebster L. Hubbell Draft
  Indicment" (approximately 200 pages) is denied in full under Exemption (b)(7)(C).

  You requested a waiver for reproduction fees ordinarily charged to researchers, however,
  records transferred to the custody of the Natiomil-!\rchivEls are exempted from th'efee and'
  fee waiVer provisions of the Freedom of Information'Act bEicausEdhere was a fee         .
  schedule in place prior to ena.ctment of the ForA. The applicable sectio'n states that
  "nothing in this subparagraph shall supersede feeS chargeable under a statute specifically
  providing for setting the level of fees for particular types of records" (5 U.S.C. 552
  (a)(4)(A)(vi». The relevant fee statute authorizes the National Archives "to charge a fee
  for making or authenticating copies or reproductions of materials transferred to the
  Archivisfs custody: (44U.S.C. 2116(c».

  The in<ibility to grant the requested fee waiver doesnot 'COnstitute a denial under the
  terms of the Freedom of Information Act. However, if you consi,der this response to be a
  denial of your request, or if you wish to appeal the document denials, you may appeal my
  decision within 60 calendar days from the date of this letter. Appeals must be submitted in
  writing and addressed to the Deputy Archivist of the United States, National Archives and
  Records Administration, 8601 Adelphi Road, Room 4200, College Park, MD 20740. In
  your letter, please cite your case number and clearly label both the letter and envelope as
  a FOIA Appeal. As an alternative, you may e-mail your appeal to foia@nara.gov. If yqu
  choose this option, please use the Words "F01A appeal" in tHe subject line and also cite
  your case number.                                                     . ,.




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  This concludes the processing of your requesllfyou have any question about the way
  we handled your request, or about our FOIA regulations or procedures, please contact
  David Paynter at david.paynter@nara.govor (301) 837-2041.-

  Sincerely,




  MARTHA WAGNER MURPHY
  Chief
  Special Access and FOIA Staff




   NATIONAL ARCHIVES •• d       -
  RECORDS-ADMINISTRATION

     8601 ADELPHI ROAD
  COLLEGE PARK. MD 20740·6001
       www.archivcs.gov
       www.a-rdlivcs.gov

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                     IN THE UNITED STATES DISTRlCT COURT
                         FOR THE DISTRICT OF COLUMBIA


                                          )
 JUDICIAL WATCH, INC.,                    )
                                          )
  Plaintiff,                              )
                                          )
                v.                        )   Civ. A. No. 15-CV-1740 (RBW)
                                          )
 NATIONAL ARCHIVES AND                    )
 RECORDS ADMINISTRATION,                  )
                                          )
   Defendant.                             )
                                          )




                     EXHIBITD




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  NATIONAL
  ARCHIVES
     October 16, 2015

      VIA FIRST CLASSMAIL .
      Ms. Kate Bailey
      Judicial Watch
      425 Third Street, SW, Suite 800
    . Washington, DC 20024

                                       Re: NARA Case No.RI> 46086; NARA Appeal No. NGClS-07lA

     Deat Ms. Ralley:

    This is to advise you that your adinifiistrtt,tive appeal, dated May 14, 2015, from the initial decision of·
    the Special Access arid FOIA Staff, was receiwdby this office on behalf of the Deputy Archivist of
    the United States on May 14, 2015. Your appeal has been assigned number NGCI5-07IA. We .
    apologize for our delay in acknowledging your administrative appeal.

    The Deputy Archivist of the United States has the reSponsibility to 3.djudicate such appeals. We·
    regret any delay in responding to your aPpeal. In an attempt to afford each appellant equal and
    impartial treatment, we have adopted a general practice ofassigning appeals in the approximate order
    of receipt, As Stated above, your appeal has been assigned uUItlber NGC15-01IA. Please provide·
    this ninnber in any future correspondence to this office regarding this matter. Please note, if you
    provide an e-mail addressor anothet electronic means ofcolbtnunicationwithyour appeal, this office
    may respond to you electronically even if yoU submitted your appeal via regular U.s. Postal Service.

    We will notify you of the decision on your appeal as soon as we can. If you have any questions ..
    about the status of your appeal, you may contact me at the number and/or email below. lf you have
                           through the FOIAonline electronic portal, you may also obtain an update on
                    appeaithrough
    submitted your· appeal
    the status ';fyouf appeal by logging into your FOUanlrn£ accolffit




   \~~~~
     """""--"''-~~
             A. SCANLON
          Officer
    Office of General CoUnsel
    (301) 837-0583
    joseph.scanlon@nara.gov .

 NATIONAL ARCHIVES                      and
RECORDS ADMINISTRATION
   8601 ADELPHI ROAD·,,,
COLLEGE PARK. MD 2074G-6()OI
      WW\II.   o.ft:hl-l1P..~. o-Ol!


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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


                                          )
 JUDICIAL WATCH, INC.,                    )
                                          )
  Plaintiff,                              )
                                          )
                v.                        )   Civ. A. No. lS-CV-1740 (RBW)
                                          )
NATIONAL ARCHIVES AND                     )
RECORDS ADMINISTRATION,                   )
                                          )
   Defendant.                             )
                                          )




                     EXHIBITE




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    ~

    NATIONAL
    ARCHIVES

        December 4,2015

        Ms. Kate Bailey
        Judicial Watch
        425 Third Street, SW, Suite 800
        Washington, DC 20024

                       Re: Freedom of Information Act Appeal NGC15-071A

        Dear Ms. Bailey:

        This is in response to your Freedom of Information Act (FOIA) letter in which you appeal the
        initial decision of the Special Access and ForA Staff regarding your ForA request, RD 46068,
        which asked for access to accessioned records within the holdings of the National Archives and
        Records Administration (NARA).

        I have been informed that you filed a lawsuit in the United States District Court for the District
        of Columbia conceruing
                     concerning NARA's initial decision in this matter. As a result, and in accordance
        with 36 C.F.R. § 12S0.74(a)(2), I am closing your appeal file now that your request is the subject
        of a FOIA lawsuit.

        Siricerely




        DEBRA STEIDEL WALL
        Deputy Archivist of the United States




   NATIONAL ARCHIVES and
   RECORDS ADMINISTRATION

        8601 ADElPHI ROAD
   COLLEGE PARK. MD 20740-6001
         www.archives.goy


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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
                             _____
                                   )
 JUDICIAL WATCH, INC.              )
                                   )
                      Plaintiff,   )
                                   )
           v.                      ) No. 1:15-cv-01740-RBW
                                   )
 NATIONAL ARCHIVES AND             )
 RECORDS ADMINISTRATION,           )
                                   )
                      Defendant. )
                             _____ )

                    DEFENDFANT’S STATEMENT UNDER LCvR 7(h)(1)

        Defendant, the National Archives and Records Administration (NARA), hereby states

 pursuant to LCvR 7(h)(1) that no genuine issue exists as to the following material facts:

        1. NARA maintains custody of the records of the independent counsels who served

 under Title VI of the Ethics in Government Act of 1978. Decl. of Martha Wagner Murphy ¶ 15.

        2. The records maintained by NARA include the records of Kenneth W. Starr and his

 successors. Id. ¶ 18.

        3. Mr. Starr served as an independent counsel under Title VI from 1994 until 1999; his

 successors served until 2004. Id.

        4. Included among the records of Mr. Starr and his successors are drafts of a proposed

 indictment of Hillary Rodham Clinton. Id. ¶ 23.

        5. The records of Mr. Starr and his successors fill approximately 3149 cubic feet of space

 at NARA. Id.. ¶ 19.

        6. An index to those records was prepared by the second and last of Mr. Starr’s

 successors and her staff in connection with the transfer of the records to NARA. Id.




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            7. A copy of that index was provided to plaintiff, Judicial Watch, by NARA in May

 2015. Id. ¶ 19 n.7.

            8. By letter dated March 9, 2015, plaintiff submitted a request to NARA under the

 Freedom of Information Act (FOIA), 5 U.S.C. § 552, for the following records:

            All versions of indictments against Hillary Rodham Clinton, including, but not
            limited to, Versions 1, 2, and 3 in box 2250 of the Hickman Ewing Attorney Files,
            the “HRC/__Draft Indictment” in box 2256 of the Hickman Ewing Attorney Files,
            as well as any all versions written by Deputy Independent Counsel Hickman
            Ewing, Jr. prior to September of 1996.

 Id. ¶ 6.

            9. Hickman Ewing was a lawyer who worked as Kenneth Starr’s deputy in Little Rock.

 Id. ¶ 6 n.2.

            10. Plaintiff said in its request that “[t]he records in question are located in the material

 submitted to [NARA] by the Office of Independent Counsel In Re: Madison Guaranty Savings &

 Loan Association, also known as ‘the records of IC Starr.’” Id. ¶ 6.

            11. NARA responded to plaintiff’s request by locating the two boxes in the records of

 Mr. Starr and his successors to which the request referred, Boxes 2250 and 2256. Id. ¶¶ 20-21.

            12. Both boxes bear the name, “Hickman Ewing Attorney Work Product”; both boxes

 bear the heading “HRC,” the initials of Hillary Rodham Clinton; and both boxes state on their

 face that their contents include “material subject to Rule 6(e) of the Federal Rules of Criminal

 Procedure.” Id. ¶ 20.

            13. Box 2250 contains a folder labeled “Draft Indictment.” Id.

            14. Box 2256 contains a folder labelled “Hillary Rodham Clinton/Webster L. Hubbell

 Draft Indictment.” Id.




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        15. Multiple drafts of the proposed indictment of Mrs. Clinton were located by NARA

 within these folders. See id. ¶ 21 & Ex. A.

        16. NARA also responded to plaintiff’s FOIA request by “search[ing] the ‘Box

 Contents’ and ‘Subject’ fields [of the index to the records of Mr. Starr and his successors] to

 identify any other folders that could contain ‘Indictment’ and ‘Hillary Rodham Clinton” or

 ‘Hillary Clinton’ or ‘HRC.’” Id. ¶ 21.

        17. This search “did not locate any other responsive folders.” Id.

        18. Each of the drafts of the proposed indictment that NARA located is marked on its

 face as a draft; is denominated as a draft in accompanying cover memos; or shows through its

 incompleteness that it is a draft. Id. ¶ 23.

        19. Some of the drafts contain marginalia or annotations; some are identical duplicates of

 each other; some are non-identical duplicates; some are accompanied by cover memos; some are

 accompanied by handwritten notes on separate pieces of paper; and some are accompanied by

 fax cover sheets. Id.

        20. One of the drafts consists merely of “scraps of a draft indictment.” Id.

        21. NARA is withholding each of the drafts in full pursuant to FOIA Exemption 3 and

 Rule 6(e), id. ¶ 25, and, separately, pursuant to FOIA Exemptions 7(C) and 6. Id. ¶ 35.

        22. No indictment of Mrs. Clinton was ever issued, id. ¶ 34, and no charges against her

 were ever brought. Id. ¶ 35.

        23. By letter dated March 19, 2015, NARA advised plaintiff that it had “examined the

 folders from Hickman Ewing’s attorney files that you requested” and was withholding the

 following records “in full” pursuant to FOIA Exemption 7(C): “From box 2250 the folder ‘Draft




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 Indictment’ (38 pages) . . . From box 2256 the folder ‘Hillary Rodham Clinton/Webster L.

 Hubbell Draft [Indictment] (approximately 200 pages).” Id. ¶ 8.

        24. The records to which NARA referred in its letter included records other than drafts

 of the proposed indictment. See id. ¶ 22.

        25. By letter dated May 14, 2015, plaintiff appealed administratively the withholding of

 the above records. Id. ¶ 9.

        26. By letter dated October 16, 2015, NARA advised plaintiff that its administrative

 appeal had been placed into the processing queue. Id. ¶ 10.

        27. On October 20, 2015, plaintiff commenced this action. Id. ¶ 11.

        28. Plaintiff’s commencement of this action caused NARA to close plaintiff’s

 administrative appeal. Id. ¶ 12.

                                             Respectfully submitted,

                                             BENJAMIN C. MIZER
                                             Principal Deputy Assistant Attorney General

                                             CHANNING D. PHILIPS
                                             United States Attorney

                                             ELIZABETH J. SHAPIRO
                                             Deputy Director

                                             s/ David M. Glass
                                             DAVID M. GLASS, DC Bar 544549
                                             Senior Trial Counsel
                                             Department of Justice, Civil Division
                                             20 Massachusetts Ave., N.W., Room 7200
                                             Washington, D.C. 20530-0001
                                             Tel: (202) 514-4469/Fax: (202) 616-847
 Dated: February 2, 2016                     E-mail: david.glass@usdoj.gov




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                                EXHIBIT 1

                                     to

     Plaintiff’s Response to Defendant’s Statement of Material Facts
       Not in Dispute and Statement of Undisputed Material Facts
           in Support of Cross-Motion for Summary Judgment




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 JUDICIAL WATCH, INC.,               )
                                     )
                   Plaintiff,        )
                                     )                Civil Action No. 15-cv-1740 (RBW)
 v.                                  )
                                     )
 NATIONAL ARCHIVES AND               )
 RECORDS ADMINISTRATION,             )
                                     )
                   Defendant.        )
 ____________________________________)


                         DECLARATION OF PAUL J. ORFANEDES

        I, Paul J. Orfanedes, hereby declare as follows:

        1.      I am counsel for Judicial Watch, Inc. (“Judicial Watch”), Plaintiff in the above-

 captioned matter. I also am an officer and director of Judicial Watch, and, as such, have personal

 knowledge of the matters set forth below.

        2.      The following five (5) reports are publicly available on the U.S. Government

 Publishing Office’s website: https://www.gpo.gov/fdsys/browse/collection.action?collection

 Code=GPO&browsePath=Independent+Counsel+Investigations%2FLewinsky&isCollapsed=tru

 e&leafLevelBrowse=false&isDocumentResults=true&ycord=191:

                (1)    Final Report of the Independent Counsel, In re Madison
                       Guaranty Savings and Loan Association (In re Anthony
                       Marceca) (published March 16, 2000);

                (2)    Final Report of the Independent Counsel, In Re Madison
                       Guaranty Savings and Loan Association (In re Bernard
                       Nussbaum) (published March 16, 2000);

                (3)    Final Report of the Independent Counsel, In re Madison
                       Guaranty Savings and Loan Association (In re William
                       David Watkins and In re Hillary Rodham Clinton)
                       (published June 22, 2000);




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                (4)     Final Report of the Independent Counsel, In re Madison
                        Guaranty Savings and Loan Association (published January
                        5, 2001); and

                (5)     Final Report of the Independent Counsel, In Re Madison
                        Guaranty Savings and Loan Association (Regarding
                        Monica Lewinsky and Others) (published March 6, 2002).

 I am familiar with these reports based on my prior work at Judicial Watch and also reviewed the

 reports in the course of my representation of Judicial Watch in this litigation. Each report

 contains enormous quantities of investigative materials, including grand jury testimony. Each

 report also appears to have been approved for publication by the U.S. Court of Appeals for the

 District of Columbia Circuit (“D.C. Circuit”) pursuant to Section 594(h), Title 28 of the United

 States Code.

        3.      In the course of my representation of Judicial Watch in this litigation, I have

 become familiar with the January 5, 2001 Final Report of the Independent Counsel in In re

 Madison Guaranty Savings and Loan Association (“Final Report”). In particular, I reviewed

 Chapter 3 of Volume II, Part B of the January 5, 2001 Final Report, entitled “Mrs. Clinton’s

 Madison Guaranty Representation.” A true and correct copy of Volume II, Part B, Chapter 3 of

 the January 5, 2001 Final Report is attached to Plaintiff’s Statement of Undisputed Material

 Facts in Support of Cross-Motion for Summary Judgment as Exhibit 2.

        4.      Based on my review of Chapter 3, I prepared a chart identifying the various

 sources of information relied on, cited, and quoted in the chapter. A true and correct copy of the

 chart, entitled “January 5, 2001 Final Report – Sources of Information” is attached hereto as

 Exhibit A. The chart differentiates between non-grand jury information, grand jury information,

 and documentary evidence. Each entry also includes a reference to the page(s) in the chapter

 where the citation was found. As the chart demonstrates, Chapter 3 cites, references, and quotes,

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 in some cases extensively, from as many as 44 different, non-grand jury sources of information,

 not including numerous individual documents, gathered from various investigations. These non-

 grand jury sources of information include:

                •      independent counsel witness interviews;

                •      interrogatory responses to regulators;

                •      deposition testimony;

                •      trial testimony;

                •      congressional testimony;

                •      witness interviews by regulators;

                •      regulatory reports;

                •      media reports;

                •      television interviews; and

                •      at least one book.

 The chapter also cites, references, and quotes grand jury testimony from at least 25 grand jury

 appearances by 21 witnesses between 1995 and 1998.

        5.      In June 2014, Judicial Watch submitted a Freedom of Information Act (“FOIA”)

 request to the National Archives and Records Administration (“Archives”) seeking access to a

 binder of materials prepared by the Office of the Independent Counsel (“OIC”), as referenced in

 The Death of American Virtue: Clinton vs. Starr (Broadway Books 2011) by Ken Gormley. The

 Archives subsequently produced 246 pages of records in response to the request.

        6.      Among the records produced by the Archives to Judicial Watch in response to the

 June 2014 FOIA request was a 206-page memorandum, dated April 22, 1998, to “All OIC

 Attorneys,” from the “HRC Team” and bearing the subject line “Summary of Evidence: Hillary



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 Rodham Clinton and Webb Hubbell.” A true and correct copy of the memorandum is attached to

 Plaintiff’s Statement of Undisputed Material Facts in Support of Cross-Motion for Summary

 Judgment as Exhibit 3.

        7.      I reviewed the April 22, 1998 “Summary of Evidence” memorandum produced by

 the Archives and, based on that review, prepared a second chart identifying the various sources

 of information cited, referenced, and quoted in the memorandum. A true and correct copy of this

 second chart, entitled “April 22, 1998 Summary of Evidence Memorandum – Sources of

 Information; Non-Exhaustive” is attached hereto as Exhibit B. Like the chart I prepared for

 Volume II, Part B, Chapter 3 of the January 5, 2001 Final Report, this second chart differentiates

 between non-grand jury information, grand jury information, and documentary evidence. Each

 entry also includes a reference to the page(s) in the memorandum where the citation was found.

 Because the memorandum’s citations are in different formats (e.g. “GJ,” “G.J.,” vs. “Grand Jury”

 and “Deposition vs. Dep.”) and I searched the memorandum electronically in preparing the chart,

 I am not confident that I was able to identify all of the relevant citations in the memorandum.

 The information I was able to gather nonetheless demonstrates that the memorandum cites,

 references, and quotes from many of the same, non-grand jury sources of information cited in

 Volume II, Part B, Chapter 3 of the January 5, 2001 Final Report. It also cites, references, and

 quotes from a great many additional sources, including as many as 12 separate FBI 302s.

 Although not an exhaustive count, it also cites, references, and quotes testimony from at least 34

 grand jury appearances by some 27 witnesses between 1995 and 1998, including 12 witnesses

 not referenced in Volume II, Part B, Chapter 3 of the January 5, 2001 Final Report. Id.

        8.      The April 22, 1998 “Summary of Evidence” memorandum, which is largely

 unredacted, is available to the public on Judicial Watch’s website along with the other records



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 produced by Archives in response to Judicial Watch’s June 2014 FOIA request. Judicial Watch

 did not pursue an administrative appeal of the Archives’ relatively few number of redactions for

 reasons unrelated to whether Judicial Watch believes those redactions have merit.

        9.      On March 9, 2015, Judicial Watch submitted a FOIA request to the Archives

 seeking access to Ewing’s draft indictments. Specifically, Judicial Watch requested:

        All versions of indictments against Hillary Rodham Clinton, including but not
        limited to Versions 1, 2, and 3 in box 2250 of the Hickman Ewing Attorney Files,
        the “HRC/___ Draft Indictment” in box 2256 of the Hickman Ewing Attorney
        Files, as well as any and all versions written by Deputy Independent Counsel
        Hickman Ewing, Jr. prior to September of 1996.

        10.     On March 5, 2016, I performed a simple google search using the words “Starr

 Report.” The search yielded 13,200,000 search results. A google search for “Hillary Clinton

 draft indictment” on March 5, 2016 yielded 547,000 search results.

        11.     Judicial Watch’s efforts to gain access to the draft indictments has been the

 subject of news reports by CNN, Politico, The New York Post, Investor’s Business Daily, The

 National Review, and even the United Kingdom’s Daily Mail. See, e.g., Eric Bradner, “Judicial

 Watch sues for draft Whitewater indictments of Hillary Clinton,” CNN (Oct. 20, 2015); Josh

 Gerstein, “Feds fight disclosure of Hillary Clinton Whitewater indictment drafts,” Politico (Feb.

 3, 2016); John Crudle, “Skeletons in Hill’s closet are ready to rumble,” New York Post” (Feb. 16,

 2016); “Whitewater Indictment Haunts Hillary All the Way to Benghazi,” Investor’s Business

 Daily (Oct. 21, 2015); Brendan Bordelon, “Lawsuit: Obama Administration Withholding Draft

 of Clinton Whitewater Indictment,” National Review (Oct. 20, 2015); and J. Taylor Rushing,

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"Indictment drafted against Hillary Clinton 20 years ago in Whitewater scandal must be

published, conservative group demands," Daily Mail (Oct. 21,
                                                         21 , 2015).

       I1declare under penalty of perjury that the foregoing is true and correct. Executed on
                               ofpeIjury

March i  i, 2016 in Washington, D.C.
      .J.1,
      .JJ.,                     D.C.




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                               EXHIBIT A

                                     to

                     Declaration of Paul J. Orfanedes




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 I.     Non-Grand Jury.

        1.      Campbell, George, June 28, 1996 Interview (Report at 460)

        2.      Clark, FNU, July 26, 1997 Interview (Report at 474)

        3.      Clinton, Hillary, November 10, 1994 FDIC Interview (Report at 474)

        4.      Clinton, Hillary, April 22, 1995 Deposition Testimony (Report at 431-434, 435-

 36, 458, 472-73, 473, and 474)

        5.      Clinton, Hillary, May 24, 1995 RTC Interrogatory Responses (Report at 437)

        6.      Clinton, Hillary, January 20, 1996 RTC Interrogatory Responses (Report at 483,

 484-85, and 487)

        7.      Clinton, Hillary, February 14, 1996 RTC/FDIC Interview (Report at 437-39, 470,

 474-75, 481-82, 486, and 488)

        8.      Clinton, Hillary, April 25, 1998 Deposition Testimony (Report at 430-431, 439-

 41, 441-49, 467, 478-80, 486, and 489-90)

        9.      Clinton, William J., April 22, 1995 Deposition Testimony (Report at 420 and 421)

        10.     Clinton, William J., April 28, 1996 Deposition Testimony (Report at 421-22)

        11.     Clinton, William J., April 28, 1996 Testimony at Jim McDougal’s criminal trial

 (Report at 420)

        12.     Denton, Don, June 20, 1996 Interview (Report at 475

        13.     Denton, Don, June 26, 1996 Interview (Report at 483)

        14.     Ford, Darlene, July 29, 1996 Interview (Report at 483)

        15.     Gregory, Watt, May 24, 1995 Interview (Report at 459)

        16.     Heritage-Hays, Pat, January 6, 1995 Interview (Report at 453)




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        17.     Strayhorn, Susan March 30, 1994 Interview (Report at 423)

        18.     Hubbell, Webster, February 1, 1995 Interview (Report at 454 and 458)

        19.     Hubbell, Webster, October 26, 1995 Senate Whitewater Committee Testimony

 (Report at 455, 456, and 458-59)

        20.     Hubbell, Webster, February 7, 1996 Senate Whitewater Committee Testimony

 (Report at 489)

        21.     Jones, Wilson, June 27, 1996 Interview (Report at 460)

        22.     Kennedy, William, January 16, 1996 Senate Whitewater Committee Testimony

 (Report at 460)

        23.     Knight, David, May 16, 1996 Senate Whitewater Committee Testimony (Report

 at 451 and 452)

        24.     Latham, John, February 14, 1995 Interview (Report at 425 and 453)

        25.     Latham, John, May 15, 1996 Senate Banking Committee Testimony (Report at

 425 and 453)

        26.     Latham, John, May 15, 1996 Senate Whitewater Committee Testimony (Report at

 425, 452, and 453)

        27.     Latham, John, May 16, 1996 Senate Whitewater Committee Testimony (Report at

 425, 452, and 453)

        28.     Latham, John, July 12, 1995 RTC Interview (Report at 453)

        29.     Massey, Rick, January 11, 1996 Senate Whitewater Committee Testimony

 (Report at 449, 450, 451, 457, 460-61, 463, and 464-65)

        30.     McDougal, Jim, May 8, 1996 Criminal Trial Testimony (Report at 414, 415, 416

 and 417)



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        31.    McDougal, Jim, June 22, 1995 Interview (Report at 417 and 422)

        32.    McDougal, Jim, August 96-June 97 Interview (Report at 415, 416, 417, 418, 419,

 422, 423-24, 427, and 434)

        33.    Moles, Rae Ann, August 4, 1994 and February 9, 1995 Interview (Report at 425-

 26)

        34.    Patton, Martha, September 25, 1996 Interview (Report at 483)

        35.    Schaufele, Mike, May 27, 1988 Deposition Testimony (Report at 472)

        36.    Ward, Seth, February 12, 1996 Senate Whitewater Testimony (Report at 470)

        37.    Pillsbury Madison & Sutro, LLP, “A Report on Certain Real Estate Loans and

 Instruments Made by Madison Guaranty Savings & Loan and Related Entities: Prepared for

 Resolution Trust Corporation” (December 19, 1995) (Report at 468-69)

        38.    Pillsbury Madison & Sutro LLP, “A Supplemental Report on the Representation

 of Madison Guaranty Savings & Loan by the Rose Law Firm: Prepared for Federal Deposit

 Insurance Corporation” (February 25, 1996) (Report at 481 and 484)

        39.    FDIC-OIG Supplemental Report on Rose Law Firm Conflicts of Interest

 (September 20, 1996) (Report at 474)

        40.    Frantz, Rempel, “Fallout form Collapse of S&L Shadows Clinton,” Los Angeles

 Times, November 7, 1993 (Report at 417)

        41.    Maraniss, David and WeissKopf, Michael, “Lawyer Will Review Arkansas Land

 Deal,” Washington Post, March 12, 1992 (Report at 424)

        42.    Stewart, James B., Blood Sport (1996) (Report at 423)

        43.    Prime Time Live: Diane Sawyer Interview of Susan McDougal (ABC Television,

 August 30, 1996) (Report at 425)



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        44.    Larry King Live: Larry King Interview of Susan McDougal (CNN, September 6,

 1996) (Report at 425)


 II.    Grand Jury.

        1.     Bunch, Gary, January 20, 1998 Grand Jury Testimony (Report at 462)

        2.     Clark, R., December 5, 1995 Grand Jury Testimony (Report at 473)

        3.     Clinton, Hillary, January 26, 1996 Grand Jury Testimony (Report at 428-30 and

 491)

        4.     Denton, Don, August 20, 1996 Grand Jury Testimony (Report at 472, 474, 475,

 476-77, 478, and 490)

        5.     Denton, Don, March 19, 1998 Grand Jury Testimony (Report at 482)

        6.     Donovan, Rick, December 6, 1995 Grand Jury Testimony (Report at 480)

        7.     Giroir, Joe, July 18, 1996 Grand Jury Testimony (Report at 436, 456, and 460)

        8.     Gregory, Watt, January 3, 1996 Grand Jury Testimony (Report at 459 and 460)

        9.     Handley, Sarah, October 31, 1995 Grand Jury Testimony (Report at 427)

        10.    Henley, William, June 18, 1996 Grand Jury Testimony (Report at 422 and 423)

        11.    Hubbell, Webster, December 19, 1995 Grand Jury Testimony (Report at 457, 458,

 and 491)

        12.    Hubbell, Webster, May 7, 1996 Grand Jury Testimony (Report at 455 and 473)

        13.    Hubbell, Webster, August 22, 1996 Grand Jury Testimony (Report at 471-72)

        14.    Knight, David, December 6, 1995 Grand Jury Testimony (Report at 457)

        15.    Lynch, Loretta, February 1, 1996 Grand Jury Testimony (Report at 453 and 454)

        16.    Massey, Rick, November 7, 1995 Grand Jury Testimony (Report at 449, 450, 456,

 457, 460, and 463)

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        17.      Massey, Rick, December 3, 1997 Grand Jury Testimony (Report at 449, 450, 451,

 and 454)

        18.      McDougal, Jim, April 2, 1997 Grand Jury Testimony (Report at 415, 416, 417,

 418, and 423)

        19.      Moles, Rae Ann, October 19, 1995 Grand Jury Testimony (Report at 426 and

 427)

        20.      Randoph, R.D., September 17, 1996 Grand Jury Testimony (Report at 427)

        21.      Schaufele, Mike, January 30, 1996 Grand Jury Testimony (Report at 482 and 495)

        22.      Selig, John, July 18, 1996 Grand Jury Testimony (Report at 466)

        23.      Thomases, Susan, February 29, 1996 Grand Jury Testimony (Report at 454)

        24.      Tucker, Jim Guy, March 18, 1998 Grand Jury Testimony (Report at 467 and 482)

        25.      Ward, Seth, January 17, 1996 Grand Jury Testimony (Report at 470 and 482)


 III.   Documentary Evidence.

        Report at 419, 420, 430, 431, 436, 439-40, 441, 444, 449, 452, 453-54, 454, 463, 466,
 469, 470, 471, 473, 474, 475, 478, 480, 481, 482, 483, and 490.




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       APRIL 22, 1998 SUMMARY OF EVIDENCE MEMORANDUM – SOURCES OF
                        INFORMATION; NON-EXHAUSTIVE

 I.     Non-Grand Jury.

        1.       Adams, Roger, July 27, 1995 Senate Testimony (Memo at 98)*

        2.       Breslaw, April, April 1994 Interview (Memo at 64)*

        3.       Breslaw, April, July 28, 1994 Senate Banking Committee Deposition Testimony

 (Memo at 55)*

        4.       Breslaw, April, June 6, 1995 Senate Banking Committee Deposition Testimony

 (Memo at 57 and 64)*

        5.       Breslaw, April, August 10, 1995 House Testimony (Memo at 56)*

        6.       Breslaw, April, October 23, 1995 Senate Banking Committee Deposition

 Testimony (Memo at 57 and 58)*

        7.       Breslaw, April, November 30, 1995 Senate Banking Committee Testimony

 (Memo at 51, 55, 58 and 63)*

        8.       Castleton, Thomas, June 27, 1995 Senate Deposition Testimony (Memo at 102)*

        9.       Castleton, Thomas, August 3, 1995 Senate Hearing Testimony (Memo at 102)*

        10.      Clinton, Hillary, April 22, 1995 Deposition Testimony (Memo at 24)

        11.      Clinton, William J., April 22, 1995 Deposition Testimony (Memo at 31)

        12.      Hubbell, Webster, April 20, 1995 Interview (Memo at 63)

        13.      Hubbell, Webster, August 10, 1995 House Banking Committee Testimony

 (Memo at 51, 52 and 63)*

        14.      Hubbell, Webster, December 1, 1995 Senate Testimony (Memo at 55 and 63)*

        15.      Hubbell, Webster, February 7, 1996 Senate Testimony (Memo at 58 and 61)

        16.      Latham, Rick, May 15, 1996 Senate Deposition Testimony (Memo at 37)


 * Indicates source was not included in Chapter 3, Vol. II, Part B of 2001 Final Report.

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        17.     Latham, Rick, May 16, 1996 Senate Hearing Testimony (Memo at 37)

        18.     Margolis, David, August 10, 1995 Senate Hearing Testimony (Mem at 98)*

        19.     Massey, Rick, January 11, 1996 Senate Hearing Testimony (Memo at 24 and 33)

        20.     Neuwirth, Steve, July 10, 1995 Senate Deposition Testimony (Memo at 101)*

        21.     Salter, FNU, June 30, 1995 Deposition Testimony (Memo at 98)*

        22.     Thomases, Susan, August 8, 1995 Senate Hearing Testimony (Memo at 101)*

        23.     Vernon, Jordan, July 24, 1997 House Testimony (Memo at 161, 162 and 163)*

        24.     Williams, Maggie, October 24, 1994 Interview (Memo at 101)*



 II.    Grand Jury.

        1.      Adams, Roger, May 9, 1995 Grand Jury Testimony (Memo at 98)*

        2.      Bassett Schaffer, Beverly, November 8, 1995 Grand Jury Testimony (Memo at

 75)*

        3.      Breslaw, April, June 16, 1994 Grand Jury Testimony (Memo at 51)*

        4.      Castleton, Thomas, April 4, 1995 Grand Jury Testimony (Memo at 102)*

        5.      Clark, Ron, March 30, 1994 Grand Jury Testimony (Memo at 23)*

        6.      Clark, Ron, December 2, 1997 Grand Jury Testimony (Memo at 91)*

        7.      Donovan, Rick, January 6, 1998 Grand Jury Testimony (Memo at 56, 69, 70 and

 72)*

        8.      Donovan, Rick, January 21, 1998 Grand Jury Testimony (Memo at 56, 59 and

 66)*

        9.      Giroir, Joe, July 18, 1996 Grand Jury Testimony (Memo at 15, 24 and 38)

        10.     Gregory, Watt, January 3, 1996 Grand Jury Testimony (Memo at 40)
 * Indicates source was not included in Chapter 3, Vol. II, Part B of 2001 Final Report.

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         11.    Handley, Sarah, October 31, 1995 Grand Jury Testimony (Memo at 32)

         12.    Henley, William, June 18, 1996 Grand Jury Testimony (Memo at 27)

         13.    Heuer, Sam, April 1, 1997 Grand Jury Testimony (Memo at 70 and 71)*

         14.    Heuer, Sam, October 8, 1997 Grand Jury Testimony (Memo at 70)*

         15.    Heymann, Phillip, June 13, 1995 Grand Jury Testimony (Memo at 97 and 98)*

         16.    Hubbell, Webster, December 19, 1995 Grand Jury Testimony (Memo at 23 and

 90)

         17.    Hubbell, Webster, August 22, 1996 Grand Jury Testimony (Memo at 65)

         18.    Kennedy, Gail, January 24, 1995 Grand Jury Testimony (Memo at 96)*

         19.    Kumpe, Peter, February 3, 1998 Grand Jury Testimony (Memo at 69 and 77)*

         20.    Lynch, Loretta, February 1, 1996 Grand Jury Testimony (Memo 79, 80, 81, 82

 and 83)

         21.    Margolis, David, June 14, 1995 Grand Jury Testimony (Memo at 98)*

         22.    Massey, Rick, November 7, 1995 Grand Jury Testimony (Memo at 33, 37 and 38)

         23.    Massey, December 3, 1997 Grand Jury Testimony (Memo at 89 and 90)

         24.    McDougal, James, April 2, 1997 Grand Jury Testimony (Memo at 15)

         25.    McLarty, Mack, April 17, 1997 Grand Jury Testimony (Memo at 156, 157 and

 158)*

         26.    Moles, Rae Ann, October 19, 1995 Grand Jury Testimony (Memo at 31)

         27.    Neuwirth, Steve, February 28, 1995 Grand Jury Testimony (Memo at 97 and

 101)*

         28.    Neuwirth, Steve, April 2, 1996 Grand Jury Testimony (Memo at 101)*

         29.    Nussbaum, Bernard, June 13, 1995 Grand Jury Testimony (Memo at 97)*
 * Indicates source was not included in Chapter 3, Vol. II, Part B of 2001 Final Report.

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        30.     O’Neill, Henry, June 6, 1995 Grand Jury Testimony (Memo at 97)*

        31.     Sloan, Cliff, April 4, 1995 Grand Jury Testimony (Memo at 97)*

        32.     Thomases, Susan, February 29, 1996 Grand Jury Testimony (Memo at 40, 84, 86,

 87 and 88)

        33.     Ward, Seth, January 17, 1996 Grand Jury Testimony (Memo at 11)

        34.     Ward, Seth, January 21, 1998 Grand Jury Testimony (Memo at 76)*



 III.   FBI 302s.

        1.      Alford, Jimmie (Memo at 51 and 73)*

        2.      Castleton, Thomas (Memo at 102)*

        3.      Dover, Darrell (Memo at 6)*

        4.      Gregory, Watt (Memo at 40)*

        5.      Heritage-Hays, Pat (Memo at 37)*

        6.      Hubbell, Webster (Memo at 39 and 40)*

        7.      Latham, John (Memo at 22 and 37)*

        8.      McDougal, Jim (Memo at 15, 18, 21, 22, 27, 28, 29 and 30)*

        9.      Moles, Rae Ann (Memo at 31 and 32)*

        10.     OIC (Memo at 65)*

        11.     Strayhorn, Susan (Memo at 27)*

        12.     Williams, Gary (Memo at 102)*




 * Indicates source was not included in Chapter 3, Vol. II, Part B of 2001 Final Report.

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                                EXHIBIT 2

                                     to

     Plaintiff’s Response to Defendant’s Statement of Material Facts
       Not in Dispute and Statement of Undisputed Material Facts
           in Support of Cross-Motion for Summary Judgment




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                                     PART B

           THE RELATIONSHIP OF MADISON GUARANTY, CMS, AND
                         THE ROSE LAW FIRM

                                    Chapter 3:

                  Mrs. Clinton's Madison Guaranty Representation




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                                     I.       INTRODUCTION

        Mrs. Clinton represented Madison Guaranty between April 1985 and July 1986, a time

 when the institution was in severe financial trouble and when insiders committed numerous

 criminal and otherwise fraudulent acts. The most serious of those fraudulent and criminal acts

 are the subject of Chapter 1 of this Part. Several individuals were eventually convicted of or

 pleaded guilty to federal crimes for their roles in connection those transactions. As Chapter 1

 showed, Mrs. Clinton represented Madison Guaranty in regard to some of the fraudulent

 transactions, and Madison Guaranty insiders used and misused her legal services to thwart

 federal examiners.

        After July 14, 1986, when federal regulators had demanded that the McDougals be

 removed from control of Madison Guaranty and Mrs. Clinton ended Madison Guaranty's retainer

 arrangement, it was clear that the insiders had engaged in substantial misconduct, including

 possibly having committed crimes. The Clintons' association with the McDougals, and in

 particular Mrs. Clinton's representation of Madison Guaranty, were, at a minimum, a substantial

 political liability. Moreover, Mrs. Clinton's representation of Madison Guaranty could have been

 a civil liability for Mrs. Clinton and the Rose Law Firm.

        Rose, and in particular Webster Hubbell, also represented Madison Guaranty and its

 conservators, the FDIC and the RTC, beginning in 1989. Hubbell concealed numerous potential

 conflicts of interest from the FDIC and RTC during that representation. That representation and

 Hubbell's acts of concealment are discussed in Chapter 2 of this Part. Hubbell eventually

 pleaded guilty to a felony for those acts.


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        When Governor Clinton ran for president in 1992, Mrs. Clinton's representation of

 Madison Guaranty, including how the representation had come about, became matters of public

 inquiry. At that time, Madison Guaranty had failed, a failure that ultimately cost the American

 tax payers about $73 million. Mrs. Clinton and the Clinton campaign made public statements

 regarding her representation that minimized her role.

        After 1993, the conduct of insiders at Madison Guaranty and the Rose Law Firm became

 the subject of multiple federal investigations. The RTC investigated whether insiders had

 committed criminal acts, and also examined whether the agency had viable civil claims against

 any insiders or professionals who had represented Madison Guaranty, including the Rose Law

 Firm. Also, the FDIC and RTC investigated whether Rose attorneys had concealed potential

 conflicts of interest from the agencies. The FBI and the United States Department of Justice also

 conducted criminal investigations of the conduct of the Madison Guaranty insiders and others,

 including Rose attorneys, who had been associated with the institution. Beginning in 1994, those

 investigations were continued by this Office.

        In the course of the federal investigations, Mrs. Clinton made numerous statements and

 gave sworn testimony regarding her representation of Madison Guaranty. This Office

 investigated whether Mrs. Clinton had committed perjury, made false statements, or obstructed

 justice during those investigations. The Independent Counsel concluded that there was

 insufficient evidence to prove beyond a reasonable doubt that Mrs. Clinton had committed any

 federal criminal offense. While the evidence did show that some of Mrs. Clinton's statements

 had been factually inaccurate, the evidence did not establish beyond a reasonable doubt that she


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 knew that they were factually inaccurate when she made them.

        This Chapter details the results of the investigation of Mrs. Clinton's statements regarding

 her representation of Madison Guaranty and the origin of that representation.

                                         II.    ANALYSIS

 A.     Madison Guaranty Hired Rose.

        In April 1985, Madison Guaranty retained the Rose Law Firm, and that relationship

 continued until July 1986, when the federal regulators removed the McDougals from Madison

 Guaranty and Mrs. Clinton terminated the retainer. The circumstances leading to Rose's being

 retained were later disputed by the individuals involved -- Jim McDougal stated that he hired

 Rose and Mrs. Clinton as a favor to Governor Clinton, while Mrs. Clinton stated that Madison

 Guaranty hired Rose because a Rose associate, Rick Massey, was a friend of Madison Guaranty's

 president, John Latham.

        The circumstances of Rose's being retained by Madison Guaranty were investigated by

 numerous federal bodies, including this Office, the FDIC, the RTC, and Congressional

 committees. The FDIC and RTC investigation included determining whether Madison

 Guaranty's retaining Rose had been proper, or whether it had caused any losses to the institution.

 This Office's investigation included determining whether anyone had committed perjury, made a

 false statement, or obstructed any federal investigation.

        The principals involved in the retention disagreed as to how it came about. Jim

 McDougal said he hired Rose as a favor to Governor Clinton. Mrs. Clinton said Rick Massey

 brought in the work and her only role was to collect on an old bill still owed by Madison Bank


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 and Trust, McDougal's other institution. President Clinton said he could not remember asking

 McDougal to give his wife business, but did not say that McDougal's recollection was false.

 Massey testified he did not remember bringing Madison Guaranty to Rose, asking Mrs. Clinton

 to act as billing partner, or discussing McDougal's unpaid bill. Massey said that when partner

 David Knight had asked Latham for business, Latham said he wanted to give Knight and Massey

 the business, but Jim McDougal hired Madison Guaranty's lawyers. Latham said McDougal was

 satisfied with Madison Guaranty's principal counsel, Mitchell Williams, which was the firm of

 Jim Guy Tucker, McDougal's long-time friend and business partner.

        Documents establish that some of Mrs. Clinton's statements were factually inaccurate.

 Mrs. Clinton stated that in April 1985, Rick Massey tried to bring Madison Guaranty to Rose as a

 client, but was told by some partners that he could not do so until McDougal agreed to pay the

 outstanding bill owed to Rose by Madison Bank and Trust. Mrs. Clinton stated that on April 23

 she arranged for McDougal to have the old bill paid so that Massey could bring Madison

 Guaranty in as a client. That statement was factually incorrect. The evidence uncovered by this

 Office conclusively established that the old bill had been settled in October 1984, six months

 before Mrs. Clinton's supposedly having arranged for it to be paid. In October 1984, Madison

 Bank and Trust paid $5,000 of the outstanding balance of $5,893. Rose never attempted to

 collect the remaining $893, and Madison Bank and Trust never paid it; the understanding was

 apparently that the $5,000 payment was a final settlement of the debt.

        Although the evidence thus conclusively established that Mrs. Clinton's statements had

 been to some extent factually inaccurate, the Independent Counsel concluded that the evidence


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 did not establish beyond a reasonable doubt that Mrs. Clinton knew the statements were factually

 inaccurate when she made them.

        1.      McDougal's Account of Madison Guaranty's Retention of Rose.

        Jim McDougal said Rose hired Madison Guaranty after Governor Clinton jogged by

 Madison Guaranty early one morning in August or September 1984, and sat in a new leather

 chair in McDougal's office, leaving a sweat stain. Governor Clinton had complained about Mrs.

 Clinton's earnings at Rose. McDougal offered to send her some legal work, putting Rose on

 retainer of $2,000 per month. Mrs. Clinton came by McDougal's office later that day to finalize

 the arrangement.

        McDougal's version of events -- sometimes called the "jogging incident" -- was first

 reported by the national media during the 1992 Presidential campaign. McDougal related the

 incident to Jeff Gerth, but it was excluded from Gerth's initial article by his editors. But other

 articles soon reported McDougal's story within the next few weeks, and Madison Guaranty's

 hiring of Rose became a campaign issue.

        McDougal's initial statements to the press during the '92 campaign were consistent with

 his later sworn testimony and statements to this Office about the retainer. There were some

 inconsistencies in the details of McDougal's recollection, and McDougal conceded at his 1996

 criminal trial that his memory of the specifics of the jogging incident may have become

 jumbled.1735



        1735
             Tr. at 7299, United States v. McDougal et al., No. LR-CR-95-173 (E.D. Ark. May 8,
 1996) (testimony of James McDougal) ("I've been asked about it so many hundreds of times, it's

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        McDougal's statements can be summarized as follows:

        Regarding the time that the jogging incident happened, McDougal said Governor Clinton

 jogged to McDougal's office between 6:00 a.m. and 7:00 a.m. one morning near the end of

 August, or the first part of September 1984, but before Madison Bank & Trust's September 25

 board meeting.1736 McDougal said he and Susan McDougal's brother Bill Henley were at the

 office early to catch up on abstracting and title work:1737

        I remember it was very early in the morning, or early for office hours, probably
        about 6:30. My brother-in-law and I were down at the office trying to catch up on
        the paperwork because we were running such a huge volume of sales at these
        various subdivisions. And we were in there very early, and the governor came by
        obviously jogging. He was wearing jogging clothes and was -- you know, it was
        hot weather. He was sweating.1738

        McDougal placed the date of the jogging incident using three events: 1) he said it

 happened soon after he received a leather chair, which Susan McDougal gave him as a birthday

 gift on August 25, 1984;1739 2) McDougal said it happened four to five months before Rose did

 work for Madison Guaranty in front of the Arkansas Securities Department -- work Rose started




 running together in my mind in terms of specifics").
        1736
              J. McDougal 4/2/97 GJ at 97, 108-09; J. McDougal 8/96-6/97 Int. at 9-10. McDougal
 testified that the jogging incident could have occurred even earlier: "[I]t was pretty hot weather .
 . . . I thought it was in the summertime, but I'm basing that on the profuse amount of sweat he left
 on my chair." Tr. at 7299, 7304, United States v. McDougal et al., No. LR-CR-95-173 (E.D.
 Ark. May 8, 1996) (testimony of James McDougal). McDougal did not remember the exact date
 of the jogging incident. J. McDougal 4/2/97 GJ at 100.
        1737
             Tr. at 7298, United States v. McDougal et al., No. LR-CR-95-173 (E.D. Ark. May 8,
 1996) (testimony of James McDougal); J. McDougal 8/96-6/97 Int. at 9.
        1738
               J. McDougal 4/2/97 GJ at 97.
        1739
               J. McDougal 8/96-6/97 Int. at 10.

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 April 23, 1985;1740 and (3) McDougal said it happened before an April 5, 1985 fundraiser

 McDougal hosted for Governor Clinton at Madison Guaranty.1741

        McDougal said he was annoyed when Governor Clinton stained his chair because

 McDougal had just received it as a birthday gift from his wife.1742 McDougal described the event

 to the grand jury in 1997:

        I had this new chair that Susan had just given me that was expensive because it
        was designed to take care of a back problem. And he plopped down in that chair,
        and when he got up, the outline of his body was there in sweat.1743

        On how the topic of Rose's and the Clintons' finances came up, McDougal said he

 casually asked Governor Clinton how things were going, and Governor Clinton responded that

 something at Rose had decreased Hillary's earnings:

        Well, I think we had . . . just the general polite conversation you usually have
        among friends, you know. But when I said, "How are y'all doing," he said that
        they weren't doing too well because they had run into some kind of big expense at
        the Rose Law Firm which had cut down on Mrs. Clinton's income. I don't
        remember what it was.1744


        1740
               Id. at 11.
        1741
               Id.
        1742
               Id. at 10; J. McDougal 4/2/97 GJ at 99:
        Q.           Now, at some point, have you made a statement that the President actually
                     sweated on your new chair?
        A.           Well, that's why it kindly burned at my mind, because the chair was brand new
                     and he was sweating pretty profusely. So when he got up, I had a salty outline of
                     Bill Clinton on my new chair.
          J. McDougal 4/2/97 GJ at 99; see also Tr. at 7299, United States v. McDougal et al.,
        1743

 No. LR-CR-95-173 (E.D. Ark. May 8, 1996) (testimony of James McDougal).
        1744
            J. McDougal 4/2/97 GJ at 98; see also J. McDougal 8/96-6/97 Int. at 9 ("McDougal
 could not recall how they got onto the topic of Clinton's finances. McDougal speculated that he
 may have just asked Clinton how things were going and then Clinton told him about the cutbacks

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        McDougal said he asked Governor Clinton if it would help if Madison Guaranty sent

 work to Hillary,1745 and agreed to when Governor Clinton said yes.1746 At his 1996 criminal trial,

 McDougal testified that after hearing about Rose's problems, "I said to Bill something to the

 effect of, 'We're needing more legal work. Would it help Hillary if we gave some of the work to

 the Rose firm?' And he said yes."1747

        On the $2,000 monthly retainer, McDougal said though he had never paid a retainer, he

 suggested the retainer and the $2,000 monthly amount when he spoke with Mrs. Clinton after the

 meeting with Bill Clinton.1748 McDougal also remembered telling John Latham, then president of



 at the Rose Law Firm"). McDougal did, however, at one point suggest that Governor Clinton,
 not McDougal, initiated the conversation about financial problems. J. McDougal 6/22/95 Int. at
 6-7 ("Clinton came in claiming he had financial problems"). When asked about the notes from
 his 1995 interview during his 1996 criminal trial, McDougal said the notes were wrong:
 "[Governor Clinton] did not specifically raise the question of needing money or elaborate beyond
 responding to what I asked him. . . . I did not say [in the '95 interview] that Clinton came in
 claiming he had financial problems." Tr. at 7300-02, United States v. McDougal, et al., No. LR-
 CR-95-173 (E.D. Ark. May 8, 1996) (testimony of James McDougal); see also Rempel Frantz,
 Fallout from Collapse of S&L Shadows Clinton, L.A. Times, Nov. 7, 1993, at A17 (McDougal
 quoted saying, "I hired Hillary because Bill came in whimpering they needed help").
           J. McDougal 8/96-6/97 Int. at 9. McDougal says Madison Guaranty's retainer of Rose
        1745

 had nothing to do with the Clintons' needing money to meet any obligation related to
 Whitewater. Id. at 12.
        1746
               J. McDougal 6/22/95 Int. at 7; J. McDougal 8/96-6/97 Int. at 9.
        1747
             Tr. at 7298, United States v. McDougal et al., No. LR-CR-95-173 (E.D. Ark. May 8,
 1996) (testimony of James McDougal); see also J. McDougal 4/2/97 GJ at 98 ("And I said,
 'Would it help Hillary if we gave her some of this legal work,' and he said, 'Yes'").
        1748
            J. McDougal 8/96-6/97 Int. at 10; J. McDougal 4/2/97 GJ at 98-99 (McDougal did not
 agree with Governor Clinton on the amount of the retainer). But see Rempel Frantz, Fallout
 from Collapse of S&L Shadows Clinton, L.A. Times, Nov. 7, 1993, at A17 ("I asked him how
 much he needed, and [Governor] Clinton said 'about $2,000 a month,' McDougal said"); J.
 McDougal 8/96-6/97 Int. at 10 ("McDougal could not initially recall whether he or Hillary

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 Madison Guaranty, to write a $2,000 check to Rose the same day as McDougal's meeting with

 Mrs. Clinton.1749 McDougal could not explain why Rose's first retainer check was issued in May

 1985, rather than the fall of 1984.1750

         Finally McDougal said Mrs. Clinton came to Madison Guaranty about an hour after Bill

 Clinton.1751 Mrs. Clinton said Bill Clinton sent her:

         Q.         And [after Bill Clinton's visit] did you then talk to Mrs. Clinton?

         A.         Yes, sir. She came by, I would say, about between 8:00 and 8:30. It was
                    before the opening of business. She came by and said, "Bill asked me to
                    stop, said you wanted to visit about some legal work or whatever."

         Q.         And did you agree with her to give her and the Rose Law Firm some legal
                    work?

         A.         Yes, sir.

         Q.         And was this as a result of the President . . . or the governor at the time
                    and you having a conversation earlier in the day?

         A.         Yes, sir.1752




 Clinton came up with the $2,000 per month figure").
            J. McDougal 8/96-6/97 Int. at 10 ("On the same day as Hillary Clinton's visit,
         1749

 McDougal requested Latham to prepare a $2,000 check to Rose for the first month's retainer.
 McDougal never saw the check that he instructed Latham to prepare. If Latham did not prepare
 the check on the day of Hillary Clinton's visit, then Latham failed to follow his instruction").
         1750
             Id. at 11 ("McDougal was informed that the first retainer check to Rose was not
 issued until May 2, 1985. McDougal thought the checks should have started the same day as
 [Hillary] Clinton's visit which McDougal thought was in approximately September 1984.
 McDougal could not explain why he thinks the retainer was in September 1984 and yet no checks
 were issued to the Rose Law Firm until May 1985").
         1751
                Id. at 9.
         1752
                J. McDougal 4/2/97 GJ at 99.

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         McDougal said he told Mrs. Clinton he needed her help on some real estate abstract

 work.1753 McDougal said the meeting with Mrs. Clinton lasted about five minutes, and Mrs.

 Clinton left Madison Guaranty before 8:30 a.m.1754 McDougal said that day was the last time he

 remembered actually meeting with Mrs. Clinton.1755

         2.        Evidence Reflecting on the Accuracy of McDougal's Version.

                   a.      Mrs. Clinton's Income.

         Tax records showed Mrs. Clinton's Rose income dropped from 1983 to 1985, consistent

 with McDougal's testimony that Governor Clinton told him Mrs. Clinton's Rose earnings had

 fallen. The Clintons' tax returns for 1983-85 show the following earnings for Mrs. Clinton at

 Rose:

                                  Year              Wages from Rose

                                  1983                 $ 82,7411756

                                  1984                 $ 72,9891757

                                  1985                 $ 55,3821758




         1753
                J. McDougal 8/96-6/97 Int. at 10.
            Id. ("McDougal was fairly certain that Hillary Clinton left just prior to 8:30 a.m.
         1754

 because he wanted to introduce Hillary Clinton to John Latham who had not yet arrived to work.
  Latham arrived shortly after Hillary Clinton left").
           McDougal did remember speaking to Mrs. Clinton by phone in 1986 about a
         1755

 proposed brewery. Id. at 13.
         Tax Return and W-2 Statements for William J. and Hillary R. Clinton (1983) (Doc.
         1756

 No. DEK001329).
         Tax Return and W-2 Statements for William J. and Hillary R. Clinton (1984) (Doc.
         1757

 No. DEK000753).

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                   b.       Others' Statements about McDougal's Account.

        President Clinton -- President Clinton testified he had been to Madison Guaranty "[l]ess

 than 10 times, more than two, three"1759 and agreed that while jogging by Madison Guaranty he

 had "once or twice actually went in."1760 When asked about the jogging incident, President

 Clinton said he had "tried to remember" and was not accusing McDougal of lying, but he did not

 remember it: "I don't recall that. I am aware that he has recounted a conversation about that.

 But I don't have any specific recollection of doing that."1761 President Clinton said he did not

 remember asking McDougal to send Mrs. Clinton legal work.1762 President Clinton also said he

 did not remember complaining to McDougal about finances or saying "Hillary and I need some

 money."1763 The President was asked whether he thought McDougal was lying:

        Q.         Do you have any reason to believe that Jim McDougal is not being
                   truthful--
        A.         No.
        Q.         -- about [the jogging incident]?
        A.         I have absolutely -- I have no reason to believe that. And I have really
                   tried to search my memory to see if there was anything remotely similar to
                   what he said. I mean, I really tried to remember the conversations that I've


         Tax Return and W-2 Statements for William J. and Hillary R. Clinton (1985) (Doc.
        1758

 No. DEK001371).
        1759
               W. Clinton 4/22/95 Depo. at 66.
        1760
             Tr. at 70, United States v. McDougal et al., No. LR-CR-95-173 (E.D. Ark. Apr. 28,
 1996) (testimony of William J. Clinton).
        1761
             W. Clinton 4/22/95 Depo. at 67. President Clinton testified, "I don't recall that I did
 know [in 1985 that Hillary was doing some work for Madison Guaranty]. Normally Hillary
 didn't discuss her legal work with me." Id. at 65-66.
        1762
               Id. at 69.
        1763
               Id. at 72.

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                   had with him to try to figure it out, because I am not accusing him of not
                   telling the truth. I do not … I simply do not remember the conversation he
                   says occurred. 1764

        President Clinton gave similar testimony in 1996 for the McDougals' and Governor

 Tucker's criminal trial:

        Q.         And you are aware, sir, that Mr. McDougal has a recollection of an event
                   in which you jogged by and asked Mr. McDougal to place Ms. Clinton's
                   law firm on a retainer. Do you remember that, sir? I'm saying, do you
                   remember that that's one of Mr. McDougal's recollections?

        A.         I remember that -- I am now aware that Mr. McDougal remembers that I
                   asked -- I believe he has testified that he thought I asked him to give
                   Hillary some law business, I don't know about a retainer.

        Q.         And you're now aware that Mr. McDougal remembers that event occurring
                   and you don't remember it; is that correct, sir?

        A.         I remember going in to see him. I do not remember asking him to do that,
                   no.

        Q.         Okay. But you don't recall asking him to place Ms. Clinton on a retainer;
                   is that correct?

        A.         I do not, no.

        Q.         You don't recall -- do you recall asking him to give her a specific amount
                   per month in reference to that retainer?

        A.         No, I don't.

        Q.         Do you recall any -- you say you remember going in to see him. Do you
                   remember going in to see him and discussing Ms. Clinton and law
                   business for Madison Guaranty Savings & Loan?

        A.         I do not.



        1764
               Id. at 83.

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        Q.         Is there any -- I just want to make sure I'm asking you the right question,
                   I'm not asking you a question that you don't understand. Is there any
                   combination of facts that I can ask you that comes anywhere close to what
                   Mr. McDougal recalls as far as that particular conversation is concerned?

        A.         Well, I don't remember the specific request. You know, we spoke in
                   passing about a lot of things over the years. I don't know whether he asked
                   me, "How is Hillary doing," "How are we doing[.]"1765

        Bill Henley -- Susan McDougal's brother Bill Henley supported aspects of Jim

 McDougal's testimony. McDougal said Henley had been at the office when the jogging incident

 occurred.1766 Henley testified that one morning between 6:30 a.m. and 8:30 a.m. he met

 McDougal at Madison Guaranty.1767 The door to McDougal's office was closed, so Henley

 waited about fifteen minutes. Henley said Governor Clinton, in jogging clothes and sweating,

 left McDougal's office. Henley and Governor Clinton said hello, and Governor Clinton left.

 Henley said that once Governor Clinton was gone, McDougal commented, "I don't mind the son

 of a bitch coming by here and taking up my time, but I wish he wouldn't sweat through my

 chairs."1768 Henley said he and McDougal went into McDougal's office. Henley noticed a fresh

 sweat stain on one of the two chairs facing McDougal's desk.1769

        Henley said the only conversation he had with McDougal about the jogging incident was



           W. Clinton 4/28/96 Depo. at 119-20, United States v. McDougal et al., No. LR-CR-
        1765

 95-173 (E.D. Ark. Apr. 28, 1996).
        1766
             J. McDougal 6/22/95 Int. at 7 ("McDougal advised that Bill Henley was present
 during this meeting"); J. McDougal 8/96-6/97 Int. at 9 ("Bill Henley was also present in
 McDougal's office when Clinton came by in jogging attire").
        1767
               W. Henley 6/18/96 GJ at 24.
        1768
               Id. at 27, 50.
        1769
               Id. at 46-47.

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 at the McDougals' and Governor Tucker's 1996 criminal trial.1770 McDougal told Henley that he

 did not refer to Governor Clinton as a "son of a bitch," as a recent book seemed to indicate

 Henley had stated.1771

        Henley remembered one detail not consistent with McDougal's statements. Henley

 thought that McDougal's secretary, Sue Strayhorn, was sitting at her desk outside McDougal's

 office when the jogging incident happened.1772 If true, this would contradict McDougal on the

 date of the incident, because Strayhorn started at Madison Guaranty in February 1985, after

 McDougal said the incident happened.1773 Henley could only place the incident as sometime in

 1984 or 1985.1774

        Susan McDougal -- Jim McDougal was certain he discussed the jogging incident with

 Susan McDougal.1775 She refused to give a statement to this Office, and spent eighteen months in



        1770
               Id. at 50
        1771
               Id. at 50-51.
        The quote in the book read:
        McDougal gently steered [Clinton] out of the office. Susan's brother Bill Henley
        was standing nearby. With the governor safely out of earshot, McDougal turned
        to Henley. "I don't mind the fat little son of a bitch coming by and taking up my
        time. I just wish he wouldn't ruin my chair."
 James B. Stewart, Blood Sport 124 (1996).
        1772
               W. Henley 6/18/96 GJ at 24, 30.
        1773
               Strayhorn 3/30/94 Int. at 1.
        1774
             W. Henley 6/18/96 GJ at 33. Just as McDougal had, Henley also testified he thought
 the event happened in the "summertime," because Clinton was sweating and it must have been
 hot. Id. at 33-34.
        1775
               J. McDougal 8/96-6/97 Int. at 10-11; J. McDougal 4/2/97 GJ at 103-04:
        Q.         Susan was also quoted in the Washington Post and other publications, I

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 jail for contempt because she refused to testify pursuant to a grand jury subpoena, even after

 being given immunity. She did give statements to print and television media that agreed with

 Jim McDougal. In March 1992 the Washington Post quoted Susan McDougal saying:

        Hillary came in one day and was telling us about the problem. The problem was
        finances, her finances. . . . She came to Jim's office. I remember Jim laughing and
        saying afterward, 'Well, one lawyer's as good as another, we might as well hire
        Hillary.' . . . She was on retainer. I remember everyone sitting around laughing
        and saying: 'We need to hire Hillary Clinton.'1776

        Susan more closely corroborated Jim's story in a 1996 television interview:

        Q.      There are things that you can help clear up a little bit from -- for some of
                us. The decision to have Mrs. Clinton help with some of the legal affairs
                for Madison Guaranty.

        A.      I'll tell you what I know about it. As I wasn't present at the time. But I do
                know that Bill came by the bank one day. He was jogging. And . . .
                sweating. The famous story of the sweat in the chair I didn't see that. But
                I did see that he was running, and he was sweating. And he came by the
                bank. And he did talk with Jim. After that, Jim came to me and said, I've
                just given Hillary some work from the bank. Is that all right with you? I
                was at the bank that day.
        ....

        Q.      And did he say then that -- that Mr. Clinton had asked for her?

        A.      What he said was, she needs the work. And I said, that's fine with me.



                think, saying, "Yes, I know about this." Do you recall talking to her about
                this? Would that have been something you would have told her about?
        A.      I'm sure I -- yes. It would have been something I would have told her
                within the business day, I would think.
        1776
            Maraniss & Weisskopf, Lawyer Will Review Arkansas Land Deal, Wash. Post, Mar.
 12, 1992, at A1. In an interview with the Independent Counsel's Office, Jim McDougal was read
 Susan's quote from the Washington Post. McDougal agreed with Susan McDougal's statement
 but added that either Bill Henley or he must have told her about the jogging incident. J.
 McDougal 8/96-6/97 Int. at 10-11.

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                   Those were his exact words. At that time, at that day, she needs the work.
                   And I said, that's fine, Jim.

         Q.        Because, again, she has talked about the business coming in a different
                   way -- coming through a connection between someone who was in her
                   office and someone who knew your husband.

         A.        I don't know about that.

         Q.        But this you do know? It did take place?

         A.        Oh, yes.1777

         On the eve of being incarcerated for refusing to discuss these subjects with the grand jury,

 Susan told talk show host Larry King she did not witness the jogging incident and her only

 knowledge came from Jim:

         I only know that Jim came to me and said, "They need the money. I'm going to
         give her the work. Is that all right with you?" And I said yes. That's all I know
         about how that came to be.1778

         John Latham -- Latham said although he was Madison Guaranty's president, Jim

 McDougal hired the attorneys.1779 Latham said McDougal never mentioned the jogging incident

 to him.1780

         Rae Ann Moles -- Madison Guaranty hired Moles in April 1983 to perform clerical



         1777
             Prime Time Live: Tr. of Diane Sawyer Interview of Susan McDougal at Doc. Nos.
 2053-000000069 through 72 (ABC television broadcast, Aug. 30, 1996) (transcript contains
 additional interview portions not included in the public broadcast).
         1778
                Larry King Live (CNN television broadcast, Sept. 6, 1996) (videotape).
           Latham 2/14/95 Int. at 1; Latham 5/15/96 Senate Banking Comm. Depo. at 12-13;
         1779

 Senate Whitewater Comm. Hearing, supra note 147, at 14-15 (May 16, 1996) (testimony of J.
 Latham).
         1780
                Latham 2/14/95 Int. at 2; Latham 5/15/96 Senate Whitewater Comm. Depo. at 18.

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 work.1781 Moles said that late one afternoon in August or September 1984, Governor Clinton

 rushed into Jim McDougal's office wearing jogging clothes, and she heard most of their

 conversation because McDougal's office door was open.1782 McDougal complained to Governor

 Clinton that they - the Clintons - needed to pay their fair share on a Whitewater loan.1783

 Governor Clinton told McDougal that Webb Hubbell was telling Rose attorneys to get more

 savings and loan business, and asked McDougal to put Mrs. Clinton on a $2,000 per month

 retainer.1784 Moles said McDougal told Clinton "he really didn't have anything for the Rose Law

 Firm to do [and] that the Mitchell law firm was representing the institution and performing as he

 expected."1785 Moles said McDougal asked Clinton how Rose would credit the new business, and

 Clinton said Hubbell would likely credit a young associate for the business.1786

        Moles said Clinton and McDougal met for over an hour and a half and she left before the

 meeting ended.1787 Moles said when she came to work the next morning, Jim McDougal said,

 "Well, we've put Hillary on the payroll. Susan will be in shortly. She doesn't know about it.



        1781
               Moles 8/4/94 & 2/9/95 Int. at 3.
        1782
            Moles 10/19/95 GJ at 18. But see Moles 8/4/94 & 2/9/95 Int. at 7 ("McDougal had
 Moles into his office and he introduced her to Clinton").
        1783
               Moles 8/4/94 & 2/9/95 Int. at 8.
        1784
            Moles 10/19/95 GJ at 22 ("Mr. Clinton asked him to hire the Rose Law Firm"); Moles
 8/4/94 & 2/9/95 Int. at 8 (uppercase in original) ("CLINTON said that he and HILLARY
 CLINTON were in need of some money and because he was a government servant, he only made
 so much. CLINTON then asked McDOUGAL to have MGSL put HILLARY RODHAM
 CLINTON of the ROSE LAW FIRM on a $2,000 per month retainer").
        1785
               Moles 10/19/95 GJ at 22.
        1786
               Id. at 24.
        1787
               Id. at 26

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 When I tell her, she's going to be really upset. There may be quite an incident. If you get

 uncomfortable, go downstairs."1788 Moles asked Jim McDougal if Madison Guaranty was going

 to split the legal work between Mitchell Williams and Rose, and McDougal responded, "You are

 to send the Rose Law Firm nothing."1789

        Moles' testimony was partly corroborated by her sister, Sarah Handley, a former financial

 examiner for the Arkansas Securities Department. Handley testified that her sister told her

 "Clinton had come by [Madison Guaranty] and that at the conclusion of that visit, . . . McDougal

 had retained Hillary, the Rose Law Firm."1790

        R.D. Randolph -- Jim McDougal said he might have told R.D. Randolph about Governor

 Clinton's sweating in his chair.1791 Randolph testified that he remembered McDougal telling him

 about retaining Mrs. Clinton, but not about the jogging incident.1792

        3.           Mrs. Clinton's Version.

        Mrs. Clinton has made numerous statements about Madison Guaranty's hiring Rose.

 During the 1992 campaign, Mrs. Clinton drafted a statement contradicting Jim McDougal's press

 statements. Her statement was never released. In April 1994, Mrs. Clinton discussed the issue at

 a press conference. Mrs. Clinton gave several more statements on the subject to federal

 investigators after that press conference.



        1788
               Id.
        1789
               Id. at 27.
        1790
               S. Handley 10/31/95 GJ at 22.
        1791
               J. McDougal 8/96-6/97 Int. at 12.
        1792
               R.D. Randolph 9/17/96 GJ at 69-70.

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        Mrs. Clinton's version of how Madison Guaranty hired Rose was essentially as follows.

 In the spring of 1985, Rose associate Rick Massey, a friend of Madison Guaranty president John

 Latham, spoke with Latham about Madison Guaranty sending legal work to Rose. Latham

 agreed, but partners at Rose were opposed. McDougal's Madison Bank and Trust still had an

 outstanding bill for work Rose had done in 1981-82. The partners did not want Rose to do any

 work until the old bill was paid. Massey knew that Mrs. Clinton knew Jim McDougal, and asked

 her to help get the bill paid. Mrs. Clinton spoke with several Rose partners who said if

 McDougal paid the old bill, and paid new fees in advance, Massey could do the work. Mrs.

 Clinton saw McDougal on April 23, 1985, and told him Rose would not let Massey work until

 his old bill was paid and a prepayment arrangement was agreed to. McDougal agreed to the

 retainer and paid the old bill. Massey asked Mrs. Clinton to act as billing partner on the account

 because she helped him retain the business.

        The following discussion sets forth Mrs. Clinton's statements regarding Madison's

 retention of Rose.

                  a.     Mrs. Clinton's Unsworn Statements.

        Mrs. Clinton drafted her most detailed statement about Rose's retention by Madison

 Guaranty during the 1992 campaign.1793 It read:

        Jim McDougal became a client of the Rose Law Firm in 1981. He engaged the
        firm for a matter related to litigation arising out of the decision to move the Bank
        of Kingston. At the conclusion of the representation 198_, Mr. McDougal
        disputed the amount of his final bill and refused to pay [in] the entire amount
        requested.


        1793
               H. Clinton 1/26/96 GJ at 53-55.

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      In March or April of 1985, Rick Massey, an associate of the firm began talking
      with John Latham, the CEO of Madison Guaranty S & L, and a friend of
      Massey's, about some legal work Latham wanted Massey to do for Guaranty. In
      April of 1985, Massey went to the partners in the securities section and asked if
      they would help him with the work Latham wanted him to do. They advised him
      that the firm could not do any further work for McDougal until he paid the bill he
      owed for the previous work and that, even if he did, the firm could not permit
      Massey to do any work unless McDougal agreed to pay a monthly advance against
      which fees and expenses could be billed.

      Massey also discussed the situation with one of the litigation partners who had
      worked on McDougal's previous work and who gave Massey the same advice.
      Massey then came to see me because he knew that I knew McDougal; he
      explained his interest in working with Latham on the project and asked if I had
      any ideas about what he could do. After talking with Massey, I told him I would
      talk with McDougal for him and see if McDougal would be willing to pay his past
      due bill and agree to stay current on any fees and expenses incurred for the new
      project.

      On April 23, 1985, I called McDougal and asked if I could drop by to see him at
      his office. When I visited him, I told him that I understood Latham wanted
      Massey to do some work for them, but that our firm would not let Massey proceed
      until the previous bill was paid. McDougal called Latham into the meeting and
      asked Latham if he wanted Massey to do the work. As I recall, Latham explained
      that he and Massey had met already to discuss the matter and he wanted to engage
      Massey. After that explanation, McDougal told Latham he could proceed with
      Massey, and he told me that he would arrange to pay the past due bill.

      I reported this conversation to my partners and Massey. The securities partners
      who supervised Massey advised Massey that a two thousand dollar per month
      advance against fees and expenses would be appropriate. They asked me to
      convey that to McDougal. Massey and I called McDougal, but he was not in so
      we talked with Latham and another employee. Latham told Massey and me he
      was sure that amount would be acceptable, but would have to chec[k] with
      McDougal to confirm. Latham later advised me they agreed, but they would not
      make their first payment until May. During the first week or so of Massey's work
      for Madison, he kept me advised because he wanted me to be aware of what he
      was doing in case he had any trouble being paid for his work. On a few occasions
      he showed me drafts of documents he was preparing under the supervision of
      securities partners so that I would be prepared to intervene with McDougal if
      necessary on the issue of payment. Since I had negotiated the firm's payment, I

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        also asked to send the bills to McDougal.

        I also placed a call to the Securities Commissioner to ask for information; I do not
        recall talking to her (as she independently does not recall talking to me) but I may
        have called her or someone in her office, to ask the person to whom I spoke who
        in the office handled matters related to s&ls since I knew that the office had very
        little supervisory authority since most of their authority related to brokers. I was
        advised to send anything to the Commissioner. I relayed that information to
        Massey.

        Massey has stated he does not know why he included my name in the
        letter to the Securities Commissioner, and I do not know either and do not recall
        ever seeing it before it was sent. I also do not recall receiving the letter addressed
        to me from the Commissioner, because if I had seen it I would have immediately
        sent it to Massey. Massey has said his secretary may have included my name in
        error; that is understandable since I was listed as the billing attorney because of
        my intervention with McDougal. I realized no financial benefit from that listing;
        it was done as an accommodation to Massey and the firm.

        In addition to the matter Massey did for Madison, the firm did two other matters
        that were unrelated to the state. [T]he [sic] total billed for all matters was
        21,202.25.

        As I have said repeatedly, I did not have any substantive involvement in the work
        our firm did for Madison that involved the Securities Commissioner. I did not
        discuss the merits of the matter with the Commissioner or anyone in her office. I
        can see how in retrospect I should not have become involved at all in helping Rick
        Massey work out the problems he encountered, but I knew I was not attempting to
        influence anyone other than McDougal whom we wanted to pay his bill. I have
        practiced law in Arkansas for nineteen years and so far as I know this is the only
        question that has ever been raised about even the appearance of conflict between
        my practice and my husband's official positions. I regret that this incident could
        be misconstrued by anyone and would only point to my record and to the results in
        this case in which clearly the Commissioner's actions do not suggest any influence
        or attempt to influence her by me or anyone in my firm.1794


        1794
             H. Clinton Campaign Statement (1992) (Doc. Nos. DEK200962 through 200963)
 (strikethrough in original). In July 1997, a copy of Mrs. Clinton's statement, among other things,
 was found in a brief case in the attic of Vince Foster's home. The copy had numerous
 handwritten changes. Mrs. Clinton testified that the writing on the document was Foster's and
 that he and she had worked together on the document. H. Clinton 4/25/98 Depo. at 28-30.

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          In a press conference held April 22, 1994, Mrs. Clinton said the following:

          There was a very bright, young associate in our law firm who had a relationship
          with one of the officers at Madison Guaranty, a young man whom he had known.
          They began talking . . . . Those two young men thought that it would be legal
          under Arkansas law for a savings and loan to issue preferred stock, but there was
          absolutely no law on that. And so they couldn't be sure. But they decided that
          what they wanted to do was to ask the person who regulated savings and loans
          whether it was legal, not if Madison Guaranty could do it . . . .

          When they talked about doing that, the young attorney in question needed a
          partner to serve as his backstop, and that was one of the rules we had in our firm.
          He knew that I knew Jim McDougal. He also knew that Jim had been a client of
          our firm in the past. This was not a new representation. So he came to me and
          asked me if I would talk with Jim to see whether or not Jim would let the lawyer
          and the officer go forward on this project. I did that, and I arranged that the firm
          would be paid a $2,000 a month retainer. And that was ordinary and customary.
          That would be billed against . . . . That was arranged. The young attorney, the
          young bank officer did all the work, and the letter was sent. But because I was
          what you call the billing attorney, in other words I had to send the bill to get the
          payment made, my name was put at the bottom of the letter. It was not an area
          that I practiced in. It was not an area that I really know anything to speak of
          about.1795

                    b.     Statements to Federal Investigators.

                           i.      Mrs. Clinton's April 1995 Deposition.

          This Office deposed Mrs. Clinton at the White House, on April 22, 1995, which was

 before the Office obtained her billing records in January 1996. Mrs. Clinton gave the following




 Investigators later discovered another document that was archived on Rose computer systems: a
 draft, created by Vince Foster, that was Mrs. Clinton's statement with Foster's handwritten
 changes typed in. In 1998, Mrs. Clinton acknowledged Foster's editing of her statement. H.
 Clinton 4/25/98 Depo. at 30-31.
          1795
                 Statement of Hillary R. Clinton, Press Conference, Federal News Service (Apr. 22,
 1994).

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 sworn testimony:

       A.     At some point in 1985, in the spring, an associate with our firm by the
              name of Rick Massey made it known in the firm that he was interested in
              doing some work with Madison Guaranty, and particularly with a young
              man that he knew there named John Latham, who was an officer at
              Madison.

              As I have tried to remember and reconstruct this, Rick Massey raised that
              with the partners in the securities department of our firm, and was told that
              Mr. McDougal who was at Madison Guaranty had an outstanding bill that
              he had not paid for previous legal work done by our firm on his behalf.
              And Mr. Massey consulted broadly with a number of partners, and was
              advised that he could not go forward unless the past due bill was paid.

              At some point Mr. Massey came to see me because he knew that I knew
              Jim McDougal and asked if I had any ideas about how he could get the bill
              paid that was pending, so that he could then go forward to try to do this
              work on behalf of Madison Guaranty. I discussed it with several partners
              and they all said, well, if McDougal pays the bill, then we will consider
              letting Massey do the work.

              At some point I talked with Jim McDougal and told him that Rick Massey
              had an interest in doing some work for Madison Guaranty with John
              Latham, but that the firm would not let Rick do it unless his previous bill
              was paid. And then at some point after that McDougal paid the money
              that he had owed the firm for a number of years. Massey then was told
              that he could proceed with the work.

              Massey came to me and asked if I would be the billing partner since I had
              helped him by getting the past due bill paid, and I told him that I would.

              But the firm decided, unlike most of our clients where we do not have any
              retainer arrangement, that because of the previous experience with Mr.
              McDougal, Madison Guaranty would be asked to pay in advance against
              fees and expenses of a monthly amount, and the firm decided $2,000
              would be fair. Mr. McDougal was told that. He agreed. And so the
              $2,000 was deposited . . .

              And then at some point Mr. Massey began work and the retainer was paid.

       Q.     So, from your standpoint, whose idea was the figure of $2,000 a month?

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             Who came up with that figure?

      A.     I don't have any idea.

      Q.     Was it as betwixt McDougal and somebody in the Rose Law Firm?

      A.     I don't have any idea.

      Q.     When you say that Mr. Massey would have talked with partners, are you
             talking about partners in the securities section of your firm?

      A.     I would assume, yes.

      Q.     Can you recall here today any partner at the Rose Law Firm whose name
             you can give us that would confirm that?

      A.     Well, I know that I talked with Vince Foster about it -- I cannot tell you
             who Rick Massey talked with -- because Mr. Foster had been one of the
             lawyers who had done the work that Mr. McDougal had not paid for. And
             so before I did anything to help Rick Massey, I talked with Mr. Foster to
             be sure that he thought it was appropriate that we try to collect this past
             due bill, with the idea that if we did Mr. Massey would then be able to
             represent Madison.
      ....

      Q.     Let's go then to this matter of how it started. Do you know any reason why
             Rick Massey would say that he does not think he brought any business into
             the Rose Law Firm like this?

      A.     No, I do not.

      Q.     Do you know whether or not the supposed back money that was owed was
             ever paid?

      A.     I assume it was paid. I can't tell you that for sure. I don't know for sure,
             but I assume it was since that was the reason that Rick Massey came to
             me, and he was then permitted to go forward.

      Q.     Did you ever see any back bill that supposedly he owed?

      A.     No.
      ....

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        Q.     And, again, I believe you stated the reason you were going to be the billing
               partner was because you knew Mr. McDougal? Is that correct?

        A.     Well, I knew him and I had been enlisted to try to help get the bill paid, to
               clear the way for Mr. Massey to represent Mr. McDougal. And as an
               accommodation to Mr. Massey, I agreed to be the billing attorney on the
               matter that he was going to handle.

        Q.     On the front end, were you to be anything other than the billing attorney?
               In other words, were you supposed to do any legal work for Madison
               Guaranty yourself?

        A.     Not that I can think of right now. I was supposed to be the billing attorney
               because an associate could not represent a client without a partner as a
               billing attorney.

        Q.     Would you say that normally on a securities matter the billing attorney
               would be a securities partner?

        A.     Normally. Not always however, because if another partner had a
               relationship with a client that it was thought to be useful or beneficial or
               requested that that partner be the billing attorney, even though the partner
               didn't do the work. I had done that in the past and I had worked on cases
               where others outside of sections had done that.
        ....

        Q.     And did you go by Madison Guaranty to actually talk to Jim McDougal
               when this was set up?

        A.     I think I did stop by to see him, to have the conversation about paying the
               past due bill so that Mr. Massey could do the work that he had discussed
               with Mr. Latham.

        Q.     Can you tell us approximately how many times you ever went into
               Madison Guaranty?

        A.     I think that was the only time.1796


        1796
            H. Clinton 4/22/95 Depo. at 8-16. This statement was consistent with McDougal's
 statement that he only met in person with Mrs. Clinton once. J. McDougal 8/96-6/97 Int. at 13.

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       Mrs. Clinton was then asked specifically about McDougal's version of events:

       Q.     I want to hand you [a memorandum from Loretta Lynch to Bill Clinton,
              Hillary Clinton, Jim Lyons, and Bruce Lindsey], . . . And it sets forth a
              number of press either inquiries or reports. And what I want to ask you
              about is this number one, Washington Times, [Jerry Seper] . . . .

              "He has contacted the campaign for a response to the story that BC
              requested that McD retain the Rose Firm/HRC and the timing and
              specifics of that retainer. At various times I have spoken with Webb
              Hubbell about this retainer issue over the last three weeks "in part to solve
              the 'how did the Madison Guaranty business come in' question and in part
              to determine if McD's allegation that he put HRC on retainer was in fact
              accurate. Both Jim McD (in Sam Heuer's office to Jim Blair and myself)
              and Susan McD (in the Post) have recounted that BC came into Jim's
              office in the summer of 1984; told him the Cs" "I assume the Clintons",
              "needed $ and asked him to hire HRC. The same day HRC allegedly came
              by re: a retainer. HRC was then hired in the summer of 1984. Supposedly
              there were other witnesses. Note that we have heard generally that 'people'
              are talking about this story to a variety of press."

              Now, first I would ask you, in March of '92, do you recall this matter coming up?

       A.     It may have. I don't recall it specifically at this time as to when I first
              heard about this story.

       Q.     Did you hear anything along these lines back in '84 or '85?

       A.     No, I did not.

       Q.     Did your husband ever say anything about talking to Jim McDougal about you and
              your husband needing money?

       A.     No, he did not.

       Q.     Do you know whether or not your husband ever did, in fact, jog by Madison
              Guaranty and go in and talk to Mr. McDougal?




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        A.         I do not know.1797

        In 1995, prior to the Rose billing records being produced, Mrs. Clinton was asked

 specifically about her work for Madison Guaranty in the spring of 1985. Mrs. Clinton said she

 "probably would have billed for every conversation I had about this matter, including the

 conversations with Rick Massey or whatever partners I talked to about paying back the past due

 bill. I would have billed for going to see Jim McDougal. But I can't be more specific than

 that."1798 The Rose billing records produced to the OIC in January 1996 show that in the first five

 months of Rose's representation, Mrs. Clinton billed for speaking to only two partners: Watt

 Gregory on April 23, 1985,1799 and Joe Giroir on June 5, 1985.1800

                            ii.   May 1995 RTC Interrogatories.

        The RTC served written interrogatories on the Clintons, which Mrs. Clinton answered in

 writing under oath, including information on Madison Guaranty's hiring of Rose:

        Interrogatory No. 17: With respect to the Rose Law Firm's representation of
        Madison Guaranty in 1985 and 1986:

        (a)   Was Mrs. Clinton the lawyer responsible for obtaining this business for the
        Rose Law Firm? If not, who was?

        Mrs. Clinton answered in pertinent part:

        To the best of my recollection, the president of Madison Guaranty, John Latham,


        1797
               H. Clinton 4/22/95 Depo. at 17-19.
        1798
               Id. at 40.
        1799
               Rose Law Firm Billing Records (May 6, 1985) (Doc. No. DEK014947).
        1800
              Rose Law Firm Billing Records (July 15, 1985) (Doc. No. DEK014972). Giroir
 testified that he did not remember any discussion of payment of the old bill. Giroir 7/18/96 GJ at
 25-26.

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        who was a friend of an associate at the Rose Law Firm, Richard Massey, became
        interested in having Madison Guaranty issue some kind of preferred stock to raise
        capital. Latham had spoken to Massey about doing the related legal work. In the
        spring of 1985, Massey came to see me because he had learned that certain
        lawyers at the law firm were opposed to doing any more work for Jim McDougal
        or any of his companies until he paid his bill and then only if Madison Guaranty
        agreed to prepay a certain sum to the firm once a month to cover fees and
        expenses. Under such an arrangement, the firm could be assured that Madison
        Guaranty was staying current with regard to paying for the new work that the firm
        might do for it.

        I believe Massey approached me about presenting this proposal to Jim McDougal
        because he was aware that I knew him. I agreed to go see McDougal. I visited
        him at his office on April 23, 1985, and told him that I understood Latham wanted
        Massey to do some work for Madison Guaranty, but that our firm would not let
        Massey proceed until the previous bill was paid and some kind of prepayment
        arrangement was worked out for new work the firm might do. As I recall,
        McDougal agreed that Massey could proceed with the work and informed me he
        would arrange to pay the past due bill. McDougal also indicated that he was
        agreeable to some kind of prepayment arrangement.1801

                         iii.    February 1996 FDIC Interview.

        On February 14, 1996, the FDIC interviewed Mrs. Clinton. (The RTC merged into the

 FDIC on January 1, 1996, and the FDIC continued the RTC's investigation.) This unsworn

 interview occurred following the public release of Mrs. Clinton's billing records, and after the

 public testimony of Rick Massey, and others, before the Senate Whitewater Committee. Mrs.

 Clinton's colloquy with the attorney for the FDIC was as follows:

        Q.        Here I'm paraphrasing -- I'm certainly not quoting -- but as I read
                  [Massey's] testimony, he said that he had certainly talked with Mr. Latham
                  about doing work for Madison, but it was not up to Mr. Latham to decide
                  who would be hired. Mr. Massey said he hadn't met Mr. McDougal ever,
                  and that Mr. Massey further said that he did not discuss fees or any sort of
                  retainer arrangement with anyone at Madison. And further, it was his


        1801
               H. Clinton 5/24/95 RTC Interrog. Resp. at 34-35.

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             recollection that he did not ask you to be billing partner, nor did he raise
             the subject of fees or retainer with other members of the firm. I'd like to
             ask you about your own recollection of how the client came in the door,
             how your recollections compare with those of Mr. Massey.

       A.    Well, as I have said consistently since 1992 and again, in my answers to
             the RTC interrogatories, my recollection is that Mr. Massey wanted to do
             the work he had discussed with Mr. Latham, that some partners, I believed
             in the securities section, had advised Mr. Massey that they were not
             enthusiastic about undertaking representation on behalf of Jim McDougal
             and Madison because of some problems in having work paid for in the
             past, and that there were discussions among partners.

             I believe it was Vince Foster who came to me, who said that Mr. Massey
             wanted to do this work, but the partners didn't want him to do it. We had a
             very high regard for Mr. Massey, who was quite an energetic and
             accomplished first-year associate, already teaching a securities course at
             the law school and attracting people who wanted his advice, like Mr.
             Latham.

             And I was asked, as someone who knew McDougal, if I could intervene
             and perhaps set up an opportunity for Mr. Massey to do this work. I
             agreed to do that. Obviously now, 10, 11 years later, much to my regret
             because of all the confusion and concern that has been raised by it.

             So I talked with Mr. Massey about that work. Mr. Massey told me, as his
             testimony relates, that he had a talk with Mr. Latham, but it wasn't up to
             Mr. Latham, and he wasn't getting any support from others within the firm,
             and I told him I would talk to Mr. McDougal, which I did.

             And as I recall, Mr. McDougal said well, if Latham wants him to do the
             work, that's fine. And because of the request of other partners in the firm,
             I advised Mr. McDougal that the work that Mr. Latham wanted Mr.
             Massey to do could not be done unless Madison [Guaranty] entered into a
             retainer agreement with the Rose Firm that would be payment against
             which fees and expenses could be billed on a monthly basis. Mr.
             McDougal agreed to that. I informed Mr. Massey. Mr. Massey undertook
             the work.

             But it would not surprise me that Mr. Massey, as a first-year associate
             would not have direct knowledge of conversations among partners and
             decisions concerning whether or not he could do the work under whatever

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                circumstances.

        Q.      You said you were asked to approach Mr. McDougal about the things
                you've described. Who asked you?

        A.      I don't have a specific recollection. I believe it was Vince Foster, but I'm
                not positive about that.1802

        This statement by Mrs. Clinton's differs from her earlier statements. She said that Vince

 Foster rather than Rick Massey had approached her about Massey doing the work, and that she

 discussed with Foster, not Massey, that Rose partners were unhappy about Madison Guaranty's

 outstanding bill.

                       iv.       Mrs. Clinton's 1998 Deposition.

        In 1998, Mrs. Clinton was again deposed by this Office. In light of evidence that had

 emerged about Madison Guaranty's retainer of Rose -- including the billing records and Massey's

 testimony since her 1995 deposition -- Mrs. Clinton was asked to review the matters again:



        1802
            H. Clinton 2/14/96 RTC Int. at 27-30. Mrs. Clinton's testimony was consistent with
 representations made to Bruce Ericson, an attorney with the law firm of Pillsbury Madison &
 Sutro, counsel to the RTC, by David Kendall, counsel to the Clintons. Ericson's memorandum of
 his conversation with Kendall noted that, according to Mrs. Clinton, the outstanding bill had
 been paid in the spring of 1985:
        Kendall told me the following: McDougal had complained about the bill and had
        refused to pay it. The bill had remained unpaid until the spring of 1985, when it
        was paid. The Rose Law Firm's trouble in collecting this receivable accounted for
        the firm's reluctance to accept new business from McDougal unless he paid for it
        in advance. Hence the retainer. . . . Kendall does not think the bill was adjusted
        downward or otherwise compromised in an attempt to get McDougal to pay.
        Kendall also does not think that McDougal paid it in 1983. Mrs. Clinton agrees.
        The bill probably remained unpaid until 1985.
 Memo from Bruce Ericson, Pillsbury, Madison & Sutro attorney, counsel to the RTC, of
 telephone conversation with David E. Kendall, personal attorney for the Clintons at 1-2 (July 25,


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          Q.   All right. Let me now go to the billing records.
               ....

               The first entry that appears here is 4/23/85, H. Clinton. It records
               "Conference with J. McDougal and J. Latham; conference with [R.]
               Massey; conference with W. Gregory." Can you tell us what prompted
               this representation, and what prompted this first conference with Mr.
               McDougal.

          A.   Well, I can tell you what I remember, and I know this has been the subject
               of, you know, many discussions by many people. But based on my best
               memory in 1992, when I first tried to respond to questions about this
               matter, I recalled that we had a young, very intelligent, aggressive
               associate by the name of Rick Massey, who was friends with a young man
               named John Latham, who was maybe the president, but certainly a high-
               ranking officer at Madison Guaranty.

               And they had been talking about perhaps Mr. Massey doing some legal
               business for Mr. Latham in the securities area. I think that Mr. Latham
               and Mr. Massey lunched together. They had a number of conversations.
               Mr. Massey was interested in doing this work.

               But when he spoke with his securities partners about doing the work, he
               was discouraged from doing so because Mr. McDougal did not have a
               good reputation for paying his bills in the Rose Law Firm. He had been
               represented by the Rose Firm some years earlier and had not paid his bill.
               And so Mr. Massey was told that he should not get involved in
               representing a client, such as Mr. McDougal, for whom there would likely
               be payment problems.

               Mr. Massey was discouraged by that, because he wanted to do the work.
               He then began talking with people in the firm and learned that I knew Mr.
               McDougal, and came to me, explained the situation. I had a high regard
               for Mr. Massey's legal skills and his go-getting attitude.

               So, after talking with people in the firm, I asked if I were able to persuade
               Mr. McDougal to pay his bill and to promise to keep current with costs
               and expenses, if Mr. Massey could do the work. Based on that
               understanding, I went and visited with Mr. McDougal and Mr. Latham,


 1995).

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                  and they said that they would pay a retainer on a monthly basis.

                  They never completely paid their last bill. I think they ended up still
                  owing nearly $900, but I later learned that they had paid the bulk of the bill
                  that they hadn't paid for several years.

                  I also agreed, because of other partners' attitudes about Mr. McDougal,
                  that I would serve as the billing partner and be responsible for making sure
                  that Mr. Massey was paid for the work that he did.

                  That's my, that's my memory today. That was my memory in 1992 of what
                  happened to bring this business into the Rose Law Firm.1803

        Mrs. Clinton was questioned about the 1992 draft press statement, which tracked the

 recently produced billing records by referring to an April 23, 1985 meeting with John Latham

 and Jim McDougal, and stated the total amount billed as $21,202.25.1804 Mrs. Clinton discussed

 the 1992 statement as follows:

        Q.        Now, in 1992, when you prepared this statement, how did you go about
                  that?

        A.        Well, I thought a lot about this . . . because I've had to sort of reconstruct
                  what probably happened, since I don't have any vivid memory of actually
                  doing it.

                  I do know that this was typed on my daughter's home computer. So, I
                  obviously prepared and typed it myself at some point in February, March,
                  April, I don't know when, in 1992, when I was home for those very brief
                  visits, when I came home off the campaign trail. You know, I went back
                  and refreshed my memory about what was going on during that period, and
                  from the New Hampshire primary of February 12th, 1992 until the
                  California primary of June 2nd, there was, you know, all kinds of elections
                  going on every week. So, this was typed on our home computer by me.




        1803
               H. Clinton 4/25/98 Depo. at 22-24.
        1804
               H. Clinton Draft Campaign Statement (1992) (Doc. Nos. DEK 200962 through 963).

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        Q.        And in typing that, did you have the billing records to assist you in putting
                  the date down when you talked to McDougal and went by to see him at his
                  office? As you see in the billing records, it says you had a conference with
                  Jim McDougal on April 23rd. Did you have that when you came up with
                  this 21,000 figure?

        A.        I might have, or I might have gotten information from Vince Foster or
                  Webb Hubbell, who I knew were reviewing the bills, since I've since
                  learned that. I don't -- I don't know whether I had them in front of me at
                  that time, or whether I had looked at them and made observations about
                  them. But obviously I had the information that you refer to that was on the
                  billing records.1805

 Mrs. Clinton was asked about McDougal's outstanding bill paid by him in October 1984:

        Q.        Now, I direct your attention to the billing records again. It's the first page
                  after the client billing and payment history. This would be DEK014941.
                  This -- can you identify that document?

        A         This is a Rose Law Firm bill.

        Q.        Who is it to?

        A.        It looks like it's to the Bank of Kingston.

        Q.        . . . . The document there has a Paid stamp down there. It says Bank of
                  Kingston, date, 12/31/81. Do you see that?

        A.        Yes.

        Q.        Then we went through this last time, but there was a note there. It says,
                  "HRC. I believe there was a subsequent bill." And that was Mr. Foster's
                  handwriting, correct?

        A.        Yes.

        Q.        . . . . Now, you stated during your campaign statement, and then you stated
                  to us in April of '95 that Massey came to you. He wanted to do the work.
                  There was an old bill outstanding that was due and owing. And you were


        1805
               H. Clinton 4/25/98 Depo. at 26-27.

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                  asked to intervene with McDougal to get the old bill, plus then arrange for
                  this advance against fees or retainer.

                  Do you recall that's what you said on those occasions?

       A.         Yes, I did.

       Q.         Now, and I believe we asked you in April of '95, was the bill ever paid.
                  And I believe your answer at that point was, I don't know. Now, is that
                  your answer today?

       A.         No. Since then, I have learned that $5,000 of the $5,900 bill had been paid
                  at some point. I don't know when.1806

       Mrs. Clinton was also asked about a recently produced chronology drafted by Foster

 during the 1992 campaign:

       Q.         This document was found in the briefcase of Mr. Foster and produced to
                  the Independent Counsel's Office in late July 1997.

                  Can you read the entry there for 10/23/84?

       A.         Yes. It says "$5,000 paid on Bank of Kingston bill."

       Q.         All right. Did Mr. Foster tell you in 1992 that the old bill had been paid,
                  or $5,000 had been paid on the old bill?

       A.         No, he did not. And also when he edited my two-page statement, he didn't
                  change my understanding which I typed about his not paying the bill. And
                  also, as we can see with his writing on this copy of the bill, he said, "I
                  believe there was a subsequent bill."

                  So, either he didn't think that the fact that $5,000 was paid on a $5,900 bill
                  constituted full payment, or for some reason he didn't know. Or he
                  neglected to tell me.

                  But, in any event, my understanding, which I believe I must have gotten
                  from Mr. Foster since he had worked on the Bank of Kingston matter, was


       1806
              Id. at 31-32.

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                    what I believed at the time.1807

         Mrs. Clinton was asked about the old bill found in Foster's attic, marked "Paid"

 and dated October 23, 1984, in addition to documents related to the payment of the old

 bill, also found in Foster's attic, including:

                ·   The minutes of the September 1984 Madison Bank board meeting at
                    which Gary Bunch, president of the bank, was authorized to negotiate
                    settlement of the outstanding Rose bill; 1808

                ·   The October 9, 1984 letter from Foster to Bunch demanding payment by
                    October 22, 1984 and threatening to sue if payment was not received;1809
                    the $5,000 check that Madison Bank & Trust sent to Rose on October
                    22;1810

                ·   The minutes of the November 1984 Madison Bank board meeting, noting
                    that earnings would be down because a legal bill had been paid.1811

 Mrs. Clinton responded, "I don't know anything about the letter [from Foster to Bunch] or

 the agreement it refers to."1812

         Mrs. Clinton was asked if she agreed that these documents established that the bill was

 paid in October 1984:



         1807
                H. Clinton 4/25/98 Depo. at 32-33.
         Minutes of the Madison Bank and Trust Board Meeting (Sept. 25, 1984) (Doc. Nos.
         1808

 MGSL-FR-00000062 through 63).
          Letter from Vincent Foster Jr., Rose Law Firm attorney, to Gary Bunch, Madison
         1809

 Bank & Trust employee (Oct. 9, 1984).
           Check from Madison Bank & Trust payable to Rose Law Firm for $5,000.00 (Oct. 22,
         1810

 1984) (Doc. No. 2091-00010390).
         Minutes of the Madison Bank and Trust Board Meeting (Nov. 1984) (Doc. Nos.
         1811

 MGSL-FR-00000064 through 66).
         1812
                H. Clinton 4/25/98 Depo. at 41.

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       Q.    Taking that [letter from Foster to Bunch], with a copy of the old bill that
             we now have marked paid 10/23/84, does it appear to you that the old bill
             was paid in October of 1984?

       A.    Well . . . again, I've never seen these before. But my reading of Mr.
             Foster's letter is that the firm agreed to a $5,000 fee limitation. But, of
             course, they would expect their expenses to be paid. That would, that -- in
             the way that is written, that does not refer to costs and expenses.

             So, from my perspective, the bill, which was for $5,893.63, was not paid
             in full. And, instead, the firm had to take a diminution of the fee and
             allocate money to the expenses. And then, if I look back at the chronology
             you've provided me from Mr. Foster, as you identified it, it says that
             $5,000 paid on Bank of Kingston bill which, again, suggests to me that
             Mr. Foster at least did not consider this account to be paid in full.

             So, from my memory of what I knew at the time, at least in the minds of a
             number of lawyers in the Rose Law Firm, Mr. McDougal was a deadbeat
             who was a very difficult client to collect from, that you had to threaten to
             sue to get paid and then, even if you made an agreement with him of a
             $5,000 fee limitation, he didn't fulfill the agreement.

             Now, that's what this says to me, looking at it in a whole.

       Q.    Now, we've heard from Mr. Bunch. He said this was the final payment. It
             was settled with Mr. Foster. He was authorized to negotiate a settlement.
             He paid the $5,000.

             You're right, it diminished the fee allocation. There was never anything
             else paid on this bill. So, if you went over there to see Mr. McDougal to
             get the $893, do you remember talking to him, you need to pay the rest of
             the money?

       A.    [M]y memory in 1992 was that in 1985, seven years earlier, Mr. Massey
             wanted to do work for Mr. Latham at Madison, and was being frustrated in
             doing so because members of our firm said that Mr. McDougal was not
             someone they wanted to do business for again because he didn't pay his
             bills, and that he hadn't paid everything that was owed to the firm.

             Now, that is my memory. That was my memory in 1992. It is my memory
             today. I can't tell you anything other than that.


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        Q.         And you are saying --

        A.         And also, I would add that the story that Mr. McDougal was telling at the
                   time made no sense, because everyone who did any business with the Rose
                   Law Firm knew that you didn't get credit for bringing in business. You
                   didn't get any extra money for bringing in new clients. And so this, this
                   whole matter just never, you know, rung true to me.

                   And so my memory, to me, was much more reliable.

        Q.         Mrs. Clinton, let me just ask you, was your stating that this came about
                   through Massey, was it an effort to keep the media away from your
                   husband perhaps requesting work for you from an S&L that was in
                   trouble?

        A.         Absolutely not . . . That never crossed my mind. I told what my memory
                   of what had happened, happened to be, and that's what I believe to this
                   day.

        Q.         Mr. Foster died on July the 20th, 1993, which was some two years before
                   we interviewed you on the subject, when you talked about the old bill. Is
                   it your testimony he never told you that the $5,000 was paid?

        A.         I have no memory of Mr. Foster telling me that. I'm not going to tell you
                   that he absolutely didn't, but I have no memory of that.1813

        Finally, Mrs. Clinton was asked about her statement (in the 1992 press draft) that she

 reported this April 23, 1985 meeting with McDougal to her partners:


        Q.         You then state in your statement that you reported your meeting with Mr.
                   McDougal to your partners. This is the first sentence of the next
                   paragraph. Which partners did you report the meeting to?

        A.         Again, I don't have any memory. But if you will let me, I will do my best
                   to put this in some context for that question.

                   I believe I probably reported it to Watt Gregory, since I had a conference


        1813
               Id. at 42-45.

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             with him on that day, and Watt was a senior securities lawyer and would
             have, I believe, been responsible for working with Mr. Massey and
             supervising him.

             I believe I also would have reported back to Vince Foster because I have a
             feeling that Vince Foster had hard feelings about Jim McDougal and about
             what McDougal had put him through, and about the insulting attitude
             about Carol Arnold, who was a particular associate in the firm that Mr.
             Foster did a lot of work with. So, I think I would have had to go to some
             lengths to persuade Mr. Foster that it was a good idea for us to become
             involved with Mr. McDougal again.

       Q.    Do you remember it being, so to speak, a tough sell to the partners?

       A.    Not once we had the retainer. I think once there was an agreement that
             Madison would pay a retainer that would be billed again -- it wasn't a
             retainer that we would keep; it would be an advance against fees and
             expenses -- then I think the partners felt that it was all right for Mr.
             Massey to go forward. But they certainly wanted me to make sure that that
             retainer came in every month, and that there wasn't any slippage between
             the agreement that had been reached and what actually happened.

       Q.    Were you always to be the billing partner?

       A.    Well, my memory is that that was part of the arrangement, that since I had
             gone to Mr. McDougal and had actually gotten him to agree to a retainer,
             that I would be responsible for making sure that the bills for the work that
             was done would be paid completely, fees and expenses, without any
             question.

       Q.    What was your understanding of the work that was going to be done?

       A.    My understanding was that it was going to be securities work and that Mr.
             Massey would do it pursuant to his discussions with Mr. Latham.

       Q.    What was your understanding as to Madison's financial health or
             Madison's financial condition at the time Rose undertook this
             representation?

       A.    At that time, I don't think I had any knowledge of or information about
             Madison one way or the other.


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        Q.      Mr. Gregory has told us that there was a -- of course, he was a securities
                lawyer; you were not -- but that at that time it was well-known in the Little
                Rock community that Madison was not financially healthy in particular,
                and that savings and loans in general were not financially secure.

                Does that refresh your recollection at all?

        A.      Well, I certainly knew that savings and loans were going through some
                financial difficulties. I don't know that I knew that any particular one,
                specifically Madison, was.1814

        Mrs. Clinton's statements and testimony about the Rose-Madison Guaranty retainer are

 summarized as follows:

        1)      Rick Massey was a friend of Latham, and Latham agreed to have Madison
                Guaranty hire Rose at Massey's request.

        2)      Some Rose partners objected because McDougal had not paid a prior bill.

        3)      Massey asked Mrs. Clinton to get McDougal to pay the old bill.

        4)      Mrs. Clinton spoke with McDougal, who then paid the bill, and agreed to a
                "retainer" against future fees.

        5)      Mrs. Clinton acted as billing partner because associate Massey could not, and
                because she had worked out the payment of the old bill.

        Mrs. Clinton's testimony varied insofar as in 1996 she testified that a Rose partner,

 probably Vince Foster, approached her about Massey getting the work, but there was an objection

 because of the old bill, while her pre-1996 version was that Massey, not Foster, or another

 partner, came to her. In 1998, her testimony reverted to the Massey version. Also in 1998, she

 testified that the amount outstanding on the bill might have been the remaining $893, rather than

 the entire amount. Other evidence regarding the five aspects of Mrs. Clinton's statements is




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 discussed in the following sections.

                   c.      Other Evidence Regarding Mrs. Clinton.

                           i.    Whether Massey and Latham Arranged to Have Madison
                                 Guaranty Hire Rose.

        Rick Massey -- After graduating from law school in May 1984, Massey started at Rose as

 a law clerk.1815 After passing the bar in August 1984, he became an associate assigned to the

 securities section. Massey's mentor was partner David Knight. Massey knew Madison

 Guaranty's president, John Latham, from college.1816 Massey and Knight had lunch with Latham

 and asked him to send some legal work to Rose.1817 Latham said he would like to, but that Jim




        1814
               Id. at 50-53.
        1815
               Massey 11/7/95 GJ at 5.
        1816
               Massey 12/3/97 GJ at 24.
        1817
             Id.; Senate Whitewater Comm. Hearing, supra note 147, at 45 (Jan. 11, 1996)
 (testimony of R. Massey). ("I actually pitched the business to him. I think the pitch was
 basically, gee, I'm . . . you're asking me all these questions. Why don't you hire us and put us to
 work on some of these things"). Massey agreed that as an associate he could not bring in a new
 client without a partner as billing attorney. Id. at 153.
         It is unclear when this lunch occurred. Massey thought that he taught a class on securities
 regulation with Knight in the fall of 1984, which Latham audited. Massey 12/3/97 GJ at 24;
 Senate Whitewater Comm. Hearing, supra note 147, at 18, 23 (Jan. 11, 1996) (testimony of R.
 Massey); Massey 11/7/95 GJ at 21-23. Massey testified that he became reacquainted with
 Latham, who frequently approached him after class to ask about securities issues. Massey
 11/7/95 GJ at 23. Documents from UALR Law School indicate that Latham took securities
 regulation in the fall of 1983, and took corporations taught by David Knight in the spring of
 1984. Law School Transcript of John Latham (June 17, 1996) (Doc. Nos. 2031-00000027
 through 29).
        Massey thought that he pitched the business to Latham in early 1985. Senate Whitewater
 Comm. Hearing, supra note 147, at 151 (Jan. 11, 1996) (testimony of R. Massey). Latham's
 memory is also different from Massey's. Latham testified that Massey's pitch about Rose came
 while he and Massey were studying for the bar examination in the summer of 1984. Latham

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 McDougal hired the lawyers and McDougal was happy with Jim Guy Tucker's firm, Mitchell

 Williams.1818 Massey said it was "at least weeks later" when Rose was hired by Madison

 Guaranty on the preferred stock offering.1819 Massey testified that he did not think that he

 brought Madison Guaranty's business into Rose.1820 In his grand jury testimony, Massey said he

 "d[id] not know how Madison Guaranty came to be a client of the firm."1821 In his Senate

 testimony, Massey said that although he did not remember how the business came in, "I don't

 recall feeling like this was my . . . that I killed this deer . . . I didn't have a big part when they

 came in."1822 Massey said he would have remembered bringing in a client:

         Q.      Mr. Massey, let me say something to you. First-year associate, you're
                 there, if you had brought in this business, it would have been the first piece
                 of business I think you testified that you brought into the firm; right?



 5/15/96 Senate Whitewater Comm. Depo. at 7.
         1818
             Massey 12/3/97 GJ at 24-25; Massey 11/7/95 GJ at 45 ("And John said, 'Gee, it's….I
 don't remember the precise words. Again, it's been 10 years. But the general impression I got
 was, he'd like to do that but that his boss, I assume it was Mr. McDougal, was happy working
 with the Mitchell Firm, and that it was not up to him as to whether we could get any work").
         1819
             Senate Whitewater Comm. Hearing, supra note 147, at 152 (Jan. 11, 1996) (testimony
 of R. Massey) ("I pitched the business, I was told that it wasn't up to him. Sometime later,
 months or weeks, I wish I could tell you, hours, days, I believe it was weeks, at least weeks, we
 got this piece -- the first piece of work for Madison [Guaranty], which was the preferred stock
 issue").
            Massey 11/7/95 GJ at 43 (Massey did not remember being a part of the process of
         1820

 arranging the retainer); Massey 12/3/97 GJ at 26 (confirming that he did not know how the
 business got to Rose).
         1821
              Massey 11/7/95 GJ at 21. Massey also said, "My position has been that I'm not -- and
 it is today that I'm not aware of how -- what their motivation was for hiring us. I have -- I had a
 relationship with their president, which might have been a factor. But I don't -- you know, I don't
 know that I -- you know, I don't know. You'd have to ask them why they came to us." Id. at 82.
           Senate Whitewater Comm. Hearing, supra note 147, at 78 (Jan. 11, 1996) (testimony
         1822

 of R. Massey).

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        A.        That's correct.

        Q.        You would have remembered that?

        A.        That's correct.

        Q.        You don't remember bringing that business into the firm?

        A.        No, sir, I do not.1823

        But Massey stated that he did not have all the facts:1824 "[I]t's outside my knowledge about

 whether I brought the Madison Guaranty matter in or not."1825 Consistent with his grand jury

 testimony, Massey said the reason he thought that Latham did not offer Madison Guaranty's work

 to him was because McDougal, not Latham, hired the attorneys: "John told me it was up to his

 boss. It was up to Mr. McDougal."1826

        David Knight -- Knight remembered lunch with Latham and Massey: "We took Mr.

 Latham to lunch, and I can't remember certainly the specific conversation but the gist of it was

 we told him a little bit about the types of work that Rick and I did. Representative clients for the

 firm. And then asked him for business."1827 Like Massey, Knight remembered Latham said




        1823
             Id. at 232-33, 240-41 (testimony of Massey). By way of contrast, when he was later
 asked if he remembered the first client he brought in, Massey testified that he remembered
 bringing in his first client in 1988, shortly before he made partner. Massey 12/3/97 GJ at 64.
           Senate Whitewater Comm. Hearing, supra note 147, at 77 (Jan. 11, 1996) (testimony
        1824

 of R. Massey).
        1825
               Id. at 29 (testimony of Massey).
        1826
               Id. at 26 (testimony of Massey).
           Senate Whitewater Comm. Hearing, supra note 147, at 10 (May 16, 1996) (testimony
        1827

 of D. Knight).

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 McDougal decided which law firm to hire: "My recollection is that he said that Mr. McDougal

 was really the one that made decisions about hiring lawyers . . . . He also said that Madison

 Guaranty regularly used another law firm and that he thought they were satisfied with the

 services provided by the law firm."1828 Knight said he left the lunch with the impression Rose did

 not get the business.1829

         John Latham -- Latham did not remember taking a class taught by Knight and Massey,

 nor did he remember lunch with them.1830 Latham remembered Massey expressing interest in

 Madison Guaranty's legal work: "I do recall that Rick pitched the business in the sense that he

 wanted us to hire them to do legal work for us. I do not remember the lunch."1831 Latham

 testified in the Senate that Massey approached him, but that he told Massey it was McDougal's

 decision whether to hire Rose:

         Rick Massey and I ran into each other when we were studying for the bar, and
         Rick went to work for the Rose Law Firm after that, and had talked with me about
         us using the Rose Law Firm. And I think I probably mentioned that to McDougal
         at some point. At some later point, Jim came back to me and said let's use the
         Rose Law Firm, and he wanted to put them on retainer . . . . I think he wanted to
         use them because he had friends over there, and one of those friends, of course,
         was Hillary. He had used the Rose Law Firm there before. What's open there, of
         course, is what prompted Jim to make that decision. Was it a conversation with
         Hillary or was it just because I had suggested that at some point I would like to
         work with the Rose Firm at some point. I don't know.1832


         1828
                Id. (testimony of D. Knight).
         1829
                Id. at 11, 13 (testimony of Knight).
            Latham 5/15/96 Senate Whitewater Comm. Depo. at 10-11. Latham remembered
         1830

 being taught a corporations course by Knight while in law school. Id.
            Senate Whitewater Comm. Hearing, supra note 147, at 35 (May 16, 1996) (testimony
         1831

 of J. Latham).
         1832
                Latham 5/15/96 Senate Whitewater Comm. Depo. at 7-8. Latham graduated from law

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 Latham said McDougal decided which law firm to hire.1833 When asked who hired Rose, Latham

 testified, "Jim McDougal did."1834 Latham did not remember any discussions about an unpaid

 bill.1835

             Webb Hubbell -- Hubbell's earliest statements on Rose and Madison Guaranty were

 made during the 1992 presidential campaign. Hubbell was the campaign contact on Rose

 issues.1836 Campaign staff member Loretta Lynch's notes show that a reporter called Hubbell on

 February 18, 1992, and asked how Rose was hired by Madison Guaranty.1837 Lynch's notes




 school in May 1984, and studied for the bar the summer of 1984. John Latham's UALR grade
 transcript (June 17, 1996) (Doc. No. 2031-00000027). In a FDIC interview Latham said
 McDougal suggested that Madison Guaranty use Rose. Latham 7/12/95 RTC Int. at 1
 ("LATHAM said that at one time, date not recalled, JAMES MCDOUGAL suggested that
 Madison Guaranty use ROSE for some of the legal work at the institution. LATHAM said that,
 'MCDOUGAL had friends over there, he suggested we use them.' LATHAM said when asked
 who the friends were that it was HILLARY RODHAM CLINTON and others").
             1833
                    Latham 2/14/95 Int. at 1; Latham 5/15/96 Senate Banking Comm. Depo. at 12-15.
             Senate Whitewater Comm. Hearing, supra note 147, at 15 (May 16, 1996) (testimony
             1834

 of J. Latham). When asked if it is "safe to say you personally did not hire the Rose Law Firm to
 work for Madison Guaranty," Latham responded, "Yes, in the sense . . . that I didn't make the
 decision to hire them and move that forward." Latham 5/15/96 Senate Whitewater Comm. Depo.
 at 8-9. Pat Heritage-Hays, an assistant to Latham, said when she learned Madison Guaranty was
 paying Rose $2,000 per month, she asked Latham about it, and he responded, "Oh, it's one of
 Jim's deals." Heritage-Hays 1/6/95 Int. at 1.
             1835
                    Latham 2/14/95 Int. at 2; see also Latham 5/15/96 Senate Whitewater Comm. Depo.
 at 22.
             1836
                    Lynch 2/1/96 GJ at 9.
            See Memo (draft) from Loretta Lynch, Clinton Campaign Staff, to David Wilhelm,
             1837

 Clinton Campaign Manager, and Bruce Reed, Clinton Campaign Staff in charge of Issues at 5
 (Feb. 18, 1992) (Doc. Nos. 263-00000348 through 360).

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 reflected Hubbell told her that "HRC brought [Madison Guaranty] to the firm."1838

        Susan Thomases's notes reflect a conversation with Hubbell on February 24, 1992, where

 Hubbell told Thomases:

        Massey had relationship w/ Latham & HC had relationship w/ MacD. Rick will
        say he had rel[ationship] w/ Latham & had a lot to do w/ getting the client in. She
        did all the billing. According to time recs, HC had numerous conf[erences] with
        Latham, Massey, and McDougal on both transactions. She reviewed some docs.
        She had one TC in 4-85 at the beginning of the deal w/ Bev. [Bassett]. Neither
        deal went through. Broker/dealer was opposed by staff but approved by Bev
        under certain condition which they never met. Preferred stock?! But for Massey,
        it would not have been there. But HC was billing partner and attended
        conferences.1839

        Massey testified that during the 1992 campaign he never told Hubbell he would say he

 brought in the business.1840 Massey testified that he never spoke with Hubbell about it.1841

 Massey said he spoke to reporter Jeff Gerth, and told him he did not know why Rose was hired

 and that Gerth should ask Jim McDougal.1842

        Hubbell's February 1995 report of interview with this Office said:

        HUBBELL notes that Madison [Guaranty] was HILLARY's client, as she is the
        one who brought Madison [Guaranty] into the firm as a client, that is why she
        became the billing partner.1843



        1838
               See id.; see also Lynch 2/1/96 GJ at 10-11.
           Susan Thomases's notes of conversation with Webb Hubbell (Feb. 24, 1992) (Doc.
        1839

 No. 790-00000020) (emphasis added); see also Thomases 2/29/96 GJ at 45.
        1840
            Massey 12/3/97 GJ at 63 ("I can say with certainty that I would never tell Webb
 Hubbell or gave him the impression that I brought that business in").
        1841
               Id. at 37.
        1842
               Id. at 38.
        1843
               Hubbell 2/1/95 Int. at 7.

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 In December 1995, Hubbell was asked questions in the grand jury about this:

        Q.        I'm looking back over some notes of interviews with you, and I ask you, do
                  you recall ever saying that Madison Guaranty was Hillary's client as she is
                  the one who brought Madison Guaranty into the firm as a client, that is
                  why she became the billing partner? Do you ever remember making a
                  statement to that effect?

        A.        I don't remember it. I don't doubt that I could have, but I don't remember
                  it.1844

        Hubbell told the Senate in 1995 that "Massey was the one who wanted them as a client

 and that Mrs. Clinton was one of those who helped him accomplish that task."1845 Hubbell was

 read a March 12, 1992 article that said: "Webster L. Hubbell, a partner and spokesman at Rose,

 said that nothing in the law firm's records indicates that Hillary Clinton brought in the Madison

 Guaranty business. 'That's a new one on me,' he said." Asked whether the quote was accurate,

 Hubbell replied, "I don't know if I said that, but there is nothing in the records -- this is where

 lawyers are being lawyers . . . . There is nothing in the records of the firm that show that Hillary

 brought in the business."1846

        Hubbell testified that he had no personal knowledge of the matter.1847 In testimony

 inconsistent with his denial, Hubbell had earlier testified that Massey approached him in 1984

 and asked for help getting Madison Guaranty's business.1848 Hubbell testified that Massey had



        1844
               Hubbell 12/19/95 GJ at 187.
        1845
               Hubbell 10/26/95 Senate Whitewater Comm. Depo. at 122.
        1846
               Hubbell 12/19/95 GJ at 108.
        1847
            Hubbell 5/7/96 GJ at 74-75 ("I don't know for sure who brought it in. . . . I don't have
 personal knowledge, right").
        1848
               Hubbell 10/26/95 Senate Whitewater Comm. Depo. at 134.

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 spoken to John Latham, and felt Rose could get some of Madison Guaranty's work.1849 Hubbell

 said he did not try to help Massey.1850

                             ii.   Whether Rose Partners Objected to Madison Guaranty
                                   Becoming a Client.

        Rick Massey -- Massey testified in 1995 that he did not remember discussing Madison

 Guaranty billing matters with Rose partners:

        [D]o I remember going to the partners and saying, "We want to represent the
        "Madison [Guaranty]," and other partners saying, "You're not going to do that
        until they catch up on their bill, and maybe there ought to be a retainer." I have
        read that [Joe] Giroir said that. I don't recall Giroir ever having said that to me. I
        don't remember me being in any of that discussion, and it frankly would not have
        been a matter in which I normally would be involved because I was a first year
        associate, and we didn't have much input on billing arrangements of that kind. It's
        possible, however. I just don't remember it.1851

 Massey remembered no such discussion with either securities partners or Mrs. Clinton:

        Q.         Mr. Massey, do you remember anything about your going to the securities
                   partners and saying, "I want to work on a case for Madison [Guaranty],"
                   and they said, "We're not going to approve that until Madison [Guaranty]
                   has paid us what they owe us on some other case"?

        A.         I don't -- no, sir. I don't remember that.

        Q.         Either with any securities partners or with Mrs. Clinton?

        A.         I don't remember doing that with anybody.1852


        1849
               Id. at 134-36.
        1850
               Id. at 135.
        1851
            Massey 11/7/95 GJ at 85. Giroir testified that he did not remember Rose representing
 Madison Guaranty in 1985 and 1986 or any discussions in the firm about any representation.
 Giroir 7/18/96 GJ at 23-27.
        1852
            Massey 11/7/95 GJ at 32. Massey said that although he does not remember it, it is
 "possible" he told Knight he thought he was going to get Madison Guaranty as a client. Id. at 84-

                                                     456




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 Massey testified that he knew his memory contradicted Mrs. Clinton's.1853

        David Knight -- David Knight remembered "some discussion" about Madison Guaranty

 not paying an old bill but could not remember the details.1854

        Webb Hubbell -- Hubbell said he remembered Rose partners were reluctant to work for

 Madison Guaranty because of previous payment problems:

        There was an issue in the fact that the firm had represented one of -- Mr.
        McDougal prior to this issue, before Madison Guaranty, and Mr. McDougal still
        owed the firm some money. And several of the partners were not anxious for us
        to work for McDougal until that outstanding balance was still paid."1855

        Hubbell said he did not remember if he was part of the discussions about the old bill, just

 that he knew about them:

        Q.        You have told us about the talk within the firm that they've got to pay their
                  old bill first, and then some arrangement whereby there's going to be the
                  new. But I take it you're telling us today you don't remember if you were
                  in on that or not?


 85. Before the Senate Whitewater Committee in 1996, Massey also testified that he did not
 remember a discussion with any Rose partner about Madison Guaranty's outstanding bill or
 partners objecting to bringing Madison Guaranty in again as a client because of the billing
 problems: "I've heard that there were discussions, that there was some disgruntlement. And
 discussions like this could have gone on. I don't believe I was a party to them." Senate
 Whitewater Comm. Hearing, supra note 147, at 23-24 (Jan. 11, 1996) (testimony of R. Massey).
        1853
               Massey 11/7/95 GJ at 84.
        1854
             Knight 12/6/95 GJ at 15-16 ("That rings a bell. I just recall some discussion about a
 prior problem with Madison Guaranty or McDougal not paying a bill or, you know, some -- with
 respect to some earlier representation. But I don't remember it in the sense of kind of a formal
 declaration or consideration -- you know, consideration of the thing. I don't recall being involved
 in any lengthy discussion or, you know, policy statement or anything like that about it. I just do
 generally recall that topic coming up").
        1855
            Hubbell 12/19/95 GJ at 43-44. When asked which partners he remembered being
 upset about McDougal's past non-payment Hubbell identified Foster and Gregory. Id. at 46.

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        A.         No, I don't. I was aware of it, but I don't remember any specific, you
                   know, "It's got to be paid," and things of that sort. I mean, I was aware
                   that there was a concern.1856

        Hubbell said he did not remember talking to Mrs. Clinton about a retainer for Madison

 Guaranty, but did remember talking to her about other firms' use of retainers.1857 Hubbell said he

 spoke to Mrs. Clinton in the mid-1980s about Madison Guaranty's billing problems and the old

 bill being paid before doing any more work:

        A.         I know that I had conversations with her when we first took on the
                   Madison Guaranty representation, that was in '84 or '85.

        Q.         What do you recall about those conversations in '84-85 about the Madison
                   Guaranty representation?

        A.         The law firm did not want to -- some of the members of the law firm did
                   not want to represent Madison Guaranty until Mr. McDougal had paid an
                   old bill owing the firm.

        Q.         And what was Mrs. Clinton's position with regard to whether the firm
                   should represent McDougal?

        A.         She thought that if he got right with the firm, that she didn't see any reason
                   why we shouldn't represent him.

        Q.         Did McDougal ever "get right with the firm"?




        1856
               Id. at 61-62.
        1857
             Id. at 67. Mrs. Clinton said she did not remember any conversations with Hubbell
 about Madison Guaranty's business or retainers. H. Clinton 4/22/95 Depo. at 13-14 ("I don't
 recall any [conversations with Hubbell], but I might very well have had conversations with
 him"); see also Hubbell 2/1/95 Int. at 6 ("HUBBELL does not know if HILLARY CLINTON
 talked to the firm regarding the MADISON retainer, nor does he have any memory of HILLARY
 CLINTON talking to HUBBELL personally about the retainer").

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        A.         Yes, he did.1858

        Watt Gregory -- Watt Gregory, a senior member of Rose's securities section, said he

 remembered "some general discussion" about whether Rose should work for Madison

 Guaranty.1859 Gregory remembered talking to Mrs. Clinton "about whether we should or

 shouldn't [represent Madison Guaranty], or what some of the issues might be in connection with

 the ability of the savings and loan to raise capital by that particular method."1860 Gregory testified

 "that Mrs. Clinton was instrumental in introducing the client to the lawyers in the firm."1861

        Gregory remembered two specific concerns about Madison Guaranty.1862 Gregory felt that

 Rose, which had represented no savings and loans, did not have the expertise.1863 Gregory

 thought the business potential was small and the risks were great; he understood that savings and

 loans in general (and Madison Guaranty in particular) were having financial difficulties and he

 "didn't perceive Madison [Guaranty] to have a particularly attractive risk/reward ratio for our



        1858
               Hubbell 10/26/95 Senate Whitewater Comm. Depo. at 131-32.
        1859
             Gregory 1/3/96 GJ at 7. Gregory testified that although he remembers some
 discussion, he cannot remember "names, places, or dates." Id. Gregory remembered one party to
 the discussions was David Knight. Gregory 5/24/95 Int. at 2.
        1860
               Gregory 1/3/96 GJ at 25-26.
           Id. at 6. Gregory's 1995 OIC interview reads: "RLF's opportunity to represent
        1861

 Madison Guaranty Savings & Loan (MGSL) came through Hillary Clinton in the mid 1980's."
 Gregory 5/24/95 Int. at 2.
        1862
            Gregory 1/3/96 GJ at 13, 15-16 ("But I do know that there was an open discussion
 about the client, or the potential client, as well as the substantive issue, could a state-chartered,
 stock-owned savings & loan association have two classes of stock . . . But to my way of thinking,
 the discussions about, 'Should we be doing this,' took place before we undertook the particular
 project").
        1863
               Id. at 9-10

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 firm as a new client."1864 He was also concerned that "there was no bright-line, black-letter

 statement in the Arkansas statutes that would say you can have two classes of stock."1865 Gregory

 did not remember any discussion about Madison Guaranty's outstanding bill.1866 When asked

 about how Massey was assigned to the project, Gregory said, "I have some recollection that he, at

 one point, mentioned a friendship or an acquaintanceship with this John Latham."1867

        Four other Rose partners -- William Kennedy, George Campbell, Joe Giroir, and Wilson

 Jones -- were asked about any discussions within the firm or with Mrs. Clinton about Madison

 Guaranty retaining Rose. None of the four remembered any.1868

                              iii.   Mrs. Clinton's Discussion with McDougal.

        As previously discussed, in 1994, 1995, and 1998, Mrs. Clinton said Massey asked her

 help to resolve McDougal's old bill. In contrast, Massey testified in 1995 that he did not

 remember speaking with Mrs. Clinton or any other Rose partners about the bill.1869 Massey told

 the Senate in 1996 that he did not remember approaching Mrs. Clinton about representing

 Madison Guaranty:

        Q.         [A]m I correct that you did not go to Mrs. Clinton and say I have a
                   proposal to do work, can you go to Mr. McDougal and get him to agree to
                   prepay?


        1864
               Id. at 8-10.
        1865
               Id. at 13-14.
        1866
               Id. at 18.
        1867
               Id. at 29.
           Senate Whitewater Comm. Hearing, supra note 147, at 277 (Jan. 16, 1996) (testimony
        1868

 of W. Kennedy); Campbell 6/28/96 Int. at 2; Giroir 7/18/96 GJ at 24-26; Jones 6/27/96 Int. at 3.
        1869
               Massey 11/7/95 GJ at 33-34.

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        A.        Sir, I don't have a recollection of that.1870

        When asked if he remembered approaching Mrs. Clinton about getting Madison Guaranty

 as a client, Massey testified:

        It's possible that I had a casual conversation with her that I don't remember from
        11 years ago, sir, but I don't recall a conversation in which I went to her and asked
        her to help me bring in the client.
        ....

        Now, it's possible -- and I think I knew at that time that Mrs. Clinton had some
        relationship with Mr. McDougal, and so it's possible that I could have had a casual
        conversation with her in a hallway and said gee, we'd really like to try to get these
        folks' business, and maybe you could have a word with Mr. McDougal. It's very
        possible.
        ....

        It's possible that I had a conversation with her about gee, I think we might be able
        to get these folks' work, you know McDougal, maybe you could go talk to her.

        [D]id I talk to her with respect to how we were going to bill them, whether we get
        a retainer, did I have a specific engagement agreement of some kind. Sir, I don't
        have any recollection of that happening. I don't believe it happened that way.
        Could I have had a conversation with her, can you have a talk with Mr.
        McDougal, that's very possible. I want to -- that's my testimony.1871

                          iv.     Payment of McDougal's Old Bill.

        The McDougal-controlled Madison Bank & Trust did at one time have a long-outstanding

 old bill from Rose. Rose billed Madison Bank in July 1982 for $5,000 in legal fees, and $893 in




        1870
             Senate Whitewater Comm. Hearing, supra note 147, at 26, 135-36 (Jan. 11, 1996)
 (testimony of R. Massey) ("I do not remember, as you said earlier, a proposal in hand to her and
 discussing with her that there were partners in the firm that were dissatisfied with McDougal and
 here is a proposal and let's work it out. I have no recollection of that").
        1871
               Id. at 20, 25, 136, 234 (testimony of Massey).

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 expenses. Rose had lost the case it was billing for, and McDougal refused to pay. The

 Independent Counsel found several basic facts about this bill.

        When the Madison Bank & Trust board of directors met on September 25, 1984, the old

 bill was on the agenda. Under the heading "Rose Law Firm," the meeting minutes recorded: "We

 owe $5,000 for Huntsville move appeal, according to firm. Mr. Vaughn moved, Mr. McDougal

 seconded that Mr. [Gary] Bunch [president of Madison Bank] will negotiate settlement with

 Rose Law Firm. Approved unanimously."1872 On October 9, 1984, Vince Foster wrote to Bunch,

 referring to their conversation the week before, saying Rose would sue if Madison Bank did not

 pay its bill by October 22.1873 Madison Bank sent a $5,000 check to Rose on October 22, 1984,

 and Rose endorsed it three days later.1874

        On November 27, 1984, the Madison Bank and Trust board met again. The minutes

 reported earnings would be down because of "heavy accounting fees . . . and a payment of legal

 fees."1875 Bunch said he understood the $5,000 payment settled the debt, even though the costs

 portion had gone unpaid and Rose never sent another bill.1876

        The evidence established that Mrs. Clinton was wrong when she said she met with Jim

 McDougal on April 23, 1985 to discuss the old bill and that he thereafter paid that bill.

 According to the chronology Vince Foster created during the 1992 campaign, $5,000 was paid on



        1872
               Bunch 1/20/98 GJ at 16 (discussing minutes).
        1873
               Id. at 23-24, 26 (discussing letter).
        1874
               Id. at 26-27 (discussing check and endorsements).
        1875
               Id. at 17.
        1876
               Id. at 30.

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 the Bank of Kingston bill on October 23, 1984,1877 and this was confirmed by the original copy of

 the bill stamped "Paid" on October 23, 1984 found in 1997 in Foster's attic. Mrs. Clinton

 acknowledged in her 1998 testimony that her earlier testimony was not entirely accurate. She

 noted that even though $5,000 had been paid by the date of her meeting with McDougal, there

 still was $893 outstanding. Even if Mrs. Clinton was referring to this $893 difference when she

 said she went to discuss an old bill with McDougal in April 1985, the evidence shows that the

 balance was not expected to be paid and that payment of that portion the bill was not a

 prerequisite to Rose representing Madison Guaranty.

                          v.       Mrs. Clinton as Billing Partner.

        In 1995, Massey testified that he did not ask Mrs. Clinton to become the billing partner:

        Q.        All right. Mr. Massey, do you remember anything about you, Rick
                  Massey, affirmatively going to Hillary Clinton and asking Hillary if she
                  would become the billing partner?

        A.        No, I do not.1878

        Massey testified, consistent with his prior testimony, before the Senate Whitewater

 Committee:

        Q.        Did you approach Mrs. Clinton and ask her to be the billing attorney on
                  the Madison Guaranty account?

        A.        Sir, I don't recall that.1879



           Foster Chronology of the Rose Law Firm Representation of Madison Guaranty
        1877

 Savings & Loan (Mar. 26, 1992) (Doc. Nos. 1180-00000236 through 240).
        1878
               Massey 11/7/95 GJ at 95-96.
           Senate Whitewater Comm. Hearing, supra note 147, at 29 (Jan. 11, 1996) (testimony
        1879

 of R. Massey).

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         Massey was asked whether he would have remembered asking Mrs. Clinton to be the

 billing partner:

         Counsel.              And do you know how Mrs. Clinton came to be the billing
                               partner?

         Massey.               No.

         Counsel.              You didn't ask her to be the billing partner?

         Massey.               I don't recall asking her to be the billing partner.

         Counsel.              And it's not the kind of thing --

         Chairman D'Amato. Mr. Massey, . . . If you asked Mrs. Clinton to be the billing
                           partner, wouldn't that be a thing -- notwithstanding that it
                           was 10 or 11 years ago -- that you would recall?

         Massey.               That's fair.
                               ....

         Chairman D'Amato. Did you ask her to be the billing partner?

         Massey.               I don't think so.

         Chairman D'Amato. All right. That's better than I don't recall.

         Mr. Massey.           I should remember it. It could have happened. I don't think I did.
                               That's the best I can do.

         Chairman D'Amato. And you had to slip in it could have happened. I mean, Mr.
                           Massey, you get this matter. Mrs. Clinton is not in your
                           section. Now you're going to bring me to develop how it is
                           that that would not be consistent at all. Mrs. Clinton is not
                           in this section. She doesn't do securities work. She's not in
                           the area, the general area of the firm that handles this work;
                           is that correct?

         Massey.               No, she was not.
                               ....

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        Chairman D'Amato. Okay. So consequently, if you were going to ask her, a
                          partner outside of this area, to be the billing partner,
                          wouldn't you recall that?

        Massey.                  Yes, sir, that's correct.1880

        4.        Analysis of the Rose Retainer.

        Substantial evidence corroborated McDougal's version of events. Mrs. Clinton's Rose

 income had declined in the years prior to the alleged jogging incident -- a fact which McDougal

 should not have known independently. One witness, Bill Henley, partially corroborated

 McDougal's testimony by relating McDougal's contemporaneous disclosure of his meeting with

 Governor Clinton. Similarly, Susan McDougal's unsworn press interviews also show McDougal

 contemporaneously told her about the meeting. President Clinton did not contradict McDougal,

 merely saying he had no recollection one way or the other.1881

        Nonetheless, McDougal's statements and testimony must be viewed with caution.

 McDougal was a confessed perjurer, and no independent witness could entirely corroborate his

 testimony.

        Mrs. Clinton's various descriptions of events about the Rose retainer had substantial

 inconsistencies. Latham, Massey, and Knight disagreed with Mrs. Clinton's statement that

 Massey brought in the business through Latham. Latham, Massey, and Knight consistently said

 that McDougal, not Latham, hired the lawyers. Massey told the grand jury that he was not the



        1880
               Id. at 170-72 (testimony of Massey).
        1881
             This Office discounted the testimony of Moles as so at variance with other known
 facts as lacking in significant probative value.

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 source of the Madison Guaranty business.1882

        Massey's testimony was corroborated by documents. For example, Madison Guaranty's

 regular firm, Mitchell Williams, had already begun work on the broker-dealer and preferred stock

 matters prior to Rose's retention.1883 A Mitchell Williams attorney had already contacted the

 ASD about the matter before it was turned over to Rose -- a sequence of events unlikely for

 Latham to have caused.1884 John Selig, the Mitchell Williams partner who did Madison

 Guaranty's legal work was formerly head of the ASD.1885 Beverly Bassett, then the current ASD

 head, had been a lawyer at Mitchell Williams.1886 In addition, Jim Guy Tucker, the billing partner

 at Mitchell Williams, was a long-time friend and business partner of McDougal.1887 It seems

 unlikely that Latham sought to have a new associate at Rose represent Madison Guaranty before

 the ASD rather than Selig, a former head of the ASD for whom Bassett had previously worked



        1882
            Massey's testimony before the Senate Whitewater Committee was more equivocal,
 raising doubts about the accuracy of either statement. The balance of the evidence (including the
 unlikelihood that Massey would forget his first client ever) supports the conclusion that Massey
 was not the source of Madison's business, though his confirmed lunch approach to Latham could
 have played some role in McDougal's decision to hire Rose.
        1883
            Letter from Mitchell, Williams, Selig, Jackson & Tucker Law Offices to Sarah
 Hawkins, Senior Vice-President, Madison Guaranty, enclosing a Preliminary Offering Circular
 (Dec. 3, 1985) (Doc. Nos. 155-00001504 through 1506). More than one month later, Mitchell
 Williams opened another matter on Madison Guaranty's account, entitled "Broker-Dealer." (Doc.
 Nos. 155-00001507 through 1509). The broker-dealer file was also empty. These were the ninth
 and tenth matters opened by Mitchell Williams for Madison Guaranty.
        1884
               Id.
        1885
               Selig 7/18/96 GJ at 3-4.
        1886
             Letter from Bill Clinton, Governor of Arkansas, to Beverly Bassett, Wright, Lindsey,
 and Jennings attorney (Jan. 22, 1985) (Doc. No. DEK219149). The Governor's Office issued a
 press release announcing Bassett's appointment (Jan. 18, 1985) (Doc. No. 319-00028649).


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 simply as a favor to his friend Massey. McDougal offered a simpler and more direct explanation:

  He hired Rose because he thought the Governor's wife would have influence in front of a state

 agency.1888

         Also significant is the documentary evidence showing that McDougal's "unpaid" bill had

 been paid and settled six months before Mrs. Clinton met with McDougal in April 1985. If Mrs.

 Clinton's testimony reflected her view that the entire bill was not paid, $5,000 had been paid. If

 Mrs. Clinton's account testimony reflected her view that only the unpaid $893 expense portion of

 the bill remained unpaid, that portion was never expected by Rose to be paid.

         There is a plausible explanation for Mrs. Clinton's testimony. In late 1983, Mrs. Clinton

 was asked by her fellow partners at Rose to intercede with McDougal about payment of the Bank

 of Kingston bill.1889 This earlier contact with McDougal may have been the contact Mrs. Clinton

 remembered, though she mistakenly confused it with the 1985 meeting she and McDougal agreed

 occurred. In the judgment of the Independent Counsel, this plausible explanation for Mrs.

 Clinton's confusion would create a reasonable doubt in a trier of fact's mind about the willfulness

 of Mrs. Clinton's factually inaccurate statements about going to see McDougal in April 1985

 about a billing dispute that had long since been settled.

         On balance, the weight of evidence supports McDougal's version of events. But in the

 judgment of the Independent Counsel, the weight of the evidence simply is not sufficient to



         1887
                See Tucker 3/18/99 GJ at 21-23.
         1888
                J. McDougal 8/1/96-6/1/97 Int. at 15.
         1889
                See H. Clinton 4/25/98 Depo. at 23-24.

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 warrant prosecution of Mrs. Clinton. Moreover, with McDougal's death in March 1998, the most

 important percipient witness became unavailable. For these reasons and in the exercise of

 discretion, the Independent Counsel declined prosecution as to Mrs. Clinton's testimony and how

 Rose was hired by Madison Guaranty.

 B.      Mrs. Clinton's Madison Guaranty Work.

         The legal work that Rose and Mrs. Clinton did for Madison Guaranty was also

 scrutinized by federal investigators. Rose's legal work for Madison Guaranty coincided with

 some of the most serious frauds perpetrated by the Madison Guaranty insiders, including the

 IDC/Castle Grande transactions, which eventually caused losses of more than $4 million to the

 institution.1890

         1.         Work Related to the IDC and Castle Grande Transactions

         Rose billing records sought for many years by this and other federal investigators were

 finally produced by Mrs. Clinton's attorneys in January, 1996. These long sought records

 provided more detail about Mrs. Clinton's legal work for Madison Guaranty than was previously

 known. The Rose billing records showed six separate "matters" worked on by its lawyers for

 Madison Guaranty. Matter 5 was called "IDC," for Madison Financial's purchase, development,

 and resale of a 1,050-acre parcel of land from the Little Rock IDC. The IDC property was

 developed under the name "Castle Grande." As addressed in detail in Volume II, Part B, Chapter

 1 of this Final Report, these transactions involved substantial misconduct, discovered by federal



           Pillsbury Madison & Sutro LLP, A Report on Certain Real Estate Loans and
         1890

 Investments Made by Madison Guaranty Savings & Loan and Related Entities: Prepared for

                                                468




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 regulators in 1986.

        The billing records showed that Mrs. Clinton billed Madison Guaranty for time working

 on various aspects of these transactions, such as billing for her conferences with Seth Ward, the

 admitted straw man for the original purchase of the IDC property who executed a series of

 "loans" compensating him for that criminal role, while disguising the payments as "loans" to

 deceive federal examiners auditing Madison Guaranty.

        2.           Mrs. Clinton's Work According to the Billing Records.

        The billing records show Mrs. Clinton's legal work on the IDC transactions between

 November 14, 1985 and June 10, 1986.1891 Her greatest number of billing entries occurred

 between November 14, 1985 and January 7, 1986.1892 During that seven-week period, Mrs.

 Clinton billed Madison Guaranty for twelve conferences with Seth Ward on the IDC

 transaction.1893 She also billed for two conferences with Webb Hubbell in November 1985.1894

 The billing entries for these conferences do not say what was discussed. Mrs. Clinton later said

 she did not remember the details of these conferences, though she thought they were related to




 Resolution Trust Corporation 29 (Dec. 19, 1995).
         Rose Law Firm Billing Records (Jan. 1986 through June 1986) (Doc Nos.
        1891

 DEK015013 through 15019, 015021 through 15022, 015029 through 15032, 015038).
         Rose Law Firm Billing Records (Nov. 1985 through Jan. 1986) (Doc Nos.
        1892

 DEK014991, 015009, 015012, 015014, 015016 through 15019).
        1893
               Id.
        1894
               Rose Law Firm Billing Records (Jan. 1986) (Doc. Nos. DEK015014, 015008 through
 15009).

                                                 469




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 legal research concerning Castle Grande's proposed brewery and the sewer and water utilities.1895

  Seth Ward testified that he did not remember having any discussions with Mrs. Clinton.1896

        Before January 30, 1986, Mrs. Clinton charged Madison Guaranty for an additional 14.5

 hours of legal work on the IDC matter that was otherwise unrecorded on Rose's other records.

 On January 30, 1986, Rose (by Mrs. Clinton as the billing partner) sent Madison Guaranty five

 bills for legal services -- one for each open matter.1897 The IDC draft bill computerized billing

 memorandum stated that Mrs. Clinton performed $912.50 worth of legal work on the IDC

 matter.1898 Mrs. Clinton made a handwritten change to the draft billing memorandum to increase

 billing for her work to $2,731.25.1899 Mrs. Clinton did not write down what additional work she

 had performed to justify this additional charge or when that work had been performed. No

 supporting details for this increase were ever entered into the Rose billing computer and Mrs.

 Clinton's personal timesheets for 1985 to 1986 were never produced to this or any other

 investigation, though they were sought.1900

        The additional work Mrs. Clinton might have performed could possibly be determined by

 comparing the computerized billing memorandum with the invoice Rose sent to Madison



        1895
               H. Clinton 2/14/96 FDIC Int. at 72.
        1896
               Ward 1/17/96 GJ at 62; Ward 2/12/96 Senate Whitewater Comm. Depo at 44.
           Rose Law Firm Billing Records (Jan. 1986) (Doc. Nos. DEK015008, 015011,
        1897

 015013, and 015016).
        1898
               Rose Law Firm Billing Records (Jan. 1986) (Doc. No. DEK015017).
        1899
               Id.
        1900
            See Letter from Alden L. Atkins, attorney representing Rose to W. Hickman Ewing
 Jr., Deputy Independent Counsel (Feb. 9, 1996) (Doc. No. 105-00092699).

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 Guaranty. The original draft billing memorandum entry for November 14, 1986 stated:

 "Conference with Seth Ward regarding purchase from Brick Lile."1901 That entry was initially

 billed to Matter #4 (General), but Mrs. Clinton edited the draft memorandum to move it to

 Matter 5 (IDC).1902 The final January 30, 1986 invoice for Matter #5 contained the description

 "Conference with Seth Ward regarding purchase from Brick Lile and proposed industrial

 development on site." Some of the 14.5 missing hours of work could have been for the

 "proposed industrial development on site." This Office was unable to determine the basis for the

 $1,818.75 increase in Mrs. Clinton's IDC billings for work performed through January 30, 1986.

 It is possible that the billing records do not accurately reflect Mrs. Clinton's work. Mrs. Clinton

 herself has said some of the entries were wrong.

        This Office also examined whether Hubbell's IDC work was billed under Mrs. Clinton's

 name. Hubbell had substantial contact with Ward on the IDC matter. File storage records at

 Rose show Hubbell maintained a file entitled "IDC: UNION TOWNSHIP RESEARCH."1903 In

 his August 1996 testimony, Hubbell admitted advising Ward on most significant aspects of the

 IDC transaction.1904 Don Denton1905 and Ward's accountant, Mike Schaufele, corroborated



        1901
               Rose Law Firm Billing Records (Nov. 22, 1985) (Doc. No. DEK014991).
        1902
               Id.
           Rose Law Firm Computer Printout by file name and attorney name (undated) (Doc.
        1903

 No. RIC 1212395).
        1904
              Hubbell and Ward discussed: 1) the initial IDC purchase, Hubbell 8/22/96 GJ at 24,
 79; 2) letter agreements between Ward and McDougal, id. at 35-36, 41-43; 3) the brewery, id. at
 59; 4) Ward's purchase of IDC property, id. at 49; 5) the sewer and water facilities, id. at 24, 60,
 108; 6) payment of Ward's commissions and the mechanism for payment including the concept
 of set off loans, id. at 49-50, 67, 98; 7) tax consequences of Ward's relationship with Madison, id.

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 Hubbell's testimony.1906

        Hubbell denied billing time or doing legal work for Madison Guaranty through another

 attorney, such as Mrs. Clinton.

        Q.        Did you ever bill for any work for Madison Guaranty Savings & Loan or
                  Madison Financial in 1985 and 1986?

        A.        Not that I remember, and I haven't seen anything that shows that I did. I
                  mean, I'm hesitant to be 100 percent sure of anything anymore, but if I
                  could [sic] 100 percent sure, I don't remember ever billing Madison. I've
                  never seen anything or heard anybody say that I did.

        Q.        Would you ever have billed Madison -- and that would include Madison
                  Guaranty and Madison Financial Corporation -- indirectly, that is, through
                  someone else? That is, you do work and you put it under someone else's
                  name or in some other category on the bill, not under Web Hubbell legal
                  services?

        A.        No, I don't think I have.1907

        3.        Mrs. Clinton's Recollection of Madison Guaranty Work.

        Mrs. Clinton testified in 1995 that she remembered performing no legal work that she did

 for Madison, other than before the ASD:

        Q.        [F]rom the time of the advance against fees or retainers started in May of
                  '85 until it was terminated in July of '86, do you recall today doing any
                  other work on anything other than the matter with the Arkansas Securities
                  Department?

        A.        I have a recollection of the firm during that time doing some other minor
                  matters for Madison [Guaranty], but I couldn't tell you what they were


 at 57-59, 90; and 8) the option agreement. Id. at 57-59, 93.
        1905
               Denton 8/20/96 GJ at 77.
        1906
               Schaufele 5/27/88 Depo. at 13, Ward v. Madison Guaranty, No. 87-7580, (E.D. Ark.).
        1907
               Hubbell 8/22/96 GJ at 27-28.

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                   right now.1908

        In 1993, Rose recreated the Madison Guaranty representation from fee allocation

 documents in the firm's files.1909 Mrs. Clinton was questioned using the recreated fee allocation.

 For January 1986, the allocation showed Mrs. Clinton was credited with earning a fee of

 $2,731.25 for Stock Offering & IDC and $802.50 for Stock Offering.1910 Mrs. Clinton was asked

 if she had worked on the stock offering matter, and she said: "I must have done something or it

 could have gotten misallocated. There was a -- I think IDC was something different from the

 stock offering, but I don't have any memory of that."1911 This exchange followed:

        Q.         I believe -- and I'm sorry that I don't have a copy, Mrs. Clinton, but the
                   IDC, I think, had to do with Castle Grande. And there was a memo in
                   there or something on a wet/dry issue.

        A.         Uh-huh.

        Q.         And there is actually a memo from Rick Donovan to you. Do you recall
                   anything what that would be about.

        A.         I don't recall specifically, but there was some property that Madison either
                   owned or was trying to develop that was partially in a township that was
                   wet, or something like that. That's all I remember right now.1912



        1908
               H. Clinton 4/22/95 Depo. at 30.
        1909
            R. Clark 12/5/95 GJ at 20-22. Some of these documents had been removed in 1992
 by Hubbell and Foster. See Hubbell 5/7/96 GJ at 15, 18-19; Rose storage facility checkout log
 (Mar. 24, 1992) (Doc. No. 105-00054216).
           Recap of fees from Madison Guaranty Savings & Loan Final Recap at 2 (for period
        1910

 1983 through Sept. 1987) (Doc. No. 105-00083353 through 354). H. Clinton 4/22/95 Depo. at
 41. When discovered, the billing records listed that in fact the entire $2,731.25 was for the IDC
 matter. Rose Law Firm Billing Records (Jan. 21, 1986) (Doc. No. DEK015017).
        1911
               H. Clinton 4/22/95 Depo. at 41.
        1912
               Id. at 42-43.

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        Mrs. Clinton was asked whether she thought the fees had been allocated to her because

 she had brought in the business, or because she had done the work. She replied: "Well, I did

 work. I just can't remember 10 years from the work exactly what the work was."1913

        4.        Denton's Explanation of His April 7, 1986 Phone Conversation with Mrs.
                  Clinton

                  a.     The Billing Records and Denton's Testimony

        The billing records showed that Mrs. Clinton billed Madison Guaranty for an April 7,

 1986 telephone conversation with Don Denton.1914 That was the day that Madison Guaranty and

 Ward executed the second set of "cross notes" that deceived the federal examiners about Ward's

 compensation.1915 Mrs. Clinton's time was billed to the IDC matter.1916 In her 1996 RTC




        1913
            Id. at 43. In Mrs. Clinton's FDIC interview on November 10, 1994, she was
 questioned about one of the few IDC bills investigators then had. Mrs. Clinton said she did not
 remember the IDC matter, but presumed her name was listed on the bill as billing partner. H.
 Clinton 11/10/94 FDIC Int. at 3. The investigators asked Mrs. Clinton to give her answers under
 oath, which she declined. Id. at 1. The FDIC also asked Mrs. Clinton about a January 23, 1986
 memo from Rick Donovan to her about the wet/dry township issue, and she said the matter was
 handled by Rick Donovan. H. Clinton 11/10/94 FDIC Int. at 3-4.
        1914
               Rose Law Firm Billing Records (May 13, 1986) (Doc. No. DEK015030).
        1915
            Denton 8/20/96 GJ at 64-65; Ward $300,000 "loan" to Madison Financial (Apr. 7,
 1986) (Doc. No. 56-00126454); Ward $70,943.47 "loan" to Madison Financial (Apr. 7, 1986)
 (Doc. No. 396-00000525); Clark 7/26/97 Int. at 3-4; FDIC-OIG Supplemental Report on Rose
 Law Firm Conflicts of Interest, WA-94-0016 at ii-iii (Sept. 20, 1996). In summary, on March 31,
 1986, Ward was paid $400,00 by Madison Guaranty as compensation for Ward's role as straw
 man in the IDC purchase. To conceal the true nature of the transaction from the examiners who
 were then auditing Madison Guaranty, two cross notes were prepared: one note purported to
 evidence a loan from Ward to Madison Financial for $400,000; the other purported to evidence a
 loan of $400,000 from Madison Guaranty to Ward. On April 7, 1986, the cross loans were
 replaced with new notes. The $400,000 loan note from Ward to Madison Financial was replaced
 with separate notes for $300,000 and $70,943.47. The $300,000 note corresponded to the

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 interview, when asked what she knew of the cross notes, Mrs. Clinton testified: "I don't recall

 knowing anything about these loans."1917 Don Denton said he received a telephone message on

 April 7, 1986, from Sandra Moody, Hillary Clinton's secretary, asking him to call Mrs.

 Clinton.1918 Denton returned the call and spoke with Mrs. Clinton about Ward's loan to Madison

 Financial. On April 7, 1986, Mrs. Clinton billed the IDC matter for a telephone conference with

 Denton.1919 Denton later said he vaguely remembered that Mrs. Clinton was preparing the note

 from Ward to Madison Financial and that she was calling for Hubbell.1920 Denton said he told her

 the note had already been prepared and executed.1921 Denton said Mrs. Clinton asked him to send

 her a copy of the note, or both notes, for her review.1922 Denton said they may also have

 discussed Ward's cross loans -- the $300,000.00 and $70,000.00 loans to Madison Financial --

 that replaced the $400,000.00 loan.1923 Denton said he told Mrs. Clinton "there could be a

 problem with the notes as they constituted in effect a parent entity fulfilling the obligation of a




 amount of Ward's supposed "commissions" -- his compensation for being straw man on the
 transaction -- and the $70,943.47 corresponded to the amount that remained outstanding from
 Ward's initial purchase of IDC.
        1916
               Rose Law Firm Billing Records (Mar. 28, 1986) (Doc. No. DEK015022).
        1917
               H. Clinton 2/14/96 FDIC Int. at 81.
         Telephone message slip to Don Denton from Sandra Moody (Apr. 7, 1986) (Doc. No.
        1918

 DD00000241).
        1919
             Rose Law Firm Billing Records (entry for Apr. 7, 1986) (Doc. No. DEK015030)
 (reflects 0.2 hours billed by Mrs. Clinton for "Telephone conference with Don Denton").
        1920
               Denton 6/20/96 Int. at 5-6.
        1921
               Denton 8/20/96 GJ at 64.
        1922
               Id.
        1923
               Id. at 65-66.

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 subsidiary." He said she "summarily dismissed" his concern in a way he understood meant that

 she wanted him to manage savings and loan matters, and leave legal matters to her.1924

        Denton described their conversation as follows:

        Q.         Tell the ladies and gentlemen of the grand jury what happened when you
                   called Sandra in Hillary Clinton's office back.

        A.         I returned the call and was immediately connected with Hillary Clinton.
                   We exchanged a couple of hellos, how are you, The conversation was very
                   short. I was told that she was working on a transaction involving Seth
                   Ward and Madison Financial, and that she was . . . [seeking] information
                   so she could document the obligation that Madison owed Seth. In other
                   words, the $400,000 obligation. She understood that Seth had been loaned
                   the 400 by Madison Guaranty Savings & Loan. And she was working on a
                   transaction that would document Madison Financial's obligation to pay
                   Seth his commissions, Seth Ward his commissions.

        Q.         What type of document was she talking about?

        A.         She was talking about a promissory note.

        Q.         So what was your response to what she was saying?

        A.         I cautioned her that the Madison Financial obligation was not a direct set-
                   off or direct tie to Madison Guaranty's loan. I pointed out that Madison
                   Guaranty had loaned Seth the money, but Seth was owed money by
                   Madison Financial Corporation. She rather summarily dismissed my
                   concerns and indicated that she'd take care of the lawyering.

        Q.         What happened after that?

        A.         I informed her that the $400,000 note from Madison Financial -- excuse
                   me -- from Madison Financial to Seth had already been prepared. And she
                   asked that we supply a copy of that note, which I did. I had an employee
                   of Madison deliver that note.

        Q.         To whom?



        1924
               Id. at 64.
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       A.         To the Rose Law Firm.

       Q.         And then also the note that you had prepared, was it the first note on April
                  -- pardon me -- on March 31st, or was it a note drafted on that day, April
                  7th?

       A.         I don't recall which it would have been. It was -- as I recall, it was the
                  $400,000 note. I'll note now that the replacement notes were also dated
                  April 7th, so I don't recall specifically which ones were delivered.
                                                    ....

                  So I think on April 7th, two notes were replaced, the 300 plus the 70, to
                  take care of the remaining $300,000 balance on the original note plus the
                  $70,000 note. And it more clearly identified them. Rather than a total
                  note for 400, it broke it down into two notes, with those specific amounts,
                  the 300 and the 70,000 note.

       Q.         Did you and Mrs. Clinton discuss that in your telephone call on April 7th?

       A.         I don't recall whether we did or not.

       Q.         Your memory is you just discussed the $400,000 note?

       A.         That was the reason of her inquiry. I may or may not have informed her
                  that the 300 plus the 70 had already been done. I just don't recall now.
                  ....

       Q.         Who did you believe was Mr. Ward's attorney at that time?

       A.         Webb Hubbell.

       Q.         Who did you think that she represented at the time you received the phone
                  call from her on April 7th?

       A.         Seth Ward.1925

       Denton did not remember this conversation until after the billing records had been found.




       1925
              Id. at 63-67.

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 Prior to that time, Denton had said he remembered no conversations with Mrs. Clinton.1926 Mrs.

 Clinton's counsel, in his letter transmitting her affidavit to the Senate, criticized Denton's "sudden

 recollection of a twelve-minute phone call with Mrs. Clinton over ten years ago" rendering, he

 claimed, the memory "wholly unreliable."1927

                     b.     Mrs. Clinton's Recollection of the Denton Conversation.

        Mrs. Clinton addressed the Denton conversation through her attorney in a June 17, 1996

 letter to the Senate Whitewater Special Committee after her attorney produced the billing

 records. That letter said she thought the April 7 phone conversation related to another Madison

 Guaranty matter -- the Babcock matter.1928 The letter said the April 7 telephone conference was

 about Babcock because notes underneath the telephone message slip produced by Denton to the

 Senate were about Babcock.1929 Mrs. Clinton billed the Babcock file for 1.5 hours on April 9,

 1986 for a conference with Don Denton.1930

        In 1998, Mrs. Clinton testified about the Denton phone call:

        Q.           . . . . If you look at the record on page DEK015030, and I've actually
                     marked this page separately, let me hand you this document. There is an
                     entry on the billing records on 4/7/86 for a telephone conference with Don
                     Denton. Can you tell us what that's about?




        1926
               Id. at 66.
           Letter from David Kendall, the Clintons' personal attorney, to the Senate Whitewater
        1927

 Special Committee at 2 (June 17, 1996).
        1928
             Id. at 4-5 (June 17, 1996). The Babcock matter was a collections/loan workout --
 unrelated to IDC -- that Mrs. Clinton worked on for Madison Guaranty with Don Denton's help.
        1929
               Id.
        1930
               Rose Law Firm Billing Records (May 13, 1986) (Doc. No. DEK015036).

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       A.     No, I can't. From looking at the billing records, it merely states telephone
              conference with Don Denton. I believe that it had to do with a matter
              referred to as Babcock in the billing records.

       Q.     Would you agree that it's listed under the matter IDC?

       A.     I would agree with that.

       ....

       Q.     Now, Mrs. Clinton . . . Mr. Denton has stated that on this call, that there
              was a phone message from you to him on that day and that you and he
              discussed certain loan documents flowing from Madison Financial to Seth
              Ward, and then a loan going back from Seth Ward to Madison. Did you
              do that?

       A.     I do not believe that happened in a 12-minute telephone conference on
              April the 7th, 1986.

       Q.     Your counsel has publicly stated -- I don't know if he put this in any kind
              of written form, I think he did, I think I read that at some point -- perhaps
              to the Senate, that he believes that Mr. Denton was not truthful about that;
              in fact, that there was a message slip that Mr. Denton had but that it was
              laid on top of some Babcock documents.

              Do you recall, did you participate in that response?

       A.     I certainly approved of that response that my attorney sent, I think, to the
              Senate committee.

       Q.     And is it your position that the message slip that he had was actually a
              copy and it was shown that it was on top of the Babcock documents, and
              therefore reinforced a belief that maybe he wasn't telling it like it was?

       A.     Well, I don't want to draw any conclusions. I can only say that based on
              the billing records, and based on the information I have seen, if you look at
              the 4/7/86 entry, which is the 12-minute telephone conference, and yes it
              was billed to IDC, but I don't think that was correct, because it was
              followed two days later by an hour and a half conference with Mr. Denton
              concerning the loan participations that Savers Savings and Loan had that
              Madison was interested in resolving. And then all of the time on Babcock
              concerns those loans and Mr. Denton is one of the people that I spoke with

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                  and had conferences with.

                  So, I believe, based on the evidence that I see and the fact that Mr. Denton
                  was involved in this Babcock matter, that that is what that first telephone
                  conference also pertained to.

        Q.        Why wasn't it billed to number four, General, or some other matter?

        A.        That's a good question, Mr. Ewing, and as I've looked at these billing
                  records carefully, over the last days, there are a lot of questions I have
                  about that. There are a number of errors, and I attribute it to secretarial,
                  clerical, accounting errors. But I think that's where the telephone
                  conference with Mr. Denton rightly belongs.1931

                  c.     Other Evidence of Mrs. Clinton's Degree of Involvement with
                         the IDC Transaction and Ward Loans.

        One other document arguably shows Mrs. Clinton's knowledge of Ward's cross-loan

 agreement with Madison and his interest in Castle Grande - a page of notes written by Rick

 Donovan when he was first assigned the wet/dry research project by Mrs. Clinton.1932 The notes,

 however, are subject to more than one interpretation. The undated notes list two research

 projects Mrs. Clinton assigned to him - an unrelated project on a writ of garnishment and:

                  2.     Seth Ward

                  property purchased in Big Rock Township

                  ABC says Union Township & that is dry . . . 1933

 The notes go on to discuss the project and how Donovan would decide what property was wet or




        1931
               H. Clinton 4/25/98 Depo. at 125-27.
        1932
               Donovan 12/6/95 GJ at 6-7.
        1933
               Donovan's handwritten notes (undated) (Doc. No. 105-00003697).

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 dry south of the Arkansas River.1934

        The phrase "property purchased" could modify the heading "Seth Ward" -- in which case

 the notes would confirm that Mrs. Clinton knew Ward owned some of the property. Another

 interpretation, though, is that "Seth Ward" refers generally to the source of Mrs. Clinton's

 information and her contact at Madison, perhaps to let Donovan know who to contact if he

 needed more information to complete his legal research.

        5.           Mrs. Clinton's Statements about the May 1, 1986 Option Agreement.

                     a.     Background.

        The FDIC concluded that the May 1, 1986 option agreement between Madison Financial

 and Seth Ward was intended by Ward and other insiders to deceive the examiners about the true

 nature of Ward's compensation, and that it accomplished its intended effect.1935 Investigators

 were particularly interested in evidence related to the option when the billing records showed that

 Mrs. Clinton billed Madison Guaranty for preparing the option.1936 On May 1, 1986, Mrs.

 Clinton billed Madison Guaranty on the IDC matter two hours for:

                     conference with Seth Ward; telephone conference with Seth Ward;
                     telephone conference with Mike Schaufele; prepare option.1937

        Mrs. Clinton testified that it was not unusual for Ward to stop by Rose demanding legal




        1934
               Id.
        1935
               FDIC Supplemental Report at V.
        1936
               Id. at IV.
        1937
               Rose Law Firm Billing Records (May 13, 1986) (Doc. No. DEK015032).

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 work immediately.1938 It appears that after April 29 (Tuesday), when one of the federal

 examiners followed up on the option agreement that Denton had told the examiner was being

 prepared,1939 Ward went to Rose Law Firm in person on May 1, 1986 (Thursday). This is

 corroborated by Mrs. Clinton's two distinct billing references: one for a "conference with Seth

 Ward," and the other for a "telephone conference with Seth Ward"1940 -- the more explicit

 "telephone" reference in the second entry implying that the "conference" reflected in the first

 entry was in person.

        Hubbell was out of town in an unrelated trial.1941 Ward may have asked Mrs. Clinton to

 draft the option simply because Hubbell was gone. Billing records show that Mrs. Clinton may

 have drafted the option after making phone calls to both Ward and his accountant, Mike

 Schaufele.1942 The option was signed and notarized on May 5, 1986.1943 The option contained

 Mrs. Clinton's Rose word processing code.1944




        1938
               H. Clinton 2/14/96 FDIC Int. at 13.
        1939
               Denton 3/19/98 GJ at 21.
        1940
               Rose Law Firm Billing Records (May 13, 1986) (Doc. No. DEK015032).
        1941
               Tucker 3/18/98 GJ at 187.
        1942
             Ward 1/17/96 GJ at 31-32. Schaufele later testified that he did not remember his
 conversation with Mrs. Clinton but thought that the only topic he would have discussed with her
 was Ward's tax liability. See Schaufele 1/30/96 GJ at 27-29. Ward testified that he has no
 recollection of any conversation with Mrs. Clinton. Ward 1/17/96 GJ at 82-83.
        1943
            Option to Purchase Real Estate Agreement Version #1 (May 1986) (Doc. Nos. 99-
 00043196 through 43201); Option to Purchase Real Estate Agreement, Version #2 (May 1986)
 (Doc. Nos. 99-00043202 through 43208).
           See Option to Purchase Real Estate (May 5, 1986) (Doc. No. XX-XXXXXXX). In the
        1944

 bottom-right corner is the code "0190g," Mrs. Clinton's word processing code.

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        Denton gave a copy of the option to examiner Darlene Ford on May 7, 1986.1945 Ford

 reviewed the legal description of the property and noticed it was wrong.1946 The option did not

 refer to Holman Acres, but to property already purchased by Davis Fitzhugh on February 28,

 1986.1947 Ford pointed out the error to Denton, who had the first two pages re-typed to describe

 Holman Acres as the subject property.1948

        This Office could not identify the source of the incorrect legal description. Rose files that

 might have shown how the error occurred were destroyed at Mrs. Clinton's direction in 1988, one

 of which was titled "Ward Option."1949

                  b.      Mrs. Clinton's Statements.

        Mrs. Clinton was first questioned about the option agreement on December 21, 1995,

 when the RTC sent her supplemental interrogatories.1950 The RTC learned on December 21 that




        1945
               Copy of option with Ford's handwritten notes (May 1, 1986) (Doc. No. 99-00043196).
        1946
               Ford 7/29/96 Int. at 3.
        1947
             This same property description appears on an attachment to a release deed given to
 Seth Ward by Madison Guaranty dated December 30, 1985. Martha Patton, Webb Hubbell's
 secretary at the Rose Law Firm, said she typed the attachment. Patton 9/25/96 Int. at 2.
        1948
             Ford's notes on her copy of the option she received from Denton state: "Talked to Don
 Denton. He said that this land description goes with the Fitzhugh mortgage property and that this
 description is in error. He said it should be the property known as Tract 27 and 28 of Holman
 Acres on which Ward [unintelligible]." Copy of Option with Ford's Handwritten Notes (May 1,
 1986) (Doc. No. 99-00043196); see also Ford 7/29/96 Int.; Clark 7/26/96 Int. Denton had the
 first two pages of the incorrect option re-typed. Denton 6/26/96 Int. at 7. Denton's corrected
 version is referenced as Doc. No. 99-00043202.
        1949
            Memo from Mary Russell, secretary to Mrs. Clinton, to Mrs. Clinton (July 21, 1988)
 with attached list of files destroyed (Doc. No. FDICHRC 0163).
        1950
               H. Clinton 1/20/96 RTC Interrog. Resp. at 2-3.

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 the Rose word processor identification code on the document ("190g") was hers.1951 Mrs. Clinton

 answered the December 21, 1995 interrogatories on January 20, 1996, using information

 contained in the recently produced billing records. The interrogatories asked sixteen questions

 about the option agreement, thirteen of which Mrs. Clinton responded to in one omnibus

 response:

        I have reviewed document SW1-070 through SW1-074 (which appears to be an
        option agreement dated May 1, 1986, on a 6.6667 acre parcel of land in Pulaski
        County, Arkansas) and document SW1-063 through SW1-068 (which appears to
        be an option agreement dated May 1, 1986, on land described as "[p]art of Tracts
        27 & 28, Holman Acres, Pulaski County, Arkansas"). I have no recollection of
        these documents or the transactions they reflect. I do not recall what my word
        processing code was in 1986. My time records reflect the following entry for May
        1, 1986, representing two hours of work done for Madison Guaranty on the
        "General" account: "Conference with Seth Ward; telephone conference with Seth
        Ward concerning option; telephone conference with Mike Schauffler [sic];
        prepare option." I know that Mike Schaufele is a CPA at L. Cotton Thomas &
        Company, and I believe he was Mr. Ward's CPA at one time. Based upon the
        May 1, 1986, entry in my time records, I believe that I did some work on these
        documents. The client was Madison Guaranty or Madison Financial, not Seth
        Ward. I have no recollection of what this work was, who originally prepared the
        option documents, how many pages of the documents were typed at the Rose Law
        Firm, what the circumstances were which led to the drafting of these options, or
        whether either of the options was ever exercised. I was in the litigation section of
        the Rose Law Firm. Although I have no specific recollection of this matter, I do
        not believe I would have drafted such real estate documents from scratch,
        particularly in a two-hour period that also contained phone calls and conferences.
        I have no recollection of who may have asked me to prepare these documents, or,
        in particular, if Messrs. McDougal, Latham, Ward, or Hubbell asked me to
        prepare or work on these documents, although it is possible that one or more of
        them did so. I have no recollection of discussing these documents prior to March
        11, 1991, although I believe, based upon my time records, that I probably did in
        1986 when the documents were apparently prepared. I do not know what


        1951
            Pillsbury Madison & Sutro LLP, A Supplemental Report on the Representation of
 Madison Guaranty Savings & Loan by the Rose Law Firm: Prepared for Federal Deposit
 Insurance Corporation 125, n.308 (Feb. 25, 1996).

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       relationship there is, if any, between these two option agreements.1952

       In her February 14, 1996 FDIC interview, Mrs. Clinton was asked about the option

 agreement:

       Q.        Let's talk for a minute about the option that was drafted on May 1, 1986 . .
                 . . Now, the billing records and the word processing codes indicate that
                 you have something to do with the drafting of this option. But you're a
                 litigator, as you've told us. Had you had occasion before this to draft
                 options for real estate purposes?

       A.        No. That was not part of my practice, and I have no recollection of doing
                 this. I can only go by what the billing records describe. And I think it's
                 unlikely that I would have drafted this option from scratch, that I would
                 have had [a] conversation with Mr. Ward and Mr. Schaufele and a
                 conference with Mr. Ward all within a two-hour period.

       Q.        Mr. Hubbell suggested in testimony that the Rose Firm maintained form
                 files that were available to people when they were drafting various kinds
                 of legal documents and at least made the suggestion that this was
                 something he or others might have used for a purpose like this.
                 In your practice, would you on occasion, use these form files when you
                 had to draft documents with which you were unfamiliar?

       A.        I might have on occasion. I don't have any recollection of having done it
                 in this instance. I don't know what had already been prepared. I don't
                 have any recollection of the two hours at all, other than what the time
                 records say.

       Q.        Mr. Donovan, in his testimony, said rather colorfully, for him, would have
                 regarded drafting an option as malpractice waiting to happen. And I
                 wonder, is what you're saying that this is not something you would have
                 been comfortable doing on your own? You would have involved
                 somebody else?

       A.        I have no recollection of what occurred, Mr. Ericson. It's also possible that
                 since only two hours were recorded, that Mr. Ward had something that had
                 already been prepared by somebody else and wanted my secretary to make


       1952
              H. Clinton 1/20/96 RTC Interrog. Resp. No. 33.

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                  some changes on it. That was not uncommon for Mr. Ward, and I would
                  have talked to him about it and maybe he needed some piece of
                  information from Mr. Schaufele. I'm totally speculating now, but Mr.
                  Ward often walked around our firm asking our people to help out on
                  certain legal matters that were pressing, so far as he was concerned, and
                  insofar as we were able we tried to accommodate him.

        Q.        Do you have any recollection of ever talking to Mr. Schaufele about the
                  IDC property or Mr. Ward's work with respect to it?

        A.        I have no recollection. All I can point to is the billing record that reflects a
                  telephone conference with Mr. Schaufele.1953

 Mrs. Clinton testified on the same subject at her 1998 deposition:

        Q.        Mrs. Clinton, we -- the bank examiners were in the bank during this time.
                  There is evidence that there were these cross loans where Mr. Ward was
                  advanced monies by Madison, but to cover the obligation, he then on
                  paper loans money back to Madison, but it was not funded. That later, on
                  May 1st, '86, there was an option agreement put in place of this document.

                  Now, we know now that you apparently drafted the option agreement that
                  took the place of this document here.

        A.        I don't believe I drafted the option agreement, Mr. Ewing.

        Q.        But you billed for it?

        A.        It, it was billed for. That is correct, along with several other activities in a
                  two-hour period on May the 1st.

        Q.        Did you actually bill the client and list on the records of your law firm,
                  draft option agreement?

        A.        Draft option agreement is what it says, that's right. But I do not believe I
                  drafted that option agreement from scratch. That would not be something
                  I would do.1954



        1953
               H. Clinton 2/14/96 FDIC Int. at 83-85.
        1954
               H. Clinton 4/25/98 Depo. at 129.

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         6.        Mrs. Clinton's Work for Ward.

         The May 1 billing entry raised the issue of whom Mrs. Clinton represented in that

 transaction. The option agreement was between Ward and Madison Guaranty, and Mrs. Clinton's

 billing entry showed she consulted only with Ward and Ward's personal accountant, Schaufele.

 Investigators questioned whether Mrs. Clinton had breached legal conflict rules by representing

 both sides of the option transaction. Mrs. Clinton denied representing Ward in his individual

 capacity. In her 1996 answers to the RTC interrogatories, Mrs. Clinton said:

         To the best of my recollection, I don't believe that I have performed legal services
         for Seth Ward individually, although I did confer with him on certain matters, as
         described more fully herein, when he was working for Madison Financial
         Corporation, a wholly owned subsidiary of Madison Guaranty Savings & Loan.1955

         In her 1996 FDIC interview, Mrs. Clinton addressed the potential conflict of interest. She

 said:

         Q.        The option is an agreement between Mr. Ward on the one hand and
                   Madison Financial on the other, so there are two parties to it. Yet, the
                   time records indicate you talked to Mr. Ward. They indicate you talked to
                   Mr. Schaufele, who is Mr. Ward's accountant. They don't indicate you
                   talking to anyone other than Mr. Ward associated with Madison.
                   In a matter such as this, where you're drafting something, an agreement --
                   strike that. Let me put it this way. Your client was Madison, not Ward;
                   right, and this is an agreement between Madison and Ward, yet so far as
                   the billing records indicate, you talked only to Ward and to Ward's
                   accountant. Do you think you would have talked to someone at Madison
                   to ascertain whether this is what they wanted to do?

         A.        Well, in most of my dealings in the last months preceding this on behalf of
                   Madison, I dealt with Mr. Ward. He was the person I dealt with on the
                   brewery issue. He was the person that we dealt with on the utility issue.


         1955
                H. Clinton 1/20/96 RTC Interrog. Resp. at No. 32.

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                   He was Madison so far as I was concerned.

        Q.         You dealt virtually exclusively with him as opposed to Latham or
                   McDougal?

        A.         In the late 1985, 1986 period, that's correct.

        Q.         What I'm getting at is, what distinguishes this in my mind from that
                   representation, here you have at least the possibility -- feel free to disagree
                   with me -- of a conflict and yet this is a transaction between Ward and
                   Madison. It's not Ward simply acting as agent of Madison, but you didn't
                   speak to anyone at Madison?

        A.         I may have. I don't recollect that, and the time records don't reflect that,
                   but I can't tell you, sitting here today, I did not speak to anyone at
                   Madison.1956

        Mrs. Clinton was also asked whether she in fact represented Ward as an individual, and

 she responded: "I do not recall thinking anyone was the client other than Madison Guaranty."1957

        Webb Hubbell, Ward's usual Rose attorney, testified he understood Mrs. Clinton was

 representing both Madison Guaranty and Seth Ward on the option:

        Mr. Chertoff.             Can you help us to understand why it was Mr. Ward would
                                  have gone to Mrs. Clinton to help him draft an option rather
                                  than to you?

        Mr. Hubbell.              She was representing Madison.

        Mr. Chertoff.             Who was representing Ward with respect to the option?

        Mr. Hubbell.              Mrs. Clinton.

        Mr. Chertoff.              So Mrs. Clinton was representing both Madison and Ward?




        1956
               H. Clinton 2/14/96 FDIC Int. at 85-87.
        1957
               Id. at 48-49.

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        Mr. Hubbell.             That's my understanding.1958

        7.        Analysis of Mrs. Clinton's Work on Castle Grande/IDC.

        Substantial evidence supported the conclusion that Hillary Rodham Clinton did more than

 an insubstantial amount of legal work on the IDC matter for Madison Guaranty. Significant

 evidence also supported the conclusion that Mrs. Clinton's testimony about that work was

 incomplete and factually inaccurate. Nonetheless, insufficient evidence exists to prove beyond a

 reasonable doubt that Mrs. Clinton's inaccurate statements and testimony were knowingly false,

 and therefore given with the requisite criminal intent.

        Lack of Memory -- This Office examined Mrs. Clinton's initial claim that she did not

 remember working on the IDC matter. This Office concluded that certain evidence contradicted

 Mrs. Clinton's claim.

        The billing records showed that Mrs. Clinton did more work on the IDC matter than on

 any other Madison Guaranty matter. There is also evidence that Mrs. Clinton reviewed the

 billing records in 1992 showing this work. Her fingerprints were on a copy of the billing records

 produced in 1996,1959 and she later agreed that if she touched them it was in 1992 rather than

 1994 or 1995.1960

        When Mrs. Clinton said in 1995 that she could not remember what IDC was because the

 work had been done 10 years previously, it had only been three years since she reviewed the



          Senate Whitewater Comm. Hearing, supra note 147, at 7 (Feb. 7, 1996) (testimony of
        1958

 W. Hubbell).
        1959
               Federal Bureau of Investigation, Laboratory Report at 3 (Mar. 21, 1996).


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 billing records recording that work. In 1994, when she told the FDIC investigators that she

 thought her name was on the IDC bill only as the billing partner, it had been two years since she

 had reviewed the billing records showing her work. Nevertheless, this circumstantial evidence

 was, in the Independent Counsel's judgment, insufficient to obtain and sustain a conviction.

        The billing records provided significant documentary evidence about Mrs. Clinton's

 connection to Seth Ward. The records showed that at several times when Seth Ward was

 engaged in irregular activities, Mrs. Clinton was billing for legal services performed for Ward

 and Madison Guaranty. For example, on April 7, 1986, when Don Denton and Seth Ward were

 executing the cross notes to conceal Ward's compensation from the regulators examining

 Madison Guaranty, Mrs. Clinton billed Madison Guaranty on the same IDC matter for a

 telephone conference with Denton. Mrs. Clinton was also personally involved in preparing the

 May 1, 1986 option agreement used by Ward and Denton to deceive the federal examiners. On

 February 28, 1986, a day that numerous fraudulent transactions were conducted on the eve of the

 federal examination,1961 Mrs. Clinton billed Madison Guaranty for three-quarters of an hour for

 "Seth Ward."1962

        Mrs. Clinton had three motives to minimize her role in the IDC/Castle Grande

 transactions: First, there was the potential for political embarrassment because the press was

 closely scrutinizing the work she did for a corrupt thrift, some of which involved representing the



        1960
               H. Clinton 4/25/98 Depo. at 126.
        1961
               Denton 8/20/96 GJ at 48-50.
        1962
               Rose Law Firm Billing Records (Mar. 28, 1996) (Doc. No. DEK015022).

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 thrift before state agencies regulated under her husband's authority as Governor. Second, there

 was the potential for legal action by the FDIC and RTC against Rose for negligently facilitating

 transactions that caused substantial losses to the institution. Third, there was the possibility of

 criminal liability resulting from frauds perpetrated by insiders and others associated with

 Madison Guaranty.

        As set forth in Chapter 2 of this Part, many events had happened following Mrs. Clinton's

 termination of Madison as a client -- any of which, in this Office's judgment, could have

 refreshed her recollection. By 1990, for example, Mrs. Clinton must have known that John

 Latham had pleaded guilty to criminal fraud in a Castle Grande transaction, and Jim McDougal

 and Jim and David Henley had been indicted and acquitted on Castle Grande transactions.

        Most significantly, in 1992, Mrs. Clinton's work for Madison Guaranty became a

 campaign issue. Mrs. Clinton, Webb Hubbell, and Vincent Foster focused significant attention

 on the matter at that time. Of particular significance is that Hubbell reviewed the billing records

 during the campaign and discussed with Mrs. Clinton her numerous conferences with Seth

 Ward.1963 Mrs. Clinton's fingerprints were found on the billing records produced from the White

 House in 1996. Mrs. Clinton explained her fingerprints on the records by testifying that she may

 have looked at the records during the 1992 campaign, but not later when they had been

 subpoenaed.1964

        Balanced against this circumstantial evidence, however, is Mrs. Clinton's denial of any



        1963
               Hubbell 12/19/95 GJ at 177-78.
        1964
               H. Clinton 1/26/96 GJ at 28.

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 recollection. As Mrs. Clinton frequently said, the length of time since her work for Madison

 Guaranty was substantial, almost 8 years. That passage of time could support a reasonable

 inference that Mrs. Clinton could not remember what work she had done. There is no direct

 evidence to contradict Mrs. Clinton's claimed lack of memory.

        The circumstantial evidence about Mrs. Clinton's lack of memory was inconclusive and,

 therefore, insufficient to refute Mrs. Clinton's claimed lack of memory. Considering the totality

 of the evidence, it is the judgment of the Independent Counsel that Mrs. Clinton's statements and

 testimony that she did not remember working on the IDC/Castle Grande transaction could not be

 proven deliberately false beyond a reasonable doubt.

        April 7, 1986 Phone Call With Denton -- This Office examined whether Mrs. Clinton

 played any role in the creation of the Ward "cross notes" or concealed that role from federal

 investigators.

        It is indisputable that, on April 7, 1986, Mrs. Clinton had a telephone conversation with

 Don Denton of Madison Guaranty. Documentary evidence, in the form of a telephone message

 slip and Mrs. Clinton's billing records, provided contemporaneous corroboration that the

 telephone conversation occurred. It is equally indisputable that on April 7, 1986, Madison

 Guaranty and Ward executed two "cross notes" on Ward's "commissions" from the IDC/Castle

 Grande transaction. It is indisputable that Mrs. Clinton billed her telephone conference with

 Denton to the IDC matter in the Rose billing system. Significant evidence corroborated Denton's

 claim that he and Mrs. Clinton discussed the Ward cross notes during the April 7 conversation.

        Mrs. Clinton's contrary explanation -- that their conversation was about Babcock and not


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 the IDC matter -- is supported by less corroborative evidence. There is also a substantial basis to

 challenge Denton's recollection of the conversation. Denton offered a detailed recollection, but

 Denton was not an unbiased witness and his detailed recollection was not disclosed when he was

 first questioned on the subject. The delay in recounting this conversation leaves his credibility

 subject to challenge. And, of course, the only other participant in the conversation, Mrs. Clinton,

 denied Denton's version of events.

         Thus, the testimony of a single witness whose credibility is subject to impeachment

 provided insufficient evidence to prove that Mrs. Clinton falsely denied that she had done work

 on the Ward cross notes.

         May 1, 1986 Option -- This Office examined Mrs. Clinton's role in the drafting of the

 May 1, 1986 option agreement. It is indisputable that Mrs. Clinton played a role in drafting the

 option agreement -- she billed for doing so, and the option agreement bears her word processing

 code.

         However, the evidence was equally clear in supporting Mrs. Clinton's statement that she

 did not draft the option agreement from scratch. As a litigator, Mrs. Clinton had little or no

 experience in real estate matters, and the option prepared by Mrs. Clinton erroneously described

 the property being optioned. Thus, Hubbell's suggestion that Mrs. Clinton may have used Rose's

 form files in an effort to be responsive to Seth Ward seemed plausible.

         Given that the evidence supports the conclusion that Mrs. Clinton worked on the option

 matter for two hours as an apparent accommodation to Ward and/or Hubbell, no basis exists to

 contradict Mrs. Clinton's claim that, when she prepared the option, she did not know the use to


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 which it would be put. In particular, there is no direct evidence that Mrs. Clinton knew the

 option would be used to deceive federal regulators. Though there is some circumstantial

 evidence to negate Mrs. Clinton's subsequent claim that she did not remember the option

 agreement, that evidence (as with other evidence of lack of recollection) is insufficient to sustain

 a prosecution.

        Representing Seth Ward -- The RTC and FDIC examined whether Mrs. Clinton's work

 on the May 1, 1986 option agreement constituted a conflict of interest. This Office examined

 whether Mrs. Clinton may have tried to conceal such a conflict from those agencies or other

 federal investigators. On its face, the May 1, 1986 option agreement was a transaction between

 Ward and Madison Financial -- the subsidiary of Mrs. Clinton's client, Madison Guaranty.

 Though Schaufele testified he had no memory of speaking with Mrs. Clinton about the option, he

 noted that the only subject he thought that he could have discussed would have been the tax

 implications of the option for his client, Ward.1965 Such a conversation would support the

 conclusion that Mrs. Clinton was working for Ward in his individual capacity when she drafted

 the option, and Hubbell stated that he understood that this was so and that he understood that

 Mrs. Clinton had represented both sides in the transaction.

        Mrs. Clinton, however, denied that she represented Ward in his individual capacity. This

 denial is corroborated by the documenting record -- her work on the option was billed to

 Madison Guaranty, not Seth Ward, and Madison Guaranty paid the bill.

        In sum, given insufficient evidence, this Office determined that no prosecution was




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 appropriate for any of the statements made by Mrs. Clinton about her work on the IDC/Castle

 Grande transaction.

                                 III. SUMMARY CONCLUSION

        The foregoing Chapters have summarized the evidence about the interaction between

 Rose, Madison Guaranty Savings & Loan, Hillary Rodham Clinton, Jim McDougal, Webb

 Hubbell, and Seth Ward. The evidence, as already noted, establishes indisputably that Jim

 McDougal and other Madison Guaranty insiders engaged in criminally fraudulent conduct

 through the operation of the institution. The evidence also establishes that Mrs. Clinton's

 representation of Madison involved legal work that, ultimately, was used by McDougal and

 others to conceal unlawful activity.

        In the end, however, the Independent Counsel concluded that there was no substantial

 evidence to support the conclusion that Mrs. Clinton was a knowing participant in the criminal

 conduct of McDougal or others. The Independent Counsel also concluded that there was

 insufficient evidence to prove that any of Mrs. Clinton's subsequent statements about her

 representation (including her statements to the effect that she did not remember the details of that

 representation) were knowingly false. Though in some instances her recollection proved to be

 factually inaccurate, the Independent Counsel ultimately determined that a trier of fact would not

 conclude, beyond a reasonable doubt, that Mrs. Clinton's recollection was knowingly false. For

 this reason, prosecution of Mrs. Clinton regarding these allegations was declined, and the matter

 is now closed.



        1965
               Schaufele 1/30/96 GJ at 29.
                                                 495




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                           EXHIBIT 3 (Part 1)

                                     to

      Plaintiff’s Response to Defendant’s Statement of Material Facts
        Not in Dispute and Statement of Undisputed Material Facts
            in Support of Cross-Motion for Summary Judgment




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        ..   --.        Memorandum                                                                                              Omnsel
                                                                                                      Office of the Independent Counsel



                        To :                All OIC Attorneys                                                                Date
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                        From                HRC Team

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                                            Summary of Evidence               =::1-I
                                            Hillary Rodham Clinton and Webb Hubbell

                                     This memorandum summarizes the evidence available to \lS
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                                     2)     Other Facts Relating to RLF Work for MGSL             " ..
                                     3)     1987-1992: RLF Conflicts/Ward   v. M,cdison/U,S,
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                                     6)     The White House and RTC Contacts
                                     7)     Billing Records
                                     8)     Support for Webb Hubbell

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                        that the
                        th:lt th e fa cts relating to possible obstruction can be placed in t.he
                                   facts                                                    the mntext   oft.i-tc
                                                                                                 context of  the ongoing

                        investigation by
                                      by ore.
                                         Ole.




                   ...l:_::________________-1;.'Uld
                   h-~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _- J
                                                     be read in
                                              should be      in conjunction
                                                                conjunction with our                                                         ~~
                        introduction/outline memorandum of April 10th which, for convenience, is also included.
                        mtroductionloutline                                                           inchlG2,d,1'


                                1 In almost aJl                                                                 relicf", l!u;::"m
                                             all instances' our summary of the evidence is derivative of and relies         P0tl
                        other, earlier work done by ore     attorneys. In those ir.lstances.
                                                       OlC attorneys,           instances, as we did in our earlier
                        memorandum of April 10th,
                        memorandtun                                                                       "dditional
                                                  lOth, we refer you to the underlying memorandum for additional
                                          information, should yOU
                        background and infonnation.                          delve further into the evidence. (Yo\'!
                                                                 you wish to delw                             [You recereceived ived a
                                     copies of significant
                        binder with coples      signjficant portions of these memorandum on .Monday,          20thl.
                                                                                                 Monday, the 20th].




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                                                             .                                                       .
                        The memo also reflects our best assessmenl
                                                        assessment of some o:the
                                                                           of the contrary evidence and
                                                                                                    9.f'.d theories
                                                                                                           Iheor:es

                likely to be presented by the defendants in
                                                         m the event all
                                                                     a11 indictment
                                                                         indictment is returned and a trial takes
                                                                                                      tria; tilLes

                .olacc,                     .
                 place, as well .as evidentiary
                                    evidentiarY considerations.
                                                considerations,

                        We recognize the task set for aU
                                                      all attorneys by this memorandum. As Tom Dawson has

                                                                  and vice versa." In other words, this would be a
                said: "The strength of this case is its weakness, tmd

                mostly (though not exclusivdy)
                                   exclusively) circumstantial case which gains
                                                                          gains strength through the repeated

                                                           BIH detailing each and every one of those, ane
                concatenation of events and circumstances. But                                        and

                linking them together would be a difficult, indeed daunting, task ~~
                                                                                  -- as an introduction 11it rr.ight
                                                                                                             might be

                suitable to first reread the April 10th memorandum.

                        We aiso
                           also note at the outset that other options exist whieh
                                                                            which might do jl.l:stjce
                                                                                           justice to thc ~:vidence
                                                                                                      the evidence

                                                DreibandlHeatonlMyers team have drafted.l(===·:::":"-~:::::=J
                presented. As you all know, the DrcibandlHeaton.iMyers                         =_:-_
                                                                                draftedi:....___  ,,,_,,,".--::_-_'-_-J

                                       ased upon a small subset of this evidence,
                                                                        evidence.




                1. J::videm:e
                   Evidence

                                                                                                            ~---"-" 1



                __ L...---~
                         ______________________
                      ~======            ~ _JJ        _ _ _ _


                                                                   .                       :      :" , '
                                                                                                            __
                                                                                                             .....
                                                                                                                     l
                                                                                                                     , .1
                                                                                                                          i




                        2   Because this memoraIldum             p~~J:lUred by Ll)c
                                          memorandum has been pr~pared                 team, Yoll
                                                                               the HRC tearn, yoh will n(>ticc
                                                                                                       poti ce somc
                                                                                                               some
                sty listic differences in
                ::;tyllSlic            in the various sections.
                                                      sections. We see these as evidence 6fthe'collahorative
                                                                                         ofthc collabomlivc nature
                    our endeavor.
                orour
                of

                                                                   2

                                                                                          FOLi\(t))G
                                                                                          FOIA(b)6
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                                                                                          FOIA(b)7 ~- (C)
                                                                                          FOII\(b)7


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                                                                         FOIA(b)6
                                                                            IA(b)6
                                                                                                       FOIA(b)7
                                                                                                       FOIAib)7
                                                                                                       FO          (e)
                                                                                                          IA(b)7 - (el
                                                                                                       FOI/"\(b)7  (C)




                       [

                                                                                                                  1"".
                                                                                ,------,~
              ' -_ _ _ _ _ _ _ _ _ _ _ _ _~_ _ _ _ _ _ _.J
              L -____________________________________~
                                                        J                       IThe case would be the story of how
                                   isa
               that happened. Here is            of the evidence developed by the investigation:
                                      .a summary afme

                        1)
                        /) Castle
                        J) Cas/Ie Grande -- [The facts relating to the
                                                                   Ole Castle Grande transaction are
                                                                                                 arc detailed in

                                     & O'Brien, "Clinton Firiance,"
               Section IV of Bittman &                   Finance,"
                                                         Fi riance," June 1997.]

                        Can we say that crimes were comm
                                                    committed     connec tion"with the Castle Grande
                                                         itted in connection"
                                                                  connection

               .transactions? .".Yes.
                                 Yes.
                                Yes.

                        Castl~
                        Cast I.e   Grande refers 10
                                                 to a 1,050
                                                      1I,OSO   acre development so
                                                              -acre
                                                         ,OSO ·acre             south     ~inle Rock, Arkansas which
                                                                                   uth of Little

               was purchased by Madison Financial CorponJlion
                                                  Corponllion
                                                  Corporation (MFC) and Seth Ward from the Industri::tl
                                                                                           Industrial

               Development Corporati on (IDC)
                           Corporation                 on                                           was.a.aa
                                        (JDC) on October 4, 1985. The statement that "Castle Grande was
                                        (JOC)

               crime" is true in several respects.
               crime"                    respects:" First,      in,
                                                                in.ilial sale of the property to MFC and Ward'
                                                    First. the "initial
                                                                initial                                  Ward" w~s
                                                                                                         Ward" was
                                                                                                               W aS
                                                                                                               WOiS



                                 fraudulc,nt
               accomplished in a fraudulent
                                 fraudulc.nt way that violated  fede
                                                                fe4e ral
                                                      vio lated federal  law governi
                                                                     rallaw  governing
                                                                                     ng savings and loans a.<;
                                                                                                          as well

                  Arkansas State law.
               as ArkaJlsas           Second, subsequent transactions involving parcels of the property
                                      Seconp,
                                 law. SeconP.                                                  propeIT)' during
                                                                                               propcny

               the deve lopment of
                   development     Castle Grande involved inflated appraisals
                                ofCastJe                           appmisals and fraudulent financing
                                                                                            financc ing and have
                                                                                            finan

               themselves
               theIflselves resulted in mUltiple
               theifiseives             multiple investigations, indictments, and convictions.

                       a.          . The initi.l
                                         initial purchase of the pproperty
                                                                   r operty by Seth Ward and MFC violated
                                                                                                 viola ted federal
                                                                                                           feder
                                                                                                              der-nl
                                                                                                           fe d er-Illlll
                                     and Arkans,as
                                         Arkans,as state law.
                                         Atkans.

                        Seth
                        Se
                        SeLh                                       arrangern~nt whereby W
                           tJl Ward and Jim McDougal negotiated an arrangement          Ward  ag~eed to ael
                                                                                          ard agreed    act
                                                                                                        a CI as




                                                                      3


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                                                    title: to a portion of the IDe
                              purcha<;er"l and'take title
                     a "straw purchaser"3                                      IDC property Madison wanted to ac
                                                                                                              acquire.
                                                                                                                 uire .

                     Ward        . Ie to the property to get
                     War d took ilt
                                title                            . d' the 6% direct
                                                         gel aroun
                                                             arQund                  investment I'
                                                                             d"Irect mvestment     . . ,imposch b
                                                                                                limitation,
                                                                                                 ImltatlOn,lmposeO byy   l
                                                     a..~ount of money Madison
                     Arkansas law, which limited the amount            Madisoo Guaranty Savings & Loan                    1

                     ("MGSL") could invest in the developments of the service
                                                                      service corporation,
                                                                              corporation. Madison financial
                                                                                                   Financial
                             ..                       .                  .              '                                 I
                     Corporation (":MFC").4             confirmed this as early as December 11, 1986,
                                 ("MFC"),· Jim McDougal continned                               [986, wren
                                                                                                      when
                                                                                                       , he
                                                & Huggms
                     told Jeff Gerrish of Borod & Huggins !haL
                                                          that:                                                          I
                                          the
                                          the reason ~at Seth
                                              reason that Seth Ward wa" broUg~t
                                                               Ward was brought in to purc~ase
                                                                                in to          t.~e property
                                                                                      purchase th~  pr~perty north      y
                                                                                                             north of 145th
                                                                                                                      145th

                                                                           servIce corporation
                                                     simply because of the service
                                          Street was Simply                                    limitations would ha,ve
                                                                                   corporatiOn hmltatlOns        ha\'e been

                                          exceeded if the service corporation had bought the entire property. 5'

                              The 6% investment limitation restricted the amounts MGSL could loan its affiliaL
                                                                                                      affiliate MFC,

                     it did not limit the amount MGSL could                                 Ward!'6 To avo
                                                      coutd loan to a private party such as Ward.      avoidlthe
                                                                                                           id the 6%
        .,.,--.
                                                                                                                         ,,

                     l1mitation,
                     limitation, McDougal and Ward agreed that Ward would take title to ali
                                                                                        all of the IDC property
                                                                                                       pwperry
                       .'             .      ' .                                                                   .    I
                                  145t~ Stre~t
                     north of 145th Street as a nominee purchaser for MFC. 7 Ward andMcDougallagreed
                                                                                  and McDougai,agreed that             !L~t
                     MGSL would 103n
                                loan Ward the entire amotl.'it t~e purcha..<;e
                                                     amount of the purcha<;e price on a nonrecourse basis.,
                                                                                                    bas is.
                         ,                                                                                              I

                             4

                    3% direct investment limitation,
                                                                                                                   10J
                                                               applicable to federally chartered savings and lo~ had
                                       At the time federal law applicable:                                            h;;i.d a
                                              limitation. States were allowed greater latitude in the regulation ooff their
                    own
                    0\.\'11 institutions.                                             ' I                               !
                            5      J. ?YicDougal
                                   J.                      12111 /86, Madison Guaranty Savings &
                                      McDougal Interview, 12!11!86,'Madison                     & Loan AA~$ociation
                                                                                                          j Sociation
                    Special Counsel Investigative Report as of January 1,        Report Date March 3, 1987;
                                                                        I, 1987, Repon                1987, Section
                    XV , at 84 (hereinafter" Borod & Huggins Report, 1/1/87").
                    XV,                                                1/]/87").
                             6
                                   There are, however.
                                              however, limitations on the amounts of loans an institution mayy make
                                                                                  ofloans                              mr
                    to insiders.
                       Insiders. As an employee of
                                                ofMFC,
                                                   MFC, Ward was considered an insider.
                                                                                  insider,

                                                              McD oug al to Seth Ward, September
                                          Memorandum from Jim McDouga!                 Septemher' 3:
                                                                                                       ..

                                                                                                          (:l?6.
                                                                                                  3, 1985 (396·
                                                                                                                        I
         -,
        .--         00001130),
                    00001130).

                                                                             4


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         --              Nonrecourse means that MGSL could look only to.the
                                                                     to. the property for repayment
                                                                     to                   repayment.. . In the event
                                                                                                               evenl the

                       . loan went into default,
                                        dcfault, Ward had no personal liability for a deficiency if the proceeds frol
                                                             personalliabilitj                                   fro i the
                                                                                                                       the,                                                                 froi
                         sale of the land were insufficient to pay off the loan.
                                                               payoff      loan.

                                           Ward also agreed to grant MFC an option on the entire parcel
                                                                                                 parcd he was purchasing'j
                                                                                                 pared        purchasing. j In this
                                                                                                              purchasing.j     this·
                                                                                                                               this

                                                                    propcny as it needed to sell them to third parties"
                                                                    properly
                         way. MFC could purchase portions of Ward's property
                         way,                                                                                  parties.
                                                                                                                                                                        ..                       II
                         Ward assumed
                              asswncd absolutely no risk in the deal
                              asswned                                             inv~st any of his own money
                                                                deal.. He did not invest                money.. He was

                                       to
                         not required ·to
                                      "'IO m:ake any down payment. ."MFC agreed to reimburse him for any addition1
                                        to make                                                          additioJaJ
                                                                                                         additio   aJ taxes
                                                                                                                 ) al                                              rcimb~e
                         he may have to pay by virtue ofms
                                                      of his holding the property.
                                                                         property" MFC also agreed to handle allbfthe
                                                                                                             ail
                                                                                                             all l fthe                                                                          bfthe
                         admjnistr~tive                                        associat~d
                         administrative duties associated with the property such as collecting rcnts,
                                                                                               rents, and the like.9 lIn
                                                                                                          thc like.
                                                                                                              likc.                                          ~                               Q
                                                                                                                                                                                                 ~n
                                                                                                                                                                                                 I




                         return
                         rerum for his role in the transactions, Ward was to receive approximately $300.000
                                                                                                   $300,000 in

                         "commissions" on the subsequent sales of the property to third parties··
                                                                                        parties -- even if
                                                                                                        jfhe
                                                                                                        ifhe
                                                                                                           he had nothing
         -
         .-'             to do with arranging the sales.
                                                  sales. 10
                                                         LO


                                          It
                                          h is these terms - lUlder
                                                     terms"": under which Ward received significant
                                                                                        signi ficant compensation, but ass:uned
                                                                                                                       assumed no

                        risk or responsibility ••
                                               -- that
                                responsibility··  thaI have led to Ward being
                                                  thai                  bcing characterized as a "straw man" or "Jrninee"
                                                                                                                "J
                                                                                                                IIJrninee
                                                                                                                "Jrnminee"
                                                                                                                     inee"           bCi~g
                                                                                                                                     bei~g                                                               ll




                        ,purchaser.
                         purchaser.       c~arnctCri~lion     is supported
                         purChaser. ·"' This characterization is                  th~t                 ~o anyjng
                                                                 supponed by the fact that he did nothave
                                                                                                  not
                                                                                                  nOI ·"have       an)Jng to
                                                                                                        have to do anylng
                                                                                                       'have

                                  "cornmis~ions" and he had none of the traditional indicia of ownership
                         earn his "commis;ioos"
                         eam      "commis;ions'"                                               o~ership of the pJperty
                                                                                               o~ershiP        PJ
                                                                                                               pJ PCrry .• .
                                                                                                                  pcrty--
                                                                                                                        --




                                          ••
                                      Memo from Jim McDougal to Seth Ward, September 3,
                                          Si                                                 1985,
                                                                                              1985 , (396-00001130);
                                                                                          3,1985,                                                    •



                        Lener from Seth Ward to Jim McDougal, September 23,
                        Letter                                             23 , 1985; Letter from Seth Ward Jo Jim
                                                                                                                lim                                                                              io
                        McDougal,                      (99·00035000·1);
                        McDougal. September 24, 1985 (99-00035000-1);    Lener from Seth
                                                       (99·00035000· 1); Letter                          MCDobgal,,
                                                                                     Seth Ward to Jim McDohgal,
                                                                                                         McDohgal
                                            (105-00007181-83).
                        September 24, 1985 ((105·00007181·83)
                        Septembe,24,          105-0000718 J -83).. .
                                              105·00007181·83).                        .                      I                                                                                   I
                        =J '9
                       C:::J                                  rd.; Schaufe
                                                              !.d.;
                                                              1<1.;
                                                              ld.;  Schaufele            (~rd yvy.
                                                                                         (~d
                                                                           le deposition (Ward
                                                                                         ('lI'ltrd y~a~):
                                                                                                    Ma\fu.Qn),
                                                                                                    Mad.i.silll), 5/27/8~,Jlt9;1
                                                                                                    Mad.i.sQD), 5127/88               9·; I1
                                                                                                                  5/27/~.~ ",,.....at9;
                                                                                                                                   at 9;                                               ::        j---
                                                                                                                                                                                                 I       ~    1
                       [
                      .Ir-"
                       C---,
                      .1                                                                                                                    ... , .... ..~ ....................... .
                                                                                                                                .... -...
                                          10                                                                     ............
                                           "                                             ... ..... ................. -
                                                     ... _ .................. -..... .

               ... , ................ .. ....... .                                                                                           5

           ~O IA
              I A(b)3
                 (b)3 •- Rule 6(e),
           F.OIA(b)3
           FOIA(b)3           6(e), Fecleral
                                 ¥  F8cleral
                                    Fe deral Rules     Crimillai Procedure
                                             Ru les of Criminal  Pmcedure
                                                                 Pl"Ocedure
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        ·-     such as responsibility
                       rc.s ponsibility for taxes
                                            taXes and collecting rents. Moreover,         ~ost
                                                                        Moreover. unlike ·most owners, Ward's only
                                                                                          most owners.        onl y

               source of compensation was his "commission"        h~ did not benefit directly from any
                                              "coIllIl1lssion" -- he                               an)'


                               the value of the prOperty.ll
               appreciation in !fie
                               tj\e             properryY
                                                property. II

                       This conci,:!sioD                   nwnerous investigative bodies. The examiners at
                            conclusion has been reached by numerous

               MGSL in 1986 criticized Castle Grande. The
                                                      Thc May 8, 1986 interim report slated:
                                                                                     stated:

                                Ward apparently warehoused this land to reduce Madison Financial's invesuncnt
                                                                                                          investment
                                         anendant borrowing from Madison Guaranty. In this way, limitatibns
                                and the attendant                                                     limitaLibns
                                                                                                      limitaLi bns on
                                Madison Guaranty's
                                          Guararity's invesUnent                                 avoid~d . By using
                                                       investment in its service corporation are avoided.
                                                       invesunem
                                                                                      invesunent in Madison
                                this circuitous route, additional Madison Guaranty investment
                                                                   t<?
                                financial was disguised as a loan to
                                                                   t4? Ward.

               The report                        PiIlsbwy, Madison & Sutto
                   repan prepared for the RTC by Pillsbury,          Sutra
                                                                     Sutro was also criticil
                                                                                    critical of Cast
                                                                                                Castle
                                                                                                     le

               Grande.

                       In addition, the FDIC Inspector General, after
                                                                aftcr a lengthy and quite thorough investigation,
                                                                                                   investigation,

               concluded that Ward was a straw purchaser. In
                                                 ..
                                                          I·n its Supplemental Report on Rose Law Fil
                                                                                                    ..           . II
                                                                                                                ..
                                                                                                                     Fil      .
                         ofInterest
                         oflnterest
               Conflicts of          dated September 20,1996
                            lnterest elated
                            (nterest                 20, 1996 the FDIC Office of
                                                                              oflnspector
                                                                              ofInspector
                                                                                 Inspector General
                                                                                           GeneraJ stated:

                                  c:~tries
                                  e~tries
                       However, entries in the billing
                       partners
                                                                               e~idence
                                                 bi;ling materials and other evidence suggest that
                                                                                                 thaI    fo~er ROS~ Jw
                                                                                                 thai former Rose Jw Firm
                       panners Hillary Rodham Clinton and Webster L. Hubbell performed work that appears tl               o have
                                                                                                                        tiD
                       facilitated the payment of substantial commissions to Ward, who   wbo acted as  a..          buy~r for
                                                                                                       a... a straw buybr
                                  Financi~1 in the IDe
                                  Fillallci~1
                       Madison Financial             IDC transaction
                                                          traoS2ction.., Ward is Hubbell's father-in-law.
                                                                                              father·in·law. The Tbem~tbod
                                                                                                                 Tbe .meltbod
                                                                                                                     .me1tbod or
                                                                                                                               of
                       payment of
                       Jlllyment  or the commissions evaded regulations designed to protect the       tbe safety and I  I
                       soundness of the(he institution, and violated the integrity
                                                                          intt!grity of it'!
                                                                                        it.. books and
                                                                                        it,        lind records. Furher,
                                                                                                                     FUfher,
                       Madison Guaranty
                                  Guaranly used a documenl
                                                    document drafted by Clinton    10 deceive Federal Bank examiners as to
                                                                         Cli~llon 10
                                                                         Cli~lon   to                                          10




                       "
                       II          Some have argued that Ward earned his commissions, at least in part,            ,I  ,
                                                                                                         pact. by playing   a
                  ri tical role in putting together the IDC deal because of
               'ccritical
                  ritical                                                       his relationship with Everett Tucker and
                                                                             of,his
                                                                             of.his
                 officials ofIDC's lenders,    such as Bob Wilson of Union National Bank,
                                      lenders. such.                                        B~, who was a c10se
                                                                                            B~.                    Ifriend
                                                                                                             close lfriend
                of Ward's. Contemporaneo!lS
                                Contemporaneoj.lS  docwnents, however, indicate that IDe
                                Contemporaneo~ documents,                                  IDC was under severe financial
                 pressure from its lenders, and that this was "widely known knOYlll                       attorne~, Darrell
                                                                            knO\>ll1 around town". IDC's attorne~.
                                                           interv iew that
                 Dover, left the impression during his interview                                                        offcr
                                                                                              entertained any serious offer
                                                                       thai IDC would have enlertained
                 on the IDC property and that Ihe the final selling
                                                            sell ing price of $1.
                                                                              $1.775M
                                                                           ofSI.75M
                                                                              SI.   5M would have been accepted from
                 any    qualified Duyer.
                 anY ·qualified
                       'qualified Duyer, Dover 302,   7/ 18/96.
                                                 302,7/18/96.
                                                      7118/96.

                                                                       6


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                              ·                                     12
                        Ihe tnie nature of the payments to Ward.
                        the true                           Ward .
                                                           Ward.

                        b.
                        h.        Not only was the initial traosllction
                                                           transaction
                                                                     tion illegal, but the subsequent
                                                           tran,saction
                                                           tran,sllc                                  payment
                                                                                                      psymtDt of
                                                                                           suhsequent pS)'DltDt
                                  Ward's commissions
                                          commiJsions was
                                                        WIiS also illegal.



                        Ward was paid his commissions through a series of loans involving MFC and MGSL
                                                                       ofloans                    MGSt.
                                                                                                  MOSL.

                When Ward demanded his commissions be paid in March 1986, MFC
                "When                                                                   have
                                                                                        have"the cash on
                                                                          Jv[FC did not have'
                                                                          JvlFC

                hand.. In order to satisfy Ward, ,the
                hand                                                    MOSL, made a $300,000 loan to
                                                  the savings and loan, MGSL,                      tp Ward.

                MFC signed a loan note the same day stating that it owed Ward $300,000. Ward's obligation to

                                             "set-ofr' against the corresponding note from MFC to Ward,
                                             "set-off'
                repay the MGSL loan was thus "set-off"                                            Ward.

                                                     I) it further violated the 6% rule because MGSL was putting
                This transaction was illegal because 1)

                                              vinue of it paying MFC's commission to Ward); and 2) MGSL's
                another $300,000 into MFC (by virtue

                accounting records and the corporate records of MFC never properly reflected the loans and their

                purposes. Moreover, when the bank examiners who were at the institution in March 1986

                questioned the loans, Madison officials deceived the examiners about the true nature of the loan
                                                                                                            loanss

                    thc·irr !;onncction
                and their
                    the'i
                    the'ir  t:;onnection to the payment of Ward's commissions.
                            connection
                            I;onncction

                       c.         Transactions at Castle Grande have
                                                                  h.lll\'e been the subject of criminal
                                  investigations, indictments and convictions.

                       Transactions related to the Castle Grande development have been the su.bjecl
                                                                                           subject
                                                                                           su.bject of several

                criminal investigations by the FBI, RTC, FDIC,, and OIC.
                                                    RTC. FDIC       OlC.
                                                                    OIC, These investigations resulted in the
                                                                    Ole.

                first McDougal
                      McDougal criminal trial in 1990,                 triaJ of Jim and Susan
                                                 \ 990, and the recent trial
                                                                       {rial            SlL'iaIl McDougal and Jim

                Guy Tucker ("825
                           (""825 trial"),
                                  uial"), which resulted in all
                                  tria!"'),                     three defendants being conv
                                                                lhrce
                                                            aJllhree
                                                                lhree                       icted of various
                                                                                       convicted

                charges related to fraudulent loans made during the course of the Castle Grande project.



                       12
                       12
                       11       FDIC Office ofinspector
                                            oflnspector General Supplemental Report on Rose law
                                                                                            Law Firm
                Conflicts
                Conflict,  ofInterest
                         s oflntcrest
                Conflict.S            Septem~r
                                      September 20,
                           orIntercst Septemb(:r
                           orlnlerest               1996 at ii·iii
                                                 20,1996    ii-iii (emphasis added).

                                                                         7

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         .--   ..
                                1.           Mebou·gal.case
                                       First Mcbou"gal.case
                                             McDougal.case

                               .According
                                According to the official FBI "'fil
                               According                            e, Special Agent Gary Aaron received infonnation
                                                                file,                                    information from a

                       confidential source on January 9, 1987,
                                                         1987. which alluded
                                                                     al luded to insider transactions and land flips

                       involving- Jim
                       involving       McDougal. Senator William
                                  J im McDougal,                  Fulbrigh~ and Jim Guy Tucker.
                                                                  Fulbright.
                                                         Will iam Fulbright,
                                                                  Fulbright.,           Tucker. l13) ··The
                                                                                                       The information
                                                                                                      ·The
                                                                                                      -The

                       alleg~d, among other things,
                       allcg~d,
                       alleged,                          Jim Guy Tucker had received an insider loan from MGSL for
                                            things; that J.im

                                                  14 Special Agent In-Charge
                       the Castle Grande project. 14
                                                  14.              In-C harge Don Pettus notified the United States ·'

                       AttomeyJor
                       Anomey for                                    Georg~ Proctor, of the opening afthe
                              fo r the Eastern District of Arkansas, George                         of the .case
                                                                                                           case on

                                          1j
                               23.., 1987Y
                       January 23    1987
                                     1987.Y      On March 19, 1987. The FBI received a criminal referral from MGSL
                                                          19. 1987,

                                              l6
                       employee Sarah Hawkins 16 which attached a copy af
                                                                       of the investigative report prepared by Borod
                                                                                                               Barod

                         Huggins..1177 Hawkins scnt
                       & Huggins               sent                   n fonnation to the FHLBB. At
                                               sent. the identical i.information                      Api:il 1987 meeting,
                                                                                                      Apnl
                                                                                                At an Apiil       meeting.

                       which included personnel from the FHLBB,
                                                         FHLBB , federal
                                                                 federa l investigators determined that.the
                                                                                        detennined thatthe
                                                                                                   that the focus of the
         ....-.
                       investigation would be the Castle Grande .and
                                                                 and Maple Creek Farms projects. *'
                                                                                 Fanns projects."18

                               In October 1987, investigators further narrowed the focus of the investigation, deciding to

                      concentrate on transactions  r"elated to Robert Palmer, David. Hale,
                                     tr<¥1sactions related                           Hale. Dean Paul,
                                                                                                Paul , and Davis




                               13
                                       FBI Madison case file,  29A-2459. Serial 1.
                                                        file , 29A-2459,        1I..
                               .."
                               14      M..
                                       l.d.. at Serial 7.
                               15
                               "       M..
                                       l.d.. at Serial 2.
                               16
                               "       l.d.. at Serials 9 and 10.
                                       ld..
                               17
                               "      105-0007)
                                      105-0007  J 012                                                      pr~uced
                                                  012.. The bates number on this document indicated it was produced
                                      \ 05-0007\1012.                                                      prqduced
                      pursuant to a subpoena served upon the Rose Law Firm.
                                                                          Finn.                         .     .

                               "18     FBI
                                       FBJ Madison case file
                                                        fil e,, 29A-245
                                                                29A-2459,  Serial
                                                                        9, Se rial 13.

                                                                          8


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         ,.- .
                      Fitzhu&n.19 By August 18.
                      Fitzhugh.19
                      Fitzhugh:9                1988, the agents and AUSAs Stoll and Cherry decided to focus the
                                            18, 1988.

                      investi gatioQ on, among other things: falsification of Madison records (allud
                      investigation.
                      investigation                                                                  ing to the alteration
                                                                                              (alluding         alterat ion

                      ofMGSL                                         as
                      of MGSL board minutes with John Latham as the potential
                                                                    pote nti al target); David Hale's loans with '

                      MGSL
                      MG·S L which were allegedly obtained with false  information;                       nip
                                                                       infonnation; 1308 Main Street land flip
                                                                fal se information;

                                        Tucker; and Castle Grande, to include Davis Fitzhugh's purchase.
                      involving Jim Guy Tucker;                                                purchase of the
                                                                                                           ttte Levi

                                        jim Guy Tucker's purchase of34
                      Strauss building, Jim                       of 34 acres, Fulbright's purchase of property, and
                                                                                                                 and·

                      the acquisition of Castle Sewer and Water by Tucker, R.D. Randolph,
                                                                                Randofph, Palmer,.     and Dean
                                                                                          Palmer, Hale and

                            20
                      PauJ.20
                      Paul.

                                 On November 14, 1989, Latham agreed to plead guilty to one count of
                                                                                                  offalse
                                                                                                     false entry in

                                                                                                                  21
                      violation of 18 U.S.c. § 1006 based           fal sificati on of board of director minutes.
                                                    ba<;ed upon his falsification                        minutes.!1
                                                                                                         minutes.!1  He was

                      eventually sentenced to 2 Y2 years probation and ordered 10     $ 10,000 in restitution.
                                                                               to pay $10,000     restitution. Jim
         ,,,,.-.,

                      McDougal was'
                               was                                   1?89, along with Jim and Bill Henley (Susan
                               was·indicted on or about November 20, 1989,
                                                ,                                      ,"-
                      McDougal's brothers), based
                                            ha,sed
                                            ba,sed upon their conduct surrounding the sale of the Levi
                                                                                                  Levi
                                                                                                  Lev i Strauss building

                         Castl~ Grande 10
                      at Castle:
                         Castle        to Davis Fitzhugh
                                       10       Fitzhugh..

                                 Jim McDougal was charged with ~o
                                 lim                           t':\'O                          ( 18 V.S.c. § 657), one
                                                                               mi sapplication (18U.S.C.
                                                               t\:Vo counts of misapplication  (18

                      count of false entry (18 U.S.c. § 1006).
                                           (18U.S.C.               cbunt of bank fraud (18 U
                                                        1006), one count                     .S.c. § 1344), three
                                                                                           V.S.c.
                                                                                           O.S.c.           thrce counts
                                                                                                                  COWlts


                      offaJse
                      of                      U.S.c.. § 1014),
                         false statements (18 U.S.C     10 14). and conspiracy to commit bank fraud and false statements
                                                        1014).

                      (18 V.S.c.
                          V.S .c. § 371).                  HenJeys was acquitted by a jury in June
                                    371). McDougal and the Henleys                            June. 1990.




                                 19
                                 "      FBI Madison case file. 29A-2459,
                                                         file, 29A -2459. Serial 52.
                                                               29A-2459.
                                 20
                                        ld.
                                        l.d..
                                 21
         .   .--                 "      ld.
                                        l.d..

                                                                          9


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                          2.      825 case

                          As aaresult
                               .result of the $825,000 loan to
                                                            ( 0 Dean Paul Ltd.,
                                                            (0                                Guaranty, David Hale
                                                                          Ltd. , from Madison Guaranty.

                  netted approximately S500,OOO.
                                       $500,000. As a part of the scheme between McDougal,
                                                                                 McDougal , Hale and Tucker,

                  David Hale, in tum,
                                 ruin, made 4 different loans to McDougal and his associates. One of those
                                                                                                     wose loans,

                  was $150,000 to
                               \\0        Sew~r and Water which was a corporation which Jim Guy Tucker had an
                                 0 Castle Sewt:r
                                          Sewer

                           in . Castle Sewer and Water used those proceed to make the down payment on the
                  interest in.

                  purchase of the sewer and water utility
                                                  uti lity from Madison Financial Corporation, who had received

                  the property in the purchase from Industrial Services Corporation. The balance
                                                                                         baJance of the purchase

                  price (S1.05                                     fonn of two loans to Castle Sewer and Water
                        ($1.05 million) was funded directly in the form
                        (SI.05

                  from Madison Guaranty.

                             M~Douga1 was charged in 19 of the 21
                             M~Dougal
                         Jim McDougal                          21
                                                               2 J counts in the indictment. He was convicted
         .'~.



                     J 8 of the 19 counts for conspiracy, misapplication, false statement, false entry, bank fraud,
                  on 18                                                                                      fraud ,

                  wire fraud, and mail fraud.
                                       fraud .

                          Susan McDougal
                                McDougaJ was initially charged in 8 counts of the 21
                                                                                  2 1 count indictment.
                                                                                            indictm.ent. Four of

                                                     How~d. Susan
                  the counts were dismissed by Judge Howard. StL<;an McDougal
                                                             StL"an  McDougaJ was convicted on the four

                  remaining counts which related to the Master Marketing loan "(misappl.ication.
                                                                              (misapplication, false entry, false
                                                                              "(misappl.ication,
                                                                              "(misapplication.

                  statement, and mail fraud).
                                      fraud).         M~Dougal
                                      fraud). . Susan McDougal
                                                        .                                       an~ received 22
                                                               was sentenced on August 20, 1996 and

                  months.

                         Jim      Tuc~er was initially
                         Ji.m Guy Tucker     i~itially charged in 11
                                             ir."tiaJly           II counts of the 21 COWlt
                                                                                      count indictment.
                                                                                            indicnnent. Four of

                      ~oun(S
                      ~ounts
                  the counlS                                            convi~ted on 2 of
                      counts were dismissed by Judge Howard. Tucker was convicted         the remaining seven
                                                                                       afthe

                  counts (conspiracy and mail fraud) related
                                                     re lalcd  to
                                                        latcd to the            loan from C~S.
                                                                       $150,000 Joan
                                                                 tJ:le S150,000
                                                                 tJ:1e                                ~·as
                                                                                          CMS. Tucker was

                               A~gust 19, 1996 and received a sentence of 18 months home detention (including
                  sentenced on August
                               A,:gust

                                                                    10


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                  writing and speaking assignments on family                                 restitut~on of
                                                      fami ly and education), ordered to pay restitution

                  $150,000 to the SBA, and a fine 0[$25,000.
                                                  of$25,000.

                          Possible Defenses --

                  1.                 not a straw man
                          . Ward was Dot.

                          Even the Minority Report from the Senate
                                                             .     Whitewater Comminee
                                                                              Committee
                                                                                  .                      thai
                                                                                        did not conclude that

                  Ward was not a straw man -- instead it focused on whether or not it could be proven that
                                                                                                      thaI anyone

                                                             conclude , of course that no one at RLF knew,
                 at RLF was aware that he was a straw. (They conclude,                                     \'~flth
                                                                                                           ""rjth
                                                                                                     knew, with
                                                                                                           "-rith

                                                        even. if he did !mow,
                 the possible exception of Hubbell, and even.ifhe
                                                        even
                                                        evenifhe        know, there is no evidence he told anyone

                 else.)
                 else,)

                          The only testimony the report cites for the proposition that Ward was not a nominee

                 buyer is Ward's denial and some testimony from John Latham's Senate deposition. Latham

                                    IDe transaction was structured
                 testified that the IDC                 slructured with
                                                                   with. Ward purchasing everything
                                                                                         'everything north of 145th

                 street for two fe'
                                re"
                                rC' scns: II)) MFC was
                                   asons:
                                    sons;
                                reasons:           \.VaS up against its investment limitation and would have e~ceeded
                                                                                                             e~cceded
                                                                                                             e ~ ceeded
                                                                                                             exceeded

                                h~d it purchased the entire property; arid
                 the limitation had                                   and 2) everyone viewed the transaction a as a

                 good deal and Ward and McDougal both wanted to make as much money as possible so they

                 decided to split it up.u
                                     up.
                                     up.nU Even Ward. whi le denying that he was a straw man, admits to all the
                                                Ward, while
                                                                                  ~


                 factual predicates that make him a straw -- non-recourse loan,, no personal
                                                             non-recoursc loan               inves~ent , no
                                                                                    perSonal investment,
                                                                                             invesW'lent.
                                                                                             inveSfment,

                                                        rents,n
                 responsibility for taxes or collecting rents.
                                                        reots. n
                                                               23

                 2.       "McDo':lgal
                          "MeDo':lgal
                          "McDougal   wa!'J acquitted in tbe
                          "McDo!:,gal was                the first case, therefore
                                                                         tberdorc
                                                                         tberdore Castle
                                                                                   CasCie Grande was not a
                          crime"



                          22
                          "           Latham. 5/
                                 John Latham,    15/96 Senate Deposition, at 36-37.
                                              5/15/96                        36-37,
                          23
                                 Seth Ward, 1117/96
                                            1117196 GJT, at Ipagel
                                                            (page}..

                                                                    1
                                                                    11)
                                                                    II


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                        TIlls is unpersuasive because the structure
                        This                                          lhe purchase from IDe
                                                          structwc of the               IDC and Ward's role in it

                were not issues in the first case against :McDougal,
                                                          McDougal, ,and
                                                          .McDougal, and of course, McDougal was convicted in

                    second case (the 825 case).
                the sec"dnd
                    sec6nd
                    secdnd

                        Order of
                              ofProQf
                                 Proof

                                      re : 1986 examination of MOSL;
                        1. Jim Clark- re:                      MGSL; loans to Ward; deceptive explanation;

                violatio n of 6% investment limitation and regulations regarding accuracy of the
                violation                                                                    me institutions

                books and records.
                          reco·rds.

                        ~ ..
                       22.. . Fred Gibson - re: loarn;                   exp~anatio~; violation of 6% investment
                                                loans to Ward; deceptive explanation;

                lim itation and regulations regarding accuracy of the
                limitation                                            institu~ions books and records.
                                                                  me institutions            records.

                       3. Bill Black - ex.pert
                                       expert testimony re:
                                                        re: regulations applicable to MGSL
                                                                                      MOSL and MFC and how

                sale to Ward and loans violated same.
                                                same
                                                same.. .

                       4. Don Denton -•~ circum7ilances
                                         circum~tances
                                         circumstances surrounding initial purchase of IDe by MFC and Ward;
                                                                                    oflDC

                                                   Wa~d his
                                                   W~d
               . purpose of cross loans was to pay Wru:d hi'ss CQmmissions.
                                                         hi·
                                                         hi'   cQmmissions.
                                                               cQrnmissions.

                       5. SA Gary Aaron -first  investigation into Castle Grande and summary testimony re:
                                        - first inyestigation

                charges and disposition of first McDougal
                                                 McDougaJ case.

                       6. SA Mike Patkusl Steve
                                          Sieve Irons - summary testimony re:
                                                                          re : 825 case: investigation,

               charges. and disposition
               charges,     disposition..

                                                                ••••
                                                              • ••••
                       2)
                       2} Other Facts Rela/ing /0 RLF Work/or
                                      Relating to     Work for MGSL -- [The facts relating to
                                                               MGSL--                      to·RLf's
                                                                                           to·RLF's
                                                                                           to' RLF's

               retention by MOSL and work before the Arkansas Securities Qepartment
                            MGSL al!d                                    Department ("ASD")
                                                                                    ("ASO") are detailed in

                                                                  Fi~ance>" Jurie 1997.]
               Sections II and III of Bittman & O'Brien, "Clinton Finance,"       1997.J
                                                                                  1997.J

                                                  whcre it appears that proof exists of Hillary Cl
                       The other significant area where                                            inton's false
                                                                                                Clinton's  fal se

                                                                  12

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         ·--,.           statements to investigators lies in her statements regarding the manner in which Rose Law Finn

                         carne to be hired by Madison Guaranty Savings & Loan. There are,
                         came                                                        are, in essence
                                                                                             essence,, two
                                                                                                       cwo
                                                                                                       fWO competing


                                                                             (w~ch she first
                         versions. One is Mrs. Clinton's "unpaid bill" story (which
                         versions.                                                     fIrSt made public during the 1992

                                                                                abOut). In essence she claims that John
                         campaign -- see the discussion below for how that came abOut).

                         Latham of MGSL and Rick Massey of Rose wanted to do business together, that her partners
                                   MOSL
                                ofMGSL                                                                   panners

                        . would not accept MGSL      ~Iient because of an unpaid bill and that she interceded with
                                           MOSL as a client

                         McDougal to get the bill paid, at the request of Massey. The other version is Jim McDougal's

                                                          13i11 Cli
                         "jogging incident" story -- that Bill      nton carne
                                                                Clinton  came by his.                         moming, sat in
                                                                                 his office while jogging one morning,

                        his new leather chair, staining it with sweat and asked McDougal to 'send
                                                                                             send some business to HRC

                         because she could use the work.

                                1.      Bac~rouDd of
                                        Back:rouod
                                        BaclQ:round ofMadisog's Lees.
                                                                Lees! Representation
                                                      Madison's Le2al Represegtatiog
                                                                      Represegtation
          ·,,,,-, ,

                                         I t is important to understand the background of Madison's legal representation for
                                        ..It
                                         Jt                                                                              for.

                        two reasons. First, Mrs. Clinton claims that in 1985 Rose partners conditioned Rose's agreement

                        to represent Madison on Madison's first paying an 6verdue
                                                                          overdue bill owed
                                                                                       ow·
                                                                                       oW'ed by Madison's sister .

                                                  &;
                        institution, Madison Bank &
                                                  & Trust ("MB&T").                             howe~er, that the
                                                          ("MB&T"). Unequivocal evidence shows, however,
                                                                                                howe,:er,

                        old bill was paid in 1984 and thus
                                                      thus could not have been a condition of the representation as Mrs.

                        Clinton claims. Second, Mrs. Clinton claims Madison's  b.usiness was initially brought to Rose by
                                                                    Madison'Ss business
                                                                    Madison'

                        a young associate at Rose.
                                             Rose, Rick Massey ..                             thaI Madison had long
                                                               .. However, the evidence shows that

                                                                     firm and there was no reason - other than perhaps
                         and competently been represented by another finn
                        .and

                                                                           ~witch counsel and have Rose represent it in
                        a personal favor for the Governor - for Madison to switch

                        a matter
                          maner where Rose had little expertise.
                                               linle expertise.

                                        a.
                                        K.      Bugk ofKin~stog
                                                Banko!
                                                Bagk of KjnE:!ton
                                                        Kin2ston  (Madisori       Trust) .
                                                                  (MadisoO Bank & TrusO
                                                        KjnE:!tog (Madison        Trustl


                                                                         13
                                                                         lJ

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        ."--"
                             Rose's first representation ofa  McDougal.controlled institution began in 1981 when it
                                                         of a McDougal-controlled

                  represented the Bank             ("SOK")
                                  Sank of Kingston ("BO.K")
                                                   ("BOK") in a single matter involving McDougal's moving the

                                                                            24
                                   ~ffice to a different city inArkansas.
                  bank's principal office                     in .Arkansas. 14
                                                                  Arkansas,14  ~&T lost the case in the trial court
                                                                               MB&T                                 an~
                                                                                                              coun and

                           an,appeat
                  approved an appeal;: Carol ·Arnold,
                           an.appeiu                                      Rose~
                                             Arnold, a young associate at Rose!
                                                                          Rose, argued the case before the

                                                                                                    26
                  Arkansas Suprem.e COurt,2S
                  AIkansas Supreme
                           Suprem,e Coun,H                                   and ruled against BOK.
                                    Court,!} which upheld the Chancery Court arid              SOK.l/>
                                                                                               BOK,26
                                                                                               SDKY'   Rose's

                  fees for the appeal totaled S5.000
                                              $5,000 plus $893.63
                                                          $893 .63 in expenses, and on July 30,1982,
                                                                                            30, 1982, Giroir mailed
                                                                                            3D,

                  McDougal Rose's bill, writing that the "statement is, of course, subject to your approval. ,,21
                  McDougal·
                  McDougal'                                                                                  ,,27


                  McDoug~ wrote a note on the outside of the envelope:
                  McDougal                                                            PAY . KEEP IN FILE.
                                                             envelope: "Carla: DO NOT PAY.

                  Jim.,,28
                  Jim."21

                             Rose's July 1982 bill remained outstanding for several years. McDougal says he refused



        .-.
        .~ .




                             2~
                             ~~
                             24 The first aspect of the Rose
                                                        Rose's' s representation involved petitioning the Arkansas Bank
                                                             's
                  Departn).ent
                  Deparonent to move SOK's
                  Dcparunent               BDK's
                                           BOK's principal office to Huntsville, Arkansas. The First National
                                                                                                            Nati'onal Sank'of
                                                                                                            Nati·onal Bank
                                                                                                                      Bank·of 'of
                                                                                                                              ·of
                  Huntsville,
                  Huntsville. a competing bank affiliated with the    the. fonner owners of     BOK, learned ofSOK's
                                                                                             ofSOK,learned
                                                                                             ofSOK,          of BOK' s
                             ~d objected to the move based·
                  proposal Ml:d
                             and
                             ilfl:d                       based' on non-compete
                                                          based·      non-compcte cclause
                                                                      non..compete               BOK's purchase agreement.
                                                                                       lause in SOK's
                                                                                                 BDK's
                  In a letter to the president of First National Bank of       Huntsville, Jim Guy Tucker, on behalf
                                                                            ofHWltsvilJe,
                                                                               HuntsvilJe,                       behalfof
                                                                                                                 beha1fofof
                  BDK,
                  SDK,
                  BOK, threatened litigation: liAs
                  SOK,                                                             minority stockholders in the Sank
                                                  "As representatives of the min9rity
                                                                                   miri9rity                    Bank of
                  Kingston, weare
                                we ·are
                                    are considering litigation to declare
                                                                    declarc'this
                                                                             this non-competition
                                                                                  non·compctition
                                                                                  non-compctition provision void." Letter
                                                                                                                      Lctter to
                                                         HuntsvilJe, from Jim Guy Tucker, Feb. 13, 1981 (RlC120734
                          Hargis. Chainnan, Bank of Huntsville,
                  James Hargis,
                  to 735). On August 4, 1981, First National Bank of Huntsville HWltsvillc sued
                                                                                             sued BOK
                                                                                                  SOK to enforce the purchase
                  agreement and enjoin BOK from moving   mo·ving to Huntsville
                                                                      Huntsville.. RIC 120653       656.
                                                                                                    656 . On August 2
                                                                                         I 20653 to 656.                J,, 1981 .,
                                                                                                                      21I,
                  Vincent Foster and Rose answered on behalf of BOK.      SDK,
                                                                          BDK.
                                                                          BDK. RIC 120648 to 651.

                             25
                             25~ Letter to Steven Smith
                               fu                   SiTlith                       Jul . 2,
                                                    Shlith from Vincent Foster, Jul.
                                                                                  Jui.     1982, at 1I (Carol Arnold
                                                                                        2,1982,
                  reports that [Justice] Steele Hays asked her a question at oral argument ...        (GG-OOOOO 165 to
                                                                                                      (GG·OOOOO
                                                                                              . .. ") (GG·00000I65
                                                                                                      (GG·OOOOOI65
                  166).
                  166).

                           Madjsoo Bank & Trust y,
                        26 Madison                                B~ of Huntsyille,
                                                   Fjrst National Bank
                                                VI First                                     405 , 635
                                                                        Huntsvjlle, 276 Ark. 405,
                  S.W.2d 268 ((1982).
                               1982).                               .

                     "
                     27
                             Letter to James B.
                                             B. McDougal from C.1.              3D, 1982.
                                                              C.J. Giroir, Jul. 30,
                                                              C.J.
                                                              CJ.
                     28
                     l!
                     21
                             l.d..
                             ld... After the appeal
                             l.d...          appeal,, Rose did no additional legal work for MB&T.
                                                                  additionallegaJ

                                                                         14


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                                                                       172
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                      to pay the bill                       "~astly overcharged"l9
                                 bill. because he was being "vastly                                              s~nior
                                                                    overcharged"29 in that Rose billed him for a senior
                                                                    overcharged,,29

                                                                                                  10
                                                                                          appeal.)~ Giroir, who 'was
                                                                                                  30
                      anomey
                      attorney like Vince                  a junior attorney to argue the appeal.
                                    Yince Foster but sent ·ajunior
                                                          .ajunior                                               was the

                      billing partner on the BOK account, testified he believes he asked Mrs: C linton to intercede
                                                                                         Mrs. Clinton     iOiercede to

                      get the bili paid because~,
                                        because~.                                         president.ofMB&T,
                                                                                          president,ofMB&T, ~te\'e
                                                                                          president ofMB&T, Steve
                                        because Mrs. Clinton knew McDougal and the former presidentofMB&T,

                                                                                                                      ll
                      Smith, l31
                      Smith.  J ''
                                                 Mrs.. Clinton spoke to McDougal in an attempt to get the bill paid.J2
                                   In late 1983, Mrs,
                                                 Mrs                                                           paid..,ll
                                                                                                               paid

                      Following Mrs. C linton's conversation
                                     Clinton'S
                                     Clinton's  conversatio~ with McDougal,33
                                                                  McDougal,
                                                                  McDougal,})
                                                                            }) Giroir sent McDougal another copy of
                                                                  McDougal,3)

                                                   to, 1983.
                      the original bill on October 10,       34
                                                       1983.3~
                                                       1983,14
                                                       1983.14  Again, the bank did not pay
                                                                                        pay..

                                                outstarlding for more' than two years and almost a year after Giroir'S
                                After remaining outstanding                                                   Giroir'S
                                                                                                              Gi roir's
                                                                                                              Giroir's

                      October 1983 letter requesting payment, the matter of the outstanding bill was brought to the




            -            "
                         29 ·   J.                ~/2/97, at 77-78,
                                JJ.. McDougal GJ, (4/2/97,   77-78 , 105-106.

                              "
                              30      McDougal 302, 2/19/97
                                                         211 9/97 (DRAFT), at 7; 1.                  412197,
                                                                                                     412/97, at ·114.
                                                                                   J. McDougal GJ, 4/2/97,      '114. Board
                      Minutes from MB&T corroborate some discussion about a "new lawyer" who was assigned to the
                      appeal. MB&T Board Minutes,Min~tes,. Sep. 25, 1984, at 2 ("Board
                                                 Min~tes                       (ltBoard discussed the fact that new lawyer '
                                    case.It);
                      sent to argue case. "); see also Letter                              McDougal" Joe Giroir) from
                                                       Lener to Gary Bunch (cc: James McDougal,
                      V incent Foster, Oct. 9,1984
                      Vincent                 9, 1984 ("You [Bunch] mentioned somethi.
                                                                                   somelhi.ng about a 'girl' lawyer doing the
                                                                                   something
                      work on appeal. ").
                                31
                                "                  GJ, 7/
                                        G iro ir ·'GJ,
                                        Giroir            18196, at 21-22,
                                                          18/96,
                                                       7/18/96,     21-22 .

                                        n
                                        II
                                        32                      B. McDougal from C.l.
                                               Letter to James B.                    C.J. Giroir, Oct.
                                                                                     C,j.                to, 1983 ("Pursuant to
                                                                                                   Oct . 10,1983
                                                                                                         10,
                      your discussion with Hillary Rodham Clinton, I am enclosing a copy of Our     our
                                                                                                    OUI firm statement, dated
                                      1981
                      December 23, 1981.") .") (56-00064693).
                                      198 1.") (56-00064693 ). McDougal was shown shov.'I1 a copy of Giroir's
                                                                                                     Giroir' s letter and has no
                                   of s~nB
                      recollection of s~ng to Mrs.  Mrs. C linton about the
                                                          Clinton       !.he outstanding bill. J.  McDougal. 302, 2/19/97
                                                                                                J. McDougal           2119/97
                                      10;1;1
                                      10.
                                    10;1
                      (DRAFT), at 10;1                                         1I .
                                                                                  . ·
                                                                                  , '
                                       ....
                         .33
                          n
                         13      Note~{of
                                 Nott?s' of John Podesta from May 18, t1994,
                                 Nott:=s'                                 994, indicate      Mrs. Clinton has "some
                                                                               indicate.that Mrs.
                      recollect~on" of talking to Giroir: "Ths
                      recollection"                                              letter, She has some recollection of Giroir
                                                              "This is a 10 year letter.
                                                                                 letter.
                      talk.i~.
                      talk.i~,
                      talkin~to
                      talk.i  ~ . to her about the unpaid
                             n~                    Wlpaid bill and may have talked to McDougal about it." 2139-00000\58
                                                                                                             2139-00000158 .
                                                                                                             2139-00000158.
                                                                                                             2139-00000\58.
                                        34

          .. ~
          ' ,r -      00064693).
                      00.0.64693).
                      00064693) .
                      00064693).
                                        "        ~ener to James B. McDougal
                                                 !.-etter
                                                 Letter            McDougal from C.J.
                                                                                 C.J . Giroir,
                                                                                 C,J   Giroi
                                                                                       Giroir,       to, 1983 (56-
                                                                                             r, Oct. 10,


                                                                              15
            ,
NW:       Dg@l&(
          Dg8l&( Oftij(J(:R'5'gf\>'~g\:egjral
                 "i\j(JdI'5'~f\>,:l!!eegjral
                 I';\j()rR'5'gf~.l{eeg~ra l Rules of
NW: 15416 Db@l&(~)a(Jd1~~f~i{ee51~ral                ·(riminal
                                                      Criminal Pmcedure
                                                      Criminal
                                                  ofCrirnillal PlOcedure
                                                               PlOcedu re


                                                                              173
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         ,.--     attention of the MB&T Board in the fall
                                                     faJ!    1984 .35
                                                             1984.
                                                     faJl of 1984. 35
                                                                            BUJ?;ch, then
                                                                       Gary Bunch,
                                                                      'Gary Btu:lch, tber). an officer at MB&T,

                                          as~ed him in a board meeting on September 25,
                  testified that McDougal asked                                     25. 1984, to settle the

                  .outstanding bill       Rose. 366 According to an October 9, 1984;
                               b"ilI with Rose.16
                  outstanding bill        Rose.1                                     lener, Foster had been in contact
                                                                               1984, letter,

                  with BWlCh
                       Bunch to pay the bill, and Rose was going to sue MB&Tunless              re~eived
                                                                                                re~ eived by
                                                                        MB&T unless payment was received

                  October 22, 1984:
                              1984 :

                          In accordance with our telephone conversation last week. I am enclosing another
                          copy of the statement for our services rendered
                                                                  rtndered in connection with the appeal
                                                                                                   appeaJ of
                          the referenced litigation.
                                         litigation. As 1I mentioned to you the $5,000.00 fee limitation was
                                                     berween Joe
                          established by agreement between    Joe: Giroir and Jim McDougal
                                                                                  McDougaJ before we began
                                                                rumed out to be to the benefit of the Bank
                                       appeal. The agreement turned
                          work on the appeaJ.
                          since our actual time spent exceeded the amount charged.

                         You mentioned something about a "girl"
                                                             "girl" lawyer doing the work on appeal. I was
                         assisted on the appeal briefs and abstracting of the record by Carol Arnold, then a
                         40 year old trial lawyer, who had already done some of the basic legal research for
                         trial. According to our records approximately 75% of the attorney time on the
                         appcal
                         appeal was spent by me.

                                 totaJly baffled by the continued delay in the payment of this statement, but
                         We are totally
                                                                Wltil October 22 in which to Satisfy this
                         are willing to allow you an extension until
                                                                                  suit. J1
                         statement. Otherwise, I am directed by the Firm to file suit.)7
                                                                                  suit.)]

                         Bunch
                         BWlch does not know why the payment of the old bill came upin
                         BWlCh                                                    up in the fall
                                                                                            faJl of 1984 but

                  recalls that shortly thereafter Rose "agreed on
                                                               On a $5,000 settlement"
                                                                           selliemenf" and that MB&T paid the bill
                                                                           settlemenf"

                                    11
                                    38
                             1984 ..31
                  in October 1984.     Indeed, records from MB&T show that on October 22, 1984, MB&T paid the



                        )JS
                        ))5jj     discussed infra.,
                               As discwsed  in.fi:iL, this is just
                                            i.n.ful..,
                                            i.n.ful..,        just after McDougaJ       BiB Clinton jogged by
                                                                         McDougal says Bill
                  Madison and complained about the Clintons' financial
                                                                  financ ial situation.
                                                                  financiaJ  situation.

                                 "
                                 36
                                         Bunch Senate Hearing, 5116/96,
                                                               5/16/96, at 17.


                  9,1984,
                  9,
                  9,1984.
                         "
                         37

                     1984.
                                                                                                           Oc~.
                                 Lener to Gary Bunch (cc: James McDougal, Joe Giroir) from Vincent Foster, Qq.
                                 Letter                                                                    Oct.


                                 JII
                                 38
                                 ]                               5/16196,
                                                                 5/ 16/96, at 39-40
                                         Bunch Senate Hearing, 5116196,       39--40 (emphasis added).
                                                                                               added). Bunch
         .r-      speculated that a reason why the matter of the old bill came  up in September 1984 was because
                                                                          came-up

                                                                   16


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                            is~uing a check to Rose in the amount of
                    bill by issuing                                  $5,~OO for "Legal Fee."
                                                                     $5,000
                                                                  ofS5,000             Fee ." Statements from Rose

                    corroborate that Rose apparently settled for payment of $5,000
                                                                            $5 ,000 as full payment of the
                                                                            $?,OOO                     !he $5,893
                                                                                                           $5 ,893 bill:
                                                                                                                   bill:

                    Rose credited !he
                    'Rose                                                   $4,106.37, which equates ~o the
                                  the attorneys who worked on MB&T's appeal $4,.106.37,

                    $5 ,000 MB&T paid less the expenses Rose
                    $5,000                                   incurred, $893.63 ;39
                                                        Roseincurred,
                                                             incurred.         .)9

                            More significantly, the only known copy of the o'r:iginal
                                                                           original bill from Rose to MB&T was

                    found. years later, in a brief
                    found,                         case in Vince Foster's attic.
                                             briefcase                    attic . The bill is annotated as "paid" and

                    contains hand-written notations which  refigure the allocation of fees to Rose attorney's
                                                    which_,refigure
                                                    wruch.refigure
                                                    which.                                         attor:ney's based

                    upon the $5,000
                             $5,000. payment. Thus, the evidence is conclusive that long before April 1985, when

                    Hillary Clinton met Jim McDougal the "unpaid" bill had been paid. [And, indeed, if the

                    argument is that the $893.63 remained to be paid, the evidence is equally clear that these unpaid


         ."--"


                     MB&T "may have had a linle  little more money at that time than we'd had previously." ·ld...    ld.. at 58
                                                                                                                    ·M..     58..
                     Bunch's testimony that the MB&T old bill was considered in
                   .·Bunch.'s                                                           in September 1984 and paid in
                     October 1984 is corroborated by several documents. First, minutes from MB&T's       MB&Ts board meeting
                     from September show that Bunch "will negotiate         senlement" with Rose concerning the MB&T
                                                                negotiate·settlement"
                     bi ll. Minutes of the Madison Bank &
                        lL
                     bill.                                   & Trust Board Meeting, Sep. 25,         1984, at 2 ("Rose Law Firm
                                                                                                  25,1984,                        Finn
                     -- We owe S5,000Jor
                                  $5,000Jor
                                  $5,Oo.o..£or Huntsville move appeal, according to firm. firm . Board discussed the fact that
                     new lawyer sent to argue case. Mr. Vaughn moved, Mr.       !Vir.
                                                                                /lvlr. McDougal seconded that Mr. Bunch will
                     negotiate settlement with Rose Firm.Finn. Approved unanimously.").
                                                                           un'a nimously."). Second, records from ,MB&T    .MB&T
                     show that on October 23, 1984, a debit of $5,000
                                                                   $5,0.00. was made from its general ledger for legal fees.      fees.
                             records from Rose confirm a credit of $5,000
                     Third, records                                    $5,000. on MB&T's account one day later on
                     October 24, 1984.
                                    1984. Letter to Hickman Ewing from Alden Atkins, Apr. 17,1996            996 ("[Records from
                                                                                                      17, ·11996
                     Worthen
                     Wonhen Bank] show that Rose deposited a check for $5,000     55,000 on October 24, 1984. We are told
                                                                                  55,0.00
                     by the bruik's
                             batik's representatives that the identification number for that check shows that it was
                             barlk's
                             baflk's
                     written on an account at Madison Bank &                                Arkansas. "). Fourth, minutes from
                                                                 & Trust in Kingston, Arkansas.").
                     MB&T's
                     MB&Ts November
                                Novcmber board meeting reflect that a reduction in earnings wasdue                 part
                                                                                                      was due in 'part   to "a
                                                                                                                   part 10
                     payment of legal fees from a 1983 lawsuit."       Minutes of Madi~on
                                                            lawsuit. " Mmutes          Madi$On Bank &  & Trust Board Meeting,
                                                                                                                          Meeting.
                    Nov.          .                                                             ,
                     27, 1984, at 1.I. The lawsuit actually ended in 1982, but Rose's last letter requesting payment was
                     sent in 1983
                              1983..


         ,-
         ~.
                           " Letter to Amy S1.
                            J9
                            39                  SI. Eve from Ronald M.
                          A. Ericson from Alden L. Atkins,
                    Bruce A.                        Atkins, Oct. 31
                                                                 31,, 1995,
                                                                      1.995, at 6.
                                                                                      31,, 1996. See
                                                                        M. Clark, May 31         Sec also Letter to
                      ,                                                          .      .
                                                                            17


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                      expenses were never paid.]
                                          paid.)
                                          paid .)

                                       b.
                                       h.           Milche!! Firm '
                                                The Mitchell

                                In 1982, the McDougals                            Savir-gs & Loan ("Madison").4o
                                             McDouga1s purchased Madison Guaranty Savi!1Ss
                                                                                  Savipgs
                                                                                  Savings         ("Madison").·O
                                                                                                  ("Madison") ,·o "·'
                                                                                                  ("Madison").·o

                      Beginning in 1982 and throughout McDougal's ownership. Madison's primary counsel and "lead
                                                       McDouga1's ownership,

                      firm"
                      finn" was Mitchell, WiIli~, Selig, -Jackson
                                Mitchell. Williams,                                       flIlll).' 1
                                                         Jackson & Tucker (the "Mitchell" fmn).41
                                                                                          fmn).4    ! McDougal
                                                                                                      MCDougal hired

                                   firm because of his relationship with Jim Guy Tucker, with whom McDougal
                      the Mitchell finn                                                            McDouga1 had

                                                                    42
                                                             years.(2
                      been friends and business partners for years.
                                                             years,·2                      bad previously represented
                                                                       In addition, Tucker had            rep"resented
                                                                                                          rep'resented

                                                    43
                      McDougal in numerous matters.'
                                           matters,·)
                                           matters.')
                                           matters.  )


                                    'll
                                    40 •• McDougal purchased Woodruff County Savings and Loan on January 26, '
                      1982 with Susan McDougal, Steve Smith, C.E,
                                                      Smith. C.E.
                                                             C     Ransom. and Julie Baldridge. 174-00012956.
                                                               .E. Ransom,                      174·00012956. Its
                      name waS changed to Madison Guaranty Savings & Loan within a                  a
                                                                                   a few months of purchase.
                                       .." JI
                                       41




                                             FOIA( b ) 3 - ~ule
                                             FOIA(b)3            6(e),
                                                           ?ul e 6!e),   Federal
                                                                         FedHal Ru lle   e.~ Criminal
                                                                                     ess oE            Ptoc~"u
                                                                                             Crimi nal P        r~
                                                                                                         rocedu re




                               42
                               "       J. McDougal 302,2/19/97
                                       J.
                                       1.          302, 2/1 9/97 (DRAFT), at 6
                                                        2/ 19/97             6..
                           ..' •U43,  In a deposition from the Bank of0 f Kingston litigation, Tucker described his
                     profess'iional
                               onal relationship with McDougal: "Mr. McDougal and I.I have a continuing attorney-
                     profess'ional
                     profess"                                                                                   attorney.
                                                                                                                attomey-
                     client relationship because of                                     he brings to me and 1I act on, some of
                                                       various business ventures that lie
                                                   ofvanous
                     which reach fruition and some
                                                 sOf!1e of which do not. ...
                                                 sorne                    . .. I have served as persona]
                                                                                                personaJ attorney
                                                                                                personal anomey for fo r Mr.
         .."-,--     McDougal since I entered private law practice on transactions ranging from timberland purchases

                                                                               18


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                        Througho~u its existence,
                        Throughout
                        TIrroughout    existen~e, Madison relied almost exclusively on the Mitchell
                                                                                           ~itchel! firm for
                                                                                           Mitchel!      faT

                legal advice. Mitchell provided a wide range of legal services to Madison, including extensive

                regulatory work before the Arkansas Securities Department, Arkansas Bank Department,
                                                                                         Department,
                                                                                         Department , Federal .

                Home Loan Bank Board, and other                                                      Se~
                                          orner agencies; litigation, including defending Madison in Seth

                                                                                 m.aners, including activities
                Ward's breach of contract action against it; various real estate matters,
                                                                                 m.aners,

                involving D~vid Hale,
                                                                                                       44
                                HaJe, Dean Paul, among others; and other general legal representation.
                                                                                       representation.4-4

                        While. Tucker was the billing
                        While                 hilling partner for the Madison account, John Selig, a fonner
                                                                                                     former

                Commissioner of the Arkansas Securities Department, was the attorney
                                                                            anomey at the Mitchell firm who

                primarily handled the Madison account. Other attorneys at Mitchell who did work for Madison

                included Bel,lerly
                         Be-\lerly Bassett, who left the Mitchell firm in 1985 to become, with McDougal's
                         Be",erly
                         Beverly

                recommendation, the Commissioner
                                    Commissi()ner .of the Arkansas Securities Department. There was no

                written retainer agreement between Madison and the Mitchell firm, and the fees were charged at

                                  billing rate.
                the normal hourly bil.ling ratc.

                                                               firm , on February 6, 1985, Mitchell opened Ii new
                        According to records from the Mitchell firm,                                             a
                                                         S615 ~ 9.·j The matter was described as "Sale of Stock,"
                                                         5615~9.H
                                                                  45
                file on the Madison aCcoWlt, file.number
                                             file.number 5615:.9.
                                    account, file
                                    accoWlt,

                and. the responsible attorney was listed as John Selig. 46 Almost two months later, on March 27,
                and



                and sales    to                               examinatioD .of
                     saJes to condominium developments to examination       of some of the various banks." Tucker
                                                                           .ofsome
                Kineslon
                Kin2ston               9/23/81., at 13-14 (rue
                Kine-slOD Deposition, 9/23/81
                                       9/23/81,           (RJC        to.464).
                                                                      to.464)
                                                          (RIC 120463 to. 464).. Tucker represented
                                                                                         repre!'>ented
                                                                                         represt:nted McDougal and
                his partners in the purchase of the Bank of Kingston in 1979. RIC120684
                                                                                 RIC120684...

                       ~4-4
                       4-1
                       44       Information concerning the scope of the Mitchell firm's
                                                                                 finn's representation of Madison
                is found in the voluminous billing records produced by Mitchell to the OIC under subpoena. ~
                ~enerally 155-0005700~·
                ~eneraJly
                ~eDeraJly
                KcneraJly 155-0005700=·

                       "
                       4S
                                  155-00001506.

         .-            46



                                                                  19


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  1985, Mitchell opened another new file for Madison, file number 5615-10, entitled "Broker~
                                                           munber5615-10,           "Broker-

                                                 SeJig. 47 Both files are virtuallY
  Dealer" _-- again the responsible attorney was Selig.41                 virtually empty, and it

              fum did little, if any, work on either matter:'8
  appears the finn                                             Although.Mitchell did no work on
                                                     matter,"! Although_Mitchell

        matters, someone at Madison apparently requested or anticipated
  these matters.                                            antjcipated that Mitchell, as its

  regular outside counsel, would do the work. As described below, it was these same matters that

  Rose worked on for Madison beginning in April 1985.
                                                1985,




 I

  ,,'     2.       HidD::  of Rose ill
                   Hirina: nrRose  in April
                                       Apr;1 1985
                                             J985

          According to documents from Rose and _Madison,
                                               Madison, Rose's representation of Madison
  .                                 .
  ;Guaranty Savings & Loan began April
  :Guarant)'                     April 23, 1985, on two matters: the preferred stock offering and

 f the limited partnershiplbroker-dealer matters. so The stock
                                         matters.!C            offering was an attempt by Madison,



                   [55-0000[508,
                   155-00001508.
          48
                   155-00001504 to 509
                                   509,.
          49
                      I _ _ _ _ _ _----11I
                  ." ,,~I
          ~o·'·
                   As discussed infra,
                                infm, at the time of Rose's retention, Madison was under a
          Supervisory Agreement with
          Sup,crvisory            wj.th the FHLBB restricting its loan practices and
          requiring Madison to increase its net worth.

                                                    20




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          --.
         ,..-- .
                      apparently at the request of the ASO,
                                                   the ASO.and
                                                       ASO and the FHLBE,
                                                       ASDand      FHLBR.                  an.d increase its net worth
                                                                   FHLBB, to raise capital and

                      by issuing a Dew                    stock. ~ I Madison needed approval from the ASD to issue a
                                   new class of preferred stock."
                                                          stock.'1
                                                          stoCk.'1

                      new
                      neW class of stock.,
                                   stock, and Arkansas.        unclear as to whether a ~vings
                                              Arkansas law was Wlc1ear                 sav.ings
                                                                                       sav.jngs and loan could
                                                                                                         couid
                                                                                                         eouid issue a

                                  prefem:d class as Madison intended. Rose was hired to secure approval from the
                      non-voting, preferred

                      ASD for this Wlprecedented
                                   unprecedented request. The l!mited             maner, also
                                                                      pru1nersrup matter,
                                                              limited partnership         ll:lso known as the broker-
                                                                                                              broke r-

                      dealer matter, was an effort by Madison to establish ,:1a.a subsidiary investment broker-dealer

                      through which Madison was to sell real estate limited partnersrups.S2
                                                                            partnerships·.52
                                                                            partnerships·.j2
                                                                            partnershipS:. j2 Both the preferred stock

                                                                                                              ~SD.
                      and the limited partnershiplbroker-dealer matters required regulatory approval from the ASD.
                                                                                                              ASO.

                             The Rose Law Finn  bill ing records show thaI:
                                          FiInl billing               that Mrs. Clinton met with Jim McDougal and
                                                                      that:

                      John Latham on April 23. 1985.~J
                                           23, 1985. 5
                                                         Mrs. Clinton's personal calendar from April 23 reflects the
                                                     S3) lvtrs.
                                                     Sl


                                entI)'; "9 -~ McDougaL"s.4
                      following entrY:
                                entry:        McDougaJ."S4 The Rose billing records also reflect that Rose commenced

                      legal work for Madison in earnest that day."
                                                             day.55
                                                             day. H55 On the next day, April 24, 1985,
                                                                                                 .1985, Rose continued its


                             51
                            " Rose referenced the preferred stock matter on 11)e                              I".
                                                                                          accOWlt as matter" 11".
                                                                            the Madison account                ".

                            " Rose referenced the limited partnershiplbroker-dealer
                             52
                     account as matter "2".
                                                          partnershiiplbroker-dealer matter on the Madison


                             553
                              j1]
                             51      DEK014947.. The enOj'
                                     DEK014947                        bil ling records reflect the following entry for Mrs.
                                                        entry on the billing
                                                                      hilling
                     Clinton: "4/23/85 -- Conference ~th                                         ~rs. Clinton recalls meeting
                                                                                      Latham ." Mrs.
                                                        with J. McDougal and J. Latham."
                                                                        mee
                     only with McDougal and says that it was at that meetting ~ ing that they discussed Massey's and
                                                                        meeting
                     Latham's proposaJ
                               proposal that                     Madison... McDougal does not recall
                                          thai Rose do work for Madison                              recaJl the meeting but
                                                                                                                        bUI
                                                           Cli nton was in the fall of 1984 when they set up the retainer.
                     says that his last meeting with Mrs. Clinton
                                    302.2119/97
                     J. McDougal 302,    2119/97
                                         2/19/97 (DRAFT).
                                                  (DRAFT), at 10.                              .   .

                           ~4
                           H       319~00034 730. This notation appears
                                   319-00034730.                appears: to .refer
                                                                             refer to 9:00 a.m.,    as
                                                                                           a.m. , as it is from the
                     morning portion of
                                     oflhe
                                        the caJcndar.
                                            calendar.
                             55
                             H
                             S5      DEK014947. Mrs. Clinton'S
                                                           Clinton'S
                                                           Clinton's billing entries for April
                                                                                         April 23, 1985, reflect that after
                                        McDougaJ and Latham,
                     her meeting with McDougal          Latham , she had a c.onference              Massey, a young
                                                                             conference with Rick Ma.,sey,
                                                                                                    MaSsey,
                     associate
                     in the securities section,                               Gregory , a senior partner in the securities
                                       section. and a conference with Watt Gregory,
                     section... Massey's entries for April
                     section                         Apri l 23, 1985,                      ~onference with Mrs.
                                                                1985 , show that he had a conference        Mrs . Clinton, a

                                                                        21


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                ..
         ." . - -

                                                               offering.'/) Also on April 24, an internal Madison memorandum
                                   work on the preferred stock offering.'6
                                                               offering.'ll

                                   from Latham to Greg ·Young,
                                                       'Young, Madison's comptroller, announced Madison's retainer of Rose:
                                                                                                                      Rose·:

                                                         .' Greg,"We                            flml. We will be paying them retainer of
                                                                                                fum.
                                                            Greg, we have retained the Rose law finn.
                                                            $2,000 per month. Please go ahead and send the first $2,000
                                                                                                                 $2.000 check to the finn,
                                                                                                                 S2.000              firm , in
                                                           care of Hillary Clinton. s557
                                                                                      oS
                                                                                         ''

                                                         Madison issued its first retainer check to Rose on May 2, 1985, ip
                                                                                                                         in the amount    $2,000."58
                                                                                                                                amoWlt of $2,000.
                                                                                                                                          $2,000."

                                  F or the next fifteen months through August 1,
                                  For                                                  Ma~ison 'c
                                                                              I, 1986, Madison  continued
                                                                                                  ontinued to send Rose monthly

                                  "retainer" checks ••                           of $2,000. 59
                                                    -- all but two in the amount 0[$2,000.     There was no written
                                                                                            S9 TIlere       wrinen engagement

                                                                        60
                                    agreement between Madison and Rose. 6O
                                  ..agreement
                                    agreement                              Rose billed Madison its usual hourly, rates
                                                                                                                 rales and used the

                                                                                acrually incurred by Rose. 1I1
                                  monthly retainer as a prepayment against fees actually                   lIl
                                                                                                           61
                                                                                                               Mrs. Clinton


                                  conference with John Latham, a conference with Les Baledge, another associate in the securities
                                                                                        stock. offering." l.d...
                                             ~ose. and conducted research on "preferred stock
                                             ~ose,
                                  section at Rose,                                                        ld..
                                                                                                          l..d...
         ,-,
                                          ~6
                                          j6
                                          56      DEK014947. Mrs. Clinton "review[ed]
                                                  DEKOJ4947.                               dr8..ft docwnents" and had "conferences"
                                                                              "review[edJ draft
                                                                              "review[cd}
                                                                              "review[ed}
                                  with Massey,
                                       Massey. Latham, and
                                                         Wld Davis Fitzhugh,      anomey at Madison. Massey and Sharon Grimes,
                                                                    Fitzhugh. an attorney                                    Grimes.
                                  a paralegal at Rose, conducted legal research and "draft[ed]                li1..
                                                                                                              li1...
                                                                                                  documents." l~
                                                                                     "draft[ed} docwnents."
                                                                                                  docwnents."                .

                                                         "       54-00266226 . .
                                                                 54-00266226.
                                                         so
                                                54-002312771. McDougal says that he had
                                                54·002312771.
                                                         Sl
                                                         58                                   neve~ paid a retainer to a law firm
                                                                                         had. never
                                  before.           302, 2/
                                  before. McDougal 302.      19/97 (DRAFT).
                                                          2119/97
                                                          2/19/97              8. Latham says that Rose was
                                                                   (DRAfT), at 8.                           was the only law firm
                                                                                                                               finn
                                  Madison ever had onretainer.               211 4195, at 2.
                                                       retainer. Latham 302, 2114/95,
                                                   on .retainer.

                                                         ~9
                                                         59                       Rp5e dated 5/
                                                  The second and third checks to Rose
                                                                                  Rpse          17/85 and
                                                                                             5/17/85      7122185
                                                                                                      anq 7/22/85
                                                                                                          7/22185 were in the
                                  amounts of
                                           of$2,018.00
                                              $2,0 18.00 and $3,023
                                              S2,O                  .20, respectively. 54-00231446,54-00232199.
                                                              $3,023.20,                              54·00232 199. The difference
                                                                                        54-00231446, 54-00232
                                                                                        54-00231446.
                                  represents fees incurred in excess of the $2,000
                                                                            S2,000 retainer.
                                                                                   retainer.

                                         60      As noted above,
                                                          above , McDougal
                                                                  M'cDougai had a written retainer agreement with Rose for the
                                                       Bank..of Kingston matter.
                                                       Bank.
                                 representation in the Bank,             matter. There was no policy at Rose in 1984 or 1985
                                 requiring written retainer agreements; such decisions were left to the individual attorney.
                                                                                                                     attorney . Letter
                                                                                                                                Lener
                                 to:Bruce A. Ericson from Alden L. Atkins.
                                 to                                  Atkins, Oct. 31,
                                                                                  3 1, 1995,
                                                                                       1995. at 6 ("In 1985, Rose Law Firm did
                                 not have a policy regarding retention letters. We are unaware of anyWly retention letter
                                                                                                                   lencr for Madison
                                              (RIC120845);1 .'
                                 Guaranty.") (RlCI20845);·1                                                      I
                                           61   .•.)nti~~·
                                                   )nti~~·
                                                   .Jnte·                                                retai~er payments to Rose as
                                                         ~al Madison documents reference the monthly retainer
                                  "pcepaidJegaJ
                                  "prepai.d)egaI
                                  "prepai.cJ1egai
                                  "prepai.d)egai
                                        ....        fees."
                                                    fees
                                                    fee  ."
                                                        s." See. q
                                                                 e.g
                                                                 e,2"
                                                                 e.g".. 54-00266225, 54-00264666 to 667,  54-00264669,54-00260954,
                                                                                                          54-00264669, 54-00260954,
                                          ,    .......
                                              ....
                                 ........
                              .....
                              ............
                                    .......
                              .....
                     ......
           ...............
                                                                                                  . 22
           ......
          FOIA(b)3
          FOI      3 ·- Rule 6{
              A(b )3
          FOIA(b
          FOIA(b)               e),
                                e), Fecleral
                             6{e),
                             6(e),           Rul es of Crim
                                    Feeleral Rules          inal Procedure
                                                       Criminal  Proce dure
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                                                                                                  180
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                  described the agreement in a letter to McDougal and Lalham            14 •..1986,
                                                                      Latham dated July 14,   1986.    follows :
                                                                                              1986, as follows:
                                                                                             .1986.

                          [I)n April, 1985, I advised you that thefmn
                          [I]n                                 the fmn
                                                                   fInn would credit fees against a monthly
                          retainer and then bill for whatever fees might be in excess of the retainer at the
                          retainer.
                                              62
                          end of each .month.62
                                 each.month.

                          Mrs. Clinton was th.e
                                           the hilling
                                                billing attorney on .the
                                                                     the Madison account, and almost all of the

                                                        attention. 63 Rose had no policy in 1985 with regard to
                  retainer checks were addressed to her attentionY
                                                        attention.6}

                  retainers. and the decision whelher
                  retainers,                  whether to use a retainer 'A''8S
                                              whether·                  was discretionary with the responsible

                  attomey.64
                  anomey.64
                  attorney.64

                          As to the regularity of retainers at Rose.
                          As.to                                                                                it was a
                                                               Rose, Ron Clark testified, "back in those days, it

                                                        retainer. Even to this day, except for large clients,
                  little bit unusual for Rose to get aa retainer.                                    clients. it's

                  unusuW.
                  unusual   ,,65 Webb Hubbell,
                  unusual..."65       Hubbell. chief operating officer at Rose from 1985 through 1988, testified that .

                 . retainers were indeed unusual, and he could not remember any client at Rose other than Madison

                               retainer. 66 As to her understan9ing
                  which was on retainer.66
                               retainer.1t6           understanding oftne                retainers , Mrs.
                                                                    of the regularity of retainers,  Mrs. Clinton


                  54-00260973,54-00260956,54-00282220.
                  54-00260973, 54-00260956, 54-00282220
                                            54-00282220..
                  54-00260973,54-00260956,54-00282220.

                          62
                          62      54-00260979 to 980. 980. Each cover letter
                                                                        letter transmitting Rose's bills acknowledges
                                                                 fee,~,
                  "receipt" of the previous month's "retainer" fee,
                                                                 fee. "-2...
                                                                      '-i... 54-00266228 ("April Retainer Received .,.
                                                                      '-..i..,                                        ...
                  April Fees ...
                             .:. Balance     ...It).
                                 BaJance Due ... tt).
                                                 ").
                                                 ").                                              .

                          63
                          63        Thirteen of Madison's nineteen checks to Rose listed the payee as "Rose Law
                                                  Soc,
                  Firm, Attn: Hillary Clinton." Soc.
                                                  So<.  c 1:~.,.. 54-00231446,54-00232199,54-00232674,
                                                  See. ,e.2.,                           I 99, 54-00232674, '54-00233116,
                                                                  54-00231446, 54-00232 199,                54-00233116,
                  54-00233   456, 54-0054-00234001
                  54-00233456,     54-0054-00234001,, 54     -00234265 , 54-00212147, 54-00212393, 54-00214419, 54-
                                                        54-00234265,
                  54-00233456,54-0054-00234001,54-00234265,54-00212147,54-00212393,54-00214419,54-
                  00215014,
                  00215014 ••...54-00216137.
                               554-00216137.
                                 4·00216137. Rose deposited all Madison's checks into a trust account against which
                                                m
                  the actual fees were billed. ~ RICRJC 120846.

                         64
                         64                                      Alden. L.
                                Letter to Bruce A. Ericson from Alden
                                                                 Alden. L. Atkins, Oct. 31, 1995, at 6 ("In 1985,
                  Rose Law Finn did not have any policy regarding retainers or client advances. The decision
                        whether a retainer or client advance would be n:quested
                  about whether.a                                     requested was left to the discretion of each
                                                                      n::quested
                  lawyer depending on the circumstances         particularmatter.").
                                           circwnstances of the particular matter.").                 .
                          65
                         "              GJ. 3/30/94, at 58-59
                                  Clark GJ,             58-59..
         ,_ .            .66
                                          OJ, 12119/95,
                                  Hubbell GJ, 12/19/95, at 187-188.

                                                                     23 ·


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          -     testified, however, that retainer agreements were not unusual
                                                                      unusual::.
                                                                              :

                                                                                             ask a client, a
                         I can't call their name to you right now, but it was not unusual to ask
                              client or a client that perhaps there had been some billing
                         new ciient                                                 billiI1g problems with
                                                                                   billiI'lg          will]. in
                                                                                61
                             past, to make a deposit against fees and expenses. 67
                       . the past,to                                               .


                        How Mrs. Clinton came to be the billing anomey                             disputed.
                                                                attorney on the Madison account is dispute,9.
                                                                                                           ,r

                According to Joe Giroir, former chief operating officer at Rose, the billing attorney
                                                                                             anomey is usually --
                                                                                                               _.

                               -.
                hut not always --
                but                            who brought the client to
                                  t}:te person ,who
                               _. the                                        fmn.6I
                                                                             finn.6I The billing attorney is
                                                                      to the fIrm.68

                responsible for assigning and supervising the legal work in addition to reviewing and sending

                             c1ient. 69 An internal Rose document entitled "The Daily Briefs"
                bills to the client."
                             client.                                                  Brie(<i" dated April 29,
                                                                                                           29. 1985,
                                                                                                               1985 ,

                                                                      Cli~ton as the "attorney" for the
                announces Madison as a new client and identifies Mrs. Clinton

                account. 1O
                         70
                            The purpose af"The
                                        of liThe                    announce new clients and determine whether
                                           "The Daily Briefs" is to aimounce

                the fi nn has any conflicts. 71
                    finn
                    firm




                        "
                        67
                                             ole Deposition, 4122/95,
                                 H. Clinton, OIC             4/22/95, at 14.
                                                                         14.

                         61
                         68    Girioir GJ, 7/18/96,
                                            7118/96, at 12. Rose had a policy that first
                                                                                   fust and second year associates
                                                                                   fU"St
                could not serve as a billing attorney. Giroir GJ, 7/
                                                                  7/18/96,                                 1/ 11 /96.
                                                                     18/96, at 13; Massey Senate Hearing, 1/11/96,
                                                                                                           1/11  /96,
                at
                a t 76
                    76..
                        .."
                        69
                                 ld..
                                 1<1.
                                 ld. at 13.
                        70
                        10   105-00008011. A second "The Daily Briefs"
                                                                   Briefs M dated the next day announces
                                                                                               annOWlces the
                second Madison matter
                               maner -- the broker/dealer        Mrs. Clinton again as the attorney.
                                            brokerldealer -- and Mrs.                      attorney . 105-
                00008012.

                         ?
                         71 I I n.In           1989. Vinet::
                                 ,In February 1989,  Vinct:: Foster sent a ten-page proposal to the FDIC soliciting
                                                     Vince Foster
                      work. 105-00003859 to 868
                legal work.                      868... Page eight of the letter addresses potential conflicts of
                interest as follows
                            follows:: "[Rose] does not represent any savings and loan association in state or
                                      maners. From time to time we have provided specialized services to some
                                      matters.
                federal regulatory matters.
                savings' and loan associations in such areas as employment discrimination, work-out of
                savings·
                participation loans and bankruptcy. We do not represent any of these clients on an ongoing basis
                ... " 1105-00003866.
                        05-00003866. Notably                 .
                omitted from Foster's description are the services Rose provided for Madison between 1985 and
         ,-                                                       c'ilpi~ization, real-estate developments, etc.
                                                                  ciilpi~ization,
                1987: regulatory work before state agencies, c,)-pitalization,
                1987:                                             clilPitaiization,

                                                                   24


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                 700015


                                                                   182
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          -   ..
                             3.      EyidCQce Supportine
                                     Eyidegce
                                     Eyidence
                                     EYidence S-
                                              S'UDPOrti0i'
                                                ugportior McDoueal's
                                              S'UDPOrtj0i' McDQueal's Version
                                                           McDoural's VersioQ
                                                                      Versiog
                                                                      VrrsjQQ

                             Obviously the disproof of Mrs. Clinton's "unpaid" bill story does not, necessarily require
                                                    ofMes.                                                      require

                     affirmative proof 9f                    version.. Equally obviously, if the jury were to credit
                                       of McDougal's jogging version.
                                                             version

                     affirmative proof of the jogging incident, it would be significantahd
                                                                            significant and woUld
                                                                                            would greatly assist the

                     prosecution. And, most obviously of all, with Jim McDougal's death the admissible evidence of

                     the jogging incident is very limited. What {oHows
                                                                follows
                                                                fcHows below is a summary of the proofavailable
                                                                                          afthe  proof available

                             McDougal .-
                     without McDougaJ •• o~ly a portion
                                      -- only   poniDn of which is admissible, but the full scope of which is useful
                                                ponien

                                             veracity.
                     in assessing McDougal's veracity.

                            Jim McDougal has identified severa!
                                                        several people who may have informationn confirming
                                                                               have.infonnatio"
                                                                               have,infonnation  confinning his

                             ofthe jogging incident. At least onc
                     version of                               one of these witnesses.
                                                                  afthese  witnesses, according to McDougal, was

                     present during McDougal's meeting with Clinton. The other witnesses may have knowledge of
         ,.-
         .' ~ ''

                     the jogging incident because of contemporaneous statements made by McDougal about the

                     circumstance:s of Rose's retention.
                     circumstances            retention. In addition,
                                                            addition. one witness, Rae Ann Moles,
                                                                                           Moles. who was not

                     identified by McDougal,                                  betwecp McDougal and Clinton.
                                   McDougaJ, claims she overheard the meeting between

                                                                                    inc~dent are outlined below.
                           witnesse!ii and other evidence pertaining to the jogging incident
                     These witnesses

                                            I.      Bm Clip
                                                    Bill      ton .
                                                         Cljnton
                                                         Cljntoo
                                                         CljntoD

                            Remarkably,
                            Remarkably. Bill Clinton does not
                                                          nOI deny the jogging incident. Clinton testified he has

                     been to Madison "[I]es5
                                     "[I]ess        0 times, more than two, three
                                     "[IJess than 110
                                     "[J]ess                                tbree"nu72
                                                                            tbree,,12            jogging by Madis~n
                                                                                       and while jogging.by Madison

                     "once or twice actually went in .....,73
                                                  in."1l                                   incident. Clinton says he has
                                                           13 When asked about the jogging incident,




                            n
                            72
                                    B.
                                    B. C linton OIC
                                       Clinton      Deposition, 4n2/95,
                                                Ole Deposition. 4n 2/95, at 66.
                                                                4/22/95,    66 .

                            "
                            73
                                    B. Clinton 825 Trial Testimony, 4/28/96,
                                                                    4128/96, at 69-71.
                                                                                69-7l.

                                                                      25


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          .--   ..
                       "tried to remember" and is not accusing McDougal of Iyins,'·4 but he does not remember anything
                                                                           lying,1·
                                                                           lyinS,74
                                                                        oflying/

                                                  ") don't recall that. 1
                       like the jogging incident: "I                                           rec~>unted a conversation
                                                                        I am aware that he has recounted

     .-                                                                                 that.'~7S Clinton said he does not
                       about that. But II don't have any specific recollection of doing that.,,7S

                                  conversation where he asked McDougal to send legal work to Mrs.
                       recall any converSation                                               Mrs. Clinton.
                                                                                                           76
                                                                                                           76
                                                                                                  C1inton. ' 6 Clinton
                                                                              .                     .
                       also said he does not recall ever complaining to McDougal about financial problems and telling

                       McDougal that "Hillary and II need some money.
                                                               money."n
                                                                      lin


                                               ii.      Dm
                                                        am HeDley
                                                        BjIJ Hepley
                                                             Henley




                              74
                              "                                  4122/95. at 83:
                                                                 4122/95,
                                      B. Clinton OIC Deposition, 4/22/95,

                                      Q        Do you have any reason to
                                                                      to believe that lim McDougal.is
                                                                                      Jim McDougal is not being
                              ttuthful--
                              truthfUl--
                              lruthful
                              truthful --

                                      A        No.

                                      Q
                                      Q      . -- about (the joggins incident]?
                                                        [the jogging
                                                             jogginG

                                       A         I have absolutely -- I have                            that And I have
                                                                          hav.e no reason to believe that.
                              really tried to search my memory to see if there was anything remotely similar to
                                        said . JI mean, II really tried.
                              what he said.                        tried to remember the conversations .that I've had
                              with him 10to try 10to figure it out, because II am not accusing hin:t
                                                                                                 hirt:l of not telling the -
                              truth. IIdo
                                      J do not -- IJ simply do not remember the conversation he says occurred. occWTed.


                               "
                              "7S     l.d..
                                      lI1. at 67. Clinton also testified he does not recall whether he knew in 1985 that
                                      lQ..
                       Mrs. Clinton was doing legal work for Madison. lQ..  ld..
                                                                            ~ 65-66 ("I don't recall that I did know [in
                       1985 that Hillary was doing some work for Madison].
                                                                      Madison). Normally Hillary didn't discuss her legal
                                  me.
                                  mc. ")
                       work with me.")")..
                             . 76
                              "       ld..
                                      l<I. at 69.
                                      l<!.    69.

                               n       l.d..
                                       hl at 72. Clinton says he does not remember McDOugal ever complaining that the
                                                                        \Vhitewater: "I certainly
                       Clintons were not putting their fair share into Whitewater:
                                                                        \Vhitewater:                    reme~ber any time
                                                                                        ccrtainly don't remember
                       when he complained about that. I can remember the occasions
                       in        be said .we
                       i.n which he        we had to PUI
                                          _we                  money. in, and when we did
                                                     put more money.
                                                               money
                                                               money-
                       put more money in, and we did that."
                                                         that.
                                                         that." B. Clinton Ole
                                                               M              ole
                                                                            OIC Depositi on, 4/22/95, at 83-84.
                                                                                Deposition,

                                                                            26

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         .-             Jim McDougal says that Bill Henley, Susan McDougal's
                                     says"that                    McDougalis brother, was present during the
                                                                  McDougal;s

                meeting where Bill Clinton. discussed sending leg~
                                   Clinton discussed.         legal work to Mrs. Clinton. 78
                                                                                 Clinton.'s  Henley says he was

                not present at such meeting but does remember seeing Clinton leave McDougal's office and

                McDougal complaiiting
                         compiaiiting
                         complairung about Clinton's leaving a sweat stain on the chair.

                        HenJey                            jwy that one morning between 6:30 a.m. and 8:30 a.m
                        Hen1ey testified before the grand jury
                        Henley                                                                            a.m..

                                                          19
                                                McDougal.79
                he went to Madison to meet with McDougal.
                                                McDougal .19 Henley said the door to McDougal's office was

                closed, so HenJey           shon period of time -- no more than 15 minutes. Henley thinks
                           Heriley waited a short
                           Henley
                           Heruey

                McDougal's secretary, Sue Strayhorn, was also present sitting
                                                                      sining at her desk outside McDougal's

                        80
                office.1O
                office.
                office.to  When the meeting ended, Henley
                                                   Hen1ey said Clinton, who was in jogging clothes and

                sweating; exited McDougal's office. Henley and Clinton exchanged pleasantries, and Clinton left
                sweating,

                the building. Henley                                       out of earshot, McDougal commcOled,
                              Hen1ey testified that as soon as Clinton was o'ut
                                                                           o·ut                     commcnled,
                                                                                                    commented,
         .-     "I don't mind·
                         mind the son of a bitch coming by here and taking up my time, but I wish he wouldn't
                                                                                 time.t?ut

                                 chairs."ll Henley
                sweat through my chairs."I'
                                 chairs."11 Hen1ey said he and McDougal then entered McDougal's office and




                        "78  . l.                                (" McDougal advised that Bill Hen1ey
                               J. McDougal 302, 6/22/95, at 6-7 ("McDougal                       Henley was
                present during this meeting.");
                                    meeting.")                             (DRAFn, at.
                                    meeting. ");; J. McDougal 302, 2/19/97 (DRAFT),    at 7 ("Bill HenJey
                                                                                                   Henley was
                                                                                                          wa.c; also
                present in McDougal's officc
                                       office when Clinton came
                                                            carne by irijogging attire."). .
                       79
                       "        McDougal says Henley was at Madison to help with backed-up title work. Henley
                was a real estate salesman for
                                           for Madison Financial
                                                       FinanciaJ Corporation, a subsidiary of Madison. B.
                                                                                                       B.
                Henley OJ,
                       GJ, 6/18/96, at 7.

                        80
                        10
                        I(l         Strayhorn had been present outside McDougal's office as Henley
                                 If Snayhorn
                                    Suayhorn                                                Hen1ey remembers,
                                                                                                   remembers. it
                would be inconsiStent
                            inconsistent with McDougal's timing of the jogging incident because Sue Strayhorn
                                                                                                    Strayh()rn
                began work at Madison in February 1985 - well after McDougal says the
                jogging incident occurred. Strayhorn 302, 3/30/94, at 1. This testimony is also inconsistent with
                testimony from Rae Ann Moles. Moles testified she overheard Clinton and McDougal set up the
                retainer, but Moles left Madison before Strayhorn started work. S.tt.                infra...
                                                                                  ~ subsection "v." i.n.fn..
                                                                                                     in.fr:a..
                                                                                                     i.nfr:a..
                       81
                       "       Henley ,oJ,
                                      pl, 6/
                                      PJ,
                               Henley,GJ,    18/96, at 27,50.
                                           6/18/96,    27, 50.
                                                       27, 50.

                                                                 27

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                                                                 185
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        .-----.     conducted their meeting. Henley testified that while he was in McDougal's office he noticed a

                                             of~e
                    fresh sweat stain on one of the two chairs facing McDougal's desk.
                                                                                 desk.·~
                                                                                       ·~ Henley was only able to
                                                                                       82



                                                                11
                                   to sometime in 1984 or 1985. 1l
                    date the event 10                           83
                                                                   The only conversation Henley
                                                                                         Henley has had with
                                                                                         Henley·

                                                        occUlTed during the 825 trial, sometime after the book
                    McDougal about the jogging incident occurred

                    Blood Sport
                          Span was published. Henley said McDougal corrected a quote in the book attributed to
                          Spon

                                           Henley:"' . McDougal told Henley that he did not refer to Clinton
                    McDougal apparently by Henley:'"'                                                Clintpn as a

                    "son-of-a-bitch" as quoted in the book.
                                                      book.

                                             iii.
                                            ·iii.          McPo·ui:11
                                                     Susan McDou&al
                                                           McDo'

                                                                                                      McDougal. 8s
                              Jim McDougal feels certain he discussed the jogging incident with Susan McDougal.'$
                                                                                                                IS




                              "
                              82
                                     Id.
                                     ili
                                     ld. al
                                         a1
                                         at 46-47.
         -                    83
                              I)     Id.
                                     l.d...
                                     I.d... at 33. Henley testified at one point, however, that he believed the event may
                                         "swnmertime." When asked why he thought it occurred
                    have occurred in the "summertime."                                                  summertime,
                                                                                      occurrt=d in the sununenime,
                                                                                                        sununertime,
                    Henley's explanation was Clinton was sweating and it must have been hot. ld...
                                                                                              lsL. at 33-34.
                                                                                              lQ..
                         84
                                                                           ~s as follows:
                                     The relevant portion from Blood Sport reads follows:

                              McDougal gently steered [Clinton] out of the office. Susan's brother Bill Henley
                              was standing nearby. With the governor safely out of earshot, McDougal turned
                                 HenJey. "I
                              to Henley.  "J don't mind the fat little
                                                                Iinle son of a bitch coming by and taking up my
                              time.
                              time. I just Wish                        chair. ~
                                           wish he wouldn't ruin my chair."                             .

                    S1ewan,
                    Stewart, Blood Sport
                    Slewan,        SPOrl (J 996), at
                                         (1996),  al 124.
                                                     124.

                              "      J. McDougal 302, 2119/97
                                     1.                                at 8-9; 1.
                                                      2)19/97 (DRAFT), .,8-9;  J.              412/97, at 103-104:
                                                                                           OJ, 4/2/97,
                                                                               J. McDougal GJ,

                              Q. Susan was also Quoted
                                                    quoted in the Washington Post arid
                                                                                  and other publications, 1I
                              think, saying, "Yes, I know about this."
                              think.,                                                iaI~ng to her about this?
                                                                 this. Do you recall talking
                                                                      II


                              Would that have been something you would have told her about? .

                              A.   I'm sure JI --
                                               .-
                                               •• yes. It would have been something I would
                                                                                      wou1d hcwe
                                                                                            have told her within
                              the business day, I would think.

                                                                  !
                                                                           28


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         ·.--     Ms. McDougal refuses to give a statement to the OIC,
                                                                  OlC, but she has given statements to print and

                  television media consistent with Jim's recollection.                               'erth's article
                                                         recoHection. Shortly after publication of aGerth's  anicle on

                  March 9, 1992, The Washin~on
                                     WashingtQo Post quoted
                                     Washington                   sUsan in a follow-up
                                                                             follow.up piece as follows
                                                                                                follows::

                        . Hillary came in one day·
                                              day and was telling us about the problem. The problem was
                         finances , her flnances
                         finances,       finances   '... She came to Jim's office. I1I remember Jim laughing and
                                         finances.....
                                                  . ....
                                              'Well; one lawyer's as good as another, we might as well hire
                         saying afterward, 'Well,
                         Hillary.' ...                 retainer. 1
                                             was·on retainer.
                                   . .. She was                  I] remember everyone
                                                                                eyeryone sitting around laughing
                         and saying: 'We need to hire   rure Hillary Clinton.'86
                                                        mee           Clinton:16
                                                                      Clinton.'16

                                                    Sa~er on ABC's Prime Time Liye,
                         In an interview with Diane Sawyer                    Liye. Ms. McDougal

                                                 contempo~eously about his discussion with Clinton.
                                                 contempo~~usly
                                                 contempo~e~usly
                  corroborated that Jim told her contemporaneously                         Clinton. Ms

                  McDougal also said that she was at Madison the day of the jogging incident, saw Clinton jogging

                  and sweating, and saw that Jim and · Clj~ton
                                                       CIi~ton
                                                       Clinton talked with each other:
                                                                                other:

                         Sawyer:         There are things that you can help clear up a little bit from ..
                                                                                                       -- for
                                         some of us. The decision to have Mrs.
                                                                           Mrs. Clinton help with some of
                                         the legal affairs for Madison.

                         McDougal:
                         McDougal :     I'll  tell you what IJ know aboul
                                        I'II "tell
                                             ·tell
                                        1'I1'tell                       about it,
                                                                               iI, as I wasn't
                                                                               ir,              present at the
                                                                                        wasn'r presenror   rhe time.
                                                                                                               time.
                                                                                                               rime.
                                        But IJ do know that thai Bill came by the bank one day.  day. He was jogging
                                        - and sweating. Thefamaus
                                                               The   famous story of
                                                               Thefamous             afthe
                                                                                        the sweai
                                                                                             sweat in the chair.-I
                                                                                                          chair
                                                                                                          chair.-- JI
                                        didn't        rhal. But
                                                      that.
                                        didn'r see thaI.      Bul JI did see that
                                                                             lhat he was running,
                                                                                            running, and he was
                                        swearing. And he came by the
                                        sweating.                               bank. And he did talk with Jim.
                                                                           Ihe bank.                           Jim.
                                                 that, Jim came to
                                        After that,                 {~ me and said,
                                                                    ta                 "i've just given Hillary some
                                                                                said, "j've
                                        work from the
                                        workfrom       Ihe bank. Is that
                                                       Ihe             Ihar alright
                                                                       thaI
                                                                       Ihat           wirh you?" JI was at the bank
                                                                            alrighr with
                                                                                      withyou?"
                                        rhor
                                        lhol day . ...
                                        that         . ..

                         Sawyer:                            that - that Mr. Clinton had asked for her?
                                        And did he say then that··

                         McDougal:       Whal
                                         Whar he said
                                         What          was, "She needs the
                                                  saidwQS,             Ihe work"
                                                                           work." And I said,
                                                                           work."        said. "That'sfine
                                                                                         said, 'That  'sfine
                                                                                               'That'sfine
                                                                                               'Thal'sfine
                                         with me. " Those were his exdct
                                         wilh me."                                      time, at
                                                                         words. At that time,
                                                                   exact words.                alrhal  day,
                                                                                                  that day,


                         86
                         16      Maraniss and Weisskopf,
                                               Weisskopf. Lawver   wm Review
                                                           Lawyer Will
                                                                   wm            arkanSas Land Deal, Washington
                                                                         Reyiew ArkanSas
                        M~. 12, 1992, at AI
                  Post, Mar.             AI.. In an interview with the Ole,
                                                                       OIC, Jim McDougal was read Susan's quote
                  from The Washjni!0n
                            Washjoi\oo
                            Washjni\on
                            Washiniton Post. McDougal agreed with Susan's statement but added that either Bill
                         o r he must have told Susan about the jogging
                  Henley or                                    jogg ing incident. J. McDougal 302, 2/19/97
                                                                                                   2/ 19/97
         ,-.                    8·9.
                  (DRAFT), at 8-9.

                                                                    29


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                                                                    187
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         .-.
         .-.-..                                  "She needs 'he
                                                            the work." Anti
                                                                       And 1J said,
                                                                              J:aid, "That's
                                                                                     'That's fine,
                                                                                     'Thar'sfine,  Jim.""
                                                                                             fine. Jim.

                                Sawyer:                                  ~kc:d.
                                                 Because, again, she has talked.
                                                                         talked about the business coming in a
                                                 different way -- coming through a connection between someone
                                                 who was in her office and someone who knew your husband.

                                McDougal:        1I don't know about that.

                                Sawyer:
                                Sawyer:          But this you do know? /1
                                                                       /I did take
                                                                       11     I'ake place?

                                McDougal:        Oh,
                                                 Oh.     nB7
                                                 Oh, yes.11

                                On the' eve of her jailing for contempt oreoun,
                                                                        of Court, Ms. McDougal told Larry King she did

                     not witness the jogging incident and "that
                                                          that     amy knowledge of it comes from Jim McDougal:
                                                          that her only                               McDougal :

                                II only know that Jim came to me and said, "They need the
                                                                                        Ihe money. I'm going to
                                give her the work. Is thaI
                                                      thol
                                                      that alright with you?" And
                                                                              Anti J
                                                                                   I
                                                                                   1 said yes. Th.at's
                                                                                          yes. lbat's
                                                                                               That's all I know
                                                            88
                                about how that came to be. II

                                                 iv.         Ann Moles
                                                         Rae Agg
         .-                                                                                                         19
                                Rae Ann Moles was hired by Madison in Aprii
                                                                      April 1983 to do miscellaneous clerical
                                                                                                     clerical work .89
                                                                                                     c1ericaJ work.

                                                                                                      90
                     Moles remembers an event similar to the jogging incident described by
                                                                                        by. McDougal.
                                                                                            McDougal,90  Moles ,says
                                                                                                                says

                                                                    1984,, Bill Clinton rushed past her into
                     that late one afternoon in August or September 1984

                     McDougaJ's
                     McDougal's office wearing jogging clothes.
                                                       clothes, Moles says she heard most of their conversation



                                17
                                "         Prime Time
                                                Tjme Live (ABC television, Se,p.
                                                                           Se:p. 4,1996,
                                                                           Sep. 4, 1996, out-takes, tape 2) (emphasis
                     added)
                     added)..
                                .         Larry Kin~ Liye
                                          LilI'O'
                                          Lany
                                          Latri      Ljve (CNN television broadcast,
                                                                          broadcast., Sep. 6, 1996) (emphasis added)
                                                                                                              added),
                                                                                                              added)..
                                .
                                89
                                          Moles is writin
                                                   writing a book on her experiences   Madison. I
                                                                         ex riences at Madison.



                            90
                            I/O
                            Ij(I
                            /j(I     McDougal does not rem'
                                      ,
                                                                  rOIA(b)
                                                                  FOI A( b ) 7
                                                                  rOIAlb))
                                                                  rOIAlb)




                                                           remember
                                                                             J -   Ie)
                                                                                   (C )
                                                                                   (G)
                                                                                   IO::!




                                                               e mber who his secretary
                                                                               seeretary was at the time of the jogging
                                                                                                                         I
         -.
         ~-.
                     incideqt. J. McDougal 302,2/
                     incidel'l:t.
                     incident.               302,
                                             302   2/19197
                                                 , 2/ 19197 (DRAFT), at 9.
                                             302,2/19/97
                     left in January 1985 and was later replaced
                                                                          9, Moles was McDougal's secretary until she
                                                          replace'd by Sue Strayhorn
                                                                           Strayhorn.. .

                                                                              30


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                                                              open ."!
                           because McDougal's office door was open..~1
                                                                    91
                                                              open.'''
                                                              open     Moles said McDougal complained to Clinton
                                                                                                         C linton about
                                                                                                                  abo ut

                                                                                                   share. 92 According to
                           an outstanding Whitewater loan and urged the Clintons to pay their fair share.91

                          Moles, Clinton told McDougal that Webb Hubbell was encouraging Rose attorneys to get more

                                                                                                                 on
                          savings and loan business, and then Clinton asked McDougal to put Mrs. Clinton on a S2,000
                                                                                                              $2,000 per

                                          91
                                retainer.'ll
                          month retainer. 'll
                                          9J
                                                                                                                     'FIrm
                                                                                                                      Finn
                                              McDougal told Clinton "he really didn't have anything for the Rose Law ·Finn

                          to do
                             t;lo [and] that ·the
                                             the Mitchell law firm
                                                              furn was representing the institution and perfonning as he

                          expected.
                          expected."~,<)01
                                      94
                                           Moles testified McDougal asked Clinton how the account would be shown as

                          coming in, and Clinton said Hubbell would take care of it and that more than likely a young

                          associate would be given credit for the account.9~
                                                                  account. 'l5
                                                                           95
                                                                           'l5



                                  Moles says Clinton and McDougal met for  ~bout an hour
                                                                      fo r about    hoW' and a half to two hours and that

                          she left before the meeting ended to go home. When Moles came
                                                                                   carne to work the next
                                                                                                     n.e xt morning,
                                                                                                            moming,
         ..-   ..
                          McDougal said, "Well, we've put Hillary on the payroll. Susan will be in shortly. She doesn't
                                                                  onthe
                                                                     .the

                          know about it. When 1I tell her, she's going 10
                                                                       to be really upset. There mar
                                                                                                 may be quite an incident. If




                                "91                  10119/95 , at 18. But See
                                                     10119/95,
                                        Moles GJ, 10/19/95,                           302, 8/4/94 & 2/9/95,
                                                                           see Moles 302,8/4/94     219195, at 7 ("McDougal
                                                                                                                 ("McDougai
                          had Moles into his office and he introduced her to Clinton.
                                                                               Clinton.").
                                                                                       ").
                                  92
                    /             "             302 , 8/4/94 & 2/9/95, at 7; Moles GJ,
                                          Moles 302,8/4/94
                                                302,                                    10/19/95,
                                                                                        10119/95 , at 19-20.
                                                                                   GJ , 10119/95,

                                  93              GJ~ 10/19/95,
                                           Moles GJ,  10/ 19/95, at 22 ("Mr. Clinton ·asked
                                                      10119/95,                       asked him to hire the Rose Law Firm.
                                                                                     -asked                             Firm.");
                                                                                                                              ");
                                  302, 8/4194
                           Moles 302,8/4/94      219195, at 7 ("CLINTON said that he and HILLARY CLINTON were in
                                       8/4/94 & 2/9/95,
                           need of some money and because he was a government servant, he only made so much.
                           CLINTON then asked McDOUGAL to haveMGSL   have MGSL put HILLARY
                           ROD HAM CLINTON of the ROSE LAW FIRM on a $2,000 per month retainer.
                           RODHAM                                                                               "). Bill Clinton
                                                                                                      retainer.").
                         . says he has "absolutely no recollection" of talking to Hubbell about Hillary and Rose being on
                           retainer and doing legal work for Madison. B. Clinton Ole Deposition, 4/22/95,
                                                                                                      4/22/95 , at 72-73
                                                                                                                   72-73..
                                  .
                                  94
                                                    10/ 19/9
                                                    10/119/95,
                                                         9/95,
                                                GJ, 10/19195,
                                          Moles OJ,          5, at 22
                                                                   22..

         ....- -.
                                  "
                                  95
                                          ld...
                                          !ll.
                                          !JL at 24
                                          !Jl.   24..

                                                                            31

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          -,
          -.
          .~   ..
                           g~t uncomfortable, go downstairs
                       you get                              ... 96 Moles Sald
                                                 downstairs."96          said that after learning that Madison retained

                                       McDougal if Madison was going to split the legal work between the Mitchell
                       Rose, she asked McDougal.if                                                       Mite,hell

                            ~d Rose.
                       finn and
                            arid                           ~' YQU are to send the Rose Law Firmnothing
                                                           ~'YQU
                                 Rose. McDougal responded, :'YQu
                                                           "YQu                            Finn nothing."97
                                                                                                nothing."97
                                                                                                        ..,97 Moles

                                                              98
                       resigned from Madison in January 1985. 91

                                               v.     . Hillafy
                                                        Hilla[y
                                                        Hillary Clinton's Income
                                                        Hillan' Clintop's Ipcome

                                  ~lintons' tax returns are consistent with McDougal's claim
                              The C.lintons'
                                  Clintons'                                            c1wm
                                                                                       clwm that in 1984 when the
                                                                                       daim

                                                                                        ~irm which reduced Mrs.
                      jogging incident occurred something was happening at the Rose Law Firm
                                                                                        Finn
                                                          t
                      Clinton's earnings.
                                earnings. The Clinto,
                                                    rnus' tax returns for years 1983,
                                              Clintons'
                                              Clinto.                           1983: 1984.
                                                                                      1984, and 1985, reflect that Mrs.

                      Clinton's income from Rose decreased in each of those years as follows:
                                                                                     follows :

                                                       Yw
                                                       ~               Wa2es
                                                                       Waees from Rose
                                                                       Wa2cs
                                                       1983                  82,741 99
                                                                          $ 82,741"
                                                       1984                         iOO
                                                                             72,989'00
                                                                          $ 72,989
                                                                                    101
                                                       1985
                                                      ·1985               $ 55,382'"
                                                                             55,382 '"



                              4.
                              4,      Statemegt:! RelatiQll to HiIIIO'
                                      Statements Relatipe
                                                  Relatipf     HiIIlO'
                                                               HmBO' Cliptop's   vcnioQ
                                                                       Clintop's Version
                                                                       Cliotoo's
                                                                       Clintoo's yenjoQ
                                                                                 vcnioD




                              "
                              96
                                      liL at 26.
                                      lli
                                      l<L
                              97
                              "       ill
                                      lli
                                      l<L at 27.
                                             27,

                               98
                               91                            2/9195. at 10. Moles' testimony is corroborated by her sister,
                                        Moles 302, 8/4/94 & 2/9/95,at
                                                             2/9/95,                                                     sister.
                      Sarah Handley, a former financial examiner for the   the. Arkansas Securities Department.
                                                                                                       Department, Handley
                      testified that Moles told her while Moles was working at Madison        ·'tthat
                                                                                      Madisontluit    ~Clinton had come by
                                                                                                  hat "Clinton
                      (Madison]
                      [Madison] and that at the conclusion of that visit       . , McDougal had retained Hillary, the Rose
                                                                       visit,...
                                                                             . ..
                      Law Firm." S,  S. Handley GJ,  10/31 /95 , at 22,
                                                GJ, 10/31/95,       22.             .
                              99
                              "       DEK001329 . .

                              ''''
                              100
                              '00     DEK000753.
                                      DEKOO0753.
                              101
                              '"      DEK001371.

                                                                         32


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                        . Upon graduation from
                                          from law school in May 1984, Rick Massey began work for the Rose

                                   cJerk :'II02
                 Law Firm as a law clerk~102
                                   cJerk:
                                   clerk:    ()2 When he passed the bar examination in August 1~84, he became an
                                                                                              1984,

                 associate at Rose and was assigned to the securities section. Massey's "mentor"
                                                                                        "menlor" in the
                                                                                                    tile securities

                                              a
                 section was David Knight, a partner.                                                     al
                                             partner. Massey became involved with Rose's work for Madison at

                                                                                    wor~ on Madison's first two
                 the very beginning of the representation and did most of the legal work

                 matters --                                  the limited partnershiplbroker-dealer
                         •• the preferred stock offering and the         partnershiplbroker-dealer.
                                                                         partnershiplbroker--dealer..

                          Mrs. Clinton's version of Madison's retainer of Rose puts Massey at the center of the
                        . l\.1rs.

                . origination. To the general question of whether he brought the Madison business to Rose.
                                                                                                     Rose,

                        says .that
                 Massey says that
                              that he "do[es]                                                          firm.',I
                                      "do[es) not know how Madison Guaranty came to be a client of the finn."103
                                                                                                       firm.',103
                                                                                                       finn .',I Ol

                 However.
                 However,                                                                        .in.
                 However, Massey testified that while he does not remember how the business came in,
                                                                                                  in. he does
                                                                                                 .in,

                                                                         re~l feeling like this was my
                 not remember feeling he brought the client in: "I don't recall                        -- that I
                                                                                                    my··

                 killed this deer ....
                                  ...                                              in ."I~
                                                                                   in."
                                  . . . . II didn't have a big part when they came in.
                                                                                   in."to.I ~ When pressed by Chainnan
                                                                                       ,,1()4                 Chairman

                 D'Amato at the Senate Whitewater hearings, Massey conceded he would have remembered

                 bringing in the client, but he does not remember bringing it in:
                                                                              in:
                                                                              in :

                                            D'Amato. Mr. Massey,
                                  Chairman D'Arnato.        Massey , let me say something to you. First-year
                         associate, you're there, if you had brought in this business, it would have been the
                                                                                                  firm;
                         first piece of business I think you testified that you brought "into the finn;
                                                                                                  firm ; right?



                         102
                        '"                 republican. Massey GJ, 1117195,
                             Massey is a republican.                 n 195,, at 88.
                                                                  Ilnl95,
                                                                  Il nl95       88. Massey testified before the
                        Committee that he has a "very good memory."
                 Senate Comminee                           memory." Massey Senate Hearing, 1/   1/11196,      238.
                                                                                                  11 /96,, at 238.
                                                                                                  11/96       238 .

                         10)
                         101
                         103    Massey GJ, 1117/95,        ("My position
                                           llnl 95 , at 21 (liMy
                                           Ilnl                  position."· has been that I'm not
                                                                 position.·has                     -- and it is today
                                                                                               not··
                 that I'm not aware o/how
                                    ofhqw - what their motivation was/or
                                                                  was for hiring us. II have -- II had aa
                                                                            factor. But I don't -- you know, II don't
                 relationship with their president, which might have been a factor.                               don 't
                 know that IJ .-
                              -- you know, I don',
                                             don't know.
                                                   know. You'd have to ask them why they came            w... at 82)
                                                                                                         U1.
                                                                                           carne to us," kl.
                                                                                                         isL
                 (emphasis added). See also Massey
                                               Massey FDIC Interview, 10/4/94, at 1.1.

                         '"
                         104
                               . Massey Senate Hearing, 1111/96,
                                                        1111
                                                        1/
                                                        III111/96,     78,
                                                              /9 6, at 78.
                                                              /96,     78 .

                                                                   33


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         -.
         ~--. '
                                    Mr. Massey"
                                        Massey·., That's correct.
                                        Massey

                                     Chairman D'Amato.. You would have remembered that?
                                     Chainnan D'Arnato.
                                              D'Amato
                                     Mr. Massey. That's correct.
                                    ·Mr.

                                             D'Amato. You don't remember bringing that business into the
                                    Chairman D'Arnato.
                            finn?
                            firm?

                                    'Mr.
                                     Mr. Massey. No, sir,l
                                                     sir, I do not.

                                                                      ...
                                                                      • ••
                                     Chairman    D'Amato. Same day, contemporaneously.
                                     Chairrnan D'Arnato.              contemporaneously. If you had brought
                            the clic:pt
                                client
                                cliept in,
                                        in.                                             in. we went over
                                        in., you would know that you brought the client in,         ov~r that.
                          . First-year associate, eight months, you would have known that, it would have
                            been memorable, wouldn't it? Yes or no?

                                                Yes. I05
                                    Mr. Massey. Yes.IOS
                                                     lOS


                           Despite 'this                                              hearing. "I don't have all
                                    this admission, Massey also maintained during the hearing,               al1 the

                          ... ... it's outside my knowledge as to whether Ii brought the
                    facts ...
                          . ..                                                       the,
                                                                                     the.Madison matter in or 001.,,106
                                                                                                              not."
                                                                                                              not. 106 It
                                                                                                                  II




                    is important to note a recurring theme in Massey's responses: Massey concedes that.
                                                                                                  that.his
                                                                                                        his memory

                                 Mrs . Clinton's as to the facts of how the business came 10
                    differs from Mrs.                                                        Rose~ as to the individual
                                                                                          to Rose;

                            however. Massey does not unequivocally say that
                    events, however,                                   that. the event did not happen; he merely

                    says that he does not remember that the event did happen.
                                                                      happen.

                           David Knight remembers attending the lurich with Latham and Massey, and Knight's




                           lOS
                           105    ld...
                                  l.d... at 232-233, 240-241. Chairman
                                  l..d...                     Chainnan D'Arnato's
                                                                       D'Amato's point is ac1assic
                                                                       O'Amato's          a ,classic
                                                                                             classic deductive
                    syllogism: Massey says that, had the event happened, he would have remembered the .event,
                                                                                                            event, and
                    he does not
                    remember the event; therefore, the event did not happen.
         .-- ..            ".'"
                           106
                                    ilL at 29, 77
                                    lil        77..

                                                                      34


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                                                                      192
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               --   ..
                                                                                test:fied the purpose of the lunch was 10
                                                            Massey's.107 Knight testified
                            memory of it is consistent with Massey's,1M                                                to

                                                                         Mr. Latham to
                            solicit legal business from Latham: "We took Mr,        to. lunch, and I can't remember

                                                    conversation but the gist of it was we told him a little bit about the types of
                            certairily the specific conversatio.n

                                           aJ'ld I did. Representative clients for the finn. And then asked him for
                            work that Rick and

                            business." I08 Knight testified that Latham said McDougal made the decision as to which law finn
                            business."I08

                            to hire and that Madison was happy with the Mitchell law fum:
                                                                                     firm: "My recollection is that he said

                            that Mr. McDougal was really the one that made decisions about hiring lawyers, . , , He also said
                                                                                                  lawyers ....

                                                                law firm and that he thought they were satisfied "lith
                            that Madison regularly used another Jaw                                              with the

                            services provided by the law finn. ,,109 Knight further testified he left the lunch with the
                                                         firm, ,,100

                                                             closed and that Rose was not going to get any business from
                                                       was dosed
                            impression that the matter v.'aS

                           Madison,)
                           Madison. I 10

                                   Latham says that he does not remember taking a class where Knight and Massey both

                           taught and does not remember a hutch                 Knight lll
                                                          lunch with Massey and Knight. III Latham testified he




                                   107


                         \L-_'''
                         AL--_   _ _ _ _ _ _ _-',
                                           - - - - - - - - - - - - ,

                                    Hl~
                                    108                            5/16/96, at 10. Knight testified that the lunch occurred
                                           Knight Senate Hearing, 5116/96,
                           after the conclusion of the jaw
                                                       law school course which Massey helped him teach.
                                   109 .




                                   '"
                                   110
                                           ld. at 11, 13
                                           k!.        13..

                                   II!
                                   III      Latham Senate Deposition, 5115196,
                                                                          5/15/96. at 10-11. Latham remembered being taught a
                           corporations (x)U1'Se                           school. Latham seemed to leave open the possibility
                                          course by Knight while in law schooL
                           that he may have taken a course after law school that was taught by both Knight and Massey:
                           "Kot
                           "Not unless --~~ well, I may have, if it was a continuing cd
                                                               ifit                   ed course, or maybe they were teaching a
                           t;ourse                                              bit. It would have been after law school, butl
                           course that 1I had an interest in and attended for a hit.                                      but I
                           don't remember it it. " ls1
                                               11  l.Q..

                                                                              35

:--.lW: 154   F«rJbbJrcf: '7~o&i585J1lg~lffles of Criminal Procerlure

                                                                             193
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         ...-- ..
                      remembers Massey at some point expressing an interest in obtaining SOJ!le
                                                                                         some of Madison's legal

                      work:
                      work : "I                                                 s~nse that he wanted us to hire them to do
                             "} do recall that Rick pitched the business in the sense
                             "]

                                     us. 1I do not remember the lunch."
                      legal work for us.                        lunch."l
                                                                lunch.'!lI ll
                                                                           l1                        the Senate Whitewater
                                                                              In a deposition before the
                                                                           12 ]n


                      Commin~e, Latham
                      Committee, L~tham testified Massey did approach him, but told him the decision to hire Rose

                     . was McDougal's:
                           McDougal's:

                              Rick Massey and I ran into each other when we were       studying for the bar, and
                                                                                 were'studying
                              Rick went to work for the Rose Law FirmFinn after that, and had talked with.   with me about
                              us using the Rose Law Firm. And I think I probably mentioned that to M'           McDougal
                                                                                                                  c Dougal
                              at some point.
                                       point. At some later point, Jim came back to me and said let's use the
                                                       ~anted to put them on retainer ....
                              Rose Law Firm, and he wanted                                           think. he wanted to
                                                                                         . ..... 1]I think
                                                                                         ..
                              use them because he had friends over there, and one of those friends, of course,
                                                             ~ose Law Firm
                              was Hillary. He had used the Rose         Finn there before. What's open there, of
                              course, is what prompted Jim to make that decision. Was it a conversation with
                              Hillary or was it just beCause
                                                     because I had suggested that at some point          I would
                                                                                                           would like to
                                                                                               point]I.would
                                                                                        11l
                              work with the Rose Finn
                                                   Firm at some point. I don't
                                                                          donit know.
                                                                                knoW. III
                                                                                        \l3
                                                                                        til



                              In an interview with FDIC investigators, Latham said McDougal suggested
                                                                                            suggestc:d that Maruson
                                                                                                            Madison

                      use Rose:

                              LATHAM said that at one time, date not recaJled,
                                                                     recalled, JAMES MCDOUGAL
                              sugges~ed that MADISON GUARANTY use ROSE for some of the legal work at
                              suggested
                              sugges,ed
                              the institution. LATHAM
                                               LAnIAM said that, "MCDOUGAL had friends over there, he
                              suggested we use them.    ~ATHAM said when asked who the friends were that it
                                                        L:A
                                                them."" LATHAM
                                                        l:A
                                                        II


                              was HILLARY RODHAM CLINTON and others. 114       I
                                                                               I I.
                                                                                 '.




                              Latham says McDougal made      decisi~rI which law finn
                                                   made: the decision            firm to hire and
                                                                                              i1J?d that Latham did not



                              112
                              '"      Latham Senate Hearing, 5/ 16/96, at 35.
                                                                16/96,
                                                             5/16/96,

                             113
                              I II
                             1\3I)                                5/ 15196, at 7-8.
                                    . Latham Senate Deposition, 5115/96,
                                                                  5/15/96,      7-8 . Latham says the pitch from Massey
                      O CCWTcd while they studied for the bar examination and
                      occurred                                                and" thus suggests that his conversation with
                                                                              and'
                                occ~d in the swruner
                      Massey occurred         summer of 1984 --:- roughly consistent with the timing of   oithe
                                                                                                            the jogging
                      incident alleged by McDougal     Lathamgradt,l8ted
                                          McDougal.. Latham     gradl,l3ted from law school in May 1984, so he would
                                                                graduated
                                                               ,gradl,l3ted
                           studied for the bar the summer of 1984. 2031-00000027.
                      have snidied

          .,,-,.,             ".
                              '"
                              114
                                                  Int~TView, 7/12195,
                                      Latham FDIC Interview, 7/12/95, at 1.
                                                                         I.

                                                                            ,36
                                                                          ,..36
                                                                             36


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         ..,..-.....
                                   authority ..1L5
                         have that authority.                                            ~ecision to hire Rose,
                                                II' When specifically asked who made the decision
                                               115                                                        Rose. Latham

                                                  did.")16 Latham does not remember any discussions about there being
                         testified, "Jim McDougal did."116

                         an unpaid bill from the Bank  ofJ(jngston
                                                 Bank. of                     117 and says he is not aware of what legal issue
                                                          Kingston litigation 117

                         McDougal wanted Rose to work on, although he does remember discussions with McDougal

                                           broker/dealer. IIlIS1I
                         about acquiring a broker/dealer."          Massey also says he does not remember a discussion wi~

                         any Rose partner about Madison's having an outstanding bill and partners objecting to
                                                                                                            10 bringing


                         Madison in again as a client because of the billing problems: "I've heard
                                                                                             beard that there were

                         discussions, that there was some disgruntlement. And discussions like this could have gone on.

                         I don't believe I was a party to them.'t119
                                                          them.  ,,1]9 Massey acknowledged that Mrs. Clinton's version of the
                                                          them . ,,119

                         retainer ''.'doesn't
                                   ·''doesn't              hiS,I20 and he insists he has no memory of ever discussing Madison
                                      doesn't square" with his,120



                                115
                                Ilj
                                II'            302,2114/95,
                                       Latham 302,   2/14/95, at 1;                           5115/96,
                                                                 I; Latham Senate Deposition, 5tr5196, at 12-13; Latham
                                                                                              5tr5/96,
                         Senate Hearing, 5/16/96, at 14-15.

                                 116
                                  116      Latham Senate Hearing, 5/16/96,
                                                                    5116/96, at 15. When asked if    it is "safe to say you
                                                                                                   ifit
                         personally did not hire the Rose Law FirmFinn to work for Madison," Latham responded, "Yes, in the
                         sense ...
                               . . . that I didn't make the decision to hire them and move that forward." Latham Senate
                               ..
                         Deposition, 5/15196,
                                        5/15/96, at 8-9. Pat Heritage-Hays, an assistant to Latham, says that when she
                         learned Madison was paying Rose $2,000 per month, she asked Latham about it, and he          be
                         responded, "Oh, it's one of Jim's deals."                        1/6/95 , at 1.
                                                             deals." Heritage-Hays 302, 1/6/95,       I.
                                                                                                      I.
                                 117
                                 '"       Latham Senate Deposition, 5115/96,
                                                                    5/15/96, at 20; Latham 302, 2114/95,
                                                                                                2114195 , at 2.
                                                                                                2/14/95,

                                118I
                                111
                                II                    2/.14/95, at 1,3. Latham told FDIC investigators, however, that
                                          Latham 302, 2/14/95,
                         Massey worked on the preferred stock and broker/dealer
                                                                      brokerldealer issues because Latham specifically
                         asked him to.                 Intervj"ew, 7112/95
                                     to . Latham FDIC Interview,
                                                       Intervi"    7/12/95 . at 1.

                                 '''
                                 '10 .
                                 119    Massey Senate Hearing,          1111/96,
                                                          Hearing, 1/11196,  /96, at 23-24; Massey GJ,
                                                                        1/111/96,
                                                                        1/1                           OJ, 11/7/95,
                                                                                                           1117195, at 33,86 ("I
                                                                                                                              ("1
                         wasn't usually consulted or involved in billing maners matters as a first year associate .... 1I didn't know
                         there had been a11 reduction in the bill. ot).
                                                             bill.").                                                               .

                                 '"
                                120                  IInl95,
                                        Massey GJ, 11/7/95,
                                                     Iln/95, at 84 (In an exchange about Mrs.
                                                                                           Mrs. Clinton's allegation that
                         Massey went to some securities
                                               secUrities
                                               secwities partners at Rose about bringing Madison in as a client, Massey
                                                                              course, with your version," to which Massey
                         was told, "Mrs. Clinton's version doesn't square, of course,

                                                                              37


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         -.
         .,.--.... ..
                               billing matters with any Rose partners:
                                                             partners:

                                      [Dlo
                                      [D)o 1I remember going to the partners and saying,
                                      [D]o                                                    i'We want to represent the
                                                                                       saying,"We                        the~­
                                                                                                                             ~~
                                                                                                                            --
                                      Madison, H and other partners saying, "You're not going to do that until
                                      Madison,"                                                               Wltil they catch
                                      up on'
                                         on their bill, and maybe there ought to be a retainer." I have read that Giroir
                                      said that. I don't recall Giroir ever having said that to me. )JI don't remember me
                                      being in any of that discussion, and it frank.ly
                                                                                  frankly would not have been a matter in
                                      which I normally
                                               normaJly would be involved because I was a first year associate, and we
                                      didn't have much input on on hilling
                                                                   billing arrangements of that kind. It's possible,
                        ,             however. I] just don't remember ii.lll l ll
                                                                         it. 121                                      .'

                                      Massey further testified              jUl)' that he remembers no such discussion with any
                                                     testifted to the grand jury
                                                                            jut)'

                               securities partners or Mrs. Clinton:

                                      Q.      Mr. Massey, do you remember anything about your going to the securities
                                      partners and saying. "I want to work on a case for Madison,"and
                                               Wld saying,                               Madison
                                                                                         Madison/,.... ·and
                                                                                                       'and they said, "We're
                                      not going to approve that until Madison has paid 'us
                                                                                        us what they owe us
                                                                                        US                    US'on
                                                                                                              us' on some
                                      other case"?

                                      A.
                                      A.      I don't -- no, sir. II'don't
                                                                     don't remember that.
                                                                   I-don't
         -.
         --                           Q.
                                      Q.                                             ~th Mrs. ·Clinton?
                                              Either with any securities partners or with     'Clinton?

                                      A.      I don't remember doing that with anybody.122
                                                                               anybody.m
                                                                               anybody. m

                              c.
                              C.      ,Other Eyidence
                                      .Other Eyidepce

                                                      I.
                                                      J.       Webb MubbeU·
                                                                    MubbeU
                                                                    HubbeU·
                                                                    Hubbell'



                              responded , "I understand.
                              responded,     understand.").
                                                         ").

                                      121
                                      12 1                    17/95, at 84-85. According to an article in The Los An~eles
                                                           1117/95,
                                                           11
                                                           Iln195,
                                              Massey GJ, 1117195,                                                    An~e1es Times,
                              Giroir told Rose partners that he did not want Madison as a client again. Risen, White House HQuse
                              Woes; Documents Hint at More Help by Mrs.   Mrs, Clinton for S&L Owner, Los Angeles Times, May
                                  t 994,
                              31, 1994,     AS ("McDougal had refused to pay Rose's bills, prompting the firm's
                                    994. at A5                                                                 finn's managing
                              partner, Joseph Giroir, to declare that he did not want McDougal as a Rose c.lient
                                                                                                              client again in the
                              future. according to partners.").
                              future,              partners.".). Giroir testified to the grand jury that he has no memory of Rose
                                                   partners."}
                                                                                                                      finn about the
                                                                                                  discussions in the firm
                              representing Madison in 1985 and 1986 and no memory of any discussionS
                              representation.
                              representation.  Giroir GJ, 7/ 18/96,
                                                      GJ. 7/18/96,  at 23-27
                                                                       23-27. .

                                     m·
                                     122·
                                     122    Massey GJ,  1117/95 , at 32. Massey told the grand jury, however,
                                                    OJ, 1117/95,                                     however. that although he
                                                                "possible" he may have gone to Knight and told him he thought
                              does not remember doing so, it is "possible"
                              he was going to get MadisOn
                                                  Madison as a client.   ld... at 84-85.
                                                                client . ld..

                                                                                  38

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         -                                        approached. him in 1984 and asked him for help in gening
                         Hubbell says that Massey approached                                        getting

                 Madison'S business.                       ~at Massey said he had been talking to John Latham
                                     123 Hubbell testified that
                 Madison's bwiness.12.l
                           bwiness.12J

                . and Massey
                      MaSsey felt that Rose had an opportunity to get some ofMadison's  work..12
                                                                           ofMadison's·work
                                                                           of Madison's ·work 124'( Hubbell says he

                                              ~assey in getting the business. 125
                did not do anything to assist l'1assey
                                              Massey                          m

                         As to who actually brought the
                                                    the. client to Rose,                               on~ who
                                                                   Rose, Hubbell says, "Massey was the one

                                                 Mrs. Clinton was one of those who helped him accomplish that
                wanted them as a client and that Mrs.

                task.                       with' the Ole,
                      ,,126 In an interview with
                task."126
                task.'d26                                                        Mrs: Clinton brought the Madison
                                                      OIC, however, Hubbell said Mrs:



                       123
                       123                    Deposition. 10/26/95, at 134-136;
                               Hubbell Senate Deposition,              134·136; ' Hubbell 302, 2/1/95,, at 5.
                                                                                          302,2/1195,
                                                                                          302,2/1/95
                Hubbell .left
                         left Rose from September 1984 through January 1, 1985, while he completed an
                           term on the Arkansas Supreme Court.
                unexpired tenn
                         124
                         '"                                  10126/95, at 134·136.
                                  Hubbell Senate Deposition, 10/26/95,    134-136.
                         125
                         '"
                           126    I.d...
                                  M..
                                   ld.. at 122. Hubbell says he has no personal knowledge as         to who brqught.
                                                                                                  as'to       brought.
                                                                                                              brought the
                                             517/96, at 74·75
               ·. client in. Hubbell OJ, 517196,               (It I don't know for sure who brought it in .... 1
                                                         74-75 ("I                                                 I don't have
                                           righl.").
                                           right.") . In the grand
                · personal knowledge, right.").              grandjwy,
                                                                     jury, Hubbell was read a quote from a news article as  ~
                  follows: "Webster L. Hubbell, a partner and spokesman at Rose, said that nothing in the law
                  firm's records indicates that Hillary Clinton brought in the Madison Guaranty Ouaranty business
                                                                                                           business.. 'That's a .
                               me: he said." When asked 'whether
                  new one on me,'                               whether the quote was accurate, Hu.     bbell responded,
                                                                                                   Hubbell    responded. "I
                  don't know if 1I said that, but there is nothing in the records -- _. this is where lawyers are being
                                Ewing. There is nothing in the records of the firm that show that
                  lawyers, Mr. Ewing.                                                                 illat Hillary brought in
                  the business." ld.
                                  I.d...
                                   M.. at 108.
                       According to notes of Susan Thomases from a conversation with Hubbell on February 24, .'
                1992, Hubbell told Thomases that Massey will say he brought the business:

                  Massey had relationship wiwI Latham & HCHe had relationship wiwI MacD. Rick will say he had
                  re/[ationship] wi
                  rel[ationship}  wi Latham
                                     ~/ham & & had a lot 10
                                                         to do wi
                                                               wi getling     client in. She did all the billing.
                                                                  getting the clienl                         billing .
                                      rees, He
               ·. According to time recs,   HC
                                            He had numerous confIerences]
                                                              contI erences] with Latham, Massey, and McDougal
                                                              conflerences]
                  on both transactions.                      docs:" She had one TC in 4-85
                          transactions. She reviewed some docs.                                 aatt the beginning
                                                                                         4·85 ..at       begirming of the
                                                                                                         begirullng
                  deal wI
                       w/ Bev. [Bassett).
                               [Bassett]. Neither deal went through. Broker/dealer
                                                                        Brokerldealer was opposed by staff approved
                  by Bev under certain condition which they never met. Preferred stock? But   Bur for Massey, itjt would
                           there. But He
                  not been there.       HC was billing partner and attended conferences.
        :.-


                                                                       39

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         .-"
         ,.- ..
                                  Rose: "HUBBELL notes that MADISON was HI
                      business to Rose:                                 HILLARY's  client, as she is the one
                                                                           LLARY's client.

                      who brought MADISON into the 'finn,       as
                                                   ·finn.as a client, that is why she became the billing partner."m
                                                   ·firm.as                                              parmer." m

                      Hubbell was asked about this statement in the grand jury:

                                              .ii.
                                              ii.     Watt GrecoD'
                                                           GreeOD'
                                                           GreeoO'

                               Watt Gregory,12I
                                    Gregory,128 a senior member of the securities section at Rose, remembers that there

                                gen~ral discussion" within the finn
                      was "some general                        firm about whether the finn
                                                                                      firm should undertake
                                                 129
                      representation ofMadison.
                                     of Madison. 129 Gregory remembers talking
                                                                       ta1king to Mrs. Clinton "about whether we

                                                     Madison] , or what some of the issues might be in connection
                      should or shouldn't [represent Madison],                                         connectie:n with,
                                                                                                       connectia:n with.

                      the ability of the savings and loan to raise capital
                                                                   capitaJ by that particular method."110
                                                                                              method."1
                                                                                              method. ,,]30
                                                                                                      ,,130
                                                                                                         10 Gregory testified

                      that "Mrs. Clinton was instrumental in introducing the client to the members of the finn
                                                                                                          firm ...
                                                                                                               . .. "nl
                                                                                                                    "131
                                                                                                                    " nl
                                                                                                                    "111




                    I
                      790-00000020 (emphasis added). See also Thomases Gl, 2129/96, at 45.
                                                                       GJ, 2/29/96,    45 .
                            ]2'
                            127 .
                            '"        Hubbell 302, 211195
                                                   211 195,, at 7.
                                                   2/1/95,
                            1281·
                            121
                            12      Watt Gregory left Rose in 1989, and later fonned
                                    Wan                                                       firm of Giroir &
                                                                              formed the law finn
                                   fanner Rose anomey
                      Gregory with former
                                   fonner      attorney Joe Giroir. Gregory 302, 5/24/95,
                                                                                  5(24/95,     I.
                                                                                               I.
                                                                                  5124/95, at 1.

                              129
                              129       Gregory GJ   1/3/96. at 7. Gregory testified that while he remembers some
                                                GJ,. 1/3/96,
                                                GJ.
                      discussion, he cannot remember "names, places, or dates" of such discussions. liL   ld..
                                                                                                          l.d. In an
                      interview .with
                                  ,with the OIC in 1985,
                                                   1985. Gregory remembered that one party 10  to the discussions was
                                                      5124/95 , at 2.
                                                      5124/95,
                      David Knight. Gregory 302, 5/24/95,
                              130
                              ""      Gregory GJ, 1/3/96,
                                                  113196, at 25-26.

                              131I
                              II
                              III    ld..
                                     l.d..
                                     l..d.
                                     l.d... at 6-7 (emphasis added).                         the: term
                                                             added). What Gregory meant by the    lenn "introducing" is
                      unclear. His interview with the OIC in 1985J 985 reads as follows: "RLF's opportunity
                                                                                                opponunity to represent
                      Madison Guaranty Savings & Loan (MGSL) came through Hillary Clinton in the mid 1980's."  ]980·s."
                                                                                                               ]980·s."
                                    5124/95, at 2.
                      Gregory 302, 5/24/95,         2.                                .'               .

                                                                        40

                                  6(e),, Federal
                  FOIA(b)3 - Rule 6(e)
                                  6(e).
                                  6(e),           Rul es of Crimina
                                         Federa l Rules     Criminall Procedure
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                           EXHIBIT 3 (Part 2)

                                     to

      Plaintiff’s Response to Defendant’s Statement of Material Facts
        Not in Dispute and Statement of Undisputed Material Facts
            in Support of Cross-Motion for Summary Judgment




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                  -.
            ...., ' -      '

                                      ~
                                      ,-__...JI"
                                      !  __
                                        -_ _.....t32
                                                      Gregory remembers two specific concerns about representing Madison prior to its

                                . .
                                                         r~presentation .. III
                                      fi undertaking the representation.
                                                         representation    1ll
                                                                           133. The first
                                                                           llJ                     ~as whether Rose should represent Madiso
                                                                                    ftrst concern. was                               Madisonn

                                       at all
                                          all:: Gregory felt that Rose,
                                                                  Rose. which had riot
                                                                                  not represented any savings and loans.
                                                                                                                  loans, did not have the

                                                    hanqle such a representation; also,
                                       expertise to handle
                                                    han4le                        a1so, Gregory believed that the ·business
                                                                                                                  'business
                                                                                                                   business potential

                                       representing Madison was small and the risks were great because be
                                                                                                       he understood that savings and

                                       loans in general and Madison in particular were having financial difficulties,
                                                                                                        difficulties , so he "didn't

                                       perceive Madison to have a particularly atti"a.ctive risk/reward ratio for our firm as a new
                                                                  particuJarly attractive
                                                                               anra.ctive

                                       client ." Il(
                                       client."Il~
                                       client."  Il~ The second concern was that what Madison wanted to do substantively was
                                       client.,,134                                                                                    was
                                       Wlprecedented and "there was no bright-line,
                                       unprecedented                   bright·line. black-letter
                                                                       bright·line, black·letter statement in the Arkansas statutes that

                                                                             stoCk."13~
                                                                                    nIH Gregory has no memory of any discussion at
                                       would say you can have two classes of stock."m
                                                                             stock. "m

                                                       of~e
                                       the origination of the retainer about Madison having
                                                                                     baving an outstanding  bill. l36
                                                                                               outSllinding ~ill.
                                                                                                            ~ilI. \)6 When asked about
                                                                                                                  U6


                                       how Massey came to be assigned the project,
                                                                          project. Gregory said, "I have some recollection that he, at

                                       one point, mentioned a friendship or an acquaintanceship with this John Latham."137
                                                                                                               Latham. "m
                                                                                                                       ,,137
                                                                                                                       ,, 137




                                                      132
                                                                 ,/1
                                                                  /ilL--
                                                                    L-I_ _
                                                                         _ __
                                                                            _--'
                                                                              --I

                                                      I)l
                                                      III
                                                      I133
                                                        ll .,'    liL.
                                                                  U1..
                                                                  ls1.. at 13, 15-16
                                                                               15·16 ("But I do kno
                                                                                                knoww that there was an open discussion
                                                                                                                             discwsion about the
                                                  ~e potential client, as well as the substantive issue, could a state-<:hartered,
                                      client, or 11le
                                                  lhe
                                                  the                                                             state-(:hartered,
                                                                                                                  state-<:hartered. stock-
                                                                                                                                    stock·
                                               ~vings & loan association have two classes of stock
                                               savings
                                      owned S:<ivings                                                   ... . But to my way of thinking, the
                                                                                                 stock. ....
                                      discussi' o ns about, 'Should
                                      discussi"ons
                                      discus.$i"ons         'ShouJd we be doing this,' took place before we undeItook
                                                                                                               undertook the particular
                                      projeri.
                                      projC9t. ").
                                      projefi·")·

                                                ,:.
                                                      I~
                                                      ,~
                                                                  w.. at 8·10.
                                                                  1<1.
                                                                  I<i    8-10..
                                                                         8·10
                                        ....-
                                                      '"
                                                      13S
                                                      '"          liL. at 13-14.
                                                                  1<1.
                                                                  I<i     \3·14.
                                                                          13·14.

                                ".i
                                                      116
                                                      136 .
                                                      '"          liL.
                                                                  1<1.
                                                                  ld. at 18.
            ....:----.....
            .;,-
                                                      '"
                                                      137
                                                      '"          ld.
                                                                  1<1. at 29.
                                                                          29 .

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        ·1m~6?![
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                                                of Crimonal
                                                   Criminal Proceclure
                                                            Procedure
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         -.                                                        ••••
                                                                 ••••••
                                                                   ••••


                         3)1987-1992:
                         J) ·1987-1992: RLF ConflictsIWard
                         3)1987-1992:       ConflictslWard v. Madsibn/U.S.
                                                              MadsionlU.S. v. McDougal- [The RLF
                                                              Madsion/U.S.                       's
                                                                                             RLF's

                                                                         v. Frost is detailed in Dreiband & Myers,
                 conflict of interest in representing the RTC in Madison v.

                 "Summary of Rose Conflicts,"
                          afRose  Conflicts:' April ::1998.]
                                                     '1I 998.J
                                                         998.]
                                                        I

                 Barod
                 Borod &   Hu~~ins
                           HUi~ins    Ikpoo
                                      Report
                                                       i
                                                                      ~cDougal and Madison
                                               Fffi..BB ordered James McDougal
                         On July 11, 1986, the FHLBB                               Ma~ison President John
                                                                                                     JaM

                                             Guaianty.
                                             Guaranty.. Shortly thereafter.
                 Latham removed from Madison Guaianty
                                             Guaranty           thereafter, Madison'
                                                                            Madison'ss board hired the

                 Memphis'law firm of Borod
                 Memphis"law         Sorod & Hugg~ns to investigate Madison Guaranty.
                                           & Huggins                                   Barod &
                                                                            Guaranty . Borod & Huggins

                 issued a report on March 3, 1987, and
                                                   anq that report discusses various matters related to
                                                        ,
                                                        I




                 McDougaJ 's use of Madison GuarantY to benefit himself and other insiders.
                 McDougal's                                                                     Barod &
                                                                                  insiders. The Borod

                 Huggins Report also identified nume~ous
                                                nwne~ous persoQS  .- including Seth Ward --- as having engaged in
                                                         person,s --

                 "apparent cnm·inaJ
                           crim·inal
                           crim"inaJ
                           criminal violations."

                                        criminaJ referral to the United States Attorneys' office in Little Rock ·and
                         Madison sent a criminal                                                                 and

                 attached a copy of the Sarod
                                        Borod & Huggins Report. The Federal Bureau of Investigation
                                                                                   oflnvestigation
                                                                                   dflnvestigation

                 investigated the matter,         inve~tigation led to the indictment of McDougal, Latham, and
                                  maner, and that invdtigation
                                                        :
                                             maners :related to Castle Grande.
                 others in November 1989 for matters                   GrandeY'm
                                                                               \38


                         Borod & Huggins issued a second supplemental report on August 31,
                                                                                       31 ., 1988.

                 ·Coincidentally.        31 ., 1988 is the
                  Coincidentally, August 31,
                 ·Coincidentally,                        ,' same day the jury retunied
                                                       m:e                    returned a verdict in Seth Ward 's favor
                                                                                                         Ward's
                            ..                                                            ..
                 in the Ward case
                             case..



                    . "'See                         29A~2459. Serials 1,2,7,9,10,13,
                                                    29A~2459,
                      138See FBI Madison case file, 29A:2459,         1, 2,7.9,10,13
                                                                      I, 2,7    9, 10, 13,, and 52; and 105-00071012
                                                                         2, 7,, 9,10.13                  105-0007101 2
         .-.     et
                 el  seq.
                     seq. (which is a copy of the B~rod
                                                  Borod & Huggins  Report   that  Rose  produced   to the OK).
                                                                                                          OIC)
                                                                                                          OIC)..

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                     Be~an Work
                Rose Began WQrk For
                                FQr The FSLIC
                                        ESLIC 10          J 985.
                                              In December 1985.

                       In December of 1985, the Rose Law Firm
                                                         Finn began its representation of
                                                                                       Qf the government
                                                                        representatiQn oftbe  gQverrunent in

                connection                         JQan institutions. It represented the FederaJ
                                                   Joan
                connectiQn with failed savings and loan                                  Federal Home Loan Bank

                                                                          ofG~ty
                                                                          QfG~ty
                Board ("FHLBB") and its agent, the FSLIC, in the takeover of Guaranty Savings & Loan
                                                                                                LQan in

                Harrison. Arkansas.
                Harrison, Arkansas. Vincent Foster served as billing partner and lead counsel for the FSLIC.
                                                                                                      FSUC.

                The Guaranty matter proved                                           ~ose member Herb Rule,
                                    prQved quite lucrative for Rose, and Mr. Foster, Rose

                                                       effons during 1986 and 1987 to obtain more FSLIC
                and other Rose attorneys made repeated efforts
                                                       effoItS

                                  ClintQn billed the FSLIC for work on the Guaranty matter.
                business. Hillary Clinton                                           matter. Webb Hubbell did

                not bill the FSLlC
                             FSLIC for matters related to Guaranty, but he did receive memoranda about Rose's
                                                                                                       RQse 's

                representation of FSLIC.
                                  FSLlC. 139
                                  FSUC. 139
                                         1)9




                FirstSouth and C,
                FirstSoutb        Josepb Giroir
                               C. Joseph

                       During the Fall of 1986, the FHLBB began to prepare for .the                   of
                                                                                the imminent failure of
                                                                                                     ofan
                                                                                                        an

                Arkansas savings and loan institution named FirstSouth,       H.ubbeU described as "'the
                                                            FirstSouth. which Hubbell              "the largest

                savings and loan in Arkansas."14o
                                              "1«1 The FHLBB began to negotiate with various
                                    Arkansas.",«I                                    variow law finns
                                                                                                firms for

                work on the FirstSouth receivership, including the Rose Law Firm.
                                                                            Finn. The FHLBB learned that

                Rose had a serious conflict of interest with FirstSouth.
                                                             FirstSouth. The FHLBB threatened to sue Rose. The

                FHLBB also threatened to sever:
                                         sever its relationship with Rose.

                       The conflict involved Joe Giroir, a senior Rose attorney, and Giroir's work with




                   139See. e.g., a July 14, 1986
                   Il9See, e.g..            ]986 memorandwn            Fosterto
                                                 memorandum from Mr. Foster   to Mrs. Clinton, Mr. -Hubbeli
                                                                                                   Hubbell and
                                                                                                   'Hubbell
                others at Rose which attached copy of an appellate opinion in the Guaranty matter. 264-
                00022363-76.
                00022363· 76.
                   14 °2625-00001113.
                   '''2625-00001113.
                   '''2625· 0000111
                            000011133..

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          .- .          FirstSouth prior to its failure.
                        FirstSoUl.h                                    negotialted
                                                failure . Webb Hubbell negotialted.
                                                                       negotiMed
                                                                       negotiated and signed a $3 million settlement

                        agreement with the FHLBBIFSLIC, and Rose managed to salvage
                                                                            saJvage the business.

                                Mr. Foster, Mr. Hubbell, and Hillary Clinton began meeting jn
                                                                                           in Mrs. 'C linton's office
                                                                                                    Clinton's

                        "aImost daily ."l. ' Mr. Hubbell later wrote:
                        "almost daily.'Il·
                                daily.'Il·,
                                daily."141

                               Hillary was angry, too. She had participated :in               ofVincc's
                                                                                   in several of                caJls to
                                                                                                 Vince's phone calls
                               the FSLIC assuring them that we had no conflict. She felt betrayed.
                                                                                                 betrayed. She also
                                                                                                                 aIso .
                               worried that a S 10 million claim woUld
                                              $10
                                              S10                would finaJly
                                                                 wowd        finally put the                          th~
                                                                                             oldest' law finn west of the
                                                                                         tbe oldest
                               Mississippi out of business. Years
                                                             Years later.
                                                                     later, she would tell me that the years 1987-88
                                                                        I 2
                                                                  life,142
                               were the two hardest years of her life.
                                                                  life.'42
                                                                        ' ••

                               On November 10,
                                           10. 1994, Hillary Clinton told '[he FDIC~OIG when asked about FirstSouth
                                                                          the FDIC-OIG

                       that ""there                       C. Jose~h
                              there were issues involving 'C. Joseph Giroir, a former                   [she] was unaware
                                                                               fonner Rose partner, but [she]

                       . of
                         afwhat
                            what those issues may have been.     stat~ she had
                                                       been. She stated    bad no involvement with the FSLIC and any

                                    inVOlving FirstSouth or Mr. Giroir."'·]
                       negotiations involving                   Giroir."'·l
                                                                Giroir."143
          .-,
          .,-,

                               Additionally, Hubbell testified in 1996 that hI:
                                                                            he "may have taken" his FirstSouth files from

                       Rose when he left           eame to Washington in January 1993. 144
                                    left: Rose and came                                144
                                                                                       loW



                       Seth Ward y.         Guaranty
                                 y. Madison GUaranty

                               In mid-1987, Seth Ward began
                                                      begari to complain that Madison owed him "commissions" for

                       the sale of the IDelCastle
                                       IDC/Castle Grande land he warehoused for
                                       IDe/Castle
                                       IDelCastie                           fOT Madison Guaranty and Madison


                       Financial. On June 1, 1987, the FHLBB issued a subpoena to Ward as part of its investigation of


                            4l
                          14lFriernis,
                          14'Friends,
                            Friends, at 132.
                          '141Friends,


                           142Friends, at 132.

                          143H.R. Clinton FDIC-OIG
                          IHH.R.
                          'OH.R.
                          '4lH.R.                                11/10/94, at 5 (emphasis
                                           FDIC·OIG Statement, 11110/94,                                      abov!!, Mr.
                                                                                  (!!mphasis added). As noted above,
                                                                                  (I!mphasis                          Mr.
                                                                                                                      Mr,
                       Hubbell's                               Mrs ..Clinton'
                       Hubbell 's book, Friends, suggests that Mrs.  Clinton'ss statement- that she was "unaware"
                                                                                                        '"unaware" of
                                                                                                                   oflhe
                                                                                                                      the
                                                                                                                   oftbe
                       First South issues-- is false.

         ,....,...
         r"               144Hubbell        Testimony,., 217/96.
                          '44Hubbell Senate Testimony
                          ''''Hubbell                    217/96,
                                                         2/7/96, at 158.

                                                                           44

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         ~-',

                    Madison GuaranfY.14~
                    Madison               .1
                                           •.._
                            Guaranty.145 ,LI  - _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _"'-',,146
                                                __________________                        46 Shortly
                                                                                                                                                           .;...I!'




                    thereafter, Ward decided to sue Madison Guaranty Savings & Loan and Madison Financial

                    Corporation.

                           Ward filed a'a lawsuit
                                          Ia\\'Suit against Madison Guaranty and Madison Financial on September 2,

                    1987. Ward's co~'plaint               of "commissions" Ward claimed that Madison owed
                                 complaint sought payment of"conunlssions"

                    him fur             work~n
                        for his work on the IDC/Castle Grande matter. Ward's attorney for the initial part ofthe                                                 ~
                    case was Alston Jennings of Wright, Lindsey &.
                                                                & Jennings,
                                                                   Jennings.

                           Ward's yarious
                                  rarious agreements with Madison Financial, his sham loans to and from Madison,
                                                                                                        Madison •.,
                                                .                                                                                   '




                    the May 1, 1986 option agreement drafted by Hillary Clinton, and the history of his dealings with

                            were,' at issue in the case. The case was tried before a jury on August 30 and August 31,
                    Madison wen;

                    1988, and th~
                              the jury returned a verdict in Ward's favor. Hubbell attended' at least portions of the
                                        .                                                           '



                                                          h~ar Alston Jennings give his elosmg
                    trial, allegedly because he wanted to hear                          closing argument.

                           Fr~m September through November 1988.
                           Frqht                           1988, after the jury returned its verdict, Hubbell
                                    ;                                                                                                                                 ,



                    served and filed a series of documents related to 'Y.:TIts
                                                                      writs of garnishment On
                                                                                           on behalf of Skeeter Ward,
                                :           .

                    Skeeter's wife, and POM.141
                                        POM.147 Skeeter Ward and POM had loans outstanding at Madison
                           ;                                     .                                                                      .       .      .
                            .                                                                                                               '




                    Guaranty. By means of the writs of gamislunem.
                                                       garnishment, Hubbell and the Wards sought to have the trial

                          ~:rder Skeeter Ward and POM to pay Seth Ward the monies Skeeter and POM owed
                    courtq'rder
                    court

                            Guarat'!-ty. The writs eventually became moot as the p~es
                    Madison Guaranty.
                    Madi$on                                                      p~ies entered into an escrow

                        .                           .
                       I~SSee Exs.
                       "'See  Exs, 4 and 33 of the FDIC-OIG Supp. Rep., 9120/96;'-----------.
                                                                        9/20/96;

                                                                                                                                        . ~ .............. .

                      ;;:1.------------------=----,
                t
                                        8/3/95~Ex.'12T
                                                                                                                   .•.... - .....
                     , 147RTC-OIG
                       '''RTC-OIG Rep., 813/95, Ex; 123                                                 ........
                                                ,   ........ ......
                                                             ,       ,   ..   '   .............•.

                                                    .. ..... .........
                                                                                                              45
                    FOIA(b)3 - Rule 6(e), Federa!
                                          Federal Rules of Criminal Procedure
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            ~.

                     agreement while the case was on appeal
                                                     appeal .

                             In October of 1989, Hubbell
                                                 Hubbellieamed
                                                         learned that the state appellate court dismissed the appeal of

                     Ward's case. HubbeH
                                  Hubbell called Alston Jennings to relay the news of the dismissal, and Jennings

                     then retrieved the escrowed money and gave it to Ward. The FDIC and RTC,.however,
                                                                                         RTC, however, removed

                                                                  conservatorship - and Wright, Lindsey & Jennings
                     the case to federal court --- Madison was in Gonservatorship

                     had to agree to indemnify the R
                                                   RTC
                                                     TC for the escrowed money while the case was on appeai
                                                                                                     appeal in the

                     federal courts. Wright, Lindsey & Jennings withdrew from the case, but demanded that Ward
                                                                                                          Wa.«l

                     agree to indemnify the finn.
                                            fInn . Ward agreed, and Hubbell
                                                                    HubbeH negotiated an indemnification
                                                                                         indemnifIcation agreement

                     between Ward and Wright, Lindsey & Jennings,
                                                        Jennings.

                            The case continued on appeal
                                                  appeal1ll1tiI1993,                              case, As part
                                                         until 1993, when the parties settled the case.    pan of the

                     settlement, Ward returned the money he obtained as a result of the jury's verdict. 1148 HubbeU
                                                                                                          '" Hubbell


                    advised Ward on the settlement (although Ward primarily used another Jawyer,
                                                                                         lawyer, Thomas Ray),
                                                                                                        Ray).

                                                  invQlvement in the Ward case from the FDIC and the RTC.
                            Hubbell concealed his involvement

                    Hubbell said that he "did not tell Breslaw about this representation because it was

                    insignificant. "149

                    Rose', W!!rk For
                    Rose's Work      Ill' EDIl;
                                 ForThe   FDIC

                            Rose began its work for the FDIC in approximately July 19S7. 1JO Vince Foster served as
                                                                                   1987.tjO

                                                            FSLIC matters, while Mr. Hubbell served in that function
                        blUing partner and lead attorney on FSLlC
                    the billing




                        "~--------------~
                        I'~------------------~
                     .,' .... '''Hubbell FDlC·OIG Interview, 3116/95,
                              149Hubbell FDIC-OIG            3116195. at 7.
                        \.~o264-00009841-90 .
                        '''264·00009841·90.

                                                                        46

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                                                                associ~te Rick Donovan on a case which involved
                      for FDIC matters. Mr. Hubbell worked with associate

                      professional liability matters related to Coming
                      professiona1liability                     Corning Bank. The Coming                  to Rose
                                                                                          BMk matter came to
                                                                                  Corning Bame

                      because the prior law fmn,
                                            frrm,the             firm of Wright, Lindsey & Jennings,
                                                 the Little Rock fum                       Jennings. had a conilict
                                                                                                           conflict of

                      interest. lSI
                      interest  !51

                                                     ,
                               By December of 1987, April Breslaw was the responsible FDIC anorney
                                                                                           attorney for the Coming

                      Bank matter. Breslaw worked with Mr. Hubbell and Rose associate ruck
                                                                                      Rick Donovan on the matter.

                               1988: Res.
                      November J988: Rose Afu;ml1\S    QualitY As FSLlC
                                                    IQ Oualify
                                          Attempts 10             FSLIC Fee COWlsel
                                                                            Counsel

                               During October and November of 1988,
                                                              19f58, Vince Foster and Rose attempted to qualify to

                     act as fee counsel to the FSLIC
                                               FSL1C for six Arkansas savings and loan institutions which were about

                     to enter conservatorship or receivership. One of                    was
                                                                      thuse institutions was Madison Guaranty.
                                                                   ofth6se

                               On Mooday.                                       conflicts check lists for the six
                                  Monday, October 31, 1988, Foster received the oonilicls

                                            ls2 The conflicts Jist
                     Arkansas institutions. In                list for Madison Guaranty contained references to Jim and

                     Susan McDougal.
                           McDougal, Frost partner James Alford, and Castle Grande,
                                                                            Grande. It listed law firms and lawyers
                                                                                                            iav,:yers

                     which FSLIC knew had performed legal work for Madison Guaranty. Those finns
                                                                                           firms included

                     Little Rock's Mitchell, Williams, Selig & Tucker and the Memphis firm
                                                                                      finn of Gerrish & McCreary

                     (which was the successor to Borod & Huggins).ISJ
                                                         Huggins),1S) The Madison Guaranty conflicts list did not

                     mention Rose.

                               The next day,'Tuesday,
                                        day,Tuesday, November 1.
                                                              1, 1988)
                                                                 1988, Foster circulated a memorandum to all Rose




                         '''Hubbell
                         IS1Hubbell RTC-OlG            4/2Q/95, at 11-12.
                                    RIC-OIG Interview, 4/20/95,    11·12.


         ,-   '




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              FOi,..\{b~3 - Rule G{e),
              FOIA(b)3           6(e), Federal
                                       Fecleral Rules of Crim inal Proced
                                                         Cnminal          ure
                                                                   Procedure
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           -.                            anorneys
                                         anomeys                      conflicts check lists. Foster
                                         attorneys which attached the conflicts'
                                                                      conflicts'check        Foster also sent Hindes a letter which

                                         infonned Hindes that Rose represented a P.art;'
                                                                                 party adverse to the FSLIC
                                                                                 P.art)'
                                                                                 P.arty               FSLlC                 Univers~1
                                                                                                      FSUC in a case called Universal

                                      . Savings & Loan Association v.
                                                                   v. First Investment Securities.
                                                                                       Securities. 1)(
                                                                                                   lSot ·Hindes
                                                                                                   154
                                                                                                   1)4   Hindes called and asked about the

                                        Universal Savings matter and "advised
                                                                     " advised that the representation might constitute a conflict which

                                        could disqualify [Rose]
                                                         fRose] from being considered."I
                                                                           considered.
                                                                           considered."IH
                                                                           considered               day, Hindes called
                                                                                         H The next day.
                                                                                      ."IH
                                                                                       "m                       ca.1led again and

                                        "advise[d] that this representation was deemed to be a conflict of such a nature to disqualify

                                        [Rose]
                                        [Rosel from being fee counSel
                                                              counsel on any.
                                                                         any'    receivership,"')6
                                                                                 receivership,"'J6
                                                                         any new receivership. "1J6
                                                                                               "156



                                                              On Thursday,
                                                                 Thursday , November 3, 1988, Foster circulated another memorandw:n
                                                                 Thursday.                                              memorandum to Rose

                                        attorneys. That memorandum stated in relevant pari:
                                                                                      part:

                                                                                             flffil represents Defendants in an action by a
                                                              Stop the presses. Because the ftml
                                                                                             fInn
                                                                                             finn
                                                                               whi,ch is now in receivership by FSLIC (although it was not at
                                                              savings and loan which
                                                              the time we  undertook the representation), Wlder
                                                                       w,e Wldertook                                        FSLIC policy we are
                                                                                                             under current FSLlC
                                                              disqualified from receiving any new business while'
                                                                                                                while" that case is pending.
                                                                                                                while
                                                              Accordingly. you should ignore the corlflicts
                                                              Accordingly,                           coriflicts memorandwn
                                                                                                                memorandum circulated earlier
                                                              regarding Arkan~ savings and loan institutions which are prospects for
                                                              receivership. We should focus our efforts on trying to represent buyers instead of
                                                              receivers."IS7
                                                                        "m
                                                                        "In
                                                                        "157



                                                              Foster persisted. On Tuesday,
                                                                                   Tuesday. November 8,1988,
                                                                                                     8, 1988, Foster sent FSLIC
                                                                                                                          FSLlC attorney James

                                                   Jette
                                        Lantelme a lette

                                                   -'m
                                     ' -_ _ _ _ _ _...J m      Monday. February 21,1988,
                                                        IS8 On Monday,          21,, 1988, Hindes sent Foster a letter which stated
                                                                                21
                                                                                21.
                                     '--------~




                                                      mRTC-OIG Rep. 8/3/95.
                                                      '''RTC-OIG    8l3/95.      III, Ex.
                                                                    8/3/95, Vol. III.     9611
                                                                                      Ex. 96 ....___.. ----1
                                                                                                  _ .•




                                             /
                                                 /0
                                                 -'
                                                 --
                                                      }-'
                                                        'D·   0.
                                                      "'281-024945;
                                                      m281-024945;RTC-OIG
                                                      "'281-024945                   8/3/95. Ex. 25.
                                                                             Rep.,.• 8/3/95,
                                                                   ; RTC-OIG Rep                 25 .

            ____'11""---'
           .~
            ~       .'11f"'----,
               ......'1
                       11..-___--'
                          "          .....
                                                       '-----'
           !        ,,'       ......
                              ..... .
                "     ....                                                                            48
         :,,'

NW:  1541~Blttfu!bo~~5f1Rgea8§ules
N W: 1541mellt  1\i'bo1~5Fp!lg&"8§ules of Criminal
                                          Criminal Procedure


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          ·~'"




                      :C,[1e
                      2          }r, ,,-, _-:--_ _ _ _ _ _ _ _ _ _ _---1
                                 }'lj9
                                 jr--'15-9- - - - - - - - - - - - - -......\
                                                                                                                    I
                               Foster's letters did not disclose the Rose Law Finn's
                                                                              Finn 's prior work for Madison Guaranty,
                                                                                                             Guaranty.

                       and no one has ever found any document which would indicate that FSLlC,
                                                                                        FSLIC, the FDIC, or the

                           ever·
                           everl~ed
                                 l~ed of
                       RTC everkamed
                           ever learned oCRose's
                                          Rose's prior work for Madison Guaranty before press reports
                                                                                              re-POrts of that work
                                                                                              repolts

                       during the 1992 campaign, and then during the investigations which began in the fall of 1993.
                                                                     investigations·which

                                                              Hiliat)' Clinton's business partnership with the McDougals,
                       Foster's letters also did not disclose Hillary
                                                                       .,
                       Rose's work on Castle Grande, or Rose's legal
                                                               legaJ work for Jinunie Alford's company, Precision

                       Industries.
                       Industries.

                               In any case, a regulatory change occurred which                  soltcit the FDIC for that
                                                                         Which required Rose to solicit

                       work.

                               On February 28, 1989,
                                               1989. in response to the regulatory changes that occurred
                                                                                                occwred during January

                                                                                   to
                       and February of 1989, Vince Foster sent solicitation letters to the FHLBBIFSLIC and the FDIC.

                       He did not mention the Rose Law Firm's
                                                       Firm'5
                                                       Finn's                                                   16O
                                                                                                                16O
                                                       Finn'5 prior work for Madison Guaranty in those letters. 160
                                                                                                                160 ..

                               On August 9, 1989, Congress and the President enacted the Financial
                                                                                         FinanciaJ Institution Reform,
                                                                                                               Refonn,

                      . Recovery and Enforcement Act ("FIRREA").'61
                                                     ("FIRREA").161 Among other things, FIRREA abolished the

                       FSLIC, and created the RTC to manage failed savings and loan institutions.
                       FSLlC,                                                       institutions.

                       ~ubbell Be2an
                       Hubbell       · "Lawyering With A vengeance"
                               Be~an"Lawyering
                               Be~an
                               8ee'an"Lawyeriog          veoeeaoce"
                                                         yengeance" 10
                                                                    In Early 1989.



                          151
                          "1...____- - '
                            L _ _ _----'
                                           ...1



                          .// 160
                          ../ ""281-00003361-3369;   264-00025765-81 ; 264-00025889-902;
                                  281-00003361-3369; 264-00025765-81;
                              '''281-00003361-3369;                    264-00025889·902; 281-00001578-86; 281-
                       .029581-89
                        .029581-89 (emphasis added).

          :  -
          :.---           '''Pub. L.
                          161Pub. L No.
                                     No . 101 . . 73, 103 Stat. 364,
                                          101-73,.
                                          101-73,
                                          101-73,'              364.

                .'
                                                                            49
           .'



         Im~)IlI' ~OIlO:l(j;~~I?
     154 1m~)I:l:I' ~O@D1(i~,5=P~I~ules
NW : 154i=ID~)ld~
NW:  154                                          I 81Ules
                    ~OIlill(ji~S'I?I~les of Criminal Procedure

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          ---',                      Jan~ 1989, Rose
                                  In January    Rose·members  told· Hubbell
                                                     ·members told           they "wanted [him] out of
                                                                    Hubbell·they
                                                                            ·they                      finn
                                                                                                    offinn
                                                                                                       firm

                                  altogether."1
                                  altogether."162
                       management altogether.   62
                                              "162
                                                               . FOIA(b)
                                                                 roIA( b ) 6
                                                                 roIA(b)
                                                                 rOV.(b)

                      LL-________________________
                        _________________.J so Mr. Hubbell ."resolved to build up [his]
                       practice, increase [his] billings[, and] began lawyering with a vengeance
                                                                                       vengeance."L6)
                                                                                                 ." L6) Along with Vince
                                                                                       vengeance."163
                                                                                       vengeance."16J

                       Foster, Mr. Hubbell focused oonn obtaining more
                                                                  moie FSLIC and FDIC work, as he "was in the process

                       of trying to dramatically increase {his]
                                                          [his]                 ~nn."J~
                                                                                ~nn
                                                                                ~nn."l64
                                                                                    . "l64 In shon,
                                                          [his) billings at the firm."I6-C              ')udgmen~
                                                                                                        '1
                                                                                                        '1udgmen~
                                                                                                           udgmen~ was
                                                                                              shan, his ''judgment
                                                                                              short,

                        clouded. "16j
                       .clouded. "16j
                                 "J6J
                                 "J6j




                       FDICIRTClMadjsoD Guaranty y. Frost & Company
                       FDICIRTClMadjsoo
                       FDICIRTClMadison                     CompanY

                                  Mr. Hubbell accepted the Madison Guaranty v. Frost case at a time when "in the only

                       measure that counted -- how mll;ch
                                                   much you were billing --
                                                                         - [he]      was the low man on the totem
                       pole. ""166
                       pole."I66166

            - ....
         .-.----
                                 The Frosl                        1997, has "become pan
                                     Frost case, Hubbell wrote in 1997.             part of the industry known as

                       Whitewater."161 He predicted.
                       Whitewater."167    predicted, ominously:                            evolving, I expect Madison
                                                     ominously: "The way all of this keeps evolving,I
                                                                                           evolving.

                       v.
                       v. Frost to eventually be linked with Lee Harvey Oswald and Deep Thoat.
                                                                                        TIuoat."'61
                                                                                        TIuoat.""168
                                                                                                  16I

                       The Ori~ios
                           Ori~ins Qf
                           Qri~ins Of Madison }J.
                                              )I.
                                              )J. FroSi
                                              y. Frost


                                                                                                                           ,.,(,-.
                           162Friends,
                           162Friendr, at 145.

                             63ld. at 145.
                           16J/d.
                           I163ld.    ]45.

                           I""Friend. at 147.
                           164Friend,
                           If>4Friend,

                           1 6~1d. at 147.
                           16j/d.
                           16SId.
                           165Id

                           166Friends,
                           I66Friends, at 145.

                           167 Friends. at 148.
                           167Friends.
                           167Friends,
                           167 Friends.    148 .

         .-
         --
         --                168Friends,
                               Friends, at 149.
                           161Friends,
                           I6'Friends,
                           161


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          .- ..
                            ·. After the Borod & Huggins law firm issued its 1987 report, it concluded that Madison

                      Guaranty had a viable claim against Frost & Company,
                                                                  Company , the accounting firm which perfonned
                                                                                                      performed

                      audits on Madison Guaranty for the years 1984 'and
                                                                    and ·'1985.
                                                                          1985. On February 29,
                                                                    'and·1985.              29, 1988, Madison

                      Guaranty filed a complaint in Arkansas state court
                                                                   COW1 against Frost & Company, and other


                                             Jinunie D. Alford. Mr.
                      individuals, including Jimmie             Mr. Alford was the Fros! panner in charge of the 1984
                                                                                   Frosl partner
                                                                                         pamer

                      and 1985 audits of Madison Guaranty.  169 Madison Guaranty alleged that Frost was negligent
                                                 Guaranty . 169

                              performed the 1984 and 1985 audits.
                      when it perfonned

                                    Decjded To Hire Rose for the Erost
                      April Breslaw Decided                      Frost Case
                                                                       Case..

                             .on
                             .on
                             .on                                      conservat.or
                                                                      conservat,or of Madison GuarantY.
                             On February 28, 1989, the FDIC was named conservator
                                                                      conservatpr                        171l
                                                                                              GuarantY.170
                                                                                              Guaranry .I'c
                                                                                              GuarantY  .170     April

                      Breslaw,         attorney. became respo~sible
                      Bres!aw, an FDIC anorney,
                                       attorney,        responsible for the Frost case. Ms. Breslaw detennined that

                                                            McCreary. had too many conflicts of
                      Borod & Huggins' successor, Gerrish & McCreary,                        ofinterest.  11111 She
                                                                                                          17

         .-
         .0'--'.


                                                                             tak~ the case.
                      contacted Rick Donovan at Rose and asked if Rose could tak~
                                                                             take;
                                                                                                interest. 171
                                                                                             ofinterest.I"?

                                                                                               Mr. Donovan directed
                                                                                      caSe.. · Mr.
                                                                                      case

                      her to Mr. Hubbell.
                                 Hubbell.1n
                                          m
                                          172


                             On
                             00.       21.
                             On. March 21,1989,  Mr. Hubbell circulated to other Rose attorneys a memorandum about
                                       21, 1989, Mr.

                     conflicts of interest related to Madison v.        173
                                                              v. Frosl. i7J
                                                                 Frost.17J
                                                                 Frosl.     Mr.
                                                                            Mr. Hubbell "was
                                                                                        "'was aware that Mrs.
                                                                                                         Mrs. Clinton



                            169
                            '''1105-070547-52;
                                 05-070547-52 ; 281.;01612;
                            "'105-070547-52;     281 '01612; Alford
                                                 281'01612;  Alfmd OIC-302,  2/6/98, at 1-2; Alford RTC-OIG
                                                                    OlC-302, 216/98,
                                 917194, at 1-2.
                                 9n194,
                     Statement, 9nl94,      )·2.

                         'lOCI 105·00022985
                         17Oe!
                         ''''Cf 105             (3/2/89
                                                (312189 letter to Beverly Bassett
                                    .. 00022985 (312/89
                                105-00022985                              Bassert from a FHLBBIFSLIC
                                                                                         FHLBBIFSLlC representative).
                                                                                                     representative)

                         I7lBreslaw Senate Banking Comm., 11/30/95,
                         171Breslaw
                         17LBreslaw                          /3           24-25; Breslaw Grand Jury Testimony,
                                                                0/95 , at 24·25;
                                                          11 /30/95
                                                             /30/95,                                Testimony ,
                     6/16/94,
                        16/94,, at 7-10.
                     6/ 16/94      7-lO.                               .

                         172Interview                                                       1111194.
                         I"?2Interview with Webster Hubbell by Jack Smith and John Downing, 1111/94
                         I12Interview                                                       1111 /94..

                       . 173Hubbell
                         '73HubbeIJ House Banking Comm.,  8110/95,
                                                  Comm ., 8/ 10/95, at 47; House Banking Comm. Index,
                                                             10/9.5,                           Index. 8/10/95,
                                                                                                      8/ 10/95, at
         .--k        242 .
                     242.

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      had been the billing attorney in 1985 and 1986 ... [and] that for a period ohime,
                                                                                 of time, we [Rose] had

      done some work for Madison,      Mr. Hubbell admitted in testimony before the House Banking
                                  "174 Mr.
                         Madison."J74

      Committee that Rick Massey "dis,closed
                                 "disclosed that there had been prior work done at the Securities

      Department," either in the fall
                                 fall of 1988 or after Hubbell circulated his March 21.
                                                                                    21, 1989
                                                                                        1989

      memorandum. Hubbell did not disclose that infonnation to April Breslaw.
      memorandum,                                                             m. In testimony
                                                                     Breslaw.175

      before the Senate,.Mr.
                 Senate, Mr. Hubbell admitted that he did not tell Ms. Breslaw any details about Rose's

      prior representation of Madison Guaranty:
                                                                     I'If
                     Mr. Chertoff.         Did you teU
                                                   tell Ms, Bresla~, for example, that the Rose Law
                                                        Ms. Breslaw,
                                                                 M~dison Guaranty Savings in
                                           Firm had represented Madison
                                           Finn
                                                                   •
                                                               acqiusition of some property in '85 and
                                           connection with the acqUisition
                                                            Arkans~ Industrial Development
                                           '86 known as the Arkansas
                                           Corporation property? i1!1
                                                                  i,I
                     Mr. Hubbell.                                 in Jilat
                                           No, I'm sure I did not in l ~at specifics.
                                                                     I'
                     Mr. Chertoff.         Did you notifY        Bres~aw that, in · fact, the law firm
                                                    notify Ms. Breslaw                            finn had
                                           represented Madison Guanmty
                                                                  Guaranty in trying to obtain approval
                                                           Bassett-S~paffer in order to issue preferred
                                           from Beverly Bassett-Schaffer
                                                                       :levels in the bank?
                                           stock to raise the capital l,levels

                     Mr. HubbelL
                         Hubbell.          No, I did not.
                                                                     ,
                                                                     il

                     Mr. Chertoff.
                     Mr.                                               ~onnection with this same
                                           Did you indicate that in Connection
                                           property.
                                           property, this Industrial Development Corporation property
                                           acquisition.           Ros~ Law Finn had given regulatory
                                                        thlit the Rose
                                           acquisition, that
                                                                 G~ty concerning certain regulations
                                           advice to Madison Guaranty
                                                                  uti1i~ies and sewer utilities?
                                           that governed water utilities
                                                                     r I'
                                                                                   .
                    Mr. Hubbell.
                        Hubbell .          No, I'm sure I did not
                                                              not.   I;




//\     J74Hubbell fum
        '''HUbbel: House Bankin Comm.,
                      .. Bping         8/10/95 at
                                Cornm. 8/10/95, at 47. See als
                                                   47. See       atsrl"----------'I
                                                                     i'


  ~-,------------------~--------~.
             "'Hubbell                       8110/95, at 59.
             l7SHubbell House Banking Comm., 8/10/95,    59.

                                                     52




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           -.
          .- .
          ' ' - ''


                                      Mr. Chertoff.
                                      Me. Chertoff.         So what is it exactly you told Ms.
                                                                                           Ms. Breslaw
                                                                                               BresJaw about the nature
                                                            of your previous representation of Madison?

                                      Mr. HubbelL
                                          Hubbell.           As far as telling M~. Breslaw,            the
                                                                                   Breslaw,lIJ believe the words were
                                                           . something to the effect that we didn't have any conflicts, we
                                                             could take it on. There had been three matters that I had
                                                            specifically addressed - and this may have been less than a
                                                            30-second conversation ••
                                                                                    _. the primary one being whether
                                                                                    .-
                                                            the fmn  wou1d take on the litigation against Frost since we
                                                                finn would
                                                            had other clients who were still being audited by Frost &
                                                            Company.

                                      Mr. Chertoff.
                                      Mr. Chertoff.         So in this 30-second
                                                                       3D-second conversation,
                                                                                 conversation. you
                                                                                               ¥ou said that the firm
                                                            had taken on three
                                                                          tluee matters for Madison --

                                      Mr.
                                      Mr. Hubbell.          No, no, I didn't say that, Mike.
                                                                                       Mike .

                                      Mr. Chertoff.                                 3D-second conversation?
                                                            What did you say in the 30-second

                                      Mr. HubbelL
                                      Mr. Hubbell.           Mike, I'm trying to remember. What I'm J'm trying to say, in a
                                                             very short context, was that in my mind, there were three
                                                             issues. One was my father..;in-Iaw,
                                                                                   father-in-law, one was prior work for
                                                             Madison and the primary one being the Frost issue itself. I
                                                             knew that there had been a more complete disclosure
                                                             concerning our representation of Madison to the FDIC. II
                                                                                                                  that. 116
                                                           . probably improperly .assumed that she knew about that.176  176



                                      Mr.
                                      Mr. Chertoff.         Well, what did you tell Ms. Breslaw?
                                                            Well.

                                      Mr. Hubbell.
                                      Mr. HubbelL           1I told her that we did not have any conflicts.

                                      Mr. Chertoff.         Did you tell her that there had been earlier representations
                                                                                                         representatio ns '
                                                                                                         representations'
                                                            of Madison by the Rose Law Finn?
                                                                                           Firm?

                                      Mr. Hubbell.
                                          HubbelL           ·Yes.
                                                            "Yes.
                                                            Yes.

                                      Mr.
                                      Mr. Chertoff.
                                      Me.                   Did you describe them?



                          116We have found absolutely no evidence which supports Mr.
                          176We                                                  Mr. Hubbell's             that "there
                                                                                      Hubbell 's assertion that
                       had been a more complete disclosure concerning our representation of Madison Guaranty to the
                       FDIC."

                                                                      53

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                  7000 1585


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         ·- .'
         '~ "



                                M.-. Hubbell.
                                M.-.
                                Mr.
                                f\..1c. Hub bel l.    IJ think I said we had done some minor lending work for
                                                       Madison.back in the early '80s.
                                                                                  '80s .

                                Mr. Chertoff.
                                Mr.                   Minor --
                                                            •• what does "minor
                                                                         "m.ip.or lending work"
                                                                                          work " mean?
                                                                                          work"
                                                                                          wOll"

                                Mr:
                                M.-: Hubbell.
                                Mr:                   There would be some loans
                                                                           Ipans that we would have been
                                                      counsel to Madison on.
                                                                         on.

                                M.-. Chertotf.
                                M.-.
                                Mr.  Chertoff.        You mean collecting loans?

                                Mr.
                                M.-. Hubbell.
                                     Hubbell .
                                     HUbbell.        No, no, I meant like closing loans.

                                M.-. Chertotf.
                                M.-.
                                Mr.  Chertoff.        And did you --             y~u for any details about that?
                                                                  •• did she ask you

                               M.-. Hubbell
                               Mr.  Hubbell....
                                    Hubbell..        No.

                               M.-. Chertotf.
                               Mr.  Chertoff.          Now, did you refer her to some prior conversation that
                                                       Now I


                                                                          firm had had about what these
                                                       someone from the ·firm
                                                     . transactions were?

         -.
         . ~ ,.                M.-. Hubbell
                               M.-.
                               Mr.  Hubbell..        No, II did not.
                                                     No.

                               M.-. Chertotf.
                               Mr.  Chertoff.        Did you yourself give consideration to whether these
                                                     transactions were conflicts?
                                                                       confliCts?

                               M.-. Hubbell.
                               M.-.
                               Mr.                   II looked at it in
                                                                     in the context of the Frost litigation and
                                                                                    afthe
                                                     whether there would be a conflict, and I did not see a
                                                     conflict as to the prior representation since we were, to
                                                     some extent, standing in the shoes of         institu~ion :'
                                                                                           of the institution.

                               Mr. Chertoff.         Well, , let's get into the nature of the prior
                                                     Well,let's
                                                     Well                                            representations
                                                                                              priorrepresentations
                                                     and analyze that for a second. Were you familiar with the
                                                     fact that in 1986, the Federal
                                                                               Fedeml Home Loan Bank  Bani: Board,      .
                                                     which was reviewing Madison Guaranty, had       had. described the
                                                     acquisition of this Industrial Development Corporation
                                                     property as a fictitious ••-- involving a fictitious sale?

                               Mr.
                               M.-. Hubbell.
                               Mr.                   Was I aware in '86 at the time I was talking to April?

                               Mr.
                               M.-. Chertoff.
                                    Chertotf.        Yes, in '89.
                                                             '89 .

                               Mr.
                               M.-. Hubbell.
                               Mr.  Hubbell .        No, I was not aware of
                                                     No.                 of that in 1989.

                                                                54


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           ·- .
                                                               Mr. Chertoff.
                                                               Mr.             Were you aware of the fact that the firm
                                                                                                                    finn had represented
                                                                                                    co~ection
                                                                               Madison Guaranty. in connection
                                                                                                       .         with that acquisition?

                                                               Mr. Hubbell.    Yes, I was. I don't know that I had remembered it in '89,
                                                                               Yes;
                                                                               Yes;·
                                                                               but I( do --- I was aware of it. 177
                                                                                                                IT/ .



                                                Ms. Breslaw tells a slightly different story: "I
                                                                                              " I have no recollection of ever being told
                                                                                                                                     [old by

                                anyone at the Rose Law Firm
                                                       Finn that the             Ros~   I:.-aw
                                                                                        Law Firm had previously represented Madison

                                before it closed,"ns
                                          closed
                                          closed.. .."178
                                          closed,      178 Funhennore,
                                                       118                        "[w]hcn II retained .the
                                                           Furthennore, she says, "[w]hen              the Rose Finn to work on

                                Madison -- the Madison accounting case, it disclosed no conflicts of interest. ,,179
                                                                                                               ,,119


                                                Mr. Hubbell later admitted that he "exercised very poor judgment in taking on the [Frost

                                       110 Mr.
                                case]."O
                                case].180
                                case).     Mr. Hubbell decided to accept the Frost case even though some Rose partners objected '

                                               ~at Rose and Frost had common clients and did not believe Rose should sue a
                                on the grounds that

                                local             finn on behalf of the federal regulators. 181
                                1e:ca1 accounting firm                                      LII Mr. Hubbell disregarded his
                                                                                            III
                                                                                            LII



                                partners' objections and accepted the case.
                                                                      case.

                                                Mr . .Hubbell
                                                Mr.   Hubbelliater  wrote: "I was angry.
                                                              later wrote:        angry because even though they wanted me to start

                                                                                      reasori~ for me not to do it -- reasons that
                                billing, every time II came up with a case they found reasons                                 thai

                                                            mine. So II wasn'
                                were for their benefit, not mine.       wasn'tt in an accommodating mood. I]I took on Madison v.
                                                                                                                              v.




                                    I"Hubbeli                    12/ 1/95, at 98-102.
                                    I11Hubbell Senate Testimony, 12/1/95,
                                    177Hubbell
                                    117Hubbell

                                    L11Breslaw Senate Banking Committee Deposition, 7/28/94, at 26-29.
                                    178Breslaw
                                    I11Breslaw

                                    I~reslaw Senate
                                    L79Breslaw
                                    179Breslaw Senat.e Banking Conun., t 1130/95, at 25.
                                                               Comm., J.11/30/95,

                                    IIOFriends, at 146.
                                    1lOFriends,
                                    1lIJFriends,
                                    18OFriends,    146 .


           ..-
           .-                            ' _e._g_
                                    181See.
                                        ee.
                             1.._'_"5_'_'_
                          /1-___
                                    !lIS
                                    IIIS
                           ".JL-..._---:-,,-J
                              L.. I_ _           '--.,..-.
                                                   "F_ri_enJ(
                                                     e.g.,
                                                          . .
                                               ---",.,..-ll.//  . ~: ~tI47:' LI___________________---1
                                                     e.g .. Frienl~~~
                                                            Friends,.. ~.at~ . J4].;
                                                            Friends,
                                                              1·//··
                                                              .              -
                                                                               t.4].;,'LI_______________________
                                                                               147;L.1   _____________________                          ~
                                                                                         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _......_ _ _ _ _ _..J
                                                                                                                                        .J

                                                   .,         .. ....
                                                ....................
                                                  .... ..... .
                                                      -....
                                                  .......
                                        .....
                                 ............                                             55

             ~N~)l()OOU1i8l1eij~OOI
                 :'..........

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          @tml'<jb)roOOUlli&1Eij~OOI
          I}(!nllib)roOOJ lli&1eij~oo l Rules of Criminal Procedu
                                                          Procedure
                                                                  re



                                                                                         214
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          -.
          .""'--""
                       Frost."182
                       Frost."L'2
                       Frost."1'2
                       FrOSI ."'12


                        Madisoo Employees Compl3,ined
                        Madison           Complitjned
                                          Cowp13,ined                        RelatiQn~hiQ'
                                          Complillned About the Hubbell-Ward Relationship.

                               In June 1989, approximately three months after the FDIC hired
                                                                                       hir.cd Rose, a "noticeably
                                                                                       hir.ed

                       agitated" Madison Guaranty employee, Sue Strayhorn, infonned      leddeloh,
                                                                           informed Paul 1eddeloh,
                                                                                         Jeddeloh, Madison's
                                                                                                   Madison 's

                                    attorney. that Mr. Hubbell, Seth Ward, and Seth Ward II were in-laws.
                       intervention attorney,                                                    in-laws.1I)
                                                                                                 in-laws.III
                                                                                                          183
                                                                                                 in-laws.LIl

                               .on
                               On June 8, 1989, Mr. Jeddeloh
                                          1989. Mr. leddeloh
                                                    Jeddcloh wrote a letter to Ms. Breslaw
                                                                                   Brcslaw
                                                                                   Brc:slaw which             Mr.
                                                                                            wruch highlighted Mr.

                                                                                        11,',
                                                                                        II. L..1144 In his letter, Jeddeloh
                       Hubbell's in-law relationship with Seth Ward, and with Seth Ward 11.184
                                                                                        11.1                       Jeddeioh

                       explairied                    and Seth Ward II had lawsuits pending against the Madison
                       explained that both Seth Ward and,
                                                     and.

                       Conservatorship. 18~ Mr. Jeddeloh
                       Conservatorship.1i5
                       Conservatorship.mLi5                                  HubbeU "was present at the trial of the Seth
                                                leddeloh also explained that Hubbell

                       Ward matter and appears to have been an interested (indirectly) participant in the Ward

                       proceedings."  86 .
                                     J16
                       proceedings,"ll6
                       proceedings."1
                       proceedings."LI6

          .' - -

                               Ms.                                                 Vl.ard             1989. 111
                                                                                                            L17
                                                                                                            187
                               Ms . Breslaw spoke with Rick Donovan about the Ward matter on June 20, 1989.'"   Ms:
                                                                                                                Ms:

                       Breslaw
                       Bres law askcd Donovan if Hubbell was Ward's
                                asked Dooovan                        father-in-law,
                                                                     father-in-law , and Donovan confmned
                                                             Ward' s father-in-law,              confll111ed that
                                                                                                 confirmed

                       Breslaw and Hubbell were in-laws.
                                                in-laws. lu
                                                         LSI Shortly after her conversation with Donovan, Breslaw
                                                in-Iaws. ISS
                                                         III




                          182Friends,
                          1I2Friends,
                          Ll2Friends., at 147.
                          II1Friends

                          183Breslaw House Testimony,
                         'lIlBrcslaw                              46;; Ex. 15 to FDIC-OIG
                                           Testimony. 8/10/95, at 46             FDIC-DIG Rep., 7128195
                                                                                                7/28/95 (Jeddeloh
                                                                                                        (Jeddcloh
                                                                                                        (JeddCloh
                                            3/15/94).
                                            3/ 15194) .
                       FDIC-OIG Statement, 3/\5/94).

                          '''Ex. 99 to RTC-Rep., 8/3/95, vol. III.
                          J84Ex.                              III . .

                          "'Ex.
                          J8SEx. 99 to RTC-Rep., 8/3/95, vol. III.
                          "'Ex.

                          '''Ex.                              III.
                          J86Ex. 99 to RTC-Rep., 8/3/95, vol. III.

                          187Donovan Linle Rock G.J.,
                          LIlDonovan Little
                          IIlDonovan             G.1., 1121198,
                                                       1121 /98                                             ~une 20.
                                                            /98,, at 18-29; LR GJE 1651 (notes of Donovan's June
                                                       \12 1/98                                                  20,
                       1989 conversation with Breslaw).
                                              Breslaw) .

          .- .            JIlDonovan
                          rUDonovan Little Rock GJ:,
                          J88Donovan
                          "'Donovan             G;J;, 1/6/98.
                                                GJ.', 1/6/98,
                                                GJ.-, 116/98, at 93-94.

                                                                         56

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                   70001585
                   700015
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           -.                 Hubbell. She,described
                   spoke with HubbelL                                                 follows:
                                                                                      follows::
                                       She described her conversation with Hubbell as follows

                            [Mr . Hubbell] explained that he was not representing Seth Ward
                            [Mr.                                                           Ward.. He left me with the
                            lmpression that he did not have Iia: particularly close relationship
                            impression                                              relati9nship willi     father~in-law.
                                                                                                  with his father-in-law
                                                                                                           father -in-law .
       /                    I believe he suggested that his father-in-law was a relatively staunch Republican and
                                     ~elf had been involved in Democratic politics for
                                     hPnself
                            Hubbell tlPnself
                            Hubbelll$nself                                                 fo~ ~ome
                                                                                               some time. I1 believe he
                            was Mayor of Little Rock.
                                                 Rock
                                                 Rock.. So be
                                                            he has own Democratic political
                                                                                       pOlitical connections.
                                                                                                 connections.

                              And the way be                     to me was he and his father-in-law bad
                                             he represented it tome                                       had different political
                              ideas. He went to some lengths to make me have the impression that be             he was not
                                                                                                                        nO[
                              particularly·
                              particularly' close to his father-in-law and that be
                              particularly                                         he was not representing his father-in-law
                              and that he would not represem                                  future . 1
                                                        represent his father-in-law in the future.     I said,
                                                                                                         said , please put
                                                                                                                        PUI that in
                                        Conf1TlD
                                        Conf1l1D. what you've
                              writing. Confirm
                                        COnflflD          you ' ve just said in writing and send me a letter 10    to that effect.
                              And I believe he did that in June of 1989.
                                                                       1989: Once he had, in my view, confirmed in
                                       that there was no conflict, in other words,
                             writing .that                                      words. that he was not representing Ward ·
                                      matter against us and had promised not to do so in the future
                              in any maner                                                           future,, it seemed to me
                             'l,hat
                             t,hat there was no conflict of interest and II was not
                           . that                                                   nor - 1I did not conclude that it would be
                              necessaI)' 10
                              necessary  to replace the Rose Law Firm simply because Hubbell was related by
                             marriage to someone who was in unrelated   unreliued litigation, who was involved in
                             unrelated litigation. 189
                                                    Ln
                                                    L89                         .'

                            Ms. Breslaw
                                Bres law "generally
                                         "generaJly                                                   potentiaJ conflict]
                                         " genera1ly recall[s] being irritated that it [the Seth Ward potential

                  had not been disclosed initially."'90
                                         initiaJly."'90        Ms. Breslaw's "considerations" for keeping the Frost
                                         initially."I90 One of Ms.

                                                         that
                                                         thai Mr. Hubbell represented to her that Mr.
                                       Finn was the fact that
                  case at the Rose Law Firm                                                       Mr. Ward was .




                     LLI~reslaw
                       I~re slaw Senate Banking Committee Deposition,
                     lI~reslaw                              Deposit~on. 6/6/95,
                                                                          616l95,      23 ~24 .. See also,
                                                                          616195 ., at 23-24
                                                                                       23-24.        also. e.g.,
                                                                                                           e.g.
                                                                                                           e.g.,, Breslaw
                                   Comm. Dep., 10/23/95,
                  Senate Banking Comm.          10123/95, at 246 (same).
                                                                 (same) .

                        '90Breslaw                Comminee Dep.,10/23/95,
                        I90Breslaw Senate Banking Committee         10/23/95, at 40. ·Ms.
                                                            Dep. , ·10/23/95,                                    that :
                                                                                      Ms. Breslaw also testified that:

                                             infonned me about this family relationship, and 0 I contacted
                            [Paul] leddeloh informed
                            [PauJ]                                                                  con~ted
                            Hubbell to ask him about it. And at that point, he confirmed
                                                                                  confinned that he was related by .
                                                   family. But he told me that he did not represent Ward.
                            marriage to the Ward family.                                               Ward. And my
                                                                        t.old me, not
                            recollection of the conversation is that he told
                                                                        tpld      not only that he did not represent
                            Ward, but that he would not represent Ward in the future.
                                                                                  future.

                  Jd.
                  Jd.
                  ld.
                  Id.

                                                                         57


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                  70001585
                  70001 585 Page 95
                                 95


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          ·-.      not a client of the finn
                                       firrn.191
                                              .1 91
                                              .191

                            Mr. Hubbell concealed
                            Mr.         conceaJed Rose's
                                                  Rose ' s work on the IDC/Castle Grande matter from the FDIC and

                       RTC.1'92
                             9~ Mr.
                            19l
                       RTC.192
                   the RTC.     Mr, Hubbell only denies, weakly,
                                Mr.                      weakly, that he ever told April Breslaw that he and Seth

                   Ward were not close:

                                     Mr. Chertoff.        And did you indicate to
                                                                                to Ms.                   relationsh.ip
                                                                                   Ms. Breslaw that your relationship
                                                               yoUr father-in-law, Mr. Ward, [was] not a close one?
                                                          with yoUr'

                                         Hubbell.
                                     Mr. Hubbell.         Not thai
                                                              that I know of.

                                                                 • • •
                                     Mr. Chertoff.        And I want to read to you from line of the statement given
                                                          by Ms. Breslaw on page 200. "A few months after I had
                                                                          Finn, IJ learned that Seth Ward was Webster
                                                          hired the Rose Firm,
                                                          Hubbell's father-in-law and that Ward:was
                                                                                             Ward was in litigation with
                                                          Madison. Under the ethical rules.
                                                                                         rules, an adverse interest by an
                                                                        ~puted to a lawyer. It is not a conflict of
                                                          in-law is not imputed
                                                                    Nevertheless, I asked Mr. Hubbell about the Ward
                                                          interest. Neverthele~s.
                                                                    Neverthele~s,
                                                          matter. Mr. Hubbell told me that he was not representing
                                                          matter.
                                                          Mr. Ward and that he would not do so in the future. He
                                                          Mr.
                                                          also told me that his relationship with his father-in-law was
                                                                      one . I recall him saying that Mr. Ward was an
                                                          not a close one.
                                                                                                         Democrat." II
                                                          ardent Republican and that he was an active Democrat."
                                                          want to ask you, did you tell Ms. Breslaw that your
                                                          relationship with your father-in-law was not
                                                                                                     ~ot a close one?


                                         Hubbell.
                                     Mr. Hubbell.                                               193
                                                         . I don't remember that, Mr. Chertoff. 193


                     191
                     '9l Breslaw Senate Banking Conun.
                     '9lBreslaw
                     191Breslaw                 Comm. Dep.,    10123/95,, at 249. See also
                                                        Dep .• 10/23/95,
                                                               10123/95               a/so id
                                                                                           id. ("I believe that   if I
                                                                                                                  iff
                                                                                                            ihat ifI
                                                                                                            iliat
                  had understood  inJWle
                       wtderstood in              ~t Hubbell did represent Ward or Ward's interests,
                                     June of 1989 that                                          interests. that II would
                  have taken that up with supervisors. And 1
                                                           I don't know what they would have advised me to
                  do.").

                          19lBreslaw Senate Banking Comm., 11130/95, at 36-37,
                          192Breslaw                                              40, 42-43.       also id
                                                                                      42-43 . See a/so
                                                                           36-37,40,42-43.              id. at 32-45
                                                                                                        id.
                  for a fuller reading of Ms. Breslaw's Senate testimony in regard to Rose's
                                                                                      Rose' s work on Castle Grande
                       Mr. Hubbell
                  and Mr.   Hubbell's                       Rose-~adison Guaranty
                                    's nondisclosure of the Rose-Madison Guaranry relationship.
                                                                                    relationship .


           -.
           ~.
                       '9JHubbeIl
                      1'9JHubt>e'11
                       '93Hubbell                   217196, at·
                                                    217196,
                                                    217/96,
                        9JHubt>e1l Senate Testimon ,217/96,                a/so, e. . ,
                                                            at' 14-17. See a/so,e
                                                            at             also,e


                                                                    58
            !

NW: 15416~~(~3
NW: 15416~\5\3
    115416~A\5\3  'Z~J~~.~I~~Rules
      5 416~A\5\3 7!/ili1J
                  7!/ili1J ~~.~'%!iRules
                           ~~.~I1.Ii
                           ~~. ~I1.Ii R u les of Criminal Procedure


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          -                               After Mr.
                                                Mr. Hubbell spoke with Ms. Breslaw, he
                                                                       Ms. Breslaw, he directed Rick
                                                                                                Rick Donovan
                                                                                                     Donovan to draft aa letter
                                                                                                                         lener to
                                                                                                                                to

                                 David Paulson,              Madison Guaranty's
                                       Paulson, who was then Madison                      agent. Mr.
                                                                     Guaranty' s managing agent.                     the
                                                                                                 Mr. Donovan drafted the

                                                                            l9oI
                                 lener, then gave the draft to Mr.
                                 letter,                           HubbelL '94
                                                                   Hubbell.
                                                               Mr. Hubbell.
                                                                   Hubbell.''''
                                                                            1901


                                                      1989, Ms.
                                          On June 23, 1989,             sent aa letter
                                                            Ms. Breslaw sent           to the managing agent of the Madison
                                                                                lener to

                                                        Paulson.'"
                                                        Paulson.
                                                        Paulson,l95
                                 Conservatorship, David Paulson.19S  Ms.._Breslaw explained that Hubbell did not represent Ward,
                                                                 195 Ms.                                                   Ward ,
                                                                                                                           Ward,

                                                                pleldings on Ward's behalf,
                                 that Hubbell had not submitted pleadings           behalf. and that Hubbell would not    sO in·
                                                                                                                   nol do so in ·

                                 the future. l96
                                     furure.196

                                          Mr.                           Donovan' s draft and, on June 28,
                                          Mr. Hubbell apparently edited Donovan's                     28, 1989 sent .the
                                                                                                                     the .Iener
                                                                                                                          letter to
                                                                                                                         .Ietter

                                 Mr. Paulson 'with
                                 Mr.         -with a copy to April Breslaw and Rick Donovan. The June 28,
                                                                               Rjck Donovan.          28, 1989
                                                                                                          19891etter
                                                                                                          19891ener
                                                                                                               letter states:
                                                                                                                      states:

                                                  Paulson:
                                              Mr. Paulson:
                                         Dear Mr.

          .,-,.                                  At April Breslaw's                                   lener.
                                                             Breslaw' s request, Il am writing this letter.   nus letter is to advise
                                                                                                      letter. This
                                              tha~ IJJ have not represented Mr.
                                              that,
                                         you that                           Mr. Seth Ward in connection
                                                                                                   conneclion with any issue or
                                         mailer relating
                                         molter
                                         matter
                                         moUer   relaling to his disputes with Madison Guaranty.
                                                                                              Guaranty. It is my understanding
                                                                                                                   Wlderstanding
                                         that Mr.
                                              Mr. Ward was represented by Wright, Lindsey & Jennings    Jermings until recently..
                                                                                                                 Wltil recently
                                                                                                                       recently.
                                         When the FDIC became managing agent for the FSLIC As Conservator for              fo r
                                         Madison Guaranty, Mr.   Mr. Thomas Ray of          finn Shultz, Ray && Kurrus began
                                                                                        the firm
                                                                                     o.fthe
                                         representing Mr. W'P'd.
                                                             W<p"d.
                                                             W<p'd.
                                                             Wcp-d. In addition, JI do not represent Mr.           Ward. II.
                                                                                                         Mr. Seth Ward,
                                                                                                                   Ward.  11. in
                                                 to any disputes he may have with Madison Guaranty.
                                         regard 10                                                  Guaranty. IJ have no intention
                                         of representing
                                            represenling Mr.Mr. Ward or his son in the future                       molter relating
                                                                                                                    mailer
                                                                                           fu ture concerning any malter
                                                                                                                    matter
                                         to Madison ·Guaranty.
                                         10             G uaranty.
                                                        Guaranty.                                                                '.




                         J
                         .1  I
                                    "'Donovan
                                    194Donovan Linle       G.J
                                                           GJ.. 112
                                               Little Rock GJ.      1198
                                                                    1/98 at
                                                                1121198         4. See also ee.
                                                                            20-24.
                                                                         0120-2
                                                                            20-24.            .•R.I~.---------'"
                                                                                                M~.----------'
                                                                                                 ./~----------'
                                                                                             e.f!.1


                  !f!i .- ' - -_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _---l
                      j ;?
                          '-----------------~
                  !/
                  ;'
                   -! ,/"    ' Ex. 100
                           "195Ex.     to RTC-OIG
                                   10010  RTC-OlG Rep., 8nt95
                                          RIC-OIG       8/3/95..
                                                        8/3/95
              f1/,.
                  f!
              !/
               ,
          ---,f."".
          .-/"/
          '7/
          "-.'-.'
            if                      '''Ex.
                                    I96Ex. 100 to RTC-OIG
                                           10010  RTC-OlG Rep., 8/3/95
                                                                813195 .
                                                                8/3/95.

           .                                                                          59 .'
         ,.r
          FO IA(b)3 - Rule
          FOIA(b)3          6(e).
                            6(e),
                      Rul e 6(e    Federa ll Rules Dr
                                ). Federal         01
                                                   of Criminal
                                                   or             P rocedure
                                                      C rim in al Procedure
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                                                                                                  ..

         -.
         --:- ..
                                       Should you have any questions concerning this, please do not 'hesitate
                                                                                                     hesitate to call me.
                                                                                                norhesilate

                                                                                             lsi
                                                                                             /s/ Webb Hubbell

                                       CC: April Breslaw
                                       CC:
                                       cc:       BresJaw
                                                         197
                                           Rick Donovan 19'
                                                         191
                                                         19 7



                                       Mr. Hubbell did not tell Ms. Breslaw anything about his relationship with Seth Ward

                             other than that he and Ward were in-laws -- a fact contained in Mr.
                                                              in·laws··                      Mr. leddeloh's
                                                                                                 Jeddeloh's June 8,.1989

                             letter,
                             letter.191
                             letter. 19K

                                       In 1989, Hubbell read the 1986 FHLBB exam reports, and, in particular,
                                                                                                  panicular, he read the May

                                                                                                                l99
                                           report which criticized Ward and the IDe/Castle
                             8, 1986 exam 'report                               IDC/Castle Grande transaction.  199
                                                                                                  transaction .,l99 Then in

                             1990, Hubbell read the Borod & Huggins Report. Hubbell
                                                                            Hubbellieamed
                                                                                    learned that those reports described


                                               0.1. Ex. 1653 (emphasis added). See a/so,
                                '97Little Rock OJ.
                                197Little
                                197Linle       GJ.                                             e.g.
                                                                                               e.g" , Hubbell Telephone Interview,
                                                                                         also, e.g.,
         -.
         --
         ,..--                             ("April and I and Mr. Paulson had had some discussions about my father-in-law
                             12127/95,39 ('"'April                                                                 father·in·law and
                             concerns being raised by some of the employees of Madison about the Frost litigation, and this is
                                                              draft,
                                 lener that they asked me to draft.
                             the letter                       draft. tI). Rick Donovan testified that he knew nothing about
                                                              draft.").
                                                                     ").
                   ""-.\..   Rose's work for Madison Ouaranty
                                                         Guaranty and Seth Ward on the IDe/Castle
                                                                                            IDC/Castle Grande matters when he
                                                                                            IDC/Castie
                             drafted the June 28 letter to Paulson. He also had no knowledge of      ofHub~ell's
                                                                                                       Hubbell's involvement in the
                                           Donovan Little Rock GJ.,
                             Ward case. Donovan                  OJ., 1121198,
                                                                 0.1.,   1121/98, at 22-29.
                                                                                     22·29.

                                    Also on June 28,1989,
                                                 28,                                                              rel~ted to the
                                                                                                                  rel~ted.
                                                 28 ; 1989, Chris Wade wrote to Hillary Clinton about matters related
                                                                                                                  rell:lted.
                             Whitewater Development Corporation.                           Interrogs. Resp., 5/22/95,
                                                       Corporation. H.R. Clinton, RTC lnterrogs.             5122195,
                                                                                                             5122/95 , at 65 (and ·
                             accompanying exhibits). Mrs. Clinton apparently engaged in correspondence of various kinds
                             with Jim McDougalduring
                                      McDougal'during
                                      McDougal                                     (iridicating that Mr. Wade, Mrs. Clinton and
                                                                               id. (indicating
                                                during this time period. See id.
                             Mr. McDougal exchanged le.tters            22,1989,
                                                        le,ners on June 22, 1989, June 28,1989,
                                                                        22. 1989.       28, 1989,             5,1989,
                                                                                             ) 989, September 5, 1989, and
                                       20, 1989).
                             September 20.

                                198Jeddeloh
                                'UJeddeloh later recalled that
                                '9IJeddeloh                  th'at "[d]uring
                                                                   "[d]wing my tenure as the managing attorney for Madison,
                                                                                                                       Madison.. I did
                             not come into information
                                             infonnation that would lead me to believe that Rose had represented Madison at
                             any time prior to its closing."
                                                    closing." Ex. 15 to FDlC-OIG
                                                                           FDIC-OIO
                                                                           FDlC·OIG Rep.,
                                                                                       Rep. , 7/28/95
                                                                                              7128/95 (Jeddeloh FDIC-OIO
                                                                                                                 FDIC-OIG
                                                                                                                 FDlC-OIG
                             Statement, 3/
                             Statement.     15194).
                                            15194). Jeddeloh also
                                          3/15/94).              also stated that if Rose "had represented Madison previously as its
                                     counsel or on operational matters (as opposed to general
                             general counselor                                               generaJ collection and foreclosure
                             work), it is likely that JI would not have utilized the finn,
                                                                                       firm, or would have tenninated
                                                                                                             terminated the firm's
                             representation if subsequently discovered." Id.   Jd
                                                                               Id.

           -.
         ...-.                        ubbell Senate Testimony, 2n1
                                 I>'9Hubbell
                                 199H
                                 '99Hubbell                    2n196,
                                                                   96, at 217-18.
                                                               217/96,
                                                               217196,    217·18.

                                                                                60

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         .-- .     Ward 's dealings with Madison as involving fictitious sales, sham loans, and potential civil and
                   Ward's

                   criminal liability. Yet he never disclosed his, Hillary Clinton's,
                                                                           Clinton'S, and Rose's
                                                                                          Rose ' s involvement in the

                                                            22tIO
                                                    Breslaw.200
                   IDC/Castle Grande matter to Ms. -Breslaw.   °O ·


                           The ·evidence
                               -eevidence
                                  vidence suggests the following:

                           1.
                           1.      Webb Hubbell misled Breslaw about his relationship with Seth Ward in June
                                                                                                        Jooe of
                                   1989;

                           2.                                      PaUlson the June 28, 1989 letter,
                                  Webb Hubbell then wrote David Paulson                       lener, and that letter
                                                                                                              lettcr
                                                                                                              lener
                                  was misleading, false, and concealed
                                                             conce8.Ied material information about Hubbell's
                                  relationship with Ward and Madison;

                          3.
                          3.      When _the investigatioris                            to
                                             investigations started, Hubbell admitted to the OIC on February 1,  I, 1995
                                                              .."artfully
                                                                 artfully crafted" and that Hubbell represented Ward
                                  that the June 28 letter was ·'artfully
                                  and POM before, during, and after the Frost case;case~


                          4.      On March 16.16, 1995, Hubbell changed his story and told FDIC-OIG investigators
                                  that the June 28 letter was not "artfully" worded; and

                          5.         April 20, 1995, Hubbell repeated to the RTC-O/G
                                  On Apri120,                                 RTC-DIG the story he told to the
                                                                              RTC-OlG
                                  FDIC-OlG
                                  FDIC-OIG and falsely stated that the letter was not narrowly worded,
                                                                                               worded.

                   Gao' Speed Discoyered
                   Gary       Discovered Rose's
                                         Rose' s Work For Madison.
                                                          Madison,

                          In late 1989 or early 1990, Rose attorney Gary Speed reviewed Frost audit workpapers

                   which related to Frost's Madison Guaranty audits. As part of that review, Mr. Speed "came

                                                                                                  Finn."lOI
                   across a standard audit response letter to Frost and Company from the Rose Law Finn."201        Mr.

                   Speed learned that Rose had performed
                                               perfonned legal work for Madison Guaranty. He "wanted to find
                                                                                                        fmd




                      2~ubbell Senate Testimony, 217/96,
                      "'Hubbell
                      ''''Hubbell                     2/7/96, at 217; see also id.
                                                      2nt96,                   id. at 16-17 (indicating that Hubbell did
                   not disclose any of Rose's involvement in the IDC/Castle Orande·Seth
                                                                                Grande-Seth Ward transactions to
                                                                                Grande·Seth
                   April Breslaw); and id
                                        id. at 233 ("[AJbout
                                                   ("[Albout
                                                   ("[A]bout  the same  time I was  reading exam reports and other
                                 was
                   reports and 1I was concerned about the allegations that were being made.    ").
                                                                                         made.").

                             'Speed RTC-OIG Statement, 6/301
                          "20lSpeed
                          "'Speed                           95, at 5..
                                                       6/30/95,     ..

                                                                      61


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          --
          .   ..
                                                    t.o assure [himself] that there were no conflicts of interest
                     out the nature of the work and to                                                            .."·02
                                                                                                                    "202 Mr
                                                                                                         interest."201
                                                                                                         interesl."·02   Mr..

                                 ~o Rose's accounting "department
                      Speed went to                               and requested copies of the bills Rose previously
                                                      department and.

                     submitted to Ma~ison Guaranty.2{I)
                                          Guaranty .~ ) Mr. Speed reviewed the bills, then spoke
                                          GuarantY.2~)
                                          Guarant)i.203                                    spok~ with Rick Massey


                                                                                           D~partment. Mr.
                     about Rose's work for Madison Guaranty before the Arkansas Securities Department. Mr. Speed

                                   Mr. Hubbell because he (H~bbell)
                     then spoke to Mr.                    (Hubbell) "was the lead attorney on the Frost case
                                                                                                        case,, was.the
                                                                                                               was.·the

                     primary contact with FDIC, and was knowledgeable about the ethical rules concerning

                     conflicts."2~ Mr.
                     conflicts."21l'
                     conflicts."204  Mr. Speed asked Mr.
                                                     Mr. Hubbell if Mr. Hubbell was aware of Rose'
                                                                                             Rose'ss prior work for

                     Madison Guaranty. Mr. Speed explained:

                             [Mr. Hubbell] said he had been aware of some collection work.   wor~. I showed him the
                                             r~trieved concerning the ASD
                             bills I had retrieved                    "'-:SD work. He said he would talk about it
                             with April Breslaw.       . .. Within a day or so,
                                             Breslaw....                     so, Mr. Hubbell/old
                                                                                 Mr. Hubbell          tlult he had .
                                                                                             told me that
                             spoken 10to Ms.Ms. Breslow
                                                 Breslaw about the ASD work and that she agreed it was not a
                             conflict.. .·1J recall that conversation clearly.
                             conflict                                 clearly. I do not believe that I ever spoke to
                             Ms. Breslaw personally about the matter,maner, and I do not believe I ever wrote
                                                                                                          Y.'I'Ote
                                                      maner.
                             anything about the matter.      20
                                                      matter.20~'

                             The evidence reveals that Mr. Hubbell did not disclose Rose's
                                                                                    Rose' s prior Madison Guaranty

                     work to April Breslaw, even though he learned that Rose had submitted a Frost audit to the ASD

                                  206 Mr. Hubbell himself
                     during 1985. 206                     later admitted that he does not recall whether he discussed
                                                  himselflater
                                                  himself

                     the ASD work
                             work with April Breslaw,
                                             Breslaw. and he would not disagree with Ms. Breslaw ifshe
                                                                                                 if she stated (as


                             202Speed RTC-OIG
                                      RTC·OIG Statement,  6/3 0/95,, at 5.
                                              Stateme.nt, 6/30/95

                             mSpeed RTC-OIG Statement, 6/30/95,
                             203Speed
                             lOlSpeed                  6/3 0/95, at 5.

                            "'Speed  RTC-OIG Statement, 6/30/95, at 5.
                            "'Spetid RTC·OlG
                            204Speed                                5.

                             2O~Speed·
                             2O~Speed'
                             2O~       RTC-OIG Statement, 6/3
                                 SpeedRTC-OIG
                             205SpeedRTC-OIG              6/30/95,
                                                              0/95,, at 5 (emphasis added).
                                                              0/95
                                                          6/30/95

                             ".
                             '"206Hubbell                         0/95, at 49 ("I
                                                              8/ 10/95,
                                 Hubbell House Banking Comm., 8110/95,
                             "'Hubbell                        811                                    . [Frost] audit
                                                                              ("1 became aware that the        audit..
                     had been sUbmi.tted
                     .had       submi.tted to the Arkansas Securities Department at some point during the litigation
                                sUbmi.ned
         -
         .-           againstthe
                      against the auditing firm.").
                                           firm.").                                                     .

                                                                       62


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         -   ..
                     she did) that he had not told her of the ASD work,1M
                                                                  work. 207

                             It appears that Mr. Hubbell lied to Gary Speed when Hubbell stated that he disclosed the

                                                208 Furthennore.
                     ASD work to April Breslaw. lo8                       supra. Mr. Hubbell admitted in testimony
                                                    Furthermore, as noted supra,

                     before ._the
                             t he House Banking Committee that Rick Massey "disclosed that there had been prior

                     work done at the Securities Department. "209
                                                             ":w!f


                     Rose Obtained ·A CmlY Of The Borod
                                    A CQ12Y       Bomd & HU22ins R.ewrt On February
                                                         HU~iins Repgrt                1m
                                                                           february 2. 1990.

                     (       In January of 1990, someone at Rose-
                                                            Rose -- probably Gary Speed --
                                                                                        _. requested a copy of the

                     Borod & Huggjn5         2lO Sue Strayhorn,
                             Huggins Report. 210     Strayhorn. aa Madison Guarantee employee, objected to giving


                             2°'Hubbel1
                             207Hubbell Senate Testimony, 12/1195,        114-J7 (I don't have any specific memory that 1I
                                                              1211/95, at 114-17
                     did or that II didn't [dis<uss                                       OIC..;]02, 21l195,
                                           [discuss the ASD work with Ms. Breslaw]."); orC-302,      2/1/95, at 19
                     ("HUBBELL did not have any recollection of discussing the representation ofMGS&L before
                     the Arkansas Securities Department with BRESLAW        W but
                                                                              but DONOVAN
                                                                                   DONOV AN may have discussed it
                     with her. HUBBELL did not ask DONOVAN to discuss the issue with BRESLA       BRESLAW,  W.
                     Furthermore, HUBBELL did not recall ever writing about the issue to BRESLA  BRESLAW. W. PETER
                     KUMPE brought up the issue with HUBBELL. HUBBELL believed that KUMPE           KUMPEmay       bave
                                                                                                              may have
                     brought the issue up by asking HUBBELL how     bow he was going to get around the issue."); RTC-
                     OIG/OIC Hubbell Interview, 4120195,
                     OlGlOrC                                      18·19 ("HUBBELL said that it is his opinion that the
                                                      4/20/95, at 18-19
                     matter should have been reported to BRESLAW, and as lead    lead attorney the responsibility to do so
                     was his,
                         his. HUBBELL said that although he had no specific recollection
                                                                                    recoHection of discussing the matter
                     with BRESLAW,
                          BRESLA W, he believed that he did; although he said he would not disagree with
                     BRESLA W  W if her recollection was that he had not told her,").
                                                                               her. ").

                                                      CO!llIDittee Testimony, ]11130/95,
                            208Breslaw Senate Banking CO!llIIlittee             1130/95, at 40-4 L
                                                                                            40-41.

                            ""Hubbell House Banking Comm.,
                            209Hubbell                 Conun., 8110195.
                                                               811 0/95, at 59. Hubbell thus admitted that he knew
                           Rose~s Arkansas Securities Department work at the time Rose accepted the Frost case, and
                     about Rose's-
                     concealed that information from the FDIC and the RTC. See also.
                                                                                  also, e.g.1
                                                                                        e..



                           210 Also in January of 1990, perhaps coincidentally, HubbeU
                           1HlAlso                                              Hubbell negotiated an indemnification .
                     agreement between Ward and Ward's law firm finn (Wright, Lindsey & Jennings)
                                                                                         JelUlings) in the case of
                     Madison Guarantyv.
                              Guaranty v. Frost. See Exs. 123-25 of the RTC·OIG           8/3/95, vol. Ill;
                                                                         RTC-OIG Rep., 813195,               Ex,. 28-32,
                                                                                                        III; Exs.
                     FDIC-OlG Rep .. 7128195,
                     FDIC-OIG   Rep.,  7/28/95, vol. 2. Hubbell concealed that infonn.tion
                                                                               information from  the FDIC    and the
                     RIC.
                     RTC.

                                                                      63

NW: 15416 D~2talttoo8~5'gg(P~~ee1ufl             Rules of   Criminal ;oroeeclure

                                                                     222
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         .. ..-...                                                                                               2211
                                                                                                                   11
         .-..
         ,-.      '     .Rose                     & Huggins Report because Mr. Ward and Mr. Hubbell were in-laws.1 !!
                         Rose a copy of the Borod &

                                Breslaw disregarded Strayhorn"s
                                                    Strayhorn's
                                                             ' s warning. Breslaw spoke with her supervisor, John
                                                    Strayhorn-

                          Beaty, arid
                        . Beary, and he approved of her decision to forward the Borod & Huggins Report to Hubbell.
                                                                                                          Hubbell .

                                                                                                 Hu~bell's
                         Beaty told Breslaw that he had a favorable impression of Hubbell due to Hubbell
                                                                                                 Hubbell's
                                                                                                         ' s work on the

                         FirstSouth matter, and Breslaw understood from
                                                                   fi:om her previous discussions with Hubbell that

                         Hubbell and Ward had a distant relationship.
                                                        relationsh.ip. Breslaw later explained of her decision to tum
                                                                                                                  rum over

                         the Borod & Huggins Report to Rose:

                                I believe that since I had previously determined that the Ward and Hubbell
                                                         conflict. an~
                                relationship was not a conflict,      and had made the assumption that Hubbell was
                                                      issue,., I felt that there was no
                                trustworthy on this issue
                                                      issue.                          DO reason to prevent Rose from
                                obtairiing            infonnation the fmn
                                obtaiiiing whatever information            fInn felt was necessary to pursue the Frost
                                suit. I believe that Beaty mentioned that Hubbell had responded to a conflict
                                issue which arose in cormection
                                                        connection with the FirstSouth project in a very .
                                professional manner. ]I have the impression that Beaty had confidence that
          ..,.-- .,
          ,-                                              ethically .212
                                Hubbell would behave ethically.lIZ
                                                          ethically.m
                                                          ethically.m

                                According to the Frost billing records,             I, 1990, Mr. Hubbell met with 9ary
                                                               records. on February 1,                            Gary

                         Speed, and spoke with April              telephone.213
                                               Apri,l Breslaw via teiephone.
                                                                  telephone. 2 !3           day, April Breslaw forwarded
                                                                                  That same day.

                                     ~uggins Report to Gary Speed. 12214
                         the Borod & Huggins                           114
                                                                           Ms. Breslaw wrote a note to Gary
                                                                      . • Ms.                          Gary.Speed. Her



                                '''Ex.    '0 RTC-OIG Rep.,
                                211Ex. 97 to                        vol. III.
                                                     Rep. , 8/3/95, vol.llI.

                                212Breslaw RTC-OIG Interview,
                                li2Sreslaw
                                212Sreslaw
                                2l2Sreslaw         Interview , 4/94, at -12.
                                                                     a[ ·12.
                                                                        '12,
                               213
                               "'105-00083364;
                                   105-00083364; 264-00009458; 264-00009713; 105-00083622;
                                                                             105-00083622
                                                                              05-00083622;; 105-00083633;
                                                                                            105-{)0083633
                                                                                            105-{)0083633;; 264':
                                                                                                            264-
                         00020682.                                                             -      .

                                 "'Ex.
                                 '''Ex.    to
                                 214Ex. 128 to RIC-DIG
                                                RTC-OIG Report,       Ill. See also Breslaw RIC-OIG
                                                          Repon, vol. III.                  RTC-0IG Interview, 4/94, at
                                                                                            RTC-OIG
                        12, 24; and Breslaw Senate Banking Committee
                                                                Conuninee Deposition, 6/6/95, at  ot24-25    ("[B]ased on the
                                                                                                       24-25 ("[BJased
                                                                                                             ("[BIased
                        information that we had at the time -- again, I am sorry to repeat myself --- that Hubbell didn 't
                        infoJ.lIlation
                        infoJ.lllation
                                                        wou)d not represent Ward, it seemed to
                                                        wOll;ld
                        represent Ward, and said he would                                      to.us
                                                                                                   us that there was no
                                                                                                  ..us
                        conflict and therefore our counsel should be allowed to see ~ all material that was relevant to
           --~
        ...---.         Madison to see if
                        MadisoD              it would be of any use in the accounting case.
                                          ifit
                                          if'it                                          case . So, despite the fact that Ms .

                                                                          64


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         .--'         note indi~ates
                           indicates that Mr.        ~anted the Borod & Huggins report to assist Rose in preparing
                                          Mr . Speed :-vanted
                                                     wanted
                                                     :-"anted

                                               21]'''S
                                    responses.21221
                      interrogatory responses.

                                                                       Mr. Hubbell and Gary Speed reviewed the Borod
                               The Frost billing records indicate that Mr.

                      & Huggins Report on February 2, 1990. 2 16
                                                      1990.2216
                                                            216
                                                              ]6 Mr. Hubbell also billed the RTC for review of the



                                                                                  199 1. 217
                      Borod & Huggins Report on February 8, 1991 and February 12, 1991.  2
                                                                                  1991.217 ]7



                              During the 1993-96 investigations, Hubbell gave
                                                                         gave·several different stories       his: review
                                                                                                slories about his

                      ofthe Borod & Huggins Report. Hubbell initially denied that he ever saw the Borod & Huggins
                      of
                                                                               ,
                                                                               /




                      Report. Then, he claimed that his Frost co-counsel kept the report from him. Then, Hubbell said

                      that maybe                                                      21]'1•
                           m~ybe Rose delayed requesting the Borod & Huggins Report.218
                                                                             Report. l21

                      Interview And Deposition    Patricia Heri~ie,
                                               QfPatricia
                                    De,wsition Of          iieri~Ke,
                                                           Hcri~ie,
                                                           Heritaie.

                                 ~pril 4, 1990, Gary Speed, Rick Donovan, and Jim Birch interviewed
                                 ~pri1
                              On April                                                  intetViewed Patricia
         .""- ',.


                      Heritage,
                      Heritage. who then was a newly ·hired
                                                     "hired Rose attorney,
                                                                 anomey. about her previous work at Madison
                                                                 anomey,
                                                                 attorney.




                                                           penniaed
                      Strayhorn expressed some concern, we permitted
                                                           permined the Rose firm to see Gerrish's report.
                                                           permiaed                                report . ").

                             2]'See Breslaw RTC-OIG Statement, 7/18/95,
                             wSee
                             21'See                                 7/18/95 , at 6-7. Breslaw's note states:"I've enclosed
                      the Gerrish Firm's  investigative report on Madison Guaranty loans. 1
                                  Finn's investigati,:,e
                                          investigati,:"e                                    I understand that you're in
                                                               to opposing counsel's
                      desperate need of it in order to respond to          counsel' s interrogatories." (emphasis added).
                      Ex. 128 to RTC-OIG Report, vol. III.IlL


                            216264-00014589; 105-00083364;
                            "'264-00014589;                              105,00083622; 105-00083633; 264-
                                                           264-00009459; 105-00083622;
                      00020682.
                              217
                               105-00083548;; 105-00083537; 105-00083558; 264-00020802-03; 105-00083531;
                            "'105-00083548
                            "'105-00083548;                                                105-0008353 1; 105-
                      00083538; 105-00083550; 105-00083559;264-00020802.
                                               105-00083559; 264-00020802.
                                                             264,00020802.

                             1lSHubbeli
                             llSHubbell
                             l18Hubbell                       8122/96, at 115-16; FDIC Interview with Webster
                             218Hubbell Grand Jury Testimony, 8122196,
                      Hubbell by Jack Smith and John Downing, 1/11194;
                      HubbelI                                  1/11/94;
                                                                1111194;
                                                               1/        0IC-302, 2/1/95.
                                                                  11194; OIC-302,
                                                                         OIC,302,  2/1/95, at
                                                                                           a. 21;
                                                                                              2 1; Hubbell Senate
         .-           Testimony; 217196, at 232-34.
                                 2/7/96, •• 232-34.

                                                                       65


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         -
         ·..-..
                     Guaranty.1l9
                     Guaranty.lI9
                     Guaranty.219 The biHing
                     Guaranry,lI9     billing records reveal ~t Mr. Speed met with Mr. Hubbell on April 4. 1990.
                                                      revea1 $it
                                                             that

                     The billing records do not reveal any call to Ms. Breslaw, but Gary Speed says that he
                                                                                                         he-and Mr.
                                                                                                            and Mr.

                                                                               220
                     Hubbell called Ms. Breslaw about the Pat
                                                          Par Heritage matter.
                                                                       maner.:UO
                                                                       maner.220
                                                                       matter"220

                            'Ms.
                             Ms. Breslaw denies that anyone iilformedher
                                                            informed-her
                                                            iruonned"
                                                            iitfonned"her about Pat Heritage'   p~evious Madison
                                                                                    Heritage'ss previous

                     Guaranty employment. Ms. Breslaw stated that she "learned in roughly January 1994 that she

                     had once worked at ' Madison and that Gerrish had accused
                                                                       acc.used her of editing minutes of

                                             "221 Mr.
                     Madison board meetings. "221 Mr. Hubbell "said they did not
                                                                             Dot
                                                                             DOl discuss this matter
                                                                                              maner with Breslaw

                     although they probably should have talked with her about it."222
                                                                              it."m
                                                                              it.'>222

                            The panies
                                parties in the Frost case reached a tentative agreement to settle the Frost case

                     sometime in February 1991, and April Breslaw issued a detailed authority to settle memorandum

                     on February 26, 1991. 223 That memorandum recommended that the RTC settle the Frost
                                     1991.22J
                                     1991.213                                                      Frosl case for
         ..--.

                     $1 .025
                     $1.     million.224
                             million.224
                         025 million.224
                     $1.025



                            219
                            '''105-00083613;
                                105-00083613; 264-00009497; 264-00020695.
                                                            264-00020695                  RTC-OlG
                                                            264-00020695.. See also Speed RTC-OIG
                                                                                          RTC-OIO Statement,
                     6/30/95, at 7-10.

                            221lSpeed
                            221lSpeed                    6/30/95,   at. 7-10.
                                                         6/3.0/95,, a1.7-10.
                            220 Speed RTC-OIG Statement, 6/30/95    at7-10.

                              221RTC              4/94. at 19-20. See also.
                              mRTC Interview, 4/94,
                              22IRTC                                  a/so, e.g. , Breslaw RTC·OIG
                                                                      also, e.g.,          RTC-OIG interview, 7/18/95,
                                                                                                   inteJView, 7118/95,
                     at 7 ("I
                          C"I do not recall anyone from Rose discussing Patricia Heritage with me in any context
                                 Frosllitigation.").
                     during the Frost  litigation.").

                           "'Hubbell FDIC-OIG
                           222Hubbell                                   1I I -12. See also,
                                      FDIC-OIO Interview, 3/16/95, at 11-12.          also, e.g., RTC-OIGIOIC
                                                                                      alio,       RTC-OIG/OlC
                                                                                                  RTC-OIG/OIC
                                                                                                  RTC-OIO/OIC
                                        4120/95, at 19-21 (which discusses the Patricia Heritage matter).·
                             Interview. 4120195,
                     Hubbell Interview,                                                            maner).··"
                                                                                                   matter).

                             223Donovan  Litt1e Rock G.J., 1121/98,
                             22lDonovan Little                                       166~;
                                                                                     166 ~; Breslaw RTC·OIG
                                                           1/21198, at 44-46; LR GJE 1661;          RTC·OJG
                                                                                                    RTC-OIG
                     Interview, 4/94,
                                4194, at 13.

                            n<Donovan Little Rock GJ.,
                            n'Donovan
                            224Donovan               GJ     1121 /98, at 44-46; Little Rock GJ.
                                                     0.1 ., 1121/98,                            Ex. 1661; Breslaw
                                                                                            OJ. Ex.
                     Senate House Banking Cornrn.
                                              Cornm.         10123/9 5, at 239-44
                                                             10123/95,
                                              Comm. Dep., 10/23/95,
                                                             10123/95.     23944·(discussing
                                                                           23944"(discussing            FebruaJ)' 26,
                                                                                  (discussing Breslaw's February
                                                                           239-44·(discussing
         .-
         , - ..
                     1991 authority to settle.
                                       settle" memorand~) ; Breslaw RTC-OIG
                                               memorandllfJl);
                                       settle memorandum);               RTC-OJG Interview, 4/94, at 13.·
                                                                                                      13."

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                                                                                  ..
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          -.
          ."'--' ..
                                The next day.
                                         day, February 27. 1991 , as the parties in the Frost case continued to negotiate
                                                       27, 1991,

                                                                                                                   225
                         the tenns                                                                       Heritage,"m
                                   of the settlement agreement, attorneys for the defendants deposed Ms. Heritage.
                             terms afthe                                                                 Heritage,'m

                         Rick Donovan attended the Pat Heritage deposition and billed the RTC on FebruaJ)'
                                                                                                 February
                                                                                                 FebruarY 27,
                                                                                                           27 , 1991
                                                                                                                1991
                                                                                                                1991. for

                         8.50 hours for "prepare for and attend deposition of officers/directors; correspondence with

                        witnesses."l26
                        witnesses."126 At the deposition, Ms.
                        witnesses."226                    Ms. Heritage testified that Seth Ward was "someo!1e
                                                                                                    "someorte I wasn't
                                                                                                    "someone

                                          past~due
                                          past·due letters to" apparently because Mr. Ward was "one of
                         supposed to send past-due                                                     the preferred
                                                                                                    oflhe
                                                                                                    afthe

                         friends of Jim McDougal or John Latham. 22? Ms. Heritage testified that she had not.
                                                         Latham,n7
                                                         Latham.227                                      not done any

                        work on the Frost case while she was an attorney at Rose. n • Ms. Heritage
                                                                            Rose.221      Heritage"also
                                                                                                   also testified about

                        the Borod & Huggins Report and about minutes she prepared at John Latham's direction which
                                                                      .-

                        purported to document nonexistent Madison Financial Corporation board meetings. m
                                                                                              meetings.229

                                                                                                       depositi     no
                                                                                        the:: Heritage deposition.2lO
                                Ms. Breslaw claims that no one from Rose told her about the                     on.2lO
                                                                                                       deposition.


                                225
                                   J05-0008344 J; 105-00083566;
                                m 105-00083441;
                                "'105-00083441;   1105-00083566; J05-00083609.
                                                    05-00083566; 105-00083609.
                                                                  05-00083609.
                                226
                                "'105-00083441;
                                "'  105-0008344 1; 105-00083566;
                                    105-00083441;            566; 105-00083609.
                                                    05-00083566;
                                                   105-00083
                                227
                                    85-00045517.
                                "'85-000455  17.
                                "'85-00045517.
                                228
                                "'8585-00045519.
                                      -00045519 .
                                "'85-00045519.
                                229
                                  85-00045498-506.
                                  85-00045498_506.
                                  85
                               22'85-00045498_506.                                        "1 think .Don
                                     -00045498_506. Heritage also said of Don Denton that "I        Don had a good
                        background
                        backgroWld   and knew ~hat
                                              ?/hat he was doing, yes." 85-00045518.

                               ~reslaw Senate Banking Committee Deposition,
                               2J<>J3reslaw
                               ll<13reslaw
                               nosreslaw                            Deposition. 616/95, at 28-30.    Ms . Breslaw did
                                                                                             28-30 . Ms.
                                                            Re~rt during 1989, and that
                        have access to the Borod & Huggins Report                  thal 'report
                                                                                         report discussed Ms.
                        Heritage 's work at Madison Guaranty:
                        Heritage's                      , I
                                                                                                   .

                                I must have read the section that contains the allegations               Heritage.
                                                                                   allegationS about Pat Heritage,
                                however. because at that time she was not employed at the Rose Law Finn,
                                however,                                                                      Finn.
                                she did not, to my Icnowledge.
                                                     knowledge, ever workworle on the Frost accounting case, and I
                                did not ever speak with her until after the Frost case had t>tenbeen settled for
                                several years.                        cOTUlcction when I spoke with her in probably
                                        years . I did not make the connection
                                1993, that is four years later,        allegatiorts had been made against her in a
                                                          later , that allegations

                                                                           6677


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                                                                                        as ~ deposition
                                       informed Ms. Breslaw of Pat Heritage's testimony as.l!
                        No one at Rose infonned

                 witness in the Frost case,                not,2$! and Mr. HuJJbell
                                      case. Gary Speed did not,231         Hubbell "does not recall Heritage

                 being deposed in the Frost case by the defense."'"
                                                        defense."232

                                                                                    233


                      Indicunent And 1m
                 1989 Indictment     1990 Trial
                                          Irial DfJames B. McDQu~al
                                                OfJames B, McDou~al

                        In November of 1989, a Little Rock Grand Jury indicted James B. McDougal, lohn
                                                                                                  John

                                                                                                      234
                 Latham, and others for alleged crimes related to the IDC/Castle Grande transactions.
                                                                                        transactions.2$t  John

                 Latham pleeded
                        pleaded guilty.
                                gUilty. A jury acquitted McDQugal
                                                         McDougal after a trial which occurred in May and June

                 of 1990. Rick Donovan and Gary Speed billed the RIC                          triaP3S
                                                                 RTC for attending McDougal's trial. m




                        report that II read in the spring of 1989.
                        repon

                 Id. See also RIC-OIG/OIC
                 ld           RTC-OlGIOIC Hubbell Interview, 4120195,
                                                             4/20/95, at 19-21 (discussing the Pat Heritage
                 matter).

                        23\Speed RIC-OIG Sta1emen~
                        "'Speed RTC-OIG  Statement, 6130195,
                                                    6/30/95, at 9-10.

                        "'Hubbell
                        232Hubbell FDIC-OIG            3116/95, at 11-12.
                                   FDIC-DIG Interview, 3116195,

                            1_____________----'
                        ml~~~
                        233 ...


                        Z34-?C,I=
                            1________________-'
                        234&e ...

                      235
                        "';105-00083618; 264-00020696; 264-011IB-149111;
                 . . . 105-00083618;                   264-01I1B-149/11; 264-02175; 105-00083510; 264·
                                                                                                  264-
                 00020701.
                 .QOO·20701.

                                                                     68

         FOIA(b)3 -~ Rule 6(e), Federal Rules of Criminal Procedure
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 -.
                 I         No one ever deposed McDougal in the Frost case, but McDougal did meet with the

                  attorney for Frost, Peter Kumpe. Kwnpe
                                                   Kumpe concluded that McDougal would be helpful to Frost's

                  defense. 237 According to Rick Donovan, Rose felt that "'the
                  defense.ll7                                            ''the other side would" depose McDougaJ
                                                                                                        McDougal

                  because ''they wanted to paint McDougal as the criminal" and "we had nothing to gain and

                 everything to lose by that man being on the witness stand,'t2l'
                                                                     stand."238 Gary
                                                                                 Gaiy Speed confirms Donovan's

                 story: "McDougal was not seen as helpful to the case because McDougal did not like the .

                 government, McDougal had lost his savings and loan and his ability to deal, and [Rose] was

                 afraid of anything McDougal might say. "239
                                                        »2J9


                                                          Co~ittee -'
                           Hubbell told the House Banking COl1ll!'littee _.. wrongly -- that "it was back in the mid-
                                                                                                   w_




                  /980's that Mr. McDougal was tried and fmUlct
                  1980's                                        innocent of any criminal.ctivity
                                                         fOW1d iMocent          criminal .activity at Madison."'"
                                                                                                      Madison."24o

                 Th~ Curious Matter
                 The         Maner of Sam
                                      SIWl fuuer
                                           Heuer

                           About three weeks before Jim McDougal's 1990 CasUe
                                                                        Castle Grande criminal trial,
                                                                                               trial. Sam




                 J
                           ~                                                                                                                I
                 ;~~~~';"~K~um=pe~L~i=ttl~e:R~OC~k~G:::-:.J'-'
                           237Kumpe Little Rock G.J., ~21:31:9:8,-a~t
                                                               2/3/98, at ~4-5
                                                                           4':5.~...;;11,-~_=_=_=_=_=_=_=_=_=_=_=-=_=_=_=_=_=_=_=_=_=_=_=_=_=_~
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                               I                                                  L . . . . - -_ _ _ _ _ _ _ _ _.....J




                           "'Donovan Little Rock 0.].(1/6198,
                           23RDonovan            G.,J.;·t'i6/98, at 98-99,
                                                                    98-99.

                           "'Speed OIC-30~.,.·1/30/98.
                           mSpeed OIC-302,.1l30/98.

                        24°Hubb~Il ' H~use
                        ""Hubbell    House Banking Comm.,
                                                    Comrn., 8110/95,
                                                            8/10/95, at 64. Additionally, Mr. Hubbell never told
                       Bresl;lv/during the time he handled the Frost case that Rose had "represented Mr.
                 April Breslllw'during
/~' :!i:
.,._             McDougal
                 McD<?ugru personally in any matters."
                                              maners," Breslaw Senate Banking Comm,             10123/95. at 54.
                                                                                  Comm. Dep., 10/23/95,      54 .

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           ----..                     He~er sent Hubbell a letter dated May 7,
                                      Heuer                                 7, 1990. That letter warned Hubbell that Seth Ward

                                      "~ight have some type of criminal exposure under these broad bank fraud violations that the
                                      "might
                                         ,    J                      .                             .         •




                                      U.S. Attorney's Office seems so happy to use these days, "W             tlult he (Heuer) was
                                                                                                              tluit
                                                                                               "W Heuer wrote that
                                                                                         days."w
                                                                                         daYS."241

                                     " in a pretty tight situation on this McDougal case" and that "Seth Ward, who II understand to
                                     "in                                                                                         10 be


                                                                                                          case . "l~2
                                                                                                                 "2~2 Heuer requested an
                                                                                          witness in this case,"2.2
                                      your father-in-law, appears to be a pretty critical wimess          case."242                   ~


                                      interview of Ward. 243
                                                ofWard.  20
                                                             Hubbell did not respond to the letter. 2244
                                                                                                      4-4



                                                    Rose attorneys Rick Donovan and Oary
                                                                                    Gary Speed billed the RTC
                                                                                                          RTC for attending
                                                                                                                  anending the first tWo

                                     days of McDougal's       trial.14~
                                                              trial.'"
                                             McDougal 's 1990 trial,l·s
                                                              trial .'"

                                                    During the summer
                                                               SllnUnCf of 1990, shortly after McDougal's June
                                                                                                          JWlC 1990 acquittal, Hillary
                                                                                                          lWlc

                                     Clinton.and
                                     Clinton and ,W
                                                  Webb
                                                   ebb Hubbell met with Heuer over lunch individually
                                                                                         individual,ly and              occasions.2~6
                                                                                                       and' on separate occasions. 2 6
                                                                                                                                   246
                                                                                                                                    •




          -.
                                                    "241''212-011968
                                                          212-011968.
                                                          212-011968 .
                                                    242
                                                       212-011968..
                                                    '''212-011968.
                                                    '''212-011968
                                                    143
                                                    243
                                              l4l212-011968
                                                 212-011968.
                                                 212-011968.. Hubbell
                                                              Hubbell's's co-coWlSci
                                                                          CO-COWlSC) on the FroSI
                                                                          co-counsel                           Donovan. first learned of
                                                                                             Frost case, Rick Donovan,
                                     Heuer's May
                                               May.7,
                                                    7, 1990 letter to Hubbell about Seth Ward's possible criminal exposure on January
                                                    .7,
                                     6, 1998 when Donovan testified before the Little Rock Grand Jury. Donovan Little Rock OJ.,     G.J.,
                                     1/6198
                                     1/6198,
                                     1/6/98 , at 99-100 ("This is the first I've ever heard of anything like thal.").
                                     1/6/98,                                                                 that").
                                                                                                             that.").

                                               1401Heuer
                                               2401Heuer               G.1.,
                                               244Heuer Little Rock G.J.
                                                                       G.1.
                                                                       G.J.,, 10/8/97,
                                                                              10/8197, at 20-21.
                                                                                          20-21       also Heuer Little
                                                                                          20·21 . See a/so                ROck GJ
                                                                                                                    Linle ROCk          4/ 1/97. at
                                                                                                                                G.J.,., 4/1/97,
                                      96 ("The
                                          ('The letter went out. Hubbell never got   gOl back to me. IfIffI called,
                                                                                                       Ifl  called. he didn't call me back.
                                                                                                                                        back. So
                                                           trial ."). But see id. at 97 ("After it [McDougal's
                                      we just went on to trial.").                                                                 trial) was over,
                                                                                                                                   trial1
                                                                                                   [McDougaJ ' s 1990 criminal trial]
                                     II talked to him. But prior
                                                              priOTtOto that, he may have --•. he may have called me back after II wrote the
                                                           -- where I could see potential criminal exposure and me explaining it to him
                                      letter to ask what I ••
                                     and him communicating that he did not want me to talk to his father-in-law.
                                                                                                             father-in-law. That very well may
                                                                                                             father·in:law.
                                                                                                             father-in:law.
                                     have happened. IJ don't remember.").
                                                                  remember.").
                                           245
                                           '''105 -00083618 ; 264-00020696; 264-01I1B-149111
                                           '''105-00083618;
                                                  -00083618;
                                               105-00083618;                 264-01I1B-149/
                                                                             264-01          11;; 264-02175; 105-00083510; RIC
                                                                                    Il B-149111
                                                                             264-01/1B-149/11;
                                     000442; 264-00020701,
                                              264-00020701.
                                              264-00020701 .               .

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                                                    ..:';'1 ___________
                                                     ~41"'
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                FOIA(b)3 - Rule 6(e)
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                              '"-_
                              L..___ __
                                      ____
                                         ____
                                            _________
                                                    ____
                                                       ____            Mrs, Clinton was
                                                          _ _......'47 Mrs.                          =:141
                              !:' "knowledgeable" about McDougal's well publicized trial.HI
                                                                                         m




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                         ••


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                       " ' L -_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--.....l
                       ...    ~------------------~----------------------------------~
                       ..
                                             billing records reveal that Hubbell bmed
                                   The Frost biUing                              billed the RTC for "conferences" with


                                                                                           \

                                        247Heuer Little Rock Grand Jury, 41l/97,
                                        '''Heuer                                  4/1/97, at 26. Heuer's lunch                   with Hillary Clinton carne
                                                                                                                           lunch with                      came
                                after he wrote her a July 3,1990 letter W[hi~·C;h~S:Ug:g:e;st:ed=that:;:th;:e~Whi:;;·t;e:w:.te:;:;rD:::eV;e1~op::;m~e::n:t
                                after he wrote her a July 3, 1990 letter which suggested that the Whitewater Development
                                Corporation he
                                             be dissolved. ld.       22-26..JI
                                                              Id. at 22,26.
                                                                                                                                                     =::J
                               II                       II Heuer
                                                           Heuer and  HiP3ry"'"""::C:":":li~n~to-n-d:":"is-c-u-sse--:"d
                                                                  and Hillary       Clinton discussed ~Ji~m-M:-:-c=D-o-ug-al-::-'
                                                                                                                        Jim McDougal'ss~tn"":"-:al~an~d-----I
                                                                                                                                        trial and
                              iWhitewatet. Id
                              fWhitewater.    Jd. at 29.                  .'

                                           "'L  ____
                                           241L._        -,-----.....II
                                                  _ _..,-_ _ _ _ _ _ _---IIHeuer
                                                                           Heuer Little Rock Grand
                                                                                 LIttle Rock Grand Jury,
                                                                                                   Jury, 4/1/97, at 102.
                                                                                                         411197, at 102.
                                               i4
                                                    1
                                         ...
                                                                                                                                                       \
                                    ..         "                     .




                              '--_____________......1Governor              Governor Clinton  also called
                                                                                     Clinton also called Heuer  "[i]mmediately
                                                                                                          Heuer "[iJmmediately
        ::                     after McDougal's acquittal" to congratulate Heuer and McDougal. Jd.ld. at 20
                                                                                                         2Q..
             .. . .
        :; i t-:':'-                     '~L..          ______
                                           2:1...__________  ....
                                                          ---I

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       FOIA(b)3 - Rule G{e).
       FO!A(b)3        6(e) , Federa!
                              Federal Rules of Crimrnai
                                               Crirninal Procedure
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         ,_.                                        ~asions "re
                             Heuer on at least four oc:casions
                                                    occasions  "re:: McDogal" [sic] from July
                                                                                         Jul y 17, 1990 to September 5, 1990,m
                                                                                                                        1990.151
                                                                                                                        1990.!52
                                                                                                                        1990.152

                                                                                                  testifie~ before the Little
                             The original trial date in Frost was set for late August 1990. Heuer testified

                             Rock Grand Jury that McDougal spoke with Frost's attorney,
                                                                              attorney. Peter Kurnpe, about the case. One

                             of Frost's defenses to the RTC's                        chum was that Madison's officers and
                                                        R!C's accounting malpractice claim

                             directors were corrupt, and that any losses to Madison Guaranty were the fault of the "crooks

                             runnin~ the institution."253
                             running     institution."2il
                                         institution."m




                      !: Julie Baldridge
                               BaJdridl:e Speed
                   ..              . During the Frost case, Gary Speed learned.
                                                                       learned that ·his
                                                                                    "his            Jul~e
                                                                                                    Jul ~e Baldridge Speed,
                                                                                     his then wife, Julie

                         previously had an ownership interest with James'McDougal
                                                                         'McDougal in the Bank of
                                                                   James ·McDougal             ofK.ingston     to: the
                                                                                                  Kingston and in        m:
                         Woodruff County Savings and Loan (Madison Guaranty's
                                                                   Guaranty' s predecessor). Speed told Hubbell

                                   maner. As detailed in the Rose Law Firm
                         about the matter.                            Finn conflicts memorandum,
                                                                                     memorandwn,
                                                                                     memorandwn. the following

                         happened :
                         happened:

                                     1.      Gary Speed learned during the Frost
                                                                           Frosl case about his then wife's
                                                                                                     wife' s business
                                             relationship with James McDougal and Madison Guaranty;

                                    2.       Gary Speed told Webb Hubbell about the Julie Baldridge Speed potential conflict;

                                     3.      Webb Hubbell concealed the Julie Baldridge Speed potential conflict from April
                                             Breslaw;



                               2S2105-00083428;
                               "'
                               "'105-00083428;                                000364 ; 105-00083435-36; RIC
                                  105-00083428; RIC 000360; 105-00083432; RIC 000364;
                         000367-68
                         000367-68;; 105-00083411;
                                     105-00083411 ; RIC 000343 .'..

                                    253Donovan
                                    2S3Donovan Little Rock GJ.,
                                    m Donovan Linle              116/98, at 881-83.
                                                           G.J., 1/6/98,      1·83.

                                     ~.~I.~------------~
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                                           Rul es of Criminal
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                                   Feder"b                     Procedure
                                                     Crimina l Proced ure
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          . "-- 't·
                                                                    4.     Hubbell falsely stated to Gary Speed that Hubbell
                                                                                                                     Hubbell"told Breslaw about the Julie .·
                                                                           Baldridge Speed potential conflict;

                                                                    5.     Hubbell falsely stated to the ole
                                                                                                         OlC that he did not discuss the Julie Baldridge Speed
                                                                           maner with Gary Speed after Speed disclosed the infonnation
                                                                           matter                                             information to Hubbell;

                                                                    6.     Hubbell falsely stated to     FDIC-OIG of the Julie Baldridge Speed maner
                                                                                                  t6 the FDIC-OlG                              matter that
                                                                           "they decided it was not a conflict ' of intercst."m
                                                                                                                    interest."2SS
                                                                                                                    interest."255

                                            Jimmie Alford & Precision Industries

                                                                    Jimmie Alford was the Frost & Company partner who
                                                                                                                  \;Yho had oversight responsibility for the

                                                                                                                                   and
                                             1984 and 1985 audits of Madison Guaranty. He left Frost in 1988 and went to work for Pace

                                                                                         Industries. ·' Mr. Alford owned stock in
                                            Industries and a division of Pace, Precision Industries.'

                                                                                                       Presi~ent. Mr. Alford was also a
                                            PaceIPrecision, was a Pace vice president, and Precision's President.
                                            PacelPrecision,

                                            named defendant in the Frost                            G~anty. borrower.
                                                                   Frosl case, and he was a Madison Guaranty
                                                                                                    Guaranty.          ~
                                                                                                              borrower.2~
                                                                                                                       2~~1LI
                                                                                                                           ...._
                                                                                                                               ___--,
                                                                                                                                  ......           I
                                                                                                                                                ... L---..J
                                    '-_______________
                                    ~_______________....;.
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                                    '--------_______________   -,t'
                                                               ...Jr . fjubbellieamed
                                                                       ~ubbellieamed about
                                                                       I:Ju6bellleamed
                                                                       I:Jui;"belileamed about

                                    !i the matter, and the following occurred:
                                                                           (1)      Mr. Hubbell learned ofa
                                                                                    Mr. HubbeU                            coI)i1i~~ of interest related to Jimmie
                                                                                                                          co~i~t
                                                                                                        of a potential coQilict
                                                                                    Alford',
                                                                                    Alford;                           ..... ....
                                                                                                                      ....

                                                                           (2)      Mr. Hubbell then met 'with
                                                                                    Mr.                   with   t:wo-'' Rose
                                                                                                                 two
                                                                                                                 t:wo    ~ose attorneys, Tim Boe and Jim
                                                                                                                                                     lim Birch,
                                                                                                                                                         Birch. to
                                                                                    discuss the matter;
                                                                                                maner;        ....
                                                                                                           .
                                                                                                agr~d "-'tto
                          ;'
                                                                           (3)                      .. o notify the RTC about the Alford conflict;
                                                                                    Mr. Hubbell agree.d'to
                                                                                                agreed

                                                                           (4)      Mr. Hubbe~.1
                                                                                    Mr.          .concealed the matter from the RTC;
                                                                                        Hubbe~1.conceaJed
                                                                                        Hubbell,concealed                       RrC;
                                                                                                   ...
                                                                                           .....
                                                                                    ....
                                                                   mHubbell
                                                                   lHHubbell     f-Dj~-OIG
                                                                   WHubbell ..F.Dic-OIG
                                                                              fD'iC -OIO Interview,
                                                                              f-D'iC-OIG            3/16/95,
                                                                                         lnterview, 3/ 16/95,, at 2-3.
                                                                                                       16/95      2-3 .

                                              "2s6Se~.Alford           2/6198;; Alford FDICIRTC-OIG
                                                                       2/6/98;
                                                · See.Alford OIC-302, 2/6/98
                                              "·See.Alford
                                              "·See.Aiford                             FDlCIRTC-OIG Statement, 6/27/95; and Alford
                                                                                       FDICtRTC-OIG
                                        FDlCIRTC·Statement,
                                        FDICIRTC"Statement,   917194..
                                                              9/7/94.
                                        FDlCIRTC· Statement, 9nt94
                                        FDlCIRTC·Statemcnt,

                                                             ", /~S?]...'- - - - - - - - - - - - - - .
                                            ...'         ..... .
                                                                   .' 2~?[1~===========]
                                                                   /~~.?[I~===========]
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                  i .:;:>
                                    .', ,          .'"                                                         73
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                  FOIA(b)3         6~)),
                  FOIA(b )3 - Rule 6(e ),, Federal Rules
                                   6(e),           Ru les of Criminal Procedure
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                                                    .· (5)   Mr. Hubbell then lied to Tim Boc:
                                                             Mr.                                              h~ had disclosed the
                                                                                          Boe and stated that he
                                                             matter to the RTC; and

                                                     (6)                                                          h~ did not disclose the
                                                             Mr. Hubbell falsely stated to the investigators that he
                                                             Alford conflict to the R TC
                                                                                    RTC  because  he learned.of the Alford conflict late in
                                                                                                     leamed.ofthe
                                                             the case, near settlement.

                                            The evidence indicates that no Rose attorney disclosed the Alford matter to April Breslaw

                                                                    m
                             or anyone else at the FDIC or the RTC. m

                             Beyerly Bassett Schaffer
                             Beverly

                                            During July
                                                   JuJy or August of 1990, Rose decided to depose Beverly Bassett Schaffer.H9
                                                                                                                  Schaffer.2S9 Mr.
                                                                                                                  Schaffer.lS9

                             Hubbell called Ms. Bassett Schaffer, and she told him that she believed that Rose should not be

                                             Frost case because afRose's
                                             Frosi
                             involved in the Frosl              of Rose's prior work for MadisonGuaranty.260
                                                                                         Madison .Guaranty.260
                                                                                                  Guaranty.260

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         .-.                  -~"
                           L .-00:"    ·ttl
                               . - _.....
                                            l
                                                Ms. Bassett Schaffer was "angry with Webb Hubbell," so she called Frost's lawyer,
                                                Ms.

                            Peter".. Kumpe, and "told
                            Peter
                            Petei                     Pe~er
                                                      Pe~r
                                                utold Peter
                                                        . ...                          . . and asked Peter if
                                                            . . . what Webb had done ...
                                                                                     . ..                     he was aware that
                                                                                                           ifhe

                            the :Rose
                            the.Rose
                                .          Fi~
                                           Fi~had
                                .R ose Law Finn ·had represented Madison before the [Arkansas
                                                                                          . Securities)
                                                                                              Securities] department

                            ~~ughoutI985 ~c,l
                            ~oughout ·1985.•.
                            ~oughoutI985
                            thioughoutI985,. and                                                                n~erous doc~ents
                                             anc,l that there were documents and files to that effect, numerous documents
                                             an4.


                                            2S1See  e.g.lr----------------------------,
                                                    e.e.g
                                                        g.lr----------------------------,
                                                ee,, e·g.1
                                            H1See,
                                            2S8S


                           +::,---:-__
                           ..         -.Jt.t,I; and Speed RTC-OIO
                                                          RTC-OIG Statement, 6/30/95
                                                          RTC-DIG            6/ 30/95 at 11 ("1 do not recall disclosing
                                                                                         II ("I
                       IiIf!i Rose's representation of Precision to the government.
                                                                        g~vemment .Because Mr. Alford was not our
                                                                                                              OUI client and
                      ..
                     ...
                     ... there was no conflict, I do not believe we.
                                                                 we. had a duty to disclose it.").
                    ifij
                                    mOn August 7, 1990, Mr. Hubbell ·billed
                                    15900
                                    2"On
                                    H90n                               billed the RTC for a "telephone conference with B.
                            Bassett."  ] 05-00083422. Ms. Bassett testified that her conversations with Mr. Hubbell occurred
                            Bassett. n 105-00083422.
               if                roughly July or August of 1990." Bassett Schaffer Little Rock GJ
                            in ""roughly                                                               1118/95.
                                                                                                       ] 118/95, at 135.
                                                                                                OJ.,., 1118/95,
                                                                                                GJ.,

                                            260Bassett Schaffer Little
                                            260Bassett,
                                            ""Bassett                         G.J:,
                                                                Little:: Rock G.J:,
                                                                              G.J"  11 /8/95
                                                                              G.!., 11/8/95,
                                                                                       /8/95,, at 131-32,
                                                                                                  131-32.
                                                                                                  131-32.

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                                            ~'  1..._______________
                                            '~ IL
                                            26
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          EOIAl
          EQIALbb)3   RUI~ .6ie)pFedera,IRules
                 )3 - Rl,I)e J31~)pFederql .Rules of Crimina
                             J31e)pFedera,IFules
                             jlJe)pFedera,IFules     Criminall Procedure
                                                               Proceclure
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    15416 Ubc a: 700U15~)
          Uoc d: 70UUI5 ~ ) age 112
                 70Uu15g)
                 70Uu1 Sg)      11 2


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                                         department."2622 According to Ms. Bassett Schaffer, Kumpe told her
          that would reflect that at the departmenL"1f.

          that he was not aware of the Rose Law Firm's
                                                Finn's prior work before the Arkansas Securities

          Department. Commissioner Bassett Schaffer then suggested that Kumpe serve her with a

          subpoena..
          subpoena, and she would produce'all
                                  produce all public records to Mr. Kurnpe.

                 Mr,
                 Mr. Kumpe subsequently issued a subpoena and obtained the records.  2631
                                                                           records.2~;l1


                                                                                                          ,
                                                   /,,..
                                                   r'264
        .~----------------~
        ~------------------------~
              Kumpe took the documents. copied them.
                             documents, copled them, and left,
                                                         left. Next.
                                                               Next, Ms,
                                                                     Ms. Bassett Schaffer received a

                                                                    settled.26s
          call from a Rose paralegal who informed her that the case settled.:2M

                 Hubbell does not dispute Bassett Schaffer's version of the story.U6
                                                                            story.266

                 There is no evidence that Mr. Hubbell informed Ms. Bresiaw
                                                                    Breslaw or anyone else at the FDIC
                                                                             •
                                                                                     example~ did not
          or the RTC about Beverly Bassett's comments to him. Even Rick Donovan, for example,

          know about Ms. Bassett's comments to Mr. Hubbell. 267
                                                   Hubbell,167


                 161Bassett
                 262Bassett Schaffer Little Rock GJ
                                                 GJ.,.• 11/8/95,
                                                        ) 1/8/95, at 133.
                                                                     J33.

                 2~)Bassett
                 263Bassett Schaffer Little Rock GJ.,
                                                 GJ" 1118/95,
                                                      1118195, at 134.

                 '1~   ________________   ~    ~
                 2~.• ~__________________________ ~              __
                 ?6s Bassett Schaffer Little Rock 0.1.,
                 /"Ba.;;sert                      GJ., 1118195,
                                                        11/8/95, at 135.
                                                                    135 .

                      266Hubbell House Banking Comm., 8/10/95, at 51 (quoting Ms,
                ,../' 166HubbeJI                                              Ms. Bassett Schaffer's
          Inspector
              .
                        General
                            I
                                 statement),
                                 statement).                                     'I

                        •
                 267
                 '"

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        . ~,
                                    Frost's Auorneys'Leamed Of
                                            Auorneysteamed Qf  Rose's ASD
                                                            OCRose's  ASP Work

                                                                   Frost' s lead attorney, Petl~r
                                               As explained above, Frost's                 Petc~r Kumpe, learned of Rose's
                                                                                           Peter Kwnpe,             Ro'se's ASD work

                                    from Beverly Basset!]
                                                 Basse~
                                                 Bassett)




                                    POM
                                    rOM Work By Rose Purine
                                                     Durin&
                                                     Durioi The Frost Case
                                                     Purina

                                               On May 4, 1990.
                                                         1990, Webb Hubbell and the Rose Law Finn
                                                                                             Firm filed aa patent infringement and

                                   anti-trusl1awsui~
                                   anti-trust lawsui~ on behalfofPOM
                                              lawsuit                                                   competitor.
                                                                                                        competitor. ~~.~. IL.
                                                                                                        competitor.16~.
                                                         behalf ofPOM against Duncan Industries, aa POM competitor.26.    I,-___  __
                                                                                                                               _....
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                                  ,'-____________________      ....1" webbJlubbell
                                         ____________________--'I"
                                   LLI~I____________________  -"Fo
                                                             --'I"    Webb  Hubbell perfonned
                                                                      Webb...!'lubbell perfonned
                                                                                                                      .'

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                           ::lI
                                  ----268f
                                                    e.g.. RT.
                                           269See. e.g.,
                                           269See,          C~bIG
                                                              ~bIG Records Examination,
                                                          RTC:':OIG                         6121194,
                                                                            Examination., 6121    /94, which indicates that RTC-OIG
                                                                                            6/21/94,
                                   agents Philip L. Sprague and Patrick S. Durkin
                                                                              Purkin examined court records
                                                                                                        records
                                                                                                        J:eCords for the United States
                  :   ..           District Court ofofthe Eastern District of Arkansas, Wc:
                                                    oithe
                                                    o(tfie                                     tem Division in the case of POM. Inc.
                                                                                              tern
                                                                                             stcrn
                                                                                          Western                                  Inc. v.v.
                                   Duncan Indu~,;
                                            Indu.
                                            Indu,,s,;
                                            Indu,,;    No.
                                                       No. LR-C-W-293
                                                   :;"No.
                                                      ·No.              (£.0.. Ark.); and 01;-00000174-98.
                                                           LR-C-90-293 (E.O
                                                                        (E.O.
                                                                        (E.D.              DE-00000174-98,
                                                                                           DIE-OOOOOI74-98, which are documents
                                                                                           01;-00000174-98,               docwnents from
                                       POM~e;
                                   the POM    caSe; Seth Ward II Little Rock GJ.,
                                       POM"",e;
                                             coSe;                                   1/21/98,
                                                                               OJ., 1121198,
                                                                                          /98, at 13-45; LR OJE
                                                                                     1/21198,
                                                                                     1/21                    GJE 1669; LR G1£
                                                                                                             G1£             OJE 1674.
                                                                                                                             GJE  1674 .
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                              6(e) , Federal Rules of Crimina
             FO IA(b)3 - Rule 6(e),
             FOIA(b)3                                 Criminall Procedure
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            ,-,               Legal work for POM before, during,
                              legal                                        the,Frosl
                                                         during. and after the Frost case,
                                                                                     case.

                              "[Ube      i~ withholdin~
                              "[T]be RIC is             specific lQan
                                            withhQldin2 s~ific              pertainin~ to loanS
                                                                 loan files pertainjn~    loans made to Seth Ward."

                                          On January 31
                                                     31., 1991                         Froslcase
                                                          1991., the defendants in the Frost case filed aMotion
                                                                                                        a Motion To Compel

                              Discovery or Exclude Testimony.271
                                                   Testimot1y.111 That        claim~ that '<the
                                                                  lbat motion claime~     "the RTC is withholding specific,
                                                                                                                  specific ,

                              loan liles perutining to loans made to Seth Ward" and argued that "[tlhe
                                   files pertaining                                             "[t]he withholding of those

                              files should not be permitted."272
                                                  petmitted."212 The Motion To Compel did not list any other loan files by

                                      273
                              name.              I




                              '~------------------------------------~
                               Other RIC
                                     RTC WQrk
                                         Work Pertbrmed
                                              Perfonned By Rose

                                          After the Frost case settled, Rose obtained more savings and loan work from the RTC
                                                                                                                          RTC.
            ...-....

                              By 1991, the RTC had fonnalized its conflict of interest procedures. The RTC sent Rose

                                                                                                          the
                              conflicts lists which contained the names of individuals and entities that the RTC knew were in

                                                                                                      lists. then signed written
                              potential conflict with particular institutions. Hubbell received these lists,

                              certifications which sta~d
                                                   stat~d that Rose did not have any actual
                                                                                     actua1 or potential
                                                                                               potentia] conflict of interest. The

                              RTC~OIG discovered, however, that the conflicts lists it sent Rose contained the names of Rose
                              RTC-OIG discovered.

                              clients. The Rose Law Finn conflicts memorandum contains a more detailed discussion of the


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                                  ,:/ ' "'LR
                                        272LR OJE
                                              GJE 1656; Kumpe Little RockGJ.,   2/3/98, at 9.
                                                                     Rock G.]., 213/98,    9.

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                                - _ _ _- - - - - - - - . . 1'
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                       ....                                                      77


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          -.     RTC
                 R    work Rose performed.
                   TC :work     perfonned.

                                                              • ••••


                         4X 1992 Campaign -- [The facts relating to the Clinton campaign are detailed in
                         4)

                 Rosenzweig, "Clinton Campaign: Febnuuy-March 1I 992," January
                                      Campaign: February-MarchI992,"   JanuaJ)' 1998 and Rosenzweig,
                                                                                         Rosenzweig.

                 «Hillary Clinton, Webb Hubbell and Vince Foster: What Did They Know?" January 1998.]
                 "Hillary
                 "HilIiuy                                                                      1998.)
                                                                                               1998.J

                         In February and March, 1992 the substantive outlines
                                                                     outlmes of the Clintons' "official" version,
                                                                     Qutlmes                             version .

                 of Whitewater-related events were first
                                                   fiist sketched. In response to inquiries from the national
                                                                                                     nationaJ

                                                                         understanding of the role of Hillary
                 press, the Clinton campaign developed a fairly detailed Wlderstanding

                 Clinton and Bill Clinton in the Whitewater Development Corporation.
                                                                        Corporation, the Rose Law Finn's
                                                                                                  Firm's

                 representation of Madison Guaranty Savings & Loan, and related matters.
                                                                                maners.

                         Most importantly, from our perspective, the February-March, 1992 time frame reflects a
                                                                  .                              ..'   .        )))
                 period of intense scrutiny of Whitewater and Madison Guaranty issues by Clinton campaign

                 members. It is, therefore. a comparatively recent ern
                             is. therefore,                        era in which dormant
                                                                                donnant memories of events
                                                                                                    events,,

                 occurring in 1984-86 were <l;Ctively
                                           <l;CtiveJy
                                           actively revived and refreshed. Mrs. Clinton,
                                                                refreshed. Mrs. Clinton. Webb Hubbell, Vince

                                           work~rs learned information
                 Foster and other campaign workers         infonnation that
                                                                       thai was contrary to the infonnation they
                                                                                                            they
                                                                                                            they,

                                            to the public and, it appears, may be contrary to the infonnation
                 contemporaneously reported 10                                                    information

                 they provided official tribunals when Whitewater and Madison Guaranty questions became the

                 subject of official inquiry.
                         o(official

                         A summary
                           swnrnary of the evidence to be presented, relating to the campaign, includes the

                 fOllowing:
                 following:
                 fOllowing :

                         Lorena Lyncb--
                         Loretta Lynch-- Lynch was responsible for developing infonnation
                                                                              information on Whitewater and on

                                                                 78


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              .-.
                        who had advised Lynch that there had been at least 1 contact between BSS
                                                                                             BBS and HRC on

                        Madison~reJated issues. Lynch
                        Madison-related         Lynch OJ, 2/1/96, at 16-17. Lynch had also, by that date, gone to the
                                                      GJ, 2iJf96,

                       Arkansas
                       Arkansas Securities Department and reviewed the microfiche records reflecting the exchange of

                       letters between the RLF and BBS,
                                                   BBS. Lynch GJ, 2/1/96, at 16,
                                                                             16.

                               On February 21st,
                                           21 st, Lynch spoke with Susan
                                                                   SUSIlll Thomases who had spoken to HRC on the

                       issue. According to Thomases, HRe
                       issue,                        HRC claimed that she was the billing
                                                                                  billing partner because

                       "McDougal insisted that she be the contact person,"
                                                                  person." Lynch GJ, 211/96,
                                                                                     2/1/96, at 18.
                                                                                                18, Both Lynch and

                       Thomases recognized that the RLF billing records would provide additional detail on HRC's

                       activities and Lynch considered it a "hot topic,"
                                                                 topic." Lynch OJ, 211/96, at 16. She enlisted Thomases
                                                                               GJ, 2/1/96,

                       help in pressing WLH to do a more thorough review of the RLF records. Lynch GJ,
                                                                                                   OJ, 2/1/96, at

                       19-20.
                       19·20, See al~
                              SeeaJd

                      fir                                                                                                  \
                               On February 24th, Lynch met with WLH to discuss RLF's representation of MGSL for
                                                                                                    ofMGSL

                       more than an hour. Lynch OJ; 211/96. at 40,
                                                GJ, 2/1/96,    40. She recorded her notes ofiliat
                                                                                          of that conversation in

                                                    memorand ....
                       another, handwritten rolling memorandum,f'r  =======11
                                                            l1IIl 1_______.....1In that discussion WLH disclosed
                                                representa~_io-n of McDougal in 1981. He alSQ
                       to Lynch the earlier RLF representation                           also advised Lynch that HRC

                       was the billing attorney in 198~
                                                   199.~ 'and            [Massey]J had a relationship with John Latham,"
                                                          imd that "Rick [Massey                                Latham."

                       Lynch GJ,
                             OJ, 21l/96,    24,Ac~Ording
                                 2/1/96, at 24""A'
                                                 ccording to WLH, the RLF bill roughly 200 hours total and that "20

                       percent of
                               ofHRe  w~ 'atlocated to McDougaL"
                                  HRC wasiilloc.ted    McDougal." Lynch GJ.
                                                                        GJ, 211196,
                                                                            2/1/96, at 24-25.
                                                                                       24·25, From this Lynch


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          .-.                          the Reise    Firm 's representation of Madison G,
                                           Rose Law Firm's
                                                    Finn's                            G,uatanty
                                                                                      G,uaranty        of
                                                                                        uaranty Savings and Loan mi
                                                                                                                 on "behalf aflhe
                                                                                                                            of the                 on
                                       Clinton ~ampaign.
                                               campaign. Her first awareness of the'issue arose in early February 1992 when the
                                                                             ofthc'issue

                                       campaign became aware that Jeff Gerth.
                                                                       Gerth, of the
                                                                                 tl).e New York Times, was researching an article on
                                                                                 tt,e
                                                                                 t1;Ie

                                       the topic.

                                                                  Between
                                                                  Bet:ween                                ~e Whitewater issue ~d
                                                                  Bet:Ween the start of her assignment to the
                                                                                                          ':he                                   ~ynch '
                                                                                                                              and February 22nd, I;ynch

                                       kept on computer a "rolling file"  memorandwn to herself, Lynch GJ, 2/1196,
                                                                   file " memorandum                       2/1/96, at "12.
                                                                                                           211/96,         of~e
                                                                                                                       12, of ~e results
                                                                                                                              the

                                       of her investigation,l
                                                       atiOO,;;.,.LILLI..._____
                                                      gation,
                                              investigation:
                                              investi                     __
                                                                          _ __
                                                                             ____
                                                                                _..... I____--Itt
                                                                                   ...~7S
                                                                                       7,' As of February 18th, Lynch had identified 4 separate


                                       topics that Gerth                in: RLF's
                                                         was interested in:
                                                   Gerth..,Jas
                                                         ..,Jas
                                                         Was                RLF' s representation ofMGSL; HRC's activity representing

                                       clients before s~te officials; RLF'  S~{~
                                                                      RLF'ss subsequent work for the RTC in a suit against MGSL; and

                                       tenns ofthe-se.
                                       terms ofthe -se.ft1ement entered into with the Frost accounting finn on behalf of
                                             ofthe-se.ttlement
                                             ofthe-se,itlement                                                        afthe  RTC.
                                                                                                                         the RTC.
                                                              .             .
                                                                  In her'rolling
                                                                     heJ;/rolling memorandumlL
                                                                                  memorand1lI'nI..._
                                                                                                   ____
                                                                                                      __             ---'1
                                                                                                        _......1Lynch identified the parenthetical comments

                                       on these 4 i~s,ues
                                       on         i' ,ues as WLH         i~,ues
                                                                      co~entary
                                                                 ' s co~entary on
                                                             WLH's             on Gerth       questi.on~.l
                                                                                                       n~.lrI---------,1
                                                                                                             _______. . . .I
                                                                                        's questions-',r...- - - - - - - - . , 1 On
                                                                                  Gerth's

                                       Feb~
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                                       FebruaJ)' ,i/t
                                       February  :i8,
                                                 /18,8,          WlderS~d.ing of the state of
                                                                 WldefS~ding
                                                     s, 1992 her Wlders~ding
                                                                 undefs'~ding                 ~H"~·~oWledge
                                                                                           ofWLH'~
                                                                                              ~H"~'
                                                                                           ofWLH   ..~·~owledge  was:
                                                                                                       knowledge was:

                                       •                        With regard to RtF's
                                                                .with                       RL'~': s
                                                                               RtF's representation OflvfpS('WLHOf~OSL,'WLH
                                                                                                    of~osi, WLH understood tlult             th~t
                                                                                                                           that "HRC brought it to        ~rought
                                                              .'the
                                                              ,'thdinn.'l
                                                                    firm."
                                                               ;the finn.')                         I  ......
                                                                                                       .
                                                                                                    1" ,/   .
                                       •            !                    ~¢gar4:to HRC's
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                                                                  With r,¢gar4·to   HRC 's activity ~pre;sentinf
                                                                                                    repr~sentinf
                                                                                                    ~pre"sentinf clients.        wui
                                                                                                                 clients, WLH told LynCh
                                                                                                                                   Lynch that the file
                                                :                 indic,!ited,'~at
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                                                                  indic.a:ted Ulat          conta~twith BB.,S
                                                                                            contact'with
                                                                              that HRC had contac(with    BBS __  ' '.
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                                                                                                                                        and    I
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                                                                  ~.iiith4~ r.regard
                                                                  With      r.r.eee·~~ard
                                                                                       ~d to RLF's
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                                                                                                    ~otk'
                                                                                                    ~ofk
                                                                                             RLF' s ,-",:ork ~or thc'RTC
                                                                                                                 ~e'RTC
                                                                                                                 ~e" RT~ and the senlement,
                                                                                                                     R;C         settlement, WLH told Lynch that the
                                                                  p6te~tial
                                                                  p6te!lii~              ·oeen disclosed. and that he had told Gerth that the settlement terms
                                                                  pOteptial conflict had,been
                                                                  pOte!liial         had ·been
                                                                                         ·neen
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                                                            . we.r~
                                                              w~.r~ confidential~,,1
                                                          ./were    confidenti~
                                                                    confidenti~.J
                                                                    confidential. ....1
                                                                                   J                                         I
                                                    ,i .Prior to FeQrU~ry~2hd,
                                                    i,Prior      Fe9ni8ry nod, Lynch had also already spoken with Beverly Bassett Schaffer,
                                                                 FeQrilruY22nd,Lynch
                                                                 Fe9ruari22iid,
                                                        ...                     ...'   .........
                                                                                         .......
                                                                                                .'
                                                                                         ...... ..


                                                                  27.~.· L~n~h·:~ recotlect~on
                                                                  2~~.·-L.Yn(ih··s recollection was
                                                                  2~S"Lyn~h's                   was gen.erally                  notes .rf,\---
                                                                                                    gen.erally refreshed by her notes.\
                                                                                                    generally                   notes.       --------
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          FOIA(b)3 - Rule 6{e
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                              ), Federal
                          6(e),           R u le~ of Criminal Proced
                                 Fe deral Rules                      ure
                                                              Procedure
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· ....-....
                    realized that the Clinton campaign could not publicly maintain that HRe
                                                                                        HRC had done no work for

                    MOSL
                    MGSL or McDougal, as it would have liked to do. WLH expressly told Lynch he had reviewed

                    the billing records. Lynch GJ, 2/1196,
                                                   2/1/96, at 13_74.'"
                                                              73-74.277

                               Mareh 5th,Lynch spoke with WLH again regarding the RLF's representation of
                            On March

                                   co~temporaneous notes of that conversation
                    MGSL. She took contemporaneous                            ... LIL _
                                                                 conversation./I      ____
                                                                                         ___.,.JkDEK-008878)
                                                                                             ..JkDEK-008878).

                                     had. evidently, spoken with bothJ~ick
                    At that time WLH had,                        both .Rick MaSsey and John
                                                                                       Jo1m Latham, neither of

                    whom were reported to have any recollection of how MOSL
                                                                       MGSL came to hire RtF.
                                                                                         RLF. Massey is

                                            "I don't remember this ma~.
                    quoted has having said: "1                     ma~r. I don't remember who did what!'
                                                                                                  what." Lynch

                                   51-52. 278
                    GJ, 2/1/96, at 51_52.'"

                            [Those same notes.   a discussion with
                                        notes of Ii                VlLH also reflect his disc~sion
                                                              with WLH                   disc1:lssion with HRC and

                    WJc. The entry for HRe
                    WJC,                                "~RC --- ever conversed with Rose Law Firin!McDougal"
                                       HRC is a cryptic "!:IRC                                FinnlMcDougal"

                    which Lynch is confident could not .11~ve                       2/1/96, at 52. The reference
                                                                                GJ, 211196.
                                                       have been "never." Lynch OJ,

                       \VJC is clearer -- "he has no """,lIection"
                    to WJC                           retollection" of having anything to do with RLF. Lynch GJ,

                    211/96, at 53.]
                    2/1/96,

                            On March 5th ~d
                                         and 6th, Lynch and Thomases met with Gerth for several hours in New

                                     G,{ 2/,l196.
                    York City. Lynch OJ, 2/1/96, at 41. Based on that conversation, Thomases reported to the




                              I,.Ynch.
                              Ly'nch, it should be noted.
                            277
                            211                    noted, was not given access to the RLF files on MGSL; nor to her
              ./1
               r                                   _                                                                 _
                    knowledg~was
                    knowledge  ",as any other cam:~                .~
                                                     gn employee ..,
                                              campaign                                                             \




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                                                              FO_I_A_(b_7_._-_(_Cl_ _ _ _ _ _ _ _ _ _ _ _ _ _..J
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         -         campaign that she had bought some time -- enough to put the issue offpast
                                                     time·-                          off past Super Tuesday on

                                                                                                       some~hat
                               Becawe it turned out she had not succeeded in buying the time, she fell somewhat
                   March 10th. Because

                   Ollt of favor and
                   out                                                 much ·of    work . Lynch OJ,
                                                                             of WW work.
                                 and Jim Lyons took responsibility for muchofWW                     2/1/96: at 66.
                                                                                                GJ, 2/1/96,    66..
                                                                                                               66

                           On the night of March 7, 1992,
                                                    1992. just prior to the publication of
                                                                                        ofGenh's
                                                                                           Gerth' s article on March
                                                                                           Gerth's

                              w~
                   8th, there was
                               . .a~ scramble
                                           .                                         the
                                                                         respond .to the anticipated allegations. Most
                                              at the Clinton campaign to respond
                                                                         respond,to

                   afthe
                   of the scramble involved review of Whitewater-related documents           ~ad finally been
                                                                                        \VLH had
                                                                         docwnents that WLH

                   persuaded to release to the campaign.    Lynch was less concerned with the issue ofHRe
                                                                                                    ofHRe's
                                                                                                    ofHRC 's
                                                                                                    ofHRC's

                   representation ofMGSL and her activity before the Arkansas Securities Department because she

                   already knew that BBS would be in a position to provide an exculpatory statement. Lynch GJ,
                                                                                                           GJ,

                   2/ 1196, at 37.
                   2/1/96,

                           However,                                 ofhigh~level
                           However. the picture Lynch paints is one of high-level activity. She had numerous
                                                                                                    numerous
                                                                                                    nwnerous

                   discussions with Thomases, Jim Lyons at other staff.
                                                                 staff'. She went back to the RLF to review WW

                                                            losses. Lynch OJ, 211196,
                   documents relating to the Clinton's WWDC losses.           2/ 1196, at 45. She also contacted
                                                                              2/1/96,                  contacted.

                   BSS and Sam Heuer to try and coordinate a response. Lynch OJ,
                   BBS                                                              1/96,, at 44. Lynch drafted
                                                                             GJ, 2/1/96,
                                                                                 2/ 1/96

                                            GJ
                                            GJ,, 2/1/96,
                       BBS statement. Lynch GJ,
                   the BSS                  Gl.  2/1/96. at 37.
                                                 2/1/96,
                                                 211196.    37.

                           She also drafted the campaign response on WW which was released to the public on

                   March 8th, after having cleared the statement with George Stephanopolous, Bruce Reed, HRC

                   and WJCIL  I...____--'I
                       WJc .• _ _ _ _ --'....11Lynch OJ, 211 /96, at 48-49.
                                                     GJ, 211196,     48-49.               response affmnatively
                                                                     48-49 . The campaign responseaffmnatively
                                                                                          respons.-affumatively

                          ~~t Rick Massey
                   stated that     MasSey brought in the MGSL
                                                         MOSL business through his friend JOM
                                                                                          John Latham,

                   notwi' ~tanding Lynch's understanding from WLH that neither of those individuals had a
                   notWithstanding

                   ~.~ollection
                      ~ollection 'to
                   ~ecollection                                                               ~t the direction of Susan
                                                                                        mad~ at
                                  to that effect. According to Lynch that assertion was made.

                 / . Thomases, who Lynch questioned on the matter        instru.cted Lynch that the statement
                                                           maner and who instructed

                                                                    82
             FOIA(b)3
             FO IA(b)3 - Rule  6(e), Federal Rules of Criminal Procedu
                         Rul e 6(e).                           Proceclure
                                                                       re
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                    should 'be made, Lynch OJ,
                    should'be                  2/1/96, at 55·56,
                                           GJ, 211196,    55-56 . .

                            On March 16, 1992 HRC made the public claim that she had done no work before state

                    agencies and received no compensation based upon work RLF did before state asQencies.1
                                                                                                  encies.




                           On March 22 the campaign received aa list of questions from the Washington Post that it

                    wished to have answered by HRCcLI
                                               HRc,.:-... _ _ _ _....J1
                                                      I _____        ...1These, along with questions from other
                    Post reporters were all answered:by Lynch,. .On
                                            answered'by Lynch    On March 24, 1992 she prepared a draft of

                    responses to foUow ..up ques~6ns
                              tofoHow-up    questi6ns on WW posed by the Washington Post~
                                                                                    PostJ




                            The campaigtl statement carefulJy             "Hillary Clinton knows of no instance in
                                                    carefully stated that ·'Hillary
                .                      .
                                   rept'esented anyone before a state agency:1
                    which she ever repfesented                        agency:j




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        FO!A(b)3   Rule 6(e),
        FOIA(b)3 - Ru!e 6(e), Federal
                              Federa! Rules of Criminal Procedure
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         · ~ ,.
                            Susan Thomases __
                                           _-- Susan Thomases, an anomey
                                                                  attorney in New York City, played a role
                                                                                                      ro le in the

                     early development of the Clinton campaign response to the inquiries from JeffGerth~
                                       ofthe
                                       nfthe                                                  Jeff Gerth        1


                    Ii\L-_________~
                                  '"
                     L-____________________________________________~\279
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                            As of February 20th, Thomases role was to respond to additional inquiries being made by

                     Gerth. Thomases GI, 2129196, at 22·23.
                                     GJ, 2/29/96,
                                     OJ,             22-23. She had this role notwithstanding her location in New
                                                                                     .
                     York and Gerth's location in Washington, D.C. ,\




                          /IL-_________________
                          ,IL-_
                          iIL-_ _ _ _ _-,--___________
                                         -,--________-,.-_ _---l
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                          le 6(e), Federal Rules of Criminal Procedure
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                                                                  ·




                                                                                    Gerth~: ...I _ _ _ _ _...I1
                                       The next day, February 21st, Thomases called Gerth..)L              .J1One of the issues

                             Gerth inquired about was the relationship between RLF ari'
                                                                                   aridd MGSL and "how
                                                                                                  "bow it came about."
                                                                                                               about"

                             ThOInases
                             Thomases G1,                               Thomas~s' annotated her notes of the conversation
                                       OJ, 2/29/96, at 34. Subsequently Thomasi!S'

                             witll      with the answers she had been able to
                             with Gerth v.itll                                fmd. Thomases earne
                                                                           tof'ind.         came to Wlderstand
                                                                                                    understand from HRC

                             that the RLF-MGSL connection was made by>Rick
                                                                   by. ,Rick Massey who was a friend of John Latham.

                             Thornases OJ, 2129196,
                             Thomases GJ,  2/29/96, at 36,
                                                       36 .
                                                                          ;i
         .- "




                                             further, effort to gather information, Thomases spoke with
                                       In aa furthe5:etfort                                             WLH directly on February
                                                                                                   withWLH

                             24th. Her no~?:of
                                       note;; 'of that conversation reflect infonnation
                                                                            information WLH gave her on that day. Thomases

                             GJ, 2I29196( at 441
                             OJ, 2/2919?{at                           I
                                             44,J..._ _ _ _....., According to tllose
                                                                               those notes WLH told Thom_s
                                                                                                    Thomases that HRC

                                   r~hitio~hip witll
                             had a retationship with McDougal and that "Rick "'ill
                                                                             will say" he had
                                                                                          Imd a relationship with Latham
                                   "             "




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        FOIA(IJ)3        6(e), Federal Ru!es
                                       Rules of Criminal Procedure
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          .- .                             that figured in RLF getting
                                                               gening the MGSL
                                                                          M.GSL
                                                                          MOSL business. Thomases OJ, 2129/96. at 45.
                                                                                                      2129/96,
                                                                                                  GJ, 2/29/96,    45 . According to
                                                                                                                                 to,

                                                                    reviemng some docwnents and conducting one phone call with BSS
                                           WLH, HRC's role involved reviewing                                                  BBS

                                                                                                    "ace. to time Tee."
                                           in April 1985. This discussion ofHRC's role is annotated "acc.         rec."
                                                                                                                  ree." reflecting her

                                           understanding that WLH was relying on time records
                                                                                      records-to
                                                                                              -to                 information. Thomases
                                                                                              to provide her this infonnation.

                                           GJ, 2129/96,
                                           OJ,             47 . Thomases, however, is not certain he had the records in his possession at that
                                               2/29/96, at 47.

                                           time. Senate Banking Com., 12/ 18/95, at 53.
                                                                      12/18/95,                                            tO'have
                                                                                    53 . Her notes also reflect her desire to have an

                                          acCOWlting
                                          accounting of the relative nwnber
                                                                     nwnberofhours                                matters~·
                                                                                                HRe spent on MGSL matters
                                                                            of hours Massey and HRC                       -- a
                                                                                                                  matters··

                                                                                                            IV] 8/95           7i..
                                                                                                                               7i
                                                                                                                 8/95,, at 68, 71.
                                          question to which she never got an answer. Senate Banking Com.. , 12/18/95,
                                                                                                            121J

                                                                                                                     Ge~..~I_
                                                  On March 5, 1992 Thomases had another phone conversation with Jeff Gerth"I..I
                                                                                                                     Gertl)'·LI  _ _.J
                                                                                                                                ___ ..I



                                       o
                                       D
                                       .
                                                             conversati~n
                                                  In that conversation Gerth posed additional questions for the Clinton c.c~p~gn
                                                                                                                           ~~gn to answer.
                                                                                                                                   answer . .
                                                                                                                                           ..
                                                                                                                                              c..~~~~gn
                                                                                                                                                   'gn
                                      ./ Senate Banking Com
                                      [Senate                    12118/95, at 92.
                                                            .. , 12/18/95,
                                                        Com",                                                                           ~~ had spoken with
                                                                                                                                        fIRe
                                                                                                                                        HRC
                                                                                                           When Gerth inquired whether ,lIRC
          .- '
          .- .                                                                                                                                                        "             ,




                                 !
                                 !
                                      i
                                      ; McDougal.
                                                about. MGSL
                                                       MOSL hiring RLF,
                                                                 "
                                                                   RLF •..Thomase"
                                                                         .Thomases,
                                                                         ,Thomases.
                                                                          Thomases, on behalf of the campaign,
                                                                                                     cainpaign,
                                                                                                     cafupaign,
                                                                                                     car;,paign,
                                                                                                     .
                                                                                                                 told him that HRC
                                                                                                                                                    "




                                          believed that Latham had brought the business to Rick M~sey.
                                                                                                Ma,s::;eY. She made this representation ,·
                                                                                                Ma.s:sey.
                                                                           .                                                        ...
                                                                                          !po~~h
                                          based on infonnation she had from HRC and WLH, .~ough
                                                                                          ~                     WLH,
                                                                                            o~gh she never spoke directly with

                                          Massey.
                                          Massey . Thomases GJ,
                                                            GJ. 2/29/96,        Ge~.ar~
                                                                                    ...aar~o
                                                                            49. Ge~,.aIso
                                                                2129196, at 49. Gerth    lso asked Thomases to confum
                                                                                                               confmn
                                                                                                               confurn McDougal's

                                          recollection that he spoke with WJC ab~.uur"ihe
                                                                                    (ihe hiring ofBBS.
                                                                              abo~(the
                                                                              ab~.  (the        of.BBS.. .' Thomases GJ,-2/29/96,
                                                                                                of.BBS               OJ ,-2/29/96, at 56
                                                                                                                                      56..
                                                                                                   ...
                                          Tho~ases notes reflect that she spok~
                                          Thomases                        S~k~· with WJC on this issue,'I..
                                                                          s~ke                   iss~.~'~~'LI
                                                                                                 iSS'     .'LI         .J1 and he had no
                                                                                                            I _ _ _ _ _....Iland
                           i
                 ,         ;                                         diSCUSSio.o;"'~omases
                                                       Of·the discussio.
                                          recollection of     discussion;"'Thomases   OJ, 2/291.96;~t
                                                                       n·: ··Thomases GJ, 212~(.96~· ·at 60.
                                                                                                         60 .    2129!
                                                                                                                    ....
                                                                                                                   .....
                                                                                                                         .96~··~·~·~~.
                                                             po~··certain
                                                             po~"
                                                             po~"  ~~rtain questio~.tfi~~·he
                                                  Gerth also posel~ertain
                                                                   certain qUestio~.tll~~·~e
                                                                           questio.IJ,S,tha~
                                                                           questiot:LS.                        answ~.r....Ilr-----"I
                                                                                                               an~~.r.
                                                                                        tfi~t he wanted HRC to ans~~J
                                                                                                               an~~.r.  lr-----"I
                                                                                                                            _ _ _ _ _...1 He
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                                                                                                                                                    ... .... .--..
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                                                        ~RC ever s~~e
                                                whether ~RC
                                          asked whetherliRC      spo~e. dir~ctly
                                                                 s~~e.
                                                                 spo~e.
                                                            . . ..'..   dir~~t1y 'with
                                                                                  with
                                                                                 'w     McDoug<!Jreg·ardi~~ MGSL and RLF. Thomases
                                                                                        McDou~~regarding
                                                                                    ith McDoug<!.lreg·ard·ing             Tbomases
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                                                                                                                   ans~~r.'
                                                                                                   on··With her ans~~r           ''Ititroduce J McDougal to Rick Massey with John
                                                                                                                                 ~·ltitrOduce
                                                                                                                           . ....~·Ititroduce
                                                               ....                     .....                  ..........
                                                                                                                .... .. ..

          .,--       :                     LaYt~'.
                                           LaVt~"'.'' .~.ur·
                                           LaYt~
                                           La~am".but'she           ,~.ut"'she ..d~~~notrec~l
                                                                                            do~,~s., non·ec~:
                                                                                            do~.
                                                                                            ~?~:     not"rec~:ll whether this answer was, in
                                                                                                     not"rec~l                                            io fact, provided to her by HRC.
                                                                                                                                                                                      HRC .
                                                                               .................
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                           EXHIBIT 3 (Part 3)

                                     to

      Plaintiff’s Response to Defendant’s Statement of Material Facts
        Not in Dispute and Statement of Undisputed Material Facts
            in Support of Cross-Motion for Summary Judgment




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                       Thomases GJ, 2/29/96,
                                    2129/96. at 57-58; Senate Banking Com .. , 12118/95,
                                                                               12/18/95, at 93"
                                                                                            93. To the contrary, her

                       recollection is that the MasseylLatham
                                                MasseyfLatham relationship cemented the client relationship. Senate

                                        12/18/95, at 91. However, Thomases has acknowledged that there is no other
                       Banking Com .. , 12118/95.

                       person besides HRC whom she is likely to have asked for this infonnation.
                                                                                    information. Senate Banking

                              ,. 12/18/95, at 9~.
                       Com .. ,,12/18/95,     9t1.

                                Thomases nores
                                         notes do, however, reflect that on March 6th she spoke v,lth H~ctl---'
                                                                                                with HRC.  I" ___....
                                                                                                          ....

                  D
                  :D Those notes reflect HRC's opinion that "This [i.e, the Whitewater inve~tment]
                  .
                                                                                       inve~trri~nt] is the only
                                Those notes reflect HRC's opinion that "This [i.e. the Whitewater
                                                                                                      "
                                                                                                              is the only

                 ;': stupid dumb thing we ever did" and that they would not do it again if they.-cOuld"
                                                                                           they" "fuuld. Thomases OJ,
                                                                                                                  GJ,

                 , 2129/96,
                   2/29/96, at 62·63.
                               62-63.
                                                                 ,




                                         7th/
                                On March 7thJ




                LI___________
             .. L..._ _ _ _ _ _ _- - - - -J, 'La,,", that I Lat~r
                                                     that day Thomases
                                                              Thomases spoke          with WJC
                                                                       spoke directly v.ith     who said
                                                                                            WJC who said
             .
                       he lost money and would not make  the investment ifhe had to do it over again, at least
                                                   m,ake theinvestrnent                                  teast in part to
                                                     .-
                       avoid the appearance of a conflict ofjnterest
                                            ofaconflict   of interest. Thomases OJ. 2/29/%. at 53.
                                                                                GJ, 2/29/96,

                                On March 10th.
                                         IOth":"Thomases                                             indiv.i~tW·D
                                               Thomases notes reflect a conversation with an unknown indi~dwilD

                 JrI  ----.,lI tha(for the first time recount the
                                                              the full story that Latham ~e.to"M~~y
                                                                                         ~a.me"to"M~sey and
                 '. Massey went
                            .
                                 WeD~-to
                                to the securities lawyers
                                       .           .
                                                          who said that..... ~ltdirm~~~ul~"'deC1ine
                                                                         the.fi.rrtl"\;';ould decline MOSt's
                                                                                                      MGSL's business

                       becaus~itit had a delinquent bill.
                       because
                           ""
                                                            Th~.notes·ai~~·;eflect
                                                    bilI, The~notes~ai~o
                                                            ~  .
                                                          .... ,.-
                                                                -"
                                                                            reflect an emendation ofWLH's earlier

                   a.:;~owledgment.....th~t
                  ."a~knowledgment          H-RC~h~d "a'a conversation with BBS and instead contend that HRe
                                     tl1!:1.tHRC·h~d                                                     HRC never
                                       ...   "




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                            caned
                            called BBS, but made oniy                 call to her office. Thomases GJ, 2129/96,
                                                 only one ministerial can                              2/29/96, at 67-68,
                                                                                                                   67-68.

                                               th, Thomases participated in a conversation with Jim Hamilton, which is
                                   On March 11 til,-

                            reflected in Hamilton's notes of that discussion,;<LI _____
                                                                  discussion]I.-_____    .JIHamilton
                                                                                            IHamilton contends his notes
                                                                                      .......

                                    infonnation provided to him by Thornases.
                            reflect information                    Thom,ases. Those notes reflect that Thomases told

                            Hamilton that HRC took Massey to meet McDougal:
                                                                  McDougalA     I




         .....-..




                       ;


                      !




                      .,:

                      /~----------------------------------------------------~
                                                  88
                    FOIA(b)3 - Rule 6(e), Federal Rules of Criminal Procedure
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                                                                          248
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                             Rick M~'ey                      Reconl ill
                                  Massey and the Documentary Record               L.lIY!: firm
                                                                           Rl1J;~ Law
                                                                    at the Rose           Firm -- After Rick Massey

                     learned of newspaper articles that were critical aftlm
                                                                      of the RLF representation of MOSL
                                                                                                   MGSL he ordered

                     his personal work file from remote storage,
                     rus                                storage. Documents
                                                                 Docwnents reflect that his secretary Vera Hitt got

                     the files from storage on March 24,1992,
                                                     24,1992. RIC 121384-92; Massey GJ, 1213/97, at 34-35,'"
                                                                                    OJ, 12/3/97,    34-35.281 ,

                                                                        asked Massey for his files. Massey gave Foster
                     Shortly after the files were ordered, Vince Foster ask,ed

                                             files from storage. Massey OJ,
                     copies and retained the mes                            1213197, at 40; Sen.
                                                                        GJ, 12/3/97,        Sen, Banking Com.,
                                                                                                         Com"

                     1111/96, at 35. The files he gave Foster were apprOlmnately
                                                                   approximately 1 ~ inches thick,
                                                                                 I Y,       thick. Sen. Banking

                     Com., 1/11/96 at 191. His understanding was that Foster was collecting the files on behalf of the
          .1'--"


                     finn,
                     firm, not the Clihton
                                   Clinton campaign. Sen"
                                                     Sen. Banking Com     1/1 1196, at 202. 282
                                                                      .• _1111/96,
                                                                  Com.,.                    181 Indeed, it
                                                                                                           appears that

                     during this week Vince Foster was actively involved in developing an tmderstanding of RLF's
                                                                                          understanding ofRLF's

                     representation ofMG~l.
                                    ofMG~L.


                            On March 26 MaSsey          memorandwn regarding his activity in connection with
                                        Massey signed a memorandum

                     RLF's representation QfMGSL
                                          ofMGSL before the ASD.                                -                ]
                    ~ ________________________________________________ \lTh'em~nwdum
                    L-_________________________________________________                        -lThememor~dwn




                                                                          Sheets" were checked out by "Millie."
                             281I On March 25th files labeled "HRC Time Sheets»
                             :It                                                                         "MiHie." RIC
                     121481. Millie Alston does not recall checking out any of Mrs. Clinton's
                                                                                       Clinton' s time sheets. Hubbell
                     has testified that he obtaiDed
                                           obtained some time sheets from the 1987-89
                                                                              1987.. 89 time frame during the campaign
                     ~d has since produced these to Ole. Mrs. Clinton's time sheets from 1985-86 cannot be foUnd.
                     and                                                                                         found.
                     Colloton & Azar Memo.
                     CoUoton            Memo, at 10.

                            282 The files later provide by WiJIiams
                            2S2                            Williams and C(lrmolly   Ole appear to be Massey'
                                                                        Connolly to OIC              Massey'ss files.
                     Sen. Banking Com., III1111196
                                              J!96 at 208.

                                                                      89

           FOIA(b)3 - Rule 6(e),
           FOtA(b)3        6(e) , Federal Ru!es     Criminal Procedure
                                          Rul es of Criml!18!
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                              ~as not prepared by Massey, but rather by either Vince Foster or Loretta
                              was                                                              Lorena Lynch.                    OJ,
                                                                                                                         Massey OJ
                                                                                                                                GJ,,

                              12/3/97,    56.283 At the time it was prepared Massey had reviewed his own files. ', Massey OJ,
                              1213/97, at 56.213                                                                          OJ ,
                                                                                                                          GJ,

                              12/3/97,0<.59.
                              12/3/97, at 59.

                                     The relevant   portion of Massey's statement reads as follows:
                                         relevant ·.ponion

                                       I perfonned substantially all legal service on behalf of my fmn
                                                                                                     fum  . . .. My work was
                                                                                                     finn ....
                                       perfonned
                                       performed under the supervision of senior members of the Securities Section of this firm.    finn.
                                       To my knowledge, Ms. Clinton had no contact, either in person, telephonically or
                                       otherwise, with any ASD staff'member                   [these11maner[s].
                                                                 staff member in respect of [these]
                                                                                              [these   maner[       [I .e. the stock
                                                                                                               s1 . [I.e.
                                                                                                       matter[s].
                                                                                                       maner(s).
                                    . offering and the broker/dealer application.] FUrther.
                                                                                     FUrther, I do not believe that any
                                                                                     Further,
                                                                                    maner meaningfully influenced the ASD
                                       involvement by her in connection with this matter                                       ASD's's
                                     . ultimate detennination
                                                determination with respect to this maner.
                                                                                    matter.

                          ,1-______
                           ''-_____
                            ~-_____      ...1I1At the time he signed this statement Massey had not reviewed the billing
                               _ _ _ _--'..

                         !.f records. He would not have made the
                          f                                  ~e same statements.had
                                                                                had the bilJing
                                                                     statements had                     been available for
                                                                                        billing records been

                                                     1213/97
                                                     12/3/97,, at 60.
                                                 GJ, 1213/97,
                              his review. Massey OJ,              60 .
         .-        •.

                                     This summary conflicts with Hubbell 's recollection and also with infonnation
                                                                 Hubbell's                             information Hubbell

                              personally gave to Mrs. Clinton in late March or early April, 1992. According to Hubbell, within

                              one month after the Gerth article was published, he had one conversation with Mrs.
                                                                                                            Mrs. Clinton

                              relating to her phone call with Bassett. Mrs.
                                                                       Mrs. Clinton said she just dido.'t
                                                                                                  didn't remember the call, and

                              Hubbell told her:
                                           her: "Well, it's   in the bills and Rick does remember that it was in your office."
                                                       it' s ·in
                                                             'in
                                                                                                            ,
                                                                                                            p
                                                                                                            ,0

                                          12119/95,
                                          12119/95 , at 178. Besides again establishing Mrs.
                              Hubbell GJ, 12/19/95,                                     Mrs. Clinton's awareness of the



                                      m It is very unlikely
                                      283          unlik.ely that Lynch was involved in the preparation of ofM~y's
                                                                                                             Massey's statement.
                              First, Lynch has no contemporaneous notes of her involvement in the preparation of this
                              document
                              docwnent and she was a ""religious"
                                                         religious" note-taker. ·Second,
                                                                                 Second, the docwnent
                                                                                'Second,                     fOWld in Vince
                                                                                             document was found
                                                                                           ole by the Clinton campaign,
                                                      nO copy of it was ever produced to OIC
                              Foster's briefcase, and no
                              suggesting that the campaign did not have a copy of it. Third, had.
                                                                                               had.. the document been available
                              to the campaign it would likely have been released to the press during this time period -- and
                                                                                                                          ahd it
             ,                was not. Indeed, this statement may be the memo that Hubbell says he and Foster prepared after
          ..~
            -;-.
                                                Massey . Hubbell GJ
                              they interviewed Massey.                 ·12119/95
                                                                        12119195,, at 91.
                                                                   OJ,,·'2119195,
                                                                   GJ,  12119/95,     91 .

                                                                                  90
             FOIA(b)3·- Rule
             FOIA(b)3         6(e) , Federal Rules of Criminal Procedure
                        Ru le 6(e).                            Proced ure
NW:
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                         85


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          .,-,
                           informatioRcontained
                                       contained in the billing records, it suggests that .whoever
                           information-contained
                           information                                                    whoever drafted Massey's statement.
                                                                                                                   statement,
                                                                                                                   statement

                           was either unaware of this fact or deliberately omitted it.

                                      Also by March 26th, Foster had prepared a chronology on his computer, entitled
                                                                                                            enutled ""Re:
                                                                                                                     <ORe:
                                                                                                                      Re:

                           Madison Representation."I
                                   Representation."  .......
                                                       . _____
                                   Representation," ....       I _____
                                                                ....IThe docwnent
                                                             ---'IThe
                                                             --'IThe     document was found in Foster's briefcase in
                                                                         document

                                        subseque~ily has been identified as originating on Foster's computer
                          July 1997 and subsequently
                                        subsequefltly                                               ~mputer at RLF.
                                                                                                               RLF.
                                                                                                               RLF,
                                                           :     .
                          Clark GJ, 12/2/97,
                                    12J2J97,    1 .$
                                    1212197, at 1.
                                    1212/97,       ~6.
                                                1~6.6. TIris docwnent is notable for two
                                                       This document                 CWo reasons.
                                                       /
                                      First, it reflectS the state of Foster's
                                                                      Foster' s knowledge of the Madison representation issue as of

                          March 26th,    con~ns
                                26th. It conptins
                                         cooptins
                                         conthlns the following entries:
                                                                entries:

                           •          07/30/82 '/i'/   Final bill of Rose Law Finn
                                                                               Firm to Bank of Kingston (a/kIa
                                                                                                          (alk/a Madison Bank
                                                       & Trust) ofS5,000
                                                                 of $5,000 fees and S893
                                                                                    $893 in costs (contains not in Giroir's
                                                                                                                   Giroir' s hand:
                                                                                                                             hand:
                                                                                         McDougal~·
                                                       "Have Hillary bill with letter to McDougal  ~. will pay.")
                                                                                                   --
                                                ,/
                          •           1983 !/          Bank of Kingston final bill written off '-.

                          •           10/2~/84
                                      1012~/84
                                      1012;3/84
                                      IOI2;l/84        $5,000 paid on Bank of Kingston bill

                          •           04185
                                      04/85            Latham, as Madison's CEO, hired the Rose Law Firm Finn to request an
                                                       interpretive ruling of the S&L statutes from the S&L Administrator
                                                                                                             Administrator..

                          ,.L_ _     __---'II The chronology is silent ,?n
                          .I. .__~.~_--...JI
                          ,L .-_._ ----' ..
                                                                       ~n the "Massey generated the business" issue and on
                                                                       on
                       : , '


                                 c~"l
                     . f;',/ the ca];)            ~d appears to rebut the "unpaid bill"
                                 c~r'l to Bassett and                                              284
                                                                                                   2"
                                                                                  hill" assertion.U.t
                                                                                        assertion.
                                                                                        assertion,U.t
                      ,
                                      The other significance of Foster's
                                                                Foster' s chronology lies not in its substance but in the
                                ,!/
                          "~mputer card" name associated with the document on the RLF computers.
                          "c;bmputer                                                  computers, This docwnent,
                                                                                                      document,
                           ,/

                                     One possible benign
                                      2104
                                      284
                                      lJ.4                                 Mrs. Clinton's
                                                    berugn explanation for Mrs. Clinton' s recollection of an unpaid bill
                                                                                                        ofan         bil11ies
                                                                                                                          lies
                          in the apparent effort by Giroir to have Mrs.
                                                                   Mrs. Clinton get payment of the final bill originally. This
                          suggests that RLF anticipated problems at the time of the final billing and that Giroir was relying
                          on Mrs. Clinton's                                                   Mrs, Clinton might contend
                                   Clinton' s friendship with McDougal to assist collection. Mrs.
                                                                                              Mrs.
                 !        that she has simply confused this event in 1982, with the subsequent representation of MGSL
                                                                                                                   M9SL in
          ,.-;. .          1985..
                           1985

                                                                                 91

          fQIA(b)3 - ROwl,(:)16i~L Feder q l Ruies of Criminal Procedure
NW:· 1541 6 DocId: 7   UU 5~5 Page 12~<}



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           /- ,              when discovered on RLF computers in December 1997, was entitled "Clinton campaign

                             document II ." Clark GJ, 12/2/97,
                                                      1212197 , at 138. Knowledge of its existence aJlowed
                                                  OJ, 1212197,
                                                      1212/97,                                     allowed RLF to de-archive

                                                                                                  1212/97,
                                                                                                  1212/97, at 139; LR OJ
                                                                                             OJ , 12/2/97,
                             another document entitled, "Clinton campaign document I," Clark OJ,                      GJ

                             Ex. 1601                    maner, it is a fair inference that document "I"
                                 1601.. As an analytical matter,                                          was ·prepared prior to
                                                                                                     " I" was-prepared
                                                                                                          wasprcpared

                             document "II."
                                      " II
                                        II."           knowthat,
                                           ." Since we know that, at the latest, ""docwnent
                                                       know-that.                 "document
                                                                                   docwncnt II," the chronology,
                                                                                   document          chronology , was prepared

                             on March 26, 1992, we may reasonably infer that "document I"
                                                                                       J" was prepared before that date. .m
                                                                                                                   date.285
                                                                                                                   date
                                                                                                                   datc.

                                    Clinton campaign document I, LR GJ
                                                                    OJ Ex. 1601,
                                                                           1601 , from Foster's computer, is an edited

                                  oj the draft campaign statement prepared by Mrs.
                             copy 0/
                                  of                                          Mrs. Clinton. 286
                                                                                   Clinton.1S6
                                                                                            216
                                                                                                ole     ole
                                                                                                OIC had earlier been

                                                 of Mrs. Clinton
                            provided with a copy afMrs.
                                                 ofMes.          's draft statement that had handwritten
                                                         Clinton's                           handwrinen changes in what may

                             be her handwriting (though perhaps it is Foster's, which
                                                                                which is         simil~H.....
                                                                                                 ~imilarH
                                                                                                        ......
                                                                                                         __   __
                                                                                                               _______
                                                                                                                     ____
                                                                                                                        _.J
                                                                                                                          ..1



                            f-___
                            1-_  __
                            L -_ _   .J1  I                            compl,lter' co~tains ~;"
                                     .11 The version on Foster's computer
                                   _.....                                    co~tains
                                                                 compl,Iter' contains
                                                                 compl,lter'                ~'
                                                                                            Mr~;,: ·'C'linton'ss statement, as amended
                                                                                                     C.inton's
                                                                                                     Clinton'
           '--."                                                                                 .
                           .!j by the handwritten Changes
                                                  changes..
                                                  changes

                                                                      Mrs.
                                    As modified on Foster's computer, Mrs    ~.Uriton recalls:
                                                                      Mrs.. .S.Unton
                                                                             C,Unton  recalls:
                                                                                ..'' ...
                            •       "[Massey)   ~as told
                                    "[Massey] was                         could
                                                                          coll:ld
                                                      tOld that the Finn couJd    '~ot
                                                                          co~ld 'not
                                                                                  'not
                                                                                   not do any work for McDougal or his businesses
                                    until the bill 'owed·
                                                    owed the Firm
                                                    owed-the           thc::
                                                                       th~....previous work was paid."
                                                              Finn for the,.previous

                            •       "When I visited [McDougal]
                                                    [McDougal]ltold
                                                    [McDougall ltoldh~~d
                                                                    h~~d him that I understood Latham
                                                                                               La~ wanted Massey to do
                                    some work for them ...     MCDougal called Latham into the meeting
                                                         . .. I\:tcDougal                                . .. McDougal
                                                                                                 meeting"...  McDougai told
                                    Latham he could proce~d'
                                                     procecrd    with
                                                     procecrd'with
                                                               "'with Massey, and he told me that he would  arrange to pay the
                                    p~t
                                    past due bill."
                                             hill."
                                             bilL"          .'
                                                             .




                                                                         FO IA (b)77 -
                                                                         fOIA(b)
                                                                         FOIA(b)           Ie)
                                                                                           (e)

                     !.


                                      2~6 "'Mrs.
                                      ~~  "'" Mrs. Clinton has stated that her purpose in writing the statement "as best I can recall"
                                t.tP'put
                            was to 9 'put down her memory of     of what happene~
                                                                         happened at the time Madison was represented by Rose.
                                                                                                                             Rose,
                             H       Clinton GI,
                               ..... CHnton
                             H..Clinton      GJ, 1126196,
                                             OJ, 1/26/96,    54, She was unable, at that time, to identify when, during the
                                                 1126/96, at 54.
           " .,.~:          .campaign,                      document. H. Clinton GJ,
                            campaign, she drafted the docwnent.                    GJ; 1126/96. a154
                                                                                   OJ, 1126/96,  at 54..
                                                                                                 a154.       .

                                                                       92
                ' ....
                FO IA(b)3 - Rule 6(e),
                FOIA(b)3         6(e ), Federa
                                        Federall Rules
                                                 Rul es of Criminal  Proce dure
                                                           Crimin al Procedure
NW:
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             -,
          .- ...
             .' - -



                           •      "[After discussing this with my partners] Massey and I called McDougal [to tell him a
                                  "{After
                                  $2,000 retainer was required)
                                                       required] but he was not in so we talked with Latham and another
                                  employee.
                                  employee, "217
                                             "287


                           •      "I recall some uncertainty by Massey aboui                       Commissioner' s office would
                                                                         about who within the Commissioner's
                                  handle the issue raised by Madison Guaranty
                                                                      Guaranty,..... , I have no recollection 'of
                                                                                 ....                          of ever
                                  discussing Madison Guaranty with the Securities Commissioner, although I may have .
                                  made aa procedural inquiry of her or her staff on this issue."
                                                                                          issue ,"
                                                                                          issue,"

                           •      "In addition to the matter.
                                                      matter Massey did for Madison Guaranty, the Firm was requested to
                                  handle two other legal matters that were unrelated
                                                                           Wlfelated to the State."
                                                                           Wlfclated


                       ,II f------'
                       i

                                  This document therefore establishes that:
                                                                      that: Prior to March 26th, Mrs. Clinton and Foster

                                                                             ofRLF's
                           were in direct contact regarding her recollection of                      ofMGSL;; and At the
                                                                                RLF's representation ofMGSL

                           time he reviewed Mrs. CI,inton
                                                 C).inton'
                                                 CI.inton'
                                                 Clinton's' s draft statement Foster was in possession of information
                                                                                                          infonnation that

             .-.                                                              form of his chronology, as well as the paid
                           contradicted the assertions she was making, in the fonn

                           Bank of Kingston bill and the MGSL hilling
                                                              billing records.

                                                        Foster'ss interaction with Mrs. Clinton in drafting this document
                                  The precise nature of Foster'

                                                                                       estahl~shes that it was a
                           remains an open question. However, contemporaneous evidence establ\shes

                                                ~d that Diane Blair and Webb Hubbell were aware of Foster
                           collaborative effort and                                                Fostei and Mrs.

                           Clinton'                                      Blair"88 faxed "5" pages (including cover sheet)
                           Clinton'ss work together. On March 23rd Diane Blair"
                                                                         Blair                                     s.hcet)
                                                                                                                   s.heet)

                           to Mr. Hubbell, of which only the first two pages have been produced to ole.
                                           ofwltich                                                Ole.     S3S791~92.
                                                                                                                   ~92.. .
                                                                                                            535791-92
                                                                                                            535791-92.
                                                                                                   OIC. DEK 535791

                           The second page has Diane Blair's handwritte.n n~te:: "Webb
                                                                          n~te
                                                             handwritten note:
                                                             handwrine.n               -- Vince + Hillary art
                                                                                 "Webb~·
                                                                                       -.                 are
                                                                                                          arc drafting her




                                  211
                                  287   I am not aware that either Latham or Massey has ever been asked about this assertion.

                                  288 Blair has not been questioned about this document. Preswnably'she
                                  m
                                  211                                                    Presumably she will acknowledge
                                                                                         Preswnably·she
                                                                                         Presumably'
             ;.-
             r-            her own hand-writing
                                   hand·writing and provide the evidentiary predicate for its admissibility.

                                                                            93
         ,
         ,
         FOIA(b)3 - Rule 6(e),
                         6(e) , Federal Rules of Criminal
                                                 Cri minal Procedure
                                                           Procedu re
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                                  1311


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           -       answers on law practice.
                                  practice. Ignore marginal notes.  on OEK
                                                            notes.. 0"
                                                            notes   D" DEK 53592.219
                                                                           53592.289

                           In this collaboration, Mr.
                                                  Mr. Foster may not have told Mrs.
                                                                               Mrs. Clinton that her statement was at

                   odds with information
                             infonnation in his possession. The alternative, however,
                                                                             however, is to believe that he

                   deliberately concealed his information         her.,r------------,----.,..,
                                              infonnation from her.
                                                               her.J' r - - - - - - - - - - - - , - - - - . , . . ,


                                                             ~'OIA(b)?
                                                             ~'OIA(bl1
                                                             i'OJA(bl?
                                                             FOIA(b)7     -    (C)
                                                                               (e)




                                                                    fuJly and completely immersed
                          This evidence strongly indicates that HRC fully                inunersed herself in a
                                                                                                   herselfin

                                 billing records and her work for MOSL.
                   review of her hilling                                     Uris one can infer a review of .
                                                                  MOSt. From this

                                                      ~as not a prominent campaign issue.
                   HRC's role in Castle Grande, which was                          issue.
                                                                                   issue . The evidence more

                   strongly suggests that HRC had knowledge of evidence contradicting her public statement (and

                                                    investigato~)
                                                    investigato~ ) of
                   subsequent statements to federal investigators) oflhe
                                                                      the manner by which MGSL carne
                                                                   cfthe
                                                                   cflhe                       came to retain

                   RLF.
                   RLF.

                           Potential Defenses -- We anticipate that certain evidentiary questions,
                                                                                        questions. outlined above,

                   will be raised by the defendants and will have to be overcome. It is not anticipated that the

                   factual events outlined above wi1l be contested .
                                           abpve will

                                                                  .• .• •.• •
                                                                  ... ... ... ... •
                                                                                  ...


                                        .   \




                            289 Internal evidence of the note ("ignore marginaJ
                            219                                                                                    Mrs.
                                                                       marginal notes") and the known length of Mrs.
                   Clinton's statement (2-4 pages, depending on font and spacing) suggest that the missing pages
                                                                                                           Mr. Hubbell
                                                                             Clinton' s statement sent to Mr.
                   which were not produced were an earlier draft of Mrs. Clinton's
                   for his
                       hi s editorial review.
                                      review. Moreover,                              Clin~on for President
                                              Moreover;" since the fax originated at Clinton     Pre ~ ident headquarters,
                   it suggests that Foster and Mrs. Clinton began work on her statement outside ofRLF and Foster
                   subsequently had the    document transcribed on his own computer.
                                        thedocwnent

                                                                         94
                                                                         94

NW:'
NW :"'" 15416 DocId:
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                     700015    Pag~
                               Pa g~ 132
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          ---..                  Fos/~r Documents - [The facts relating to the handling of the docwnents
                                 Fost~r
                              5) Foster                                                        documents in Vince

                     Foster' s office are detailed in Colloton & Kavanaugh, "Foster Docuements Memorandum,"
                     Foster's

                     August 1996.]

                                     On Tuesday, July 20, 1993 Vincent Foster,
                                                                       Foster. Jr., Deputy White House Counsel, and

                     fenner partner ofHRe
                     fanner
                     former         ofHRC and WLH at the RLF,                                 ofms
                                                         RLF . committed suicide. At the time of his death,

                            bad "Personal"
                     Foster had "PersonaJ" Whitewater·related documents in his office in the West Wing of the White
                                "Persona]" Whitewater-related
                                           WhitewateNeiated

                     House.
                     House.

                              The U.S. Park Police, who were char~ed
                                                             charged with investigating Foster's death because his

                                                    property. wished to review the material in Foster's
                     body was found on federal park property,                                  Foster' s office for

                     evidence that would shed light on his state of mind. Some evidence exists that documents were

                     removed from Foster's office on the night of July 20th, before the office could be examined.

                              More Significantly,
                                   significantly, on July 21
                                                          21st,
                                                             st, concerned that the Park Police might examine sensitive

                    Executive Branch documents White.House
                                               White,House
                                               Vlhite.House Counsel Bernard Nussbaum initiaJ ly agreed to allow
                                                                            Nussbawn initially

                    the examination to be conducted by two career prosecutors from the Department of Justice, rather
                    'the

                             the Park .Police.
                    than by .the                                                    and
                                       Police. However, on the evening of the 21st and the morning of the 22nd a

                     series of calls occurred between HRC, her chief of staff Maggie Williams, her close friend Susan

                     Thomases and Nussbaum. Following these calls (and we submit, inferentially, as a result of       I




                    'those
                    ' those calls) Nussbaum changed his position and refused to allow the Department of Justice

                    attorneys to review the Foster office documents. Instead, he conducted the review in their

                    presence and separated the docwnents into categories, including certain official documents and




                                                                      95
                                                                      9S


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         ..   ---   ..
                            olher-"personaJ"
                            other
                            olher'''personaJ''
                                  "personal" documents.  290
                                               documents,290
                                                         290


                                   Later on the 22nd.                 mov~d the persona]
                                                22nd, Maggie Williams moved     personal docwnents
                                                                                         documents to the third floor of

                            the East Wing of the White House where they were stored in a closet in HRC's
                                                                                                   HRC 's office,
                                                                                                          office. Room 323

                           which is the room immediately adjacent to the 5-ook
                                                                         ij,ook
                                                                         Book Room'
                                                                                Room,, Room 319A.
                                                                                Room·                       hilling
                                                                                            319A, where the billing

                            records were eventua11y
                                         eventua1ly fa:und 2 years later.
                                         eventually fe:und
                                                    found
                                                    fo:und         later,

                                        K.eMedy -- Gail K~nnedy.
                                   Gail Kennedy         K~nnedy, the wife of William Kennedy,
                                                                          o(William  Kennedy. Associate White House

                           Counsel and former
                                       fonner RLF partner,went
                                                  partner"went
                                                  partner, went with her husband to the home of Vince Foster on the

                                          suicide, While at Foster's house she overheard a conversation between WLH, Bill
                           night Foster's suicide.

                                                      WatJcjns and Marsha Scott to the effect that "there
                           Kennedy and possibly David Watkins                                      ''there was some

                           concern of what was in Vince's office
                                                          office.
                                                          office,...                                               barmful or
                                                                 .., . to the extent that there might be something harmful

                                                        Clintons ...· G. Kennedy, GJ,
                           embarrassing to Vince or the Clintons."·
                                                        Clintons."-
                                                        Clintons."                    1124/95 at 14. She is not aware.
                                                                                  OJ, 1/24/95                   aware of

                           concern about particular documents, but rather of a "general concern from my perception." ld..
                                                                                                                     ld. at



                                   Officer Heruy
                                           Henry
                                           Hemy O ' Nejll- Officer O'Neill isa
                                                 O'Nejll-
                                                 Q'Neill--                 is a uniformed
                                                                                unifonned Secret Service officer. He was

                                                                             20th, He has testified on numerous
                           present in the White House on the evening of July 20th.                     nwnerous occasions

                           that he saw Maggie Williams,
                                              Wi!liams, HRC's Chief of Staff, leave Foster's office that evening carrying




                                       Nussbawn denies that any agreement was reached and also denies that any discussion
                                   290 Nussbaum
                           of personal docwnents occuned.
                              personaJ documents  occuned,
                                                  occurred. He is supported in the fanner
                                                  oc:cuned.                           former assertion by an Associate White
                           House Counsel. He is supported in the later assertion by Williams, ;rIJomases
                                                                                                  ;n>omases
                                                                                                  ;I'homases and
                                                                                                  lhomases arid
                                                                                                             aod HRC who
                                                                             an:: clear that no discussion of personal
                           have varying recollections of the phone calls but are
                           documents occurred.
                           docwnents

                                  29 1 The others named by Mrs. Kennedy say they do not remember any
                                  291                                                            an)' anr
                                                                                                 anX such conversation
              .~           and have denied it in their grand jury testimony.
                                                                  testimony .                       .

                                                                            96

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                                                                                                                             -.
          ..--'
            --      ....
                              folders or files of that sort, in the company of
                                                                            of another woman.292
                                                                                       woman .192
                                                                                              ,192

                                      O;Neili has, unfortunately,
                                      O'Neill      wUortunateJy, been interviewed, deposed or
                                                                                           orcaJled
                                                                                              called to testify on 9 separate

                                        -- beginning in April 1994 and ending .,iin
                              occasions ••                                        n July 1995. Though his testimony has never

                              varied in his assertion that Maggie Williams was observed carrying documents ftomFoster's
                                                                                                           from Foster's
                                                                                                                Foster' s

                              office, ~
                                      e..£.. O'Neill.
                                      e..&..          GJ. 6/6/95, it has varied in ,many
                                             O'Neill, GJ,                          .many
                                                                                   many other respects --
                                                                                                       _. as would be expected for a

                              witness called upon to testify o~
                                                             on so many occasions. For example, O'Neill has identified the

                              woman accompanying Williams in three different
                                                                   differerit ways ••
                                                                                   -- as Patsy Thomasson, as Susan

                              Thomases, and as Evelyn
                                               Evelyn' Liebermann.
                                                       Liebennann. He has also described what Williams was carrying,
                                                                                                           canying,
                                                                                                           carrying.

                              v·                                                                  [likeJ a small hat box." Thus,
                                 riously. as "files and folders" and "folders and a cardboard box {like]
                              v'ariously,
                              variously,

                              while unvarying on the central fact of his lestimon),
                                                                  ofrus          y ..
                                                                         testimon.
                                                                         testimony  - that Williams took material from FoSter's
                                                                                                                       Foster' s
                                                                                                                       Foster's

                              office on the night of the 20th --
                                                  aCthe
                                                  afthe                              in~onsistency ''ss to any potential testimony
                                                              _. O'Neill brings some inconsistency's
                                                                                     inconsistency                       testimony..
          .   ..-.-..
                              m Collmon
                                Colloton & Kavanaugh, "Foster Memorandum,"
                                Colimon                       Memorandwn," at 55-68.

                                      Dayid Mar~olisIRoier AdamslPhilljp
                                            Manoli~Qier
                                      David ManolisiRQ2er
                                            ManolisIRQier  Adams/Phillip Heymann ..
                                                                                 -- Margolis and Adams are career

                              prosecutors in the Criminal Division at the Department of Justice.
                                                                                        Justice. On July 21, in response to a

                              requ~ st from the Park Police to examine Foster's office, Nussbaum called Phil Heymann (then
                              request

                              Deputy Attorney General) to request that DO]
                                                                       DOJ coordinate the investigation. Heymann GJ,
                                                                                                                 GJ ,

                              6/ 13/95 at 6.
                              6/13/95     6. Margolis and Adams arrived at the White House around 4 PM to meet with

                                                                                                             Sloan. 293
                              Nussbaum and two other Associate White House Counsel, Steve Neuwirth and CliffSloan.:i:9l
                                                                                                       C1iffSloan.:i:91
                                                                                                       Cliff Sloan.: i:91


                                      292 Williams to an FBI polygraph and denied taking documents from Fo'ster's
                                     292                                                                    Foster's
                                                                                                            Fo·ster' s office on
                              the night of the 20th. The FBI examiner concluded that she was "truthful"
                                                                                             ''truthful'' in making
                                                                                                             nlaking this denial
                                                                                                                            denial..
                              FBI Polygraph Report    ofMarg~t
                                               Repon of Margaret Williams, 9116/94,
                                                                           9/ 16/94, at 3-4.

                                                                                     reached. Nussbaum GJ, 6113/95/
                                      293 Nussbaum denies that any agreement was reached.
                                      193                                                                    6/
                                                                                                             6/13/951
                                                                                                                13/951at 176.
                              He is supported in this by Neuwirth. Neuwirth GJ, 2/28/95,
                                                                                   2128195,
                                                                                   2128195, at 100. Sloan, however,  has no clear
          -                                       way . Sloan GJ,
                              recollection either way.             4/4195/ at 61
                                                              GJ , 4/4/951
                                                                   4/4/951    61..

                                                                                97

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          '--'.
                            According to Margolis prior to the meeting Heymann had.
                                                                               had reached a tentative agreement

                     with Nussbaum that Margolis and Adams would review each document. Margolis,
                                                                                       Margolis. Senate

                              8/ 10/95, at 178. He also testified that at the 'meeting
                     Hearing, 8/10/95,                                                        21 st he
                                                                               meeting on the 21st  be and Nussbaum

                     concluded an agreement that they would review each document during a search of Foster's
                                                                                                    Foster' s .

                    office. One reason Margolis recalls .that event clearly is because at the end of the meeting,
                    office.

                    Neuwirth exactly misstated the agreement, saying that Nussbaum would review the documents

                    and that Margolis corrected Neuwirth and Nussbaum assented to Margolis' correction. Margolis

                    OJ,
                    GJ, 6/14/95,     II.
                        6/ 14/95, at 11.

                                                                                                              Gl,
                            Adams corroborates Margolis recollection on the substance of the agreement. Adams GJ,

                    519195,
                    5/9/95, at 12. He says that it was intended
                                                       i.ntended that he and Margolis do a "swnmary"
                                                                                           "sununary" review of each
                                                                                           "summary"

                                                                                             day~
                                                                                             day
                    documents. This understanding is reflected in notes Adams wrote within 7 days~ of the meeting.
                                                                                                          meeting .
          -.
          .
                    Adams also recalls in the same fashion the anecdote about Neuwirth's misstatement of the

                                             Hearing. 7127/95,
                    agreement. Adams, Senate Hearing,             96. 294
                                                      7/27/95, at 96.294

                            Howev~r,,
                            Howev~r     on the morning of July 22nd, when Margolis and Adams arrived at the White

                    House, they say that Nussbaum changed the searCh
                                                              search procedure they had agreed upon. According
                                                       ,
                    to Adams,
                    10                 definile~y knew that he had changed the plans. Adams GJ,
                       Adams. Nussbaum definitely
                                       definite!y                                                       519/95,, at 20~
                                                                                                        5/9/95,
                                                                                                        519/95      20:

                    Margoli s agrees. Margolis, Senate·
                    Margolis                                     8/
                                                                 8/1
                                                                 8110/95,
                                                                    10/95,
                                                                     0/95, at 182-83. Margolis called Heymann to
                                                Senate' Hearing, 8/10/95,

                    complain and Heymann had a "heated" conversation with Nwsbaum,
                                                                          Nussbaum, explaining to him that

                                                             6113/95,
                    Nussbaum would look foolish. Heymann GJ, 61/3 /95, at 14. Heymann's
                                                             61 /3/95,        Heymann' s assistant Cynthia



                            294 Margolis'
                            29-4 Margolis ' recollection and that of A4ams
                                                                     Adams is also supported by the contemporaneous .
                                      preparod by
                    "teletype" report prepared   by FBI Supervisory Special Agent John Dana. FBI teletype, 175B-
                    WF-187743-1 (July 23, 1993). One other FBI agent present says he    pe was not aware of the nature
                    of any arrangement between the DOJ  DOl attorneys and Nussbaum.
                                                        DO}                                              6i30/95 , at 54.
                                                                                                         6i30/95,
                                                                          Nussbawri. Salter Deposition, 6i30/95.

                                                                     98


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          .---..
                                                july 1993 which recorded the conversation from HeymallO"'
                      Monaco, dictated notes in July                                           HeymaJ1.O"'s
                                                                                               Heymann-
                                                                                               Heymann' ' sS end and·
                                                                                                                 and ·"

                      which corroborate Heymann
                                        Heymann's              o f~is
                                                               of~is
                                                's description of his exchange with Nussbawn.
                                                                                    Nussbaum. Monaco Deposition,
                                                                                                     Deposition,

                      7/6/95.
                      7/6/95, at 26-27
                                 26·27 (Bates# 70-149).
                                               70·149).
                                               70-149)_

                                         of~ussbawn
                             As a result of Nussbaum 's
                                         ofNussbawn's' s decision, the search was conducted by Nussbawn
                                                                                               Nussbaum in the early

                     afternoon   Nussbawn reviewed each document and separated out the material into 3 piles: files
                     afternoon.. Nussbaum                                                                     fil es

                     the investigators wanted to see; personal papers of Fosters and miscellaneous documents.

                     Heymann                                                ~as conducted. Heymann
                     Heymarut was furious at the manner in which the search was            Heymafl!l Deposition,

                     7~1/95,
                     7/~1/95,
                     71'
                     711:1/95,
                        1: 1/95 , at 92 ("Bernie,
                                        ("Bemie, are you hiding
                                                         ruding something?"). Cliff Sloan took notes     rus penultimate
                                                                                               nales and his

                     entry is "get Maggie -- go thru office -- get HRC,     stu!f."
                                                                   HRC. WJC stuff."

                             Telepbone      RecordslWAVES data -- Telephone
                             Telephone Toll Records/WAYES
                                            Records/WAVES         Telepbone records reflect the following calls on

                          21·22.1993
                     July 21-22, 1993::
                          21-22.1993:
          -          July2lst-
                     July 21st-

                     5:00 PM        Meeting between Nussbaum, Neuwirth,
                                                              Neuwinh, Sloan, Margolis and Adams ends

                     7:45 PM                   'i=all from Rodham
                                     12 minute call        Rodharn residence in Arkansas to Bruce Lindsey's office

                     9 :11 PM
                     9:11           Thomases exits White House

                     9:23 PM                           Thomases'' cell phone to Maggie Williams home
                                    2 minute call from Thomases

                     11:00
                     II:OOPMPM
                     I I :OOPM       IJ minute call charged to Thomases'.
                                                               Thomases''. calling card from
                                                               Thomases                      Thom~es' guest house to
                                                                                        fro~ Thomases'


                                    Rodham residence

                     July 22nd-
                          22nd--
                          22nd --

                     7:43 AM        Nussbawn
                                    Nussbaum arrives at White House compound

                     7:44 AM        7 minute call from Williams home
                                                                borne to Rodham residence




                                                                     99



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                                                                                                                m
                                                                                                                29S
                                                                                                                l9S
                           77:57
                             :57 AM                                             ThomaScs guest house in De
                                         3 minute call from Rodham residence to ThomaSes
                                                                                Thomases                DC            ..•

                        8:01 AM
                       .8:01             Page for N~sbaum:
                                                  N!JSSbaum:                             202_659_8787"196
                                                  N1JSSbaum: "pis call Susan Thomases at 202-659-8787"296

                           8:25 AM       4 minute call charged to Thoma.ses     Thoma.ses· guest house
                                                                  Thomases from Thomases'        bouse to Rodham

                                         residence

                           9:00AM                                  nlomases "call when you get in the office"
                                                                   Thomases
                                         message for Williams from Tllomases                          office"

                           10:48 AM      3 minute caU
                                                  call from Thomases secretary extension at Willkie Farr to White House

                                         Chief of Staff office
                                                                                                                       297
                           11:04 AM
                           11 :04AM                                                                     Lady'' s office297
                                         6 minute call from Thomases extension at Willkie Farr to First Lady's
                                                                                                        Lady

                           11:11
                           11: 11 AM     3 minute call from Thomases extension at Willkie Farr    Chicf of Staff office
                                                                                          FaIT to Chief

                           11 :16
                              : 16 AM
                           11:16         1 minute call from Thomascs                      FacT
                                                            Thomases extension at Willkie F arr to Chief of Staff office'
                                                                                          Farr                    office

                           11 :37 AM    . 11 minute call from Thomases
                                                              Thoma.sC:s extension at Willkie
                                                                                      Willk.ie Farr
                                                                                               Fan to First
                                                                                               Fanta        Lady's office
                                                                                                      FirstLady's

                              :50 AM
                           11:50AM
                           11 :50AM      4 minute call from Thomases extension at'                      Lady' s office191
                                                                               at"Willkie Farr to First Lady's
                                                                               at                                     298




                             29' Thomases says she may not have received this call
                             295
                             29'                                              Call and it is mere coincidence that she
                       immediately after called the White Ho~.
                                                          Ho~ . Thomases Senate Hearing.     12118/95, at 84-87.
                                                                                   Hearing, 12/18/95,

                                   Thomases has testified that she did speak with Nussbaum that morning before the
                                  296
                                  196
                                  296
                       search but
                              hut that Nussbaum
                                          s hawn raised the topic of the search procedures,
                                       Nus:sbaum
                                       Nus.                                      procedures. not her. Thomases Interview,
                       9/9/94, at 54-59.
                                  54-59. Nussbaum
                                         Nussbawn disagrees and says that Thomases expressed a generalized privacy
                       concern to him that was not tied either to specific docwnents                        HRe or
                                                                           documents or to concerns held by HRC
                       President Clinton. Nussbaum Deposition, 7112/95,
                                                                   7/
                                                                   7112195,
                                                                      12195, at 139-46.

                              m
                              191                      morning Nussbaum had
                              297. Sometime during the moming              had. further discussions with Mclarty,
                                                                                                         McLarty,
                       Quinn, Lindsey, Neuwirth and Burton regarding the search of Foster's office.
                       Quinn.                                                                 officc. Williams may also
                                                         apparently, including others in the deliberative process on
                       have participated. Nussbaum was, apparently.
                       how the search should be conducted.

                                  ~                                                                                          I
                     .lr
                    /[
                       WItnesses say they were calling to console one another - which may lead
                    . Witnesses
                                                                                                     I, GeneraIly,
                                                                                                        GeneraIly.
                                                                                                        Generally, the
                                                                                            lead. one to ask:
                                                                                                         ask : How come
                       the widow is not in the circle of grief? No know phone calls to Lisa Foster are evidenced during
          .-.----      this.time period.
                                 period.       .

                                                                          100

           FOIA(b)3 - Rule 6(e
           FOIA(b)3:
           FOIA(b)3        6( e ). Federal
                           6(e),   Federa l Rules of Criminal Procedure
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                 2:50 PM         Search of Foster's
                                           Foster' s office ends

                 3:05 PM         Telephone message -for
                                                   for Williams to call Chief of Staff office
                                                   for

                 3:08 PM         10 minute call from Thomases cell phone to First Lady office.

                 3:25 PM         Telephone message for Williams from Neuwirth
                                                                     Neuwinh

                 5:13 PM            rrtinute call from Thomases
                                 10 minute                                      New. York [she had returned toNew
                                                       Thorriases law office in New                         to .New
                                                                                                            to.New

                                 York that afternoon] to First Lady's office

                         Steve Neuwirth                         witnes~
                               Neuwinb --- Though Neuwirth is a witness,
                                                                witness. supporting Nussbaum's
                                                                                    Nussbaum''ss version of the
                                                                                    Nussbaum

                 "agreement"  with DOJ
                 " agreement" with 001 he has important other evidence to provide. He has testified that on the

                 22I'!d, prior to the search of Foster's office, he "had
                 22f!d,
                 22nd,                                              "bad the impression that Susan ThomaSes
                                                                                                   ThomliSes had told

                 Bernie [Nussbaum] that the First Lady had been concerned about unfettered access to Vince

                                                                             m While he
                                                                             299
                       . ,,
                 Foster office
                        .
                               being granted." Neuwirth
                                                (
                                                        GJ, 2128/95.
                                                        GI, 2128/95,     97.199
                                                            2128/95 . a197.
                                                                         97.2'19
                                                                      at 97.         be .cannot
                                                                                      .
                                                                                                       exacdy
                                                                                         cannot recall exactly

                 what Nussbaum said to create that impression he has acknowledged that the impression reflects

                 the substance of what Nussbawn ha~ said. Neuwirth GJ,
                                       Nussbaum had                    4/2196, at 57-58.
                                                                   OJ, 4/2/96,           300
                                                                                  57-58.){(I
                                                                                  57-58.)00

                                      - HiJber
                        Carolyn Huber -- Huber was contacted by Maggie Williams between 4 and 6 PM on the
                                                                                                      the:

                 22nd. Williams said that HRC had asked her to call Huber and arrange for storage of a box in a

                                            )O])] Huber met Williams an~ Castleton on the third floor
                                            30
                                            lO
                                     floor.)O'
                 closet on the third floor.                                                     fl,?or at approximately


                         299 Thomases is "absolutely firm"
                                                         firm " in her denial that the First Lady ever discussed
                                Foster-' s office with her during this time period. Thomases, Senate Hearing,
                documents in Foster-'s
                8/8/95,
                8/8/95 , at 69.

                       )00 In his Senate testimony, Neuwirth did not specify how he got this impression
                        300
                        )00                                                                  jmpression and
                warned
                waffled on whether it occurred before or after the July 22nd search. Neuwirth Senate Deposition,
                7/10/95, at 11 L
                         atlli.
                            111.

                        301
                        30)Williams own testimony confirms that she made a call to HRC who said she should
                put the personal files in the closed on the third floor to use to store them.
                                                                                        them . Williams Interview,
                10/24/94, at 22-25.
                             22-25 .

                                                                   101



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         .- .        7:30 PM that evening and escorted them to the closet in Room 323, which she unlocked with a

                     key kept in the desk in HRC'
                                             HRC'ss office.

                            Thomas' Castleton -- Castleton waS an intern in the White House Counsel's
                            Thomas"
                            Thomas                                                                    office.. He
                                                                                            COWlsel's office

                     was asked to help carry a box up to the third floor with Maggie Williams on "July 22 ..
                                                                                              onJuly      .. He

                     understood
                     Wlderstood that the box contained docwnents
                                                       documents that belonged to the Clintons. Castleton 302,

                    6/9/94 at 2. He also understood, from someone that HRC and possibly President Clinton

                    would review the documents and make a determination as to what would be done with them.
                                                                                                      them.

                    Castleton 302, 9/ 15194,
                                      15194, at 6; Castleton GJ, 4/41
                                   9/15/94,                      4/4195,
                                                                     95, at 60. While initially uncertain
                                                                 4/4/95,                        \U1certain
                                                                                                \U1cenain as to who the
                                                                                                Wlcertain

                    source of this information
                           afthis                      'has since stated that Maggie Williams was either the "person
                                   infonnation was, he ·has

                    who originally told me about moving the boxes ... or she just further clarified once we picked

                    them up ...       the President or the First Lady had to review the contents of the boxes to
                            .. . that the
             ..
         . "--
                    determine what was in them." Castleton Senate Deposition, 6127/95.
                                                                              6127/95, at 139-41; Castleton Senate

                    Hearing, 8/3/95, at 13-14.

                                             Williams.. a Plumbing Foreman at the White House, says he saw a box
                            Gao' Williams -- Williams,

                    labeled "Vincent.Foster"
                            "Vincent Foster" in the closet 'of
                            "Vincent,Foster"                 f Room 323 on August 25, 1993 and again,
                                                            ofRoom                             again•. probably,
                                                                                                       probably , on

                                      ~e was in the closet on both occasions
                    November 2, 1993. !"Ie                         oc~asions to work on a shower in Room 324B,

                                                                                            302
                                      a,ccessible in the closet. G. Williams 302, 2/23/96.
                    whose plumbing is accessible                                           .301
                                                                                  2/23/96.]02
                                                                                  2/23/96

                            Potential Defenses -- Plainly the most significant defense is that ,dus
                                                                                                this
                                                                                                this aspect of the case is

                           circumstantial. The pattern of phone calls is clear -- but the content of the phone calls is
                    wholly circumstantial.


                            Xl2 There is some Wlcerta1nty
                            )02
                            302               uncertainty               eastleton took one box or two boxes up to the
                                              WlCertainty as to whether castleton
                    closet. Nussbaum and Deborah Gorham believe two boxes were moved. moved. Castleton is reasonably
                    sure one box was removed but acknowledges that it might have been two. Only one box was
                    given to Williams and Connolly on July 27th.
                                                              27th. The box Williams saw would, presumably, be the
                    second box.
                            box.

                                                                      102


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           -,- . '      not know and/or
                                 andlor denied by the participants. Thus, the only direct evidence of concern relating to

                        the documents
                            docwnents in Foster's office comes from the testimony of Gail Kennedy.
                                                                                  ofGai!  Kennedy .

                                                                     ••• • •

                               6) The White House and RTC Contacts·-
                                                          Contacts ••
                                                                   -- [The facts relating to contacts between the

                                   ~d the Treasury in late 1993/earJy
                       White House and                     1993/early 1994 are detailed in Bates & AzM,
                                                                                                   A:llJr, "White ·
                                                                                                   Azar,

                       House-Treasury Contacts Investigation," September 1996.]

                                                                                                            of
                               In September 1993 several referrals went from he RTC to the Department of Justice

                       containing additional criminal allegations relating to Madison Guaranty. In particular-the
                                                                                                   particular
                                                                                                   particular' the

                       referrals identified in several instanc:es                      wiUtess because of her legal work for
                                                       instane;es Hillary Clinton as a witness

                       Madison. They also identified the Bill Clinton political campaign committee as a potential

                       criminal subject.

                       1.
                       I.      The October 14 Meeting
                                              Meetiog At The
                                              MeetiDg    Tbe White
                                                             Wbite House.

                               In early October, the New York Times began investigating the handling of these referrals.
                                                                                                              referrals.

                        As a result, on October 14, 1993, a meeting took place at 3:30 p.m. in Nussbaum's West Wing

                                        B~e Nussbaum (White House CQunseJ).
                       office involving BeqUe
                                        BC:T!lie
                                        BCT!lie                   O~unsel),
                                                                  C<?unsel), Cliff Sloan.
                                                                  CQunseJ),        Sloan, and Neil Eggleston
                                        .,
                       (Associate COWlSel).
                                           \

                                  Counsel), Bruce Lindsey, Dave Gearan.
                                  COWlSel),                     Gearan, Jean Hanson, DeVore.
                                                                                     DeVore, and Jonathan Steiner

                       (Treasury officials) apparently so that DeVore could inform the White House of the press

                       inquiries he had been receiving regarding the referrals and how he intended to respond to those

                       inquiries.
                       mquiries.

                                      According to testimony by Lindsey and the notes he took at
                                                                                              at the meeting, DOS-DC·
                                                                                                     meeting. 008-DC-

                       00000079. DeVore ran the meeting. DeVore explained that he had convened the meeting .
                       00000079,
         '".---.
                                                                        103



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                                141.


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                                                                                                                                           FOIA Ibl7
                                                                                                                                                l b)7 -
                                                                                                                                      ....:E'OIA(b)7
                                                                                                                                      ./FOIA                        Ie)
                                                                                                                                                                    (C 1
                                                                                                                                                                    Ie )



         ,--          because he wanted
                                     . to discuss several inquiries
                                                          inqu.iries he had received.
                                                                            received . Lindsey has.testified
                                                                                               has,.testified that his   .
                      notes reflect infonnation that DeVore was relating                   inqu~ries . DeVore next
                                                                relat ing from these press inquiries.
                                                                                           inqujries.
                                                                                                            /
                             thai
                      stated that
                             thi'll
                                .
                                                                    nonna] procedure was for ~:;~ft:rral
                                    the press was claiming that the nonnal
                                                                    normal                   ~:;~ferral
                                                                                             ~ :referral to be sent from the
                                                                                             ~:rcferral
                                                                                             .


                      field office afthe
                                   of the RTC (Kansas City) to the relevant         ~tale,s"
                                                                   rel evant United Stalc,
                                                                                    State.S  Anomey's office but that
                                                                                          s"Anomey's
                                                                                           :Attomey's
                                                                                           -'Anomey's

                                                    to the RTC in Washington .rnd ~e
                      these referrals had been sent 10                                   and the ha~ been sent to
                                                                                  ., week before had
                      Little RQck
                             RQck.                                         devi'i·illed
                             Rock.. The press was asking why the procedure de~.   ~ted on these referral
                                                                                i·iHed                   s. DeVore then '
                                                                                                referrals.

                                                a.<;king about the Rose La~/Finn's
                      said that Sue Schmidt was asking                  La~.:Firm's involvement with Madison in 1985.
                                                                        La~:'Firm's

                                          specuJation tha~r----'r~ho
                      There then was some speculation tha~""_ _ _---oII'who used to 'work
                                                                                     work at the RTC, had some

                      continuing contacts there and,
                                                and might be the source for the press information          n~ferrals.
                                                                                      infonnation on these referrals.
                                                                                                           referrals.

                                         In a memorandum to file dated October 20, 1993, Lindsey described the October

                      14 meeting. 008·DC·OOO00083.
                                  008-DC-00000083. The memorandum is generally consistent
                                                                               consistt:nt with his testimony
         .----..
                      and notes from the meeting. The memo does include the additional information
                                                                                       infonnation that, according to

                      Gerth, Clinton was not a target of the referrals, although Tucker mig~t be.JOJ
                                                                                                 J03
                                                                                                 303
                                                                                                     One point of

                                      been the fact that
                      controversy has !;>cen        thai the memorandum has a "cc"
                                                                              "ce" indicated to Williams,
                                                                                                Wi ll iams, Kennedy,

                      and  G.earan'J
                           G.~ara:n' J
                      an,d Gearin.,
                      and

                                                                                                                                                          .......
                                                                                                                                        .........
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                         303.
                         303 . The memorandum also al so contains a parenthetical         notatioii's'~~ting
                                                                                              nOt{ltiori' stating that "[a]
                                                                              parentheti cal notatio'n'stating         "{a] check of our
                     campaign records turned up three cashiers [sic]                checksJo($3,OOO
                                                                             [sic} cchecks
                                                                             [sic)         ..fod;),OOO each from
                                                                                    checks..for·$'j,OOo
                                                                                     hecks..for·$'j,OOo               J .W. Fulbright,
                                                                                                                (rom l.W.
                                                                                                                      J.W.   Fulbright. Ken
                     Peacock, and Dean Landrum, and a personal checkf'"         check-for
                                                                                check   for $3,000 from Jim McDougal, signed by
                                                                                checkJ<>f
                            McDougal." According to Lindsey,he
                     Susan McDouga1."
                            McDouga1.N                                        he 'checked with the person who runs Clinton's Little
                                                               Lindsey, .hetl1ecked
                                                               LindseY1       hethecked
                     Rock office and who has access to th.      th~eI; .gubernatorial
                                                                ~.     .gu~rnatorial
                                                                       . gubematorial campaign records (an individual
                                                                                                                    individual we have
                     identified as Susan Whiteacre) ....      Sh{~as
                                                       ..... .She was able to find the depos   depositit slip with copies of the checks

          -.         attached and             thisrri~lterial
                               and then faxed thi s· material to Lindsey. 226·DC·OOOOOOOS.
                                              this·rfiinerial
                                              this·minerial                           226-DC-OOOOOOOS .
                                                                                      226·0C·00000005.
                                                                                      226·DC·00000005

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                              FOIA(b)3                                Federal Rul
                                                                              Ruleess ooff Cr
                                                                              Rules           iminal
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                                                                                                         Procedure
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                 f'OIAtb)33 ... Rule
                 f'OIA(b)       Ru le 6te)
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                                      6(e)                ~~ede::al
                                                           ~edecal
                                                          Fed        Rules
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                                                                         es of  Crimmiina
                                                                                       n a l Procedure
                                                                                    minal    Proce dure


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                                                                    _...JI a copy of this memorandum
                     .. 11_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _




                      ,I
                    \,                                  11-OC-00000606,
                    '\, was found in Kennedy's files, 0011-DC-00000606,
                                                        11-OC
                                                        11-DC -00000606, and Gearan's files,
                                                                                      files., 004-DC-00000014
                                                                                              004-DC-000000I4.. The
                                                                                              004-DC-OOOOOOI4.
                     ..
                                                                                                       I
                                               The meeting is significant on two
                                                                             twO fronts.  Fi rst it is the single most detailed
                                                                                 fro·nts. First

                          instance iIi
                                   in which RTC offtcials
                                                officials appear to have given _the White House a substantive heads-up

                          regarding the Whitewater referrals,
                                                   referrals. Second, it is a substantive meering
                                                                                          mee,ing that, seemingly, was

                          concealed from Senatorial inquiry in February 1994.

                                                                                                  meeti ng, either before it
                                               The question whether Altman knew of the October 14 meeting,                            ~
                                                                                           ..
                          took place or after the fact, was centralIa
                                                            central to our investigation. The three Treasury partiCipants
                                                                                                             participants at

                          the meeting, Hanson, Steiner, and DeVore, all testified that to their knowledge Altman was not

                          aware of
                                o f the meeting
                                        meeting..
          ., -,.
                          2.        Februa r:y 1:
                                    Februar:y
                                    Februar:,.
                                    February      Altm an Considers His Possible
                                               I: Altman                ross ible Reeussl
                                                                        rossible  Rccusal      Mad iso n Matters.
                                                                                  Recusal From Madison   Malters.
                                                                                                         Mlltters.

                                                           I, Altman went through what, by all accounts, was a rather tortured
                                               On February 1,
                                                                                       .                                          .
                          process of discussing his
                                                hi s possible recusal with senior Treasury and RTC officia1s
                                                                                                   officirus and soliciting
                                                                                                   officiills
                                                                                                   officiaIs

                          their ad
                                advice.
                                   vice. The evidence indicates
                                                      indi cates that
                                                                 thai at least Hanson and Kulka informally advised Altman

                          that he was not legally required to recuse on the basis of his friendship with the
                                                                                                         the Clintons but that,

                          as a political matter;
                                         inatter; he should
                                                     shou ld recuse
                                                             rec use because he already said he intended to follow
                                                                                                            foHow Kulka's

                          recommendation and his failure
                                                 failu re to recuse would only put him in a "no win" situation
                                                                                                     situati on

                          politicall
                          politically.y. 304
                          politically.'"
                          pol itically.lIM
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                             304. Dennis     Fo reman, the Deputy General Counsel of the Treasury and Designated Agency
                                     Denni s Foreman,
                                                      that prior to February 2, Hanson
                          Ethics Official , testified thai                      Hanso n asked him for his quick reaction to the
                          que~ t ion whether Altman should recuse himself,
                          que~tion
                          question                                     himself. and Foreman responded that he thought Altman
                          should      so:: Hanson said that she agreed with Foreman. According to Foreman, Hanson
                                      so
                          shoul d 'do so.

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         ·- .,              Subseq uently, Allman
                            Subsequently.
                            Subsequently,  Altman arranged a meeting at the White House to
                                                                                        [0 discuss both the statute



                   of lim itations issue -- which was then slated to run on
                      limitations                                           February 28th -- and his recusal.
                                                                         onFebruary                  recusai.
                                                                                                     recusaJ.

                   3.      Hansoo
                           HaDsoo Prepares Talking
                           Hanson                             The February 2 Meeting.
                                           TalkiDg Points For The·

                                    To assist Altman,   non-Iawy.er. in providing a briefing to the "White
                                              Allman, a non-lawyer,                                 'While
                                                                                                    'White
                                                                                                    White House,

                                                                           Al~an's
                                                                           A l ~an' s use.
                   Hanson assembled a one-page sheet of talking points for Altman's   use. ·001-DC-00000231.
                                                                                               l-DC-OOOG023l.. The
                                                                                           '001-De-OOOD0231
                                                                                            00 l-DC-0000023l.
                                                                                           '00

                   talking points explained the request of the Republican Senators to seek         agreements, the
                                                                                      seck tolling agreements.

                  . retroactive extension of the statute of limitations
                                                            li mitati ons for certain types of claims.
                                                                                               claims,
                                                                                               clai             factt that the
                                                                                                    ms. and the fac

                                                    28. The talking points also detailed the three choices available
                   statute would expire on February 28:

                   to the RTC if any claim existed:
                                           existed: allow the claim to lapse, commence litigation to preserve it, or             r




                   enter into a tolling agreement.
                                        ag·reement.      aJso
                                                         a150 explained
                                        ag·recmcnt. They also expla ined the limitations on these options, that tolling

                   agreements must be consented to by the relevant parties, and that a protective lawsuit must nol
                                                                                                               not be

                                      attorney could be sanctioned. The talking points noted that the RTC
                   frivolous oorr the attorney·
                                      anomey·could

                   investigation was being supervised by Kulka and Ryan, and, significantly, they state that, HitIt is
                                                                                                              .."It

                   not                           wi ll be completed, but it willl)e
                   nol certain when the analysis will                       wi ll !;Ie before February 28
                                                                            willl;x!                   28."
                                                                                                          ."

                                   The twelfth and final talking point states that Altman will         hi~self from the
                                                                                                       hi.~self
                                                                                          wi ll recuse himself

                         "1 have decided that
                   case: "[
                         "I              thai I will
                                                wi ll recuse myself
                                                             myse lf from                                   interim
                                                                     from. the decision making process, as .interim
                                                                                                           interim

                                                                                             Clin~on."
                   C.E.O. of the RTC, because of my relationship with the President and Mrs. Clinton."
                                                                                             Clinto n."

                                   Hanson testified  thaI she provided Altman with a eopy
                                                     thai
                                          testifi ed that                                 oflhese
                                                                                     copy of these talking points in

                   advance of the meeting.
                                        ing. Before heading
                                  me.etling.        head ing over to the meeting on February 2, Hanson claims she

                                                                     PQint (announcing his recusal) and asked
                   asked Altman whether he had read the last talking Wint



                   rerurned
                   returned to him some short time later and said that she had been talking with Altman, told him
                   her view on recusal, and that Altman was leaning towards recusal.
                                                                              recusal .                       .

                                                                       106



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          -           whetherr he was inclined to "move off" that point (i
                      whethe                                            (i.e.,
                                                                           .e.,., change his mind on recusal
                                                                        (i.e                                           if he .
                                                                                                     recusal)) because ifhe

                      was, she would change the last point. According to Hanson, Altman
                                                                                 Alunan said thai
                                                                                             that the talking point

                      was fine                    thai she was concerned about the accuracy Of
                          fine.. Hanson testified that                                         the talking point both
                                                                                            Mthe

                      because she wanted it to be ..accurate     because. if Altman did
                                                    accurate and because,
                                                   accurate                         did. end up changing his mind on
                                                                                    did,

                      recusal (he had been going
                      recusal                                           issu~), she would not want it to appear that
                                           go ing back and forth on the issue),

                      Altman changed his mind on recusal
                                                 recusnl because of the White House meeting.

                                                       Alunan
                                                       A lunan claims that he first saw the talking points on the way over to the White
                                                       Altman

                                                                                         JOs Altman testified that he
                                                                                         los
                      House meeting, but he does not recall discussing them with Hanson. lOs
                                                                                         lOS



                                                                ~ecusal on her own initiative in order
                     believes Hanson added the last point about recusal
                                                                recusal                          o rder to prod Altman

                     into annoW'lcing
                          announcing his recusal becaUse
                                                 because she had been advising him to recuse.
                                                                                      recuse.
                                                                                      rccusc.

                     4.             Tbe
                                    Tbe. February
                                    The  Fe.bruary 2 White House Meeting.
         -
         --   ..
                                                       The testimony about the February 2 meeting is relatively consistent and for the

                          part. does
                     most part                                                    recol lections of each participant.
                                docs not merit a recitation of the individualized recollections

                     (Obviously each witness remembers different dctails
                                                                 details about the meeting, but only significant

                     confl icti ng recollections arc
                     conflicting                 are presented here.)

                                                                                                                      offi~e in the
                                                                                                    p.m. in McLarty's office
                                                       The meeting took place at approximately 5:00 p.m.

                     \yest Wing.
                     West        Altman. Hanson,
                           Wing. Altman, Hanson . Ickes, Williams, Nussbaum, and Eggleston attended.
                                                                                           anended.
                                                                                           anended . Although he

                     was scheduled to attend the meeting, McLarty was not able to be present because of a conflicting

                                                 Room .
                     engagement in the Roosevelt Room.

                                                       The evidence indicates that Altman s_tarted                          goin g through
                                                                                          s.tarted the meeting by basically going




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                          305.  '-_
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                                           FOLb.(b)
                                          fO
                                          'o _'_
                                             _'_         >_"'I'_'3'_-_-_' __,"_
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                                                                     _--_'Kul~
                                                                            '"_'( _'-___"_
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         _-- .      the substance of the ta1king points prepared by Hanson. 106
                                  oftheta1king
                                     the talking                            306
                                                                            l Ob
                                                                                 As a result, this pan
                                                                                                   part of the meeting

                    was by all accounts
                               accowlts rather formal and stilted. As he was going through the discussion on the

                    statute of 1imitations                  ele ven talking
                               limitations issue (the first eleven  taJking points);                 ~ade some
                                                                            points), Hanson may have made

                               COmmen!S to correct some misstatements by Altman.
                               comments
                               co'mmen!s
                    clarifying cOInments                                 Allman.

                                               discussion, Hanson remembers Williams asking whether Altman was .
                                   During this discussion,

                           thai if the investigation could not be concluded by the end of February,
                    saying that                                                           Februaiy, the RTC would
                                                                                                            wou ld
                                                                               -
                    have to secure toHing
                                   tolling agreements from the potential defendants. Altman
                                                                                     A1tman responded that he

                   thought that                                    Airman did, however, make clear the eleventh
                           thai was the case. According to Hanson, Altman

                   talk.ing point, to the effect that the RTC would under all circumstances comp1ete
                   talking                                                                  complete its analysis by

                   February 28.

                                                 ofickes
                                   The testimony of
                                                 ofIckes
                                                    Ickes was somewhat different. 1ckes
                                                                                  Ickes stated that Altman said that
         .-.
         , -,
                   it was not clear whet.her
                                    whether or not                                  funy completed prior to !,he
                                               nol the RTC's investigation would be fully                   t,/le
                                                                                                            the

                   expiration of the statute of limitations. Importantly though.
                                                                         though, he did not understand Altman to be

                   saying that
                          that the RTC would thereby be forced either to pass on otherwise meritorious claims or to

                   seek tolling agreements. What 1ckes
                                                 Ickes claims Altman was say ing was that while the RTC would
                                                                         saying

                                                                factual .investigation
                                                                         investigation and analysis of
                                                                factuaLinvestigation
                   not be able to complete a thorough and final factual                             of claims prior to

                       deadline.
                   the dead line. the RTC would be able by the February 28 dead
                       deadline,                                                line to make an assessment of
                                                                           deadline

                                            cxis~ed and, if necessary, file civil suits that would preserve
                                            exis~ed
                           potentia] claims existed
                   whether potential                                                               preserv~
                                                                                                   preservt; those non-

                                                   ~er
                                                   ~her study the RTC later decided to amend those complaints or
                   frivolous claims, even if after further




                      306. Nussbaum aalone
                                       lone remembers that Altman opened the meeting by statingstati ng that the RTC
                   had already provided a similar briefing about the Slatute
                                                                     statute of limitations issue to members of
                   Congress.
                   Congress.
        ':.-~




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         --- ',      dr~p the cases.107
                     drop     cases. 307 Thus, Ickes testified that
                                                               lhat he understood that the
                                                                                       lhe RTC had three options.
                                                                                                         options. First
                                                                                                                  First,

                     the
                     lhe R TC could decide not to file any claims. Second, the RTC
                         RTC                                                   RTC could seek tolling agrcemen~
                                                                                                      agreemen~
                                                                                              lolling agreements

                                                Third , the RTC would be in a position to decide by February 28
                     from potential defendants. Third,

                    . whether to ·file
                                 ·fiIe
                                 ,ffile                                 statute of limitations. As flil
                                    ile protective lawsuits to toll the starute                    ful'
                                                                                                   nilyly explained 'by
                                                                                                   fully            by Ickes,

                    his recollection is not terribly inconsistent either with the talking points, the recollections of the .

                    other participants, or the information Altman had received in his briefing from Kulka (that while
                                                                                                          (that.while
                                                                                                                .while

                    the investigation wou ld not be as complete
                                      would            completc as one might like, the RTC would be in a position by

                    February 28 to make a rational
                                          rati.onal decision as to whether claims should be filed).
                                          rati,onai

                                     The notes Ickes took at the February 2 meeting are generally consistent with his

                    testimony. 006-DC-00000005. They show Altman
                    testimony.                                          thai February 28 is the last date for
                                                          Airman saying that                              fo r

                    the RTC to reach a conclusion:
         ..--.
                                     a) any        fo r potential misconduct -- or fraud re any of the panies
                                        any. claim for                                                 parties or

                                     b) commence litigation to preserve claim -- or

                                     c)·
                                     c) tolling agreement
                                     c)'

                    006-DC-00000005. They seem to indicate that the RTC would,
                    006-0C-00000005.
                    006-0C-00000005.                                    WOUld,, by February 28, have to file a
                                                                        WOUld

                    claim, file protective-lawsuits to preserve potential claims, or secure tolling agreements.

                                     Ickes  also testified that as Altman
                                     Ickes-also
                                           -also                   AJunan went through tht:
                                                                                       the statute of limitations

                                        questions were posed to him by others at the meeting. In particular, Ickes
                    discussion, several q'uestions
                                        q·uestions

                                     Airman when the original statute had expired, how it had been extended, and
                    remembers asking Altman




                       307. Altman remembers some sense of surprise from the White House when he stated that
                    one of the options was for the R TC to file a protective claim in court to toll the statute of
                                                   RTC
          ---.
         .. ..
                    limitations..
                    limitations

                                                                        109


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         -"      wha,                                        report by the RTC general counsel.
                 what Altman's view was of the timing of the repon                     counseL

                                The evidence also indicates that at some pornt
                                                                         point during the meeting, Williams
                                                                                                   Willia."DS asked

                                                                                     similarbriefing
                 if private counsel fqr the parties would be contacted and receive a similar briefing on the RTC's

                 procedures and the statute of limitations issues. Altman apparently responded that he assumed

                                       Forher
                 so, but was not sure. for           WiHiams does not remember asking this question but says it is
                                           her part, Williams

                possible she did so.

                                The tenth talking point states that Kulka and Ryan were supervising the RTC's

                 investigation of Madison. The evidence indicates that either at this point or during AlL'11an's
                                                                                                      Altman's later

                recusal discussion Nussbaum stated that he and his firm had gone up against Kulka h  the Kaye,
                                                                                                  in'the

                                                      htigator. It was clear from his remarks about Kulka that he
                Scholer case and that she was a tough litigator.
                SchnIer

                did not hold her or her judgment in high esteem. Nussbaum also -asked
                                                                               asked what Ryan's background

                was and
                    a..'1d was informed that Ryan had, 1ike
                                                       like Kulka.
                                                            Kulka, come from the Office of Thrift Supervision.

                                According to Altman and Hanson, Altman then announced his recusal, either

                        that he had decided to recuse himself (Hanson's recollection is that he read the beginning
                stating mat

                of the twelfth talking point, which is worded in this manner) or that he intended to recuse himself

                                                                               los Nussbaum testified that
                (Altman'S recollection) because of his friendship with Clinton.308
                (Altman's

                                                    to recuse himself or that he was considering recusal.
                Altman said either that he intended 10

                              Ickes'testified that Altman simpiy
                Eggleston and Ickes·testified             simply stated that be
                                                                             he was considering whether to recuse




                   308J




                                                                110



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         -,      himself, and Williams stated that Altman simply said hypothetically that if he were to recuse

                 himself, Ryan would be the one to
                                                to decide on the
                                                             lhe Madison
                                                                 Madisoncase.
                                                                         case.
                                                                 Madison-case.
                                                                         case.

                                                                                        Al~man to recuse and that
                                 At some point, Hanson interjected that she had advised Altman

                 Bentsen had concurred in that advice. Nussbaum testified that
                                                                          lhal
                                                                          thai Altman stated that he had not

                 received any opinion that he was legally or ethically required to rccuse~.
                                                                                io recuse·
                                                                                   recuse.

                                          arulOuncement apparently took the White
                                 Altman's arutouncement
                                          announcement                      "White House participants by surprise

                                                                    alm~st all accounts, Nussbaum was at this
                and caused the discussion to become more lively. By almost                               Lttis

                      "agitated," "displeased," "pugnacious," and "intense."
                point "agitated,"                                 "intensc." Altman also
                                                                                    al so remembers Williams

                shaking her head in exasperation. As Altman desc~bed
                                                            described it, he was then subjected to questioning

                by Nussbaum, in particular, that made him feel defensive (even flustered) about his

                announcement.
                arutouncement.

         --                      Hanson testified that Nussbaum asked whether Altman's recusal would mean that

                Kulka and Ryan would be the decisionmakcrs
                                            decisionmakers on the Madison case. It is possible that
                                                                                               tbat it was at

                this point that Nussbaum expressed his views about Kulka and asked for background information

                   Ryan . Hanson remembers Altman stating at this point that he had complete confidence in
                on Ryan.

                Kulka.. The evidence
                Kulka
                Kulka.      evidenct: indicates
                                            .   that ~ltman
                                                     Altman
                                                     ,      emphasized that he would follow Kulka's

                recommendation even ifhe did not recuse, and thus did not feel that his participation added

                much.
                much. Altman testified that Nussbaum
                                            Nussbawn became particularly
                                                            particwarly agitated and the discussion rather

                heated when he made this point. Alunan
                                                Altman remembers Nussbaum questioning him as to why he

                fclt he should recuse himself.
                felt

                                According to Nussbaum
                                             Nussbawn he told Altman
                                                              Alunan·that
                                                                     that iftherc·was
                                                                             there· was any legal or ethical
                                                                          if there

                reason to do so, he
                                 be should recuse immediately. (Eggleston believes Nussbaum also suggested

                                                                 111



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             .- .        that Altman get a formal
                                           fonnal ethics opinion
                                                         opinio'n on the ·issue.)
                                                                         issue.)                          Alunan did not have
                                                                                .) He then stated that if Altman
                                                                          issue.)
                                                                         ·issue

                         a legal or ethical obligation to recuse,             int~nded to follow the staff recommendation, the
                                                          recuse , even if he intended

                         mere fact that he would be reviewing the recommendation would provid~
                                                                                       provide additional discipline

                         and assurance of thoroughness and fairness by staff. Finally,
                                                                              finally, Nussbaum stressed that it was

                         Allman's decision to make
                         Alunan's
                         Altman's             make..

                                        According to Altman,
                                                     Alunan, he felt like he was "under pressure" from Nussbaum at this

                         point. Altman testified that he believed the White House   pani cipants were taking his decision to
                                                                            I·louse participants
                                                                                    panicipants

                         recuse ~rsonal Jl y.
                                personally,y, as if
                                                 ifhis  rccusal
                                                        recusal was an insult
                                                    his rccusa!               10 the White House or the cowardly act ofa
                                                                       iruult to                                     of a rat

                        jjumping
                          umping off a sinking ship.

                                                       r,ecalls
                                                          calJs that she gave Altman what she calls "advice" on recusal.
                                        Williams alone recalls
                                                       r.                                                       recusa!.



         -..
         .---..
         .        ,




     I                                       F9IA(b)3
                                             FOI.:>.(b)3
                                             ForA  (b) 3 - Ru       ( ~ )..
                                                           Rullee 6 (e),
                                                           Rille    (-!)           ,'Foederd
                                                                                   Fe ederd
                                                                                      oederd            C~iln in all Procedure
                                                                                        dera l Rules of Cam
                                                                                                        Crim
                                                                                                        Crimina      rrvc .. duree
                                                                                                                     Procedur




                       L ___
                         _ _J hand                                           i~ the government
                               and that she was tired of people of integrity in
                       ""'- _ _. J                                                  govemme~t saying they could not
                                                                                    governrne~t
                                                                                    goverrunent                 nOI

                        .partieipate
                         participate in anything.
                                        anythingJ I

                                               FOrA  (S) 3 - 1'P.ul
                                               rOII\ (b)J
                                               [01r,(b)3
                                               [01I\ (b)3    Rlile         66(e),
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                                                                                         .. de~ al1l R"le
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                                                                                                                                 i'~o<::e4u"e
                                                                                                                                 P~'X:e4ure
                                                                                                                            n<,l Pr-x: .. 4ur ..




                                                                      wh)' he thought he should recuse since there Was
                                        Ickes remembers asking Altman why                                          was                             was
                        no matter yet before him and questi oning whether friendship
                                                     questioning                                                   basi s
                                                                          friendshi p with Clinton was an adequate basis

                            recusa!,
                            recusal., Ickes believes he told Altman that in his opinion both reasons indicated he should
                        for recusa!

                                                                                             112


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           - ..'
         .'-          not recuse. But,.
                                  But •. according to Ickes.
                          recusc. But,                Ickes, he emphasized it was Altman's decision.

                                                  indicate's that at some point Ickes said that if Altman were
                                     The evidence indicates                                                    going
                                                                                                          wcre goi ng to

                      recuse, it was better to do so sooner rather than
                                                                   than· later. The meeting
                                                                   than'            mecting apparently ended with Altman

                      stating that he would sleep on ·the
                                                     .the
                                                      the question whether he would
                                                                              would·
                                                                              would' recuse himself and Nussbaum

                      responding that that was all the White House could ask for.




                                          FOIA(b)3
                                          fO I A(b I 3Cl - Rule
                                          FOIA(b           Rille    G(e),
                                                           P.'l l-e 6(e),
                                                           P.'ll-e  6(e
                                                                    6(-e).  fed~ri;ll Rules
                                                                        ) . federilll
                                                                            Federal   Ru l-es of
                                                                                      Rul-es     Criminal
                                                                                              vf Cdmi  n_'l Procedure
                                                                                                 Cdm i n"l
                                                                                                 Cdmin<ol   Pr.oc ednre
                                                                                                                  e(inre
                                                                                                                  ed nre




                      5.     Altman Discusses The February 2 Meeting With Steiner: The Issue Of Steiner's
                             Diary.

                                                  indic~tes thai
                                     The evidence indicates that Altman
                                                                 Alunan met with Steiner when he returned
                                                                                                 returncd from the

                      White House and told Steiner
                                           Sieiner what had .taken
                                                            taken place at the meeting.
                                                                               meeting. According to Altman, he

                      may have given Steiner a blow-by-blow description of the meeting. Altman told Steiner that he

                      had no idea why the White House officials would be bothered by his recusal since he had told

                      them that Kulka was going to be making the decision         e~ent. Altman testified that he told
                                                                 deci sion in any event.

                      Steiner the White
                                  \Vhite House officials were "disquieted" and that their concern
                                                                                          conccrn was stupid because

                     they knew he would not be making the decision under ·any
                                                                          any circ!lIDstances.
                                                                              circumstances. Altman even asked
                                                                              circ!Jlllstances.

                     Steiner, "What
                              "Whal do they care?"                  cannot recall precisely what he said to Steiner
                                            care?" Altman claims he cannol

                     about Nussbaum's conduct, but he probably said.
                                                               said, in recounting the conversation, "Bernie is

                     jumping up and down.
                                    down."" Altman also believes he may have mimicked or.
                                                                                      orimitated
                                                                                          imitated Nussbaum


                                                                               113



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                                                     309
         - ",
         --           speaking on the recusal issue. 309
                                                     lOll


                                      According to Steiner, Altman told him that the White House had not
                                                                                                     nOl fully

                      understood the statute of limitations issue and the fact that the deadline was fast
                                                                                                     fast approaching.

                      Altman also reported thai the White House was unhappy about Altman's decision to recuse
                                  reponed that

                      himself and that Nussbaum had made Some
                                                         some forceful arguments against recusal. Nussbaum had
                                                         SOme

                      ~pparently stated that Altman's recusal would set a dangerous precedent of recusing in the face of
                      apparently

                      political pressure.
                                prcssure... Nussbaum also
                                pressure             a1so had made the point that the RTC had a reputation for being a

                      very partisan instirution and that if Altman recused, the investigation might ·be
                           panisan institution                                                       be carried out in a

                      partisan fashion. Altman told Steiner that he planned to sleep on his decision whether to recuse.
                                                                                                                recuse.

                      Steiner testified that his impression was that Altman felt pressured by the White House not 10
                                                                                                                  to

                      recuse..
                      recuse
         .   -.
             -..
                                      In a February 12 diary entry, covering the period January 24 through
                                                                                                   tluough February 12,
                                                                                                                    12,.

                      Steiner recorded his impressions at the time, including what he had learned from Altman of the

                      February 2 meeting:
                                 meeting:

                                              1/24-2112/94:       extremes : In DC
                                                      12194: Two extremes:
                                              1124·2112/94:
                                              1124·2/                           DC spent long hours wIwi R.:'- going over·
                                                                                                      w/ RA           over
                                      how he should handle the RTC's investigation of Whitewater. The statute of
                                      limitations on Madison Guaranty
                                                               Guaranry cases was supposed to expire 2128
                                                                                                       2/28.. Should RA
                                                                                                       2128.
                                      recuse himself or should he Slay
                                                                   stay involved. The hurdle was so high (fraud) that it
                                      seemed tmlikely
                                               wtlikely
                                               unlikely the RTC would bring suit or seek
                                                                                    seck a tolling agreement from
                                      BCIHRC, but the chance existed. RA originally decided to  10 recuse himself but
                                      under intense pressure
                                                     pressure./rom
                                                              from the White House,
                                                                              House. he said he would make the Ihefinal
                                                                                                               Ihe final
                                      determination based on a recommendation from Ellen Kulka, the Gc.  GC. The GOP
                                               D'Amalo began a countdown to the 28th which was particularly ironic
                                      through D'Amato



                         309. Nye similarly testified that soon after the February 2 meeting Altman
                                                                                                Allman told him that the .
                      White House was disinclined towards his recusal. NyeNyc remembers Altman
                                                                                             Alunan saying that the White
                                                                       case , the staff would do a more thorough job
                      House made the point that by remaining on the case,

         -.           before making a recommendation.

                                                                       114


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         -.
         '-".,.                    since he had voted against extending the statute during the R
                                   period. As it turns out,
                                                                                                    Te reauthorization
                                                                                                  RTC
                                                         Qut, RA's problem will probably pass when the Congress
                                   decides to extend the statute once again. Pressure on R.A RA will cenainly
                                                                                                      certainly mount
                                                when Congress holds hearings on the RTC given that Ricki
                                   next week .when                                                       Ricki Tiegert
                                     sic] the FDIC nominee declared that she would 'recuse
                                   [sicl
                                   [(sic]                                               recuse herself from all Madison
                                                                                                                Madi son
                                   related issues due to her friendship wiwI the Cl
                                                                                 Clintons.
                                                                                    intons. The WSJ also go into the act
                                   wI a scathi
                                   wi
                                   wI           ng attack on RA
                                          scathing            R.A. and Gene Ludwig.

                     010-0C-000000I4
                     010-OC-000000 14 (emphasis added).
                     010-DC-00000014            added):
                                                added). In a February 27 entry
                                                                         eorry covering the period February 13

                    through February 27, Steiner again addressed the issue afthe
                                                                           of the February 2 meeting:
                                                                                             meeti ng:

                                           2/13-2/27/94:
                                           2/ 13-2/27/94: Every now and again you watch a disaster wUold unfold and seem
                                   powerless to stop it. For weeks we have been battling over how RA should
                                   handle the RIC
                                               RTC investigation of Madison Guaranty S&L. Initially, we all felt that
                                   he should recuse himself to prevent even the appearance of a conflict. At a Jateful
                                                                                                                   fateful
                                   WH mtg wiwi N  ussbaum, Ickes and WUliams,
                                                Nussbaum,             Williams, however, the WH stafftold'RA
                                                                      W;J/iams.
                                                                      W;J/iams,                                   that
                                                                                                     stafftold"RA thai
                                                                                                     slajJrold'RA
                                                                                                     slajJrold"RA      it
                                                                                                                  that;1il
                                        unacceptable . RA had gone to brief them on the impending statute of
                                   was unacceptable.
                                   limitations deadline and also to tell them of his recusal decision.
                                                                                             decision . They reacted
                                   very negatively to the rfcural
                                                          recusal and RA backed down the nexinext day and agreed to a
                                   defacto recusal where the RTC would handle this case like
                                   deJacto                                                   like' any other and RA
                                                                                             like"
                                  .would have no involvement.

                    OIO·DC·
                    OIO·DC-OOOOOOI4
                             OOOOOOI4
                    01 O-DC-OOOOOO 14 (emphases added).
                                                added).




                                         fO!A(b)3
                                         fOlA(»)3   Rul~ 6(e).
                                                    P.ui~
                                         FOIA(b)3 - Rule        F~d~[al Rules
                                                                F~d~ral
                                                          G(e), Federal
                                                                F.o:d-!cral Rul<?s oi Cdlninal
                                                                            Ru l~s of Cdln ina l Procedure
                                                                                      Criminal   Proc .. dure
                                                                                                 Proc"du(",
                                                                                                 Proc"dure




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         -.
         - ,      that the
                       the fact
                           fact that
                                that the terminology
                                         termino logy in both entries is different reflects
                                         terminology                               reflecLS his practice
                                                                                   reflects     practice of recording
                                                                                                            recording his
                                                                                                           ,
                  feelings
                  feel ings at the
                               the precise moment
                                           moment he is writing
                                                        writing each entry.
                                                                     entry .

                                  As to the diary statement that Altman
                                                                 Allman came under
                                                                             Wlder "intense pressure"
                                                                                            pressure" not
                                                                                                      nol to
                                                                                                          to recuse,
                                                                                                          10 recuse.

                  Steiner attempted
                          anempted to explain
                                      explain that
                                              that Altman
                                              thai Allman did not use
                                                                  we those words with him during their February

                 2 meeting,
                   meeting. nor did Steiner
                                       iocr"necessarily believe
                                    Ste}ner
                                    Ste}ncr
                                    Ste,                believe on February 2 that Altman was under "intense

                 pressure."
                 pressure .". Rather,
                              Rather. Steiner claims
                                              claim s that
                                                               .,
                                                      thai this ,description
                                                               I
                                                                 desc ription reflects his impression ten days later,
                                                                                                               later, when

                  writing the diary entry, of Altman's state on February 2.
                                                                         2. Steiner
                                                                            Ste iner testified that ifhe had to

                 describe today what he learned from Altman
                                                     Allman on February 2,
                                                                        2. he would say that
                                                                                        thai Altman was under

                 "pressure" 'from
                            "-from
                              from the White House not to
                                                       10 recuse.
                                                          recuse . According to Steiner,
                                                                                Steiner. Altman
                                                                                         Alunan "did no't
                                                                                                     nOI come

                 under                                 mad~ powerful arguments,
                 Wlder intense pressure." Nussbaum had made          argumenlS, and it is possible Altman felt

                 pressure, but Steiner refuses to
                                               10 describe the level
                                               10              level of pressure Altman felt.
         ,~


                                  Ste inc~ used the same excuse to distance himself from his February 27 entry that
                                  Steine~
                                  Steiner

                 the White
                     'White House had told Altman that his decision
                                      laid Allman          decis ion to recuse was "unacceptable." According to

                 Steiner, that word described only what Steiner's impression was from what Altman had told him

                 25 days before about the February
                                          F.ebruary 2 meeting.
                                                      meeting, and that he does not believe the use of that word

                 was accurate. By "the White House staff' Steiner says he meant Nussbaum,
                                                                                Nussbaum, as he was only
                                                                                Nussbawn,           onl y

                 aware of Nussbaum having offered his views on recusal
                       ofNussbawn                              recusal.. Steiner says he uses the term

                                                      often, and imprecisely.
                 "unacceptable" in conversation quite often.     imprecisely. Steiner
                                                                              Steincr testified that 10
                                                                                                     to his

                                                                                    that. " Again the "they"
                 knowledge, at no point did Nussbaum say to Altman, "You may not do that."

                                                   actually just Nus.sbaum,
                 who "reacted very negatively" was actuaJly      Nus..sbaum,, who was strongl
                                                                 Nus..sbaum           stronglyy opposed to

                 Altman's recusal
                          recusal,, according to Steiner. By "backed down," Steiner meant to say that Alunan
                                                                                                      Altman

                 changed his           thaI Steiner at the time felt that
                         hi s mind and that                          thaI this decision was a mistake.
                                                                     thai                     mi stake.
         ,--
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         _
         - .....
         "'--',                     Atunan testified that he docs
                                    Altman
                                    Alunan                   does not remember telling
                                                                               tell ing Steiner he had come under

                     "intense pressure" from the White House. He was not Under intense
                                                                               imense pressure from the White

                     Ho~e not to recuse. Altman
                     House                                                       ~ouse did not tell
                                         Alnnan was quite adamant that the White House         te ll him that his
                                                                                               lell

                     recusal would be "unaccepta~le.
                                      "unaccepta~le .
                                      "unacceptable."     M




                     6.     February 3: Altman ,Decides
                                                Decides Not To Recuse Himself.

                                    Altman testified that after sleeping on the issue, he decided that he would not
                                                                                                       hc'would

                                     at least forthe
                     recuse himself, at'      for the time being. His rationale was that recusal was not required, he

                     would follow
                           fo llow Kulka's recommendation in any event, and he did not want the White House to take

                     his decision as a personal rebuke.



                                                                                                                           J
                                                                                                                           ../

                                         ,OJ.., (b) 3 - Rule 6(e),
                                         ,OIA(b)
                                         FOIA(b)             6(e
                                                             o;(~ll..       Fe d-
                                                                               d-Hal
                                                                                 H all Ruhs
                                                                               d eul
                                                                            Federal    Rule
                                                                                       Ruless of Criminal Procedure
                                                                                                          Proc"!dure:
                                                                                                          Pro<:'!dur~




                                    The evidence indicates thai
                                                           that during this conversation, Alunan
                                                                                          Altman told her
                                                                                                      her'that    had '
                                                                                                          that he had'

                     decided not to recuse himself for the time being.
                                                                being. Altman said that his decision did not
                                                                                                         nol matter
                                                                                                             matter.

                     since he would follow Kulka's recommendation, but
                                                                   but· that the decision made "them" (meaning the

                     White House
                           HOU5e officials) happy.
                                            happy . ',
                                            happy.'

                                          fOIA(b):33
                                          FOI.~.{b)    - Rule
                                                         Ru l e 66(12)
                                                                   l e) , fFecle.cal
                                                                        I            Rules .,f
                                                                            ede.ral Rul;!s of Crim i. nal Procedure
                                                                                               Criminal   Pc.,c",d \l r~




                                    A1tman also said that the White Hou~e
                                    Altman                                      ne request, that Kendall be contacted
                                                                    House had oone

                             h~ would be aware of the timing and the legal issues on the starute
                     so that he
                             h!=                                                         statute of limitations.
                                                                                                 oflimitations.
                                                                                                    limitations.

                                         FOli'.(b) 3 - Rule G(e),           Fecleral Rules of Criminal Procedure



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       ~O I A(b)3
       FO   A (b
            A( b ) 3 - Rule
                       Ru lle   ( ~) , Federal
                                (~)
                            e 6(e)
                              6 (e)    Federa l Ru le
                                                   l ess of Criminal
                                                Rules       Crimi
                                                            Cr iminnal  Proce dure
                                                                    a l Procedure
                                                                        Pr
                                                                        Proc
                                                                           ocedure
                                                                             edure




          -.
          .
                .
                         _____
                      ,IL.....-_
                    ... ......   ___                   ~ Altman asked Hanson to"
                                                     --~                     to· check with Kulka on that
                                                                             to                      thaI point
                                                                                                          point..

                         ThaI moming,
                         That morning, Hanson called Kulka, and Kulka said that private
                                                                                privale counsel (including Kendall)
                                                                                                           Kendall)

                                                   course, bUI
                         would be contacted in due coUrse,                                    al that point. Alunan
                                                           but that it was premature to do so at             Allman had no
                                                                                                             Altman

                                                                  information back to him.310
                     . objections when Hanson later reported this infonnation         him.110
                                                                                      him. l1O

                                                            thaI at some point she told Altman that she assumed he would get
                                           Hanson testified that
                                                            thai

                             ofltis
                                his copy of the talking points. She did so because she did nOI
                         rid ofrus
                             of                                                            not want a version of the talking

                         points lying around
                                      aroWld that stated that Altman had decided to recuse himself prior to changing his

                                                                      llI
                         mind as a result of the White House meeting. 31l
                                                                      J 11
                                                                           Altman claims not to remember this

                        conversation.
                        conversation.

                        7.           February
                                     Feb                 AODouDces
                                         ruary 3: Altman Announces
                                                         ADDouDces     Rccusal Decision To Tbe White House.
                                                         AODOUDCCS His Recusal                       Ho use.

                                           The evidence indicates that sometime after a conversation with Bentsen, Altman
                                                                                                                   Alunan
         .-.                                                                                    ~ite House officials
                        called over to the White House to arrange to meet with some of the same White

                        he had met with the day before. The testimony about how this meeting was set up,
                                                                                                     up, what time of

                        day it took place, and what occurred at the meeting is widely varied.

                                           In short, the evidence shows that Altman set up a meeting (on short notice)
                                                                                                               nOlice)
                                                                                                               noti ce) in

                        Williams' office for -the
                                             the purpose of announcing that .he                                   for the
                                                                                                          himseiffor
                                                                             he had decided not to recuse himself

                        time being. He arranged the meeting by calling either Williams or Ickes, and Williams, Ickes,

                                                 Slephanopoulos may have been in attendance. Hanson was late, .
                        Eggleston, Nussbaum, and Stephanopoulos




                                 310.
                                 310 /
                                 310./
                                                                                                                             I\
                            311.                                                             v.ith Altman where she said
                            311 . Hanson testified that she had another similar conversation ""-ith
                                                                                             with
                          ~m that she assumed he had gotten
                          ':Urn
                       to him                             gonen rid of his talking points.

                                                                           118


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--     arriving only after Alunan
                           Altman had already made his annOll..1'1cement
                                                       announcement and departed. She then had a

                        AJtman's recusal decision with possibly Williarris,
       discussion about Altman's                                Willianis, Ickes, and Eggleston prcsenL
                                                                                                present:

                                              meetings took place as an independently~scheduled
       The best evidence indicates that these meetihgs                  independently-scheduled event

                                         3, although
       around the lunch hour on February 3. althougb there is ,some
                                                              some testimony that the meeting was

       simply a precursor to a regularly scheduled health care meeting in Williams' office around 6:00

                          3 12
       p.m. that evening. m

                        Altman testified that he called Ickes on the afternoon of February 3 and said that
                                                                               ofFebrua..ry

       he wanted to stop by and see hi~                      cannot recall, but he thinks it is possible
                                    him for a minute. Altman ca."1rlot

       he told Ickes he would like to talk 10
                                           to him prior to that evening's 6:00 p.m. health care meeting

       that both would be attending in Williams' office in the West Wing. Altman does not remember

       asking that anyone else be present for the conversation with
                                                               with. Ickes.

                       According to Altman, he went over to Williams' office at the \\'hite
                                                                                    White House to meet

            Ickes, Hanson was late arriving.
       with Ickes.                 arriving .. As he and Ickes stood just inside Williams' doorway,

       Altman told Ickes that for the time being be
                                                 he was not going to recuse himself. Ickes either said

       "good" or simply acknOWledged
                        acknowledged what Altman
                                          Aitman was saying. At some point, Stephanopoulos came

       in and sat down on the couch,     AJtman had already told Ickes about his recusaL Altman is not
                              couch. but Altman

       sure whether Eggleston was present for this discussion and does not believe Williams was even



                             According to Altman, he learned later that evening from Hanson that
       '-_ _ _ _ _ _ _ _ _..JAccording
       ~----------------~


           312. When the meeting took place, and hence whether it was simply a precursor to another
                                           Vvbite House on an unrelated topic, was a significant question
       regularly scheduled meeting at the White
       for our investigation because the meeting seems a more significant
       contact if it was a separately-scheduled event rather than a casual add-on to another meeting.

                                                        ]]9
                                                        119




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         - ,      she had shown up just after he had left the meeting.

                              . To the contrary, Williams testified that Altman called her at about noon a day or

                  two after the February 2 meeting.  Alunan told her that he had decided not to recuse himself, and
                                           meeting . Altman

                  he said he wanted to tell people at the ·White House of his decision prior to going to a meeting he
                                                                                                                   he.··.

                  had scheduled on Capitol Hill. (Altman's
                                                 (Alunan's calendar confinns                                  ~e
                                                                             thai he was due for a meeting on the
                                                                    confirms that

                  Hill at 1:15 p.m. on February 3. OOI-DC-00000487.)
                          1:15                     OOI-DC-00000487
                                                   00I-DC-00000487.)                  Altni~ asked ifshe
                                                                   .) Williams thinks Altman       if she could

                                Stephanopoulos together so that he could tell them that hehad ·decided
                  get Ickes and Stephanopouios                                                 decided not 10
                                                                                              'decided     to

                  recuse himself. Williams told Altman ·'she
                                                         she would try to get them together in her office in the

                  West Wing in five minutes. According to Williams, Ickes showed up, but Stephanopoulos

                            laiC. She also remembers that someone from the Counsel's
                  walked in late.                                          COWlsel's office was there, either
                                                                           COWlSel's

                               Nussbaum . Altman then came into her office and said that he had
                  Eggleston or Nussbaum.                                                    had ·decided
                                                                                            had'decided
                                                                                            had·decided
                                                                                                 decided not to

                  recuse himself. l~kes may have asked Altman if
                         himself. Ickes                       ifhe                           ~ecisionf
                                                                 he was comfortable with his decision!
                                                                                             decision.,
                                  . .                                               .


                                        FOIA(b)3
                                        fOl Tl.(b)3 - R\lle
                                        fOJA(b)3
                                        fOJA,(b)3     R1l1e
                                                      Rule 6(e)
                                                            6(e),., f-=dHlIl
                                                            6(oe)   Federal
                                                                    f",dH~l Rules of Cr.iminlll
                                                                                     Criminal
                                                                                     Cr.imi n lll Procedure
                                                                                                  P!;(">cedu(o:
                                                                                                  P~OCoedUI;"
                                                                                                  P~ocedul;"




                                                                                                                  ./




                                 Ickes_
                                 Ickes.initially
                                 Ickes-initially                  giand jury that Altman called him on the p~one
                                       initially testified in the grand                                    phone or

                  told him in the White House within a day or two of the February 2 meeting that he would not

                  · recuse
                    recu~e himself. When he later testified in the grand jury, Ickes testified that he remembers
                  ·recuse
                  'recuse

                  meeting with Altman and Williams in the doorway to her office. Altman
                                                                                 Allman said that he was not

                  going to recuse. According                 m~eting tQok
                                   Accord ing to Ickes, this meeting tQOk place before a 6:00 p.m.
                                                                                              p .m. health care

                                       office. Ickes' phone log for February 3 shows an entry stating,
                  meeting in Williams' office.                                                Slating, "Roger

                                                        006-DC-00000206,, but Ickes is not sure whether that
                  Alttnan needs another meeting today," 006-DC-00000206
                  Altman

                                                                         120


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        ._
        .____ .        ., refers to the meeting regarding Altman's recusal decision.

                                        Eggleston testified that he was in Williams' office on February 3 with
                                                                                                          \\'ith Williams

                        and Ickes for some unknown reason. Eggleston is not sure whether he "1mew
                                                                                             knew Alunan
                                                                                            -knew Altman would be

                        coming over, but at some point Altman stuck his head in the office.
                                                                                    office. Altman said that he
                                                                                                             he'
                                                                                                             he- had

                                                                          313
                        decided not to recuse for the time being and left.J!l
                                                                     left.JIl
                                                                     left.

                                       Stephanopoulos recalls being in a health care meeting in Williams' office that was

                        about to start, and Altman walked in and announced that he had decided not to recuse
                                                                                                      recuse..

                                       ~ccording to Hanson, she was having lunch on February 3\
                                       According                                                              3\



              . -.
                                              FOIA(b)       Rul e 6(e)
                                              FOIA(bl33 -+~ Rule          FoCd~rl<l i'-uhs
                                                                          Fed~rl<l
                                                                  6(e).., Federal
                                                                  6(0!')
                                                                  6("')             Ruhs    ot
                                                                                    Ru le s o(       nal ?rocedur~
                                                                                            of Cri(ninal
                                                                                               Criminal
                                                                                               Crimi     ?roced u r~
                                                                                                         Procedure
        ....
        ...-,.,-.




                                       Hansgn
                                       Hanson testified that when she arrived, Eggleston, Ickes, and Williams were


                           313 . Nussbaum initially testified that he remembers running into Ickes or Altman in the
                           313.
                                            -Wing within a few days ~er
                        hallway in the West-Wing
                                       West·Wing
                                       West ·Wing                      after February 2 and being informed that Altman
                        was leaning against recusing himself. In his second grand jury appearance, Nussbaum was more'
                                                                                                                    more
                        confident he had this conversation with Altman on February 3 and believed he may have also had
                        the same discussion with Ickes.

                           314. Hanson's schedule card confinns that she had a 12:00 p.m. lunch date scheduled at the
                            Ebbin Grill on February 3.
                        Old Ebbitt                  l. 329-DC-OOOOOI
                                                       329-DC-OOOOOl16.
                                                       l29-DC-OOOOOI   16.

                           315. Both Hanson's secretary and Gross corroborate Hanson's version of these events, further
                        supporting the view that the February 3 meeting took place around the lunch hour
                                                                                                    hOllI..
                                                                                              luneh hour.
                                                                                                    hoUl.
          ---.
          .



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         --        ~tanding in Williams' office, and they told her that Altman had just left. Hanson testified that
                   standing
                   s.tanding                                                                                   thaI
                                                                                                               thai

                                                      th~t she had recommended to
                   Ickes asked her who else was aware that
                                                      thaI                                              himself.
                                                                               10 Altman that he recuse himself.


                   Hanson remembers giving Ickes three names, Ben Nye (Alunan's         assistant),, Michael
                                                                      (Altman's special assistant)

                   Levy (the Assistant Secretary
                                       Secretary for Legislative Affairs),
                                                                 Affai rs), and one other person whose name she does

                                   Hanso"n testified that Ickes said that that was good because if that fact got out,
                   not now recall. Hanson                                                                        OU1, it


                   would not look good in light of Altman's decision not to recuse. Hanson responded by saying
                                                                                                        say ing

                   that she would have recused had she been in Altman's position, and Ickes again stated thai it
                                                                                                  staled that

                            bener ifher advice did not get out. Hanson replied that she would say what .she
                   would be better                                                                     ,she
                                                                                                       she
                                                                                                        she

                   advised Altman if asked}
                                     asked.:)




         .- .
                                          FOIA(b)3
                                              " (b) 3 - Rule·
                                          fOI,\(b)
                                          fOII,i(b)
                                          fO            Ru l i 6( e ) , Fede~al
                                                               G(e).
                                                               G(e),    ""cit-ral  Ru le s o ff' Cu
                                                                        F... deral Rules         Cuminal
                                                                                                 Cr i min
                                                                                                 CJ:lmina
                                                                                                      minal   P rocedu~e
                                                                                                          a l Proceduu:
                                                                                                              Procedut{:
                                                                                                              Pr ocedun:




                 ~
                 L...___
                 L..     JhEggleston
                          /IE ggleston remembers telling Hanson that Altman
                     _ _...IIEgglestoh                               Allman had just left and that Altman had told

                  them he would not recuse. Ickes then asked Hanson how many other people knew that she

                  recommended Altman
                              A ltman recuse himself.
                                             himself. Hanson responded with a list of names sufficiently long

                  that Ickes became uncomfortable. The list inc1udeo_
                                                            included. Steiner, Levy, and possibly several others.

                                  Ickes testified that he saw Hanson on the second floor of the West Wing within a

                  day or two of the February 2 meeting, but claims not to recall any discussion about Altman's

                                                                            122


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           FOIA(b)3
                  bl 3 - Rule 66(e),
           parA (bl3
           POIA(
           F'OIA (bl            (e ) , Federal
                                       Federa l Rules      Crimi nal Procedure
                                                Ru l es of Criminal  Pr ocedure
               ....
               ...............
                 "


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                      "< •
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                          ......
                            . "




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                      'ecu;;;I:I,----------------------...:....--,
                      recus:;LI'-_
                      recusaH        __
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                                                   _____
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                                                                ____
                                                                   ___
                                                                     ---'
                                                                       ..J


                      8.           Ickes Discusses The Madison C ivil Investigation With Tbe
                                                               Civil                     The President And Mrs.
                                   Clinton.
                                   C linton.
                                   ClintoD.

                                         A critical issue [or     i~vestigatjon was whether anyone present at the February 2
                                                                  i~vesligation
                                                                  i~vestigation
                                                          for the i!1vestigation

                      meeting discussed with the Clintons
                                                 CHntons (or anyone else
                                                                    clse who might have communicated
                                                                                        commwticated with the

                      Clintons or their counsel) either the fact of the meeting or the substance of the information that
                                                                 o[the

                      had been conveyed during the February 2 meeting regarding the RTC's handling
                                                                                          bandling of the statute of

                      limitations issue or Altman's recusal.
                                                    recusaL All of the participants except Ickes denied having passed

                     on this information to the Clintons or their agents.

                                               testified ·' that he told Clinton the gist of what the February 2 meeting had
                                         Ickes testified

                     been about, but Ickes claims not to be able to recall when or where he did so or exactly what was

                     said other than that he recounted what had transpired in the meeting, including both the statute of

                                     recusaI discussions. Ickes believes he probably told Clinton about the February 3
                     limitations and recusal

                     follow-up meeting with Altman
                                            Allman during this same discussion. Ickes does doubt that this

                     conversation would have taken place, however, after the February 12 enactment of the extension
                     converSation

                                                    316
                     of the statute oflimitations.JL6
                                    oflimitations.
                                    of
                                    oflimitations,JL6
                                       limitations.JL6  Ickes does not recall but believes it is possible he told Clinton that

                     the R TC would not have time to decide whether it had claims that it intended to pursue with full
                         RTC

                     force.. Ickes testified that he never discussed with Clinton
                     force.
                     force                                                Cl inton whether Clinton should sign a tolling
                                                                                                                 to.lling

                     agreement.




                        316. One possibility we explored was whether Ickes' conversations with the Clintons may
                     have taken place after the controversy had erupted regarding the February 2 meeting.
                                                                                                  meeting. While
                     Ickes was not positive, he thought, however, that the discussions took place
                                                                                            piace before February 12
                                                                                                                  1"2
                     and before Altman disclosed the February 2 meeting in his February 24 testimony.

                                                                          123


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         ..~
          ~.                        Ickes remembers having essentially an identical but separate conversation with .

                  Mrs. Clinton.
                       Clinton . He similarly does not remember the circumstances of that discussion, except that,

                  like the conversation with Clinton, it probably QCcurred
                                                                  occurred before February 12.
                                                              I




                                    During the course of the swruner
                                    DUring                   sununer
                                                             swnmer 1994 investigations, Ickes' private counsel.
                                                                                                        counsel,., Amy
                                                                                                        counsel

                  Sabrin, had a conversation with Jane Sherburne and Sheila Cheston, both of the White House

                  Counsel's Office. Sherburne and Cheston took notes during this discussion, in which Sabrin

                                                                                   Ponians of these notes were
                  apparently conveyed her client's confidences to the White House. Portions

                                  OIC . Both sets of notes reveal that
                  produced to the OIC.                            thai Ickes may have also had separate

                  conversations with each of the Clintons
                                                 Clinions regarding Altman's decision not to recuse. Sherburne's

                  notes
                  note~
                  note ~   read:
                           read :

                                           HI Recalls informing both WJC and HRC (meets with them several
                                                                                                  se .... eral
                                    timeslwk)                            goin~ to recuse
                                    times/wk) separately that Altman not going    recuse..

                 442-DC-00006538,
                 442-DC-00006538 , at 6538-6539. Cheston's notes similarly state (to the best they can be

                 .deciphered in her handwriting):
                                    handwriting) :

                                            Informed HRC + BC individuaJly
                                                                    individually that RA wid not recuse self,
                                                                                                        self. mtg wi
                                    each [at least] l/day
                                                    I/dJiy and this time. Told between 2/3-24.
                                             leastJ 1/clay
                                                    lIday                               2/3-24 .

                 442-DC-00006542.
                 442-DC-OOOO6S42.
                 442-DC-OOOO6S42 . _These notes are at least generally consistent with Ickes' testimony thaI
                                   -These                                                               that he

                 believes he likely told both Clintons about the February 3 meeting with Altman
                                                                                         Alunan (at which

                 Altman
                 A                                     himself).
                   ltman announced he would not recuse himself).

                                    Mrs. Clinton testified that she did not learn of the February 2 meeting until around

                 the time ""ltman armounced his recusal (February 2.~
                          Altman announced                        2.~).
                                                                      ). Moreover, she denied having any .


                 discussions with Ickes prior to Alunan's
                                                 Altman's testimony on February 24 regarding the RTC's civil

                 investigation of Madison. She specifically
                                               specifical ly claims not
                                                                    no t to recall Ickes having briefed
                                                                                                briefed her on the .
         .-
                                                                     124


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        /--.
        ,_        options the RTC had in light of the statute of limitations -- filing suit, not filing suit, or seeking
                                                                                                                 seeking.

                  tolling agreements.
                          agreements. Nor does she remember Ickes discussing with her prior 10
                                                                                            to February 24,

                  Altman's possible recusaJ.
                                    recusal.

                                  Clinton testified that he did not learn
                                                                    leam of the February 2 meeting until it
                                                                                                         il was

                  disclosed in the newspapers. He testified that he learned basically what had appeared in the

                  press, that Altman had briefed the White House on procedural issues relating to the RTC's

                  investigation; he did not learn
                                            Jearn that recusal had been discussed. Clinton further
                                                                                           fmther testified that the

                 fust
                 [lIst                                        recusaJ was only when he did recuse on February
                 first he learned that Altman was considering recusal
                                                              reeusaJ

                 25.. Similarly, he does not believe he
                 25                                      was aware prior to public reports that Altman had
                                                        'was
                                                     he'was

                 discussed his possible recusal                House. 3J7
                                        recusaJ with the White House.l17
                                                               House,l11

                 9.      The February 24 Senate
                                         Seoate Banking Committee Hearing.

                                                                24 , Senator Gramm first raised the issue of
                                 During the hearing on February 24,

                 communications by the RTC or Treasury with the White
                                                                "White
                                                                'White House regarding Madison or

                 Whitewater. The following
                                 fol lowing exchange
                                            exehange ensued:

                                 Q.      . .. Mr. Altman, I want to ask you first.
                                                                            first.

                                         Have you or any member of your staff     had any conununication
                                                                            staffhad       communication with the~e
                                                                                                                 Ute
                                         President,                    an~ of their representatives, including their
                                         President. the First Lady, or an;:
                                                                       any
                                         legal counsel, or any member of their White House staff,
                                                                                               staff. concerning
                                         Whitewater or the Madison Savings & Loan?

                                 A.      I have had one substantive contact with White House staff, and I want
                                                                                                          wapt to
                                         tell you about it.
                                                        it.

                                 Q.              ifII may,
                                                 if
                                         Let me, ifl       just given that "yes," I would like to know what the
                                                      may,just


                                                                                          .'
                                                                                           ,J
                                                                                           "
                    317. Fiske did not question Clinton about his conversations with Ickes,
                    317.                                                             Ickes. and we never had the
                 opportunity to question Clinton on this issue.

                                                                    125


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          -,
         ,-
         .. ..--,..
                                         substance of the communication was, when it occurred,
                                                                                     occurred. who initiated it,
                                         and what you were asked to do.

                                    A,
                                    A.   First of all, I initiated it.

                                                                               [sic],, who is Treasury~s
                                         About three weeks ago, Jean Hansen (sic],
                                                                               (sic]          Treasury~
                                                                                              Treasury'ss General
                                         Counsel,       reql:1ested a meeting with Mr.
                                         COWlSei, and I requested
                                         COWlsei,                                  Mr. Nussbaum -- he is the White
                                         House Counsel.                                        '

                                              purpOse of that meeting was to describe the procedural reasons for the
                                         The purpose
                                         -- the procedural reasons for the then-impending -- then-impending --
                                         February 28th deadline as far as the then-statute oflimitations was
                                         concerned .
                                         concerned.

                                              sun: you know that that statute of limitations has
                                         I am sure                                             has subsequently been
                                         retro~ctivelyreinstated for certain types of civil claims.

                       ,                 And we explained the process which the R     TC would follow in reaching a
                                                                                     RTC
                                                                                deadline ; that it would be exactly
                                         decision before that February 8 [sic] deadline;
                                         identical to procedUres used in any other case, any other PLS case, and
                                         that the RTC fundamentally
                                                        fwtdamentally would come to a conclusion as to whether or
                                                        ftmdamentally
                                         not there existed the basis for a claim, or whether there did not.
                                                                                                        not.

                                                                                   the~ it would pursue either a
                                         In the event a basis for a claim existed, then
                                         tolling agreement --- which is the equivalent of a voluntary extension of the
                                         statute of limitations from the parties at interest -- or it would file that
                                         claim in court.

                                         That was the whole conversation. I was asked one question
                                                                                           question... That
                                         question was whether we intended to provide the same briefing to
                                         attorneys for the parties at interest.

                                           said. I assume
                                         I said,   asswne so.
                                                          so .

                                         I went back. Jean Hansen [sic1
                                                                    [sic] checked with the RTC General Counsel.
                                                                                                       COWlsel.
                                         The answer was:
                                                     was : In due course.

                                         I said,
                                           said. fine,
                                                 fine. that was it.

                                         I have not had any contact with the President of the United States or the
                                         First Lady on any matter like this.
                                                                       this .
                                                                       this.


         .'----

                                                                         126



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         --      Altman, Senate Hearing,
                                Hearing. Feb. 24,           55-56. 11I
                                              24 , 1994, at 55-56.3\8

                                    Hanson testified that she noticed right away that Altman had not mentioned the

                 recusal discussion in describing the .February
                                                      February
                                                       February 2 meeting. 1ndeed,
                                                                           Indeed, he had missed the emire
                                                                                                     entire

                 paragraph on his prepared Q&A that included the sentence on recusal.
                                                                             rccusal . Gross, who was sitting

                                                       ~e shoulder and said that Altman had left out iecusa1
                 right behind Hanson, tapped Hanson on the                                           recusal,.
                                                                                                     iecusal

                                               knew.)m19 According to Hanson, she immediately
                 and Hanson responded that she knew.J19
                                               knew.                              inunediately considered

                         Altman a note to remind him of the recusal discussion;
                 handing Alunan                                     discussion, but then Altman stated that,

                 "That was the whole conversation," and she believed the opportunity had passed for correcting

                     testimony...
                 his testimony

                                    Hanson also testified that she was not concerned about Altman's failure to

                 mention the February 3 follow-up meeting,
                                                  meeting. because she actuaJJy
                                                                       actually had been under the impression

                 that he had mentioned it; she claims it was not until she later reviewed the transcript that .she
                                                                                                               she

                 realized he had failed to include this information.
                                                        infonnation.

                                    Eggleston, who attended the hearing for the White·
                                                                                White House, testified that he was
                                                                                WhiteHouse,

                                                                                                th~t had taken
                 immediately concerned that Altman had failed to mention the recusal discussion that

                 place at the February 22·meeting.               ~odesta from the hearing to tell him that Altman
                                          meeting. He telephoned ':odesta

                 had failed to mention recusal.
                                       recusaL (Podesta does not remember speaking with Eggleston while



                              e~cerpts from Altman's February 24 testimony are taken from the final printed
                   318. The excerpts
                bearing transcript. The Semiannual Report oJthe
                hearing                                     ofthe Resolution Trust Corporation Thrift Depositor
                Protection OverSight
                           Oversight Board -- --1994:
                                                1994: Hearing before
                                                               beJore the Committee on Banking,    Housing,
                                                                                          Banking, HOUSing,
                                                                                                   Housing. and
                Urban Affairs, 103d                   (1994). lbat
                                l03d Cong., 2d Sess. {1994}.  That transcript reflects several minor typographical
                                                                                                     typographica1
                                                                                                     typograph.ica1
                corrections that were made to the preliminary hearing transcript. None of the changes appears to
                be material to the investigation.

                    319. Gross stated that she does not recall this incident.

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         ___      Eggleston was at the hearing. He also does not remember the issue of Alunan's
                                                                                       Altman's failing to

                  mention the recusal discussion coming up this soon.) Stem
                                                                       Stern does remember receiving a call from

                  Eggleston as the
                               the· hearing ended, in which Eggleston reported that the recusal issue had not come

                                         32o
                  up during the hearing.
                                hearing.!20
                                         no

                                    Altman testified iliat he used the word "substantive" to mean "relating to the

                  substance of the case," "the facts of the case," "the merits of the case,"
                                                                                      case;" "the status of the case,"

                  "or where the case is going."
                                        going. " Altman
                                        going."  Allman also testified that by "substantive" he meant "about the

                  case, about the procedures applying to the case." He explained that he did not consider a

                  discussion regarding his possible recusal a "substantive" discussion; he never associated himself ·

                  with the substance of the case since in any event he was de facto recused and thus did not view

                  his recusal as relating to the procedures (and in his
                                                                    hi s terminology
                                                                         tenninology "substance") of the case. Altman

                  testified that when he used the word substantive he was not thinking of other meetings that

                  would be excluded by using that .word
                                                   word (other than the February 3 meeting, obviously).

                                    Altman testified that he did not intentionally .I~ave
                                                                                    I~ave out the prepared sentence on
                                                                                    leave

                  recusal and that he now wishes h~ had read it out loud. He admits
                  recusaJ                                                    ad.mit~ that his answer as
                                                                                                     3;S given is

                  "susceptible to·                                                            the substance of the
                               to misinterpretation" and that the distinction he drew between .the

                 . case and his recusal
                                recusa]
                                recusaJ     "srupid" in retrospect given that few agreed with the distinction.
                                            "stupid"
                                recusa1 was "stupid"in                                            distinction. Indeed,

                  when looking at the transcript of his testimony. AJtman stated that he knows people
                                                        testimony, Altman                      pcoplemust
                                                                                                      .must
                                                                                                       must think

                  he was trying to hide the recusal discussion.
                                                    discussion .
                ,
                • --
                r
                r  - --
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                   -  -
                      -
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                        - -
                          -
                         --  -O
                            -F -I-
                                 A   0OI
                                   ::O(11',(1.»
                                       IbA(b)) 3 - Rule
                                         AO.»3     P.ul"
                                                    .ul", 66(,;,),
                                                   P.ul~      ",, 1.
                                                            ((e),    o-ect-e[31 Ruhs
                                                                  ). Federal
                                                                     ,oedoer:;l
                                                                     ',;,d·"t31 Rul",s of
                                                                                Rules      Ccimi
                                                                                       o f Cdminal
                                                                                           C         P[oc "" dur-e
                                                                                             dmi nal Procedure
                                                                                           Criminal  P[ocedur-:.
                                                                                                             du~""




                                                           AJUllan would be asked more generally why he had failed
                       320. It had also been expected that Altman
                 . to recuse himself from the Madison matter.

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                                                                                                                           ,

         ·-             FOIA(b)
                        .·OIA
                        ."
                        mOIiI. (b) 33 -- Rule
                           I A !bj3
                               (b)3      Rule 6(e),
                                                  ) , Federal
                                              6(t),
                                              6fe
                                              Ei!e),  f ede: al Rules
                                                      fe<le:al
                                                      fede:-al  Rilles of
                                                                !!.I.Ies
                                                                Ih.:les  o (f Criminal
                                                                         of   Crimi nal Procedure
                                                                                        P rocedur~
                                                                                        P~octdu~e
                                                                                        Procedure


                                   Altman
                                   A1Unan testified that when he said, "That was the
                                   AiUnan                                        the whole
                                                                                 lhe whole conversation,"
                                                                                           conversation," he meant

                  that was the whole conversation regarding the "substance"
                                                                "substance" of the case.
                                                                            oflhe  case. He also
                                                                                            al so explained that he

                  was referring
                      refemng to what
                                 .what he thought was the purpose
                                                          pw-pose of the meeting,
                                                                         meeting. which was to discuss the statute

                  of limitations procedures; the recusal
                                                 rccusal discussion was a "by the way" type of remark.
                                                                                               remark.. He claims
                                                                                               remark

                  he made no attempt to conceal the recusal                             grandjury,
                                                    recusa! discussion. As he asked the grand jury,          ifl
                                                                                              jury, "I mean, if
                                                                                                             inI

                               iintent,
                                 ntent, would II have sat around the night before with all these people,
                             ..intent,
                  had had an intent,                                                             people, with the line

                  'recusal'
                  'recusa]' in there? --
                                      •• I mean,
                                      .-                           if ]!d
                                           mean, 10 or 12 people - ifl'd
                                                                      J!d intended to conceal it? ...
                                                                                                    . . and would I have
                                                                                                  . ..

                  gone over
                       OVef to the White House and talked --                                       me, "'"and
                                                          •• with our general counsel, taking with me,   and
                                                                                                         and four

                  White House staff members, if
                                             ifTI intended to conceal it?"
                                                                      it?"· Altr.nan
                                                                            Altman testified that he did not have

                  any fear that disclosing the recusal discussion would
                                                                  would create more controversy.
                                                                                    controversy . (He also claims
                                                                                    controversy.
                           ...-
          -.                                                                                    was· in any wayan
                                                                             recusaJ discussion was
                  that in the preparation sessions nobody ever said that the recusal

                  explosive or particularly embarrassing fact.) .

                                   Altman explained his statement that he was asked only one question during the

                  February 2 meeting as relating to the procedural discussion part of the case, the "substantive"

                  portion of the meeting. "One question about the substance, that's what I meant." According to

                  Altman, that is why he did not disclose the questions he admits being asked during the recusal

                  discussion .
                  discussion.

                                                               understand that Senator Gramm's question required
                                   According to Altman, he did Wlderstand

                  him to answer for himself and his
                                                rus staff --- whether e.
                                                                      either
                                                                        i.ther had any contacts with the White
                                                                      e.i_ther                           WhiteHouse
                                                                                                               House

                            Madison..
                  regarding Madison

                                  . A short
                                      shon while later, Senator D'Amato again raised
                                      shan                                    rai sed the issue of contacts:
                                                                                                   contacts:
          .-
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          ..-...                  Q.
                                  Q.   Mr. Chairman, I have to say to Mr. Altman that I would like to go back to
                                       a question that Senator Gramm brought up as it relates to any meetings
                                       with White House Staff or counsel.                                    .

                                       Mr,
                                       Mr. Alunan, I think you said that you and an
                                       Mr. Altman,                               an-official
                                                                                    official from Treasury sought
                                       out Mr. N
                                               Nussbaum?
                                               Nussbawn?
                                                 ussbawn? Is that co
                                                                  correct?
                                                                     rrect?

                                  A.   Yes, I did.

                                  Q.
                                  Q.   Cou1~ you tell us why? In other words, I have difficulty understanding
                                       CouJd
                                       Could
                                       why it is you felt compelled to seek out the White House counsel.

                                  A.   Solely to ensure ---

                                  Q.   Solely to?

                                  A.   Solely to be sure that he understood the legal and procedural framework
                                       within which the RTC was working.
                                                                   working.

                                       If you recall,
                                               recall. as I said, at that time there was a February 28,
                                                                                                    28,1994
                                                                                                        1994 date
                                       which was the subjsubject     major attention in the Congress and in the press.
                                                              ect of majo,r
          ,,-. ..                      It is not unconunon
                                       It
                                       It"is
                                       It"       uncommon of meetings of that type to take place. And I describe
                                       it as a "heads-up" and a very stiff conversation.
                                                                              conversation.

                                  Q.     h~ds-up? In what connection would that heads-up be? Do you mean
                                       A he",ds-up?
                                         heads-up?
                                       that the statute of limitations was running?

                                  A.                           ~ware of the internal processes and the types of
                                       No, that they should be !l":,are
                                                               !l\\{are
                                       criteria which the RTC was go.going       ~
                                                                         i ng to be.
                                                                                 be following in order
                                                                                                 o rder to reach a
                                                                  199~·...
                                                                  199~
                                       decision by February 28, 1994.

                                 Q.
                                 Q.    Were any representatives of the President or Mrs. Clinton, or any legal
                                       counsel, which I think would
                                                                woUJd be appropriate, speaking to the counsel for
                                                                wowd
                                           R TC, or people handling this particular
                                       the RTC,                            parucular matter?
                                                                                      maner? I mean, was there any
                                       legal
                                       legaJ representation going on? Was thisthi s you just called them? Did they
                                       have any representatives, or any counsel who may have been meeting with
                                       staff people, or talking to staff people?

                                 A.    I was accompanied by our G~
                                                                G~nera1
                                                                G~neral
                                                                   neral Counsel,
                                                                         Counsel. Treasury General Counsel.

                                       Mr. Nussbaum had his assistant with him. And Mr. Ickes and Margaret
                                       Mr.
                                       Williams were both at the --
                                                             the--

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                                                                 130


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                           EXHIBIT 3 (Part 4)

                                     to

      Plaintiff’s Response to Defendant’s Statement of Material Facts
        Not in Dispute and Statement of Undisputed Material Facts
            in Support of Cross-Motion for Summary Judgment




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        .
         --.                           Q.
                                       Q.         J~kes is in it, huh?
                                                  I~kes
                                              Oh? Ickes

                                              Let me ask you this       Prior to this meeting,
                                                               this.. ''Prior
                                                                       ·Prior         meeting; was there any representation,
                                              was there any counsel, that was representing the President's interests or
                                                    Clinton's interests, or any,
                                              Mrs. Clinton'S
                                                    Clinton'S                 anyone                               ~
                                                                                                                   iI:S it relates
                                                                                  one else that you were aware of, <l;S
                                                                              any,one                              <!;S
                                              to the matter that you went to brief them on?

                                       A.     No. Not to my knowledge.
                                                              knowledge :.'· Nor were there any substantive conversations
                                                                                                            conversati ons
                                              -- subsequent conversations.

                                      Q.      Did anyone request this meeting?

                                      A.      1]I requested the meeting.

                                      Q.      Was there any other meeting that may have been requested?

                                      A
                                      A.     No.

                                      Q.      There was no other meeting that you were aware of that the White House
                                              counsel requested?

        ..",.-- ..
                                      A.
                                      A      No.
                                                                                                                   ,
                                      Q.      Or anyone else from the Whi'te
                                                                      Whhe House?

                                      A.     No.

                                      Q.      Mr. Ickes?

                                      A.     I had no subsequent -- IJ received                         f~r meetings.
                                                                       receiv(:d no subsequent requests for meetings.

                                      Q.            ~bout private counsel? Did private counsel-
                                              What about                                counsel - I find it hard to
                                                                        privale counsel. Are you saying to me
                                              believe that there was no private                              me that there
                                                                    coun~l meeting with staff lawyers
                                              was not even private counsel                    Jawyers at some level?

                                      A,
                                      A.                knowledge, Senator.
                                              Not to my knOwledge,

                        Altman, Senate Hearing, Feb.
                        Alunan,                          199~, at 63-64,
                                                Feb, 24, 1994,    63-64.

                                      Altm~ testified that he
                                      Altman               he'meant
                                                           he' meant to say tthat
                                                                              hat there were no subsequent, substantive

                       conversations with the White House
                                                    House., Altman claims that he did not intentionally leave out his
                                                    House.

         ,---'
                                                                           131


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                     request for the February 3 meeting with Ickes because as he understood the question, D'Amato

                     was asking whether (he White House had requested any other meetings. Again Altman claims
                                        the While

                     that while he may have misinterpreted the question, he did not intentionally conceal the February

                                                    ha~ he intended to conceal the meeting,
                     3 meeting; his defense is that had                            m~eting,
                                                                                     .                        ha~. the
                                                                                            he would not have had

                    . meeting described in his Q&A briefing books access to which
                                                                            whieh as many as a dozen people at

                     Treasury and the RTC had.

                                    Senator Bond then asked Altman questions regarding the criminal referrals:

                                    Q.     Next. when did you become aware of the RTC recommendations that
                                           Next,
                                           further criminal prosecution be taken against Madison?

                                   A.      Last fall. Ir[was advi.sed that the question of a referral to the Justice
                                                         was advised
                                           Department. was under
                                           Department          Wlder consideration at the RTC.
                                                                                           R TC. And as other members
                                           of the RTC staffwill     anest, I said that normal
                                                         staff will attest,            nonnal procedures with no
                                           deviations whatsoever should be pursued, including chain of command
                                           proc~d~es, in terms of reaching that conclusion.
                                           procedures,

                                           I might tell you that typically decisions like that are made at the Regional
                                           Office level, and it was in this case. .

                                   Q.
                                   Q.                                              ha~ asked the National
                                           Were you aware that the Regional Office had           Natiomil Office to
                                           make a determination as to whether the Clintons' name should be in the
                                           new expanded referral?

                                   A.
                                   A     - No.

                                    Q.     You did not know they were asking for the National Office to make a
                                           determination?

                                   A.      No.                                         was
                                           No. II was simply informed that this issue was on the
                                                                                             thc table, and my
                                           reaction was - and I had only one conversation about it --- that normal
                                                                                                            nonnal
                                                                                                            nannal
                                           procedure should     followed.
                                                                followed . That is the way we are going to handle this
                                                      shouJd be followed.
                                           thing from beginning to end ...

                                   Q.
                                   Q.      How was the White House notified of the referral?

             .                     A.
                                   A.                                    RT~, to the best of my knowledge.
                                           They were not notified by the RTC,
                                                                         RTS:,                  knowledge .
         r..r--

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                                                                    \32



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                                         Q.
                                         Q.     Nobody in your agency,
                                                                 agency, to your knowledge, advised the White House staff
                                                that this was going to
                                                                    10 be a major --
                                                                                  •• this could be a major source of
                                                                                                                  of
                                                concern?

                                         A.
                                         A.     Not 10
                                                    to my knowledge.

                         Altman, Senate Hearing, Feb. 24,
                                                      24,1994,
                                                      24 , 1994, at 69.
                                                                    69.

                                                    Alunan provided this last response, he turned back to Hanson (who
                                         As soon as Altman

                         was sitting            anc~ asked her a question.
                             sining behind him) and              question. Hanson testified that Altman asked her,
                                                                                                              her, in

                         substance, whether his answer was correct, and Hanson responded that she thought it was.
                                                                                                             was
                                                                                                             was..

                         Hanson then spoke with Kulka, who was seated next to her,
                                                                              her and asked her if she was aware
                                                                                      I




                        .,whether
                          whether the RTC had notified the White House of the referrals,
                         whether                                              referrals. and she said, "No." She

                         remembers that when Bond asked his question she had a vague recollection of having spoken

                              Nussbawn. but she recalled no other details of the conversation at that time other than that
                         with Nussbaum,
          .-
         ., ,,,,,-,
                                               o usly related to the criminal referrals in some way.l2l
                         the conversation obvif>usly
                                          obvi.ously
                                          obvi.                                                 way.321I Hanson testified that
                                                                                                way.H

                        she does not recall if she had her "flash"
                                                           nflash" of recollection about the Nussbaum
                                                                                             Nwsbaum conversation before

                         Altman turned to her or afterwards. m When she did recall this information,
                                                 afterwards.322                         infonnation, she did not believe

                                                                     she·
                                                                     she" understood the questions as asking simply
                         Altman had to correct his testimony because she

                         whether the RTC had notified the White House, not.theTreasury.
                                                                       not .the Treasury.         .aalso
                                                                                                     lso remembers
                                                                                Treasury . Hanson .also

                         having thought at the time that Treasury had not prepared a Q&A about the fall contacts for




                            321.
                            321 . Hanson testified that she did not recall at the time the October 14 meeting.
                                                                                                      meeting.

                            322. According to Hanson, she did not mention her conversation with Nussbaum
                                                                                                Nussbawn to Altman
                        after the hearing.
                                  hearing.

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          .---
            -          Altman. m
                       Altman.J2l
                       Altman.l23

                                       According to Altman,     ~on as Bond finished with him, Altman
                                                    Altnian, as soon                           Alunan turned to

                                                                                             Al~an testified that he
                       Hanson, who was seated just behind him, to double-check his response. Altman

                       said to Hanson, "They didn't, did they?" and Hanson responded, "No."

                                      We had lip reading experts
                                                         expert$ from the FBI examine the videotape of this incident.
                                                         expert$

                       Because of the camera angles, they were not able to provide a de~tive
                                                                                     defi?itive analysis of exactly what
                                                                                     defi.nitive

                       Altman said to Hanson. They did conclude that the videotape is consistent with the versions

                       given by both Altman and Hanson, that Altman asked
                                                                    aske'd Hanson a negative question along the lines

                       of, "We didn't do that, did we?" and Hanson responded in the negative by shaking her head side

                       to 'side to confinn Altman's recollection.

                                              Domeni~i concluded the questioning on contacts:
                                      Senator Domeni£i
         ..--.,'
         .."..--.
                                      Q.
                                      Q.      Mr. Altman, you spoke a while ago
                                                                             ago' of your one contact with the White
                                                                             ago·ofyoUI
                                              House regarding this, and you and your counsel went up to talk 10
                                                                                                              to the
                                              White House counsel.

                                      A.      One substantive contact.

                                      Q.      Please.?
                                              Please.?

                                      A.      One substantive or meaningful contact.

                                      Q.      Well, I assume
                                                      asswne we are not arguing there that you had .-
                                                                                                   -- you are not
                                              suggesting you had more than one are you?

                                      A.
                                      A.      No. 1I am just saying that if yoil,
                                                                             you, you know, you run into someone in the
                                              hall, if you see that thing in the paper this morning, 1I am not including



                         323. Eggleston testified tharhe
                                                   thathe
                                                   that he did not have immediate concerns with Altman's response to
                      Bond about the White
                                      While House being notified about the criminal referrals. He believes he may.
                                                                                                                 may
                           t empor~ly
                      have temporarily  forgotten
                                        forgonen  about  the fall
                                                             fal l contacts or simply
                                                                               simpJy not had concern for whatever
                      unidentified reason.
                      W)identified reason.
                                   reason .                              .

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                                    that.

                              Q.
                              Q.    You said you were there 10        heads~up .
                                                            to give a heads-up,
                                                                      heads-up.

                                    What I understand the situation to be on average folks, like a couple of
                                    folks in my Stale
                                                 State that were bordering up alongside of a statute of
                                    limitations becoming a defense, was that they were presented with a
                                    limitalions
                                    tolling agreement. If they did not sign it, the suit was filed so as'to
                                    lolling                                                           as-to
                                                                                                      as to toll the
                                                                                                      as'lo
                                    statute,
                                    statute.

                                    Is that a rather fair assessment of the way business is done?

                              A.
                              A.
                              A,    I think IJ would have to know the details of the matter, Senator.
                                                                                             ~enator.


                              Q.
                              Q,    I guess what 1I am wondering is are we getting the right perspective of why
                                    you did this?

                                    Did you go there because you wanted them to know that, clearly, they
                                    might be asked to sign a tolling agreement?

                                    Or;                  nonnal process was that the statute is going to toll.
                                    Or; to know that the Donnal
                                                         normal                                          toll, If
                                    there were reasonable grounds to suspect something, they might expect a
                                    lawsuit?

                                    Why else would you give them a heads-up?

                              A.                                  ~d
                                                                  ~d a matter like the one you referred
                                    The difference between this and                                        to
                                                                                                 refe'rred to is I
                                                                                                 refe'rred
                                    had       receiv~ng --
                                    ha,d been receiving
                                    ha.d                ~- J
                                                           I had begun to receive a lot of inquiries, including
                                               in writing, from Congress as to what procedures the RTC was
                                    inquiries in
                                              follow ,
                                    going to follow.

                                    I wanted to give them the Same sense of those procedures that I was giving
                                                 Congress. I said to them nothing different than 1I have said to
                                    Members of Congress,
                                    Mem~rs of Congress,
                                    Members
                                    Memt?ers     Congress.                                             \

                              Q,
                              Q.   I understand that, but 1JI guess what I am getting at is there must have been
                                   a reason for telling them that.

                                   Congress was just saying "th~ statute is going to run, what are you going
                                   to do."
                                      do. So, you went over there to tell them we are
                                      do,"  It                                      arc going to apply the
                                   same thing we do in any other case?
                                   Same

                                   That. is the "heads_up"
                                   That         "heads-up" that you were giving them?
         .---'
                                                              135



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                           A.    That is right.

                           Q.
                           Q.    Was it serious enough that you wanted them to know because there might
                                 be something that they would be confronted with that was untoward as
                                 you applied your rules like asking for
                                                                    f<?r a tollmg
                                                                    f,?r   tolling agreement, or filing a
                                                                           toHmg
                                 lawsuit?

                           A.   . Again, the essence of what we said was that the statute of limitations
                                  w~ch then applied
                                  which       appli~d was scheduled to expire on February 28, 1994.

                                 The RIC
                                     RTC was going to make every effort to make a decision by that date
                                                                                                   date..

                                 It could fundamentally reach only one of two decisions:
                                                                              decisions :

                                            was the basis for a claim,
                                 That there was                 claim. or that there was not.

                                If there was a basis for a claim,
                                lfthere                    claim. then we would either Seek
                                                                                       seek a tolling
                                                                                              toliing
                                 agreement to permit more discovery and more preparation, or we would
                                 file that claim in court.

                           Q.   Well,
                                Well. the passage of the statute of limitations extension eliminates that
                                                                 oflimitations
                                problem. as you have already indicated.
                                problem,

                                 t
                                I'I guess, Mr.
                                           Mr. Chairman.
                                               Chairman, I am having a little difficulty with the explanaiion.
                                                                                                  explanation..
                                                                                                  explanaiion
                                One way of     looking at it was that it was not a very meaningful or
                                            oflooking
                                important meeting; that he was just doing this so that he would be able to
                                tell Congress he had told them he is going to treat them the same way as .
                                others.
                                others.

                                I do not think a man -- I know you fairly well.
                                                                           welL I do not think you would
                                be going over there to just be able to send this letter to Senator D'Amato
                                                            beable                                 O'Amato
                                that says I have told
                                                 laid the White House that they are going to be treated the
                                same way as other people.

                           A.   Senator, I did not know whether they knew of such procedures which, as I
                                say, I was then communicating to Members of Of Congress. It justt seemed to
                                                                                         Itjus.
                                me a little odd to explain to a Member of Congress that we are going to
                                follo~ X,
                                follow
                                follo;.v X. Y,
                                            Y>Z procedures and not have them ever be made aware of what
                                            Y.
                                those were.
                                        were.

                           Q.
                           Q.

                                                                                      tq me, Mr. Alunan,
                                My last observation would be that it is inconceivable to         Altman,
                                                                                                 Alunan.

                                                          136



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         -.--.,                               that you would really be concerned that people involved in the
                                              investigation,
                                              investigation. whomever they are, whether it be people in Arkansas,
                                                                       of the President,
                                              whether it be confidants afthe  PresidclJt. or whomever, that they would
                                                                              Preside.lJt,
                                            . not know that the statute of limitations was going to,
                                                                                                 to. toll, and that that
                                              presented a situation where you had to advise somebody_
                                                                                              somebody. I just do not
                                              think'anybody
                                              think anybody involved in this would not have known that.

                                     A. '                         .~ I would agree with you. I cannot say for sure.
                                            Well, Senator, I also --                                          sure.
                                            cannot say what was in their minds. II doubt very much that they did not
                                            know about the statute of limitations.                .

                                    Q.      Right.

                                    A.      What 1I was saying was not that. What I was saying is I did not know if
                                            they knew, and.
                                                       and, frimkIy,                is. as a result of that meeting, that
                                                            frankly, my impression is,
                                            they had not previously known what procedures the RTC RTC woul~
                                                                                                        would be
                                            following.

                                            By that I mean that you have to
                                                                          to,choose.
                                                                          to. choose between
                                                                                      between -- you have to reach a
                                                                          to.choose.berween
                                            conclusion as to whether there is a claim or there is
                                                                                                is not, and then
                                                                                          there.is
                                            determine what you have tot~ do  if you reach a conclusion that there is.
                                                                            -if
                                                                         do.if
                                                                            .if
         ,---                                     24, 1994, at 70-72.
                     Altman, Senate Hearing, Feb. 24,1994,

                                    Altman testified that he emphasized to Domenici that he was referring to one

                                                                                         tal~ing about meetings
                                                                                         taJ~ing
                                                                   again thafhe was only talking
                     "substantive or meaningful contact" to stress a,gain

                     regarding the substance of the case, and that he did not associate himself and his recusal with any

                     aspect of the case. Altman claims that
                                                       that- while he was sitting there testifying he did not think about

                     his conversation with McLarty and his February 3 meeting with Ickes and decide that they were .,
                     qis

                                      Raiher, he thought the Senators were asking about only contacts with the White
                     not substantive. Raiher.
                                      Rather,

                           aboul the case. According to Altman his staff had already prepared a Q&A about the
                     House aboul/he
                           about

                                                                    subs~tive, but was rather "incidental.
                     Ickes meeting stating that the contact was not subsWltive,               "incidental."l1~
                                                                                                           "324• .· He
                                                                                              "incidental."n
                                                                                                           tin



                        324. As discussed above, Altman consistently defends his testimony on the grounds that he

        '. -
        ..   -                                            that his staff chose the descriptive terms
                     did not prepare the contacts Q&A and that                                 tenns "substantive" and

                                                                      137



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         .-- .          claims "'he e~cluded his telephone conversation with McLarty because he viewed it as even
                                 he excluded
                                he                                                                           ev~n less
                        than "incidental."
                                   denta1." In further defining
                             "incidenta1."
                             "inci.denta1."
                             "inci,                    defIning what an "incidental" contact would be -- a hallway
                                                                                                           hal lway
                                                                                                           haJJway

                                                                                          Alunan ._eexplained
                        conversation about what had appeared in the press that morning -- Altman
                                                                                          AJunan     xplained that he

                        might have chosen a bad example, but that he was simply meaning to say he was,
                                                                                                  was  nOI talking
                                                                                                  was. not

                              in~identa1
                              in~idental contacts.
                        about incidental contacts.

                                       Steiner recorded in his diary entry dated February 27, 1994 (covering the period

                       February 13 through February 27):

                                       At the hearing, the recusal
                                                           recusaJ amazingly did not come up. The GOP did hammer
                                                                          mIgs. wi
                                       away at whether RA had had any mtgs.     wI the WH. He admitted to having had
                                       one to brief them on the statute deadline. They also asked if staff had met, but RA
                                       gracefully ducked the question and did not refer to phone calls he had .had.
                                                                                                               had.
                                                                                                               had.

                       OlO-DC-OOOOOOI4. Steiner testified
                       010-DC-OOOOOOI4.         testifIed that his "gracefully ducked" language was "an wUortunate
                                                                                                        unfortunate


          -.
         ..,.- .
         -,,--....
                       choice of words." Steiner said that when he wrote "ducked," he was referring to his own

                       conversation with Stephanopoulos on February 16. Steiner remembered having told Altman

                                 c.onversation with Stephanopoulos, so either Altman had forgotten about it or he had
                       about his conversation

                       "gracefully ducked" the question by defIning
                                                           defining "meetings"such
                                                                    "meetings" such that he need not disclose this 9f
                                                                                                                   or
                                                                                                                   or.

                       other contacts. Steiner assumed it was the        m Steiner testifIed
                                                                  latter.m
                                                              thelatter.32S        testified that as he left the hearing he

                       was concerned only about Altman's use of the term "heads-up" and Altman's failure to mention
                                                                    tenn "heads_up"

                       Steiner's February 16 meeting with Stephanopou)os.
                                                          Stephanopoulos.

                                           evidence does not indicate that anyone expressed
                                       The evidence'                              ex.pressed to Altman
                                                                                                Allman immediately




                       "incidentaL "
                       "incidental.N




                          325. Steiner testified that when he wrote this entry he still had no recollection of the October
                       ]4 meeting.
                       14
                       14·meeting.                                                                                       .

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        FOIA(b)3           Ru le 6(e),
        E"OIA (b) 3 -.:. . Rule  6 (el,
                                   (e l,
                                      ) , Federal
                                          Fed eral Rules of  Criminal
                                                         o f Cri minal Procedure
                                                                       Procedu re


         -.:-.
         /"":'.,                                              cQ:ncems about the accuracy or completeness of¢at
                                      after his testimony any concerns                                            testimony .
                                                                                                          of that testimony.
              \\                                   Altman Recuses On February 25.
                                      10.
                    \
                   \ ..,
                   " \.                                                                Ti~es published a front page article about
                                                          On February 25, The New York Times

                                 \f\JUnan's
                                  A-IUnan's testimony that was highly critical of the fact that the February 22meeting
                                \\Altman's                                                                     meeting had taken·
                                                                                                                           taken ·


                                .'.
                                      ~I~ce,
                           \\\ . . pl~ce,
                                   pl~ce , implying that the White House had·
                                   pi~ce                                 had' received an update on the underlying facts in the case.
                                                                         had'received                                           case
                                                                                                                                case..

                                  ···Altman
                                     ~ltrh.an
                                     ~ lun.an testified that he was shaken by the story and its allegations ofimpropriety
                                                                                                              impropriety and had

                                      d~.cid~~. by 10:00 a.m. that he would recuse himself
                                      de.cide~.
                                      de.cide4                                             to limit any appearance of a conflict of
                                                                                   h.imselfto

                                      int~st. 'IL
                                      inl,",,'t.
                                      inl""st.
                                      interest.           ____________________
                                                 '\1.I...L_
                                                          _______________________                 --------"
                                                            _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.______
                                                                                                  - - - - - - - ---'
                                                                                                                  "

                                      When,he
                                      Whet.,
                                      When,  he got to work, he did have several conversations with DeVore (who had since ·retired
                                                                                                                           retired and
                                               .                          .


                                          working in Texas) to get his advice on how to make the recusal announcement in a way that
                                      was wOfking


                            .
                                                   ~i,nimize
                                      would rn:~imize
                                                      .                               De
                                            mi,nimize further negative press stories. DeVore's Vor~'s
                                                                                               advice was to stay flexible on the issue

                                      so as not to.
                                                t6 "pour
                                                t6.          k~rosene on the fire
                                                    ''' pour kerosene        fire,"
                                                                                  ," po'ssibiy                 da~s before making the
                                                                                     possibiy waiting a couple days
                                            .
                                  announcem~~t.
                                  announcem~t.


                                                         -·.Altman
                                                          ---\Altman testified that he had a statement prepared announcing his recusal.
                                                         ''\AJunan                                                             recusaJ. At
                            .                              ,.                                              .
                                            th~ mid- to late-afternoon, Altman spoke with Howell
                              some point in th~
                            . some.                                                                 with
                                                                                          Howell. Raines, editorial page editor

                                                  ·rimes, who told Altmanthat
                                  of The New York 'rimes,
                                                  'Times,          Altman·that
                                                                   Altman that he was writing a very harsh editorial about the
                                                                   Altman'that

                                      February 22 meeting
                                      February    meetinir_
                                                  meelingl l_
                                                            --_-
                                                               _I...__________________
                                                                L
                                                                 -_-_
                                                                    -_-_
                                                                       --_-
                                                                          _ -_
                                                                             -_-_
                                                                                --_-
                                                                                   _ -_
                                                                                      -_-_
                                                                                         .I
                                                                                          .JI
                                                                                           ..JI .Altman
                                                                                                Altman ·aattempted to
                                                                                                          ttempted to

                                  explain what had taken place at the meeting.
                                                                      meeting, but Raines apparently had already made up .his
                                                                                                                          his mind

                                  on the editorial. At some point in the conversation, Altman told Raines that he had decided to

                                                                           caU, Altm.~ had the Treasury public affairs office
                                  recuse himself. Within minutes after the call,

                                  release the recusal statement that had already been drafted announcing Altman's recusal.
                                                                                                                  recusa.l .
                                                                                                                  recusal

                                                         . Steiner's diary dated February 27,1994
                                                                                          27, 1994 (covering the period February 13
                                                                                                                                 13 through
         .-
         , - .'


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         ,-       Feb~ 27) records:
                  February

                                    The next day.                        a
                                              day, the NYT ran a front "page story on the mIg.        heal was on.
                                                                                             mtg. The heat      on. We
                                                                                                himself I spoke wI
                                    spent a tortured day trying to decide ifhe should recuse himself.            wi
                                    Podesta to let      know of our deliberations. Very frustrating that he
                                                let him kriow
                                                        how                                                   was the
                                                                                                           he.was
                                    chosen point of contact since .he
                                                                    he clearly was not in the complete confidence of
                                    George and Harold. After Howell Rains [sic)  [sic] from the NYT called to say that
                                    they were going totowrite
                                                         write a brutal editorial, RA decided to recuse himself.

                 010-DC-OOOOOOI".J~----~----'-----~--------'1
                 01 O-DC-OOOOOO 114.
                    O-De-OOOOoO        ".J

                                             fOIA(b)3
                                             fOIA(h)3
                                             rOIA(b)3     Rul~ 6(e).
                                                          R\.ll~
                                             FOIA (b) 3 - Rule   'il~)... Fed
                                                                 'il~)
                                                                 I)(o?)   F~eral
                                                                          Fed
                                                                          Fedeeral
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                                                                                r a l P.uhs
                                                                                      P.ules
                                                                                       ,des of Cd
                                                                                      Rules    Criminal P[oc~dut~
                                                                                                  minal Procedu
                                                                                                        Proce
                                                                                                        Procedure
                                                                                                              dutre
                                                                                                                  "!




                '-_
                           ~----'-------------------______~----------~/lt w~oruy
                L-_ _ _ _ _-'--_ _ _ _ _ _ _ _ _ _ _ _ -,-_
                L-____
                                                                         It was
                                                                    -'/ltwasonl
                                                       _ _ _ _ _ _ _...J/1' wasonI y
                                                                                only
                                                                                   Y

                 during his telephone caJl                   Altman decided and announced that .he
                                      cal l with Raines that Altrrian
                                      call                                                      h e would in fact

                 recuse. Immediately after Altman got off the phone
                 recuse.                                      phon'e with Raines, Steiner called Podesta to let

                 him know of Altman's announcement.




                                         FOIA(b) 3 - Rul!:'
                                         fOIA(h)3
                                         FOIA(b)3
                                         FOIl«b)3    Rule   6 (e). fedua]
                                                     RlIle "Ie).
                                                     RlIlc  ';(e),         Rule
                                                                   Fedu/I] Rules
                                                                   Federal Rul('s      C~iminall Proco?du[o?
                                                                           R\.llcss of Crimina
                                                                                       Criminal  Ptoc~du
                                                                                                 Procedure
                                                                                                 Pr.:;,ced\.l re




                                                                           / Podesta believes he
                                                                             Podesta believes
               ' - - - - - - - - - : - - - - - - - - - - - - - - -_ _.....J/Podesta           he

                    then told Stephanopoulos and Ickes.,
                                                      Ickes. ,
               r.,...-_
                     ______
                   -__  ___- -_
                              --_F_Of OI
                                    FOI  Alh!3
                                         Alb!3
                                    FOIA(b
                                      I A(b))3 - Ru l e 6Ie)
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                                                 Rule   6 (e).:
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                                                                   federal
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                                                                              Rules
                                                                              Rulo?s
                                                                       e r al Ru     of Criminal
                                                                                        CrimInal Procedure
                                                                                                 Proco?ouro?
                                                                                        Criminal Pro ce dure
               IL-____________  ______________
               IL-____________~---------- __--~                    ~                                                   ~




                                   Stem remembers a similarar conversation with Steine;r
                                                    simi llar
                                                    simi.                       Steiner
                                                                                Steine;f on February 25.
                                                                                                     25 . He testified

                that Steiner called him to say that Altman was seriously considering recusing himself from


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         ...---
            -        Madison but would not be consulting with the White House on the issue.

                                    According to Altman, he was unaware
                                                                Wlaware of any effort by anyoJ.le.
                                                                                         anyone
                                                                                         anyoJ.le
                                                                                         anyoJ.1e. at the TreasW)'
                                                                                                          Treasury
                                                                                                          Treas\U)'
                                                                                                          TreasUl)' 10
                                                                                                                    to
                     JJ

                     inform     WhiteHouse
                     infonn the White House that he was
                                                    waS again considering recusal.
                                                                          recusal . As Altman put it, if such efforts

                     took place, they were not very effective given the angry call he received soon
                                                                                               sooh after his

                     announcement from Ickes
                                       lckes and Stephanopoulos.

                         Eggle~toD'S February 28 Memorandum Regarding
                     11. Eggleston's                        Regar~ing Tbe               IDvestigB~ioD.
                                                                                        IDvcstigB~ion.
                                                                      The Madison Civil Investigation.
                                                                                        IDvestigatioD.

                                    On February 28
                                                28,. 1994, Eggleston sent Ickes a memorandum regarding

                     "Whitewater -- FDIC and RTC Rose Law Firm Issues." 006-DC-OOOOOO14.
                                                                        006-DC-OOOOOOI4. The memorandum

                     di~ussed issues raised by the FDIC and RTC reports addressing the question of
                     discussed                                                                     possihle
                                                                                                ofpossihle
                                                                                                   possible

                     conflicts of interest by the Rose Law firm in its representation of
                                                                                      ofM"adison.
                                                                                         Madison. In the memorandum,

                     Eggleston discussed the findings of both the FDIC and the RTC in their reports and noted that at

                                     hearing, the Chairman of the FDIC and Altman had both agreed to have the
                     the February 24 hearing.

                     FDIC ;:md
                          ;;md
                          I;Uld RTC Inspectors General review the conflicts issue.
                          and                                               issue. Eggleston then reviewed the

                                                                                               ~e Rose Law Firm
                     sanctions that could be imposed by the FDIC or the RTC if they determined the

                     had a conflict of interest. Next, he explained the status of the RTC's Madison civil investigation

                     and provided some background information
                                                  infonnation on Ryan and Kulka,        R TC decisionmakers in
                                                                          Kulka. as the RTC

                     light of Altman's recusal. The FDIC and RTC reports were attached to the memorandum.

                                    A March  I, 1994 memorandum addressed from Ickes to Mrs. Clinton with the
                                      Mitrch 1,

                     February 28 Eggleston memorandum attached was produced to the Ole.
                                                                                   Ole. 006-DC~00000013.
                                                                                   OIC. 006-DC-OOOOOOI3.
                                                                                        006-DC,:,OOOOOO
                                                                                        006-DC-OOOOOOI3 I3..

                     Ickes' memorandum stated: .

                                                                           Eggleston'S 28 February 1994 memorandum
                                           Attached is a copy ofW. Neil Eggleston's
                                    to me regarding certain
                                                    cc:rtain issues involving the RTC and the Rose Law Firm

         ..--                       ("Rose"). Attached to that memo are copies of the FDIC report, dated 17

                                                                     !4!
                                                                     141


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         .   ..--.                               1994, concerning possible conflicts of interest regarding "-Rose's
                                       February 1994.                                                       Rose's
                                                                                                             Rose's
                                       representation of the FDIC against Madison
                                                                          Ma<iison Guaranty, and the RTC's
                                                                                                        RTt's 8 February
                                                                                                                  FebruaJ)l
                                       1994 report concerning the same subject.

                                              It
                                              Itis
                                                 is my understanding that sho:rtly
                                                                           shortly ·after
                                                                                   ,after
                                                                                    a fter RogerAltman
                                                                                           Roger Altman met with Bernie
                                       Nussbawn, me and others concerning the RTC statute of limitations,
                                       Nussbaum,                                                   limitations. he received
                                                                         9fth~:
                                       an opinion from an ethics officer 9fthf:
                                                                         of the Treasury Departrnentthat
                                                                                            Deprutment that he, as the acting
                                                                                            Department
                                               RTC, di~·
                                       head of RTC.  di~'
                                                     di~
                                                     dig not have to recuse himself from matters involving
                                       RosefMadison Guaranty. JI will confinn
                                       RoselMadison                     confirm this situation.

                                               Please let me know if you want to discuss the attached.

                       DDb-De-DDODDDI3.
                       006-DC-OOOOOOI3.
                       006-DC-00000013.

                                                           that
                                                           that. Ickes called him and asked him to draft a memorandwn
                                       Eggleston testified that·                                           memorandum

                           . a
                       giving             wht;re things stood with respect to the conflicts issue,
                              a report on where                                                             there·. was aa
                                                                                            i-ssue, whether there
                                                                                            issue.

                       confiict,.who
                       conflict,                                                      couJd happen if the FDIC found a
                                 who was investigating what on the question, and what could

                       conflict. Eggleston wrote this memorandum to Ickes, and only later learned (in the course of the
         .-            public hearings) that Ickes had forwarded it to Mrs. Clinton.

                                                           the  format of his March
                                       Ickes testified that the fonnat        Moych 1 cover note to Mrs. Clinton -- the fact

                       that it was not on letterhead stationary
                                                     statiorwy and not initialed by Ickes --
                                                                                          -. indicates that it may not have

                       been sent to Mrs. Clinton, but he is not positive. 1ckes
                                                                          Ickes claims he does not recall asking

                       Eggleston to
                       Egglt::ston
                       Egglt:ston
                       Egglt::stun     prepare-the
                                   to. pre;:part:.
                                   to.pre;:part:-the
                                       prepare.    the   February28
                                                   the;: February    memorandum! but he is certain that he
                                                                  28 memorandum,                        hc did. There had been

                                                                  Firm's possible conflict of interest in representing
                       considerable discussion about the Rose Law Finn's

                       Madison,                   Eggleston to write up a discussion of the intricate issues that were
                       Madison . and Ickes asked .Eggleston
                                                 Eggleston

                       involved in that question, and Ickes believes the February 28 memorandum may be that

                       memorandum..
                       memorandwn
                       memorandum

                                                        Clinton, she has -a
                                      According to Mrs. Clinton.         ,a vague memory of               hcr if she
                                                                                            Ickes' asking her
                                                                                         oflckes'

                                                                      L2Iw Firm, and she said she did not. He may
                       wanted to know more about the RTC and the Rose Law

                                                                         142



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         .-                           memorandwn with
                 have either had this memorandum      him or tried to hand
                                                 withhim              band it to
                                                                              10 her, and she was not interested
                      ,
                 in it. She does not believe she looked through this memorandum
                                                                     memorandwn until she was fater.prepared
                                                                                              later.prepared for

                                the Ole.
                 questioning by the·OIC.
                                theOIC.

                                  Ickes testified that he does not remem.ber                          document,
                                                                   remember handing Mrs. Clinton this docwnent,

                 asking her if she wanted to learn more about the Rose Law FirmlRTC
                                                                           FirmlRIC issues, and her responding

                 that she did not want to do so
                                             so..

                                  Asdiscussed above, the
                                  As                 tJ.1e White House has produced notes taken bySherbume
                                                                                                by Sherburne and

                                summ~r of 1994 of a conversation they had with Ickes' private counsel, Amy
                 Cheston in the summer

                 Sabrin. These notes suggest that Sabrin conveyed to the White House Counsel additional

                 infonnation that ~~he
                 information        he had received from
                                   she                      I~kes   regarding the preparation of both the February.28

                                              Sherb~e's notes statf:
                                  ~ernoranda. Sherburne's
                 and the March 1I ~emoranda.                         (with modest expansions of abbreviations):
                                                              state (with
                                                              statE:

         .-                                        (2126·or 27), HI has conversation wI
                                          Late Feb (2/26                             w/ WJC in which WJC asks
                                   lots ofQ's re RTC
                                                 RIC procedures, whethc:r
                                                                  whether [in margins:
                                                                  whetbc:r    margins: whether Rose cld be held
                                  liable) & HRC & WJC exposed. HI
                                  liable)                            H1 asked NE to draft merna
                                                                                          memo which NE did in
                                   12.hoUIs. m
                                   12.hours.                                    311. DR discussing.
                                             HI minor revisions. Sends to HRC 3/1.       discussing.

                                         HRC asked HI a few questions. Think>
                                         I:IRC
                                         l:lRC                         Think > received memo.
                                                                                        memo.:
                                                                                        memo;

                 442-DC-00006540-6S41.
                 442-DC-00006540-654I
                 442-DC-00006540-6541.. Cheston's notes similarly read (again with modest expansions of

                abbreviations):

                                         2/27-3/11 Memos.
                                         2127-3/1
                                         2127-3/

                                               Feb, 2126
                                         Late Feb.  2/26 or 27 prob'ly, HI -- conv wI Pres -- had read WSJ article, .-
                                                                                                                    --
                                  asks sever qs re procedure RIC;              HRC. BC be held liable => HI asked
                                                             RTC; can Rose, HRC,
                                  NE to write memo.

                                                     hrs.
                                             wlin 12 hrs.
                                         Did w/in

                                            asked NE couple q's, follow up pts.
                                         HI ask.ed                         pts.



                                                                     143
                                                                                  ,
                                                                                  (




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          ./""""'.                             3/11 -> HRC only. No recall
                                               3/
                                               311                         dis~'g wI
                                                                    reca11 disc'g wi her [in margins:
                                                                                              margins : other than her
                                        asking cple     BeC? Aft? Assume aft.]
                                               eple qs. Bet'?
                                                        Bet?               aft.] or sending 'to
                                                                                             to Pres.

                        442-DC-0000654l
                        442-DC-0000654J
                        442-DC-00006S41 .
                        442-DC-00006543.

                                                                              'surrounding
                                        These notes provide a level of detail ·surrounding
                                                                               surrounding the preparation and

                                      ~fthe
                        dissemination of                                                  ~ever provided in his sworn
                                         the February 28 and March 1 memoranda that Ickes never

                        testimony. When confronted with these notes, Ickes testified that while he remembers having

                                     the
                        spoken with the President and Mrs. Clinton about the statute of
                                                                                     oflimirations
                                                                                        limitations issue (as discussed
                                                                                     oflimitations

                                        no~ recall having the conversation with Clinton that is recounted in these notes
                        above), he does not

                        regarding the potential liability of the President and Mrs. Clinton or the Rose Law Firm.
                                                                                                            Finn. The

                                         h~ to reveal some further information
                        notes did prompt him                       infonnation surrounding
                                                                               surroWlding the preparation of

                                    memorandwn, however. Ickes testified that the FDIC and RTC had issued reports
                        Eggleston's memorandum,

                        dealing with the possible conflict of interest with the Rose Law Finn and Madison and that there

                                    anicle or an editorial in the Wall Street Journal some time later in
                        had been an article                                                           In February that

                              read. Ickes acknowledged that Clinton may have read the same article or editorial and may
                        Ickes read.

                        have asked Ickes some questions about it, but Ickes claims not to recall. Ickes did testify
                                                                                                            testi fy quite

                        firmly                                        either editorial or newspaper article, I had asked Mr.
                        finnly that "based on those reports and that 'either

                        Eggleston to write a memo." Ickes, Senate Hearing,
                                                                  Hearing. Feb. 22, 1996, at 180.

                                       As to the preparation of Eggleston's
                                                                Eggleston'S memorandum,
                                                                            memorandwn,                               no'
                                                                            memorandwn,. Ickes testified that he does not

                        recall if Eggleston wrote the memorandum in twelve hours, as described in these notes.
                                                                                                        notes . He also

                                       ~e does not recall
                        testified that he          recal l making any revisions to Eggleston's memorandum,  alth o ug~ he
                                                                                                            althoug~
                                                                                               memoranduin, although

                        may well have. On the question whether he sent his own March 1I memorandum to Mrs.
                                                                                                      Mrs. Clinton

                              the
                        (with the Eggleston memorandum
                                            mem.orandum attached), Ickes again testified that he may well have done so,


                                                                         144



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                                                                                ,



          .--        but he does not recall. . Contrary to the White House COWlsel's                   c\~s he does
                                                                           Counsel's notes, Ickes also claims

                                Mrs.                                  the
                                Mr~. Clinton's asking questions about the .memorandum.
                     not recall Mrs.                                      memorandum.
                                                                          ,memorandum.

                                    Ickes' only explanation of the discrepancies between his testimony and the

                     Sherburne and Cheston notes is that he was not present for the Sabrin conversation and has no

                     way of knowing what was ~d.
                                             ~d, whether what Sabrin said was accurate~
                                                                              accurate, and whether Sherburne

                     and Cheston accurately transcribed what Sabrin
                                                             Sabrin· said. Sherburne similarly stated 10
                                                             Sabrin'                                  to the Senate

                     Special Committee that she had reason
                                                    reaso-,:! to believe that in the interview Sabrin was providing

                     information
                     infonnation she had collected from
                                                   from a variety of sources, and that she docs
                                                                                           does not know the source of

                                                                                                        (~tatement of
                     Sabrin's information on these points. Ickes, Senate Hearing, Feb. 22, 1996, at 187 (statement

                     Sherburne).

                                    After Sherburne's and Cheston's conversation with Sabrin, they interviewed Ickes

         ,'-.-'
         ..
                     personally. Ickes, Senate Hearing,
                                               Hearing. Feb. 22, 1996, at 186 (statement by Sherburne). Pursuant to
                                                             22,1996,

                                                    Ho~se, portions of the
                     our arrangement with the White House,             ~e notes
                                                                       th,e nOles of both Sherburne
                                                                                          Sherbume and Cheston

                     from this interview were read to OIC attorneys. The portions relating to the February 28 and .

                     March 1I memoranda were not read because - prior to the disclosure of the notes of
                                                                                                     of the Sabrin

                     conversation -- those issues were not a central
                                                             centra! focus of the investigation. Depending on the

                     outcome of the Ole's litigation against the 'White
                             oCthc
                             ofthc                               White
                                                                 Vlhite House in the EaStern
                                                                                     Eastern District of Arkansas, the

                     OIC should consider pursuing the notes of Sherburne and Cheston from their interview with

                    Ickes. Those notes will help in detennining
                                                    determining whether ·the
                                                                          the statements attributed to Sabrin in the
                                                                        "'the

                                                                    wru,..t
                                                                    w~J Ickes may have been confiding to his
                     Sherburne and Cheston notes accurately reflect wru,.,




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         .-_-_ .'                                                                  swnmer of 1994.
                       private counsel and the White House Counsel's Office in the summer
                                                                                                  .''
                                                                                             1994.326
                                                        .                           ..
                                                                                           .
                                                                              ... ... ... ...
                                                                              •••••

                                 7) Billing Records -- [The facts relating to the discovery of the billing records in the
                                                                                                                      the'·'

                       White House are detailed in Colloton & Azar, "Rose Law Firm
                                                                              Finn billing records," September

                        1996.)
                        1996.]

                                           fac~ and circumstances surrounding the disclosure in
                                 The basic facts                                                 January of 1996, that
                                                                                             in-January
                                                                                             in·

                                     hilling records were in the residence portion
                       Rose Law Finn billing                               ponion
                                                                           ponioo of the White House, are well known

                       and ably set forth in the Colloton!Azar memo of September 1996. Also well known is the
                                                 CollotoniAzar

                                                               that~
                       conclusion which Steve and Alex come to thatj

                                                                           FOIA(b)1
                                                                           FOIA(b)7 -
                                                                           FOIA(bP          Ie)
                                                                                            lc)
                                                                                            (C)




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                                                                     t
                     - - - - - - - - - - - - - - - -_ _ _ _~ _ _ _ __J
                                                                         , they doubt that "the admissible evidence probably is

                                               gUilt by proof beyond a reasonable doubt before an unbiased jury."
                       sufficient to establish guilt

                       (Colloton & Alar,
                                   Azar,at
                                   Azar, at 32-33).

                                 Initially, we point out two important factors,
                                                                       factors , or series of factors, not considered in

                       ~eptember
                       September     of 1996: .

                       1.
                       I.
                       L

                                                                                      FOIA(b)7
                                                                                      E"OIA(b)7
                                                                                      fOlA(b) 7 -       (C)
                                                                                                        Ie)


                       2.



                                                    ole
                          326. In addition, the OIC should consider questioning Sabrin, Sherburne, and Cheston about
                       their conversation. The OIC's position would be that Sabrin waived her private attorney-client
                                                                                                       anomey-c1ient
                                     communicating with Sherburne and Cheston and that, in any event.
                       privilege by 'commwricating                                              event, any official or
                       private privileges were waived by the White House's disclosure of the notes of Sherburne
                                                                                                      Sherb)JJTlc and
                                                                                                      Sherb)JITlc
                                                                                                      Sherb)JITle
                       Cheston.                                                                        ..',.

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                                                                           FOIA(bJ     -   (C)
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                                                                                           I"
                       3.



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                                                                FOIA(b)
                                                                FOll\(b)     -
                                                                FOIA(b)7'l") -   (C)
                                                                                 ICI
                                                                                 I"




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                                                                       executiv~
                                                                       exec utiv~ assistant says that the billing records
                                             HiUary Clinton's personal executive
                              Carolyn Huber, Hillary

                                  found on a table in the Book Room, Room 319A,
                       were first fOWld                                   319A,just
                                                                                just outside of Hillary Clinton's

                       office in August 1995. According to Ms. Huber, she did not recognize what they were, boxed

                       them up and put them away and did not "re-discover"
                                                             "re-discover" them and recognize their significance Wltil
                                                                                                                 until

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          .-          January 1996. In January 4, 1996, her office was being rearranged and the table covering the box

                      was moved.                           Ms . Huber says she discovered the records and
                          moved. When she emptied the box, Ms.

                      immediately called her anomey,
                                             attorney, Henry Schuelke.

                                                                    fFOIJl.(b)
                                                                      or.... (bp7.. -
                                                                     oor".(bp.
                                                                    fOr}l.(bp               (C)
                                                                                            (e)
                                                                                                                                                        I
                                                                                                               s~e is
                      She is the only individual in the White House who had a significant interest in them and she

                      one of onJy
                             only 3 people known to have had
                                                         bad them in her possession since their creation in February

                      1992 (the other two were Vince Foster, who was dead at the time of the records discovery, and

                      Hubbell, who was injail).
                                          jail). Moreover, in the late July/early August time-period, Mrs.
                                       injaiJ).
                                       in jail).                                                      Mrs. Clinton had

                      reason to review the records.                                           Ole interview on
                                           records . Relevant events at that time include: an OIC           t"ln July 22
                                                                                                            lin       22,,

                      1995; release ofRTC and FDIC-OIO
                                              FDIC-OIG reports on RLF and MGSL                       J, 1995;
                                                                          MOSL on July 28 and August 3,

                      and public testimony by the FDIC, RTC and Hubbell before Congress on August 10,1995.
                                                                                                  10, 1995.
                                                                                                      1995 .

         .-           Immediately thereafter the Clintons left on their August vacation in .Wyoming.
                                                                                            Wyoming.

                             In addition there is some slight direct evidence that Hillary Clinton possessed the ·billing
                                                                                                                 'billing
                                                                                                                 'billing

                     records. Three individuals (two construction worken4
                     records.                                            ..._
                                                                  workentL
                                                                  worken4L
                                                                  worken1L  ___________   __ ---I1.J1 have all
                                                                              _ _~_ _ _ _ ~_.J1

                     testified that they observed Hillary Clinton carrying a~ cardboard box in the Residedce
                                                                                                   Residence     o~ about
                                                                                                   Resideo'ce on or

                    ., July 8-9, 1995 I_______---'has
                                        LI_ _ _ _ _ _ _---'~.
                                 1995.....             ---I~~as also t:stified                        ~ocuments that
                                                                     t~stified that the box contained documents
                                                                     t::stified                       Jocuments
                                                                    .
                     looked like "technical
                                 "technic.al documents" or "blue;rint
                                                           "blueprint... schematics" of the same size and!shape
                                                           "bluepri:nt                                and/shape as the
                                                                                                      andishape
                                                                            .\
                     billing records.
                     hilling records. He could
                                         tould not, however,
                                         I:ould                concIUSi~~IY.
                                                             conclusively' identify the billing records ,,as
                                                    how~ver. conclusively..
                                                             conclusively.                               as the .       reco~ds as
                                                                             bilH~g··r~cords                                    ~Jre
                                                                                        .                                                    .
                                                sh~wn a copy of the billi~g··r~cords
                     documents he saw, but when shown               billi~g" r~cords he said they w~re consistent ·
                                                                    bil1ing'-r~cords
                                                                                                  '.
                                                                                                       ".
                     with the documents he saw in Mrs. Clinton's possess·ion.
                                                                 possession.
                                                                                                            .                            ,


                                                                          almost· everY
                             Finally, we have comprehensively interviewed almost  every .~.~er
                                                                                  eve;:y .~ther
                                                                                         .C(.
                                                                          almosteveryc;>.ther ~er indi
                                                                                                  indi~idual
                                                                                                       ..~iduaJ
                                                                                                         /idual who had
                                                                                                  individual
                                                                                                                .". .               :'
                                                                                                                                    ,


                     access to Room 3l9A                                         motiv~' t9
                                                                                 motiv~·  t~ have
                                    319A in August 1995. None appear to have any motive'tc;> ha~e placed the
                                                                                                                         .'.
                                                                                                                         ".         .
             -
         ..... -                                                                                                               .!
                                                                                                                                    F O I ~.( b) 7
                                                                                                                                    FOI~.(b)7
                                                                                                                                    FOI.i\(b)    '7 -   (0)
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         ·,.--
            .--.                                                       seeQ. the billing records in the room. We might
                         billing records there and none recalls having seen
                                                                                                            ,
                                                                                                            \


                                                                           ~ wimess
                         reasonably anticipate the possibility of bringing 00                   tria1 for
                                                                              witness in to the trial fOT brief questioning;
                                                                                                      faT

                         the effect would cenainly     compelling. m
                                                                   327
                                          certainly be compelling.J27
                                                                   m




                                                                    FOIA(b)7
                                                                    FOIA(b)) 7 -
                                                                    fOU«b            Ie)
                                                                                     IC)




                                                                   ~e Azar/Colloton memo is the fact that Vince's
                                Also significant as pointed out in the                                    Vince' s

                        handwriting as well as fmgerprints appear on the
                                                                     the"··billing records. His handwriting says in various
                                                                           billing records.

                        places, HRC and circles various entries in the billing records. · It is clear that the handwritten

                                  ~ directing HRC to various events
                                  ~e
                        notations are                        evems in the billing records. The billing records were

                                                           HI
                        under subpoena since June of 1994.328
                                                     I994.llI
                                                      994.1lI
                                                     1994.    .




                       I                                            F01Alb)7
                                                                    FOIA(b)7
                                                                    F01Alb)"7"7 -
                                                                    F01Alb)          Ie)
                                                                                     lei




                               328 We have been asked our view on how the billing records came into Mrs. Clinton's
                               m
                               J28
                                                                                                                               I
                                                                                                                               \
                                                                           of theories as to how HRC came into
                        possession. The Azar/Colloton memo offers a couple oftbeories
                        possession of the billing records.,
                                                  records.


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                                                                    f"OIA(b)
                                                                    FOIA ((b)
                                                                           b) 71 -
                                                                    FOIAlb)7         (el
                                                                                     (e)
                                                                                     (C)




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                        ·' L-________________________ -C
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                                                         ru '~
                                                             A~(b~)I'_
                                                               (b~   '__
                                                                       _-~
                                                        ~F_O_IA_(_b)_7_-
                                                             A~           _(C~
                                                                        -_~  CI)________________________
                                                                           ((C_)
                                                                             ~   ________________________~1
                                                                                ________________________ ~1
                                                                                                          ~1 At

                   the time they were discovered, Associate White House Counsel
                                                                        COWlSei Jane Sherburne raised the

                   fore~ic question of fingerprints with Mrs.
                   forensic                                             attorney, David Kendall, and Mrs.
                                                         Mrs. Clinton's attorney.                    Mrs. Huber's

                   attorney,                                                   concem~ and has since said hejust
                   attom'e y, Henry Schuelke. Kendall cavalierly dismissed the concerns
                   attorrfey,                                                                             he just

                   didn't consider it a forensic issue. Sherburne and Huber then took the billing         t':l a color
                                                                                          hilling records to

                   copier in the White House and made 2 copies -- Sherburne kept one and Keridall
                                                                                         Kendall to the other

                   copy and the originals to his law firm.
                                                     firm.

                          At the law firm,                                           to a paralegal named Mark
                                     firm , Kendall gave the original and the copies 10
                                                                                     to

                   Rolfe and directed him not to let the records out ofrus
                               ,                                                           . were highly
                                                                     of his sight because they    highly'

                   confidential. He did not ask Rolfe to take any
                                                              any special forensic precautions (i.e. wear gloves).
                                                                                                          gloves),

                   Rolfe affixed Bates'                            the copy and then compared the two sets of
                                 Bates numbers to the original and the

         .,--                                   copie~ were complete. In several instances he determined they were
                             to insure that the copie$
                   documents 10                 copies

                   not
                   nol complete (as the Post-It notes had not been copied) and he recopied the original. Most

                   remarkable,
                   remarkable. after completing the comparison, Rolfe made additional copies from the first copy

                   (principally
                   (principa11y for distribution to the Senate Whitewater Committee) but when the copies were ·
                   (principa1ly

                  ., incomplete he went ~ack to the ooginallo
                                                    original to make copies
                                                                     cOJ;>ies --
                                                                     co]?ies
                                                                     cOJ?ies  - thus the original documents were

                   handled extensively  before they were turned over to OIC
                           c:xtensively before                          Ole.
                                                                        OIC.




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                 . L . . . . . - - - -_                      _
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                                                              ,DIA(b)?7 -
                                                              f01A(b)?
                                                              ,(llA(b)?     (C)

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                                                                          Aur speak of the information
                   For example, in September of 1996, Messrs Colloton and Azar
                                                                          A:z;Jr

                             in·the records which show or indicates "Mrs. Clinton's role in suspicious transactions",
                   contained in'the

                   i.&:. Cas~e Grande.
                   i&. Castle  Grande,   We now have retained a expert in the operation of regulatory agencies, who


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                                                                                    68         ~8~1000L
                                                                                                   IOOOL :ppoa 991v~1
                                                                                                                 1v>l :MN

        will testify that
                     that the events surrounding
                                     surroWlding Castle Grande, such as the cross loans, were criminal acts.



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                                                  fOIA(b)1
                                                  FOIA(b)1 - IC)
                                                             (CI
                                                             lei
                                                             lCl




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                                                     O!ll(b)17 -- IC)
                                                   •FO!ll(b)1
                                                   FOIA(bI7
                                                   .OV\(bJ        (el
                                                                  lei
                                                                  lCl




                                                   FOIA(b)1
                                                   FOIA(b)     - '"
                                                                - ,C>
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                                                  fOIA            (C)




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                               8) Supporlfor
                                  Supp0rlfor
                                  Supportfor
                                  Support/or Webb HubbeU-
                                                  Hubbell-

                               I. BACKGROUND
                               1.
         .---"-"               On March 14, 1994, Webster L. Hubbell annolLl11ced
                                                                     announced his resignation from his position as
                                                                     annolL111ced

                        Associate Attorney General, the number three position in the Department of Justice. Hubbell's

                        resignation was effective approximately "'three
                                                                  three weeks later.                 DOl was AprilS,
                                                                              later. His last day at DOJ     Aprif8,
                                                                                                             AprifS,
                                                                                                             April 8,

                        1994. The stated reason for Mr. Hubbell's resignation
                                                                  resignation. was that he needed to devote
                                                                                                     dcvote time to

                        resolve a billing dispute with his fonner           th(~ Rose Law Firm
                                                                            the:
                                                           former employer, the           Finn in Little Rock, Arkansas.
                                                                                                               Arkansas.

                                                                                               HubbeU's billing dispute was
                                                                                the press that Hubbell's
                        At the time of his resignation, it had been reported in ·the

                        a subject being examined by Special
                                                    SpeciaJ Prosecutor Robert Fiske (title as reported by the press).
                                                                                                              press).




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                                          Ap~1 through Novembe~, 1994, time frame, Hubbell was retained
                               During the April                                                rewned as a

                      consultant by 17 different persons/entities. Hubbell collected $450,010.00 from
                                                                                                 from""consulting"
                                                                                                      "consu1ting"

                      work in 1994. Hubbell collected $91
                                                      $91,750.00. in consulting fees,in calendar year 1995 (not
                                                          ,750.00
                                                          .750.00

                      including $37,500.30 in publishing income from William. Morris in 1995).
                                                                frOm William

                           . On December 6, 1994, Hubbell pled guilty to two felonies -~ Mail ·Fraud
                                                                                               Fraud and Tax Evasion

                      based on $482,000.00 in improperly bil~ed
                                                         bH~ed
                                                         billed fees and expenses associated with his representation

                      afRose
                      of          Finn clients.
                         Rose Law Firm clients. As part of
                                                        ofltis pl~ agreement, Hubbell agreed to cooperate with the
                                                           his plea

                      Ole,
                      OIC, ,aand
                      OIC,and                                     information.
                              nd to provide complete and truthful information.

                r          .   Hubbell was sentenced by U.S. District Court Judge George Howard on June 29, 1995.
                                                                                                            1995.

                                            a
                      Hubbell received a sentence of incarceration of21
                                                                   of 21 months. He was designated to serve this

                                                                          Cwnberland , Maryland. Hubbell reported to
                      sentence at the Federal Correctional Institution at Cumberland,

                      that institution on August 7, 1995.. He was released from FeI
                                                 7,1995                         fer Cwnberland
                                                                                FCI Cumberland to a halfway house in

                      Washington, D.C. in November, 1996. He completed his sentence in February, 1997:

                               II. EFFORTS TO ASSIST,) HUBBELL
                                                        .        ,
                               On March 13, 1994,
                                            J994, the day prior to Hubbell's announcement of his resignation from

                      DOJ, there were at least two meetings held at the White House to discuss Whitewater related
                      DOl,

                      matters.
                      maners. According to the grand jury testimony of then White House Chief of Staff Thomas
                                               grandjwy

                      " Mack ~ McLarty, there was a meeting scheduled in the residence of the White House to discuss
                      "Mack"

                      with the President and First Lady an organizationa1 sttucture to deal with Whitewater related
                                                           organizational structure
                                  .                                      .
                      matters.
                      maners. Prior to that meeting, there was a "pre-meetirig",
                               Pnor 10                           "pre-meeting", at approximately 8:00 a.m.,
                                                                                                      a.m. , attended




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         "-'"        ~cLarty, Harold Ickes,
                     ~cLany.
                  by McLarty,        Ickes. David Kendall and Bob Barnett. l10
                                                                           330
                                                                  8amett.JJO
                                                                  8amen.JJO                 McLarty , during thi
                                                                               According to McLarty,         thiss

                               McLarty, Ickes, Kendall and Barnett discussed the ~enda
                               McLany,
                  pre-meeting, MeLany,                                           agenda for the upcoming

                  meeting in the residence. At approximately 8:30 or 9:00 a.m., the full meeting was held in the ,

                   residence with Mclarty,
                                  McLarty, Ickes, Mrs   C                                   Willi~s
                                                                                            Willi~ , Kendall and
                                                                                            Willi~,
                                                          linton, President Clinton, Maggie Williams,
                                                  Mrs.. Clinton.
                                                        Clinton,
                                      ,
                            H1
                 . Barnett.H1
                   Barnett.331
                   Barnett.    Following the completion of the agenda items (reflected in McLarty's notes that were

                               ole
                              Ole on May 7, 1997),
                  produced to OIC           ]997), there was a conversation of approximately 10 minutes with
                                                                            ofapproximatciy

                  the entire group that dealt with Hubbell. McLarty
                                                            MeLany
                                                            McLany testified that:

                         another matter that was topical and pressing in nature was raised at this meeting.
                                                                                                   meetiJ:Jg. And
                         that's how I remember the Webb Hubbell resignation situation or possible resignation
                                                       332
                         being raised at this meeting. m

                  McLarty refused to say who said what during the discussion
                                                                  jiiscussion (based upon his instructions to

                                                                                           SWTOunding Hubbell's
                  assert executive privilege) -- but did say that they discussed the facts surrounding
         ,.-,

                  resignation.
                  resignation . McLarty made the general statement that:

                         given the fact that there had been apparently discussions with him [Hubbell] by Blair and
                                                                               be would not be able to continue to
                         Kantor .. .it seemed to be a growing possibility that he
                         effectively serve as Associate Attorney  General.
                                                         Anomey GeneraL      That's how I remember the matter
                         coming up and generally what the tone of the discussion was. 333J3)




                         at least the feeling that I(f had, and I think it was shared certainly by others, that Mr.
                                                              cIosure was not reached on whether or not Mr. Hubbell
                         Hubbell would have to resign ... c1osure
                                                                   informed McLarty that he would be willing to
                         would be asked to resign [but Hubbell had infonned




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                                          4/ 17/97 GlT,
                                 McLarty, 4/17/97  GJT, at 114-117.
                         ,,,
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                                 ld
                                 Id
                                 ldaI12-37;   11'4-117.
                                    at 12-37; 11"4-117.
                         m
                                 Id
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                                 ldat3!.
                                    at 31.

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         - '.             resign] if the Presi4ent
                                         President felt it was necessary.
                                                               necessary.314
                                                                          U4       !

                  According to McLarty, as the meeting was breaking up, he initiated a romment
                                                                                       comment to the First Lady

                  and told her: "We're going to be supportive of
                                                              of Webb. And her response to me, as I remember it,

                  was.
                  was, "Thank Yon                                    ,,33S I
                              You Mack. I appreciate that very much. "l)~1


                                         FOIAlb)3 - Rule 6Ie).      Federal Rul es of Crimi n al Procedure




                         Following
                         FolloWing this meeting, McLarty spoke to Tnunan
                                                                  Truman Arnold and Vernon Jordan about

                  aSsisting Hubbell in rmding
                                       finding clients. In addition to hiring Hubbell himself, Truman Arnold

                                                                   eventually hired him: John Moores, Wayne
                  recommended Hubbell to at least four others that eventuaJly

                  Reaud, Bernard Rapoport, and C. W. Conn. Vernon Jordan recommended Hubbell to at least one
                                               C.W.

                  entity, McAndrews .and
                                     and Forbes(Revlon),
                                         Forbes (Revlon), that eventually hired him
                                        FO I Alb) 3 - Rule 6 Ie),   Federal Ru les o f Crimina l Proc edure




                                          coupJe weeks of Hubbell's announced resignation, Bm
                         Within the first couple                                           Bill Burton, McLarty's

                  staff director, telephoned Brad Keithley of the Jones.         firm in Dallas, TX on Hubbell's
                                                                  Jones, Day law finn

                  behalf. Burton called Keithley at McLarty's direction or on his own initiative following a

                             with MeLany
                  discussion lAith McLarty about Hubbell. A_short
                                                           short time later, Burton reported back to McLarty

                  that Keithley had been
                                    bee,n courteous, but had indicated that "it would not work out for Hubbell at




                         ".      li1 at 32.
                                 !Jj
                         33S
                                 li1 at 35.
                                 !Jj    35 .

                         '336"   lit at 37.
                                 !Jj

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                          Jones.                           ~aw firms for that matter, as long as this billing dispute was
                          Jones, Day, or other traditional law

                          outstanding with Rose Law Finn.
                                                    Firm. ,,))7
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                                                                   .                                              .
                                 Erskine Bowles, then the head of the Small Business Association, received a telephone

                          caU from Mickey Kantor around the time that Hubbell annoW'lced
                          call                                                announced his resignation,
                                                                                            resignation. Kantor was a

                          good friend of Bowles. Kantor said that he was concerned about the plight of Hubbell's family

                                                     children. Although Kantor did not ask him to do anything and he was
                          and especially the Hubbell children,
                      !
                          not personally a close friend of Hubbell's, Bowles
                                                                      Bowies decided to try to help Hubbell because he was

                          a guy who was do
                          _------'"'FFnOIA(b)3 - Rule 6(e),              Federal Rules of Criminal Procedure _ _ _ _ _ _- - '

                                                                       owles telephoned Hubbell and offered to help him by

                          calling a few friends with contaCts in Washington. Hubbell indicated to Bowles that he was

                                                                 D.C .
                          interested in remaining in Washington, D.C.
         .~      ..




                                               FOIA(b)3 - Rule 6(e),      Federal Rules of Crlminal Procedure




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                                 337
                                         Id at 50-52.
                                               50-52,
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                                               FOIA(b) 3 - Rule 6 (e),    Federal Rules of Criminal Procedure

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                                                                                                      Procedure




                                            C!.!ENTS
                             III. HUBBELL'S CLIENTS
                                            C!.IENTS

                             The following is a description of several of Hubbell's consulting clients which fall most

                     strongly within the hushmoney allegation.                 discusserl in the chronological order in
                                                   allegation. The clients are discussed

                                      Hubhell..
                     which they hired Hubbell.
                                      Hubhcll

                                 Truman Arnold
                              1) Trumao

                             Arnold paid HubQell
                                         Hubhell
                                         Hubhcll SI8,OOO.00
                                         Hubbell $18,000.00
                                                 SI8        on April 20, 1994. The SI8,000.00
                                                     ,000.000n                     SI8,OOO.00 represented a six

                     month contract
                           contract- at S3,ooo.00
                                           ,000.00 per month,
                                        $3,000.00
                                        $3             month. Arnold has testified before the grand jury that he
         . ,-.."



                     received a call from Mack McLarty in late March or early April, 1994, requesting Arnold keep

                     an eye out for opportunities for Mr.                                ~ong his business
                                                      Mr. Hubbell and to spread the word among

                     associates that Hubbell                           Washi~gton,
                                                                       Washi~gton.
                                     Hubbell was available for work in Washington,                            oD.er
                                                                                                                ,e r
                                                                                                               D.C'


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                                                                             tal Rules of Criminal  Pro-::edure




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                     L...-_ _ _ _ _ _ _ _...J/'Arnold further testified that when the six month contract expired in

                      October, 1994,             rene.w the contract because he was "disappointed" with Hubbell's
                               1994 , he did not renew

                      perfonnance. Hubbell had not approached him with any i~vestment ideas or opportunities during
                      performance.

                      the six months he was on retainer. Arnold told the grand jwy that if
                                                                         grandjwy
                                                                               jury     ifhe
                                                                                           he had known the true



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                          orA(b)33 - Rule 6(e),
                        FOrA(b)3          6 Ie) , Federal Rule s of Criminal
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          .-.              nature of Hubbell's situation and the fact that he would later plead guilty to the two felony

                           counts, he never would have hired Hubbell and would not have recommended him to his
                                                                                                           his·friend
                                                                                                           his·friends
                                                                                                               friend s
                                                                                                           his friends

                                          (Be~d Rapoport, John Moores, Wayne Reaud, and C
                           and associates (Bernard                                      C.W~
                                                                                          .W: Conn).



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                                                                                                      Ctiminal Pt¢cedure




                           2) McAndrews and
                                        Ind ForbcslRevlon
                                            ForbeslRevlon

                                                                      poJ,, on March 12,
                                  Prior to Hubbell's resignation from pOJ,
                                                                      poJ                '1994, Vernon Jordan met with
                                                                                         ·1994,
                                                                                     12,1994,

                           Webb Hubbell
                                Hubbellat   8:00 a.m.,
                                        .at 8;00 a.m ., in the Melrose room at the Park Hyatt Hotel in Washington, D.C.

                           Hubbell had called
                                       ca1led Jordan for breakfast. Jordan has testified that Hubbell said in effect that he
                                       caJled

                           was leaving DOJ and:
                                           and:

                                                                                             me? And II said, I am happy to be
                                  I would like a life after that, and will you be helpful to ·me?
                                                                                             .me?
                                                      Hubbeli said he would like to continue doing what he was doing before
                                  helpful to you ... Hubbell
                                  he came          government. That was to practice law, to have clients. And I said, I'll
                                      carne into goverrunent.
                                                   government.                                                           I' ll do
                                  what II can ...1
                                                 J said, Webb, I'd like to help you and I will think about it and I will be back
                                                                                                                             back.
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                                  in touch,loU
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                                            loll    .




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                                  '"          Jordan;                 7124/97, at 29-34,
                                              Jordan, House Testimony 7/24/97,    29-34.
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                                         Jordan says its "entirely conceivable" that McLarty called him about Hubbell and that
                                         10rdan

                                Jordan told Mclarty that he w~
                                10rdan                      was trying to help Hubbell but, "I                         14~
                                                                                            "1 do not recollect that." 345
                                                                                                                       J.tS
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                                         McAndrews and Forbes is a holding company established to maintain and operate the

                                personal invesunent
                                         investment holdings of Ronald Perelman. The General Counsel of McAndrews and

                                                          Schwartz testified that in April, 1994, he received a recommendation
                                Forbes is Barry Schwartz. Schwanz

                                from Vernon Jordan that Webb Hubbell was availablle                        D.C. Schwartz
                                                                         available for work in Washington, D.C.

                                                he spOke
                               . testified that he            two other employees of McAndrews and Forbes, Howard Gittes
                                                   spoke with two                                                 Gines and

                                Richard Halperin about the possibility of hiring
                                                                          biting Hubbell.
                                                                                 Hubbell.. Shortly after this first telephone call ,
                                                                                 Hubbell
              ,   ....-....
                                                           broUght Hubbell by the New York offices of McAndrews and
                                with Vernon Jordan, Jordan brought                                              an.d Forbes

                                to introduce Hubbell.
                                             Hubbell .

                                         This is consistent with Jordan's testimony in which he has stated that "I think at some

                                point after that we went to New York and I took him to a client of mine and introduced him."

        \\.                            ~ays he introduced Hubbell to Howard Gittes, vice chairman
                                Jordan says                                              chainnan of McAIldrews
                                                                                                     McAndrews
                                                                                                     McAridrews & Forbes

                                and others on April 6,
                                                    6; 1994 3:30
                                                            3 :30 p.m.
                                                                  p.m .

                                         What 1I did was to make introductions. Introductions to introduce Hubbell to Howard
                                         Gittes. I'm a member of the Revlon Inc. board.
                                         Gines.                                    board. 1I am one of many coWlSel
                                                                                                              COWlSel to Revlon and
                                                            Forbes. I've had a long relationship there. Howard is a friend of mine.
                                         to McAndrews & Forbes.                                                               mine .
                                         Webb is a friend of mine.
                                                             mine:. I introduced them and left them to talk.
                                                                                                        talk.


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                                                                                  Ruhs       Crimina
                                                                                             Ctiminal  Pr
                                                                                                        , ·:)cedur~
                                                                                             criminall Pr·:)c
                                                                                                       Procedur"
                                                                                                              .. dur
                                                                                                                 dur!'..


                        ..               345
                  ~


                                         '"          Jordan         Testimony 7124/97.
                                                     Jordan,, House Teslimony 7124/97, at 42.
                                                                                          42 .

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          ,...-'..
                                 Jordan says he had no discussions with Hubbell about any post-employment restrictions

                        he may have been under:

                                 1I did not ask questions about the appropriateness of this or the appropriateness of that.
                                  He was a friend in trouble,
                                                      trouble. I could be of some help to him, and I did it. Proudly.

                                                                  HubbeU' s retainer with M&F. Jordan believes that, at
                        Jordan knows nothing about the details of Hubbell's

                        some point, he spoke to Perelman regarding Hubbell being rored,
                                                                                 hired. Jordan first sajd
                                                                                                     said he was certain

                       Perelman had stopped by that initial meeting with Hubbell - Jordan then backed off and said that

                        it was '"entire1y                                In,:w.
                               "entirely possible" that Perelman stopped in. 346



                                 Jordan further testified that he
                                 Jon:lan                       he. told the President that he was helping HubbelL "j told the
                                                                                                          Hubbell."}

                       President in an informal setting that I'm doing what I can for Webb Hubbell.
                                                                                           Hubbell, The President said,

                       ·'Thanks."
                       "Thanks." End of conversation." "It was sometime in the spring I'm sure, and my suspicion is

          ,.-..,.      that the forum was the golf course,"141
                       1hat                        course. "347

                                 Eventually, Schwartz scheduled an interview with Hubbell for April 29,1994.
                                                                                                    29, 1994, During

                            meeting. Hubbell assured Schwartz that there
                       that meeting,                               there-was
                                                                         was nothing aoout     personaI' situation that
                                                                                     about his personal

                       would become embarrassing for McAndrews and Forbes in the future,
                                                                                 future. FollOwing
                                                                                         Following the meeting,
                                                                                                       meetmg,

                       Schwartz retained Hubbell at the rate 0[$25,000.00
                                                             of $25,000.00 per quarter.
                                                                               quaner,

                                 During his grand jury testimony Schwartz could not describe with any particularity the

                       types of items he anticipated that Hubbell might work on,
                                                                             on. Hubbell was paid $25,000,00
                                                                                                  $25,000.00 in April

                            ~d a second $25,000,00
                       1994 and         $25,000.00 in July,I994.
                                                      July, 1994.
                             (


                                              FOIA(b) 3 - Ru le 6(e) ,   Feder al Ru les o f Criminal Procedure




                                 '"
                                 346
                                        ld
                                        III at 35·38,
                                               35-38.

         ,---. .                 'H
                                 347
                                        k1 at 46.

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            ForA
            FOIA (b) 3 - Rule 6 (c),  Fe de r al RU]J~s
                                (e ), Federal    Ru l es of
                                                         o f C_:_minaJ
                                                             Cr imin al Procedure
                                                                        Procedur e



                     '···-1...1...______
                                  _ _ _ _ _ _....                                                 ~ series of
                                             .....111Telephone messages indicate that Hubbell had a        of conversations.
                                                                                                              conversations,

                       and at least one meeting "With
                                                with Schwartz,.
                                                      Schwartz. in late October and early November, 1994. Schwartz

                       testified that it was during this period that HubbeH
                                                                     Hubbell was consulted on one legal matter involving

                       McAndrews and Forbes,
                                     Forbes. Schwartz refused to answer questions about the substance of the matter

                       based on attorney/client privilege. Hubbell never produced any written work product dwing
                                                                                                           during this

                       consultation.

                               Eventually, Hubbell was paid an additional $12,775.00 in December, 1994. Schwartz
                                                                                     iriDecember,

                       testij)ed that on .pproximately
                       testifj.ed        approximately December 2, 1994,
                                                                   1994; Hubbell called to inform that he was pleading

                       guilty. Schwartz testified that he was surprised by tM.
                                                                           this phone call and that up until that time he

                              idea that Hubbell was facing criminal
                       had no ide.                         crirriinal chatges.
                                                                      charges. Schwartz terminated Hubbell ·in
                                                                                                            in •a letter

                                          J994, in which he indicated that given Hubbell's decision to plead guilty, it
                     . dated December 12, 1994,
          .____                        I
                       was "obvious" that Hubbell would no longer be able to work for McAndrews and Forbes,
                                                                                                    Forbes. The

                                                                                                                28~
                       final $12,775.00 payment represented a pro rata payment from the invoice date of October 28,

                       1994, untit
                             until December 2, 1994, when McAndrews and Forbes was notified by Hubbell that he

                       would be pleading guilty.

                               3) American        Life '
                                  AmericaD Income Life'

                               Ameriean
                               American Income Life is a life insurance company owned by Bernard Rapoport in Waco,

                       Texas. Rapoport is a major Democratic contributor and supporter of President Clinton.

                     , Rapoport teceived                              Arnold in April or early May;
                                received a telephone call from Truman Amold                         1994'1
                                                                                               May, 1994./




          ,--.. .



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          FOIA (b) 3 - Ru:e
          FCIAlb)      Ru le 6 (e),          Feder~l
                                             Fede     Rules
                                                  ral Ru         C:c'ifl)i.na~ Procedur
                                                         le s of Criminal      :);:oced1.'-c:e
                                                                                             e



        .- : :
            ..    "'1
                    11-_ _ _ _---11
                    ..._____     .....1Arnold indicated that he had hired him for $18,000.00 - $3,000.00.
                                                                                               $3,000.00 a month

                    for six months. Rapoport indicated he would do the same thing.

                           American Income Life paid Hubbell SlgMO.OO
                                                             $18,000.00 over six months beginning May 23,
                                                                                                      23.


                 '~                                                                                                   \
                  LL
                  ______________________                                                      I
                                                                                           -I!Rapoport
                                                                                               Rapoport was not
                                                                                                            no'

                                                thai Hubbell did. Rapoport testified that if
                   aware of any particular work that                                         had been aware
                                                                                          ifhad             of
                                                                                                      aware·of

                   Hubbell's criminal activity he would never had hired him. Upon expiration of the six month

                  '\. period, Rapoport did no'
                                           not renew the oontrac'
                                                         contract but later did contribute $6,000.00 to the Hubbell

                  ". Children Education Trust Fund.'
                                              Fund. I                                                                 I
                  IL - - - - _ . - - - . . . . . . ; . . . ._ _- - - - ' .


                                              Umlted (Lippo/Riady's)
                           4) Hong Kong China Limited (LippolRJady's)

                           On June 27,1994,
                                   27, 1994, $100,000.00 was wired into
                                                                   Inoo the acoount
                                                                            account of Webster Hubbell from a

                   Lippo/Riady controlled entity, Hong Kong China Limited.
                   LippolRiady                                    Limited, Hong Kong China Limited is a

                   foreign corporation based in Hong Kong. We have been unable to interview anyone from that

                   corporation or anyone that works for the Riady's.
                                                            Rtady's.

                           According to documents produced by Hubbell, it appears he was
                                                                                     \\-as hired as a consultant to

                   Hong Kong China Limited. In a June 27, 1994,
                                                          !994.letter         Director of Hong Kong China
                                                                letter to the Director

                   Limited, Mr. David T. Yeh, Hubbell stated:
                  rLimited,

                           1I am pleased to provide my consultant services to your company. As you know, know. I provide
                                                         services including extensive expertise in capital markets, U.S.
                           .aa broad range of consultant services.                                                  U.s.
                           placements~
                           placements, A.D.R. and investments. From our previous dealing,
                                                                                       dealing., you are also aware that
                            I have extensive legal experience in banking, insurance, corporate organizations and
                           securities.

                                                          will be providing the full range of my services for a fee of
                           I am pleased to confirm that I win

                                                                    loS
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          -.
          --~"              $100,000.00 per year payable in quarterly
                                          .                 quanerly installments beginning on July 1,
                                                                                                    I,
                                                                                                    I , 1994 ...
                                              <




                            The retention of Mr. Hubbell by Hong Kong China Limited followed a series Of
                                                                                                      of visits to
                                                                                                      Mvisits

                     the White House by James Riady and John Huang during the week of June 20,
                                                                                           20. 1994.

                                19,1994
                            May 19, 1994           Hubbell writes a letter to Juhn Huang at Lippo Bank  Bank. in Los
                                                   Angeles,-CA
                                                   Angeles,   CA :-"It
                                                                  : "It was good to see you last evening. I1I apologize
                                                                  ;_
                                                                  :-"11
                                                   that I did not have any business           Ylith me.
                                                                             businesS cards with    me. I am enclosing one
                                                                             if I can be of service or you would just like
                                                              yOll will call if!
                                                   and hope you
                                                   to visit. Please give James my best and tell him II would
                                                  -to                                                     wouJd love to see
                                                   him when he comes to Washington in June."

                           JUDe 21, 1994 .
                           June

                                    2:27 p.m.
                                    2:27p.m.              telephone call dwged      Hubbetrs calling card from the
                                                                         charged to Hubbell's
                                                          White House

                                   4:45 p.m.
                                        p.m.              James Riady an.d
                                                                      and John Huang enter West Wing according
                                                          to WAVES records
         .-.
         .".--
          -- -..
                                   4:51
                                   4 :51 p.m.                    Kantor~enters White House complex according to
                                                          Mickey Kantor,.cnters
                                                                 Kantor,.enters
                                                          EPASS
                                                          EPASS records

                                   6:30p.m.               Mack McLarty receives telephone message from Marsha
                                                          Scott: "Tomorrow is fine. Seeing President at 7 o'clock and
                                                          Webb this evening, so we'll have more to report"

                                   6:50 p.m.              James Riady, John Huang, James Lewin (Sprint), Bernard
                                                          Rapoport, and Wayne Reaud visit porus on South Lawn
                                                          according to WAVES records

                                   7:00p.m.
                                   7:00 p.m.            . Hubbell calendar lists appointment "Marsha Scott"
                                                                                                     scon"

                           June
                           JUDe   22,1994
                                  22,. 1994
                                  22,-1994

                                   2:57
                                   2 :57 p.m.                             lohn Huang visit Mark Middleton in West ·
                                                          James Riady and John
                                                          Wing

                                   3:27 p.m.              Mickey Kantor
                                                                 Kllntor enters White House complex according to
                                                          EP ASS records     ./J
                                                                               .,I




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          -.                 4:33 p.m.
                                  p.m.       Kantor exits While
                                                          White House complex according to EPASS
                                             records


                       June 23, 1994

                             7:30 a.m.       Hubbell calendar Shows appointment with "J.
                                                                                     "1. Riady"
                                                                                     "1.                  -.
                                                                                                          "




                             7:51   a.m.
                                    a.m.    Kantor exits White House complex according to EPASS
                                            records (no record of entry)
                             10:27 a.m.     John Huang visits Alexis Herman in the West Wing
                                            according to WAVES records

                             12:00 p.m.     Hubbell calendar lists appointment with "1. Riady -~ Hay
                                            Adams" .

                             2:35 p.m.      Mickey Kantor enters White House complex according to
                                            EPASS records

                             33:44p.m.
                               :44p.m.      Kanoo-
                                            Kana tr exits White House complex according to EPASS
                                            records

                      June 24, 1994
                      Jun.

                                            Kantor leaves telephone message for Hubbell at his GW
                                            Miller
                                            MiJler office

                             12:05 p.m.     John Huang visits Middleton in West Wing according to
                                            lohn
                                            W AVES records
                                            WAVES

                             12:56 p.m.
                             12:56·p.m.
                             12:56·p.m.     James Riady visits Middleton in West Wing according to
                                            W AVES records ,
                                            WAVES

                            5:00p.m.
                            5:00 p.m.                              appointment with "J. Riady"
                                                                   appoinunent
                                            Hubbell calendar shows appoinUnent

                           27, 1994
                      June 27,1994
                      JUDe


                                            Hubbell writes letter to David Yeh, Director, Hong Kong
                                            China Ltd. ".. .1-' am pleased to confirm
                                                                               confinn that I will be
                                                                               confum
                                            providing the full range of my services for a fee of
                                            $100,000
                                            S                                  q~erly
                                             1I 00,000 per year payable in qll.al1erly
                                                                               ql.lal1erly installments
                                                                               ql.l.al1erly
                                            beginning on July 1,  I, 1994 ..."


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                                                            S100,OOO
                                                            $100,000 (the ennre
                                                            S100,000      entire year's amount) is wired from Hong
                                                            Kong China Ltd to Hubbell's NationsBank account in
                                                          . Washington, D  .C. through Bank of New York
                                                                        D.C.


                            As for any work       Hub~ll did for Hong Kong China Limited, the documents provided
                                       worle that Hubbell

                       Mr. Hubbell indicate that his only contact with Mr. Yeh was the
                    by Mr.                                                             June 27,1994,
                                                                                   theJune  27 , 1994, retention
                                                                                            27,

                    lener and subsequent letter acknowledging the lump
                    letter                                        lwnp sum payment ofSl 00,000.00. Hubbell's
                                                                                   0[$100,000.00.
                                                                                   of$100,000.00.

                    documents do show contact with other employees of Lippo entities, mainly related to Hubbell
                    docwnents

                                                                       arrangements. Other than assisting with some
                    assisting them with getting hotel rooms and travel arrangements.

                    travelllIT1Ulgements.
                    trayel
                    travel arrangements.
                            arrangements, there are .no
                                                     no documents
                                                        docwnents that indicate any substantive
                                                                                    substantive work that Hubbell

                    performed for any of
                                      of the ..Lippo
                                               Lippo entities.
                                              Lippo

                                                                                         telepho'.le call from fCI
                            Webb and Suzy Hubbell discussed Lippo in a September 6, 1996 telephone             FCI
                                                                                                               FCI

          ...-.     Cumberland. 'Webb                               Jo~ is after him again. It ran an article
                                                                    Jow:naJ
                                 Webb describes how the Wall Street Journal

                    referring to his book and the Jane Sherburne memo refering to monitoring
                                                                                  mOnitoring Hubbell cooperation.

                    ~ebb then says that in addition, the Journal article also "hring[s]
                    ~ehb
                    Webb                                                      "bring[s] oul
                                                                                        out Riady again... "

                            Webb: And said the .Senate
                            Webb:               Senate was unable to find out what I did for 'em. Hello?

                            Suzy: Yeah,             did~'t do anything for 'em.
                                  Yeall, 'cause you didn't

                            Webb: Yeah. Alright.
                            Webb:       Alright.

                           In March 1995 (after Hubbell's guilty plea), Hubbell had
                                                                                bad dinner with Bernard Rapoport
                                                                                                        Rapopcrt

                                          fonner aide to Mack McLarty. Hubbell asked Middleton if the Riadys
                    and Mark Middleton, a former                                                      Riady,
                     ,
                     "\
                     "
                    intended to continue to pay him.
                                                him. Middleton responded that he
                                                                              be didn't know and that Hubbell

                    should talk to John Huang or the Riady's directly.

                           5) SunAmerica Corporation
                           S)


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          .. . . -.,,'
                                      SunArnerica
                                      SunAmcrica Inc. is an insurance and investment
                                      SunAmerica                          mvestml:nt company based in Los Angeles,

                            Catifomia, oWned
                            California, owned and controlled by Eli Broad. BroaD
                                                                           Broall
                                                                           Broad has known Hubbell since the mid-1980s

                            when he was introduced to Hubbell and the Rose Law finn           Kantor. Hubbell did
                                                                               Finn by Mickey Kantor.

                                                              SunAmerica in 1985 and 1986. Since that time,
                            legal work in Little Rock, AR for SUDAmerica                              time, Broad has

                           maintained periodic personal and telephonic contact with Hubbell. Broad did not recall any

                                                                       Hubbel.l
                           contact with Hubbell during the period when HubbeU                           Justice.
                                                                       Hubbell was at the Department of Justice.

                                      Broad becam~
                                            bccam~
                                            became aware that Hubbell was doing ·consulting
                                                                                ,consulting
                                                                                 consulting work on or about April 14, 1994,

                                                             dinner at the home of Peter Norton. Hillary Clinton was the
                           while attending a donor reception diMer

                                                                           guc~sts. After the dinner, Mrs.
                                                                           guc:sts.
                           guest of honor and there were approximately 150 guests.                    Mrs. Clinton was

                                           shaking hands with all the guests. During the short time Broad spoke with Mrs.
                                  hopPing" shalting
                           "table hopping"

                                                                         doin.g. Mrs
                           Clinton, Broad inquired about how Hubbell was doing.      .. Clinton infonned Broad that
                                                                                 Mrs,.Clinton
          .-.
                           Hubbell was doing consulting work in the Washington area. Broad says he has no clear

                                                          brief conversation, Broad either told Mrs. Clinton he was going to
                           recollection, but during this ,brief

                                                            Mrs. Clinton suggested
                           give Hubbell a telephone call or Mrs.         sugges·ted that Broad give Hubbell a call.

                                                                       Hubbell
                                      Broad subsequently did telephone H"
                                                                        ubbell at Hubbell's Washington office.
                                                                                                       office. Over the next

                           few months, Broad and Hubbell discussed SunAmerica and its interest
                                                                                      interest in a National Savings

                           policy.
                           policy .

                                      Such a policy would likely include certain incentives such as tax defennent,
                                      Such.                                                             defennenl, to encourage

                           people to save more money. SunAmerica planned 10
                                                                         to offer
                                                                            otTer financial products that took advantage

                           of the plan. On May 25, 1994, Broad retained Hubbell
                                                                        Hubbdl at a rate ofS5,OOO.OO
                                                                                         of$5,OOO.00 per month. Broad
                                                                                         ofS5,OOO.00
                                                                                         ofS5,000.00

                           has told investigators that he hired Hubbell to assist SunAmerica
                                                                                  SunAmcrica in promoting a National

           - .
          ,..-..           Savings policy that would be supported by the;
                                                                     the administration and as an advocate to get

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                     something moving regarding this issue:
                                                     issue : Broad also expected Hubbell to remain alert and advise

                     SunAmerica of anything going on in political circles regarding a National
                                                                                      Natianal Savings policy.
                                                                                                       policy. It

                     should be noted that Broad is a personal friend .of
                                                                     ,of
                                                                      o f President Clintan
                                                                                    Clinton and has
                                                                                                has' access directly to
                                                                                                                     te

                     him.

                                                                               outlining a number .of
                            On September 19, 1994, Hubbell sent Broad a letter .outlining         of specific efforts

                     he would make: on behalf .of
                        wauld make            of SunAmerica.
                                                  SunArnerica. These included making cenain
                                                                                     tenain presentations and
                                                                                     certain

                    contacts with specific members of the Clinton Administration,
                    cantacts                                      Administratian, including the President. There 'is
                                                                                                                  is

                    no
                    nc evidence that Hubbell
                    ne               HUbbe.ll completed any .of
                                                            of these items.

                            SunAmerica paid Hubbell a total of S35,000.00
                            SWlAmerica                         S35,000,00                      tenninated ,hortly
                                                               $35,000.00 in 1994. Hubbell was terminated shortly

                   ._after pleading -guilty
                                     guilty te
                                            to the criminal charges on December 6, 1994. Broad                 his guilty
                                                                                         Bread felt that after his

                    plea,             na
                                      nc longer of
                    plea. Hubbell was no                  te SunAmerica
                                                .of value to SunAmerica.       Employees of the company,
                                                                                                company. including a
          -,
          -,
          ' ~'.



                    former                                                         Co~General
                    fonner General Counsel, Karen Hedlund, and Loren Fife, current Co-General
                                                                                   Co·General
                                                                                   Co· General Counsel with

                                                                                                       amaunt and
                    Susan Harris, have stated that they felt that Hubbell had been paid an appropriate amount

                    that SunArneri.
                                  ca had received the fair value of
                         SunAmerica                              afrus
                                                                 ofms
                                                                    his services up until the time he plead guilty in
                                                                 ofrus

                    December, 1994.

                            6) John        (JM] Inc., Sugarland,
                               JOhD Moores (JMI       SugarlaDd, Texas)

                            John Moores is an entrepreneur and major Democratic donor ·who
                                                                                      'who
                                                                                       who made his fortune in
                                                                                      who

                    computer software. Moores testified that he hired Hubbell in July,
                                                                                 Ju1y. 1994, upon the

                                   of Truman Arnold.
                    recommendation of                MOoTes paid Hubbell $18,000.00 in a8 lwnp
                                             Arnold. Moores                                    sum which he
                                                                                          Jump swn

                                                                            month. Moores testified that his primary
                    said represented 8a six month contract at $3,000.00 per month.

                    focus in retaining Hubbell
                                       HubbelJ was to have him work on an airplane hangar project he
                                                                                                  he'was
                                                                                                     was trying to
                                                                                                  he·was

          .-        develop
                    devel op in Cannel,
                                Carmel, California.  Moares wanted Hubbell to make contact with the FAA about
                                        California . Moores

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                getting approval for his project. Moores also indicated that he       contemplated~aving
                                                                             he later contemplated
                                                                                      contemplated.}:laving
                                                                                      contemplated.having
                                                                                                   .!:laving Hubbell

                work on a real estate project in which he was attempting to purchase
                                                                            pw:chase some property which was

                            RTC. Moores is not aware
                held by.the RTC.                     of any contacts that Hubbell made at
                                               8ware-ofany                                           RTC.
                                                                                                     RTC .
                                                                                       8t the FAA or RTC.

                                                            six: month period expired and indicated that if he had
                Moores did not renew his contract after the six

                known about Hubbell's criminal problem beforehand, he never would have hired Hubbell.

                        7) C.W. Conn
                                CODa (Conn
                                     (CODD Appliance, Beaumont,
                                                      BeaumoDt, Texas)
                                                                Tens)

                        C. W.
                           W. Conn is the founder of Conn Appliance Corporation and is a multi-millionaire and
                        C.W.

                major Democratic donor.
                                 donor. Conn hired Hubbell upon the recommendation ofTruman
                                                                                   of
                                                                                   ofTnunanAmold.
                                                                                      Truman ·Arnold.
                                                                                              Arnold.

                Conn first
                     fi.cst met Hubbell and retained him during a July 28, 1994, meeting in Washington,
                                                                                            Washington. D.C.
                                                                                                        D.C. at

                                                                the      T~an Arnold, Wayne Reaud, Bernard
                Hubbell's office. Also in attendance at the meeting were Truman

                Rapoport., John Moores and Gil Morgan (a
                Rapoport,                             (8 law partner of Wayne Reaud).
                                                                              Reaud).
                                                                              Reaud) . The meeting was
         .-     arranged by Truman Arnold to discuss the possibility of
                                                                     ofHubbeJllooking
                                                                        Hubbell looking for joint investment
                                                                                                                                •
                opportw)ities
                oppor1W)ities for the group.
                opportunities

                        Corm paid Hubbell S18,OOO.00
                        Conn                                 28,1994
                                          $18,000.00 on July 28, 1994 in a lump
                                                                           Jump sum representing a six month

                            S3,Ooo.00 per month.
                contract at $3,000.00     month. Conn's
                                                 COJ.lll'S primary interest was in securing a presidential

                appoinunent
                appointment as an ambassador. Hubbell indicated that he could help him in that process.
                                                                                               process.




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                                      !;O!k(b)
                                      '-O!k(b)
                                      fO!A(b)        P,u l e 6(e),
                                                     P.u     6(e)    Fede~ ...
                                                             6(e ) , Federa
                                                                     Fede:: lI l Ru
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                                                                                      e s of
                                                                                      e!!'
                                                                                      es       C r iiminal
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                                                                                               Cr            Proc~dure
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               ~                                                      -J/Connh~
                                                                      -J/Connh~
                 ________________________________________________________-Jiconnhas
               L-____________________________________________________
               L-____________________________________________________



               . no evidence that Hubbell did anything to help him get 'an                 Corm is not an
                                                                        an ambassadorship. Conn

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                           EXHIBIT 3 (Part 5)

                                     to

      Plaintiff’s Response to Defendant’s Statement of Material Facts
        Not in Dispute and Statement of Undisputed Material Facts
            in Support of Cross-Motion for Summary Judgment




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                    ambassador today. Conn has stated that if he had known of the true nature of Hubbell's personal
                                                           ifhe

                    problems. he would never have hired him.
                    problems,

                            8) Wayne Reaud

                            Wayne Reaud is a plaintiffs class action anomey      Beaumont, Texas . .Reaud retained
                                                                     attorney in Beaumont,

                    Hubbell July 28, 1994, at the meeting in Hubbell's ofinee
                                                                       office in Washington, D.C. Reaud paid

                    Hubbell $18,000.00 in a lump swn
                                                 sum check dated July 28, 1994.
                                                                          1.994. Reaud has not yet been to the

                    grandjury.
                    grand jury. Reaud was interested in looking for joint investment
                                                                          iinvestment opportunities for the group at

                    the July 28, 1994,
                                 J 994, meeting andlor
                                                and/or possibility of establishing
                                                                      estabJishing aII Washington office with Hubbell.

                           IV. PRISON TAPES

                            On various occasions.
                                       occasions, Hubbell spoke from prison with his wife Suzanna.         l~ge
                                                                                          Suzanna. While a large

                    volume of the tapes provides moderately useful evidence, it is appropriate to end the evidentiary
          .--..
                                                   tel~ing
                                                      ling excerpts.
                    presentation with the two most tel.
                                                   telling

                           The first call occurred on March 25, 1996. nle
                                                                      TIle context is that Hubbell believes he will
                                                                      The

                    be sued by the Rose Law Finn civilly to recoup its damages from his bill
                                                                                        hil.l padding. Hubbell is

                    considering a counter-suit which .would,
                                                      would, it seems, allc:ge                       by·his
                                                                       allege like billing practices by  his Rose
                                                                                                        ·his

                    panne~s
                    partners.. His wife has been talking about Hubbell's plan with Marsha Scott, who is a employee

                    at the White House and a close personal confidant of the Clintons. She relays Scott's concern
                                                                                                                         .,
                    with Webb's plan:

                    SWHo
                    SWH:


                                                                        FOIA(b) 7 -
                                                                        COHdh)7
                                                                        fOHdb)        (C)
                                                                                      (e)


                    WLH:

                    SWH:
                    SWH:

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                                                                       FOIA(b)7
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                                                                       toIA(b)1 --
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                                                                                     (e                                  I\


                                L.said that one of the biggest sticking points is that you__
                                                                                          never apologized.
                                                                                                           And she
                                                                                                apologized,And  she
                                                                                                            that there
                                 has been noDO expression
                                               exprtssion of remorse whatsoever on your part, and that by suing, it
                                                       lie
                                 is only made it look lie you really don't give a shit. And'that,
                                                                                        And 'that, it's, that you arc
                                                                                                                  are
                                 Qpenio~ HmW
                                 QpeDiDl~ Hmary UP to all of
                                          Hillary             this.
                                                              tbjs,
                                                           oftbjs.
                                                              tbjs.

                   WLH:
                   WLH:          Well. honey, I keep telling you, sometimes you have to fight battles alone. You
                                 Well,
                                 know, you just can't worry about other people. I know what I'm doing,.OK?
                                                                                                  doing, .OK?
                                 Now, if you don't want me to I won't.

                   SWH:          No, II want you to, II just
                                                        jwt want,  I'm the one that bears the bnmt
                                                             want,I'm                         brunt of this stuff up here.
                                                                                                                      here.
                                 I'm      ODe that has to try and.
                                 J'm the one                  and talk to people.
                                                                          people. I'm the one that has to try and
                                 explain to Marsha. I'm saying, "Marsha." She said, "YQu're
                                                                                          "you're nQt
                                                                                                  Dot  ~oin~ to
                                                                                                       2'Qine
                                                                                                  not eoina:
                                                                                                       eDina      ~et
                                                                                                                  "et any
                                                                                                               tQ eel
                                                                                                                  act
                                 public support
                                         summIt
                                         sULlP0rt for this pwuit
                                                           pursuit ifYQU
                                                                   if you Qpen
                                                                          open up Hillary.
                                                                          opeD UP Hillax:y. Well, by public
                                                                                                     pubHc    support.
                                                                                                              support,  Il
                                 kpQW         what she meanS,
                                 know exactly what                not
                                                                  nQt stupid.
                                                       means. I'm Dot stupid,

                   WLH:
                   WLH:          And I sat there and spent Saturday with you saying]
                                                                                 saying I would not do that. I won't,
                                                                                                               won't. if
                                          thoSe allegations, it mi2ht
                                 I raised those                 mia-ht
                                                                miibt
                                                                mi&bt open  it UP
                                                                       oPen it       Hj1IAQ'.. And you
                                                                               up to Hillruy.
                                                                                     HjII:uy,
                                                                                     Hj1IAQ'           know that.
                                                                                                   YQU knQw  that, We
                                 talked about
                                         abQut that,
                                               that.                                       .     ,

                   SWH:
                   SWH:                    then, I1 get all this back from Marsha,
                                 Ycs, but then.
                                 Yes,                                       Marsha. who's racheting it up and making it
                                 sound like, you know.
                                                    know, if  Webb ~oes
                                                            ifWcbb   20es
                                                                     iOes ahead               fiI1I':
                                                                                 and sues the fiIlI':
                                                                                              fil'D':
                                                                                              finn back.
                                                                                                      back . then any
                                                                                                                  anY
                                 stJpport I have
                                 SJJpport
                                 support    bave at the White HQuse
                                                                  House is "one.
                                                                           "Qne.
                                                                           eone.

                   WLH:          Well.
                                 WelL

                   SWH:          I mean, that's what I'm hearing. I'm hearing the squeeze play.
                                                                                          play .

                   WLH:
                   WLH:          So.
                                 SQ. I Deed
                                 So,        tQ [all
                                       need to [011 oyer
                                               roll oQyer
                                                      yer one      time .3~1
                                                          ooe more time. 3~1
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                                                             FOIA(bl?17 -
                                                             FOIA(b)        (C)
                                                                            (el




          ,,-             ,.. Tape #27.a,
                          '"
                          ,..
                          348      #27 ... March 25,1996,18:39
                                   #27.0,        25, 1996, 18:39
                                                           18:3 9 (emphasis supplied).
                                                                  (ernphasissupplied).

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                                                                      FOIAlbl7           (C)
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                                 short. many of the people and entities that hired Hubbell following his resignation
                              In short,                                                                  resignation,

                       fonn DO] can be traced to high administration officials or advisors.
                       form 001
                            DOJ
                            DOl                                                                  McLany and fonner
                                                                                  advisors. Mack McLarty    former"
                                                                                                            former·
                                                                                                            former"

                       DNe Chairman Truman Arnold were responsible for five of Hub
                       DNC Chainnan                                                hell's seventeen clients.
                                                                               Hubbell's            clients. Vernon

                       Jordan was responsible for at least one client. The First Lady was the direct impetus for at least



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                                                                          ::'_ _ _~temphasis supplied).
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          ·-,      one client, SunAmerica
                               SWlAmerica insurance company.
                                                    company.. Then SBA Chairman
                                                    company            Chainnan Erskine Bowles and United

                   States Trade Representative Mickey Kantor also made efforts on behalf of Hubbell following his

                   resignation. All this took place at a time where there:    w:idespread public knowledge of a
                                                                    there was widespread



                                                                ..•.. .•.•.
                   criminal                    Hub~II's billing practices while at the Rose Law Firm.
                   crimina] investigation into Hubbell's                                        Finn .

                                                                •         •'
                                                                          ~,




                   II.     Chronological BackgrouDd
                           CbroDological Background and
                                                    aDd Context

                           On January 12, 1994,
                                          1994. President William Jeffc:rson
                                                                  Jefferson Clinton asked Attorney General Reno
                                                                  Jeifc:rson

                                                                so~called Whitewater and Madison investigation.
                   to appoint a Special Counsel to takeover the so':'calleod
                                                                so:callod
                                                                so·callod

                  The U.S. attorney in Little Rock had recused herself on November 3,1993,
                                                                                   3, 1993, and the prosecution

                                                                                      of    10 RTC
                  of David Hale, the investigation of Madison, and the investigation of the lOR TC crimina]
                                                                                                   criminal
                                                                                                   criI!Unal

                   referrals had been turned over to Don MacKay, a career Justice Department prosecutor.

                           Attorney General Reno appointed Bob Fiske as the Special Counsel on January 20, 1994.

                  On June
                     JWle 30, 1994, the President signed into law the reauthorized Independent Counsel Act. The

                  Special Division appointed Ken Starr as the Independent Counsel on August 5, 1994.

                                                                                     ~y individuals or entities
                         . This Office was given jurisdiction to investigate whether any

                  violated any criminal law, "relating in any way to James B. McDougal's,
                                                                              McDougat's, President William

                  Jefferson Clinton's, and Mrs. Hillary Rodham
                                                        Rodharn qinton's
                                                                Clinton's relationships with Madison Guaranty

                  Savings & Loan association, Whitewater Developmemt
                                                         Development Corporation,
                                                                     Corporatio~, or Capital Management


                  Services, Inc.

                           Bob Fiske and his staff had been investigatin.g
                                                            investigating these matters pri!)f
                                                                                        prior to the appointment of

                  Judge Starr under the Independent Counsel Act.

          .-               Within the scope of the investigation, it was important to detennine what the relationship

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                                CI~tons and the McDougals, and the relationship of both President Clinton and Mrs.
                     was of the Clintons                                                                      Mrs.
                                                                                                              Mrs .
         ---"
                     Clinton with each of the three named entities within the jurisdictional grant.

                                       jwies have been utilized by the Office of the Independent Counsel in the
                             Two grand juries

                                         Arkansas. The first grand jury
                     Eastern District of Arkansas.                                      March~ 1994 and expired
                                                                   jwy was empaneled in March,          ex.pired on

                           23, 1996. Another grand
                     March 23,1996.                                                         7, 19?6,
                                                                                               1996, and its tenn
                                                   jury was empaneled in Little Rock on May 7,1996,
                                             grandjwy                                                        term

                     expires on May 6, 1998.

                             In addition to the investigation by the Independent counsel's
                                                                                 cOWlSel's                      IRS. and
                                                                                 cOWlSe1'S Office, the FBI, the IRS,

                     the Little Rock and Washington grand juries,
                                                          juries. investigations have been conducted by criminal

                     investigators from both he FDIC and the RTC. Civil investigations
                                                                        mv'estigations have taken place by RTC's

                                      Pillsbwy,                                                             u.s..
                                      PilIsbwy, Madison & Sutro. Also, the House of Representatives and the U.S.
                     outside counsel, Pillsbury,                                                            U.S

                     Senate have conducted investigations.
                                           investigations .
          ..--..

                             Each of these investigations was entitled under the law io
                                                                                     to conduct their respective

                                                                                   generw category of "obstruction of
                     investigations free from activities which would fall into the general

                     the due administration of justice."

                             Indeed, in the jurisdictional grant this Indepe!1de,:u
                                                                      Independent Counsel, "shall also
                                                                                                  wso have jurisdiction

                     to investigate any ...
                                        . .. obstruction of the due administration of justice, or any material false
                                                                                                               fal se

                     testimony or statement in violation of Federal criminal law, in connection with any investigation

                            matters.
                            matters .[within its jurisdiction] described above."
                            maners
                     of the matters·                                     above.II




                            [See the Introduction to the Clinton·Finance
                                                         Clinton-Finance memorandum of June 1997, pages 1-10].
                                                                                                        1·10].

                            in order to understand how there may have been obstruction of justice, false .testimony,
                            In                                                                            testimony,

                     and false
                         fal se statements, which may have affected the Independent Counsel's investigation,
                                                                                    COWlSeJ's investigati on, and the

                     investigation by other duly authorized investigators.
                                                            investigators, it is important to understand the chronology

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         .·- .
         .-----.j
                                     of events involved in the different investigations. It is also imponant
                                                                                                    important to understand the

                                                   between the Clintons and 'the
                                     relationships between,                  the McDougals and-the
                                                                                           and the institutions within our

                                                    ~t.
                                     jurisdictional &rant.  grant.
                                              A.             MadiSon Guaranty

                                             .Mrs.
                                             ,Mrs.         ~d the Rose Firm.
                                             Mrs. Clinton, and         Firm, represented Madison Guaranty Savings & Loan
                                                                                                                    Loari

                                                                                        stew~hip of that savings and loan
                                                                                        stewar~hip
                                     (MGSL) during the last 15 months of Jim McDougal's stewardship

                                                                                       1I ~86 time frame that
                                     association. It was during this April 1985 - July 1986              ~t a number
                                                                                                              nwnber of questionable

                                     and criminal transactions took place, (a number of which were in the RIC
                                                                                                          RTC criminal referrals);

                                                                                                                 crus
                                     those which have been the subject of our investigations and our prosecution of    v'y. Jim
                                                                                                                    US v.

                                     McDou~a1, Jim Guy Tucker. and Susan McDoueaL.
                                     McDou~a1.
                                     McDouiaJ.
                                     McDou2aI.                           McDou~al.
                                                                         MeDaueat.

                                             Madison had regulatory net worth problems from the time McDougal acquired it in

                                                                                                             and state regulators
                                     January 1982 through the time he was ousted in July 1986. Both federal ·and
                                                                                                            -and

                                     monitored the condition of MGSL and were concerned about it. Savings and loans associations

                                     were required under federal regulation to have a 3% net worth; that is, the assets of the institution

                                     had to exceed the liabilities by at least 3%.

                                             The institution was required to make regular reports, often monthly, to the Federal Home
                                                                                                                                 Horne

                                     Loan Bank Board, with a copy going 10           regulators. [FBI Financial
                                                                        to the state regulators.                ~ystD
                                                                                                      Financiai anaiystD
                                                                                                                                           ,   ..   ,

                                                                                                                                   ""- '



                               .1I             !was                        documentation related to ~oses~~'worth
                                                    las'ked with compiling docwnentation
                                               Iwas tasked                                          ~OSL'S '~~ worth of the years
                                                                                                    ~qSL'S
                                                                                                                     ....

                                                                                           comp~.       i.~ce· 6r· ~~~:~mpliance
                                                                                                              ....
                          ;'                                               compl.i.~ee·6r-~on-compliance
                                                                                    ce·or·~on-(;ompliance with the FHLBB's 3%
                                                 SO as to demonstrate MGSL compli~ce'or'~on-compliance
                                     1982 - 1988 so
                                                                                           ............
                                                                                           ...........
                                                                                               "",




                                                          reqiJireme~.~.tlt ....
                                                          reqiJirem:_
                                     regulatory net worth requiremeIl~.A·net
                                                          reqiJiremet:l.         A ..i\·e t·worth
                                                                            ....A"net·worth worth schedule for these years has been prepared.]
                                                                                 A"nei'·worth
                                                                                 -.-., .
                                                                              .. -.-.,_

                                                JanU¥Y;"-l98'f~~~'~'the
                                                                     ....."
                                                                     ...
                                                 Janll43J}';1982,~hen
                                                              2. when the McDougals purchas~d
                                            . In Janll¥)'{-l9S'
                                                 Janll¥)'{l9S'                      purchased the Woodruff County S&L, it had
                                                    .....
                             .._..assetS··o"r
                                  asscts-·oi"S·S3,899,434
                                                ; -:~·~9 ,434 and liabilities ofof$3,817,955        ~et worth ofof2.0go/o.
                                                    ... "
                                  ~sets··o"r
        /:;:-.assetsof$3,899,434
         i .. _........... .
         :   ..........
        :,~"",
        ,.,'
                             ....
               .. -...........
                 -"",
                           . ..
                                                                                     ,817,955 for a net
                                                                                  $3,817,955
                                                                                  $3                               2.09010. McDougal "grew the

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          .
              -.
          ...-,.
                      institution" at a very faSt rate. By the end of December, 1984, it had assets 0[$48
                                                                                                    of$48.5
                                                                                                    0[$48.5
                                                                                                    of    .5 million and
                                                                                                       $48.5

                      liabilities of $47.9 million, with a net worth of 1.25%.
                                  of$47.9

                                                       examination in 1984, Madison was placed WIder
                              As a result of a federal examinat,ion                            under a supervisory

                      agreement by the Federal Home Loan Bank Board in July 1984. By April, 1985. MGSL
                                                                                     April. 1985, MOSL had

                      assets 0[S67.1
                             of$67.1
                             ofS67.1
                             of                                                        net,
                                $67.1 million and liabilities of $66.2 million, with a net
                                                                                       net.worth of 1.32%.

                              Bill Black, a former FHLBB official, who has testified as an expert witness before in high

                      profile cases, has consulted with this office. He has reviewed the various records of
                                                                                                         ofMGSL.
                                                                                                            MGSL. In

                                                                                                woith" afthe
                                                                                                worth"
                      his opinion, it was absolutely essential that McDougal, "goose up the net worth" of the institution

                      prior to the next federal examination if he wanted the institution to survive.
                                                            ifhe

                              BegiMing in early 1983, Madison had
                              Beginning                       had. utilized the law finn
                                                                                    firm of Mitchell, Selig, Williams

                      & Tucker.
                        Tucker. Jim Guy Tucker was a long·time
                                                     long-time political friend of Jim McDougal's, and John Selig

                      "fas     form~r Arkansas Securities Commissioner, Who
                      Yfas the former
                      was                                                   speciaJized in securities law and
                                                                        who specialized

                      banking matters.

                             The Mitchell, Williams Firm,       B"everly Bassett was employed as an associate in the
                                                    Finn, where Beverly

                                                                                                    1985.
                                                                                                    J985, the Finn
                                    opened and handled a number of "matters" for MGSL. In February, 1985,
                      early 1980's, opel)ed                                                                   Firm

                      opened.
                      opened, "matter 00.9,"
                      opened.         no.9," entitled, "sale of stock."
                                                                stock. II '''Maner
                                                                stoCk."    "Matter no. 10," at the Firm
                                                                          '''Matter                Finn was entitled,

                      "broker/dealer. "
                      "broker/dealer."

                                    MGS~'s plan in the spring of 1985 to issue preferred stock in the amount
                             It was MGSL's                                                                   of$3
                                                                                                      amoWlt of
                                                                                                             ofS3
                                                                                                                $3

                     million in order to raise capital and help it comply with the Federal requirements concerning net

                     worth. On April 3, 1985, Charles Handley, a career employee of the Arkansas Securities

                     Depanment (ASD), advised Davis Fitzhugh,
                     Department                     Fitzhugh. an MGSL employee. that ~e did not think that there
                                                                 MOSL employee,

         .-
         .-          was any authority under Arkansas law for a savings and loan association to issue preferred stock,
                     was

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          ·---'.        as propose~    MGSL.
                           proposed by MOSL.

                               On the next day, April 4, 1985, Jim McDougal held a fund raiser at MGSL to heip retire

                       . the campaign debt of Governor Clinton, ihcurred
                                                                mcurred in the Governor's race from the fall before.

                        Some $33,000 was raised to retire that debt, primaril:y
                                                                     primarily in the fonn
                                                                                      form of contributions from insiders

                        and persons affiliated with MGSt.
                                                    MGSL.

                               On April 23, 1985, the Rose Law Firm opened its first ever matter for MGSL.
                                                                                                     MGSt. "MGSL            '

                               no, 1"
                        Matter no.                                     "stock offering." On
                                   I" of the Rose Law Firm was styled, "stoc:k           On
                                                                                         Ozi April 29.
                                                                                         Ori       29, 1985, Mrs.
                                                                                                     /

                                                                Beverly Bassett, the new Arkansas Securities
                        Clinton had a telephone conference with Beyerly

                        Commissioner, who had been appointed some three months previously
                        Conunissioner,                                         previowly by her husband,

                                 Clinton. partially upon the recommendation of Jim McDougal.
                        Governor Clinton,                                          MCDougal.
                                                                                   McDougal.

                                                      3D, 1985, the Rose Law Firm sent a letter to the ASD on
                               On the next day, April 30,                                                  on the
          -.
          ,...- ..

                        question of whether an S&L                        stock. This
                                                    could issue preferred stock.
                                               S&'L cou1d                        1b.is letter indicated that the ASD was

                       to contact Hillary Clinton or Rick Massey if
                                                                 jf there wc:re    questions, On May 14,
                                                                          were any questions.        14. 1985,

                       Beverly Bassett v.rote
                                       wrote a letter beginning,
                                                      begiruting. "Dear Hillary," agreeing with the Rose Law Firm
                                                                                                             Finn

                       proposal.
                       proposal.        23., 1985,
                       proposal, On May 23,
                                        23              Clintori sent a copy of Bassett's letter to Jim McDougal,
                                             1985; Mrs. Clinton

                       adding that, "we look forward to working with you on your plans for growth."
                                                                                           growth."

                               President and Mrs. Clinton had a personal and business relationship with Jim
                                                                                                        lim McDougal

                       and his wife Susan dating back to the 1970's.
                                                             1970's, They were joint participants
                                                                                     p:lrticipants in the Whitewater

                       development beginning in 1978, and were joint participants
                                                                     partidpants in the Whitewater corporation
                                                                     partil:ipants

                       beginning in 1979.
                                    J 979. Jim McDougal served in Bill Clinton's firSt gubernatorial administration in

                        1979 and part of
                                      of 1980. He assisted the governor widl
                                                                        with his legislative
                                                                                 legislalive program in 1983.
                                                                                                        1983 .

          .-                   Thereafter, the Rose Law Finn
                                                        Firm opened Jive oilier
                                                                    five omer
                                                                         otther          fo~ MGSL over the next 15
                                                                         other "matters" for

                                                                       179


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          ·~.
                                      receiv~ 8a $2,000 a month "retainer," more accurately described as an
          "~. "
                     months. The Finn receiveo
                                      receivE:.d

                    . "advance against fees." Mrs. Clinton was the "hillinganomey"
                                                                   "billinganomey"           responsiQlc anomey
                                                                   "billing attorney" or the responsible
                                                                   "hiUinganomey"                        attorney for

                     this client. In that capacity,"
                                          capacity, she would have reviewed all of the work done by attorneys at the
                                          capacity,.

                                      representing"MGSL prior to any invoice or statement going out
                     Rose Law Finn in representing                                                         cli ent.
                                                                                                out to the client.

                     She nonnally                                                            MGSt. The backup
                         nannally would write a cover letter transmitting the RLF invoice to MGSL.
                                                                                             MOSL.

                     data for the infonnation
                                  information contained in the actual bill to MGSL was contained on a computer

                     gen.                                      turn, had come from the "time sheet" entries for each
                        ecrated "billing memorandum," which in tum,
                     generated

                     attorney working on that representation.

                             "Matter                               Finn, dealt with the matter of "limited
                             "Maner no. 2," opened by the Rose Law Firm,

                                                               w~ch MGSL
                     partnerships" and broker-dealer licenses, which MOSL wanted to be involved in as a way to raise

                     capital . Rick Massey, who was a young associate in the Finn,
                     capital.                                                         the: securities department,
                                                                             Firm, in the
                                                                                                                 -
                                                                                                                 ,



                     worked on this with other securities partners, but Mrs. Clinton remained the responsible anomey
                                                                                                              attorney

                     to review all of
                                   of the work and sent the bill to the client.

                                                                            MGSL had been given until the end of
                             The preferred stock was never issued, although MOSL

                              1"985 in which to accomplish this.
                     December 1985                                       MOSL got involved in a land transaction
                                                           this. Instead MGSL

                     south of Little Rock, which generated nearly $3 million in profits, which would have "goosed

                     their net worth,
                               worth," prior to the next federal examination.
                                     It




                            "Maner no.
                            "Matter no . 4," was labeled "general." The first entry on that maner
                                                                                            matter being on June 19,

                     1985, wherein Massey recorded a conference with John Latham, president of
                                                                                            ofMGSL,
                                                                                               MGSL, regarding

                     "capital plans ..~'~' Massey recorded time on July 11
                              plans."                                          J2, 1985 for telephone conferences with
                                                                        II and 12,

                     Sarah Hawkins ofMGSL regarding MGSL's "business plan," and the proposed conference with


          .-
          >-..
                              supervisor. Mrs.
                    the FHLBB supervisor.                              "
                                                                       \
                                          Mrs: Clinton was the billing attorney
                                                                       anomey on matter
                                                                                 maner no. 4 and also recorded


                                                                       180


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          , . - ...
                         time on that matter beginning on September 4.
                                                                    4, 1985.
                                                                       1985 . .'

                                 B.                           Maner
                                        The IDC/Castle Grande Matter
                                                              MaUer .·

                                 "Maner no. 5,"
                                 "Manei
                                 "Matter
                                 "Mattei    5." for MGSL
                                                    MOSL at the Rose Law Finn     entitled. ."IDC."
                                                                         Firm was entitled, ..."IDC."
                                                                                                IDC." According to the

                         internal records of              Firm. this matter was opened on August'4,
                                             the Rose Law Firm,
                                          oftbe                                                  4, 1985,
                                                                                          AugustA,
                                                                                          August    1985; not by Mrs.

                         Clinton, but by Webb Hubbell. Mrs. Clinton, however, was the billing attorney
                         Clinton.                                                             anorney on this matter as

                         she had been on the others. Rose attorney, Tom lbrash,                              ennies to
                                                                        TIrrash, has time sheets and billing entries

                         MGSL in early-August through the first part of
                         MOSL                                           October 1985 for multiple meetings and
                                                                     ofOcto'ber

                                                                                                  1,1I aD-acre
                         conferences with Seth Ward and others involved in the acquisition of the 1,   ~O-acre IDC
                                                                                                       OO-acre

                        . property, and the sewer and water utility of it's subsidiary, ISC, from the Industrial Development
                                                                            subsidiary,lSC,
                                                                            subsidiary,ISC,

                                     ofLitile
                         Corporation of             [Sectio~ 11.1
                                        LinIe Rock. [Section
                                        Little               II. I and 11.2 of this memo,
                                                             11.1                   memo. give more detail concerning the

                         matters occurring before the Arkansas Securities Department.,
                                                                          Department, and the acquisition of the IDC
                                                                                                                 IDe
          ." -'.

                         property. which was renamed Castle Grande by MOSL.]
                         property,                                    MGSL.]

                                                 originaJly was to be acquired in total by Madison Financial
                                The IDC property originally

                                                                                      draWn up by Rose attorney Thrash
                         Corporation, the subsidiary ofMGSL. · All of the resolutions drawn                     lbrash

                         indicate this.
                                  this. However, shortly before the closing, it was determined that  MF,'C could not acquire
                                                                                               thatMFC
                                                                                                    .MF.'C

                         the entire property because it would be in violation of an Arkansas state regulation
                                                                                                   regUlation which would

                             aJlow a savings and loan association to invest more thaD.
                         not allow                                               thail6%
                                                                                 thai:t 6% of its investments in its

                         subsidiary.
                         subsidiary.

                                Therefore, Seth Ward, an employee of
                                                                  ofMFC,
                                                                     MFC, agreed to have certain of the property placed

                        in his name. There is much evidence and testimony that Ward was a "nominee" or "straw man"
                                                                                                                       o
                                                      at
                        on this transaction. He was at "no risk" and had put up none of his own money.
                                                                                                money. The
                                                                                                       The entire
                                                                                                           e.ntire

                        purchase price was financed by MGSL
                                                       MGSL. Ward ·is the father-in-law of Webb Hubbell, Mrs .
                                                                                                Hubbell. Mrs.
          -'
          .. ....


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          . ~   ...
                         Clinton's Rose Law Firm partner.

                                    In summary,
                                       swnmary, the IDC property, with its associated utility, was purchased by MFC and

                         Ward for SI.75
                                  $1.75 million. By February 28, 1986, the property and the.
                                                                                        the associated utility,
                                                                                        theassoeiated  utility., had been
                                                                                                       utility

                        sold to third parties (most of whom were insiders or affiliated persons) for in excess of
                                                                                                               of$4
                                                                                                               ofS4
                                                                                                                  S4

                        million.
                        million. These purchases involved, in most instances, "inflated                       Palm~r and
                                                                              ninflated appraisals" by Robert Palmer

                        [rOIA(b)
                        [fOIA(b)
                        [FOIA( b ) 71 -   (C)lI
                                          (e)
                                          (C) l



                                    On February 17, 1986, Sarah Hawkins of
                                                                        ofMGSL
                                                                           MGSL learned that the federal examination was

                                                                          ~d would examine all transactions through
                        going to begin on or about Monday, March 3, 1986, and

                        Friday,
                        Friday. February 28,
                                         28. 1986.

                                    OnFebruary
                                    On February 28, 1986, a nwnber of transactions "closed." MFC, to which Ward had
                                    On-February

                        ttansferred most of the property held in his name, sold a large tract to fonner
                        transferred                                                                     u.s. Senator
                                                                                                 former u.s.

                        William Fulbright, who was a mentor for Jim McDougal.
                                                                    McDougaL

                                    MFC, upon transfer from Ward, sold the assets of the sewer and water utility to a recently

                        formed corporation, Castle Sewer & Water, which was controlled by Jim Guy Tucker.
                        fanned                                                                    Tucker. The

                                                                                                             ana was
                        utility had been purchased for $400,000 in the name of Seth Ward on October 4, 1985, and

                               to Castle Sewer & Water for $1.2
                        resold 10
                               10                          $1 .2 million.

                                    MGSL loaned Castle Sewer & Water SI.05
                                                                     Sl
                                                                     $1.05
                                                                        .05 million on a non-recourse basis, with the

                        $150,000 down payment coming from David Hale's company, Capital Management Services.

                                   In addition, on that day,
                                                        day. MGSL loaned Dean Paul, a nominee for David Hale, $825,000.

                        This money was used to purchase
                                               purehase three tracts of land from Hale,
                                                                     ofland       Hale. which generated roughly a

                        $500,000 profit for Hale, which he then injected into his small business investment company.
                                                                                                            company.

                        The SBA then matched this investment on a 3-1 basis.
                                                                      basis .
                                                                      basis.
          -.
          .


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                                   According to Hale,                             then funded loans through eMS
                                                Hale. in return for this loan, he :then
                                                                                  ,then                     CMS for

                                           McDougal:: 1) Larry Kuca (a lawye~r
                          designees of Jim McDougal
                                           McDougal:                   lawyer with whom McDougal
                                                                                        McDougaJ was a silent

                                    2) Steve Smith, d/b/aJ
                          partner);'2)
                          panner);'2)
                          partner);"2)
                          partner);                 d/b/a! The Communications
                                                               Conununications Company (the funds being used to payoff

                          adebt owed by Smith,
                                        Smith. Tucker and McDougal); 3) th!:
                                                                        the down payment for,the Castle Sewer &
                                                                                         for.the .Castle

                          Waier purchase of the utility; and 4) the S300,OOO
                          Water                                     $300,000 eMS Imin to Susan McDougal, d/b/a! Master
                                                                             CMS loan

                         Marketing. [These transactions were the essence of the US y. McDou~al.
                                                                                      McDouial.            McDoueaJ
                                                                                      McPouial. Tucker and McDoU2al
                                                                                                           McDoueal
                                                                                                           McDouea1

                         tria!.)
                         trial.)

                                   The examiners came to the institution on or about March 3, 1986. Within a short time,

                                                                        purchnse of the IDe
                         they focused on the transactions involving the purchase        JDC property and subsequent re·
                                                                                        IDC                         re-

                                               short period afthne.
                         sales within a rather shon         of                eXaminers, and later, an outside law finn
                                                               time. Both the e:Kal11iners,
                                                            oftirne.                                               firm

                         brought into .tthe                       the
                                         he institution to examine the transactions,
                                                                       transactions , detennined
                                                                                      determined that there were possibly
          .   .---..
                         fraudulent practices. Ultimately, there is evidence to show that          ~rimes were being
                                                                                     tha.t indeed, crimes

                                   rela~ve to this property.
                         committed relative

                                   Prior to the sale
                                                saJe in 1986 of what was originally the'IDC
                                                                         originaUy the 'IDC property, Mrs. Clinton had many

                         conferences and telephone conferences with Seth Wail'd.
                                                                         Ward.
                                                                         W8l!d.

                                   Mrs. Clinton, for example,
                                                     example. billed for conferences with Seth Ward on November 20 and

                         November 26,                th~n had a
                                  26. 1985, and also then     B conferenc.e
                                                                conferencee lNith
                                                                conferenc.  with Webb Hubbell.
                                                                                      Hubbell. A month earlier, on
                                                                                      HubbelL

                                                                         F~m, indicated
                         October 18, 1985, associate Davis Thomas of the Finn, indica~ed that he spent 3.5 hours


                         researching what approvals, permits,
                                                     pennits, etc.
                                                              etc.,, were necessary to operate sewer and water facilities,

                         having multiple telephone conferences with state agencies. Thomas indicates that he wrote a .

                                  to Mrs.
                         memo not 10 Mrs. Clinton,              Hubbell..
                                          Clinton., but to Webb Hubbell

                                   Mrs. Clinton billed.Madison
                                   Mrs.                 Madison for.
                                                billed ,Madison for,some 14 conferences or telephone conferences
                                                                                                     conference,s with Seth
                                                                                                     conference.
          .-'.'

                                                                          183

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           -.
           -         . Ward,                       to
                       Ward. Some of it appears to have been in connection with a proposed brewery to be located on

                                                               pertain to research on the sewer and water utility.
                       the property, and other entries seem to penain                                     utility,

                       However.
                       However: some of the entries do not appear to be cormected
                       However,                                         connected to either
                                                                        cOMected     either"of these projects,
                                                                                     either'of       projects.

                                C.      The Federal EXam
                                                    Exam - March 1986

                                            federal examination, which began in early March 1986, Seth Ward became
                                During the .federal
                                           federal                                                          became'

                                                             ~t were owed to him for his role as a nominee.
                       worried about receiving "commissions" that                                  nontinee . Ward

                      threate~ed to sue MGSL. To stave this off, Ward received $400,000
                      threatened                                               $400,000 in the form
                                                                                               fonn of a loan from

                      MGSL. and executed a document baCk
                      MGSL,                         back to MGSL which indicated that he had loaned money to

                      MFC although he had not. These "cross loans" are discussed in more detail in Section II.!
                                                                                                           II. 1I this

                      memo.

                                The examiners questioned these "cross loans,"
                                                                      loans, n and were told that they were not connected
                                                                                                                cOIUlected
          .""-"'.

                                                     I, 1986.
                              other. On or about May 1,
                      to each other.                    1986, an !'option
                                                                 :'option agreement"
                                                                          agreement" was prepared and put in place of

                                                       MFe.
                      the non-funded loan from Ward to MFC.
                                                       MFC. The ban,k
                                                       MFe.     bank examiners would later testify that based on '

                      this option agreement, they stopped their pursuit of what appeared to them to be possible

                      fraudulent 'activity
                                 -activity.
                                 ·acti vity..

                                The federal exam turned up many problems,
                                                                problems. and on June 19,
                                                                                      19. 1986,
                                                                                          1986. the FHLBB wrote the

                      MOSL Board of Directors directing them to cease and desist from certain practices until there
                      MGSL

                      could be a meeting in Dallas.
                                            Dalias. Beverly Bassett.
                                                            Bassett, the Securities Commissioner, who also served as

                          Savings & Loan Supervisor, advised the Gove~or's
                      the Savin,gs
                          Savin.gs
                                 <                      •
                                                                 Go ve~or's office.
                                                                 Governor's   '
                                                                                                  a
                                                                            office, attaching it copy of the FHLBB
                                                                                                          •




                      letter.
                      letter.

                                The meeting took place on Friday.
                                                          Friday, July 11,
                                                                       11 , 1986,
                                                                            1986. in Dallas,
                                                                                     Dallas. at the conclusion of which,
                                                                                                                  which.

         .--          the Board was directed that Jim McDougal had to he
                                                                      be out of any kind of control and/or
                                                                                                    andlor '

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                 management at MGSL                                                                   t<?
                               MOSL or MFC, and John Latham, who had served as president of MGSL, had to

                 be out.

                            Governor and Mrs.
                                         Mrs. Clinton apparently were im                                12-1 3,
                                                                      in Miami over the weekend of July 12-13,
                                                                      un                                12·13,

                  1986 attending Mrs. Clinton's brothers wedding.
                                      Clinton'S brother's wedding.

                                       busineSs day, Monday, July 14, 1986, Betsey Wright, the Governor's Chief of
                           On the next business

                 Staff.
                 Staff, and main political advisor,
                                           advisor. sent the Governor a hand written note:
                                                                                     nOle: "Whitewater
                                                                                           "Vlhitewater stock

                 (McDougal's company). Do you still have? (pursuant to Jim's current problems). If so, I'm
                                                                                                       J'm

                 worried about it."

                           On that same day, Mrs. Clinton and Seth Ward both attended a meeting of the Little Rock
                                   )
                                   Commission. Ward was a Conuniissioner,
                 Municipal Airport Commission.            Commissioner, and Mrs.
                                                                            Mrs. Clinton was the attorney

                 for the Airport Commission.

                           On that same day, Ward came into Madison,
                                                            Madison. displaying an unsigned document,

                                                                                   conce~ng the payment of
                 representing that this was the agreement he had with Jim McDougal concerning

                 commissions to him. It appears that this document was backdated, and was prepared by Webb

                           secretary, Martha Patton. Patton has testified that she never prepared any documents
                 Hubbell's secretary.

                 handed directly to her by Seth Ward, but would have only done so only if Webb Hubbell gave it

                 to her.

                           On that same Monday, July 14, 1986, Mrs. Clinton
                                                                    Cl.inton signed a letter to Jim McDougal and

                . John Latham, ~hich indicates it was hand-delivered.,
                       Latham. which                  hand-delivered.                                     Firm had
                                                      hand..<Jelivered., returning the retainer money the Finn

                 accwnulated.
                 accumulated, and indicating that the RQse
                                                      Rose representation had not been "continuous or

                 significant."
                 significant. "

                           . Within a few days, McDougal himself was in the hospital with a str~ke.
                                                                                            str?ke. The MGSL
                                                                                            stroke.     MGSI,.

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                    Board brought in an outside accounting finn and an outside law finn from Memphis
                                                                                             Memphi s to do an

                                                                                  Huggins, principally in the person
                                             institution. The law finn of Borod & Huggins,
                    investigation within the institution.

                    of Jeff Gerrish, issued "'its 'rrepon
                                                     eport on
                                              its report                     I; 1987. concluding that the McDougals had
                                                                             I, 1987,
                                                           00 or about March I;


                    run
                    run MGSL for the benefit of family and    fri~nds .
                                                              fri~nd.s.
                                                              fri~nds.    They listed a number
                                                                                        nwnber of suspect transactions,
                                                                                        ownber

                    which not only would be actionable from a civil standpoint,
                                                                    standpoint. but also would constitute possible

                    crimes.

                              On March 19, 1987, the MGSL Board forwarded the Borod & Huggins report to the FBI

                    and US Attorney's office, and the criminal investigation involving Jim McDougal and Madison

                    began"in earnest.
                    began

                              McDol:lgai was ultimately indicted in 1989 and acquined
                              McDougal                                                      oial
                                                                             acquitted at a trial        ~ 990. Much
                                                                                            oial.in June 1990.

                    carne out about his bad stewardship ofMGSL during the course of the investigation.
                    came                                                                investigation and his trial
                                                                                        i:nvestigation.and    trial..
          .,.-"

                                            ~ n the Arkansas media, including references to Castle Grande.
                                            ~n
                    Public reports appeared in

                                                 FIll..SB was taking its
                           Further, in 1987, the Fffi..BB
                                                 FIll.BB             its own action. In response to a subpoena from

                                         fiJed a lawsuit against MGSL claiming that he had not been paid the
                    the FHLBB, Seth Ward filed

                    commissions owed him, even though he had received the "$400,000
                                                                          "S4OO,000 loan."
                                                                                    loan. MGSL wasN
                                                                                                  H




                    represented by Tucker's finn at the trial in late August 1988, and the jury returned a verdict in

                                                senled after removal to federal court, with Ward relinquishing his
                    favor of Ward. It was later settled

                    judgement completely.
                              completely.

                                                                              regulators on February 28, 1989.
                           MGSL was put into a conservatorship by the federal regulators                 1989.

                             that time, Gerrish's law firm
                    Prior to that                                                                           firm,
                                                      finn had filed a lawsuit against the Frost accounting firm,
                                                                                                            finn,
                                                                                                            finn,

                    a11eging accounting malpractice.
                    alleging                                                 detennined that the Gerrish firm
                                        maJpractice. The FDIC Legal Division determined                  finn had

          .- .        conflict. and requested the Rose Law Firm represent the interests of the Government and
                    a conflict,

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         -.       Madison against Frost. _The principal attorney at the Rose Law Firm               :-'las Webb
                                                                                 Finn handling this was

                  Hubbell.. It is now clear that he did not reveal a number
                  Hubbell                                            number. of things which potentially would have

                  disqualified the Rose Finn from representing the Govcr'nment.
                                                                   Gover'nment. (See Section 11.3].
                                                                   Government. [See
                                                                   Govemment.                II.3].

                         D.           CampaillD
                                      CampajiD
                                      CampajllD
                                 1992 Campai.w

                         The Clintons' relationship with Whitewater and Madison, including Mrs. Clinton's
                                                                                                qinton's roil,
                                                                                                          roll,

                  and that of the Rose Law Firm
                                           Finn in the                  of
                                                   the.representation of Madison,
                                                                         Madison. was raised in February 1992

                                          campaign. It came at a time shortly after there had been much media
                  during the Presidential campaign.

                                                                                                          9raft
                                                                                                          ~
                  coverage about then Governor Clinton's alleged womanizing and his actions regarding the draft

                  during the Vietnam War.
                                     War. The Whitewater-Madison allegations were a -'serious
                                                                                      serious problem.
                                                                                              problem. It was

                  important to the campaign that the best possible "spin" be put on their involvement with the

                  McDougals, Whitewater, and Madison. [See Section 11.4].

                                           I I, 1992.
                         Prior to February 11,
                                           II,        Jim"McDougal, had talked to a reponer
                                                1992, Jim
                                                      Jim'                          reporter
                                                                                    reIXmer about the Whitewater

                  investment, and Hillary
                  investment.
                  investtnent,    HilIary Clinton's representation of Madison in the mid-80's.
                                                                                     mid·80's
                                                                                     mid·80's.. McDougal told the

                  reporter that the representation originally came about as a result of a conversation he had with

                  Governor Clinton when he jogged by Madiso.n.. On' February
                                                     Madiso.n.                11. overt inquiries began
                                                                              II,
                                                                    Febr:uary 11,

                  concerning Mrs. Clinton's having represented Madison before the Arkansas Securities

                  Department,                head~d by Clinton's then recent appointee Beverly Bassett.
                  Department. a state agency headed                                            Bassett,

                         A story in the New York Times on March 8,
                                                                8. 1992. featured the failure of Madison, the

                  business relationship of the Clintons and McDougals, and Mrs.
                                                                           Mrs. Clinton's having represented

                                                Commissioner, who answered to Governor Clinton.
                  Madison before the Securities Conunissioner,                         Clinton.

                         This article
                              anicle did not mention the role of Governor Clinton in getting the Madison business

         ,-
         .-
         , _.     for Mrs,
                      Mrs. Clinton and Rose in part                      public; or other documents
                                               pan because there were no public,          dociunents
                                                                                          docUments reflecting

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          .----.,
                         Bill Clinton's ~Iegedly                                Mrs. Clinton. The Clinton cam·paign
                                        allegedly having asked McDougal to hire Mrs.                      campaign

                         responded "no" in writing to the reponer's
                                                          reporter's question, "Did
                                                                               " Did you discuss with Jim McDougal in

                         1984 or 1985 the hiring of her [Hillary) WId the Ii""
                                                        [Hillary] and     fillll by Madison Guaranty?"
                                                                          finn              Guaranty?"..

                                 There were some subsequent stories after the New York Times broke the story initially.
                                                                                                             initially..
                                                                                                             initially

                           Iittl~ over a week later, in a debate, Jerry
                         A little                                 Jell)' Brown, another candidate for the Democratic

                                                  referring to a news artiCle,
                         presidential nomination, refening            article, 81:cused
                                                                               accused Clinton of "funneling money to his
                                                                               aJ:cused

                         wife's law finn."
                                    firm."                                Clinton. stating, "You ought to be ashamed for
                                    firm." Clinton strongly defended Mrs. Clilnton,
                                                                          Clinton,

                         jwnping on my wife. You're not worth being on the same platform
                         jumping                                                platfonn with my wife." ,

                                The next day.
                                         day, March 16.                                           b~ a lawyer if you don't
                                                                                                  ~
                                                    16, 1992, Mrs. Clinton stated that "you can't be

                                   banks",., and made her widely publicized "I suppose I could have stayed home and
                         represent banks"

                         baked cookies and had teas" comment. Clinton won several key primaries that week; and for the
          ..,".-."
              ' - '.


                         most part the stories and inquiries about Whitewater and
                                                                              Ilnd Madison faded away.
                                                                              lind

                                Actions were taken within the campaign and Rose Law Finn
                                                                                    Firm later in 1992.
                                                                                                  1992, including

                         duringg the transition period after the President was elc:cted,
                         durin"                                                ell:cted, bearing on "the Rose Law FirmlMrs.
                                                                               elected,                           FirmlMrs.
                                                                                                                  FinnlMrs.
                                                                                                                  FinnfMrs.

                         Clinton representation of Madison" issue.
                                                            issue . This included the comprehensive review and removal

                         of cenain
                            certain Rose Law Finn                             Hu~beLl and Vincent Foster, Jr.
                                                                              Hub.bell
                                             Firm files, and involved Webster Hubbell                     Jr. Foster

                                                                         Whitf:
                         joined the President's administration as Deputy Whiu:
                                                                         Whitt:
                                                                         White House Counsel. Hubbell was assigned to

                                           Justice . He began with the title of Special Assistant to the Attorney
                         the Department of Justice.                                                      Anomey General.

                                                                        confirmed as Associate Attorney
                         He then was nominated by President Clinton and confumed
                                                                        confinned              Anomey General.
                                                                                                        Genera1..
                                                                                                        General

                                E.
                                E.     RIC Criminal Referrals
                                       RIC

                                The RTC
                                    RIC sent criminal investigators to Linle
                                                                       Little Rock in April 1992, and on or about

                                   I, 1992, ~e
                         September 1,           RTC sent to the FBI and the U~S.
                                            the RIC                         U$. Attorney                 crimina]
                                                                                 Anomey in Little Rock a criminal

                                                                        188
                                                                        J88

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          -- '.',
          '-
          ' ~' .

                                            Madison. naming Jim and McDougal as a suspects, and the Clintons as
                       referral relating to Madison,

                                 This referral, designated C-0004, primarily focused on overdrafts on the Whitewater
                      wimesses . lhis
                      witnesses.

                      Development bank account at Madison, and the .utili~:ation
                                                                   ·-utilization
                                                                   .utili~2tion
                                                                     utili~2tion of various other McDougal-controlled


                                                       th~ Whitewater account.
                      accounts at Madison to replenish the                     .[This
                                                                      acoount. [fhis                      C~0004,
                                                                               [This referral, designated C·0004.
                                                                                                          C-0004,

                      languished until September 1993. The handling of this and later referrals was the subject of our
                                                                                                                   OUT


                      "DOl
                      liDO] Handling of Referrals" investigation.]

                              In late September 1993 the RTC's Kansas Ci~y
                                                         RTC's                    sent nine additional
                                                                      City office sent      additiona1 criminal

                      referrals concerning Madison to the RTC in Washing~on.
                                                                 WashiDg~on.             ~d
                                                                                         an,
                                                                                           d other investigators
                                                                 Washington. [Jean Lewis and

                      had begun work on these in Arkansas in late May, 1993J.
                                                                       1993}.
                                                                       1993). After scrutiny by the Washington

                      RTC, these9
                           these.9 referrals were sent to the U.S.                                    ~tober 8.1993.
                                                              U,S. Attorney and FBI in Little Rock on October 8, 1993.

                              All of the nine new referrals involved Madiso·n                   lUn McDougal as a
                                                                     Madison Guaranty and named Jim
                                                                     Madiso'fi
          ..-.-.
             - ..
                      suspect. Four of these criminal referrals related to th.e
                                                                           the
                                                                           thle Castle GrandelIDC
                                                                                       GrandenDC property and related

                                selloffs, or made reference to Governor Clinton:
                      loans and selloffs.

                             · CR-0190             . $260,000         Jim Guy Tucker on 10-25-85 [34 acres acquired
                                                     S260,OOO loan to lim
                                                   . from IDC by MFCJ-
                                                                 MFC].
                               CR-0192
                             · CR-OI92               $30,000 Whitewater check to McDougal on
                                                     S30,OOO                                        00 .4·19·85
                                                                                                       .4-19-85,, endorsed to
                                                                                                       .4·19-85.
                                                                                                       .4·19·85.
                                                     Earth Movers,
                                                           Movers. Inc.
                                                                     Inc .•, whose principal was lW.
                                                                     Inc.,                          J.W. Fulbright; with MFC
                                                   . resolution to pay McDougal
                                                                       McDougal.      a $30,000 bonus. [Both Bill and
                                                     Hillary Clinton are list(~
                                                                            Iist(~                       referraJ]; and another
                                                                            listed as witnesses in this referral];
                                                     check for $20 ,000 on 5-20-85 to J.W.
                                                               $20,000                    l .W.  F~lbright.
                                                                                            .W . Fulbright.
                             · CR-0195               Madi5:0n
                                                     Madison Financial Corporation
                                                     Madispn
                               CR-OI96
                             · CR-0196               Loan to Peacock; Bill Clinton Political Comminee
                                                                                                  Committee Fund

                             The other referrals related to McDougal, but not directly to the Castle GrandelIDC

                                                                           I~ferrals beginning in late September,
                      property. There were media inquiries relative to the referrals                   September. and

                                            1993 . The first
                      during all of October 1993.      ftrst public story on these referrals appeared in the Washington

                      Post on Sunday,         31, 1993.
                              Sunday. October 31,1993.

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                          F.
                          F.          Referral CR-0196
                                  RIC ReferraJ

                          One ofthe
                              of the .RTC          referrals (CR-0196) [dated August 18, 1993;
                                     .RIC criminal referials                             1993 ; and signed out of

                  ·the RTC in Kansas
                              KansasCity
                                     City on 9.i4-93j named as suspects
                                             9-24-93) !WIled   susp;,t:ts Jim McDougal, Charles Peacock III, and

                                   Political Committee Fund.'
                  the Bill Clinton Politica1
                                   Politicw            Fund .'

                                                                      having made two loans to Charles Peacock
                          This referral contains reference to Madison luwing
                                                                      lUlving

                  III, a Madison director. The referra1                  of the proceeds of these loans were diverted
                                               referral stated that part clfthe
                                                                         c.fthe

                  to the benefit of McDougal -:- some for a down payment on the 145th Street property [IDC/Castle
                                 ofMcDougal
                                    McDougal-

                  Grande], and some for
                                    forthe
                                        the .Clinton camprugn.
                                            ,Clinton campaign.

                          The narrative of the suspected violation discusses the April 4.
                                                                                       4, 1985 fundraiser for

                  Governor Clinton held at Madison Guaranty.
                  Gdvernor                         Guaranty, where a.
                                                                   a.a number of persons inside and affiliated


          -.
          '-"
                       Madison

                  on·$12,000
                  on
                            on contributed money to help the
                  with MadisOn
                       Madis'                            fhe

                     $12,000 in contributions made by McDougal,
                                                                                               de~t. It focused
                                                         Ute governor retire his 1984 campaign debt.   I




                                                                   others. at or about the time loans from
                                                      McDougal. or others,

                  MGSL or other transactions involving MGSL took place.      tota1 amount raised for the
                                                                 place. [The total

                                                              approximately $33,000.]
                  campaign as a result of this fundraiser was approximutely
                                                              approxinmtely $33.000.]

                          Referral CR-O
                                   CR·Q 196 made reference to the Whitewater Development Company account at
                                   CR-0196

                                                                    cc'nsisting of Jim & Susan McDougal, and
                  Madison, identifying Whitewater as "a partnership cClnsisting
                                                                    consisting

                                                                       rc~fem:d back to criminal referral C-0004 .
                                                                       rc~ferred
                                                    (pp:7-8).. It also referred
                  Bill and Hillary Rodham Clinton." (pp.7-8).
                                                    (pp.7-8)

                  submitted a year earlier involving the Whitewater Development Company,
                                                                                Company. which
                                                                                           . had not
                                                                                                  . been

                        .on.
                  acted .on.

                               referial also stated that during the same April 1985 time frame in which the'fund
                          This referral                                                                 the fund
                                                                                                        the

                             held. Hillary Clinton of the Rose Law Fiml
                  raiser was held,                                                    co~l to Madison
                                                                   Firm was acting as c01fI1SCl
                                                                                      co1fI1sc1 MadisOn in

                  representations to the AR Se~urities
                                            Securities Department.
                                                       Deparunent. According to the referral, "Ms. Clinton was
                                                                                    refena!, "Ms.
                                                                                    refenal,

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          ' - - ."
                                                                               issue~
                           soliciting approval for the thrift to authorize and issue:
                                                                               issue a class of preferred stock, which would
                                                                               issue:                                  wouJd

                           provide badly needed capital for the thrift ...
                                                                       .. . The thrift
                                                                                Uui:ft was significantly below the required

                           FHLBB capitalization limits."

                                   The' referral states that this was not the amy
                                   The referral                               only time
                                                                                   tune that McDougal or John Latham

                                                   s~cific
                                                   specific legal assistance in addressing sensitive thrift issues (attaching
                                         Clinton'S spe;cific
                           requested Ms. Clinton's                                                                 (anaching
                      ,<
                           exhibits), rather than utilizing John 'Selig        Mitchell finn, who served as general counsel
                                                                  Selig of the Mitch.ell                            counseJ to

                           MGS&L.

                                  The referraJpointed           attached certain documents relative to communications
                                      referral .pointed out and attached.                              conununications
                                    .                                                                .
                           between Hillary Clinton and Beverly Bassett. ]t
                                                                        It pointed out that Ms. Bassett had previously been

                           with the Mitchell firm and had done                    Tu~ker of that finn
                                                                          Jim Guy Tucker
                                                          d.one a memo to lim                    fiim on Madison issues.
                                                contained a chronology of events, including the 4-4-85 fundraiser,
                                  This referral c<?ntained                                             fundraiser, a 4-30-85
          -.
                                                                     55~~ 14-85Ietter
                                                                          14-85 letter from Bassett to Mrs. Clinton, a 5-23-85
                           letter from Hillary Clinton to Bassett, a 5-14-85

                           letter from Mrs. Clinton to McDougal, and two August 85 Madison memos mentioning Mrs.

                           Clinton and moving the home office of Madison. AIr.lOng
                                                                          Among the suggested investigative steps in
                                                                          AInong

                           this criminal referral were:

                                          ·. further investigation into the alleged diversion of the Peacock down  do"Wll payment to
                                          Jim McDougal for use in the Castle'
                                                                           Castle Grande transaction            .
                                          .8                                             ac~ount activity in the Bill Clinton
                                           · a review of the source of deposits and accoWlt
                                                                                         ac90Wlt
                                          Political Committee Account records 21t
                                          PoliticaJ                                  at the Bank of Cherry
                                                                                     211               Cheny Valley
                                          ·. further investigation into the possible. conflict
                                                                                        Q,onflict
                                                                                        "            interest
                                                                                                  ofintcrest
                                                                                                  of          Bimini'
                                                                                                              re2ardin2
                                                                                                              BewiDK Hillary
                                                                                                              Biwini'
                                          Clinton represeotio2        busjness Pam1er's
                                                    represeptin2 her business   panner's
                                                                                parlIler's                               a&ency
                                                                                                                         aeency
                                                                                partner's thrift before another state a2epcy
                                                                                                                         aKency
                                                                                               appointee', designated by her
                                          whose department supervisor was a political appointee',
                                                                                               appointcc'
                                          husband.                                                 .

                           Witnesses listed in this referral are:
                                                             are: Ken Peacock, J.W. Fulbright, Patricia Heritage, Beverly

                           J,3assett Schaffer, and-Hillary
                           aassen
                           :t3assen
                           J,3assen            and Hillary Rodham Clinton .
          .
          ~




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          ..--."
                                                                                               ¢.at persons at the
                               Investigations, both ours and those of Congress, have disclosed that

                        Treasury Department alerted persons at the White House about the RTC criminal referrals shortly

                                                    Washington in late September 1993. The Clintons'
                        after they were received in Washingtop                             Clioloos' friend Roger

                        Altman was the Assistant Secretary of the Treasury,
                        AltmWl                                    Treasury. :and
                                                                            and acting head of the RTC. Altman

                                                                                                             ~fforts to
                        ultimately recused himself, in February 1994, after much scrutiny and Administration efforts

                        "keep him" as head of the RTC.
                                                  RTC.

                              [The extensive investigation done by the Starr         swnmarized in the "White House-
                                                                       Star:r OIC is summarized
                                            •,•
                                              \

                       Treasury Contacts Memorandum
                                         Memorandum"" and in Part.
                                                               Part 11.6. 1['he
                                                                           The Fiske regulatory IC also conducted

                       extensive investigation ofWs
                                               of this matter.]

                             . G.      Events leadio2'
                                              leading
                                              leadi02 to Appointment oflndependeot
                                                         ApPOintment of Independent Counsel
                                                                     oflndependent  CQunsel

                              . On July
                                   JuJy 20, 1993, the FBI obtained a search Wafrant
                                   Ju1y                                     wainmt for the office of David Hale to seize
                                                                            waiTant
           .- - '.
           .~




                       certain
                       cenain records of CMS. The search was executed on July 21,1993.
                                      ofCMS.                                  21 , 1993. Foster committed suicide
                                                                              21,

                       on the afternoon of July 20,1993.
                                                20, 1993.

                                                         Little Rock indicted David Hale on September 23,
                               The federal grand jury in Linle                                        23. 1993. On the .

                       day of the indictment Hale made public stalements                    oDe loan
                                                              statements that he had issued one i,?an from his Small

                       Business IilVestment
                                Investment Company.
                                Iiwestment  Company, Capital             Services. to Susan
                                                             Management Services,
                                                     Capita] Management:              Sus'an McDougal at the behest

                       of then Governor Clinton,
                                        Clinton . .'

                                                    3,1993,
                               On or about November 3,                   of the publicity about the RTC criminal
                                                       1993, in the wake elf
                                                                         clrthe

                       referrals, the U.S.
                       referrals,     U.S. Attorney in Little Rock fonnally
                                                                   formally f(:cused
                                                                   fonnaJly recused
                                                                            r<:cused herself from the Hale prosecution,
                                                                            rt':cused

                       the investigation of the RTC Referrals on
                                                              OD MGSL, and other matters related to Madison and


                       Capital Management Services.

                                    Little Rock FBI had already iden1ified
                               [The Linle                                  a'S matters worthy of
                                                                identified as                 ofinvestigation         U.S.
                                                                                                 investigation to the U.S
                                                                                                                      U.S..

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          .-
          ' ''-''' -' .
                             Attorney's Office an S825.000
                             Attomey's            $825.000
                                                  $825,000 loan
                                                           Joan from Madison to Dean Paul, and related loans from David
                                                                                                                  Dav.id

                             Hale's company to others, including Susan McDougatl's
                                                                       McDougall's                 ·loan.
                                                                                                    loan. The "825 loan"
                                                                       McDougal's Master Marketing loan,

                             from MGSL to Paul was not in the 10 RTe
                                                                 RTC eriminal
                                                                     criminal referrals on MGSL].
                                                                                        onMGSL].

                                    Donald Mackay, afthe.Fraud
                                    DonaJd Mackay.    the .Fraud Section of the Department of Justice, aa career prosecutor,
                                                   of the.

                             was assigned responsibility for the pending Hale prosecution, and the investigation of Madison

                             and McDougal, including the R Te referrals.
                                                         RTC
                                                           TC referrals.

                                    In December 1993 and early January 1994, there
                                                                             tbere were calls for an Independent COWlSei.
                                                                                                                 COWlSe1.
                                                                                                                 COWlSel.

                             Between Christmas and New Years, the CHntons  attc~nded
                                                                  Clintons attc:nded
                                                                           attended a Razorback basketball game in

                             Fayetteville with Hubbell, Bruce Lindsey, Jim Blair
                                                                           Blair:and
                                                                                 ;and
                                                                                 and others.
                                                                                      others.

                                               II, 1994, over 30 subpoenas wer.~
                                    On January 11,                         wefl~          perSons and entities by Mackay .
                                                                           were issued to persons

                                                gr~djury.
                                                gr~djury
                            for the Little Rock grand jury.. Subpoena to the Rose:
                                                      jury.                  Rose~ Law Firm
                                                                             Rose      ;Finn
                                                                                       firm  and Rick Massey (of the Finn)
                                                                                       rinn arid
          ..,,-   ..

                                                       1~.
                                                       l~.
                            were served on January 12, 1994.

                                    On that same day, the President (who was on a trip in Russia)
                                                                                          R~ia) announced
                                                                                                  anno'u nced through a

                                                                          Ren~ to appoint a special prosecutor.
                            spokesman that he was asking Attorney General Reno                      prosecutor. The Rose

                                Firm subpoenas were withdrawn late that day.
                            Law Finn                                    day .

                                    On January 20, 1994, the Attorney
                                                             Anomey General appointed Bob Fiske as the regulatory

                            Independent Counsel. He was tasked with investigating whether any criminal viola~ion~ had
                                                                                                       viola~ions
                                                                                                       viola~io~
                                                                                              crimina] violations

                                                                                an<~ Mrs.
                            occurred relating to the relationships of President and
                                                                                an(!              an~ Jim McDougal with the
                                                                                     Mrs. Clinton and

                            Whitewater Development Company.
                                                   Company, Madison Guaranty, and Capital Management Services. He

                                                                                                             Te criminal
                                                                                                            RTe
                            thus took over the prosecution of David Hale, the investigation of the specific RTC

                                       and o~er
                            referrals, and· other Madison-related allegations.

          , ~,
          ~   .                     H.               Inyesti~ation
                                                     Inyesti~atiQD
                                           The Fiske InyeS1i2atjou
                                                     InyeSli23tjoD

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          ·,..,.-.. ...
                                     Shortly after the arrival ofBoh
                                                               of Bob Fiske in Little Rock there were reports in the media
                                                                                                                     media of the

                             shredding of documents at the Rose Law Finn. Thus, the first grand jury work by the Fiske

                                                                         allegations. In
                             investigation was relative to the shredding allegations.          1994. an additional Grand Jury
                                                                                      In March 1994,

                                                  Fiskc1i s investigation)
                             (dedicated solely to Fiske's
                                                  Fiske     investigati,
                                                            investigati.on) was empaneled to consider all matters within the

                                          off Mr. Fiske.
                            jurisdiction 'o

                                    Mr. Fiske took over the prosecution of Hale, .md                         'other
                                                                                 and began investigating the ·other
                                                                                                              other allegations

                                 referrals. Just prior to his scheduled trial, Hale pled guilty in March 1994, repeating his
                             and refeITals.

                                                                          implic~lting Jim
                            allegations concerning President Clinton, and implicating  lim McDougal, Susan McDougal, then

                                     Jim Guy Tucker, and others in transactions
                            Governor lim                           t:ransactions involving CMS
                                                                                           eMS and Madison.
                                                                                                   Madison .

                                      Arising out of the shredding investigation, the Ole
                                    .,Arising                                             leame~ of.
                                                                                      OIC learned o~. and began investigating,
                                                                                                  o~,           investigating.

                                                                        Attomc~y
                            possible crimes committed by then Associate Attomc:y                            fanner Rose
                                                                        Attorney General Webster Hubbell, a fonner
          ,"'-- .'.
                                Finn partner of Mrs. Clinton.
                            Law Firm                 qinton.

                                                         ~ut
                                                         ~  ut of' the investigation of the "core matters" including: the
                                    Other matters "arose t.?ut
                                                         out

                            allegations against Jim Guy Tucker and his business partners; Chris Wade; and The Perry

                            . County Bank.

                                              tcam also investigated the death of Deputy
                                    The Fiske team                                Dcputy White House Counsel Vincent

                            Foster Jr., and the possible removal of Whitewater and
                                                                               al1ld Madison-related documents
                                                                               arud                  docwnents from his

                            office in the wake of his death on July 20, 1993 . [See SectionII.5]
                                                                        1993.
                                                                    20,1993.        Section II.S]
                                                                                            II.5}

                                    The relationship of the Clintons with Madison.
                                                                          Madison, including Mrs. Clinton's representation of

                            Madison, was one of the subjects of the Fiske investigation.
                                                                          investi;gation.
                                                                          investi:gation. In furtherance of the  investigatio~
                                                                                                            the: investigation

                            Fiske issued grand jury subpoenas to President and Mrs. Clinton in May 1994 to produce in June '

          ..-               1994'any                                                          ~o Whitewater, Madison,
                            1994 any and all documents in their possession or control related to             Madison,

                                                                              194

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           -,
           -.
           '--"
                     ., Capital Management Services, and o.ther                             Firm was subpoenaed to
                                                         other named entities. The Rose Law Finn
                                                         o,ther

                     ., produce many docwnents
                                     documents including any and all documents related to the representation of

                      Madison by the Rose Law Firm and/or Hillary
                                              Finn andlor HilIary"Clinton.
                                                                  Clinton.

                             Mrs. Clinton held aa televised news conferenoe
                             Mrs.                                                    22. 1994, answering questions on
                                                                 conference on April 22,

                     a number of issues, and giving her explanation efhow
                       nwnberofissues,                              of how
                                                                       bow the Rose Law Firm
                                                                    afhow               Finn came to be retained by

                     Madison, and her role in the representation.     minimized her role in the MGSL representation,
                                                  representation. She min.imized

                     making statements which were not accurate.
                                                      accurate .

                             By June 1994 Hubbell, through his anomey.
                                                           rus attorney.                             records.
                                                               attorney, declined to produce further records.

                             I.
                             I,     The Starr InyestigatioD Be~iQS
                                              InyestieatiQO Begins
                                              Ipyesti2ation

                             After Ken Starr's appoinnnent on August S,
                                       starr's appointment           5, 1994, he built on the work of the Fiske team.
                                                                                                                team .

                    ., A team of2
                              of 2 agents, 6 financial analysts.
                                                       analysts, and an anomey
                                                                        attomey
                                                                        attorney was in place and investigating Hubbell.

                     They bec~e
                          becliI!le very familiar with the irmer
                                                           inner workings of the Rose Law Finn and with some of its

                                       stafr Hubbell pled guilty in December 1994 to one count of mail
                     key attorneys and staff.
                                       staff:                                                     mall fraud and

                     one count of tax evasion, relative
                                               reiative to his billing and e)(pense
                                                                           elCpense
                                                                           e>cpense                 Finn.
                                                                                                    Firm.
                                                                           expense practices at the Firm.

                             Certain of the Starr team previously dedicatee!                         pro~ution of
                                                                  dedicated to the investigation and prosecution

                     Hubbell for his criminal acts involving the Rose Law Finn, and its clients, then began looking
                                                                                                            lOOking at

                     Mrs. Clinton's role in the
                     Mrs.                         Ros~
                                                  Ro~                   of.Madlison;
                                                         representation of Madison; as well as the allegations that the
                                                                           Madlison;

                     business had first come to Rose through Governor Clinton's asking Jim McDougal to hire Hillary

                             Firm. Rick Massey, John Latham and oth~rs
                     and her Finn.                              others were interviewed in Feb-March
                                                                                           Feb·March 1995, prior

                     to Mrs. Clinton's interview on that subject on April 22, 1995.



                                                                                                             ,
          ,..-.-     Hubbell, who had agreed to cooperate, was questionc:d ~bout a number or issues, including the
                                                               questioned about

                                                                         195

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                 Rose Law Firm's
                          Finn's representation of Madison Guaranty, and the role of Mrs. Clinton in obtaining
                                                                                                     obtaini ng

                     busines~ and what work she performed for Madison.
                 the business

                        During the OIC lnvestigation
                                       investigation the Rose Law Finn, through
                                                                        tluough its attorneys and managing

                 partner Ron Clark, responded to subpoenas, including'records
                                                 subpoenas. including         retlec~ng what:work
                                                                      records reflecting what.·work Rose and

                 Mrs. Clinton performed for Madison in 1985 and 1986. Clark produced some fi1es1
                 Mrs.                                                                     files,1


                                     fOIA(b)     Rul~
                                     FOIA(b) 3 - Rule  EH~),
                                                 Rul e 6(e).
                                                       E;(e)  f~de[al RulE,s
                                                       6(e),, federal
                                                              Federal Rul es of
                                                                      RulE"              ProceduI~
                                                                             or Criminal Procedure
                                                                                         Pr ocedure




                ' - - - - - - - - - - - - - -________.....JJ'The o~y docwnent
                                                             The only             'The
                                                                      document relating
                                                                               relating to
                                                                                        to how
                                                                                           how .."
                ~------------------~
                 much work any Rose attorney performed
                                             perfonned for Madison was a 2-page
                                                                         2·page fee allocation recapitulation

                 (and related fee allocation documents):
                                             documents).

                        J.
                        J.     The
                               Ihe FDIC/RTC~QIG
                                   FDIC!RTC~QIG
                                   FDICIRIC-OIG Inyestigations
                                                Inyesth:atjoQS

                        In addition to the Ole investigation, both the ,FDIC
                                           OIC investigation.           FDIC and RIC
                                                                                 RTC conducted separate audits

                                                           Finn in the 1993-1996 time period. Both the RIC
                and investigations related to the Rose Law Firm                                        RTC

                and FDIC conducted audits of the Rose Law Finn relating to fees and expenses billed to those

                agencies, for work Rose did in representing the interests
                                                                in"terests of the government in civil actions
                                                                           cfthe
                                                                                                         ,
                                                                                                         t


                involving S&L's placed into conservatorships.

                        Both the RTC and the FDIC also conducted investigations into possible conflicts of

                interest of the Rose Law Firm
                                         Finn in representing the inte,rests
                                                                  interests of the goverrunent
                                                                                   government beginning in March

                1989 in Madison y,
                                y. Frost. The reports of the initia1
                                                             inilia1 investigalions by the FDIC Legal Division
                                                             initial investigations

                and the RTC-OCOCS                           1994;
                        RIC-OeOCs were released in February 1994; ~ey were publicized and received a lot
                                                            1994: They
                                                                  TI:tey

                                                                        Mrs. Clinto~
                of criticism. The names of Webb Hubbell, Seth Ward, and Mrs. Clinton were prominently

                mentioned in most of the media accounts. Webb Hubbell was interviewed by the FDIC Legal

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           ,"'-" "
                        Division on January 11, 1994.,
                                                1994,
                                                1994.. lying about the 85·86
                                                                       85-86     ~epresentation of MGSL.
                                                                       85~86 RLF representation    MOSL.

                               As a result of Congressional criticism, the Inspector Generals'
                                                                                     Generals·
                                                                                     Generals of the FDIC and the RTC

                        conducted more thorough investigations into the ~os;e    Finn conflicts allegations beginning
                                                                        Rose Law Firm

                           late February/early ~arch 1994.
                        in latc

                               The FDIC Inspector General obtained.     Mrs. Clinton an
                                                          obtained from Mrs.         an affidavit in September, 1994

                        concerning in part her role in representing Madison.
                                                                    Madison . ·She
                                                                              .she
                                                                              .She was also interviewed by two special

                        agents of the FDIC OIG
                                           DIG in November 1994.

                               Webb Hubbell was interviewed by the FDIC & RTC OIG agents on March 16,
                                                                                                  16. 1995 and

                       April 20,
                             20. 1995. Two days after Hubbell's RTC OIG interviews, Mrs.
                                                                                    Mrs. Clinton was interviewed in

                       an under oath deposition by the OIC at the Wliite
                                                                  WIllte House on April 22,
                                                                                        22, 1995. At the time the Ole
                                                                                                                  OIC
                                                                                                                  OIe

                       did not have copies of the Rose Law Firm bills to Madison, the backup billing memoranda, or

                       any of Mrs. Clinton's ·time
                                             -time sheets for work performed for Madison. 1b.is
                                             'time                                        'This
                                                                                          nus deposition was
                                                                                          This

                                                                                            grand jury,
                       conducted with an agreement that it would be read to the Little Rock grand jwy. and it was so
                                                                                                  jury.
                                                                                                  jwy,

                       read to the grand jury in May 1995.

                               On that same day the President was also deposed. He said that he could
                                                                                                coulq not remember

                       talking with Jim McDougal about Madison hiring Hillary Clinton and the Rose Firm.
                                                                                                   Firm. [The

                       campaign in 1992 had replied "no" to the question about whether Bill Clinton had visited

                                                                            the: Rose Law Finn.]
                       Madison and asked McDougal to have Hillary represent the           Firm.] He said that he

                       was not disputing Jim McDougal's account; he just couldn't remember.
                                                                                  remember.

                               A month later,
                                       later. in May 1995, both President and Mrs. Clinton provided
                                                                                           provided:written
                                                                                                    written answers

                       under oath to certain RTC Interrogatories related.
                       Wlder                                     related to 'Whitewater    Madison. Included were
                                                                            Whitewater and Madison.

          .-.-                  to                               represen~·tion
                       answers to questions about Mrs. Clinton's representation
                                                                 represenlfl'tion of Madison Guaranty.
                                                                                             Guaranty .

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         FOIA(b)
            I A(b) 3 - Rule
         FOIA(b)3
         FO            Rul e 6 (e)
                               (e),, Federal
                                     Fe de ral Rules
                                               Ru
                                               Rull es
                                                    e s of
                                                        o f Crim:inal
                                                            Criminnal
                                                            Crim:i    Procedure
                                                                   al Pro cedu r e
                                                                      Procedu


          , ~ ..
                                              K.      Little Rock Grand Jury
                                                      Linle             JUQ' - Oct,
                                                                               Oct.. Nov"
                                                                               Oct.  Nov .. Dec"
                                                                                     Nov"   Dec .. 1995

                    .,                                              1995, a number
                                              Beginning in October, 1995.   nwnber of present
                                                                                      pre:sent and former Rose Law Firm
                                                                                                                   Finn attorneys
                     ,
                                and support personnel, as well as Arkansas Securitie$            personnel. including 'Beverly
                                                                           Securities Department personnel,
                                                                           Securitie:;                                 Beverly

                         " Bassen            were questioned before the Little Rock grand jury.
                           Bassett Schaffer, were'Questioned                              jury, Additionally key persons

                          \'\ connected to the 1992 Clinton campaig'
                                                            campaignn were subpPl!:naed,
                                                            campaig'n      subpoenaed, including Jim Blair and Susan
                                                                           subpo-:::naed,
                           •.
                           '.


                                l;bomases,
                                l)tomases,
                                Thomases.
                                t:homases.


                                  ,
                                              In mid-November 1995 an agent assigned to \the ole located the Madison copies of
                                                                                        the OIC
                                   '.
                            ce~in
                            ce~.in Rose Law Firm
                                            Finn billing statements to Madison from the 1985-86 time frame.
                                                                                                     frame, Prior to that
                                        " '



                            time, ~e ole
                            time. tpe           ole
                                      OIC had questioned Rose attorneys (includmg
                                                                        (including Mrs. Clinton) advising them that no

                            billing ~.ocuments
                                    ~ocuments                                                     Ro~e attomeys(Clark,
                                    ~ocuments were available except the 2-page fee recap. Several Rose anomeys(Clark,
                                                                                                       attorneys(Clark.

                            Donov~'D were questioned before the grand jUlY
          -.                Donovan'[:J
                            Donovan'[::J                              jury in early December 1995 and were shown
                                                                      juJ}'

                            copies of some Rose bills to Madison. The Vinson & Elkins attorney representing the Rose Firm
                                                                                                                     Finn

                            stated that it was obvious the OIC now had billing records and requested that the OIC furnish the

                            Firm with a copy of same, since the Finn
                            Finn                                         nO copies of any billing records in its possession.
                                                                Firm had no                                      possession,
                                                                                                                 possession,

                            The
                            The'
                            The OIC declined to do so,
                                                   so.

                                              The Senate   Whit~water Committee began foc,using
                                                           Whlt~water                 focusing on Mrs.
                                                                                      foe,using   Mrs, Clinton's representation of

                            Madison on December I, 1995,
                                                   1995. Hubbell testified before the Committee on that date, and on
                                                                                                              and-on

                           December 18, 1995, Susan Thomases was questioned about what ~e 1992
                                    18. 1995.                                             199i campaign learned
                                                                                                        leamed

                           about HRC and MGSL
                                         MGSL..

                                                                           ole
                                                                         ole also focused on the Firm's prior representation of the
                                              In early December 1995 the Ole

                           McDOl~ga1-controlled
                           McDougaJ-controlied
                           McDougal-controlled               Bank of Kingston (renamed Madison Bank & Trust) during the early .,

          -,,-.,.           )J980's and litigation handled by the Rose Firm,
                            1980's                                           Thatt prior representation, and the failure of
                                                                       Firm. That

                                                                                      198
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                            ,.
                            I .


          -
          '~ "
                                                           bill"
                                                           bill".
                      McDougal to pay the outstanding "old bill"
                                                           bill",. was relevant     detennining the accuracy of what
                                                                       rele vant in determining

                      Mrs. Clinton had said about
                                            about-how          Firm came:
                                                  how the Rose Finn                           Guaranty.
                                                                    came to represent Madison Guaranty.
                                                                                              ,

                              On December 19, 1995, Webb Hubbell testified before the Little Rock grand jury,
                                                                                                        jury.

                      primarily about the work of Hillary Rodham Clinton for MOSL,
                                                                             MGSL,                 duri~g the 1992
                                                                             MGSL. and the actions during

                                                                RLF~MGSL records.
                      campaign to accumulate and review all the RLF·MGSL records .

                                          21,, 1995, the attorneys ,representing
                              On December 21                        representing the RTC in its civil investigation- sent
                                                                                                      investigation-sent

                                        theClintons'
                      to David Kendall, the
                      10                    Clintons' attorney, Supplemental Interrogatories concerning her work for

                      Ma~ison . This included questions about Seth Ward, the cross loans, and the "option
                      Madison.                                                                    ~option agreement."
                                                                                                          agreeme~t."


                                                                                       ~ option agreement" was that
                                                                                       ~option
                      The RTC had just learned from Rose that the computer code on the "option

                      ofHRe.
                      ofHRC.

                              L.     The RLF
                                         RLF Bjllioe
                                             Bjlline
                                             Bjllio2         arC Produced
                                             BilIin~ Records arc;


                             On January 5, 1996, David Kendall,                                Clinton.
                                                       Kendall. counsel for President and Mrs. Clinton,  ~otified the
                                                                                                         n,otified
                                                                                               Clinton • notified

                                       Ros~ Law Finn billing records, resJ?Onsive
                      OIC that certain Rose                                msive to an earlier grand jury subpoena,
                                                                      responsive
                                                                      respc

                                            Whit~ House by Carolyn Huber.
                                            Wh.it~
                      had been found at the White                                     same, releasing copies to
                                                                   Huber. He produced same,

                                                                                                                Mrs.
                                             day. He stated words to the effect that the records backed up what Mrs.
                      the media on that same day.

                      Clinton
                      C linton had said all
                                        aU along about her role in the Madison
                                                                       Madis:on representation: .There is strong -'

                      disagreement, with that characterization
                      disagreement            characterization.
                                              characterization..

                             These records reflected that much more work was billed to Madison by Mrs.
                                                                                                  Mrs. Clinton than

                      was previously stated by her.                        d4~tai1 s of what she worked on and what she
                                                                           d4~tail
                                                                           d4~tails
                                               her. For the first time the details

                      billed Madison for in 1985 and 1986 was made know.
                                                                   know.J

                                                                   :0IMb)?
                                                                   FOIMb)?
                                                                   FOII'db)1
                                                                   FOIF.lb ) 7 -   Ie)
                                                                                   (C)




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                          These Rose billing records disclosed work billed by her to Madison on the IDe
                                                                                                    IDe maner
                                                                                                    IDC matter

                                                                 institution. Especially revealing were
                 . during a period of fraudulent activity at the institution.                                J 4 entries
                                                                                                   were: her 14

                  mentioning Seth Ward, including her
                                                  be:r work on issues relating to the utility.IDC sold to Ward and

                  which was later sold to Jim Guy Tucker and Castle Sewer & Water; and preparation of the May

                  I, 1986 option agreement,
                  1,                        w~ch regulators woUld
                                 agreement. which           wo'
                                                            w6uld
                                                               uld say misled them during their.
                                                                                          their 1986

                  examination of Madison.
                                 Madison.

                         These particular records were covered by and should have been produced pursuant
                                                                                                pW'Suant to the

                 Fiske grand jury subpoena in June 1994. In light of
                                                                  of the 18 month+ delay in production, and in
                                                                                                            in.

                 light of all the facts and circumstances, an investigation was conducted by this office as to the

                 . RLF billing records. There were interviews of almost all persons who were in the White House

                 residence during relevant periods.
                                           periods.

                                                               Clinto08. bad
                         Mrs. Huber, a long time friend of the Clintons,
                                                               Clinlo08. had served in Arkansas as Governor's

                 Mansion administrator and also as office manager of the Rose Law Firm. She said that in

                 August 1995 she found the records in the book room on the 3rd floor of the White House
                                                      the'book

                 residence. This was adjacent to a room being utilized as an office by Mrs.
                 residence.                                                            Mrs. Clinton in part to

                 mite
                 write her book. Huber has testified that she removed these to her White House office not

                 realizing what they were until January 1996. [See the memo on the "Rose Law Firm billing
                                                                                                  hilling

                          investigation. and Section 11.7.]
                 records" investigation,             II.7.]]
                                                     II.?

                         The book room where Huber says she found the billing records was a short
                                                                                            shon distance away
                                                                                            shan

                 from a closet, where documents found in Vince Foster's office on July 22, 1993, had been placed

                 pending transfer to the Clintons' personal attorney.
                                                             nomey. This, of course, raised the question of
                                                            a.
                                                            attorney.

          ,-
          .-     whether the "missing billing records"
                                              records" had been in Foster's office at the time ofms
                                                                                               afms
                                                                                               of his death in July

                                                                   200

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                         20, 1993 and removed by 'White Howe employees.
                                                  White House                                Mrs, Clinton,
                                                              employees, The fingerprints of Mrs. Clinton, Vince

                         Foster, and others were  fOWld on the set of billing records found
                                            were: found                               fOWld in the White House and

                                         Ole in January 1996.
                         produced to the OIC

                                [The "Foster Documents" memo covers the events of the night of Foster's death on July

                         20 including: the possible removal of records that night and the next morning, the "search" by

                        Bernard Nwsbaum              the'taking of "Whitewater" documents to the residence, etc.]
                                                     the·taking
                                Nussbaum on July 22; the-taking

                                Mrs.                                                       Jury
                                Mrs, Clinton was questioned before the Washington grand Jury on January 26,1996
                                                                                                        26, 1996 on

                        the'
                        the·
                        the  subject of how the Rose billing records came to be located in the White House. She testified
                        the'subject
                                  .
                                  •
                                                                  there. She •
                                 ~ld not know how the records got there.
                        that she did                              there,
                                                                              ,
                                                                             acknowledged that the records were
                                                                             kknowledged

                                                 ole subpoena issued some 18 months previously. She was not
                        rcsJX?nsive to the prior OIC
                        responsive

                        questioned that day on her substantive work for Madison.
                                                                        Madison. She did identify a 2-page statement
             .----.
                        prepared at her direction during the 1992 campaign on the subject of her's and Rose's
                                                             1992·campaign
                                                             1992'campaign
                                                             1992"campaign

                        representation of Madison in "1985
                                                     '1985 and 1986.
                                                     ·1985

                                Within a month of her grand jury
                                                            jwy appearance -she was questioned about the substance of

                        her work for Madison On February 14, 1996, she answered the questions of
                                                                                              of the RTC's outside

                        counsel in a transcribed interview, which was not under oath,
                                                                                oath.
                                                                                oath.

                                M.         McDou~aJs's and Tucker
                                           McDou2als's
                                       The McDou2aJs'S
                                           McDoUiaIs'S

                                The McDougals and Jim Guy Tucker were indicted in Little Rock on August 17, 1995.

                             Were charged primarily with events relating to both Madison and eMS loans occurring in
                        They were

                                    1985·-• April 1986 time ~e
                        the October 1985                                                                       Sale of
                                                            frame.. . They were convicted on May 28, 1996. The Sale
                                                            frame.

                        the sewer and water system at IDC/Castle
                                                      IDe/Castle Grande to Tucker's company on February 28, 1986

            .-
        ", ".-,-        was the subject of some of the charges that were tried.
                                                                         tried;
                                                                         tried; The evidence aduced included: Madison

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          .- .                                                                       eMS loans to Castle Sewer
                   loans on February 28, 1986 to Dean Paul and Castle Sewer & Water; CMS

                   & Water, and Susan McDougal d/b/a!
                                               d/b/aJ Master Marketing, and others.
                                                                            others.

                           President CHnton
                                     Clinton testified as a defense witness at the trial. On cross examination he

                   stated that he
                               be could not remember whether he talked to Jim McDougal about Madison hiring

                   Mrs. Clinton
                        CIiJ:lton and the Rose Law Finn.
                                                   Firm.

                           Jim McDougal entered a cooperation agreement with the ole
                                                                                 OIC in August 1996. At the

                   outset McDougal stated that some of the testimony of the President at his trial was at variance

                   with the truth. In addition to shedding light on the President's role with Madison, Whitewater,
                                                                                                       Whltewater,

                   and David Hale's loan to Susan McDougal, Jim McDougal told of
                                                                              oCHiIlary
                                                                                 Hillary Clinton's hiring al
                                                                                                          at the

                    Governor's behest, and the
                   ·Governor's
                   'Governors                                   Madison~ He also shed light on the role of Webb
                                                                Madisom
                                           the work she did for Madison,

                   Hubbell and his father in law Seth Ward, as it related to the ,Rose
                                                                                  Rose work for Madison.

                          Susan McDougal refused to cooperate, and defied a September 1996 Court Order to give

                   testimony to the grand jury.
                                          jury. She was jailed for civil contempt September 1996·
                                                                                            1996 - March 1998.

                          N.
                          N.      Obstruction ofth,      AdminisuatioD
                                                         Admioisuatioo
                                                         Adminisuatioo of Justice. False Swemepts
                                              of the Due Administration                  Statements and
                                  Testimony

                          Most oCthe
                               of the Arkansas substantive events occun:ed
                               of                                 occurred over 10 years ago. For example.
                                                                  occurr:ed                       example, Jim :

                   McDougal was out of the Madison
                                           Ma4ison management as of July 15, 1986.
                                           Ma4isoD
                                           Ma4isoo                           1986, He was indicted as a result

                       this investigation on August 17, 1995, at a time when the statute of
                   oft.h.is
                   oft.h..is
                   of                                                                       limitations had not yet
                                                                                         oflimitations          y et run

                   on his acts in late 1985, and in 1986. He began cooperating in August 1996, at a time when

                   most, if not all.
                   most,             ofth~
                                all, of the possible substantive criminal            invoJving Madison were over 10
                                                                 crimina] violations involving                   J0

                   years old.

                          Bob Fiske was appointed on January 20, 1994, at a time when there appeared to be time



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          -.
          -.         to fully investigate possible criminal violations occuning
                                                                       occurring in Arkansas, especially during the

                     1985-86 time period. But delays in finding the truth, be that from recalcitrant or perjurious

                    . witnesses, concealment or destruction of docwnents.
                                                               documents,
                                                               docwnents, and the time it took to develop cooperating

                     witnesses, has cawed
                                    caused the statute of limitations to run on the underlying transactions in 1985 and .
                                                       oflimitations

                     1986.

                             o..
                             O.
                             O           Linle ROck Grand Jury
                                     The Little                 EQU2aneled May]
                                                          J\1O' Empaneled      ] 996
                                                                           May 1996




                               Whitewater-dedicat~d grand jury in.Little Rock expired on march 23, 1996, during the
                     The first Whitewater-dedicated

                        v. McDougal, Tucker, and McDougal trial
                     US v.                                trial.. Another grand jury (solely dedicated to

                     Whitewater-Madison) was empaneled
                                             emparteled in Linle
                                                           Little Rock on May 7.
                                                                              7, 1996. Supervisory Special


          -.                                                            sununarizing the investigation from its
                    Agent Steve Irons was the first witness before them summarizing

                     inception to that point.

                                itS early months, the grand jjury
                             In its                           ury heard from witnesses regarding matters related to the

                    Clintons on the Whitewater investment and matters related to the "825 trial."    This
                                                                                          trial. It lbis
                                                                                                    This included

                    vie~ng                       Pre~ident' s trial testimony given at the White House on April 28,
                                                 Pre~ident's
                                          of the President's
                    viewing the videotape afthe

                     1996, and played by the defense at trial in May, 1996.

                             Beginning in late 1996 and early 1997 it heard extensive testimony regarding what was

                    publicly characterized as possible "hush                Webb Hubbell-
                                                       nhush money" paid to Webll Hubbell - at a time he was ·under
                                                                                                             'under

                    investigation in Little Rock and later while he was allegedly fully ~ooperating
                                                                                        cooperating with the   ole.
                                                                                                               Ole.

                    Most of the persons involved in the payments to Hubbell (which were in excess 0[$400,000
                                                                                                  ofS4oo,000
                                                                                                  ofS400,OOO

                    occurred between May and December 1994) were questioned before the Little Rock grand jury.

          .-.
          .-'
          ,-'
          ,-~ .     [See Section 11.8]

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                          The grand jury heard testimony from Jim McDougal on Apri123,
                                                                              April 23.
                                                                                    23, 1997 including

                                                   deals, Ward~
                   evidence about the Madison land deals.           ~1rs . Clinton.
                                                          Ward, and Mrs.   Clinton .

                          ·. In late July 1997,lim                         for.Lisa Foster (Moody), contacted the ole
                                          1997, Jim Hamilton, the attorney for                                    Ole

                   stating that Vince Foster's                    ~sco·vered
                                                                  ~sco'vered
                                      Fosler's widow had recently disco·vered
                                                                  discovered in the attic of her residence in Little
                                                                                                              Linle

                   Rock do~uments
                        documents which were responsive to previous grand jury subpoenas.
                                                                               subpoenas. This call from
                                                                               sUbpOenas.

                   Hamilton came                    ole
                            carne shortly after the OIC had issued its 110ng
                                                                       llong
                                                                       long
                                                                       Ilong awaited report
                                                                                     repon on the death of Vince

                   Foster, concluding that he died as a result of suicide in
                                                                          m Ft.
                                                                             Flo Marcy Park.
                                                                             Ft.

                          These
                            e se docwnents
                          Th.                                 Foster'!S daughter in a briefcase of
                                 documents were discovered by Foster's                             Vince Foster's in
                                                                                                ofVmce

                                   residen~e. They were delivered to the
                   the Little Rock residenc:;e.                           Ole after the attorney
                                                                     th.e OIC           anorney for the Rose Law

                   Firm, and the attorney for the Clintons we.
                   Finn,                                   were  allowed to examine the documents
                                                             fre allowed.               docwnents for possible
                                                                                                      Possible

                                         documents all appear to have been compiled in the 1992 Presidential
                   privilege claims. The docwnents

                   campaign. Among the more significant documents
                                                        docwnents were:

                   •      Another full                       Firm·- Madison billing
                                    fuJI set of the Rose Law Firm           hilling records. This was the only other
                          set of these records ever found or produce4        the .course of the Ole
                                                             produced during the.course         OIC investigation.

                   •      A copy of the "old bill," from the Rose Law lFinn
                                                                        Finn to the Bank of  Kingston marked "paid
                                                                                         oflGngston
                          10/23/
                          10/23/84."       docwnent was included in the set of the RLF·
                          J0/23/ 84." This document                                  RLF -• MGSL billing records.
                                                                                                         records .
                                                                        oduced by the attorney for Mrs. Clinton.
                                                                      produced
                          The "old bill" was not contained in the set pr,
                                                                      pmduced

                   •      A Memorandum prepared for Rick Massey dated in late March 1992. It set forth work
                          done by Massey for the ASD, but did not discuss how the MGSL business
                                                                                       busmess got to the Rose
                              Finn.
                          Law Firm.

                  •                    documents relative to work don.e
                          A number of docwnents                   done by Mrs.
                                                                          Mrs. Clinton or the Rose Law Firm on
                          behalf of Arkansas state agencies.
                                                   agencies...     '

                            disCussion of the "1992 Campaign" and the obtaining of the work by the Rose Finn,
                   [See the discussion                                                                  Finn.

                          II.4.]
                  Section 1l.4.]
                          11.4.]

          .~.                                      J997, the gnmdjury
                          Beginning in mid to late 1997,     grand jury heard extensive testimony concerning the

                                                                   204

NW:
NW : 15416 DocId:
           Docld: 7000
                  700015 85 Page 242
                  70001585
                       1585


                                                                  366
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          -   ....
                                                                           RTe. A number of
                       Rose Law Finn conflicts referrals from the FDIC and RTC.             Rose attorneys'
                                                                                         afRase
                                                                                         afRose  attorneys
                                                                                                 attorneys"

                       testified before the grand jury.
                                                  jury, including those with
                                                                        v.rith knowledge about HRC's work for MGSL.
                                                                                                              MOSL.

                               As in any criminal investigation any document concealed, or any misleading  or false
                                                                                               misleading-or
                                                                                               misleading'

                       statement, had the potential
                                          potentiaJ to delay, hinder,                          investiga~ion . Such
                                                              runder, impede, and obstruct our investigation.

                       appears to have actually happened in this investigation.
                                                                 investigation.

                                                                                         peJjury, false statements, and
                              There is, of course, a five year statute of limitations on perjury,

                       ,obstruction    justice. Thus, as of April 1998, any such statement or actions OCcurring
                        obstruction of justice.                                                       occurring since

                       April 1993 would still be actionable.
                                                 actionable.

                              Even though the substantive statute of limitations
                                                                     limi~tions may have ron,
                                                                                         run, the underlying events

                       occurring in 1985-1986 and before are still highly
                                                                   hlghly probative and relevant in determining whether

                             bas been actionable obstruction, perjury,
                       there has                                        or false statements. Thus, understanding and
                                                              peJjury, -or
          .--.
                       analyzing the events in Arkansas in that time period has been a continuous focus of the

                       investigation.




                                                                  FOIli,(b)
                                                                  FOIA  (b) 71, -
                                                                  FOIA(b)           (C)




          .-
          .--"
                                                                         205

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NW: 154
    154116 Doeld:
         6 DocId: 70001 585 Page 243
           Doc1d: 70001585       243


                                                                        367
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         - .,
         -"
                                                        FO I A(b)7 - re)
                                                        FOIA(bI7     (el




                                                           .............
                                                           •••••
                        Conclusion _. We look forward to our discussion on Monday.
                        Conclusion·-
                                   --                                      Monday, April 27th.




                                                                206

NW:
NW: 15416
    1541 6 DocId:
           Docld: 70001585
           Doc1d: 700015 85 Page 244


                                                             368
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 Judicial Watch v. Nat’l Archives & Records
 Admin.
 No. 1:15-cv-01740-RBW

 Defendant’s Combined Reply in Support of Its
 Motion for Summary Judgment and Opposition
 to Plaintiff’s Cross Motion for Summary
 Judgment

 Ex. A




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                           IN THE UNITED STATES DISTRlCT COURT
                               FOR THE DISTRlCT OF COLUMBIA


                                                       )
 mDICIAL WATCH, INC.,                                  )
                                                       )
   Plaintiff,                                          )
                                                       )
                      v.                               )      Civ. A. No. 15-CV-1740 (REW)
                                                       )
 NATIONAL ARCHIVES AND                                 )
 RECORDS ADMINISTRATION,                               )
                                                       )
    Defendant.                                         )
                                                       )


                   SECOND DECLARATION OF MARTHA WAGNER MURPHY

 I, Martha Wagner Murphy, hereby dedare as follows:

        1.       This is my second declaration in the above-referenced case. I have reviewed and

 have become familiar with Plaintiff s Memorandum of Points and Authorities in Opposition to

 Defendant's Motion for Summary Judgment and in Support of Plaintiffs Cross-Motion for

 Summary Judgment ("Plaintiffs Memo"). I submit this second declaration to supplement my

 February 1,2016 Declaration, and to strengthen my explanation ofthe analytical process that the

 National Archives and Records Administration ("NARA") engaged in when it reviewed the

 requested documents in accordance with the Freedom ofInformation Act ("ForA"), 5 U.S.C. §

 552.

        2.       The statements contained in this declaration are based upon my personal

 knowledge, upon information provided to me in my official capacity, and upon conclusions and

 determinations reached and made in accordance therewith.

        3.       When my staff receives a valid, perfected third-party ForA request for access to a

 box of records that a prior Independent Counsel ("IC") has marked as containing grand jury

                                                 -1-

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 material, NARA examines each individual record in the box to determine whether each

 document should be withheld pursuant to Exemption 3 (Fed. R. Crim. P. 6(e)). Thus, although

 the IC markings on boxes serve as a guide, they are not dispositive, and my staff does conduct an

independent review in order to make its own determinations as to whether the material does

 constitute grand jury information. For instance, in response to a 2005 FOIA request (not from

 Plaintiff) for access to a memorandum dated April 22, 1998 from "HRC Team" to "All orc

 Attorneys" ("Evidence Memorandum"), NARA examined that document and compared it to the

publicly released "Final Report of the Independent Counsel, In re Madison Guaranty Savings

and Loan Association" of January 5, 2001 ("Final Report"). When NARA examined the

Evidence Memorandum for possible release in response to that 2005 FOIA request, we

understood that it may contain non-grand jury material. Our examination, which included an

analysis ofthe factual and stylistic presentment in both documents, enabled us to draw important

distinctions between information in the Evidence Memorandum that had already been released to

the public in the Final Report, and that information in the Evidence Memorandum that was

considered grand jury information and should continue to be withheld. That approach was fully

consistent with NARA's long-standing practice oftaldng into consideration the overall context

of the material being requested, and in this example, resulted in a partial release of the Evidence

Memorandum with redactions for grand jury material (as well as other redactions).

        4.     Similarly, NARA followed the same approach when it responded to Plaintiffs

March 9, 2015 FOlA request for "[alll versions of indictments against Hillary Rodham Clinton

 ... " Again, we took into account the Final Report, and the redacted Evidence Memorandum

(which we had also released to Plaintiff a year earlier in partial response to their June 2014 FOlA

request). The Evidence Memorandum presented the IC's "best assessment of some of the



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 contrary evidence and theories likely to be presented by the defendants in the event an

 indictment is returned and a trial takes place, as well as evidentiary considerations." Plaintiff's

 Memo, Exhibit 3 (part I), p. 3. We also took into account the fact that when the IC issued the

 mandatory Final Report to the public, no draft indictments were included.

        5.      Both the partially-released Evidence Memorandum and the fully-released Final

 Report contrast with the drafts of the indictment at issue in this litigation in both purpose and

 form. Any indictment is a written accusation of a crime and is crafted for the specific purpose of

 persuading a grand jury to formally charge one or more individuals. These draft indictments

 reflect the net result of all of the evidence gathered throughout the grand jury investigatory

 process; they represent a compilation and distillation of all of the evidence gathered and

 presented before the grand jury up until the time the draft indictments were prepared. As a

 result, they are inextricably intertwined with the grand jury process and are not subject to

 segregation. NARA's practice is therefore to withhold, in its entirety, any draft indictment of a

 living person if no indictment is ever formally issued by the grand jury against that person.

        6.      If we are able to ascertain that an indictment has been issued by a grand jury, our

 practice is to release both the issued indictment as well as any of the underlying drafts, or at least

 those portions of drafts that are relevant to any charges that are ultimately brought. Our practice

 is also to release drafts, or portions thereof, if they contain information obtained separate and

 apart from the grand jury process, such as a separate prosecutorial investigation. Neither of

 those scenarios exists in this case for at least two reasons. First, as is evident in the Final Report,

 the Whitewater grand jury was never presented with an indictment of Secretary Clinton. Second,

 none of the drafts that we reviewed contained information that we determined had been obtained

 separate from the grand jury process. As a result, we withheld all the drafts of the indictments.



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 Accompanying fax cover pages, notes, and/or memoranda played no role in our decision to

 withhold the draft indictments in full; we consider these accompanying documents to be non-

 substantive, but withheld them since they were physically attached to - and an integral part of-

 the drafts.

         7.     Because a draft indictment is inextricably tied to the Grand Jury process, the

 development of the indictment, illuminated as each draft carefully refines the argument for

 charging the accused individuals, provides a roadmap to that process. Unlike the Evidence

 Memorandum, which NARA released in part, draft indictments that do not result in any further

 prosecutorial action are not capable of a similar segregability analysis without revealing the

 workings of the Grand Jury. Again, this has been NARA's practice reaching back many years,

 starting. with indictments drafted by the Watergate Special Prosecution Force during Watergate.

         8.     With respect to the significant privacy interests at stake in these documents, as

 noted in ~ 34 of my February 1,2016 Declaration, individuals who are never indicted, charged

 and convicted of any criminal wrongdoing retain a significant personal privacy interest with

 respect to draft indictments that were contemplated by the IC, discussed internally among IC

 staff, but ultimately never issued. Protecting against the disclosure of allegations of illegality

 that do not result in an indictment against a living person is among the most sensitive of privacy

 interests that NARA protects. NARA holds approximately 76,898 cubic feet of U.S. Department

 of Justice records, including those of the U.S. Attorneys' offices, and, approximately 17,537

 cubic feet of Federal Bureau of Investigation records. NARA staff routinely examines these

 records when access is requested to ensure that unsubstantiated and unproven allegations of

 criminal wrongdoing regarding living persons are not disclosed to the public.




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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.

        Executed this 18th day of April, 2016.




                                              MARTHA WAGNER MURPHY
                                              Chief, Special Access and FOIA Branch
                                              Research Services Division
                                              National Archives and Records Administration
                                              College Park, Maryland




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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
                             _____
                                   ) No. 1:15-cv-01740-RBW
 JUDICIAL WATCH, INC.              )
                                   )
                      Plaintiff,   )
                                   )
           v.                      )
                                   )
 NATIONAL ARCHIVES AND             )
 RECORDS ADMINISTRATION,           )
                                   )
                      Defendant. )
                             _____ )

    DEFENDANT’S RESPONSE TO PLAINTIFF’S STATEMENT UNDER LCvR 7(h)

        Defendant, the National Archives and Records Administration (NARA), hereby submits

 the following as its response to the numbered paragraphs of the statement under LCvR 7(h) filed

 by plaintiff, Judicial Watch, as part of ECF No. 12:

        1-6. These paragraphs quote or paraphrase the Final Report of the Independent Counsel

 In re Madison Guaranty Savings and Loan Association (Jan. 5, 2001) (Final Report). These

 paragraphs are undisputed insofar as they quote or paraphrase the Final Report accurately.

        7. Disputed. Five final reports were published by the independent counsel.

        8. This paragraph is plaintiff’s counsel’s subjective characterization of the final reports.

 See Decl. of Paul J. Orfanedes (Mar. 11, 2016) (Orfanedes Decl.), ECF No. 12-1, ¶ 2. This

 paragraph is therefore disputed.

        9. Undisputed that the final reports are available on the website of the Government

 Publishing Office. Plaintiff cites no authority other than the declaration of plaintiff’s counsel for

 the proposition that each of the final reports was approved for publication by the D.C. Circuit.

 The declaration of plaintiff’s counsel states that each report “appears” to have been approved for




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 publication by the D.C. Circuit. Orfanedes Decl. ¶ 2. The above proposition is therefore

 disputed.

        10-25. These paragraphs describe or quote the Final Report. The paragraphs are

 undisputed insofar as they describe or quote the Final Report accurately.

        26-28. Undisputed.

        29-30. These paragraphs are plaintiff’s counsel’s subjective characterization of the

 memorandum dated April 22, 1998, from “HRC Team” to “All OIC Attorneys” captioned

 “Summary of Evidence [redacted] Hillary Rodham Clinton and Webb Hubbell” (Evidence

 Mem.), ECF Nos. 12-3 to 12-7. See Orfanedes Decl. ¶ 7. These paragraphs are therefore

 disputed.

        31. This paragraph describes the Evidence Memorandum. The paragraph is undisputed

 insofar as it describes the Evidence Memorandum accurately.

        32. The statement that the Evidence Memorandum is “largely unredacted” is plaintiff’s

 counsel’s subjective characterization of the Evidence Memorandum. See Orfanedes Decl. ¶ 8.

 That statement is therefore disputed. It is undisputed that records purporting to be the records

 described in this paragraph are posted on plaintiff’s website.

        33. Undisputed that plaintiff did not pursue an administrative appeal. NARA cannot

 confirm the accuracy of the remainder of this paragraph.

        34-35. Undisputed.

        36. Disputed. A Google search on April 12, 2016, using the term “Starr Report” yielded

 75,200 results.

        37. Disputed. A Google search on April 12, 2016, using the term “Hillary Clinton draft

 indictment” yielded 433,000 results.



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        38. This paragraph characterizes certain press reports. See ECF No. 12-1 ¶ 11. The

 paragraph is undisputed insofar as it characterizes the press reports accurately.

                                               Respectfully submitted,

                                               BENJAMIN C. MIZER
                                               Principal Deputy Assistant Attorney General

                                               CHANNING D. PHILIPS
                                               United States Attorney

                                               ELIZABETH J. SHAPIRO
                                               Deputy Director

                                               s/ David M. Glass
                                               DAVID M. GLASS, DC Bar 544549
                                               Senior Trial Counsel
                                               Department of Justice, Civil Division
                                               20 Massachusetts Ave., N.W., Room 7200
                                               Washington, D.C. 20530-0001
                                               Tel: (202) 514-4469/Fax: (202) 616-8470
                                               E-mail: david.glass@usdoj.gov
 Dated: April 18, 2016                         Attorneys for Defendant




                                                  3


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                                EXHIBIT 1

                                     to

         Plaintiff’s Reply to Defendant’s Opposition to Plaintiff’s
                   Cross-Motion for Summary Judgment




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 JUDICIAL WATCH, INC.,               )
                                     )
                   Plaintiff,        )
                                     )               Civil Action No. 15-cv-1740 (RBW)
 v.                                  )
                                     )
 NATIONAL ARCHIVES AND               )
 RECORDS ADMINISTRATION,             )
                                     )
                   Defendant.        )
 ____________________________________)


                   SECOND DECLARATION OF PAUL J. ORFANEDES

        I, Paul J. Orfanedes, hereby declare as follows:

        1.      This is my second declaration in the above-captioned matter. I submit this second

 declaration to supplement my March 11, 2016 declaration and to provide further analysis of

 Chapter 3, Volume II, Part B of the January 5, 2001 Final Report of the Independent Counsel in

 In re Madison Guaranty Savings and Loan Association (“the Report”) and the 206-page

 memorandum, dated April 22, 1998, to “All OIC Attorneys,” from the “HRC Team” and bearing

 the subject line “Summary of Evidence: Hillary Rodham Clinton and Webb Hubbell”

 (“Evidence Memorandum”). A true and correct copy of Chapter 3 of the Report is attached as

 Exhibit 2 to Plaintiff’s Response to Defendant’s Statement of Material Facts Not in Dispute and

 Statement of Undisputed Material Facts in Support of Cross-Motion for Summary Judgment. A

 true and correct copy of the Evidence Memorandum is attached as Exhibit 3 to that same

 document.

        2.      In submitting my March 11, 2016 declaration, I prepared two charts identifying

 the various sources of information relied on, cited, and quoted in the Report and the Evidence




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 Memorandum, respectively. A true and correct copy of the chart I created for the Report is

 attached to my March 11, 2016 declaration as Exhibit A. A true and correct copy of the chart I

 created for the Evidence Memorandum is attached to my March 11, 2016 declaration as Exhibit

 B.

        3.      I subsequently compared the grand jury sources of information identified on the

 two charts to determine whether the Evidence Memorandum included grand jury testimony not

 included in the Report. Specifically, I identified those witnesses whose grand jury testimony was

 included in both the Report and the Evidence Memorandum – ten witnesses in total. (Two

 witnesses, Webster Hubbell and Rick Massey, had appeared before the grand jury on at least two

 occasions, and both the Report and the Evidence Memorandum included grand jury testimony

 from these different appearances.) For each grand jury witness’s testimony identified on both

 charts, I reviewed the pages of the Report and the pages of the Evidence Memorandum on which

 the witness’s grand jury testimony were included and noted the page numbers of the witness’s

 grand jury testimony. I then prepared a third chart, a true and correct copy of which is attached

 hereto as Exhibit C, comparing the page numbers of the witness’s grand jury testimony included

 in both the Report and Evidence Memorandum. The page numbers of each witness’s grand jury

 testimony that are included in the Evidence Memorandum, but are not included in the Report are

 bolded and italicized. For example, pages 12, 13, and 21-22 of Mr. Joe Giroir’s July 18, 1996

 grand jury testimony are included in the Evidence Memorandum, but are not included in the

 Report; pages 115-16 of Webster Hubbell’s August 22, 1996 grand jury testimony are included

 in the Evidence Memorandum, but are not included in the Report; pages 77-78, 105-06, and 114

 of James McDougal’s April 2, 1997 grand jury testimony are included in the Evidence




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 Memorandum, but are not included in the Report, etc. The results of my analysis are set forth

 fully in Exhibit C.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on

 May..,t , 2016 in Washington, O.C.




                                                     .Paul iOlfatides




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                               EXHIBIT C

                                     to

                  Second Declaration of Paul J. Orfanedes




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      COMPARISON OF APRIL 22, 1998 SUMMARY OF EVIDENCE MEMORANDUM AND
        JANUARY 5, 2001 FINAL REPORT – ADDITIONAL GRAND JURY MATERIAL
                    DISCLOSED IN THE EVIDENCE MEMORANDUM

          Page numbers of grand jury testimony made public by disclosure of the Summary of
 Evidence Memorandum and not previously made public by the Final Report, are bolded and
 italicized.

 1.      Joe Giroir – July 18, 1996 Grand Jury Testimony

         Memo:         Page Nos. 12, 13, 21-22, and 23-27.

         Report:       Page Nos. 23-27.

 2.      Sarah Handley – October 31, 1995 Grand Jury Testimony

         Memo:         Page No. 22.

         Report:       Page No. 22.

 3.      William Henley – June 18, 1996 Grand Jury Testimony

         Memo:         Page Nos. 7, 27, and 50.

         Report:       Page Nos. 24, 27, 30, 33-34, 46-47, and 50-51.

 4.      Webster Hubbell – December 19, 1995 Grand Jury Testimony

         Memo:         Page Nos. 91 and 187-88.

         Report:       Page Nos. 43-44, 46, 61-62, 67, and 177-78.

 5.      Webster Hubbell – August 22, 1996 Grand Jury Testimony

         Memo:         Page Nos. 115-16.

         Report:       Page Nos. 24, 35-36, 41-43, 49-50, 57-59, 60, 67, 79, 90, 93,

                       98, and 108




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 6.    Loretta Lynch – February 1, 1996 Grand Jury Testimony

       Memo:        Page Nos. 12, 16-17, 18, 19-20, 24-25, 37, 40, 41, 44, 45, 48-49,

                    51-52, 53, 55-56, 66, and 73-74.

       Report:      Page Nos. 9 and 10-11.

 7.    Rick Massey – November 7, 1995 Grand Jury Testimony

       Memo:        Page Nos. 21, 32, 33, 82, 84-85, 86, and 88.

       Report:      Page Nos. 5, 21-23, 32, 33-34, 43, 45, 82, 84-85, and 95-96.

 8.    Rick Massey – December 3, 1997 Grand Jury Testimony

       Memo:        Page Nos. 34-35, 40, 56, 59, and 60.

       Report:      Page Nos. 24, 25, 37-38, and 63-64.

 9.    James McDougal – April 2, 1997 Grand Jury Testimony

       Memo:        Page Nos. 77-78, 105-06, and 114.

       Report:      Page Nos. 97, 98, 99, 100, 103-04, and 108-09.

 10.   Rae Ann Moles – October 19, 1995 Grand Jury Testimony

       Memo:        Page Nos. 18, 19-20, 22, and 24.

       Report:      Page Nos. 18, 22, 24, and 26-27.

 11.   Susan Thomases – February 29, 1996 Grand Jury Testimony

       Memo:        Page Nos. 22-23, 34, 36, 44, 45, 47, 49, 53 56, 57-58, 60, 62-63,

                    and 67-68.

       Report:      Page Nos. 45.




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 12.    Seth Ward – January 17, 1996 Grand Jury Testimony

        Memo:           No page numbers identified, but, based on the material cited (Ward’s

 admissions of “all the factual predicates that make him a staw[man buyer]”), it appears to relate

 to a different subject matter than the materials cited in the Report.

        Report:         Page Nos. 31-32, 62, and 82-83.




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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
 ____________________________________
                                     )
 JUDICIAL WATCH, INC.,               )
                                     )
             Plaintiff,              )
                                     )
       v.                            )   Civil Action No. 15-1740 (RBW)
                                     )
 NATIONAL ARCHIVES AND               )
 RECORDS ADMINISTRATION,             )
                                     )
             Defendant.              )
 ____________________________________)

                                           ORDER

        In accordance with the Memorandum Opinion, issued on this same date, it is hereby

        ORDERED that the defendant National Archives and Records Administration’s Motion

 for Summary Judgment is GRANTED. It is further

        ORDERED that the plaintiff Judicial Watch, Inc.’s Cross-Motion for Summary

 Judgment is DENIED. It is further

        ORDERED that this case is CLOSED.

        SO ORDERED this 4th day of October, 2016.


                                                   REGGIE B. WALTON
                                                   United States District Judge




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                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


 ____________________________________
                                     )
 JUDICIAL WATCH, INC.,               )
                                     )
                   Plaintiff,        )
                                     )
       v.                            )                             Civil Action No. 15-1740 (RBW)
                                     )
 NATIONAL ARCHIVES AND               )
 RECORDS ADMINISTRATION,             )
                                     )
                   Defendant.        )
 ____________________________________)

                                            MEMORANDUM OPINION

         The plaintiff, Judicial Watch, Inc., filed this civil case, alleging that the defendant, the

 National Archives and Records Administration (“Archives”), violated the Freedom of

 Information Act (“FOIA”), 5 U.S.C. § 552 (2012), by improperly withholding records subject to

 disclosure under the FOIA. Complaint (“Compl.”) ¶¶ 10-12. Currently before the Court are the

 Defendant’s Motion for Summary Judgment (“Def.’s Mot.”), ECF No. 10, and the Plaintiff’s

 Cross-Motion for Summary Judgment (“Pl.’s Mot.”), ECF No. 13. After carefully considering

 all of the relevant submissions by the parties, the Court concludes for the following reasons that

 it must grant the defendant’s motion for summary judgment and deny the plaintiff’s cross-motion

 for summary judgment. 1


 1
  In addition to the filings already identified, the Court considered the following submissions in rendering its
 decision: (1) the defendant’s Memorandum in Support of Defendant’s Motion for Summary Judgment (“Def.’s
 Mem.”); (2) the Defendant’s Statement Under LCvR 7(h)(1) (“Def.’s Facts”); (3) the Plaintiff’s Opposition to
 Defendant’s Motion for Summary Judgment and Cross-Motion for Summary Judgment (“Pl.’s Opp’n”); (4) the
 Plaintiff’s Response to Defendant’s Statement of Material Facts Not in Dispute and Statement of Undisputed
 Material Facts in Support of Cross-motion for Summary Judgment (“Pl.’s Facts”); (5) the Defendant’s Combined
 Reply in Support of its Motion for Summary Judgment and Opposition to Plaintiff’s Cross-Motion for Summary
 Judgment (“Def.’s Resp.”); and (6) the Plaintiff’s Reply to Defendant’s Opposition to Plaintiff’s Cross-Motion for
 Summary Judgment (“Pl.’s Reply”).




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                                          I.   BACKGROUND

        In January 1994, Robert B. Fiske, Jr. was appointed as independent counsel by United

 States Attorney General Janet Reno, “to investigate allegations of criminal activity in connection

 with a defunct Arkansas thrift institution, the Madison Guaranty Savings & Loan Association

 (“Madison Guaranty”).” Pl.’s Facts ¶ 1. Among other matters, the independent counsel was

 tasked with investigating Hillary Clinton’s involvement with Madison Guaranty, as well as an

 Arkansas real estate venture named “Whitewater Development Company, Inc.,” and an

 investment company named “Capital Management Services.” Id. ¶ 4. In August of 1994,

 Kenneth Starr replaced Mr. Fiske as independent counsel. Id. ¶ 6. Five reports detailing the

 investigation were ultimately prepared by the independent counsel, id. ¶ 7, and are currently

 publicly available on the United States Government Publishing Office’s website, id. ¶ 9.

 Included in the reports is information gathered from numerous sources, including but not limited

 to, interviews, deposition testimony, grand jury testimony from twenty-one witnesses, and

 interrogatory responses. Id. ¶¶ 23-25.

        Specifically, one of the reports describes Mrs. Clinton’s legal representation of Madison

 Guaranty regarding “numerous criminal and other fraudulent acts” between April 1985 and July

 1986. Id. ¶¶ 10-13. During the course of the independent counsel’s investigation, Mrs. Clinton

 “made numerous statements and gave sworn testimony regarding her representation of Madison

 Guaranty,” id. ¶ 20, and the independent counsel investigated whether Mrs. Clinton “had

 committed perjury, made false statements, or obstructed justice during those investigations,” id. ¶

 21, ultimately concluding that “there was insufficient evidence to prove beyond a reasonable

 doubt that Mrs. Clinton had committed any federal criminal offense,” id. ¶ 22. Upon termination

 of the investigation by the independent counsel, federal law mandates that custody of the records




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 compiled by the independent counsel be transferred to the Archives, see 28 U.S.C. § 594(k)(1)

 (2000), which now maintains custody of the records of the “independent counsels who served

 under Title VI of the Ethics in Government Act of 1978,” Def.’s Facts ¶ 1, ECF No. 10-4.

 Included in the records are “drafts of a proposed indictment of Hillary Rodham Clinton.” Id. ¶ 4.

            By letter dated March 9, 2015, the plaintiff submitted a request to the Archives under the

 FOIA for the following records:

            All versions of indictments against Hillary Rodham Clinton, including, but not
            limited to, Versions 1, 2, and 3 in box 2250 of the Hickman Ewing[ 2] Attorney
            Files, the “HRC/_Draft Indictment” in box 2256 of the Hickman Ewing Attorney
            Files, as well as any [and] all versions written by Deputy Independent Counsel
            Hickman Ewing, Jr. prior to September of 1996.

 Id. ¶ 8. The Archives “responded to [the] plaintiff’s request by locating the two boxes of records

 of Mr. Starr and his successors,” both which contain drafts of proposed indictments of Mrs.

 Clinton, but no other responsive documents. Def.’s Mem. at 3. By letter dated March 19, 2015,

 the Archives advised the plaintiff that it “ha[d] examined the folders from Hickman Ewing’s

 attorney files that [the plaintiff] requested” and was withholding the folders entitled “Draft

 Indictment” from box 2250 and “Hillary Rodham Clinton/Webster L. Hubbell Draft Indictment”

 from box 2256 in full pursuant to Exemption (7)(C). Def.’s Mot., Exhibit (“Ex.”) C at 1.

            By letter dated May 14, 2015, the plaintiff appealed administratively the withholding of

 the above referenced records, see Compl. ¶ 7, and on October 20, 2015, the plaintiff commenced

 this action, requesting that the Court compel the Archives to comply with the FOIA and refrain

 from unlawfully withholding documents responsive to its FOIA request, see id. ¶ 11. The

 defendant now moves for summary judgment, asserting that it is entitled to judgment as a matter

 of law because the drafts of the proposed indictments are protected from disclosure under several



 2
     Hickman Ewing was a lawyer who worked as Kenneth Starr’s deputy in Little Rock, Arkansas. Def.’s Facts ¶ 9.




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 FOIA exemptions and Rule (6)(e) of the Federal Rules of Criminal Procedure (“Rule 6(e)”).

 Def.’s Mem. at 1. In addition to opposing the defendant’s motion for summary judgment, the

 plaintiff also cross moves for summary judgment, arguing that the defendant has not satisfied its

 burden of proving that FOIA exemptions are applicable to the withheld responsive documents

 and that Rule 6(e) does not apply to the Archives. Pl.’s Opp’n at 1, 9.

                                 II.    STANDARD OF REVIEW

        The Court must grant a motion for summary judgment “if the movant shows that there is

 no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

 law.” Fed. R. Civ. P. 56(a). When ruling on a motion for summary judgment, the Court must

 view the evidence in the light most favorable to the non-moving party. Holcomb v. Powell, 433

 F.3d 889, 895 (D.C. Cir. 2006) (citing Reeves v. Sanderson Plumbing Prods., 530 U.S. 133, 150

 (2000)). The Court must therefore draw “all justifiable inferences” in the non-moving party’s

 favor and accept the non-moving party’s evidence as true. Anderson v. Liberty Lobby, Inc., 477

 U.S. 242, 255 (1986). The non-moving party, however, cannot rely on “mere allegations or

 denials.” Burke v. Gould, 286 F.3d 513, 517 (D.C. Cir. 2002) (quoting Anderson, 477 U.S. at

 248). Thus, “[c]onclusory allegations unsupported by factual data will not create a triable issue

 of fact.” Pub. Citizen Health Research Grp. v. Food & Drug Admin., 185 F.3d 898, 908 (D.C.

 Cir. 1999) (alteration in original) (quoting Exxon Corp. v. Fed. Trade Comm’n, 663 F.2d 120,

 126-27 (D.C. Cir. 1980)). If the Court concludes that “the nonmoving party has failed to make a

 sufficient showing on an essential element of [its] case with respect to which [it] has the burden

 of proof,” then the moving party is entitled to summary judgment. Celotex Corp. v. Catrett, 477

 U.S. 317, 323 (1986). However, at bottom, “in ruling on cross-motions for summary judgment,

 the [C]ourt shall grant summary judgment only if one of the moving parties is entitled to




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 judgment as a matter of law upon material facts that are not genuinely disputed.” Shays v. Fed.

 Election Comm’n, 424 F. Supp. 2d 100, 109 (D.D.C. 2006) (citation omitted).

        FOIA cases are typically resolved on motions for summary judgment. Ortiz v. U.S.

 Dep’t of Justice, 67 F. Supp. 3d 109, 116 (D.D.C. 2014); Defenders of Wildlife v. U.S. Border

 Patrol, 623 F. Supp. 2d 83, 87 (D.D.C. 2009). “[The] FOIA requires federal agencies to disclose,

 upon request, broad classes of agency records unless the records are covered by the statute's

 exemptions.” Students Against Genocide v. Dep’t of State, 257 F.3d 828, 833 (D.C. Cir. 2001)

 (citation omitted). In a FOIA action, the defendant agency has “[the] burden of demonstrating

 that the withheld documents [requested by the FOIA requester] are exempt from disclosure.”

 Boyd v. Dep’t of Justice, 475 F.3d 381, 385 (D.C. Cir. 2007) (citation omitted). The Court will

 grant summary judgment to the government in a FOIA case only if the agency can prove “that it

 has fully discharged its obligations under the FOIA, after the underlying facts and the inferences

 to be drawn from them are construed in the light most favorable to the FOIA requester.” Friends

 of Blackwater v. Dep’t of Interior, 391 F. Supp. 2d 115, 119 (D.D.C. 2005) (quoting Greenberg

 v. U.S. Dep’t of Treasury, 10 F. Supp. 2d 3, 11 (D.D.C. 1998)). Thus, in a lawsuit brought to

 compel the production of documents under the FOIA, “an agency is entitled to summary

 judgment if no material facts are in dispute and if it demonstrates ‘that each document that falls

 within the class requested either has been produced . . . or is wholly[, or partially,] exempt [from

 disclosure].’” Students Against Genocide, 257 F.3d at 833 (quoting Goland v. Cent. Intelligence

 Agency, 607 F.2d 339, 352 (D.C. Cir. 1978)).

                                         III.   ANALYSIS

        The issue before the Court in this case is whether the defendant properly withheld the

 draft indictments pursuant to Exemptions 3, 6 and 7(C) of the FOIA and Rule 6(e). Congress




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 amended the FOIA resulting in its current content in 1966, with the objective of promoting “full

 agency disclosure.” See U.S. Dep’t of Justice v. Reporters Comm. for Freedom of Press, 489

 U.S. 749, 754 (1989). When an agency receives a request for records that reasonably describe

 such records, the agency must make those records available to the requester. See id. at 754-55.

 While there are nine expressly delineated exemptions from compelled disclosure, the dominant

 objective of the act is disclosure, not secrecy. See Dep’t of Air Force v. Rose, 425 U.S. 352,

 360-61 (1976). The Supreme Court has explained this basic purpose as providing a way for

 citizens to “know what their government is up to.” See Reporters Comm., 489 U.S. at 773.

 Thus, courts should narrowly construe the statutory exemptions when determining if records

 requested under the FOIA should be disclosed. See Rose, 425 U.S. at 361. 3

     A. FOIA Exemptions

                  1. Exemption 3

         Exemption 3 of the FOIA excludes from compelled disclosure matters that are

 “specifically exempted from disclosure by statute.” 5 U.S.C. § 552(b)(3). A statute satisfies

 Exemption 3 only if it “requires that the matters be withheld from the public in such a manner as

 to leave no discretion on the issue,” or “establishes particular criteria for withholding or refers to

 particular types of matters to be withheld.” Id. The plaintiff does not dispute that Rule 6(e),

 which prohibits disclosure of “matter[s] occurring before the grand jury,” Fed. R. Crim. P. 6(e),

 is considered a “statute” for purposes of Exemption 3. Pl.’s Opp’n at 9; see also Fund for Const.

 Gov’t v. Nat’l Archives & Records Serv., 656 F.2d 856, 867-68 (1981). Instead, the plaintiff

 3
  The plaintiff does not contest that the Archives satisfied the search requirements under the FOIA. Upon initially
 receiving a FOIA request, an agency must conduct an adequate search for responsive documents and can satisfy the
 threshold by “demonstrat[ing] beyond material doubt that its search was ‘reasonably calculated to uncover all
 relevant documents.’” See Boyd v. Exec. Office for U.S. Attorneys, 87 F. Supp. 3d 58, 70 (D.D.C. 2015) (citing
 cases). The FOIA request in this case specifically requested “[a]ll versions of indictments against Hillary Rodham
 Clinton,” and the draft indictments that were discovered are the subjects of this case. Compl. ¶ 5. Thus, the Court
 need not further discuss the adequacy of the search conducted by the Archives.




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 asserts that Rule 6(e) does not in itself apply to the Archives, nor is it applicable to the drafts of

 the proposed indictments because they do not fall within the purview of matters occurring before

 the grand jury and because the information in the drafts is sufficiently public to warrant

 disclosure. The Court will address each of the plaintiff’s arguments in turn.

                         a. The Applicability of Rule 6(e)

         Rule 6(e) specifies seven categories of persons that are bound by the Rule’s secrecy

 provision and expressly provides that “[n]o obligation of secrecy may be imposed on any person

 except in accordance with Rule 6(e)(2)(B).” Fed. R. Crim. P. 6(e)(2)(A). The seven categories

 of persons who “must not disclose a matter occurring before the grand jury” are: (i) a grand

 juror, (ii) an interpreter, (iii) a court reporter, (iv) an operator of a recording device, (v) a person

 who transcribes recorded testimony, (vi) an attorney for the government, or (vii) a person to

 whom disclosure is made under Rule 6(e)(3)(A)(ii) or (iii). Fed. R. Crim. P. 6(e)(2)(B). The

 plaintiff contends that because the Archives is not explicitly included in the delineated list, Rule

 6(e) secrecy “does not apply to the Archives.” Pl.’s Opp’n. at 9. The Court, however, is

 unpersuaded.

         The District of Columbia Circuit has held that an independent counsel is an attorney for

 the government, which is one of the seven categories, and thus, “is covered by Rule 6(e) and its

 bonds of secrecy.” In re North, 16 F.3d 1234, 1244 (D.C. Cir. 1994). Upon termination of the

 Office of Independent Counsel, the active independent counsel was obligated to transfer all

 records which had been created during its tenure to the Archivist of the United States

 (“Archivist”), 28 U.S.C. § 594(k)(1), and was to “clearly identify which of [those] records [were]

 subject to rule 6(e),” In re North, 16 F.3d at 1244 (quoting 28 U.S.C. § 594(k)(1)). Furthermore,

 the Archivist is “responsible for the custody, use, and withdrawal of records transferred to him.”




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 44 U.S.C. § 2108 (2012). A FOIA analysis of whether to disclose records that have been

 transferred to the Archives is conducted as if the records remain in the possession of the agency

 that created them. See Cause of Action v. Nat’l Archives & Records Admin., 753 F.3d 210, 216

 (D.C. Cir. 2014) (holding that transfer of possession to the Archives did not affect the

 document’s status under the FOIA because the Court was “confident that Congress did not intend

 to expose . . . material to FOIA simply because the material ha[d] been deposited with the

 Archives”); see also Fund for Const. Gov’t, 656 F.2d at 870 (allowing the withholding of the

 documents at issue even when custody of the documents had been transferred to the Archives).

 By its own language, the statute governing the Archives provides that the statutory restrictions

 applicable to an agency also transfer with the records being transferred to the Archives. See 44

 U.S.C. § 2108 (“When records, the use of which is subject to statutory limitations and

 restrictions, are so transferred, permissive and restrictive statutory provisions with respect to the

 examination and use of records applicable to the head of the agency from which the records were

 transferred or to employees of that agency are applicable to the Archivist and to the employees of

 the National Archives and Records Administration, respectively.”).

        Because Rule 6(e) applies to the independent counsel, see In re North, 16 F.3d at 1244,

 and the restrictive statutory provisions that apply to the independent counsel also apply to the

 Archivist under the express language of 44 U.S.C. § 2108, the Court finds that Rule 6(e) also

 applies to the Archives. Prior to the transfer of the draft indictments to the Archives, Rule 6(e)

 shielded the documents from potential disclosure because the rule extended to the independent

 counsel as an attorney for the government. And, just as in Cause of Action v. National Archives

 & Records Administration, 753 F.3d at 216, where the transfer of documents to the Archives did

 not affect their FOIA status, the fact that the draft indictments were transferred to the Archives




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 does not alter the Archives’ aptitude to protect the draft indictments from potential disclosure

 under Rule 6(e). Therefore, the Court finds that Rule 6(e) applies to the Archives.

                        b. The Protections Provided by Rule 6(e)

        The defendant contends that the drafts of the proposed indictments are protected from

 disclosure under Exemption 3 and Rule 6(e) because they “would tend to reveal the secret

 workings of the grand jury.” Def.’s Mem. at 8 (citing Boehm v. FBI, 948 F. Supp. 2d 9, 27

 (D.D.C. 2013)). The plaintiff responds that the Archives has failed to meet its burden of

 showing that the draft indictments constitute “matter[s] occurring before the grand jury,” Pl.’s

 Opp’n at 18, because it relies upon a declarant who “paints with far too broad of a brush,” id. at

 14, and presents “opaque and shifting, if not contradictory, testimony,” Pl.’s Reply at 9.

        Although Rule 6(e) prohibits disclosure of “matter[s] occurring before [a] grand jury,” it

 should not be read in a manner that creates “a veil of secrecy . . . over all matters occurring in the

 world that happen to be investigated by a grand jury.” Senate of P.R. ex rel. Judiciary Comm. v.

 U.S. Dep’t of Justice, 823 F.2d 574, 582 (D.C. Cir. 1987) (quoting SEC v. Dresser Indus., Inc.,

 628 F.2d 1368, 1382 (D.C. Cir. 1980) (en banc)). “There is no per se rule against disclosure of

 any and all information which has reached the grand jury chambers . . . .” Senate of P.R., 823

 F.2d at 582. Rather, “the touchstone is whether disclosure would ‘tend to reveal some secret

 aspect of the grand jury’s investigation,’” such as “the identities of witnesses or jurors, the

 substance of testimony, the strategy or direction of the investigation, the deliberations or

 questions of jurors and the like.” Id. And, there must be a “nexus between disclosure and

 revelation of a protected aspect of the grand jury’s investigation.” Lopez v. Dep’t of Justice, 393

 F.3d 1345, 1350 (D.C. Cir. 2005) (quoting Senate of P.R., 823 F.2d at 584).

        Furthermore, information such as the names of grand jury witnesses and a draft of a




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 grand jury indictment “tend to reveal the secret workings of the grand jury.” Boehm, 948 F.

 Supp. 2d at 27 (finding withholding of draft indictment appropriate under Exemption 3). So too

 does grand jury testimony. Boyd, 87 F. Supp. 3d at 83 (“[G]rand jury testimony is precisely the

 type of information that the provision is designed to protect.”). When determining whether to

 qualify withheld material as “grand jury” material, it is appropriate to rely on statements by the

 government’s declarant. See Davis v. U.S. Dep’t of Justice, 970 F. Supp. 2d 10, 17 (D.D.C.

 2013) (Walton, J.) (allowing withholding of documents based on declarant’s statements that

 revealing them would impermissibly reveal grand jury information).

        Here, the drafts of the proposed indictment sought by the plaintiff would likely tend to

 reveal the inner workings of the grand jury, just like the draft indictments in Boehm, 948 F.

 Supp. 2d at 27. The Archives has presented two declarations from Martha Wagner Murphy, the

 Chief of the Special Access and FOIA Branch, Research Services at the Archives, outlining the

 contents of the draft indictments. See Def.’s Mem., Ex. A (Declaration of Martha Wagner

 Murphy (“First Murphy Decl.”)) at 1, 8-12; Def.’s Response, Ex. A (Second Declaration of

 Martha Wagner Murphy (“Second Murphy Decl.”)) at 3-5. In her first declaration, Ms. Murphy

 explains that the drafts of the proposed indictment

        collectively reflect[] names and identifying information of individuals subpoenaed
        – or intended to be subpoenaed – to testify before the grand jury, as well as
        information identifying specific records subpoenaed during the grand jury
        process. They reflect and quote grand jury testimony, and reveal the inner
        workings and direction of the grand jury. . . . Similarly, the consideration of
        possible witnesses before the Grand Jury, and internal memoranda and notes
        about the strategy and considerations regarding possible indictments reveal the
        direction of the grand jury investigation.

 First Murphy Decl. ¶ 25. Consequently, Ms. Murphy concluded that disclosure of the drafts of

 the proposed indictment “would violate the secrecy of the grand jury proceedings by disclosing

 the inner workings of the federal grand jury that was tasked with considering these matters.” Id.




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 In her second declaration, which served as a supplement “to strengthen [her] explanation of the

 analytical process that the Archives engaged in when it reviewed the requested documents,” 4

 Second Murphy Decl. ¶ 1, Ms. Murphy added:

          Any indictment is a written accusation of a crime and is crafted for the specific
          purpose of persuading a grand jury to formally charge one or more individuals.
          These draft indictments reflect the net result of all of the evidence gathered
          throughout the grand jury investigatory process; they represent a compilation and
          distillation of all of the evidence gathered and presented before the grand jury up
          until the time the draft indictments were prepared. As a result, they are
          inextricably intertwined with the grand jury process . . . . [And] none of the drafts
          that we reviewed contained information that we determined had been obtained
          separate from the grand jury process.

 Id. ¶¶ 5-6. Thus, the drafts contain precisely the information that Rule 6(e) is intended to protect

 – information that “would tend to reveal some secret aspect of the grand jury’s investigation.”

 Senate of P.R., 823 F.2d at 582; see also Boehm, 948 F. Supp. 2d at 27; Boyd, 87 F. Supp. 3d at

 83. More importantly, “[b]ecause a draft indictment is inextricably tied to the Grand Jury

 process, the development of the indictment, illuminated as each draft carefully refines the

 argument for charging the accused individuals, provides a roadmap to that process.” Second

 Murphy Decl. ¶ 7. Accordingly, the Court finds that the drafts of the proposed indictment would

 disclose the identity of individuals who actually testified before the grand jury and who the

 independent counsel considered calling as witnesses, as well as the inner workings of the federal

 grand jury process that would necessarily show the potential direction of the grand jury

 proceedings, given that the independent counsel likely drafted the documents based on testimony

 and other information presented to that body.

          Moreover, the plaintiff’s contention that the declarations are too vague, generalized, and

 4
   The plaintiff asserts that the Second Murphy Declaration contradicts the first by stating in broader terms that
 “[t]hese draft indictments reflect the net result of all the evidence gathered throughout the grand jury investigatory
 process; they represent a compilation and distillation of all the evidence gathered and presented before the grand
 jury.” Pl.’s Reply at 6. The Court, however, finds the Second Murphy Declaration to be consistent, as it merely
 elaborates on the first.




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 conclusory to satisfy the Archives’ burden is unavailing. The plaintiff cites Citizens for

 Responsibility & Ethics in Washington v. U.S. Dep’t of Justice, 746 F.3d 1082, 1100 (D.C. Cir.

 2014), as support for its position that the conclusory descriptions of grand jury material

 contained in the draft indictments are not sufficient to warrant their withholding. There,

 however, the defendant’s declaration asserted that “the documents contain[ed] information that

 ‘could be used as evidence before a Federal Grand Jury’ or ‘may be subpoenaed by a Federal

 Grand Jury[,]’” Citizens for Responsibility, 746 F.3d at 1100 (emphasis in original), whereas

 here, the defendant contends that information that “would reveal some secret aspect of the grand

 jury investigation,” including “the identities of witnesses, the substance of testimony, [and] the

 strategy or direction of the investigation,” Senate of P.R., 823 F.2d at 582, is affirmatively

 contained in the documents. Also, the court in Citizens for Responsibility, found fault with the

 defendant’s failure to specify how many documents were being withheld pursuant to Exemption

 3. Id. But, in this case, the Archives has stated that it is withholding 238 documents responsive

 to the plaintiff’s FOIA request. Therefore, unlike the declarations in Citizens for Responsibility,

 Ms. Murphy’s declarations do not merely state in a conclusory fashion that Rule 6(e) material

 has been withheld, but instead specifies the precise nature of the contents of the draft

 indictments, sufficiently demonstrating that the withheld material is of the type intended to be

 protected by Rule 6(e).

        The plaintiff further devotes a significant portion of its argument discussing In re Sealed

 Case, 192 F.3d 995 (D.C. Cir. 1999), as support for its contention that the draft indictments are

 not matters that occurred before the grand jury. See Pl.’s Opp’n at 11-13. Specifically, the

 plaintiff argues that In re Sealed places the burden on the agency to show that the withheld

 information “will reveal non-public facts known to prosecutors only because of the grand jury’s




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 investigation, not because of [the] prosecutor’s own investigations or others’ investigations [and]

 non-public matters that actually occurred or were likely to occur before the grand jury.” Id. at

 13.

        Courts must distinguish between grand jury investigations and coincidental investigations

 conducted by third parties, such as by independent companies, see Dresser Indus. Inc., 628 F.2d

 at 1382-83 (holding Rule 6(e) inapplicable to documents that “were created [by a Corporation]

 for [an] independent corporate purpose” even though government agency subpoenaed the

 documents while grand jury investigation was being conducted), or prosecutorial investigations,

 In re Sealed Case, 192 F.3d at 1002-03 (holding mere general statements by Office of

 Independent Counsel prosecutors to the New York Times regarding their “belief” on the

 direction of their own investigation did not constitute Rule 6(e) material). When, however, an

 entity possesses information directly resulting from a grand jury investigation, the material is not

 coincidental, and Rule 6(e) applies. See Fund for Constitutional Gov’t, 656 F.2d at 870 (holding

 Rule 6(e) applicable because material was not coincidental to grand jury investigation, but rather

 a direct result of it). The draft indictments are not merely statements of “prosecutorial

 deliberation” like the statements made by junior attorneys to the New York Times in In re Sealed

 Case, 192 F.3d at 1001, concerning the possible direction of the investigation in that matter, but

 rather are documents containing “information that [was not] obtained separate and apart from the

 grand jury process.” Second Murphy Decl. ¶ 6. Likewise, they are not materials prepared

 coincidentally to the grand jury investigation, but instead were prepared as a direct result of the

 ongoing grand jury investigation. See id. ¶ 5 (“These draft indictments reflect the net result of

 all of the evidence gathered throughout the grand jury investigatory process; they represent a

 compilation and distillation of all of the evidence gathered and presented before the grand jury




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 up until the time the draft indictments were prepared.”). “The relevant inquiry is not whether the

 party seeking the information has an interest other than in its role in a grand jury investigation,

 but whether revelation in the particular context would in fact reveal what was before the grand

 jury.” Fund for Const. Gov’t, 656 F.2d at 870 (citing Murphy v. FBI, 490 F. Supp. 1138, 1141

 (D.D.C. 1980)). Thus, the Archives has established that disclosure of the drafts of the proposed

 indictment would reveal matters occurring before the grand jury.

          In sum, the plaintiff’s argument simply seeks to heighten the Archives’ burden to a

 degree of particularized specificity as to the meaning of each word used by the declarant to

 describe the type of information contained within the withheld documents. However, as the

 Court noted above, the Archives only bears the burden of showing some “nexus between

 disclosure and revelation of a protected aspect of the grand jury’s investigation.” Lopez, 393

 F.3d at 1350 (citations omitted). Therefore, because Ms. Murphy’s declarations sufficiently

 establish a “nexus” between disclosing the draft indictments and revealing the inner workings of

 the grand jury process, the Court finds that the Archives has satisfied its burden of showing that

 the draft indictments are protected from disclosure under Rule 6(e). 5

                             c. The Purpose of Rule 6(e)

           The plaintiff next argues that the information contained in the draft indictments is

 sufficiently public to warrant disclosure because the secrecy to be protected by Rule 6(e) no

 longer exists. “Rule 6(e) does not create a type of secrecy which is waived once public

 disclosure occurs.” In re North, 16 F.3d at 1245 (quoting Barry v. United States, 740 F. Supp.


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  The plaintiff also asserts that, “[t]o the extent [the Archives] claims that it was only following a long-established
 practice of not disclosing draft indictments unless an indictment was formally issued, then [it] has failed to satisfy its
 FOIA obligations.” Pl.’s Reply at 8 (citing Shapiro v. U.S. Dep’t of Justice, 153 F. Supp. 3d 253 (D.D.C. 2016)).
 The Court, however, does not find that the Archives withheld the drafts pursuant to this practice, but merely used
 this practice of withholding “any draft indictment of a living person if no indictment is ever formally issued” as a
 starting point. Second Murphy Decl. ¶ 5. Rather, the Archives explicitly stated that it withheld the drafts in their
 entirety after reviewing the drafts and determining that they were Rule 6(e) material that should not be disclosed. Id.




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 888, 891 (D.D.C. 1990)). However, once information is sufficiently widely known, it has “lost

 its character as Rule 6(e) material[, as t]he purpose in Rule 6(e) is to preserve secrecy.” Id. at

 1244-45 (holding the purported Rule 6(e) material – the final report of the Office of the

 Independent Counsel – no longer protected from release because the Independent Counsel’s

 “four interim reports to Congress included most, if not all, of the 6(e) material now disclosed in

 the Final Report.”). To show that withheld information must be disclosed based on prior

 disclosure, a plaintiff must show that the specific information sought is already in the public

 domain. Elec. Privacy Info. Ctr. v. Nat’l Sec. Agency, 678 F.3d 926, 933 (D.C. Cir. 2012) (“A

 plaintiff asserting a claim of prior disclosure bears the burden of pointing to ‘specific information

 in the public domain that appears to duplicate that being withheld.’”); Davis v. U.S. Dep’t of

 Justice, 968 F.2d 1276, 1280 (D.C. Cir. 1992) (stating requester must “point to ‘specific’

 information identical to that being withheld”); see also In re Sealed Case, 192 F.3d at 1004

 (holding that usual Rule 6(e) secrecy protecting identity of witnesses did not apply to the

 President because it was already widely known that he had testified in front of the grand jury).

        Here, the plaintiff’s attempt to demonstrate that the information contained in the draft

 indictments is already in the public domain and widely available because of the independent

 counsel’s final reports and a 206-page memorandum bearing the subject line Summary of

 Evidence: Hillary Rodham Clinton and Webb Hubbell (“Evidence Memorandum”), which are

 available to the public and contain grand jury information, see Pl.’s Opp’n at 18-19; Pl.’s Reply

 at 9, does not rise to the level of specificity required by the District of Columbia Circuit. The

 plaintiff presented two declarations from Paul J. Orfanedes, counsel, officer, and director for

 Judicial Watch, Inc., who prepared charts identifying the sources of information included in the

 Independent Counsel’s January 5, 2001 Final Report (“Final Report”) and the Evidence




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 Memorandum. See Pl.’s Opp’n, Ex. 1 (Declaration of Paul J. Orfanedes (“First Orfanedes

 Decl.”)) at 1, 2-5; Ex. A (Chart for Final Report) to Ex. 1 at 4-5; Ex. B (Chart for Evidence

 Memorandum) to Ex. 1 at 2-4; see also Pl.’s Reply, Ex. 1 (Second Declaration of Paul J.

 Orfanedes (“Second Orfanedes Decl.”)) at 2. Through these declarations and the charts, the

 plaintiff purports to show that the Final Report and the Evidence Memorandum “cite[],

 reference[], and quote[] testimony” from grand jury witnesses. First Orfanedes Decl. ¶ 7. Mr.

 Orfanedes also conducted “[G]oogle search[es]” for “Starr Report” and “Hillary Clinton draft

 indictment,” which rendered 13,200,000 and 547,000 search results respectively. Id. ¶ 10. And,

 Mr. Orfanedes represents that the plaintiff’s “efforts to gain access to the draft indictments has

 been the subject of news reports” by various media outlets. Id. ¶ 11. While these efforts may

 provide some support, the plaintiff has not pointed to specific items of information in the public

 domain that sufficiently demonstrate that the information contained in the drafts of the proposed

 indictment are publicly available to warrant disclosure. Instead, the plaintiff contends that

 because paraphrased and quoted grand jury testimony was generally released to the public in the

 Final Report and the Evidence Memorandum, see Pl.’s Opp’n, Ex. A (Chart for Final Report) to

 Ex. 1 at 4-5 (identifying the pin cites of where grand jury testimony was either cited, referenced,

 or quoted in the Final Report); Ex. B (Chart for Evidence Memorandum) to Ex. 1 at 2-4

 (identifying the pin cites of where grand jury testimony was either cited, referenced, or quoted in

 the Evidence Memorandum), the grand jury information in the draft indictments that reveal the

 inner workings of the grand jury process must have also been released, and as such, there is no

 secrecy left to protect. The Court is not convinced that such a presumption demonstrates the

 level of specificity needed to show that the contents of drafts of the proposed indictments are

 sufficiently within the public domain and have lost their exempt status.




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        Nonetheless, the Archives, in response to a 2005 FOIA request for access to the Evidence

 Memorandum, “examined that document and compared it to the publicly released” Final Report.

 Second Murphy Decl. ¶ 3. Because the Archives “understood that [the Evidence Memorandum]

 may contain non-grand jury material,” they conducted

        an analysis of the factual and stylistic presentment in both documents, [which]
        enabled [them] to draw important distinctions between information in the
        Evidence Memorandum that had already been released to the public in the Final
        Report, and that information in the Evidence Memorandum that was considered
        grand jury information and should continue to be withheld. [This] resulted in a
        partial release of the Evidence Memorandum with redactions for grand jury
        material (as well as other redactions).

 Id.; see also First Orfanedes Decl., Ex. 3 (Evidence Memorandum). The Archives conducted the

 same examination and analysis with respect to the draft indictments, comparing the drafts to the

 Final Report and the Evidence Memorandum, and concluded that “none of the drafts that we

 reviewed contained information that we determined had been obtained separate from the grand

 jury process.” Second Murphy Decl. ¶ 6. More importantly, the draft indictments themselves

 were not released with the Final Report, id. ¶ 4, unlike in In re Sealed Case, “[w]here the general

 public [was] already aware of the information contained in the prosecutor’s statement,” which

 provided the general basis for an indictment of the “[President]’s alleged perjury before a grand

 jury,” and of “the President’s status as a witness before the grand jury . . . [because] the President

 himself went on national television the day of his testimony to reveal this fact . . . well before the

 New York Times article at issue in [that] case was written,” 192 F.3d at 1004, or in In re North,

 where most, if not all, of the Rule 6(e) material was disclosed in the independent counsel’s final

 report, 16 F.3d at 1245. Consequently, the Court is not persuaded that the plaintiff has satisfied

 its burden of demonstrating that the information sought has “lost its character as Rule 6(e)

 material” due to its alleged considerable availability to the public.




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                2. Exemptions 6 and 7(C)

        The Archives also withheld the drafts of the proposed indictments under Exemptions 6

 and 7(c) because the drafts involve a significant privacy interest that is not outweighed by any

 public interest that would justify disclosure. Def.’s Mem. at 9. Because the Archives has

 invoked both Exemptions 6 and 7(c), the Court will address only the question of whether the

 drafts were properly withheld under Exemption 7(c). See Roth v. U.S. Dep’t of Justice, 642 F.3d

 1161, 1173 (D.C. Cir. 2011) (holding that there is no need to consider Exemption 6 separately if

 information was “compiled for law enforcement purposes” because Exemption 7(c) constitutes

 broader protection, so any information falling under Exemption 6 is covered by Exemption 7(c));

 accord Gilliam v. U.S. Dep’t of Justice, 128 F. Supp. 3d 134, 142 (D.D.C. 2015). Exemption

 7(c) protects “records or information compiled for law enforcement purposes, but only to the

 extent that the production of such law enforcement records or information could reasonably be

 expected to constitute an unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(c).

        Here, it is undisputed that the draft indictments were compiled in the course of the

 independent counsel’s investigation of possible violations of federal law, and thus were compiled

 for law enforcement purposes. Def.’s Mem. at 9-10; Pl.’s Opp’n at 19. The remaining inquiry

 for the Court is therefore whether the production of the records would constitute an unwarranted

 invasion of personal privacy. 5 U.S.C. § 552(b)(7)(c). To make that determination, the Court

 must first decide whether there is a legitimate privacy interest protected by Exemption 7(c) and

 then whether there is a countervailing public interest that outweighs it. See Citizens for

 Responsibility, 746 F.3d at 1091 (stating “[o]ur task, then, is ‘to balance the [] privacy interest

 against the public interest in disclosure[,]’” after establishing that the requested records were

 compiled for law enforcement purposes) (some alteration in original) (citing Nat’l Archives &




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 Records Admin. v. Favish, 541 U.S. 157, 171 (2004)); see also Boyd, 87 F. Supp. 3d at 72-73.

 The Court will address each inquiry in turn.

                        a. Hilary Clinton’s Personal Privacy Interests

        The parties do not dispute that any person other than Mrs. Clinton has any privacy

 interest in the drafts of the proposed indictments. See Pl.’s Opp’n at 19. They do, however,

 disagree on whether Mrs. Clinton has a viable personal privacy interest that precludes an

 unwarranted invasion. See id. The Archives asserts that “Mrs. Clinton has a significant personal

 privacy interest in avoiding disclosure of the drafts of the proposed indictment,” Def.’s Mem. at

 10, because such disclosure

        would therefore deprive Mrs. Clinton of the ability to “control[] information
        concerning criminal charges” that were never brought against her, see ACLU, 750
        F.3d at 929, thereby depriving her of “[t]he presumption of innocence [that]
        stands as one of the most fundamental principles of our system of criminal
        justice,” see id. [at] 933, and “placing [her] in the position of having to defend
        [her] conduct in the public forum outside of the procedural protections normally
        afforded the accused in criminal proceedings.” See Fund for Const. Gov’t, 656
        F.2d at 865.

 Def.’s Response at 13. The plaintiff responds that the Archives “fails to identify a single,

 specific privacy interest [that] Mrs. Clinton still has in the draft indictments following the

 publication[s] of the [Final] Report and the Evidence Memorandum,” Pl.’s Reply at 11-12, which

 was authorized by the District of Columbia Circuit and the Archives respectively, see id., and

 “vitiate[d] Mrs. Clinton’s privacy interests [upon their] publishing,” id. at 13.

        When evaluating the privacy interest relevant to Exemption 7(c), “[t]he privacy interest at

 stake belongs to the individual, not the government agency.” Petrucelli v. Dep’t of Justice, 51 F.

 Supp. 3d 142, 164 (Walton, J.) (citing Reporters Comm., 489 U.S. at 763-65). “[I]nformation in

 an investigatory file tending to indicate that a named individual has been investigated for

 suspected criminal activity is, at least as a threshold matter, an appropriate subject for exemption




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 under 7(c).” Fund for Const. Gov’t, 656 F.2d at 863 (citation omitted). More specifically,

 “individuals have a strong interest in not being associated unwarrantedly with alleged criminal

 activity.” Petrucelli, 51 F. Supp. 3d at 164 (quoting Stern v. Fed. Bureau of Investigation, 737

 F.2d 84, 91-92 (D.C. Cir. 1984)); see also Dunkelberger v. Dep’t of Justice, 906 F.2d 779, 781

 (D.C. Cir. 1990). This interest is even more substantial when criminal charges were never filed.

 See Am. Civil Liberties Union v. U.S. Dep’t of Justice, 750 F.3d 927, 933 (D.C. Cir. 2014)

 (“Although the fact that such defendants were accused of criminal conduct may remain a matter

 of public record, they are entitled to move on with their lives without having the public reminded

 of their alleged but never proven transgressions.”).

         Particularly instructive to this case is the District of Columbia Circuit’s analysis of

 privacy interest under Exemption 7(c) in Citizens for Responsibility. 746 F.3d at 1091-93.

 There, the Circuit discussed a FOIA request in conjunction with an investigation conducted by

 the Federal Bureau of Investigation (“FBI”) of former House of Representatives Majority Leader

 Tom DeLay, in addition to other suspects. Id. at 1087. Ultimately, the FBI decided not to file

 charges against Mr. DeLay. In analyzing his privacy interests under the FOIA, the Circuit

 determined that there are two cognizable interests for individuals in Mr. Delay’s position: (1)

 “avoiding the stigma of having his name associated with a criminal investigation,” and (2) a

 “distinct privacy interest in the contents of the investigative files.” Id. at 1091-93. Despite the

 fact that it was widely known that Mr. DeLay had been the subject of an investigation, the

 Circuit nonetheless concluded that he still retained a privacy interest in further disclosure of the

 files entirely. Id.

         In this case, the Court agrees with the plaintiff’s assertion that Mrs. Clinton no longer has

 an interest in “avoiding the stigma” of having her name associated with the criminal




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 investigation at issue, because it is widely known that this investigation was conducted. Pl.’s

 Opp’n at 20. However, similar to the individuals in American Civil Liberties Union v. U.S.

 Department of Justice, 750 F.3d at 933 (holding that the defendants had significant privacy

 interest in being able to proceed forward with their lives by being able to “control[] information

 concerning criminal charges” never filed against them), Mrs. Clinton has a significant privacy

 interest in not re-visiting past criminal investigations, particularly when the investigation resulted

 in an indictment never being filed against her. See Fund for Const. Gov’t, 656 F.2d at 864

 (“Typically, the decision not to prosecute insulates individuals who have been investigated but

 not charged from th[e] rather significant intrusion into their lives.”). Although Mrs. Clinton, “as

 a public official at th[at] time, ‘may have a somewhat diminished privacy interest,’ [she] ‘d[id]

 not surrender all rights to personal privacy.’” Citizens for Responsibility, 746 F.3d at 1092

 (quoting Quinon v. FBI, 86 F.3d 1222, 1230 (D.C. Cir. 1996)). And similar to the conclusion

 reached in Citizens for Responsibility, Mrs. Clinton still maintains an interest in the contents of

 the drafts of the proposed indictment, despite the fact that it is widely known that she was one of

 the subjects of an independent counsel investigation.

        Moreover, the fact that information about the independent counsel’s investigation and

 potential indictment of Mrs. Clinton is readily available to the public does not extinguish Mrs.

 Clinton’s privacy interest, as the plaintiff asserts. See Pl.’s Opp’n at 19 (discussing the release of

 the Final Report and the Evidence Memorandum, along with numerous hits returned from

 Google searches). Although an individual’s “interests in privacy fade when the information

 involved already appears on the public record,” ACLU, 655 F.3d at 9 (citing U.S. Dep’t of

 Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 764 n.15 (1989)), “the fact

 that an event is not wholly private does not mean that an individual has no interest in limiting




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 disclosure or dissemination of [the requested] information,” People for the Ethical Treatment of

 Animals v. Nat’l Insts. of Health, 745 F.3d 535, 542 (D.C. Cir. 2014) (quoting Reporters Comm.,

 489 U.S. at 770).

         Here, the plaintiff has not shown that the information contained in the drafts of the

 proposed indictment are widely available to the public, let alone to the extent that the privacy

 interest Mrs. Clinton has in the drafts is extinguished. “Indeed, if the [drafts of the proposed

 indictments] were ‘freely available,’ there would be no reason to invoke the FOIA to obtain

 access to the information they contain.” Reporters Comm., 489 U.S. at 764 (“Plainly there is a

 vast difference between the public records that might be found after a diligent search . . . and [the

 requested information.]”). And, contrary to the plaintiff’s assumption that this Circuit vitiated

 Mrs. Clinton’s privacy rights in the drafts when it authorized the publishing of the Final Report,

 the plaintiff has not pointed to any evidence that the Circuit actually considered Mrs. Clinton’s

 privacy rights in regards to the content of the drafts, particularly, in light of the fact that the

 drafts were not included in the Final Report. Accordingly, the Court finds that Mrs. Clinton has

 a substantial privacy interest in the contents of the drafts of the proposed indictment.

                         b. Countervailing Public Interest

         Having found that Mrs. Clinton has a substantial privacy interest that is protected by

 Exemption 7(c), the Court turns to the question of whether public interest outweighs Mrs.

 Clinton’s significant privacy interest, justifying disclosure of the draft indictments. The plaintiff

 asserts that the public has two substantial interests in disclosure,

         both of which directly bear on citizens’ right to be informed about what their government
         is up to: (1) public interest in the actions of the independent counsel; and (2) public
         interest in the actions of Mrs. Clinton as first lady of the United States, as well as in her
         subsequent actions as a United States senator, United States secretary of state, and the
         Democratic Party’s presumptive nominee for president of the United States.




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 Pl.’s Reply at 13.

        “The Supreme Court has stated that FOIA is focused ‘on the citizens’ right to be

 informed about what their government is up to.’” Computer Prof’ls for Soc. Responsibility v.

 U.S. Secret Serv., 72 F.3d 897, 904 (D.C. Cir. 1996) (quoting Reporters Comm., 489 U.S. at

 773). Once the private nature of a document has been established, whether or not disclosure of

 that document is warranted “turn[s] on the nature of the requested document and its relationship

 to ‘the basic purpose of the Freedom of Information Act to open agency action to the light of

 public scrutiny.’” See Reporters Comm., 489 U.S. at 772 (quoting Rose, 425 U.S. at 372). To

 defeat the privacy interest, the requestor “must (1) ‘show that the public interest sought to be

 advanced is a significant one, an interest more specific than having the information for its own

 sake,’ and (2) ‘show the information is likely to advance that interest.’” Boyd, 87 F. Supp. 3d at

 73 (citation omitted). In determining “what the[] government is up to,” the relevant public

 interest is not to find out what was the substance of an agency investigation, but rather the focus

 is on the conduct of the agency that performed the investigation:

        Official information that sheds light on an agency’s performance of its statutory
        duties falls squarely within that statutory purpose. That purpose, however, is not
        fostered by disclosure of information about private citizens that is accumulated in
        various governmental files but that reveals little or nothing about an agency’s own
        conduct. In this case-and presumably in the typical case in which one private
        citizen is seeking information about another-the requester does not intend to
        discover anything about the conduct of the agency that has possession of the
        requested records. Indeed, response to this request would not shed any light on
        the conduct of any Government agency or official.

 Reporters Comm., 489 U.S. at 773. “Information that reveals ‘little or nothing about an agency’s

 own conduct’ does not further the statutory purpose; thus the public has no cognizable interest in

 the release of such information.” Beck v. Dep’t of Justice, 997 F.2d 1489, 1493 (D.C. Cir. 1993)

 (quoting Reporters Comm., 489 U.S. at 773); see also Davis, 968 F.2d at 1282 (holding that




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 public interest in individual’s alleged involvement in criminal activity insignificant because

 disclosure would reveal little to nothing about agency conduct, let alone conduct of the agency

 possessing the documents). Nonetheless, while the public interest cannot be based purely on

 gathering information about an individual, there is a cognizable public interest in knowing how a

 government agency goes about investigating high-ranking officials. See Citizens for

 Responsibility, 746 F.3d at 1093-94 (recognizing the significance of public interest in knowing

 how the FBI investigates high-ranking officials).

        The plaintiff, in this case, has not established that the information contained in the drafts

 of the proposed indictment would yield information about what the government “is up to.”

 Reporters Comm., 489 U.S. at 773. Initially, the plaintiff asserts that the public has an interest in

 the activities of the independent counsel, and particularly, how he conducted the investigation of

 Mrs. Clinton, as evidenced by the results disclosed by its Google searches. Pl.’s Reply at 13-14.

 However, this public interest in the activities of the independent counsel likely does not rise to

 the level contemplated by the Circuit in Citizens for Responsibility. There, the court noted that

 “we have repeatedly recognized a public interest in the manner in which the [Department of

 Justice] carries out substantive law enforcement policy.” Citizens for Responsibility, 746 F.3d at

 1093 (“Disclosure of the records would likely reveal much about the diligence of the FBI’s

 investigation and the [Department of Justice]’s exercise of its prosecutorial discretion: whether

 the government had the evidence but nevertheless pulled its punches.”) And admittedly, if the

 “investigation implicate[s] a public official as prominent as [Mrs. Clinton,]” the public interest is

 heightened. Id. at 1094 (“It may show whether prominent and influential public officials are

 subjected to the same investigative scrutiny and prosecutorial zeal as local aldermen and little-

 known lobbyists.”). But, how the FBI and other investigative government agencies conduct




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 investigations concerning criminal misconduct, and in the case of Citizens for Responsibility a

 concurrent criminal investigation, is different from the activities of a discrete and now defunct

 government agency that has not been in existence for nearly two decades. More importantly, the

 plaintiff does not allege misconduct on the part of either the Archives or the Office of the

 Independent Counsel or present compelling evidence that either agency has engaged in improper

 activity. See Favish, 541 U.S. at 174 (“[T]he requester must produce evidence that would

 warrant a belief by a reasonable person that the alleged Government impropriety might have

 occurred.”). Consequently, disclosure of the drafts of the proposed indictment would likely “not

 shed any light on the conduct of [the Office of the Independent Counsel],” but would rather

 disclose only information about Mrs. Clinton that is “accumulated in various governmental

 files.” Reporters Comm., 489 U.S. at 773.

          Furthermore, the plaintiff asserts that the public has an interest in the actions of Mrs.

 Clinton while she previously served as the first lady of the United States, a United States senator,

 and the United States Secretary of State, as well as her position as the presumptive Democratic

 Party’s nominee for President of the United States. 6 See Pl.’s Opp’n at 23. In making this

 assertion, the plaintiff recognizes “that, when weighing whether disclosure is in the public

 interest, D.C. Circuit case law often differentiates between what a record will reveal about an

 agency’s performance of its statutory duties and what that same record will reveal about the

 actions of a particular individual.” Id. at 24 n.12 (citing Citizens for Responsibility, 746 F.3d at

 1093). But, the plaintiff argues that Mrs. Clinton was not a private citizen when the investigation



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  Under the FOIA, “an agency’s disclosure obligations are triggered by its receipt of a request,” Espinoza v. Dep’t of
 Justice, 20 F. Supp. 3d 232, 238 (D.D.C. 2014) (citing 5 U.S.C. § 552(a)(3)(A)), and continue until the “agency
 proves that it has ‘fully discharged its [FOIA] obligations,’” Sciacca v. Fed. Bureau of Investigation, 23 F. Supp. 3d
 17, 27 (D.D.C. 2014) (quoting Moore v. Aspin, 916 F. Supp. 32, 35 (D.D.C. 1996)). At the time the Archives
 determined it had fully discharged its obligations under the FOIA with respect to the plaintiff’s FOIA request, Mrs.
 Clinton was the presumptive nominee for the Democratic Party’s candidate for President of the United States.




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 was conducted, and that she has held other high level federal positions after the investigation was

 closed and now is seeking the highest office in the federal government and that Circuit case law,

 “holding that the only relevant public interest is in shedding light on how agencies perform their

 statutory duties[,] do[es] not address this highly unique factual situation [and is therefore]

 inapposite.” Id. However, the Court is not convinced that it should (or even can) depart from

 the precedents already established by the Circuit. While Mrs. Clinton was first lady of the

 United States at the time of the investigation, she was neither part of a government agency nor a

 government official when the events that were the subject of the independent counsel’s

 investigation occurred, which led to the drafting of the proposed indictments. More importantly,

 although the plaintiff seeks to cloak the public interest in this case with the veil of seeking to

 know “what the government ‘is up to,’ or at least ‘was up to’ during her tenure in multiple

 federal offices [and] ‘may be up to’ should Mrs. Clinton be elected president,” Pl.’s Reply at 15,

 the Court finds that the proper characterization of this public interest is an attempt to obtain

 information that “bears on Mrs. Clinton’s honesty, credibility, and trustworthiness,” Pl.’s Opp’n

 at 23. Thus, disclosure of the drafts of the proposed indictment would not shed light on any

 agency’s performance of its statutory duties, but potentially shed light solely on the character of

 Mrs. Clinton, independent to her position as a public official, which is not the objective of the

 FOIA. See Reporters Comm., 489 U.S. at 773.

        Accordingly, because the public interests offered by the plaintiff would not advance the

 purpose of the FOIA, the Court finds that the proffered public interests do not sufficiently

 outweigh Mrs. Clinton’s privacy interests in the drafts of the proposed indictment to justify an

 unwarranted invasion of Mrs. Clinton’s privacy. Therefore, the drafts of the proposed indictment

 are protected from disclosure under Exemption 7(c).




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    B. Segregability

        Because the Court has determined that the drafts of the proposed indictment are protected

 from disclosure by Exemptions 3, 6 and 7(c), its analysis must next address the issue of

 segregability. The plaintiff asserts that the Archives, in withholding the drafts of the proposed

 indictment in their entirety, has not “conduct[ed] a proper segregability analysis of each draft and

 justifie[d] its determinations with detailed, non-conclusory findings.” Pl.’s Reply at 18.

        The FOIA requires that “[a]ny reasonably segregable portion of a record shall be

 provided to any person requesting such record after deletion of the portions which are exempt

 under this subsection.” 5 U.S.C. § 552(b). “[I]t has long been the rule in this Circuit that non-

 exempt portions of a document must be disclosed unless they are inextricably intertwined with

 exempt portions.” Wilderness Soc’y v. U.S. Dep’t of Interior, 344 F. Supp. 2d 1, 18 (D.D.C.

 2004) (Walton, J.) (quoting Mead Data Cent., Inc. v. U.S. Dep’t of Air Force, 566 F.2d 242, 260

 (D.C. Cir. 1977)). “The focus of the FOIA is information, not documents, and an agency cannot

 justify withholding an entire document simply by showing that it contains some exempt

 material.” Mead, 566 F.2d at 260.

        A district court’s determination that agency records are exempt from disclosure under the

 FOIA is subject to remand if the court does not also make specific findings on the question of

 segregability. See Krikorian v. Dep’t of State, 984 F.2d 461, 467 (D.C. Cir. 1993) (remanding

 back to district court because no specific findings of segregability were made). To make this

 determination, the district court must be provided with a “relatively detailed description” of the

 withheld material. Id. (citing Goldberg v. U.S. Dep’t of State, 818 F.2d 71, 78 (D.C. Cir. 1987).

 Agencies must review the withheld documents and determine whether, absent the exempted

 material, the resulting document would still be comprehensible, or whether “the result would be




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 an essentially meaningless set of words and phrases.” See Mead, 566 F.2d at 261 (stating result

 of meaningless set of words may be sufficient to claim that the information is not segregable). A

 “document-by-document” review and a declaration that each piece of information that is

 withheld is not reasonably segregable is sufficient to satisfy the requirement. See Juarez v. U.S.

 Dep’t of Justice, 518 F.3d 54, 61 (D.C. Cir. 2008); Beltranena v. U.S. Dep’t of State, 821 F.

 Supp. 2d 167, 178-79 (D.D.C. 2011).

        Here, the Court is satisfied that the Archives has conducted a proper segregability

 analysis and may withhold the drafts of the proposed indictment in their entirety. Upon receipt

 of a “FOIA request for access to a box or records that a prior Independent Counsel has marked as

 containing grand jury material, the Archives examines each individual record in the box to

 determine whether each document should be withheld pursuant to Exemption 3 (Fed. R. Crim. P.

 6(e)).” Second Murphy Decl. ¶ 3. And while the independent counsel’s markings are used as a

 reference point, the Archives “conduct[s] an independent review in order to make its own

 determinations as to whether the material does constitute grand jury information.” Id. In its

 review of the production request in this case, the Archives decided to withhold all of the

 documents it identified as responsive to the plaintiff’s request because

        the material collectively reflects names and identifying information of individuals
        subpoenaed – or intended to be subpoenaed – to testify before the grand jury, as
        well as information identifying specific records subpoenaed during the grand jury
        process. They reflect and quote grand jury testimony, and reveal the inner
        workings and direction of the grand jury. Disclosure would violate the secrecy of
        the grand jury proceedings by disclosing the inner workings of the federal grand
        jury that was tasked with considering these matters. Similarly, the consideration
        of possible witnesses before the Grand Jury, and internal memoranda and notes
        about the strategy and considerations regarding possible indictments reveal the
        direction of the grand jury investigation.

 First Murphy Decl. ¶ 25. In addition to this detailed description of the contents of the drafts of

 the proposed indictment, the Archives submitted a chart, indexing and further describing the




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 materials. See id. ¶ 23; see also id., Ex. A (Description of Records of Independent Counsel

 Kenneth Starr/Robert Ray/Julie Thomas). Based on this review, the Archives concluded that all

 of the materials are “inextricably intertwined with the grand jury process and are not subject to

 segregation . . . [because] none of the drafts that [the Archives] reviewed contained information

 that [the Archives] determined had been obtained separate from the grand jury process.” Second

 Murphy Decl. ¶¶ 5-6. 7

         The Court finds particularly relevant here, the discussion of segregability in Goland, 607

 F.2d at 350, which differentiated the segregability analysis under Exemption 3 from the other

 FOIA exemptions. “Exemption 3 differs from other FOIA exemptions in that its applicability

 depends less on the detailed factual contents of specific documents; the sole issue for decision is

 the existence of a relevant statute and the inclusion of withheld material within that statute's

 coverage.” Id. Thus, the scope of the exemption is not determined by the FOIA itself, but by the

 protective statute that is being invoked under Exemption 3. See Beltranena, 821 F. Supp. 2d at

 179 (noting that when conducting a segregability analysis for material withheld under Exemption

 3, “the court is mindful that while an agency must provide a ‘detailed justification’ for the non-

 segregability of any material withheld, an agency is also constrained by the need to avoid

 compromising ‘the secret nature of potentially exempt information.’”) (citations omitted). As

 noted above, the Court is satisfied that the Archives has properly applied Rule 6(e) to protect

 grand jury material, and because the Archives has provided a detailed justification for

 withholding the drafts of the proposed indictment pursuant to Rule 6(e), the records can be

 withheld in their entirety.

         The plaintiff also contends that a “mountain of grand jury material” has already been

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  The Archives also represents that the accompanying documents such as the “fax cover pages, notes, and/or
 memoranda” were likewise withheld because “they were physically attached to – and an integral part of – the
 drafts.” Second Murphy Decl. ¶ 6.




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 made public, in light of the release of the independent counsel’s Final Report and the Evidence

 Memorandum, and that the “enormous volume of publicly available material must be taken into

 account in a proper segregability analysis.” Pl.’s Reply at 18. The Court again notes that the

 draft indictments were not released with either the Final Report or the Evidence Memorandum,

 and more importantly, the plaintiff has failed to show that the specific information contained in

 the draft indictments is already in the public domain. Although, the Archives, in response to a

 FOIA request, provided “a partial release of the Evidence Memorandum with redactions for

 grand jury material (as well as other redactions),” Second Murphy Decl. ¶ 3, this occurred

 because the Archives’ examination, “which included an analysis of the factual and stylistic

 presentment of” the Final Report and the Evidence Memorandum, revealed “distinctions between

 information in the Evidence Memorandum that had already been released to the public in the

 Final Report, and that information in the Evidence Memorandum that was considered grand jury

 information and should continue to be withheld.,” id. And, in its review of the drafts of the

 proposed indictment, the Archives “took into account the Final Report, and the redacted

 Evidence Memorandum.” Id. ¶ 4.

            Based on the declarations attesting to the review conducted by the Archives, coupled with

 the chart which indexed and further described the draft indictments, the Court finds that the

 Archives properly withheld the documents in full.

                                            IV.     CONCLUSION

            For the foregoing reasons, the Court concludes that it must grant the defendant’s motion

 for summary judgment and deny the plaintiff’s cross-motion for summary judgment.

            SO ORDERED this 4th day of October, 2016. 8
                                                                      REGGIE B. WALTON
                                                                      United States District Judge

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     The Court will contemporaneously issue an Order consistent with this Memorandum Opinion.




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 JUDICIAL WATCH, INC.,               )
                                     )
                   Plaintiff,        )
                                     )                Civil Action No. 15-cv-1740 (RBW)
 v.                                  )
                                     )
 NATIONAL ARCHIVES AND               )
 RECORDS ADMINISTRATION,             )
                                     )
                   Defendant.        )
 ____________________________________)


                                     NOTICE OF APPEAL

        Notice is hereby given that Judicial Watch, Inc., Plaintiff in the above-named case,

 hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from

 the final judgment entered in this action on October 4, 2016.

 Dated: December 3, 2016                              Respectfully submitted,

                                                      JUDICIAL WATCH, INC.

                                                      /s/ Paul J. Orfanedes
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                                                      Attorneys for Plaintiff




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                          CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2017, I filed via the CM/ECF system the

 foregoing JOINT APPENDIX with the Clerk of the Court. Participants in the

 case are registered CM/ECF users and service will be accomplished by the

 Appellate CM/ECF system.

       I also certify that I caused seven copies to be delivered to the Clerk of Court

 via hand delivery.

                                               /s/ Lauren M. Burke
